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                          IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF DELAWARE

    ____________________________________
                                              )
    UNITED THERAPEUTICS                       )
    CORPORATION,                              )
                                              )
                  Plaintiff,                  )   Redacted - Public Version
                                              )
       v.                                     )   C.A. No. 20-755-RGA-JLH
                                              )
    LIQUIDIA TECHNOLOGIES, INC.,              )
                                              )
                 Defendant.                   )
    ____________________________________      )


            REPLY BRIEF IN SUPPORT OF DEFENDANT’S MOTION FOR
        SUMMARY JUDGMENT OF INVALIDITY OF THE ’066 AND ’901 PATENTS
                      DUE TO COLLATERAL ESTOPPEL



    OF COUNSEL:                               Karen E. Keller (No. 4489)
    Sanya Sukduang                            Jeff Castellano (No. 4837)
    Jonathan Davies                           Nathan R. Hoeschen (No. 6232)
    Douglas Cheek                             SHAW KELLER LLP
    COOLEY LLP                                I.M. Pei Building
    1299 Pennsylvania Avenue, NW, Suite 700   1105 North Market Street, 12th Floor
    Washington, DC 20004-2400                 Wilmington, DE 19801
    (202) 842-7800                            (302) 298-0700
                                              kkeller@shawkeller.com
    Erik Milch
                                              jcastellano@shawkeller.com
    COOLEY LLP
                                              nhoeschen@shawkeller.com
    11951 Freedom Drive, 14th Floor
    Reston, VA 20190-5640
                                              Attorneys for Defendant Liquidia
    (703) 546-8000
                                              Technologies, Inc.
    Ivor Elrifi
    COOLEY LLP
    55 Hudson Yards
    New York, NY 10001-2157
    (212) 479-6000
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    Lauren Krickl
    Deepa Kannappan
    Brittany Cazakoff
    COOLEY LLP
    3175 Hanover Street
    Palo Alto, CA 94304-1130
    (650) 843-5000


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          UTC should be collaterally estopped from asserting the ʼ066 and ʼ901 patents because there

   is no genuine dispute of material fact that the patents claim the same product and process as the

   invalidated ’393 patent. In opposing Liquidia’s collateral estoppel summary judgment motion,

   UTC ironically relies on the same arguments and “facts” that were already considered and rejected

   by both the PTAB and Federal Circuit in the ʼ393 patent IPR proceeding. Indeed, the Walsh and

   Fawzi Declarations highlight UTC’s attempt to relitigate issues that have been squarely decided,

   such as purported advantages of the claimed process and purity/impurity profile of the claimed

   product compared to that of the prior art product. Not only were these issues previously decided,

   but UTC also



                                                        .    D.I. 282, Ex. 18 (                   ) at

   UTC_OREN_00572127 (emphasis added). As discussed herein, UTC’s                                 flatly

   contradicts its arguments in opposition.

          UTC MISCHARACTERIZES THE LAW REGARDING COLLATERAL
          ESTOPPEL AS APPLIED TO PRODUCT-BY-PROCESS CLAIMS

          UTC criticizes Liquidia for “erroneously focus[ing] on the similarities between the claims

   at-issue” rather than “analyz[ing] how ‘the differences between the unadjudicated patent claims

   and adjudicated patent claims’ impact the validity analysis.” D.I. 290 at 10; see also id. at 1, 3.

   This argument fails for several reasons. First, UTC ignores the full context of the relevant case

   law regarding claim “differences,” which provides:

          Our precedent does not limit collateral estoppel to patent claims that are identical.
          Rather, it is the identity of the issues that were litigated that determines whether
          collateral estoppel should apply. If the differences between the unadjudicated
          patent claims and adjudicated patent claims do not materially alter the question of
          invalidity, collateral estoppel applies.




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   Ohio Willow Wood Co. v. Alps S., LLC, 735 F.3d 1333, 1342-45 (Fed. Cir. 2013) (citations

   omitted) (emphasis modified).1 Thus, it is the “sameness” of the issues—not the differences in

   claim language—that controls the collateral estoppel analysis.          And here, as explained in

   Liquidia’s Opening Brief, the invalidity of the claimed product and process is the precise issue

   already decided by the PTAB and Federal Circuit. See D.I. 282, § V.A.1.

          Second, Federal Circuit precedent dictates that “[i]f the product in a product-by-process

   claim is the same as or obvious from a product of the prior art, the claim is unpatentable even

   though the prior product was made by a different process.” In re Thorpe, 777 F.2d 695, 697 (Fed.

   Cir. 1985) (emphasis added); see also Greenliant Sys., Inc. v. Xicor LLC, 692 F.3d 1261, 1268

   (Fed. Cir. 2012) (“In determining validity of a product-by-process claim, the focus is on the

   product and not the process of making it.”) (citation omitted). Liquidia is therefore correct to focus

   on whether the ’066 and ’901 patents claim the “same product” as the ’393 patent. D.I. 282, §

   V.A.1.a. And contrary to UTC’s assertion, Liquidia never relies on the ’393 patent as “prior art”

   (D.I. 290 at 10)—instead, Liquidia explains that the product and process claimed by the ’393 patent

   was found invalid over the prior art, and the ’066 and ’901 patents claim the same product made

   by the same process as the ʼ393 patent; collateral estoppel thus applies. See D.I. 282 at 13-15.

          Third, Liquidia did analyze whether the minor variation in claim language materially alters

   the question of invalidity. D.I. 282, § V.A.1.b. UTC is thus wrong to contend that Liquidia

   “ignore[ed] the undisputed differences between the claims of the patents and their impact on the

   invalidity analysis.” E.g., D.I. 290 at 1. There are no meaningful differences among the claims.



   1
     UTC attempts to distinguish Ohio Willow because, there, “it was ‘without dispute’ that the
   asserted claims were not materially different from the invalidated claims.” D.I. 290 at 11 n.4
   (quoting Ohio Willow, 735 F.3d at 1342). This is unavailing because collateral estoppel looks
   solely to whether the same issue was previously litigated, not whether the litigants in the case agree
   or disagree with one another. E.g., Ohio Willow, 735 F.3d at 1342-45.


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           UTC’s argument regarding the Graham factors is misplaced. See D.I. 290 at 13; id. at §

   VI.C.3. UTC relies heavily on Westwood Chem., Inc. v. U.S., 525 F.2d 1367 (Ct. Cl. 1975), but

   the court there explained that if the “litigated and nonlitigated claims . . . are of identical scope, it

   readily follows that no new issues bearing on the obviousness determination are presented,” and a

   Graham analysis is only necessary if comparison of the claims “reveal[s] some differences of a

   substantive nature.” Id. at 1375; see also id. at 1380 (applying collateral estoppel because “such

   minor differences as exist between the litigated claims and those here in issue are so insubstantial

   that the issues of validity under Graham v. John Deere, must be considered to be the same”). 2

   Here, analysis of the Graham factors is not necessary because the Asserted Claims are identical in

   scope to the invalidated claims of the ’393 patent. See D.I. 282, §§ V.A.1.a, V.B.3 Indeed, courts

   routinely apply collateral estoppel without analyzing the Graham factors. E.g., Soverain Software

   LLC v. Victoria’s Secret Direct Brand Mgmt., LLC, 778 F.3d 1311, 1319-20 (Fed. Cir. 2015); see

   also id. at 1314 (“The issue of whether to apply collateral estoppel is a question of law[.]”) (citation

   omitted) (emphasis added); Allergan, Inc. v. Sandoz, Inc., 681 F. App’x 955, 959-61 (Fed. Cir.

   2017); Sprint Commc’ns Co. v. Charter Commc’ns, Inc., C.A. No. 17-1734-RGA, 2021 WL

   982726, at *8-9 (D. Del. Mar. 16, 2021) (Andrews, J.).

           NO GENUINE DISPUTE OF MATERIAL FACT EXISTS REGARDING THE
           PRODUCT CLAIMED IN THE ʼ066, ʼ901, AND ’393 PATENTS

           UTC does not dispute that the product made by the process steps of the ’393 patent was

   found unpatentable in a final judgment essential to the PTAB’s and Federal Circuit’s decisions, or


   2
     The remaining cases relied upon by UTC did not involve collateral estoppel and thus are
   inapposite. See generally Ruiz v. A.B. Chance Co., 234 F.3d 654 (Fed. Cir. 2000); Syntex (U.S.A.)
   LLC v. Apotex, Inc., 407 F.3d 1371 (Fed. Cir. 2005); Innogenetics, N.V. v. Abbott Lab’ys, 512 F.3d
   1363 (Fed. Cir. 2008); Custom Accessories, Inc. v. Jeffrey-Allan Indus., 807 F.2d 955 (Fed. Cir.
   1986); Daiichi Sankyo Co. v. Apotex, Inc., 501 F.3d 1254 (Fed. Cir. 2007).
   3
     In any event, the PTAB already applied the Graham factors when invalidating the claimed
   product and process steps. D.I. 282, Ex. 4 (’393 FWD) at 20-21, 48-49, 56-67, 83.


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   that UTC had an opportunity to fully and fairly litigate this issue. Thus, the only question before

   the Court is whether the product claimed by the ’066 and ’901 patent is the same as that claimed

   by the ’393 patent. E.g., In re Thorpe, 777 F.2d at 697; Greenliant, 692 F.3d at 1268. The answer

   is yes, for the reasons set forth in Liquidia’s Opening Brief. D.I. 282, §§ V.A.1.a, V.B. UTC

   makes no effort to address the unambiguous testimony of

                                  . See D.I. 282 at 7, 13, 19. Nor does UTC contest that it submitted



               that all three patents are listed in the Orange Book for Tyvaso®, or that UTC relied on

   declarations addressing the product claimed in the ’393 patent during prosecution of the ’066 and

   ’901 patents. See D.I. 282 at 7-9, 13-15; cf. D.I. 290 at 19 n.9, 6 n.3. And UTC misrepresents that

   its                                                                   (D.I. 290 at 19), when in fact

   UTC

                                                                     :




   D.I. 282, Ex. 18 (            ) at UTC_OREN_00572127 (emphases added).

          A.       The Invalidity of the Claimed Product Has Already Been Decided

          UTC is wrong to assert that the process steps of the product-by-process claims in the ʼ066

   and ʼ901 patents impart structural or functional differences to the claimed product that “materially

   alter” the invalidity question. See D.I. 290, § VI.C.2. The dispositive fact is that all three patents

   claim products resulting from the same process steps—alkylation, hydrolysis, and salt formation.

   See Ex. 33 (comparing claim 1 of the ’393, ’066, and ’901 patents). The process steps of the




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 product-by-process claims of the ’066 and ’901 patents are thus duplicative of—not “narrower”

 than—those of the ’393 patent. See D.I. 290 at 13-14.4

        In the ʼ066 patent, 5 UTC points to a clause stating: “whereby ‘a level of one or more

 impurities found in the starting batch of treprostinil is lower in the pharmaceutical composition.’”

 D.I. 290 at 14-15. This “whereby” clause, however, is not a process step—it merely recites the

 result of carrying out the process steps of alkylation, hydrolysis, and salt formation; it does not

 change the claimed product, and thus cannot impart a structural or functional difference. 6 See D.I.

 282, Ex. 1 (’066 patent), claim 1. This same result is achieved when following the process steps

 of the ’393 patent. Independent claims 1 and 9 of the ’393 patent recite a product made by

 alkylation, hydrolysis, and salt formation. D.I. 282, Ex. 3 (’393 patent), claims 1, 9. These ʼ393

 process steps, identical to the ʼ066 process steps, lead to the same product. Further, claim 16 of

 the ʼ393 patent, which depends from claim 9, recites a product “wherein the process does not

 include purifying the compound of formula (VI) produced in step (a) [alkylation].” Id., claim 16.

 Those impurities would be present until the salt formation step removes them. Ex. 34 (Fawzi Dep.

 Tr.) at 239:20-240:18, 243:6-10. Thus, following either claims 1, 9, or 16 of the ʼ393 patent results

 in the same product as claim 1 of the ʼ066 patent, including the result “whereby a level of one or




 4
   UTC’s cited cases are distinguishable because neither involved product-by-process claims, Joao
 Bock involved two different constructions of the same claim term, and MSM Investments also
 involved broader claims that raised new § 112 issues. Joao Bock Transaction Sys., LLC v. Jack
 Henry & Assocs., Inc., No. 12-1138-SLR, 2014 WL 2960363, at *10 n.34 (D. Del. Jun. 30, 2014);
 MSM Investments Co. v. Carolwood Corp., 70 F. Supp. 2d 1044, 1051 (N.D. Cal. 1999).
 5
   UTC includes only passing references to alleged differences in the ’901 patent claims compared
 to the ʼ393 patent claims, without further explanation. See D.I. 290 at 5, 15.
 6
   Even if this clause was found to be a process step, it would not impart any structural or functional
 difference because it does not specify any impurity level or impurity profile that must exist in the
 claimed product. See D.I. 282 at 16-17. Regardless, the PTAB invalidated two claims of the ’393
 patent requiring a purity of “at least 99.5%.” See id. at 17.


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 more impurities found in the starting batch of treprostinil is lower in the pharmaceutical

 composition.”7

        It also makes no difference that the ’066 patent claims recite a “composition” and a

 “starting batch,” instead of a “product” as recited in the ’393 patent. 8 See D.I. 290 at 14-15. The

 law is clear that “the mere use of different words in . . . the claims does not create a new issue of

 invalidity.” Ohio Willow, 735 F.3d at 1343; D.I. 282 at 11 n.9 (citing cases). Nonetheless, the

 “starting batch” of the ’066 patent is “treprostinil free acid.” Ex. 34 (Fawzi Dep. Tr.), 162:7-163:8.

 And the product after the hydrolysis step (process step (b) of claim 1 in the ʼ393 patent) is also

 treprostinil free acid. Id. at 171:2-19, 182:17-25.9

        UTC’s allegation that the ’066 patent claims an improved “impurity profile,” while the

 ’393 patent does not, is likewise unavailing. See D.I. 290 at 15. UTC’s experts agree that neither

 the ’066 patent nor ’901 patent requires any specific impurity or impurity profile that must exist

 in the claimed treprostinil product. D.I. 282 at 16-17. Therefore, as the PTAB found for the ’393

 patent, the ’066 and ’901 patents themselves “do[] not discuss any of the individual impurities.”

 See D.I. 290 at 15 (citing D.I. 282, Ex. 4 (’393 FWD) at 42). UTC is also wrong to suggest that

 “the [PTAB] only examined the purity of the treprostinil molecule claimed in the ’393 claims.”

 See D.I. 290 at 15. The PTAB expressly found that the “impurity profile” of the product claimed

 by the ’393 patent “renders the claimed treprostinil structurally and functionally the same as the

 treprostinil produced according to Moriarty.” D.I. 282, Ex. 4 (’393 FWD) at 14-16, 29-30, 36-38

 (finding “no difference in the overall purity for treprostinil produced according to Moriarty and



 7
   Dr. Fawzi admitted that the claims of the ʼ393 patent include “impurities.” Ex. 34 (Fawzi Dep.
 Tr.) at 238:2-12, 240:4-9; see also D.I. 282, Ex. 3 (’393 patent), claims 2 and 10.
 8
   The same is true for the “batch” claimed by the ’901 patent. See D.I. 290 at 15.
 9
   UTC’s arguments regarding the ’066 IPR proceeding fail for the same reasons articulated in
 Liquidia’s Opening Brief. See D.I. 290 at 14 n.5; cf. D.I. 282 at 17.


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 that produced according to the ’393 patent”). Thus, UTC has already fully litigated and lost the

 issue of an improved “impurity profile” as an alleged distinction of the product claimed in the ’393

 patent (and the ’066 and ’901 patents) over the prior art. See D.I. 282, Ex. 4 (’393 FWD) at 11-

 19, 25-43; D.I. 282, Ex. 8 (’393 POR) at 6-12. 10

        UTC’s reliance on declarations from named inventor Dr. Walsh and UTC expert Dr. Fawzi

 is a poorly disguised attempt to relitigate issues that have already been adversely decided against

 UTC. The Walsh Declaration (D.I. 292) cites no evidence in support of his conclusions, and thus

 cannot create a genuine issue of material fact. E.g., PSN Ill., LLC v. Ivoclar Vivadent, Inc., 525

 F.3d 1159, 1167-68 (Fed. Cir. 2008) (affirming summary judgment when the inventor’s testimony

 was “wholly conclusory and thus insufficient to raise a disputed issue of material fact”); Union

 Carbide Corp. v. Am. Can Co., 724 F.2d 1567, 1572 (Fed. Cir. 1984) (affirming summary

 judgment of invalidity when “the Fischer affidavit expressed no more than an unsupported

 conclusory opinion which ignored . . . the evidence of record” and thus raised “no genuine issue

 of material fact”). Further, Dr. Walsh’s testimony only addresses purported advantages of the

 claimed process—not the claimed product as required to determine validity for product-by-process

 claims. D.I. 292 (Walsh Dec.) at ¶¶ 9-15; id., e.g., ¶ 14 (“



         ”).11 The PTAB already ruled on this issue, finding that the “recited process steps [of



 10
    Evonik Degussa GmbH v. Materia Inc., 53 F. Supp. 3d 778 (D. Del. 2014) is inapposite because
 that court’s decision hinged on issues unique to § 112. Id. at 791-92 (“If the scope of a subsequent
 patent claim differs from that of a prior patent claim, a new issue of patent validity exists with
 respect to whether the subsequent claim is properly enabled under 35 U.S.C. § 112.”) (emphasis
 added).
 11
    UTC has asserted that the claimed process of the ʼ066 and ʼ901 patents includes chromatography
 (e.g., D.I. 75 at 11, 18-19, 53), but
                                                                                             . Ex. 35
 (Walsh Dep. Tr.), 167:1-168:2; Ex. 36 (Ruffolo Dep. Tr.), 82:7-22.


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 alkylation, hydrolysis, and salt formation] would have been obvious to a relevant skilled artisan.”

 D.I. 282, Ex. 4 (’393 FWD) at 80; see also id. at 53, 70.

        Similarly, the Fawzi Declaration attempts to relitigate the issue of whether the claimed

 product’s impurity profile is different from that of the prior art product. See D.I. 290 at 16-17

 (citing D.I. 291 (Fawzi Dec.) at Ex. 2, pp. 3, 30-31, 34, 41). The PTAB and Federal Circuit already

 found that it is not. D.I. 282, Ex. 4 (’393 FWD) at 11-19, 25-43; SteadyMed, 702 F. App’x 990.

 In fact, Dr. Fawzi admits that his opinion that the ʼ393 FWD was wrong is based on his re-analysis

 of the same data already analyzed by Dr. Williams in the ’393 IPR proceeding—and found

 unpersuasive. See Ex. 34 (Fawzi Dep. Tr.), 250:4-254:1, 260:25-261:8; D.I. 291 (Fawzi Dec.),

 Ex. 2 at ¶¶ 74, 100-114; D.I. 282, Ex. 4 (’393 FWD) at 32-36. Additionally, the Fawzi Declaration

 still confirms that

          D.I. 291 (Fawzi Decl.) at ¶ 9.12

        The remaining limitations identified by UTC do not bar the application of collateral

 estoppel. See D.I. 290 at 17-18. UTC relies on limitations regarding storage and stability of the

 salt as an alleged distinction of the claimed product over the prior art product and the ’393 patent’s

 product. See id. This ignores the fact that the claimed product of claim 1 of the ʼ066 and ʼ901

 patents can be either treprostinil free acid or a pharmaceutically acceptable salt. D.I. 282, Ex. 1

 (’066 patent), claim 1; D.I. 282, Ex. 2 (’901 patent), claim 1. It is undisputed that the free acid is

 not stable or stored at ambient temperature—




 12
    UTC’s statements regarding Liquidia’s API manufacturing process, which relates to
 infringement, is wholly irrelevant to whether collateral estoppel applies. See D.I. 290 at 17. And
 they are nonetheless




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                                Ex. 38 (Smyth Dep. Tr.), 88:8-12, 90:15-92:14; Ex. 39 (

                   ),   at   UTC_LIQ00264319                                                 Ex.   40

 (UTC_LIQ00262040-087). Finally, the “storage” limitation UTC points to is not directed to the

 claimed product of the ʼ066 and ʼ901 patents, but to an intermediate before it is used to make the

 claimed “pharmaceutical composition” or “pharmaceutical product.” See D.I. 282, Ex. 1 (’066

 patent), claims 6 and 8; D.I. 282, Ex. 2 (’901 patent), claim 6.

        In sum, collateral estoppel applies because there is no genuine dispute of material fact that

 the product claimed by the ʼ066 and ʼ901 patents is the same product of the invalidated ʼ393 patent.

        B.      The Invalidity of the Claimed Process Has Already Been Decided

        The ’393 FWD, affirmed by the Federal Circuit, expressly ruled on the invalidity of the

 claimed process steps—alkylation, hydrolysis, and salt formation. D.I. 282, Ex. 4 (’393 FWD) at

 53, 70, 80; SteadyMed, 702 F. App’x 990; Ex. 41 (comparing process steps in claim 1 of the ’393

 patent to those in claim 8 of the ’066 and ’901 patents). Contrary to UTC’s assertions, Liquidia’s

 Opening Brief and the arguments set forth above squarely address why the additional limitations

 do not “materially alter” the invalidity question. D.I. 282, § V.B; see supra § II.B. UTC is wrong

 to assert that the process claims require a “materially different validity analysis” (D.I. 290 at 11;

 id. at 8)—the basis for summary judgment here is collateral estoppel, and the PTAB and Federal

 Circuit have already found the claimed process steps invalid. D.I. 282, § V.B. The cases cited by

 UTC are either inapplicable or support application of collateral estoppel here. In Torpharm, Inc.

 v. Ranbaxy Pharms., Inc., the previous litigation found product claims invalid based on prior sale

 and did not rule on the validity of any process steps. 336 F.3d 1322, 1325 (Fed. Cir. 2003)

 (“However, there was (and still is) no evidence of what process [third party] used to make its

 [product], and by stipulation the product-by-process claims . . . were not at issue in the [previous]

 litigation.”). Westwood Chemical specifically held that “a process and product may present


                                                  9
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 identical issues concerning, e.g., their obviousness.”      525 F.2d at 1379 (finding that “this

 distinction . . . is of no merit and does not defeat application of [collateral] estoppel”). 13 The

 process claims of the ’066 and ’901 patents are thus invalid.

        C.      Liquidia’s Motion is Not Procedurally Barred

        UTC’s untimeliness argument is meritless—Liquidia first disclosed an invalidity defense

 based on SteadyMed nearly 15 months ago in its invalidity contentions. See Ex. 42 (Preliminary

 Invalidity Contentions) at 115-119 (asserting invalidity for claiming the same product as the

 invalidated ’393 patent); Ex. 43 (First Supplemental Invalidity Contentions) at 49-50, 114-115

 (same). Further, Liquidia sought leave from the Court to file the instant Motion, and UTC, in

 response, never asserted that Liquidia’s collateral estoppel defense is procedurally barred. See D.I.

 228, 246, 257. UTC’s failure to raise this issue until now confirms it is “not prejudiced in its

 ability to respond.” See Courteau v. U.S., 287 F. App’x 159, 161-62 (3d Cir. 2008) (internal

 quotation omitted); Ex. 44 (Trs. of the Univ. of Pa. v. Eli Lilly & Co., No. 2:15-cv-06133-PD, D.I.

 343 (E.D. Pa. Jan. 14, 2022)) at 7-11 (applying collateral estoppel when raised for the first time in

 a motion to strike filed after summary judgment briefing). 14

        CONCLUSION

        Liquidia respectfully requests that the Court grant summary judgment of invalidity of the

 Asserted Claims of the ’066 and ’901 patents due to collateral estoppel.


 13
    Several cases relied upon by UTC did not involve collateral estoppel. See generally In re Ochiai,
 71 F.3d 1565 (Fed. Cir. 1995); Amgen Inc. v. F. Hoffman-La Roche Ltd., 580 F.3d 1340 (Fed. Cir.
 2009); A.K. Stamping Co. v. Instrument Specialties Co., 106 F. Supp. 2d 627 (D.N.J. 2000). And
 Purdue Pharma L.P. v. Mylan Pharms., Inc. was decided on a motion to dismiss, where the court
 found that the “fact-based inquiries are premature for resolution at this stage.” C.A. No. 15-1155-
 RGA-SRF, 2017 WL 784989, at *8 (D. Del. Mar. 1, 2017); see also 2017 WL 2569604, at *1-2.
 14
    UTC’s also argues that Liquidia’s motion for summary judgment on all asserted claims is
 “improper” (D.I. 290 at 2)—this too is misguided, because the Court’s order “grant[ed] Liquidia
 leave to move for summary judgment of invalidity of the [’]066 patent and [’]901 patent due to
 collateral estoppel,” with no reference to specific claims. See D.I. 267.


                                                  10
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                                  22280



                                                 /s/ Nathan R. Hoeschen
                                                 Karen E. Keller (No. 4489)
                                                 Jeff Castellano (No. 4837)
                                                 Nathan R. Hoeschen (No. 6232)
                                                 SHAW KELLER LLP
                                                 I.M. Pei Building
                                                 1105 North Market Street, 12th Floor
  OF COUNSEL:                                    Wilmington, DE 19801
  Sanya Sukduang                                 (302) 298-0700
  Jonathan Davies                                kkeller@shawkeller.com
  Douglas Cheek                                  jcastellano@shawkeller.com
  COOLEY LLP                                     nhoeschen@shawkeller.com
  1299 Pennsylvania Avenue, NW, Suite 700        Attorneys for Defendant Liquidia
  Washington, DC 20004-2400                      Technologies, Inc.
  (202) 842-7800

  Erik Milch
  COOLEY LLP
  11951 Freedom Drive, 14th Floor
  Reston, VA 20190-5640
  (703) 546-8000

  Ivor Elrifi
  COOLEY LLP
  55 Hudson Yards
  New York, NY 10001-2157
  (212) 479-6000

  Lauren Krickl
  Deepa Kannappan
  Brittany Cazakoff
  COOLEY LLP
  3175 Hanover Street
  Palo Alto, CA 94304-1130
  (650) 843-5000

  Dated: February 11, 2022




                                            11
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                                 CERTIFICATE OF SERVICE

        I, Nathan R. Hoeschen, hereby certify that on February 11, 2022, this document was

 served on the persons listed below in the manner indicated:

         BY EMAIL
         Jack B. Blumenfeld                            Adam W. Burrowbridge
         Michael J. Flynn                              Joshua Revilla
         MORRIS, NICHOLS, ARSHT & TUNNELL LLP          Timothy M. Dunker
         1201 North Market Street                      MCDERMOTT WILL & EMERY LLP
         P.O. Box 1347                                 The McDermott Building
         Wilmington, DE 19899                          500 North Capitol Street
         (302) 658-9200                                Washington, DC 20001-1531
         jblumenfeld@mnat.com                          (202) 756-8000
         mflynn@mnat.com                               aburrowbridge@mwe.com
                                                       jrevilla@mwe.com
         William C. Jackson                            tdunker@mwe.com
         GOODWIN PROCTER LLP
         1900 N Street, NW                             Douglas H. Carsten
         Washington, DC 20036                          Art Dykhuis
         (202) 346-4216                                Jiaxiao Zhang
         wjackson@goodwinlaw.com                       Katherine Pappas
                                                       Mandy H. Kim
         Bill Ward                                     MCDEMOTT WILL & EMERY LLP
         BOIES SCHILLER FLEXNER LLP                    18565 Jamboree Road, Suite 250
         725 S. Figueroa Street, 31st Floor            Irvine, CA 92615
         Los Angeles, CA 90017                         (949) 851-0633
         (213) 995-5745                                dcarsten@mwe.com
         bward@bsfllp.com                              adykhuis@mwe.com
                                                       jiazhang@mwe.com
         Huiya Wu                                      kpappas@mwe.com
         GOODWIN PROCTER LLP                           mhkim@mwe.com
         620 Eighth Avenue
         New York, NY 10018                            Harrison Gunn
         (212) 459-7270                                GOODWIN PROCTER LLP
         hwu@goodwinlaw.com                            100 Northern Avenue
                                                       Boston, MA 02210
                                                       (617) 570-1064
                                                       hgunn@goodwinlaw.com




                                                12
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                                  22282



                                    /s/ Nathan R. Hoeschen
                                    Karen E. Keller (No. 4489)
                                    Jeff Castellano (No. 4837)
                                    Nathan R. Hoeschen (No. 6232)
                                    SHAW KELLER LLP
                                    I.M. Pei Building
                                    1105 North Market Street, 12th Floor
                                    Wilmington, DE 19801
                                    (302) 298-0700
                                    kkeller@shawkeller.com
                                    jcastellano@shawkeller.com
                                    nhoeschen@shawkeller.com
                                    Attorneys for Defendant
                                    Liquidia Technologies, Inc.




                                      13
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                                              EXHIBIT 331

         ’393 Patent Claim 1               ’066 Patent Claim 1               ’901 Patent Claim 1
     A product comprising a           A pharmaceutical                   A pharmaceutical batch
     compound of formula I            composition comprising             consisting of treprostinil or a
                                      treprostinil or a                  salt thereof
                                      pharmaceutically acceptable
                                      salt thereof,

     or a pharmaceutically
     acceptable salt thereof,
     wherein said product is          said composition prepared by       and impurities resulting from
     prepared by a process            a process comprising
     comprising                       providing a starting batch of
                                      treprostinil having one or
                                      more impurities resulting
                                      from
     (a) alkylating a compound of     prior alkylation and               (a) alkylating a benzindene
     [a genus including                                                  triol,
     benzindene triol] with an
     alkylating agent to produce a
     compound [from a genus
     comprising treprostinil],
     (b) hydrolyzing the product []   hydrolysis steps,                  (b) hydrolyzing the product
     of step (a) with a base,                                            of step (a) to form a solution
                                                                         comprising treprostinil,
     (c) contacting the product of    forming a salt of treprostinil     (c) containing the solution
     step (h) with a base B to form   by combining the starting          comprising treprostinil from
     a salt of formula Is.            batch and a base,                  step (b) with a base to form a
                                                                         salt of treprostinil,




                                      isolating the treprostinil salt,   (d) isolating the salt of
                                                                         treprostinil, and
                                      and preparing a
                                      pharmaceutical composition
                                      comprising treprostinil or a
                                      pharmaceutically acceptable


 1
     Highlighting added for emphasis.
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                                     salt thereof from the isolated
                                     treprostinil salt,
  (d) optionally reacting the salt                                       (e) optionally reacting the salt
  formed in step (c) with an                                             of treprostinil with an acid to
  acid to form the compound of                                           form treprostinil, and
  formula I.
                                     whereby a level of one or
                                     more impurities found in the
                                     starting batch of treprostinil is
                                     lower in the pharmaceutical
                                     composition, and wherein
                                     said alkylation is alkylation
                                     of benzindene triol.
                                                                         wherein the pharmaceutical
                                                                         batch contains at least 2.9 g
                                                                         of treprostinil or its salt.
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                         Mahdi Fawzi , Ph.D.




             United Therapeutics Corporation vs
                  Liquidia Technologies Inc
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Case 1:20-cv-00755-RGA-JLH Document 310 Filed 02/18/22 Page 40 of 664 PageID #:
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                                  Deposition of:
                          David Walsh, Ph.D.
                              September 14, 2021


                                In the Matter of:

             United Therapeutics Corporation vs
                  Liquidia Technologies Inc




                            Veritext Legal Solutions
                     800-734-5292 | calendar-dmv@veritext.com |
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                                   22305


                                                                         Page 1

 1                IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE
 2
 3      - - - - - - - - - - - - - x
            UNITED THERAPEUTICS             :
 4          CORPORATION,                    :
                                            :
 5               Plaintiff,                 :
                                            :
 6              v.                          :   Case No.
                                            :   1:20-cv-755
 7          LIQUIDIA                        :
            TECHNOLOGIES, INC.,             :
 8                                          :
                 Defendant.                 :
 9      - - - - - - - - - - - - - x
10
11                                      - - -
12                      Tuesday, September 14, 2021
13                                      - - -
14
15                            Highly Confidential
16                      Under the Protective Order
17
18
19      REMOTE ZOOM deposition of DAVID ALLAN
20      WALSH, Ph.D., beginning at 10:12 a.m. EST, before
21      Christina S. Hotsko, RPR, CRR, when were present
22      on behalf of the respective parties:

                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
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                                                                      Page 2                                                                      Page 4
     1       A P P E A R A N C E S (Via Zoom)
     2 On behalf of Petitioner:
                                                                                1             PROCEEDINGS
        ART DYKHUIS, ESQUIRE                                                    2         VIDEO TECHNICIAN: Good morning. We're
     3 KATHERINE PAPPAS, ESQUIRE
        McDermott Will Emery, LLP                                               3 going on the record at 10:12 a.m. on
     4 18565 Jamboree Road, Suite 250                                           4 September 14th, 2021.
        Irvine, California 92612-2565
     5 (949) 989-8292                                                           5         This is media unit 1 of the                 10:12:21
        adykhuis@mwe.com
                                                                                6 video-recorded deposition of David Walsh, Ph.D.,
     6 kpappas@mwe.com
     7                                                                          7 in the matter of United Therapeutics Corporation
       On behalf of Defendant:
     8 LAUREN KRICKL, ESQUIRE                                                   8 versus Liquidia Technologies, Inc., filed in the
        Cooley, LLP                                                             9 United States District Court for the District of
     9 3175 Hanover Street
        Palo Alto, California 94304-1130                                       10 Delaware, case number 1:20-cv-755.                            10:12:36
    10 (650) 843-5065
                                                                               11         This deposition is being held at the
        lkrickl@cooley.com
    11                                                                         12 residence of Dr. Walsh.
        ERIK MILCH, ESQURE
    12 Cooley, LLP                                                             13         My name is Scott Forman from the firm
        Reston Town Center                                                     14 Veritext, and I am the videographer. The court
    13 11951 Freedom Drive, 14th Floor
        Reston, Virginia 20190-5640                                            15 reporter is Christina Hotsko from the firm                    10:12:51
    14 (703) 456-8573                                                          16 Veritext.
        emilch@cooley.com
    15                                                                         17         I am not related to any party in this
    16 Also Present:
        Scott Forman, CLVS, Video Technician                                   18 action, nor am I financially interested in the
    17                                                                         19 outcome.
    18
    19                                                                         20         Counsel will now state their appearances              10:12:57
    20                                                                         21 and affiliations for the record.
    21
    22                                                                         22         MS. KRICKL: Lauren Krickl of Cooley,
                                                                      Page 3                                                                      Page 5
     1              CONTENTS                                                    1 LLP, on behalf of Liquidia Technologies, Inc. And
     2   EXAMINATION BY:                                   PAGE
     3    Counsel for Defendant                       05                        2 with me is Erik Milch, also of Cooley.
     4                                                                          3        MR. DYKHUIS: And I am Art Dykhuis with
     5   WALSH DEPOSITION EXHIBITS: *                              PAGE
                                                                                4 McDermott, Will & Emery on behalf of the witness
     6   Exhibit 1 Walsh CV                     16
     7   Exhibit 2 U.S. 9,593,006 Patent, Batra et al.      20                  5 and plaintiff United Therapeutics Corporation.         10:13:20
     8   Exhibit 3 U.S. 9,604,901 Patent, Batra et al.      23                  6 And with me I have Kathy Pappas, also with
     9   Exhibit 4 U.S. 8,497,393 Patent, Batra et al.      26
                                                                                7 McDermott.
    10   Exhibit 5 U.S. 9,604,901 Patent Certificate        117
                 of Correction                                                  8        VIDEO TECHNICIAN: Thank you very much.
    11                                                                          9 Will the court reporter please swear in the
         Exhibit 6    Remodulin Product Information          122
    12                                                                         10 witness.
         Exhibit 7                                           129               11 Whereupon,
    13                                                                         12          DAVID ALLAN WALSH, Ph.D.,
         Exhibit 8
                                                                               13 being first duly sworn or affirmed to testify to
                                                                               14 the truth, the whole truth, and nothing but the
                                                                               15 truth, was examined and testified as follows:         10:13:57
                                          161
    16   Exhibit 9                                                             16        VIDEO TECHNICIAN: Thank you very much.
    17   Exhibit 10                                                            17 You may proceed. Thank you.
                                                                               18      EXAMINATION BY COUNSEL FOR DEFENDANT
    19   Exhibit 11                                                            19 BY MS. KRICKL:
                                                                               20     Q. Good morning, Dr. Walsh.                    10:13:58

    21                                                                         21     A. Good morning.
    22         * (Exhibits attached to transcript.)                            22     Q. Please state your full name for the

                                                                                                                                    2 (Pages 2 - 5)
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                                                                   Page 166                                                                     Page 168
     1                                                                         1 with every step you do in the lab. So if you add
                                                                               2 a new one, that would increase safety concerns.
                                                                               3 BY MS. KRICKL:
                                                                               4      Q. Would costs be increased if I took the
     5   BY MS. KRICKL:                                14:46:08                5 new process and introduced the step of isolating           14:48:14
     6      Q. Got it.                                                         6 treprostinil free acid?
     7         Did the new process increase annual                             7      A. Yes.
     8   capacity at the Chicago site?                                         8      Q. Why?
     9         MR. DYKHUIS: Objection. Form,                                   9      A. Anytime you add a step, it increases
    10   foundation, and vague.                      14:46:15                 10 costs. It takes longer in production and it takes     14:48:31
    11         THE WITNESS: No.                                               11 the cost of the chemicals and the salaries of the
    12   BY MS. KRICKL:                                                       12 employees to do that.
    13      Q. Did the new process enable UTC to install                      13      Q. Would that also impact the safety of the
    14   and validate the process at Silver Spring?                           14 reaction steps?
    15      A. Yes.                             14:46:30                      15           MR. DYKHUIS: Objection as to form.               14:48:41
    16         MR. DYKHUIS: Objection. Form,                                  16 Vague. Expert testimony. Incomplete
    17   foundation, and vague.                                               17 hypothetical.
    18   BY MS. KRICKL:                                                       18           THE WITNESS: Yes. I already answered
    19      Q. Sorry, can you repeat your answer to                           19 that. Anytime you increase [sic] a step, it would
    20   that? Was it yes?                         14:46:43                   20 increase safety concerns.                       14:48:51
    21      A. Yes.                                                           21 BY MS. KRICKL:
    22      Q. Yes? Okay.                                                     22      Q. Can you please flip to the page -- page 3

                                                                   Page 167                                                                     Page 169
     1        If I took the new process and added                              1 of the PDF, which ends in 8224 [sic].
     2 column chromatography, would that increase costs?                       2      A. Okay.
     3        MR. DYKHUIS: Objection. Form, vague,                             3      Q. Under the fourth heading, do you see
     4 seeking expert testimony, and incomplete                                4 where it says,
     5 hypothetical.                                14:47:03                                                                                 14:49:19
     6        THE WITNESS: Yes.                                                6 --
     7 BY MS. KRICKL:                                                          7      A. Yes.
     8     Q. Why would it increase costs?                                     8      Q. Sorry, thank you.
     9        MR. DYKHUIS: Same objections.                                    9
    10        THE WITNESS: I think I answered that             14:47:14
    11 question before. It was -- you needed extra new                                                                  right?
    12 equipment to run the process, and you needed a lot                     12      A. Yes.
    13 of solvent. It's cost on both ends, buying the                         13      Q. Why was that -- strike that.
    14 solvent to use and then getting rid of it.                             14
    15 BY MS. KRICKL:                                   14:47:39                                                                 14:49:46
    16     Q. If I took the new process and added                             16      A. Yes.
    17 column chromatography, would that impact the                           17           MR. DYKHUIS: Objection to foundation.
    18 safety profile of any of the reaction steps?                           18 BY MS. KRICKL:
    19        MR. DYKHUIS: Objection to form and                              19      Q.
    20 vague. Seeking expert testimony. Incomplete             14:47:51       20           MR. DYKHUIS: Objection. Form.                14:49:54
    21 hypothetical.                                                          21           THE WITNESS:
    22        THE WITNESS: There are safety concerns

                                                                                                                          43 (Pages 166 - 169)
                                              Veritext Legal Solutions
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                                  22310




                       EXHIBIT 36
Case 1:20-cv-00755-RGA-JLH Document 310 Filed 02/18/22 Page 47 of 664 PageID #:
                                  22311




                                  Deposition of:
                            Robert R. Ruffolo
                                 April 15, 2021


                                In the Matter of:

             United Therapeutics Corporation vs
                  Liquidia Technologies Inc




                            Veritext Legal Solutions
                     800-734-5292 | calendar-dmv@veritext.com |
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                                  22312
                                  DR. RUFFOLO

                                                                         Page 1

 1                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE
 2
                                                - - -
 3
 4           UNITED THERAPEUTICS        :              C.A. No.
             CORPORATION,               :              20-755-RGA
 5                                      :
                    Plaintiff,          :
 6                                      :
                    vs.                 :
 7                                      :
             LIQUIDIA TECHNOLOGIES, INC.:
 8                                      :
                    Defendant.          :
 9
10                                              - - -
11
12
                                  THURSDAY, APRIL 15, 2021
13
14
15                                    - - -
16                Remote Videotape Zoom Deposition of
17            ROBERT R. RUFFOLO, Ph.D., taken pursuant
18            to Notice, commencing at approximately
19            9:03 a.m., on the above date, before Rose A.
20            Tamburri, RPR, CM, CCR, CRR, USCRA Speed and
21            Accuracy Champion and Notary Public.
22                                    - - -
23                            VERITEXT LEGAL SOLUTIONS
                                MID-ATLANTIC REGION
24                        1801 Market Street, Suite 1800
                         Philadelphia, Pennsylvania 19103

                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
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                                  22313
                                  DR. RUFFOLO
                                                                  Page 2                                                       Page 4
     1   APPEARANCES:                                                       1           E X H I B I T S, Continued:
     2                                                                      2
             BOIES, SCHILLER, FLEXNER LLP                                       Exhibit 0009 C.F.R. Section 210.3 -     179
     3       BY: BILL WARD, ESQUIRE
             401 Wilshire Boulevard, Suite 850
                                                                            3            Bates Nos.
     4       Santa Monica, California 90401                                              UTC_LIQ00041891 - 893
             (310) 752-2402                                                 4
     5       bward@bsfllp.com                                                   Exhibit 0010 Supplemental Declaration 234
             (Via Remote Zoom)                                              5            of Robert R. Ruffolo,
     6       Representing the Plaintiff and                                              Ph.D., dated April 2,
             The Witness                                                    6            2021
     7
                                                                            7   Exhibit 0011 Patent Owner's Response 243
     8       COOLEY LLP
             BY: JONATHAN DAVIES, ESQUIRE                                                to Petition - Bates Nos.
     9       1299 Pennsylvania Avenue NW, Suite 700                         8            LIQ00084488 - 571
             Washington, DC 20004                                           9   Exhibit 0012 Patent Owner         264
    10       (202) 776-2049                                                10            Preliminary Response
             jdaviesw@cooley.com                                           11            Under 35 U.S.C. Section
    11       (Via Remote Zoom)                                             12            313 and 37 C.F.R.
             Representing the Defendant
                                                                           13            Section 42.107 - Bates
    12
    13                                                                     14            Nos. LIQ00083725 - 806
    14   ALSO PRESENT:                                                     15
    15                                                                     16   Exhibit 0013 Patent Owner's Request      271
    16       ADAM W. BURROWBRIDGE, ESQUIRE                                 17            for Rehearing - Bates
    17                                                                     18            Nos. LIQ00083884 - 899
    18       DOUGLAS H. CARSTEN, ESQUIRE                                   19
    19
                                                                           20   Exhibit 0014 Decision Denying Patent     277
    20       DOUGLAS W. CHEEK, ESQUIRE
    21
                                                                           21            Owner's Request on
    22       ANDREW SMITH, Video Concierge                                 22            Rehearing of Decision
    23                                                                     23            on Institution - Bates
    24       ORSON BRAITHWAITE, Videographer                               24            Nos. LIQ00084819 - 828
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         TESTIMONY OF: ROBERT R. RUFFOLO, Ph.D.                             2
     3
          By Mr. Davies............................8                        3   DIRECTION TO WITNESS NOT TO ANSWER
     4
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     6                                                                      5   Page    Line
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     7                                                                      6
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     8
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     9            Deposition
    10   Exhibit 0002 Declaration of Robert   31
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                  R. Ruffolo, Ph.D.                                        10
    11            dated February 5, 2021
    12   Exhibit 0003 U.S. Patent No.       65                             11    60     24
                  9,593,066 - Bates Nos.
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    14   Exhibit 0004 U.S. Patent No.       65                             13    284      8, 24
                  9,604,901 - Bates Nos.
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                                  22314
                                  DR. RUFFOLO
                                                  Page 78                                                Page 80
     1            So does the 0 -- does the spec --          1   let the witness complete his answer.
     2   and so if I refer to the specification of the       2            MR. DAVIES: That's fine.
     3   '066 Patent, do you understand I'm also             3            You can complete your answer, Dr.
     4   referring to the specification of the '901          4   Ruffolo.
     5   Patent?                                             5            THE WITNESS: Okay. Thank you.
     6      A. Yes.                                          6            Storage at ambient temperature
     7      Q. Okay.                                         7   would be an efficiency; the synthesis, the way
     8            So -- and maybe -- maybe for               8   it's synthesized would be an efficiency;
     9   clarity's sake, if I refer to the                   9   having the option not to isolate would be an
    10   patents-in-suit -- strike that. Strike that.       10   efficiency. You could isolate, but not having
    11            So does the specification of the          11   to do it would be an efficiency.
    12   '066 and the '901 Patents tell me how to           12            Improvement of quality would be an
    13   determine whether the process is more              13   efficiency, you wouldn't have to clean it up
    14   efficient?                                         14   as much. It saves solvents, manpower,
    15            MR. WARD: Objection to form.              15   purification, intermediate steps. It -- so --
    16            THE WITNESS: Well, if I                   16   so my understanding of efficiency would be
    17   understand the question, I'm not sure I            17   efficiencies from the specification, which is,
    18   understand it. Maybe -- maybe you could ask        18   I think, what you asked.
    19   it again before I answer.                          19   BY MR. DAVIES:
    20   BY MR. DAVIES:                                     20       Q. Do you see, in Column 17, it says,
    21      Q. Does the specification of the '066 or        21   "The purification" -- and, I'm sorry, strike
    22   the '901 Patent provide -- strike that.            22   that.
    23            Does the specification of the '066        23            Do you see in Column 17 of the
    24   and the '901 Patent tell a person of skill in      24   '066 Patent, beginning at line 28 or 29 -- no,
                                                  Page 79                                                Page 81
     1   the art how to determine whether the claim          1   28, I'm sorry -- strike that. Let's start
     2   process is more efficient?                          2   over.
     3       A. The patent specification, Column 17,         3            Beginning -- Column 17, beginning
     4   lists the advantages, including related to          4   in line 28 of the '066 Patent, it says, "The
     5   efficiency, I believe. We can read it. And          5   purification of benzindene nitrile by column
     6   I -- I think that's what you're asking.             6   chromatography is eliminated."
     7       Q. And, Dr. Ruffolo, are you in the '066        7            Do you see that?
     8   Patent or the '901 Patent?                          8      A. Yes, I do.
     9       A. I'm sorry, the '066.                         9      Q. Does that make the claimed process
    10       Q. Okay.                                       10   more efficient?
    11             So where in the '066 Patent does         11            MR. WARD: Objection to form.
    12   it tell a skilled artisan how to determine         12            THE WITNESS: Yes, it would. That
    13   whether or not the claimed process is more         13   optional step to eliminate would.
    14   efficient?                                         14   BY MR. DAVIES:
    15       A. It's talking about advantages in the        15      Q. So if that step is optional, if I
    16   process that allow it to be stored at ambient      16   were to include column chromatography, that
    17   temperature, that would provide a level of         17   would, by definition, make the claim process
    18   efficiency. You can --                             18   less efficient?
    19       Q. And, Dr. Ruffolo, let me just stop          19            MR. WARD: Objection to form.
    20   you there.                                         20            THE WITNESS: It could.
    21             So in addition to providing              21   BY MR. DAVIES:
    22   improved efficiency, what other advantages         22      Q. Well, it could or it would, Doctor?
    23   would you --                                       23      A. Well, it depends.
    24             MR. WARD: You've got to let --           24            MR. WARD: Objection to form.
                                                                                            21 (Pages 78 - 81)
                                       Veritext Legal Solutions
                     215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
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                                  22315
                                  DR. RUFFOLO
                                                 Page 82                                                Page 84
     1           THE WITNESS: It depends if you're          1      Q. Okay.
     2   making other changes. If that additional step      2           The next thing that's referred to
     3   allows you to eliminate other purification         3   in Column 17 is that the crude treprostinil
     4   steps, then you're right, almost 15 in this        4   salt can be converted to treprostinil by
     5   patent, then you -- it could.                      5   simple acidification with diluted hydrochloric
     6   BY MR. DAVIES:                                     6   acid.
     7      Q. Absent any other change to the               7           Do you see that?
     8   process, would the inclusion of column             8      A. Yes, I do.
     9   chromatography make the process less               9      Q. And what advantage does that provide
    10   efficient?                                        10   to the claim process?
    11           MR. WARD: Objection to form.              11           MR. WARD: Objection to form.
    12           THE WITNESS: In my opinion, yes.          12           THE WITNESS: Well, that's a step
    13   BY MR. DAVIES:                                    13   you would need to protonate the ionized
    14      Q. Would it also make the process less         14   carboxylic acid in treprostinil to predict --
    15   green?                                            15   to make it into treprostinil.
    16           MR. WARD: Same objection.                 16   BY MR. DAVIES:
    17           THE WITNESS: It could.                    17      Q. And so that step, conversion to
    18   BY MR. DAVIES:                                    18   treprostinil by simple acidification with
    19      Q. Would it make -- would it involve the       19   diluted hydrochloric acid, is required under
    20   use of additional solvents?                       20   your definition of "a process"?
    21           MR. WARD: Same objection.                 21           MR. WARD: Objection to form.
    22           THE WITNESS: Very likely.                 22           THE WITNESS: If you're -- if
    23   BY MR. DAVIES:                                    23   you're trying to make a treprostinil-free
    24      Q. You pointed to some other advantages        24   acid, which is treprostinil, you would have to
                                                 Page 83                                                Page 85
     1   of the claim process that are identified in        1   get it to protonate, and that would be done
     2   Column 17, including that the crude                2   through acidification.
     3   treprostinil salts can be stored as raw            3   BY MR. DAVIES:
     4   material at ambient temperature.                   4      Q. Using diluted hydrochloric acid?
     5           Do you see that?                           5      A. Using --
     6      A. Yes, I do.                                   6            MR. WARD: Objection to form.
     7      Q. Okay.                                        7            THE WITNESS: Yes, you could use
     8           If I would add a step to the               8   hydrochloric acid as -- as done here. You can
     9   claimed process that lessened the stability of     9   use other acids.
    10   the treprostinil salt at ambient temperature,     10   BY MR. DAVIES:
    11   would that be permitted under your definition     11      Q. Do you see the next thing in Column
    12   of "a process"?                                   12   17, it refers to the treprostinil salts can be
    13           MR. WARD: Objection to form.              13   synthesized from the solution of treprostinil
    14           THE WITNESS: Could you repeat the         14   without isolation?
    15   question, please?                                 15            Do you see that?
    16   BY MR. DAVIES:                                    16            MR. WARD: Objection to form.
    17      Q. If I added a step to the claimed            17            THE WITNESS: Yes, I do.
    18   process that made the treprostinil salts less     18            MR. DAVIES: Okay.
    19   stable at ambient temperatures, could that --     19   BY MR. DAVIES:
    20   could that additional step still be included      20      Q. And what advantage does that feature
    21   under your definition of "process"?               21   provide to the claim process?
    22      A. I don't know. Perhaps.                      22            MR. WARD: Objection to form.
    23      Q. Why do you say "perhaps"?                   23            THE WITNESS: It allows you to
    24      A. Because I don't know.                       24   eliminate an isolation step that's optional,
                                                                                           22 (Pages 82 - 85)
                                       Veritext Legal Solutions
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                       EXHIBIT 37
         Case 1:20-cv-00755-RGA-JLH Document 310 Filed 02/18/22 Page 53 of 664 PageID #:
                                           22317


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                                                                                  Form
                              CONFIDENTIAL                  Revision:         2
                 Document#:   I FRM-011                     Effective Date:   Oct 6, 2019
                 Title:       I Receiving_ _Inspection Report
                                    Receiving Inspection Report (page 1 of 2)




                Page 1 of 3                Printed l/7/202111:10:00 AM




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         Case 1:20-cv-00755-RGA-JLH Document 310 Filed 02/18/22 Page 54 of 664 PageID #:
                                           22318


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                              CONFIDENTIAL                Revision:       !2
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                                    Receiving Inspection Report (page 2 of 2)




                Page 2 of 3               Printed l/7/202111:10:00 AM




HIGHLY CONFIDENTIAL                                                                       LIQ02798134
         Case 1:20-cv-00755-RGA-JLH Document 310 Filed 02/18/22 Page 55 of 664 PageID #:
                                           22319


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                                                                                   Form
                                CONFIDENTIAL                 Revision:         00
                  Document#:    I FRM-012                    Effective Date:   Aug_~1. 2017
                  Title:        I Material Samplin2 Form
                                               Material Sampling Form




        Sample:                             UOM:            Sample                            UOM:
        Sample:                             UOM:            Sample                            UOM:
        Sample:                             UOM:            Sample                            UOM:
        Sample:                             UOM:            Sample                            UOM:
        Sample:                             UOM:            Sample                            UOM:


       Room Completed In: _ _ _ _ _ _ __                   Equipment Asset#: _ _ _ _ _ _ __
       Completed By: _ _ _ _ _ _ _ _ _ _ __                      Date: _ _ _ _ _ __




       Material Sampling
       RMS#_ _ _ _ _ _ _ __                                     Lot#_ _ _ _ _ _ __
       Material Description : _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
       RMS# Sample Requirement: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

       Number of Containers in Lot: _ _ _ __               Containers to be sampled: _ _ __


        Sample:                             UOM:            Sample                            UOM:
        Sample:                             UOM:            Sample                            UOM:
        Sample:                             UOM:            Sample                            UOM:
        Sample:                             UOM:            Sample                            UOM:
        Sample:                             UOM:            Sample                            UOM:


       Room Completed In: _ _ _ _ _ _ __                   Equipment Asset#: _ _ _ _ _ _ __
       Completed By: _ _ _ _ _ __ _ _ _ _ __                     Date: _ _ _ _ _ __




                  Page 1 of 2               Printed 1/7/2021 11:13:00 AM




HIGHLY CONFIDENTIAL                                                                                  LIQ02798135
        Case 1:20-cv-00755-RGA-JLH Document 310 Filed 02/18/22 Page 56 of 664 PageID #:
                                          22320




                -
               Certificate of Analysis
                                                                     YONSUNG FINE CHEMICALS CO., LTD.
                                                      207, Sujeong-ro, Jangan-myeon, Hwaseong-si, Gyeonggl-do, 18581, Republic of Korea
                                                                         TEL: +82·31-8047-98   o / 'C!k\f'D!!~°'fW.~
                                                                                                    FROM THE ORIGINAL DOCUMENT

                                                                                                  SIGN/DATE :              (}ll-~,,., ./.). ~
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                                                                                                 YONSUNG FINE CHEMICALS CO.,LTD,
               Product Name :         Treprostinil Sodium                  Batch No. :

               Molecular Formula :    C23H33NaOs(M.W. 412.49)              CAS No.:                   289480-64-4
                                           -----·--··---•. ....._
               Manufacturing Date :   Sep. 01, 2020                        Expiry Date :               Aug . 31, 2023
                                                                                                    ... •····---··---·········--.. -··--   - -~




                                                                                                                    Sep. 21~ 2020

                                                                  Date of Issue                          Date of QC Test Approval


                                                                                                                                           Page 1 of 2

                                                                                         Form QA023-01 (Certificate No. TNIH1-04(V00})




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                                          22321




                -
               Certificate of Analysis
                                                                     YONSUNG FINE CHE.MICALS CO., LTO.
                                                      207, Sujeong-ro, Jangan-myeon, Hwaseong-si, Gyeonggi-do, 18581, Republic of Korea
                                                                         TEL: +82-31·8047-980!Jir"E:~i:'9.l~~~~~~~~~=•


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                                                                                                 YONSUNG FINE CHEMICALS CO.,LTD.
               Product Name :         Treprostlnll Sodium                  Batch No.:

               Molecular Formula :    C23H33NaOs (M.W. 412.49)             CAS No. :                   289480-64-4

               Manufacturing Date :   Sep. 01, 2020                        Expiry Date :               Aug. 31, 2023




              [Remarks]
              N/A




                                                                                                             Sep. 21, 2020

                                                                 Date of Issue                          Date of QC Test Approval


                                                                                                                             Page 2 of 2
                                                                                        Form QA023-01 (Certificate No. TNIH1·04(V00))




HIGHLY CONFIDENTIAL                                                                                                                        LIQ02798137
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                                          22322

                                                                   207, Sujeong•ro, Jangan-myeon,
               YONSUNG                          YONSUNG            Hwaseong-si, Gyeonggi-do,
                                                                   18581,,Republic of Korea
                                        FINE CHEMICALS CO., LTD.   TEL: 82-3i-351•6622
                                                                   FAX: 82-31-351"6624



                                                                           February 7, 2,020




             To whom it may. concern,


             Name ofthe substance: TreprostinilSodium




             Sincerely,




             Director of Quality Department
             Yonsung Fine Chemicals Co., LTD.




                                                        1/ 1




HIGHLY CONFIDENTIAL                                                                                 LIQ02798138
         Case 1:20-cv-00755-RGA-JLH Document 310 Filed 02/18/22 Page 59 of 664 PageID #:
                                           22323



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                      YONSLJNG                       YONSUNG              Hwaseong•sl, OyconS.sl~db,
                                                                          18S81; RCJ]u~llc: o(l(tiren
                                           FINE CilEMlCALS <;O •.; LTD.   TB,L; 82-ll;)Sl'-6622.
                                                                          PRX: 82•31-351-6624


                                                                                 Fc::bruary.221"2016




                 To whom it may concern,


                 Name of the substance: Tr¢prostinil Sodium




                                                                    .
                 SinceroJri




                 Director of Quality D~p,Mment
                                                                    ..
                 Yonsung Fine Chemicals .Co., LTD,




                                                              1/1




HIGHLY CONFIDENTIAL                                                                                        LIQ02798139
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                                           22324


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                                                                     Raw Material Specification
                               CONFIDENTIAL                  Revision:         16
                 Document#:    i RMS-031                     Effective Date:   I May 3, 2020
                 Title:          I Raw Materials Specification - Treprostinil Sodium

               1          RAW MATERIAL SPECIFICATION



                 Material:                                                Grade:       N/A
                 Treprostinil Sodium
                                                                 Material Risk 1
                                                                        Level:


                 Supplier:                               Catalog#                      Container Type
                 Yonsung Fine Chemicals                  Treprostinil Sodium           Glass Bottle
                                                         n/a                           n/a




                   Vendor CofA




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HIGHLY CONFIDENTIAL                                                                                     LIQ02798140
         Case 1:20-cv-00755-RGA-JLH Document 310 Filed 02/18/22 Page 61 of 664 PageID #:
                                           22325


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                                                                  Raw Material Specification
                              CONFIDENTIAL                Revision:         !6
                 Document#:   I RMS-031                   Effective Date:   I May 3, 2020
                 Title:       ! Raw Materials Specification - Treprostinil Sodium




                Page 2 of 4               Printed 1/7/2021 11:06:00 AM




HIGHLY CONFIDENTIAL                                                                            LIQ02798141
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                                                                   Raw Material Specification
                              CONFIDENTIAL                 Revision:         !6
                Document#:    I RMS-031                    Effective Date:   I May 3, 2020
                Title:        I Raw Materials Specification - Treprostinil Sodium
                                                 ATTACHMENT 1




                2        REVISION HISTORY




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      05



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                                                                   Raw Material Specification
                              CONFIDENTIAL                 Revision:       16
                Document#:    I RMS-031                    Effective Date: I Mav 3, 2020
                Title:        I Raw Materials Specification - Treprostinil Sodium
                                              Updated reference to water      Clarification to be consistent with current




      04




      03



      02




      01




      00




                               Review;Apr 30, 2020 10:21 AM EDT
                               ew;Apr 30, 2020 10:30 AM EDT
                                iew;Apr 30, 2020 1:33 PM EDT
                               ove;Apr 30, 2020 12:35 PM CDT
                               Approve;Apr 30, 2020 1:37 PM EDT
                               rove;Apr 30, 2020 1:52 PM EDT
                               prove;May 1, 2020 6:44 PM EDT



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                                           22328


                                                                                                      Document No. : TNMS-V09
                  YONSUNG                    Material Safetv Data Sheet
                                                     Treprostinil sodium                              Revision Date : Jun. 26, 2019




                  Product Name: Treprostinil sodium
                  Manufacturer: Yonsung Fine Chemicals Co., Ltd.
                  Address: 207, Sujeong-ro, Jangan-myeon, Hwaseong-si, Gyeonggi-do, 18581, Republic ofKorea
                  Emergency Phone: 82 31 351 6622
                  Fax phone: 82 31 3516624
                  Synonyms:      (1 R,2R,3 aS,9aS)-[[2,3 ,3a,4,9 ,9a-Hexahydro-2-hydroxy-1-[(3 S)-3-hydroxyoctyl]-lH-benz[:f:]inden-5-
                  yl]oxy]acetic acid, monosodium salt
                  Chemical family: Prostaglandins
                  Molecular Formula: C23H33NaOs
                  Molecular Weight: 412.49



                  Emergency Overview: No data available.
                  Route(s) of Entry: Inhalation? Yes Skin? Yes Eyes? Yes Ingestion? Yes Other: Injection
                  Potential Health Effects (Acute and Chronic): Material may be irritating to the mucous membranes and
                  upper respiratory tract.
                  May be hannful by inhalation, ingestion, or skin absorption. May cause eye, skin, or respiratory system irritation.
                  The toxicological properties of this compound have not been fully evaluated.
                  Signs and Symptoms Of Exposure: No data available.




                  H302 Harmful if swallowed
                  H315 Causes skin irritation
                  H322 Harmful if inhaled
                  P264 Wash hands thoroughly after handling
                  P280 Wear protective groves/protective clothing/eye protection/face protection
                  P270 Do not eat, drink or smoke when using this product
                  P301 +312 If swallowed : call a POISON CENTER or doctor/physician IF you feel unwell
                  P304+340 IF INHALED : Remove victim to fresh air and Keep at rest in a position comfortable for breathing




                  Hazardous Components (Specific Chemical Identity/Common Name): Treprostinil sodium
                  CAS #: 289480-64-4
                  Percentage: 100.0%
                                                                  1/4




HIGHLY CONFIDENTIAL                                                                                                                      LIQ02798144
         Case 1:20-cv-00755-RGA-JLH Document 310 Filed 02/18/22 Page 65 of 664 PageID #:
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                                                                                                         Document No. : TNMS-V09
                      YONSUNG              Material Safety Data Sheet
                                                      Treprostinilsodium                                 Revision Date: Jun. 26, 2019
                       Fine, Chentic"i.s

                  OSHA PEL: No data
                  ACGIH TLV: No data
                  Other Limits: No data



                  Emergency Overview: No data available.
                  Route(s) of Entry: Inhalation? Yes Skin? Yes Eyes? Yes Ingestion? Yes Other: Injection
                  Potential Health Effects (Acute and Chronic): Material may be irritating to the mucous membranes and upper
                  respiratory tract.
                  May be harmful by inhalation, ingestion, or skin absorption. May cause eye, skin, or respiratory system irritation.
                  The toxicological properties of this compound have not been fully evaluated.
                  Signs and Symptoms Of Exposure: No data available.



                  Emergency and First Aid Procedures: If inhaled remove to fresh air. If not breathing, give artificial respiration
                  or give oxygen by trained personnel. Get immediate medical attention.
                  If swallowed, wash, out mouth with water provided person is conscious. Never give anything by mouth to an
                  unconscious person. Get medical attention. Do NOT induce vomiting unless directed to do so by medical
                  personnel.
                  In case of contact with eyes, hold eyelids apart and flush eyes with plenty of water. After initial
                  flushings, remove any contact lenses and continue flushing for at least 20 minutes. Have eyes
                  examined and tested by medical personnel.
                  In case of skin contact, immediately wash skin with soap and plenty of water. Remove contaminated clothing. Get
                  medical attention if symptoms occur. Wash clothing before reuse.


                  Flash Pt: 199.3°C.
                  Explosive Limits: LEL: No data. UBL: No data.
                  Autoignition Pt: No data.
                  Fire Fighting Instructions: As in any fire, wear self-contained breathing apparatus pressure-demand
                  (MSHA/NIOSH approved or equivalent), and full protective gear to prevent contact with skin and eyes.
                  Flammable Properties and Hazards: No data available.
                  Extinguishing Media: Use alcohol foam, carbon dioxide, or water spray.



                  Steps To Be Taken In Case Material Is Released Or Spilled:
                  Wear a NIOSH/MSHA approved self-contained breathing apparatus and appropriate personal
                  protection (rubber boots, safety goggles, and heavy rubber gloves).
                  Vacuum or sweep up material and place in disposal container.
                  Avoid raising dust. After removal, ventilate contaminated area and flush thoroughly with water.

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HIGHLY CONFIDENTIAL                                                                                                                     LIQ02798145
         Case 1:20-cv-00755-RGA-JLH Document 310 Filed 02/18/22 Page 66 of 664 PageID #:
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                                                                                                        Document No. : TNMS-V09
                  YONSUNG                  Material Safetv Data Sheet
                                                        Treprostinilsodium                              Revision Date : Jun. 26, 2019




                 Hazard Label Information: Avoid contact with skin and eyes. Do not reuse this container. Use with adequate
                 ventilation. Wash thoroughly after handling.
                 Preeautions To Be Taken in Handling: Avoid breathing (dust, vapor, mist, gas).
                 Avoid contact with eyes, skin, and clothing. Avoid prolonged or repeated exposure.
                 Do not reuse this container. Use with adequate ventilation.
                 Wash thoroughly after handling.




                 Protective Equipment Summary - Hazard Label Information: Eye wash station in work area Lab coat
                  Latex disposable gloves Safety glasses Safety shower in work area Vent Hood
                  Respiratory Equipment (Specify Type): No data available.
                  Eye Protection: Safety glasses
                  Protective Gloves: Latex disposable gloves
                  Other Protective Clothing: Lab coat
                  Engineering Controls (Ventilation etc.): Use process enclosures, local exhaust ventilation, or other engineering
                  controls to control airborne levels below recommended exposure limits.
                  Work/Hygienic/Maintenance Practices: Do not take internally.
                  Facilities storing or utilizing this material should be equipped with an eyewash facility and a safety shower.
                  Wash thoroughly after handling.



                  Physical States: [ ] Gas [ ] Liquid [ X ] Solid
                  Melting Point: No data.
                  Boiling Point: 587.1 °Cat 760 mmHg.
                  Autoignition Pt: No data.
                  Explosive Limits: LEL: No data. UEL: No data.
                  Specific Gravity (Water= 1): No data.
                  Vapor Pressure (vs. Air or mm Hg): No data.
                  Vapor Density (vs. Air= 1): No data.
                  Evaporation Rate (vs ButylAcetate=l): No data.
                  Solubility in Water: sol. at 25.0 C
                  Other Solubility Notes: sol. in EtOH, DMSO & DMF
                  Percent Volatile: N.A.
                  Corrosion Rate: No data.
                  Formula: C23H33NaOS
                  Molecular Weight: 412.49
                                                                    3/4




HIGHLY CONFIDENTIAL                                                                                                                     LIQ02798146
         Case 1:20-cv-00755-RGA-JLH Document 310 Filed 02/18/22 Page 67 of 664 PageID #:
                                           22331


                                                                                                         Document No. : TNMS-V09
                  YONSUNG                 Material Safety Data Sheet
                                                         Treprostinil sodium                             Revision Date : Jun. 26, 2019


                  pH: No data.
                  Appearance and Odor: A crystalline solid



                  Stability: Unstable [ ] Stable [ X ]
                  Conditions To Avoid - Instability: No data available.
                  Incompatibility - Materials To Avoid: No data available.
                  Hazardous Decomposition Or Byproducts: No data available.
                  Hazardous Polymerization: Will occur [ ] Will not occur [ X]
                  Conditions To Avoid - Hazardous
                  Polymerization: No data available.



                  Toxicological Information: The toxicological effects of this compound have not been thoroughly studied.
                  Toxicity Data (LDSO) : No information available
              •   Carcinogenicity/Other Information: No data available.
                  Carcinogenicity: NTP? No IARC Monographs? No OSHA Regulated? No



                  Ecological Information: Runoff from fire control or dilution water may cause pollution.



                  Waste Disposal Method: Dispose in accordance with local, state and federal regulations.



              •   DOT Proper Shipping Name: None
                  Non-Hazardous for Transport: This substance is considered to be non-hazardous for transport.
                  IATA
                  Non-Hazardous for Air Transport: Non-hazardous for air transport.


                  Regulatory information on this product is not available.


                  DISCLAIMER: This information is believed to be accurate and represents the best information currently
                  available to us. However, we make no warranty of merchantability or any other warranty, express or implied, with
                  respect to such information, and we assume no liability resulting from its use. Users should make their own
                  investigations to determine the suitability of the information for their particular purposes.




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HIGHLY CONFIDENTIAL                                                                                                                      LIQ02798147
         Case 1:20-cv-00755-RGA-JLH Document 310 Filed 02/18/22 Page 68 of 664 PageID #:
                                           22332

                                                                              207, Sujeong-ro, Jangan-myeon,
                                                                              Hwaseong-si, Gyeonggi-do,
                 YONSUNG                              YONSUNG                 18581, Republic of Korea
                                                                              TEL: 82-31-351-6622
                                          FINE CHEMICALS CO., LTD.            FAX: 82-31-351 -6624
                      Fine Che micals




                                                                                       Januaiy 4, 2021

                                                      Letter of Declaration




                To whom it may concern,


                Name of the substance: Treprostinil Sodium




                Sincerely,




                  Director o(Quality Deparlmcnt
                  fonsung Fine Chemicals Co .. Ltd.




HIGHLY CONFIDENTIAL                                                                                            LIQ02798148
I                                                Case 1:20-cv-00755-RGA-JLH Document 310 Filed 02/18/22 Page 69 of 664 PageID #:
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         QA Approved
r►




                                                                                 Product Name                 Batch No.           Mfg.date           Exp.date            Quantity

                                                                              Treprostinil Sodium

                                                                              Treprostinil Sodium

                                                                              Treprostinil Sodium




                                                                           NDCNO.                             CAS No.                                Country of Origin
                                                                                                               289480-64-4                           Republic of Korea

                                                                           Storage condition




                                      207, Sujeong-Ro, Jangan
            YONSUNG
                 n,,,. , •n,·m,rn1,
                                      Gyeonggi-Do, 18581, Re
                                      Tel +82-31-8047-9800
                                      E-mail yonsungfc@yonsungchem.co.kr
                                                                            A       Caution : For further manufacturing, processing or repad<lng use only. R>< only.
                                                                                                                                                                         TN-03-001{2LV01
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         Case 1:20-cv-00755-RGA-JLH Document 310 Filed 02/18/22 Page 70 of 664 PageID #:
                                           22334




HIGHLY CONFIDENTIAL                                                                    LIQ02798150
            Case 1:20-cv-00755-RGA-JLH Document 310 Filed 02/18/22 Page 71 of 664 PageID #:
                                              22335




    Importance:                                 High




    Best Regards,


    Sr. Director-Business Development


    •            LGMPhorma
    •                      PARTNER SMAft'i,




    Boca Raton, Fl 33487, USA

    t: f in         tj)   ill4 !JJ
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         Case 1:20-cv-00755-RGA-JLH Document 310 Filed 02/18/22 Page 72 of 664 PageID #:
                                           22336




    Thank you for providing this information. Hope you are well.




    Thank you.




    •        LGMPharma
    •                 'PARTNER SM>\R'I'.




    Please see attached and below.




                                                        .


    Thanks and kind regards,

    ******************************************************




    d), LGMPharmo
    •                 PAR1Nii:l'lSMARt




                                                                   2



HIGHLY CONFIDENTIAL                                                                    LIQ02798152
           Case 1:20-cv-00755-RGA-JLH Document 310 Filed 02/18/22 Page 73 of 664 PageID #:
                                             22337
    Web: www.lgmpharma.com

    Procurement & Logistics Offices
    Hamelacha Street 15, Industrial Park Har Tuv Beit Shemesh 9905515, Israel



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         Case 1:20-cv-00755-RGA-JLH Document 310 Filed 02/18/22 Page 74 of 664 PageID #:
                                           22338

                                                                                  207, Sujeong-ro, Jangan-myeon,

                  YONS UNG
                                           -- ·1
                                           ved          YONSUNG                   Hwaseong-si, Gyeonggi-do,
                                                                                  18581 , Republic of Korea
                                           ----· ····· FINE CHEMICALS CO., LTD.   TEL: 82-3 l-351-6622
                      Fine- C'ht•mi<-als                                          FAX: 82-31-351-6624


                  <




               3. Conclusion




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HIGHLY CONFIDENTIAL
                                                                                                                   LIQ02798154
         Case 1:20-cv-00755-RGA-JLH Document 310 Filed 02/18/22 Page 75 of 664 PageID #:
                                           22339

                                                                                                      207, Sujeong-ro, Jangan-myeon,

                   YONS UNG              7   I
                                                         YONSUNG                                      Hwaseong-si, Gyeonggi-do,
                                                                                                      18581, Republic of Korea
                                         _.-J    FINE CHEMICALS CO., LTD.                             TEL: 82-3 l-351-6622
                        Fine Chemicals                                                                FAX: 82-31 -351 -6624




                  I NMT: Not more than; 2 ND: Not detected; 3 TAMC : tota l aerobic microbial count; 4 TYMC: total combined
                  yeasts/molds count
             i~            - -rs                    --~ - -~]
             l/f ·one. ¼ . . . -n·t . . I
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HIGHLY CONFIDENTIAL                                                                                                                       LI Q02798 155
         Case 1:20-cv-00755-RGA-JLH Document 310 Filed 02/18/22 Page 76 of 664 PageID #:
                                           22340


                                         ··1                                                     207, Sujeong-ro, Jangan-myeon,

                  YONS UNG               ved1          YONSUNG                                   Hwaseong-si, Gyeonggi-do,
                                                                                                 18581, Republic of Korea
                                         - .........-- FINE CHEMICALS CO., LTD.                  TEL: 82-3 1-351-6622
                      Finl:' Chemirals                                                           FAX: 82-31-351-6624




              I NMT: Not more than; 2 ND : Not detected; 3 TAMC: total aerobic microbial count; 4 TYMC: total combined
              yeasts/mo lds count


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HIGHLY CONFIDENTIAL
                                                                                                                                  LIQ02798156
         Case 1:20-cv-00755-RGA-JLH Document 310 Filed 02/18/22 Page 77 of 664 PageID #:
                                           22341

                                                                                                      207, Sujeong-ro, Jangan-myeon,

                          YONS UNG                 ved!                       YONSUNG                 Hwaseong-si, Gyeonggi-do ,
                                                                                                      1858 1, Republic of Korea
                                                   _         _,.J    FINE CHEMICALS CO., LTD.         TEL: 82-3 1-351-6622
                               Fine C'hemkals                                                         FAX: 82-31-351-6624




                    I NMT: Not more than; 2 ND: Not detected; 3 TAMC: total aerobic m1crob1al count; 4 TYMC: total combined
                    yeasts/molds count
                    5. Reference
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HIGHLY CONFIDENTIAL                                                                                                                    LI Q02798 157
         Case 1:20-cv-00755-RGA-JLH Document 310 Filed 02/18/22 Page 78 of 664 PageID #:
                                           22342
                                  Marathon Electronic Data Logger




                                        Marathon Products, Inc.
                            www.marathonproducts.com I info@marathonproducts.com




HIGHLY CONFIDENTIAL
                                                                                       LIQ02798158
         Case 1:20-cv-00755-RGA-JLH Document 310 Filed 02/18/22 Page 79 of 664 PageID #:
                                           22343




                                     TREPROSTINIL SODIUM.MP_Lgr

                                                                        Print Job: 994625269
                                                                               Page 2 of 2




HIGHLY CONFIDENTIAL
                                                                                               LIQ02798159
         Case 1:20-cv-00755-RGA-JLH Document 310 Filed 02/18/22 Page 80 of 664 PageID #:
                                           22344
                                        TempTale®Ultra
         ~ITECH




HIGHLY CONFIDENTIAL                                                                    LIQ02798160
         Case 1:20-cv-00755-RGA-JLH Document 310 Filed 02/18/22 Page 81 of 664 PageID #:
                                           22345


                                                                        207, Sujeong-ro, Jangan•myeon,
                      YONSUNG                      YONSUNG              Hwaseong-si, Gyeonggi-do,
                                                                        18581, Republic of Korea
                                             FINE CHEMICALS CO., LTD.   TEL: 82-31.351-6622
                        Fi n e Ch emi cals                              FAX: 82-31-351-6624


                                                                              15 th of November, 2019


                                                   Declaration letter


                  To whom it may concern,




                 Director of Quality Department
                 Yonsung Fine Chemicals Co., Ltd




HIGHLY CONFIDENTIAL                                                                                      LIQ02798161
            Case 1:20-cv-00755-RGA-JLH Document 310 Filed 02/18/22 Page 82 of 664 PageID #:


                                                                                                                             $
                                              22346
   LGM Pharma, LLC
   2768 Clrcleport Drive
   Erlanger, KY 41018                                                                                                                             LGMPharma
   United States
   Tel.: 1-(800)-881-8210, Fax: 1-(661)-892-0580
                                                                                                                                                               URL: www.lgmpharma .com
                                                                                                                                                             E-mail: info@lgmpharma.com


    To:                                                         Ship to:                                                                       Date: 05-Jan-2021
    Llquldla Technologies                                       Liquide Technologies, Inc.
    PO Box 110085                                               419 Davis Drive, Suite 100
    Research Triangle Park, NC 27709-5085                       Morrisville, NC 27560
    Tel.: 1-919-328-4400, LGM warehouse (USA)                   Attn: Dana Paris
                                                                Tel.: 1-919-328-44D0, Fax: 919 328-4402




                                                                                  Part Totals
                          CAS Number                                                   Part Description
     289480· 64·4-GM                                      Treprostlnil Sodium
                                                         ----···--····-- - -···• -·- --···· ..... --·   ... ··--·-·- ---- -----·· ----·-   _____,_


     Please ship tomorrow overnight with frozen gel packs and data logger , COA & MSDS •




                                                                                                                                                     Hanna Pshemish
                                                                                                                                                     LGM Pharma, LLC




HIGHLY CONFIDENTIAL                                                                                                                                                               LIQ02798162
Case 1:20-cv-00755-RGA-JLH Document 310 Filed 02/18/22 Page 83 of 664 PageID #:
                                  22347




                       EXHIBIT 38
Case 1:20-cv-00755-RGA-JLH Document 310 Filed 02/18/22 Page 84 of 664 PageID #:
                                  22348




                                  Deposition of:
                          Hugh Smyth , Ph.D.
                               January 19, 2022


                                In the Matter of:

             United Therapeutics Corporation vs
                  Liquidia Technologies Inc




                            Veritext Legal Solutions
                     800-734-5292 | calendar-dmv@veritext.com |
Case 1:20-cv-00755-RGA-JLH Document 310 Filed 02/18/22 Page 85 of 664 PageID #:
                                  22349


                                                                         Page 1

 1
                         UNITED STATES DISTRICT COURT
 2                       FOR THE DISTRICT OF DELAWARE
             _____________________________
 3                                                     )Case No.
             UNITED THERAPEUTICS                       )1:20-cv-00755
 4           CORPORATION                               )
                                                       )
 5               Plaintiff                             )
                                                       )
 6           vs.                                       )
                                                       )
 7           LIQUIDIA TECHNOLOGIES, INC.,              )
                                                       )
 8               Defendant                             )
             _____________________________
 9
10
11
12
13                    Remote Videotaped Deposition of
14                                HUGH SMYTH, Ph.D.
15                                January 19, 2022
16                                    10:10 a.m.
17
18
19
20
21           Reported by:        Bonnie L. Russo
22           Job No. 5008746

                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:20-cv-00755-RGA-JLH Document 310 Filed 02/18/22 Page 86 of 664 PageID #:
                                  22350

                                                      Page 2                                                           Page 4
     1     Remote Videotaped Deposition of Hugh Smyth,          1           INDEX
                                                                2   EXAMINATION OF HUGH SMYTH, Ph.D.               PAGE
     2     Ph.D. held through:                                  3   BY MR. SUKDUANG             8
     3                                                          4
                                                                5               EXHIBITS
     4                                                          6
     5                                                          7   Exhibit 1 Expert Report of        19
                                                                           Hugh Smyth Ph.D.
     6                                                          8
     7               Veritext Legal Solutions                       Exhibit 2 United States Patent     36
                                                                9          No. 10,716,793 B2
     8               1250 I Street, N.W.                                   LIQ02799887-911
     9               Washington, D.C.                          10
                                                                    Exhibit 3                          79
    10                                                         11
    11                                                                     UTC_LIQ00258957
    12                                                         12
                                                                    Exhibit 4                          81
    13                                                         13
    14                                                                     UTC_LIQ00258956
                                                               14
    15                                                              Exhibit 5                          84
    16                                                         15
                                                                           UTC_LIQ00258958
           Pursuant to Notice, when were present on behalf     16
    17                                                              Exhibit 6                               86
                                                               17          UTC_LIQ00264301
           of the respective parties:                          18   Exhibit 7 Photograph of Shipping Label 86
    18                                                                     Attachments
                                                               19          UTC_LIQ00264302-330
    19                                                         20   Exhibit 8 Article entitled          189
    20                                                                     "Evolution of dry powder
                                                               21          inhaler design, formulation,
    21                                                                     and performance"
    22                                                         22          UTC_LIQ00257724-735

                                                      Page 3                                                           Page 5
     1   APPEARANCES:                                           1    EXHIBITS (CONTINUED):
     2   On behalf of the Plaintiff:
     3    ART DYKHUIS, ESQUIRE
                                                                2
          McDERMOTT WILL & EMERY                                     Exhibit 9 Excel Spreadsheet                 206
     4    2049 Century Park E                                   3           UTC_LIQ00257399
          Suite 3200                                            4    Exhibit 10 Excel Spreadsheets               222
     5    Los Angeles, California
          adykhuis@mwe.com                                                  UTC_LIQ00257400
     6                                                          5
             -and-                                                   Exhibit 11 International Publication 226
     7
          TIMOTHY DUNKER, ESQUIRE
                                                                6           Number WO 2005/007081 A9
     8    McDERMOTT WILL & EMERY                                            UTC_LIQ00041172-293
          500 N. Capitol Street, N.W.                           7
     9    Washington, D.C. 20001                                     Exhibit 12 International Publication 233
          tdunker@mwe.com
    10                                                          8           Number WO 2014/159050 A1
         On behalf of the Defendant:                            9    Exhibit 13 Smyth Lab Notebook         254
    11                                                                      UTC_LIQ00258049-080
          SANYA SUKDUANG, ESQUIRE
    12    COOLEY LLP
                                                               10
          1299 Pennsylvania Avenue, N.W.                       11
    13    Suite 700                                            12
          Washington, D.C. 20004                               13
    14    ssukduang@cooley.com
    15        -and-                                            14
    16    LAUREN KRICKL, ESQUIRE                               15
          COOLEY LLP                                           16
    17    3175 Hanover Street
          Palo Alto, California 94304
                                                               17
    18    lkrickl@cooley.com                                   18
    19                                                         19
         Also Present:                                         20
    20   Orson Braithwaite, Videographer
    21                                                         21
    22                                                         22    (Exhibits bound separately.)

                                                                                                            2 (Pages 2 - 5)
                                              Veritext Legal Solutions
                            215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:20-cv-00755-RGA-JLH Document 310 Filed 02/18/22 Page 87 of 664 PageID #:
                                  22351

                                                   Page 86                                                              Page 88
     1                                                        1       Q. Did you or one of your colleagues
                                                              2    take a picture of     ?
                                                              3       A.
                                                              4       Q.                          ?
                        .                                     5       A.
     6     Q. Okay.                                           6       Q. Okay.                         ?
     7     A. That -- that were in the lab, yes.              7       A.         .
     8     Q. I think that's what we are going to
     9   get to next.
    10          There is going to be a couple new
    11   exhibits that get marked in your folder. It
    12   will take a moment.                                 12         A.That is correct.
    13          MS. KRICKL: Sanya, you would like            13          MR. DYKHUIS: Form.
    14   me to mark the next two?                            14          MR. SUKDUANG: I am just waiting to
    15          MR. SUKDUANG: Yeah. You can                  15    make sure of something.
    16   check -- you can check your chat box.               16          Lauren, I think the document is
    17          MS. KRICKL: Oh. Sorry.                       17    marked incorrectly in the folder.
    18          (Deposition Exhibit 6 was marked for         18          MS. KRICKL: Which one?
    19   identification.)                                    19          MR. SUKDUANG: There are two Exhibit
    20          (Deposition Exhibit 7 was marked for         20    6's. There is a 6-4 and 6-5.
    21   identification.)                                    21          MS. KRICKL: Okay.
    22          BY MR. SUKDUANG:                             22          MR. DYKHUIS: 6-5 should be Exhibit
                                                   Page 87                                                              Page 89
     1      Q. Dr. Smyth, if you refresh there                1   7.
     2   might be a new exhibit that popped up into your      2             MS. KRICKL: I'll reintroduce that
     3   folder.                                              3   one, and we can remove the other one later.
     4      A. Okay. Yeah. I see Exhibit 6.                   4             BY MR. SUKDUANG:
     5      Q. Yes. Could you open that for me,               5        Q.    Dr. Smyth, you'll -- you can
     6   please.                                              6   refresh, and there should, hopefully, be an
     7      A. Okay.                                          7   Exhibit 7 in your folder.
     8         MR. SUKDUANG: And for the record,              8        A.    Okay. Yeah. I see something --
     9   Exhibit 6 is a document bearing production           9   Exhibit 7.
    10   number UTC_LIQ00264301.                             10             MR. SUKDUANG: And for the record,
    11         BY MR. SUKDUANG:                              11   Exhibit 7 is a document bearing production
    12                                                       12   number UTC_LIQ00264302 through UTC_LIQ00264330.
                                                             13             BY MR. SUKDUANG:
                                                             14        Q.    And do you have that in front of
    15         MR. DYKHUIS: Object to form.                  15   you, Dr. Smyth -- Smyth?
    16                                                       16        A.    I -- yeah. The UTC numbers are kind
                             .                               17   of -- I guess, I see one number.
    18         BY MR. SUKDUANG:                              18        Q.    Yeah. The first -- the first and
    19                                                       19   last page I just ran.
                                                             20        A.    Okay. Yeah. I presume that's
                                                             21   accurate.
                                                             22        Q.    Dr. Smyth, you can flip through

                                                                                                            23 (Pages 86 - 89)
                                      Veritext Legal Solutions
                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:20-cv-00755-RGA-JLH Document 310 Filed 02/18/22 Page 88 of 664 PageID #:
                                  22352

                                                       Page 90                                                   Page 92
     1   this. I have some questions about certain                1     A. Yes.
     2   pages.                                                   2     Q. And then on the right-hand side
     3          But I just want to ask -- my first                3   toward the top, there is             .
     4   question is:                                             4        Do you see that?
                                                                  5     A. I see that.

                                                                  7     A.     I see that, yes.

                                                                  9        MR. DYKHUIS: Object to form.
    10          MR. DYKHUIS: Object to form.                     10   Foundation.
    11          THE WITNESS:



    14          BY MR. SUKDUANG:
    15     Q.     Yeah. Let me -- there is a                     15         BY MR. SUKDUANG:
    16   document -- document UTC_LIQ00264319. Is that           16     Q. Can you turn to the next page, the
    17   -- can you turn to that page.                           17   page ending in -- the bottom four numbers are
    18     A.     Yes, I'm there.                                18   4320?
    19     Q.     And the top, it's written:                     19     A. Okay.
                                                                 20     Q. And is this a
    21     A.     Yes. In a -- in a Sharpie, yes.                                                 ?
    22     Q.     Yep. And then in the bottom                    22         MR. DYKHUIS: Object to form.
                                                       Page 91                                                   Page 93
     1    right-hand corner there is a                            1            THE WITNESS: Yeah. The document is
                                                                  2   titled
     3       A.   Yes.                                                                      .
     4       Q.   And would that be a --                          4          BY MR. SUKDUANG:
                                ?                                 5      Q. And then under that it is           ?
     6           MR. DYKHUIS: Object to form.                     6      A. Under that
     7           THE WITNESS: No. So that's --                                                .
     8    that's Kelly down in the receiving office, so           8      Q. And this document spans 11 pages,
     9    yeah, the way that things come into the                 9   correct?
    10    university, they -- they all go through                10      A. The document says page -- you know,
    11    receiving, and so when she gets things, she            11   on this page it says 1 of 11, so I presume it's
    12    stamps them.                                           12   11 pages.
    13           BY MR. SUKDUANG:                                13      Q. What is a safety data sheet?
    14       Q. Okay. This page we are looking at                14      A. It's a -- a data sheet that is often
    15    appears -- it --                                       15   used when chemicals are shipped and received
                                , correct?                       16   and stored. For example, for chemicals in my
    17       A. I'm just going to rotate the page.               17   lab, you know, you would maintain a or have
    18    Oops.                                                  18   access to safety data sheets. And it just
    19           Yeah. The title says             .              19   outlines hazard information, first-aid
    20       Q. And within this                                  20   measures, firefighting measures, accidental
                                                                 21   release measures, things of that nature for
                                    ; is that right?             22   that -- for that chemical.

                                                                                                  24 (Pages 90 - 93)
                                           Veritext Legal Solutions
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                                                     1040 Spring Street
                  Therapeutics                       Silver Spring, Maryland 20910
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                                                     www.unither.com




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United Therapeutics #6   -   Treprostinil Diolamine
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                                   22369
                  United                              United Therapeutics Corporation
                                                      1040 Spring Street
                  Therapeutics                        Silver Spring, Maryland 20910
      C   0   F   P   0   R   A   T   I   0   N       Phone (301) 608-9292
                                                      Facsimile (301) 608-0376
                                                      www.unither.com




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                                              EXHIBIT 411

          ’393 Patent Claim 1              ’066 Patent Claim 8              ’901 Patent Claim 8
     A product comprising a             A process of preparing a       A method of preparing a
     compound of formula I              pharmaceutical product         pharmaceutical batch as
                                        comprising treprostinil or a   claimed in Claim 1,
                                        pharmaceutically               comprising
                                        acceptable salt thereof,
                                        comprising
     or a pharmaceutically
     acceptable salt thereof, wherein
     said product is prepared by a
     process comprising
     (a) alkylating a compound of [a    alkylating a triol           (a) alkylating a benzindene
     genus including benzindene         intermediate of the formula: triol,
     triol] with an alkylating agent
     to produce a compound [from a
     genus comprising treprostinil],



     (b) hydrolyzing the product []     hydrolyzing the resulting      (b) hydrolyzing the product of
     of step (a) with a base,           compound to form               step (a) to form a solution
                                        treprostinil,                  comprising treprostinil,
     (c) contacting the product of      forming a salt of              (c) contacting the solution
     step [(b)] with a base B to form   treprostinil stable at         comprising tresprostinil from
     a salt of formula Is.              ambient temperature, and       step (b) with a base to form a
                                                                       salt of tresprostinil,




                                        preparing a pharmaceutical     (d) isolating the salt of
                                        product from the               treprostinil, and
                                        treprostinil salt after
     (d) optionally reacting the salt                                  (e) optionally reacting the salt
                                        storage, wherein the
     formed in step (c) with an acid                                   of tresprostinil with an acid to
                                        pharmaceutical product
     to form the compound of                                           form treprostinil.
                                        comprises treprostinil or a
     formula I.
                                        pharmaceutically
                                        acceptable salt thereof.




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     Highlighting added for emphasis.
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                            IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF DELAWARE

  UNITED THERAPEUTICS                               )
  CORPORATION,                                      )
                                                    )
                    Plaintiff,                      )
                                                    )
      v.                                            )    C.A. No. 20-755-RGA
                                                    )
  LIQUIDIA TECHNOLOGIES, INC.,                      )
                                                    )
                    Defendant.                      )


                       DEFENDANT LIQUIDIA TECHNOLOGIES, INC.’S
                        PRELIMINARY INVALIDITY CONTENTIONS

           Defendant Liquidia Technologies, Inc. (“Liquidia”) hereby submits these Preliminary

 Invalidity Contentions pursuant to Paragraph 4(d) of the Delaware Default Standard for Discovery

 and Section (3)(g)(i) of the Scheduling Order (D.I. 20) with respect to all claims of U.S. Patent

 Nos. 9,593,066 (“the ’066 Patent”), 9,604,901 (“the ’901 Patent”), and 10,716,793 (“the ’793

 Patent”) (collectively, “the Asserted Patents”) asserted by United Therapeutics Corp. (“UTC” or

 “Plaintiff”), in UTC’s Preliminary Infringement Contentions dated October 16, 2020. Specifically,

 UTC asserted infringement of claims 1-3, 6, and 8-9 of the ’066 Patent; claims 1-4, 6, and 8 of the

 ’901 Patent; and claims 1, 4, and 6-8 of the ’793 Patent (collectively, “the Asserted Claims”).

 I.        GENERAL INFORMATION

           These contentions are based on information reasonably available to Liquidia at this time,

 and may require subsequent amendment, alteration or supplementation. Consequently, Liquidia

 reserves the right to amend, alter, or supplement these contentions based on further investigation,

 fact or expert discovery, evaluation of the scope and content of the prior art, any claim construction

 from the Court, or as a result of UTC’s Asserted Claims and contentions. Moreover, these


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 contentions may be in the alternative and do not substitute any concession by Liquidia for the

 purposes of claim construction or infringement. See Fed. R. Civ. P. 8(d).

           In these Preliminary Invalidity Contentions, Liquidia has identified specific combinations

 of primary and secondary prior art references upon which it intends to rely. However, there is a

 large volume of background art relevant to invalidity, on which Liquidia relies but for which

 Liquidia could not possibly provide written explanations of every possible combination.

 Accordingly, Liquidia expressly reserves its right to rely on combinations not expressly set forth

 herein.

           Liquidia also attempted to identify the most relevant portions of each prior art reference

 upon which it intends to rely. Given the number of relevant passages within each prior art

 reference, Liquidia could not possibly identify every single passage that may be relevant to its

 invalidity positions. Accordingly, Liquidia expressly reserves the right to rely upon additional

 portions of the cited prior art references, but has made a good faith effort to identify

 representatively relevant passages.

           Furthermore, these contentions are provided without prejudice to Liquidia’s right to

 introduce at trial any subsequently discovered evidence or expert opinions relating to currently-

 known facts and to produce and introduce at trial all evidence, whenever discovered, relating to

 the proof of subsequent discovered facts. Moreover, facts, documents and things now known may

 be imperfectly understood and, accordingly, such facts, documents and things may not be included

 in the following contentions. Liquidia reserves the right to refer to, conduct discovery with

 reference to, or offer into evidence at the time of trial, any and all facts, expert opinion testimony,

 documents and things notwithstanding the written statements herein. Liquidia further reserves its

 right to refer to, conduct discovery with reference to, or offer into evidence at the time of trial, any




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 and all facts, documents and things that are not currently recalled but might be recalled at some

 time in the future.

         The information set forth below is provided without waiving: (1) the right to object to the

 use of any statement for any purpose, in this action or any other action, on the grounds of privilege,

 relevance, materiality, or any other appropriate grounds; (2) the right to object to any request

 involving or relating to the subject matter of the statements herein; or (3) the right to revise, correct,

 supplement, or clarify any of the statements provided below at any time.

         Liquidia reserves the right to allege the invalidity of the Asserted Claims on bases other

 than those disclosed herein.

         A.      Identification of Asserted Claims

         On October 16, 2020, UTC provided its Preliminary Infringement Contentions pursuant to

 the Scheduling Order and the Default Standard for Discovery. In UTC’s Preliminary Infringement

 Contentions, UTC asserts that the manufacturing of the active pharmaceutical ingredient for

 Liquidia’s Proposed NDA Product that is subject of Liquidia’s NDA No. 213005 under § 505(b)(2)

 of the Federal Food, Drug and Cosmetic Act to the United States Food and Drug Administration,

 in accordance with the protocol referenced in Liquidia’s NDA and described in Drug Master File

 No. 27680, infringes claims 1-3, 6, and 8-9 of the ’066 Patent and claims 1-4, 6, and 8 of the ’901

 Patent. UTC further alleges that the drug product that is the subject of Liquidia’s NDA, when used

 in the intended manner and as taught in Liquidia’s proposed label and package insert, infringes

 claims 1, 4, and 6-8 of the ’793 patent. In view of UTC’s Preliminary Infringement Contentions,

 the following invalidity contentions address the Asserted Claims of the Asserted Patents.

 II.     U.S. PATENT NO. 9,593,066

         The ’066 Patent issued March 14, 2017 from Application No. 14/849,981, filed September

 10, 2015. See ’066 Patent at 1. Application No. 14/849,981 is a divisional of Application


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 No. 13/933,623, filed on July 2, 2013, now Patent No. 9,156,786, which is a continuation of

 Application No. 13/548,446, filed on July 13, 2012, now Pat. No. 8,497,393, which is a

 continuation of Application No. 12/334,731, filed on December 15, 2008, now Pat. No. 8,242,305.

 Id. The ’066 Patent claims priority to provisional application No. 61/014,232, filed December 17,

 2007. Id.

        The ’066 Patent allegedly discloses an “improved process” to prepare prostacyclin

 derivatives such as treprostinil. Id. at Abstract. Claim 1 is a product-by-process claim drawn to a

 pharmaceutical composition comprising treprostinil or a pharmaceutically acceptable salt thereof.

 Claim 8 is drawn to a process of preparing the same product from claim 1, comprising the steps of

 alkylation of an intermediate triol to form a treprostinil salt. Id. at cols. 17-18, claims 1 and 8.

        Asserted Claim 1 recites the following:

        1[a] 1 A pharmaceutical composition comprising treprostinil or a pharmaceutically

        acceptable salt thereof, said composition prepared by a process comprising

        1[b] providing a starting batch of treprostinil having one or more impurities

        resulting from prior alkylation and hydrolysis steps,

        1[c] forming a salt of treprostinil by combining the starting batch and a base,

        1[d] isolating the treprostinil salt, and

        1[e] preparing a pharmaceutical composition comprising treprostinil or a

        pharmaceutically acceptable salt thereof from the isolated treprostinil salt,

        1[f] whereby a level of one or more impurities found in the starting batch of

        treprostinil is lower in the pharmaceutical composition, and




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   The bracketed letters have been added for ease of review and to distinguish among the various
 limitations.


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        1[g] wherein said alkylation is alkylation of benzindene triol.

        Asserted dependent claims 2, 3, and 6 are directed towards pharmaceutical compositions

 of claim 1, wherein the salt is isolated in crystalline form (claim 2); the base is selected from a

 group consisting of sodium, ammonia, potassium, calcium, ethanolamine, diethanolamine, N-

 methylglucamine, and choline (claim 3); and the isolated salt is stored at ambient temperature

 (claim 6).

        Asserted Claim 8 recites the following:

        8[a] A process of preparing a pharmaceutical product comprising treprostinil or a

        pharmaceutically acceptable salt thereof, comprising

        8[b] alkylating a triol intermediate of the formula:




        8[c] hydrolyzing the resulting compound to form treprostinil,

        8[d] forming a salt of treprostinil stable at ambient temperature,

        8[e] storing the treprostinil salt at ambient temperature, and

        8[f] preparing a pharmaceutical product from the treprostinil salt after storage,

        8[g]   wherein    the   pharmaceutical product comprises treprostinil or            a

        pharmaceutically acceptable salt thereof.

        Asserted dependent claim 9 is directed toward a pharmaceutical product prepared by the

 process of claim 8.

        These Preliminary Invalidity Contentions establish that claims 1-3, 6, and 8-9 of the ’066

 Patent are unpatentable as obvious under 35 U.S.C. § 103. Moreover, these Preliminary Invalidity


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 Contentions show that the Asserted Claims of the ’066 Patent are also invalid under 35 U.S.C.

 § 112.

          A.     Scope and Content of the Prior Art for the ’066 and ’901 Patents

                 1.     Phares 2005

          Phares 2005 is titled “Compounds and Methods for Delivery of Prostacyclin Analogs.”

 Int’l App. No. PCT/US2004/016401 (“Phares 2005”). The named inventors are Ken Phares and

 David Mottola. Phares 2005 was published January 27, 2005 and is prior art to the ’066 and ’901

 Patents under 35 U.S.C. §§ 102(a), (b), and (e). The ’066 and ’901 Patents seek the benefit of

 provisional application No. 61/014,232, filed on December 17, 2007. For the purposes of this

 petition, Petitioner will use December 17, 2007 as the effective filing date of the ’066 and ’901

 Patents.

          Phares 2005 describes “compounds and methods for inducing prostacyclin-like effects in

 a subject or a patient,” including treprostinil and derivatives thereof. Id. at 8. The chemical

 structure of treprostinil is shown below:




 Id. Phares 2005 explains that “[t]reprostinil is a chemically stable analog of prostacyclin, and as

 such is a potent vasodilator and inhibitor of platelet aggregation.” Id.

          Phares 2005 further discloses that “[a] preferred embodiment of the present invention is

 the diethanolamine salt of treprostinil.” Id. at 9. A particularly preferred embodiment of the

 invention disclosed in Phares 2005 is “[F]orm B of treprostinil diethanolamine.” Id. The structure



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 of treprostinil diethanolamine salt described by Phares 2005 is reproduced below:




 Id. at 96 (claim 49). Phares 2005 discloses two crystalline forms of treprostinil diethanolamine

 salt, Form A and Form B. Id. at 85-89. The crystalline Form B “appears to be the most

 thermodynamically stable form” with “full conversion to Form B at ambient, 15° C, and 30° C

 after 7 days, 11 days, and 1 day, respectively.” Id. at 89.

        Phares 2005 further discloses the synthesis of (-)-treprostinil, the enantiomer of (+)-

 treprostinil. Id. at 39-40. Phares 2005 explains that “[e]nantiomers of these compounds . . . can

 be synthesized using reagents and synthons of enantiomeric chirality of the above reagents.” Id.

 at 39. In particular, Phares 2005 teaches that “the enantiomer of the commercial drug (+)-

 Treprostinil was synthesized using the stereoselective intramolecular Pauson Khand reaction as a

 key step and Mitsunobu inversion of the side-chain hydroxyl group.” Id. at 40. Phares 2005

 discloses the following reaction procedure for the synthesis of 2, the enantiomer of treprostinil,

 from the benzindene triol 11 (outlined in the red-dotted square below):




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 Id. The reaction procedure for the conversion of 11b to 2 is disclosed in Phares 2005 as: “(l) i.

 ClCH2CN, K2CO3. ii, KOH, CH3OH, reflux. 83% (2steps).” Id. Steps (i) to (k) shown above

 result in treprostinil triol (the precursor for treprostinil), and step (l) coverts the precursor into

 treprostinil.

         Phares 2005 further “provides for compositions which may be prepared by mixing one or

 more compounds of the instant invention, or pharmaceutically acceptable salts thereof, with

 pharmaceutically acceptable carriers, excipients, binders, diluents or the like, to treat or ameliorate

 a variety of disorders related vasoconstriction and/or platelet aggregation.” Id. at 48. Thus, the

 pharmaceutical acceptability of the compounds is clearly disclosed in Phares 2005.

                 2.     Moriarty 2004

         Moriarty 2004 was published in 2004 in the Journal of Organic Chemistry, Volume 69,

 No. 6, pp. 1890-1902. Robert M. Moriarty et al., The Intramolecular Asymmetric Pauson-Khand

 Cyclization as a Novel and General Stereoselective Route to Benzindene Prostacyclins: Synthesis

 of UT-15 (Treprostinil), 69 J. ORG. CHEM. 1890 (2004) (“Moriarty 2004”). Moriarty 2004 is prior

 art to the ’066 and ’901 Patents under §§ 102(a) and (b). Moriarty 2004 was also used in



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 prosecution of the ’066 and ’901 Patents and in the ’393 IPR without objection from the Patent

 Owner.

          Moriarty 2004 is titled “The Intramolecular Asymmetric Pauson-Khand Cyclization as a

 Novel and General Stereoselective Route to Benzindene Prostacyclins: Synthesis of UT-15

 (Treprostinil).” Id. at 1890. Moriarty 2004 describes the synthesis of treprostinil “via the

 stereoselective intramolecular Pauson-Khand cyclization.” Id. Structure 7 of Moriarty 2004

 depicts the chemical structure of treprostinil, prior to salt formation, and is shown below:




 Id. at 1892. This is the identical treprostinil pharmaceutical salt precursor disclosed in the ’066

 and ’901 Patents:




 ’066 Patent at 11:50-65; ’901 Patent at 11:16-28.

          Scheme 4 of Moriarty 2004 further discloses alkylation of 34 by ClCH2CN to yield 35.

 Moriarty 2004 at 1895, 1902. The alkylation product 35 is then hydrolyzed with a base (i.e.

 aqueous KOH), followed by acidification to yield 7, treprostinil. Id. The alkylation reaction of 34


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 to yield 35 as disclosed in Moriarty 2004 is equivalent to the alkylation reaction disclosed in the

 ’066 and ’901 Patents.

        34 and 35 of Moriarty 2004 are as follows:




 Id. at 1895.

        Moriarty 2004 reports that the disclosed process yields a 99.7% pure crystalline solid in

 the form of “[w]hite needles.” Id. at 1902.

                3.     U.S. Patent No. 6,765,117 (“the ’117 Patent”)

        The ’117 Patent is titled “Process for Stereoselective Synthesis of Prostacyclin

 Derivatives.” The named inventors are Robert M. Moriarty, Raju Penmasta, Liang Guo, Munagala

 S. Rao, and James P. Staszewski. The ’117 Patent issued on July 20, 2004 and is prior art to the

 ’066 and ’901 Patents under §§ 102(a), (b), and (e). The ’117 Patent is directed towards a “process

 for producing prostacyclin derivatives,” including treprostinil, and “novel intermediate

 compounds useful in the process.” ’117 Patent at 1:14-16. The prostacyclin derivatives and

 intermediates include the following general structure:




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 See, e.g., ’117 Patent at claim 1.

         For example, the ’117 Patent includes the synthesis of treprostinil (which is the case in

 which: Z is O, n is 1, X is COOH, Y1 is CH2CH2-, M1 is an H and an OH group in the S

 configuration (i.e., the same stereoisomer configuration found in the structure of treprostinil

 (below)), L1 is α-H; β-H, and R7 is –(CH2)3-CH3 amongst its many examples. For example, claim

 3 of the ’117 Patent discloses the structure of treprostinil below:




 which is produced by a process for making 9-deoxy-PGF1-type compounds, the process

 comprising cyclizing the following starting compound:




                 4.     Wiberg 1960

         Wiberg 1960 is a textbook published in 1960 by McGraw-Hill Book Company, Inc. and

 written by Kenneth B. Wiberg. Kenneth B. Wiberg, LABORATORY TECHNIQUE               IN   ORGANIC

 CHEMISTRY 112 (1960) (“Wiberg 1960”). Wiberg 1960 is prior art to the ’066 and ’901 Patents

 under §§ 102(a) and (b). Wiberg 1960 is an organic chemistry textbook titled “Laboratory

 Technique in Organic Chemistry.” Id. Describing laboratory purification methods, Wiberg 1960

 explicitly states:



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        A typical example is the purification of a water-insoluble solid carboxylic acid by
        dissolving it in sodium hydroxide solution, filtering, precipitating the compound by
        the addition of acid. A similar procedure may be used with amines: dissolve the
        compound in acid and precipitate it with a base. These procedures usually work
        quite well in that they utilize a chemical reaction to aid in separation from nonacidic
        or nonbasic impurities.

 Wiberg 1960 at 112.

                5.      Schoffstall 2004

        Schoffstall 2004 is a textbook published in 2004 by The McGraw-Hill Companies, Inc. and

 written by Allen M. Schoffstall et al. Allen M. Schoffstall et al., MICROSCALE AND MINISCALE

 ORGANIC CHEMISTRY LABORATORY EXPERIMENTS (Thomas D. Timp ed., 2d ed. 2004)

 (“Schoffstall 2004”). Schoffstall 2004 is prior art to the ’066 and ’901 Patents under §§ 102(a)

 and (b). Schoffstall 2004 is the second edition of an organic chemistry textbook titled “Microscale

 and Miniscale Organic Chemistry Laboratory Experiments.”            Schoffstall 2004 describes an

 experiment in which carboxylic acid is separated from neutral and basic organic compounds by

 conversion to a salt. Schoffstall 2004 at 201-02. Addition of an acid, such as HCl, then regenerates

 the carboxylic acid from the salt, which can then be filtered or extracted into an organic solvent.

 Id.

        Specifically, Schoffstall 2004 indicates that “[a] water-insoluble, acidic organic compound

 such as a carboxylic acid or phenol can be easily separated from neutral and basic organic

 compounds by conversion to a water-soluble salt.” Id. at 201. Schoffstall 2004 discloses the

 following general reaction scheme:




 Id.


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        Schoffstall 2004 indicates that “[n]eutral and basic organic compounds remain in the

 organic layer. The two layers can then be separated. Addition of HCl to the aqueous layer

 regenerates the water-insoluble carboxylic acid, which can then be filtered or extracted into an

 organic solvent.” Id. Similarly, Schoffstall 2004 discloses the following general reaction scheme:




 Id.

                6.     Kawakami 1981

        Japanese Patent Application No. 56-122328 (“Kawakami 1981”), published on September

 25, 1981, is titled “Crystalline Amine Salt of Methanoprostacyclin Derivative, Manufacturing

 Method Thereof, and Purifying Method Thereof.” Kawakami 1981 is prior art to the ’066 and

 ’901 Patents under §§ 102(a) and (b). The named inventors are Hajime Kawakami, Keiichi Ono,

 Akihiko Sugie, and Sumimoto Katsube. Kawakami 1981 at 1. Kawakami 1981 is directed to the

 preparation and use of dicyclohexylamine (i.e., an amine base with similar reactivity to

 diethanolamine) to form a crystalline dicyclohexylamine salt of a methanoprostacyclin derivative,

 in order to purify methanoprostacyclin. Id. at 3. Kawakami 1981 further discloses that the

 dicyclohexylamine salt of a methanoprostacyclin derivative can be easily reverted to the free

 methanoprostacylcin derivative by conventional methods, such as treating the salt with a strong

 acid such as HCl or H2SO4. Id. at 6. Per Kawakami 1981, the salt that is obtained has “fairly high

 purity, and the purity can be further improved by recrystallization as needed with the use of an

 appropriate solvent.” Id.




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                     7.     Ege 1989

              Ege 1989 was published in 1989 by D.C. Heath and Company and is the second edition of

 a textbook titled “Organic Chemistry.” Seyhan N. Ege, ORGANIC CHEMISTRY (Mary Le Quesne

 et al. eds., 2d ed. 1989) (“Ege 1989”). Ege 1989 is prior art to the ’066 and ’901 Patents under

 §§ 102(a) and (b). Ege 1989 was edited by Seyhan N. Ege. Ege 1989 discloses that sodium

 benzoate (i.e., a carboxylate salt) can be converted back to benzoic acid (i.e., a carboxylic acid) by

 treatment with the acid HCl, which is prototypical of the reaction of treprostinil diethanolamine

 salt with an acid to regenerate treprostinil carboxylic acid. Ege 1989 at 546. The reaction scheme

 is provided below:




 Id.

              B.     Claims 1-3, 6, and 8-9 Are Invalid Under 35 U.S.C. § 103

                     1.     Claims 1-3, 6, and 8-9 Would Have Been Obvious Over Phares 2005

              The Asserted Claims of the ’066 Patent would have been obvious over Phares 2005.

                            a.     Independent Claim 1 Would Have Been Obvious

                                   (1)    Claim Element 1[a]

       1[a]        A pharmaceutical composition comprising treprostinil or a pharmaceutically
                   acceptable salt thereof, said composition prepared by a process comprising:

              Phares 2005 discloses the same pharmaceutical composition and synthesis of treprostinil

 as set forth in independent claims 1 and 8 of the ’066 Patent. Phares 2005 describes “compounds


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 and methods for inducing prostacyclin-like effects in a subject or a patient,” including treprostinil

 and derivatives thereof. Phares 2005 at 8. The chemical structure of treprostinil disclosed in

 Phares 2005 is shown below:




 Id. This is the same treprostinil disclosed in the ’066 Patent:




 Where w = 1; Y1 is—CH2(CH2)m- and m is 1; M1 is α-OH: β-R5 or α-R5: β-OH, wherein R5 is

 hydrogen; L1 is α-R3: β-R4, α-R4: β-R3, or a mixture of α-R3: β-R4 and α-R4: β-R3, wherein R3 and

 R4 are hydrogen; and R7 is —CpH2p—CH3, wherein p is an integer from 1 to 5 inclusive (p=3).

 ’066 Patent at 2:7-3:15.

        Phares 2005 further discloses the identical, pharmaceutically acceptable treprostinil

 diethanolamine salt as the ’066 Patent. Phares 2005 at 96 (claim 49). The structure of treprostinil

 diethanolamine salt disclosed by Phares 2005 (left) is reproduced below in a side-by-side

 comparison with the treprostinil diethanolamine salt disclosed in the ’066 Patent (right):




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                     (Phares 2005)                                   (’066 Patent)

 Phares 2005 at 96 (claim 49); ’066 Patent at 12:8-23, 14:9-20 (Examples 3 and 5). Other than a

 change in formatting, one can easily see that these two structures from Phares 2005 and the ’066

 Patent are identical.

        This salt is made by the same process steps as claim 1 of the ’066 Patent: (a) by forming a

 salt of treprostinil by combining the starting batch of treprostinil acid and a base and; (b) isolating

 the treprostinil salt. ’066 Patent at 17:51-63 (claim 1); Phares 2005 at 22. The isolated salt is then

 used to prepare a pharmaceutical composition comprising treprostinil or a pharmaceutically

 acceptable salt thereof. ’066 Patent at 17:51-63 (claim 1); Phares 2005 at 58. This shows that

 Phares 2005 necessarily discloses the same process steps to make a pharmaceutically acceptable

 salt thereof disclosed in claim 1—treprostinil diethanolamine salt—claimed in the ’066 Patent, and

 thus inherently renders obvious claim 1 of the ’066 Patent. Further support for the obviousness of

 each process element of claim 1 is provided in the following Sections II.B.1.a.(2)-(7).




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                                (2)     Claim Element 1[b]

      1[b]    providing a starting batch of treprostinil having one or more impurities resulting
              from prior alkylation and hydrolysis steps,

        As discussed above in Section II.B.1.a.(1), Phares 2005 discloses the identical treprostinil

 and pharmaceutically acceptable treprostinil diethanolamine salt as the ’066 Patent. The remaining

 process claim elements do nothing to impart structural or functional differences in the claimed

 treprostinil or pharmaceutically acceptable salt thereof, and thus, do not patentably limit the

 claimed pharmaceutical composition. Even so, Phares 2005 further discloses providing a starting

 batch of treprostinil having one or more impurities resulting from alkylation and hydrolysis steps.

        Phares 2005 discloses the same steps of alkylating and hydrolyzing to make the treprostinil

 disclosed in the ’066 Patent. Phares 2005 discloses the synthesis of (-)-treprostinil, the enantiomer

 of (+)-treprostinil. Phares 2005 at 39-40. Phares 2005 explains that enantiomers of these

 compounds (including (-)-treprostinil) “can be synthesized using reagents and synthons of

 enantiomeric chirality of the above reagents,” referring to the reaction scheme where “the

 enantiomer of the commercial drug (+)-Treprostinil was synthesized using the stereoselective

 intramolecular Pauson Khand reaction as a key step and Mitsunobu inversion of the side-chain

 hydroxyl group.” Id. A POSA would therefore understand that Phares 2005 inherently discloses

 the synthesis of both enantiomeric forms of treprostinil, both (-)-treprostinil and (+)-treprostinil.

 Id. Phares 2005 illustrates the following synthesis reaction:




 Id. at 40. The reaction procedure for alkylation to treprostinil is disclosed in Phares 2005 (i.e., the



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 conversion of Compound 11b to the intermediate nitrile product (not shown) in the above reaction

 scheme) as: (l) i. ClCH2CN, K2CO3.” Id. (emphasis added).

          Phares 2005 details the exact same alkylation and hydrolyzing steps: (1) i. ClCH2CN,

 K2CO3. ii. KOH, CH3OH, reflux. 83% (2 steps). Id. Chloroacetonitrile (ClCH2CN) was known

 in the art at the time of the invention to play an important role in alkylation reactions, and

 potassium hydroxide in methanol (KOH, CH3OH) was known to play an important role in

 hydrolysis. Further, in view of the immediate steps prior to conversion to the salt and/or

 crystallization being those of alkylation and hydrolysis, a POSA would understand that at least one

 impurity in the substrate for salt formation and/or crystallization would most likely result from

 these intermediate steps.

          Therefore, based on the identical starting materials and chemical steps in Phares 2005 and

 the ’066 Patent, a POSA would expect to observe the same impurity profiles in each. In both

 cases, a POSA would understand these impurities to most likely result from either the prior

 alkylation and/or hydrolysis steps. Phares 2005 therefore renders obvious providing a starting

 batch of treprostinil having one or more impurities resulting from prior alkylation and hydrolysis

 steps.

                                 (3)    Claim Element 1[c]

      1[c]      forming a salt of treprostinil by combining the starting batch and a base,

          As discussed above in Section II.B.1.a.(1), Phares 2005 discloses the identical treprostinil

 and pharmaceutically acceptable treprostinil diethanolamine salt as the ’066 Patent.

          Phares 2005 further discloses combining a starting batch and a base. Phares 2005 at 22.

 In particular, page 22 of Phares 2005 further teaches dissolving treprostinil acid, which was made

 upon alkylation and hydrolysis, in a 1:1 molar ratio mixture of ethanol: water and diethanolamine



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 (i.e., a base). Id.

                                 (4)     Claim Element 1[d]

      1[d]      isolating the treprostinil salt, and

         Phares 2005 discloses isolating the identical pharmaceutically acceptable treprostinil

 diethanolamine salt as the ’066 Patent. Phares 2005 further discloses isolating crystalline forms

 of treprostinil diethanolamine salt—Form A and Form B. Phares 2005 at 85-89. Upon completion

 of a reaction, the product is isolated. The isolation steps needed following conversion of Form A

 to Form B are routine and understood by a sophomore organic chemistry student. Id.

                                 (5)     Claim Element 1[e]

       1[e]     preparing a pharmaceutical composition comprising treprostinil or a
                pharmaceutically acceptable salt thereof from the isolated treprostinil salt,

         The invention of Phares 2005 “provides for compositions which may be prepared by

 mixing one or more compounds of the instant invention, or pharmaceutically acceptable salts

 thereof, with pharmaceutically acceptable carriers, excipients, binders, diluents or the like, to treat

 or ameliorate a variety of disorders related vasoconstriction and/or platelet aggregation.” Id. at 48.

 Thus, the pharmaceutical acceptability of the compounds is clearly disclosed in Phares 2005.

         A POSA would also know how to prepare a composition comprising treprostinil

 (treprostinil carboxylic acid) or a salt thereof salt thereof from Phares 2005’s isolated

 pharmaceutically acceptable treprostinil salt. The addition of an acid to a carboxylate salt to

 regenerate the carboxylic acid is standard chemical purification known in the art. See, e.g.,

 Schoffstall at 201-02; Wiberg at 112. For example, Ege 1989 discloses that sodium benzoate (i.e.,

 a carboxylate salt) can be converted back to benzoic acid (i.e., a carboxylic acid) by treatment with

 the acid HCl, which is prototypical of the reaction of the treprostinil diethanolamine salt to

 regenerate the treprostinil carboxylic acid. Ege 1989 at 546.


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        Phares 2005 therefore discloses isolating a treprostinil salt, and a skilled artisan would have

 a reasonable expectation of success and would know how to prepare a pharmaceutical composition

 comprising treprostinil or a salt thereof from the isolated treprostinil salt based on the disclosures

 of Phares 2005 and standard knowledge in the art as evidenced by Ege. There is nothing novel

 about preparing a composition with an isolated treprostinil salt versus a trepostinial salt that is not

 previously isolated. Id.

                                (6)     Claim Element 1[f]

      1[f]     whereby a level of one or more impurities found in the starting batch of
               treprostinil is lower in the pharmaceutical composition, and

        The claim language of the ’066 Patent does not disclose the percentage of “impurity”

 required in the starting batch of treprostinil and simply states “having one or more impurities.”

 The ’066 Patent discloses that in one embodiment the “purity of compound of formula IV is at

 least 90.0%, 95.0%, 99.0% [or] 99.5%,” where the formula IV is treprostinil. ’066 Patent at 9:22-

 23. This disclosure shows that the purity of treprostinil may be as low as 90.0%.

        Based on the identical starting materials and chemical steps used to make treprostinil in

 Phares 2005 and the ’066 Patent, as discussed further in Sections II.A.1 and II.B.1.a.(2), a POSA

 would expect to observe the same impurity profiles in the “starting batch” of treprostinil resulting

 from the prior alkylation and/or hydrolysis steps. Further, because Phares 2005 discloses the same

 method of making treprostinil salts as claimed in the ’066 Patent, the pharmaceutical batch of

 Phares 2005 would also have contained a lower amount of one or more impurities than the starting

 batch of treprostinil. Accordingly, that the claimed pharmaceutical composition contains a lower

 amount of one or more impurities than the starting batch of treprostinil was neither new nor

 nonobvious. In re Thorpe, 777 F.2d 695, 697 (Fed. Cir. 1985) (“If the product in the product-by-

 process claim is the same as or obvious from a product of the prior art, the claim is unpatentable


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 even though the prior product was made by a different process.”); see also Amgen Inc. v. F.

 Hoffman-La Roche Ltd, 580 F.3d 1340, 1366 (Fed. Cir. 2009) (“It has long been the case that an

 old product is not patentable even if it is made by a new process.”).

        Phares 2005 further discloses two crystalline forms of treprostinil diethanolamine salt,

 Form A and Form B. Phares 2005 at 85-89. Form A has an endotherm at 103° C and Form B has

 an endotherm at 107° C. Id. at 87-88. A form exhibiting a higher endotherm temperature is

 inherently understood to be compatible with a higher purity. Thus, the higher melting point of

 Form B would be consistent and compatible with a higher degree of purity in Form B in

 comparison with Form A based on these endotherm temperatures. Further, Form A is utilized as

 the starting material for the formation of Form B.          A POSA would understand that this

 transformation, similar to that described in the ’066 Patent, typically removes impurities. Id. As

 such, Form A should be purer than the starting batch, and Form B purer than Form A. Id.

        Further, a POSA would have had a reasonable expectation that the treprostinil salt

 described in Phares 2005 would contain a lower amount of one or more impurities than the starting

 batch of treprostinil because contacting a carboxylic acid of prostacyclin derivative, such as

 treprostinil, with a base to form a salt, followed by the addition of a strong acid to regenerate the

 carboxylic acid, was a well-known chemical purification technique in the prior art. For example,

 Kawakami 1981 is directed to the preparation and use of dicyclohexylamine (i.e., an amine base

 with similar reactivity to diethanolamine) to form a crystalline dicyclohexylamine salt of a

 methanoprostacyclin derivative, in order to purify the methanoprostacyclin.           See generally

 Kawakami 1981.        Kawakami 1981 also discloses that the dicyclohexylamine salt of a

 methanoprostacyclin derivative can easily be reverted to the free methanoprostacyclin derivative

 by conventional methods, such as treating the salt with a strong acid such as HCl or H2SO4. Id. at




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 6. Per Kawakami 1981, the salt that is obtained has “fairly high purity, and the purity can be

 further improved by recrystallization as needed with the use of an appropriate solvent.” Id.; see

 also Ege 1989 at 546 (disclosing that sodium benzoate (i.e., a carboxylate salt) can be converted

 back to the benzoic acid (i.e., a carboxylic acid) by treatment with HCl). Thus, a POSA would

 know that a pharmaceutical composition comprising either treprostinil acid or treprostinil salt

 made by the process disclosed in Phares 2005 and claimed in the ’066 Patent would possess less

 impurities than the starting batch of treprostinil resulting from the prior alkylation and/or

 hydrolysis steps.

        A POSA would therefore find it obvious that the level of one or more impurities found in

 the starting batch of treprostinil is lower in the final pharmaceutical composition.

                                (7)    Claim Element 1[g]

     1[g]      wherein said alkylation is alkylation of benzindene triol.

        Example 1 of the ’066 Patent describes the alkylation of benzindene triol. ’066 Patent at

 9:50-10:13. This alkylation reaction is shown below:




 Id. Benzindene triol is the fused tricyclic core wherein the three hydroxyl groups (-OH) are not

 all located on the core. In this example, the hydroxyl group indicated with the red square is being



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 alkylated using ClCH2CN in the presence of K2CO3, Bu4NBr and acetone.

        As stated above in Section II.B.1.a.(2), Phares 2005 discloses an alkylation reaction

 identical in nature to the ’066 Patent alkylation reaction: (l) i. ClCH2CN, K2CO3. Phares 2005 at

 39-40. In particular, in step (l) the starting treprostinil precursor compound, the benzindene triol,

 has the same structural formula as the treprostinil precursor being alkylated in the ’066 Patent (11b

 indicates that “R” can be “H”). The reaction from Phares 2005 is shown below for comparison:




 Id. Phares 2005 teaches a POSA to selectively alkylates the phenolic –OH group on the fused

 three ring core of Compound 11b as indicated in the red box. Id.

        In addition, Phares 2005 cites to U.S. Patent No. 4,306,075 for routes in which compounds

 disclosed in Phares 2005 can be modified. Id. at 9 (citing U.S. Patent No. 4,306,075 (“the ’075

 Patent”)). Chart P of the ’075 patent provides a synthetic scheme where the -OH of a benzindene

 triol, as referred to in the ’066 Patent, is alkylated. ’075 Patent at col. 90. While the ’075 Patent

 does not disclose the same synthesis reaction, this reference supports the proposition that it was

 not a novel step at the time of the invention to alkylate an –OH group on the benzene of a fused

 ring system.

        The disclosures and references contained in Phares 2005 thus disclose alkylation of a

 benzindene triol that can be used to prepare treprostinil.




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                        b.      Dependent Claims 2-3 and 6 Would Have Been Obvious

                                (1)     Claim 2

        2      The pharmaceutical composition of claim 1, wherein the salt is isolated in
               crystalline form.

        As stated above in Section II.A.1, Phares 2005 discloses that “[a] preferred embodiment of

 the present invention is the diethanolamine salt of treprostinil.” Phares 2005 at 9. Phares 2005

 discloses two crystalline forms of treprostinil diethanolamine salt, Form A and Form B. Id. at

 85-89 (“two crystalline forms of UT-15C were idenitified [sic] as well as an amorphous form.”)

 (emphasis added). A particularly preferred embodiment of the invention disclosed in Phares 2005

 is “Form B of treprostinil diethanolamine.” Id. at 9. Phares 2005 therefore discloses the same

 treprostinil diethanolamine salt, in crystalline form, as the ’066 Patent.

                                (2)     Claims 3

        3      The pharmaceutical composition of claim 1, wherein the base is selected from the
               group consisting of sodium, ammonia, potassium, calcium, ethanolamine,
               diethanolamine, N-methylglucamine, and choline.

        Phares 2005 discloses the preparation of treprostinil diethanolamine, including the step of

 adding treprostinil and diethanolamine (i.e., a base) in a 1:1 molar ratio mixture of ethanol: water.

 Phares 2005 at 22. After addition of a base, the treprostinil diethanolamine can then be further

 precipitated and purified to form the crystalline “Form A” and “Form B.” Id. at 85-89. Phares

 2005 thus discloses the use of the base diethanolamine.

        Phares 2005 further discloses several other inorganic bases such as sodium, ammonia,

 potassium, calcium, and ethanolamine, as recited in dependent claim 3 of the ’066 Patent. Phares

 2005 at 55.

        In addition, the language of claim 3 is indefinite. It recites only sodium, potassium, and

 calcium, but sodium, potassium, and calcium on their own are not bases. They are the counterions


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 that result from treatment of the treprostinil acid with the corresponding bases.

                                (3)      Claim 6

       6       The pharmaceutical composition of claim 1, wherein the isolated salt is stored at
               ambient temperature.

        Although claim 6 requires the “isolated salt” to be stored at ambient temperature, the ʼ066

 Patent fails to provide any evidence that the salt, as made according to the process disclosed in the

 ʼ066 Patent was stored at ambient temperature. Additionally, claim 6 does not provide a duration

 of time for storage at ambient temperature. Nonetheless, as discussed above in Section II.B.1.a.(1),

 Phares 2005 discloses the same formula of treprostinil and identical pharmaceutically acceptable

 treprostinil diethanolamine salt as the ’066 Patent (Form A and Form B). Phares 2005 at 8-9; 85-

 89. Phares 2005 discloses that Form B is more thermodynamically stable than Form A. Id. at 87.

 Phares 2005 further discloses that Form B is made from Form A, with full conversion to Form B

 at ambient temperature after 7 days, 15° C after 11 days and 30° C after 1 day, suggesting stability

 at these temperatures. Id. at 89 (Table 17). “Ambient temperature” means “room temperature”

 or, on average, 25° C. Id. Full conversion after 7 days at ambient temperature, as disclosed by

 Phares 2005, inherently teaches that Form B is stable at ambient temperature and therefore could

 be stored at ambient temperature. Id.

        Further, treprostinil was known to be stable at ambient temperature by December 2007.

 Mardi Gomberg-Maitland et al., Transition from Intravenous Epoprostenol to Intravenous

 Treprostinil in Pulmonary Hypertension, 172 AM. J. RESPIR. CRIT. CARE MED. 1586-1589, 1586

 (2005) (“Treprostinil has theoretical advantages over epoprostenol because of its stability at room

 temperature . . . .”) (“Gomberg-Maitland 2005”); Dunbar Ivy et al., Transition of Stable Pediatric

 Patients with Pulmonary Arterial Hypertension from Intravenous Epoprostenol to Intravenous

 Treprostinol, 99(5) AM. J. CARDIOL. 696, 696 (2007) (“Ivy 2007”) (“Treprostinil possesses


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 physiochemical properties that make its use more convenient, including stability at room

 temperature . . . .”). In fact, the prescribing information for UTC’s REMODULIN® published in

 March 2006 states plainly that “[t]reprostinil is chemically stable at room temperature and neutral

 pH.”      REMODULIN® Product Information, UNITED THERAPEUTICS CORP. (Mar. 2006)

 (“REMODULIN® Label 2006”). Because treprostinil was known to be chemically stable at

 ambient temperature as of December 2007, a POSA would know that the treprostinil salts

 described in Phares 2005 could be “stored at ambient temperature.”

          As the treprostinil and treprostinil diethanolamine salt disclosed in Phares 2005 and the

 ’066 Patent are identical, there are no structural differences between these molecules that would

 indicate that the compounds would require different storage conditions.

                         c.     Independent Claim 8 Would Have Been Obvious

                                (1)     Claim Elements 8[a] and 8[b]

        8[a]    A process of preparing a pharmaceutical product comprising treprostinil or a
                pharmaceutically acceptable salt thereof, comprising:
        8[b]    alkylating a triol intermediate of the formula:




          Phares 2005 discloses the same treprostinil and treprostinil diethanolamine salt as the ’066

 Patent. Phares 2005 at 8-10; 87-88; supra Section II.B.1.a.(1). Phares 2005 further discloses

 alkylating a triol intermediate, the benzindene triol, of the same structural formula disclosed in

 claim 8 of the ’066 Patent. See also supra Section II.B.1.a.(7). A comparison between the

 alkylation substrates disclosed in the ’066 Patent (left) and Phares 2005 (right) are produced below



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 for a side-by-side comparison:




                   (’066 Patent)                                          (Phares 2005)

 ’066 Patent at 9:50-10:13, claim 8; Phares 2005 at 40. Intermediate 11b of Phares 2005 indicates

 that “R=H,” so the structural formulas disclosed for the triol intermediates are the same in claim 8

 of the ’066 Patent and structure 11b of Phares 2005.

                                 (2)     Claim Element 8[c]

      8[c]     hydrolyzing the resulting compound to form treprostinil,

         Phares 2005 discloses hydrolyzing the resulting compound (obtained by the alkylation of

 the substrate 11b shown above) to form the same structural formula for treprostinil starting

 material disclosed in the ’066 Patent. See supra Sections II.B.1.a.(2) and II.B.1.a.(7). The

 hydrolyzing procedure is disclosed in Phares 2005 as: adding “KOH, CH3OH, reflux. 83%.”

 Phares 2005 at 40. This hydrolyzing procedure, though explicitly disclosed for the preparation of

 the enantiomer of treprostinil, is inherently disclosed for the preparation of the treprostinil structure

 at page 22 of Phares 2005 as well. A comparison between the treprostinil starting material

 disclosed in the ’066 Patent (left) and the treprostinil that is taught in Phares 2005 at page 22 (right)

 are produced below for a side-by-side comparison:




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                     (’066 Patent)                                  (Phares 2005)

 ’066 Patent at 10:55-65 (Example 2); Phares 2005 at 8.

        Treprostinil can be further converted to treprostinil salt with the disclosed preparation on

 page 22 of Phares 2005, wherein the treprostinil starting material is added to and dissolved in

 diethanolamine in a 1:1 molar ratio mixture of ethanol: water and further precipitated and purified

 to form the crystalline form. Id. at 85-89. This disclosure of the diethanolamine salt formation is

 identical to the pharmaceutical salt of treprostinil as disclosed in claims 1 and 8 of the ’066 Patent.

                                (3)     Claim Elements 8[d] and 8[e]

      8[d]     forming a salt of treprostinil stable at ambient temperature,
      8[e]     storing the treprostinil salt at ambient temperature, and

        See explanation under independent claim 1 and dependent claim 6. Sections II.B.1.a.(1)

 and II.B.1.b.(3).

                                (4)     Claim Element 8[f]

      8[f]     preparing a pharmaceutical product from the treprostinil salt after storage,

        As treprostinil and treprostinil diethanolamine salt are disclosed in Phares 2005 and the

 ’066 Patent, there are no structural differences between these molecules that would require

 different storage conditions or indicate that the pharmaceutical product could not be formed from

 the salt after storage. The same process used to form salts before storage would also be used to



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 form salts after storage; this step is not novel or an improvement. Phares 2005 thus inherently

 discloses preparation of a pharmaceutical product from the treprostinil salt after storage.

                               (5)     Claim Element 8[g]

      8[g]     wherein the pharmaceutical product comprises treprostinil or a pharmaceutically
               acceptable salt thereof.

        See explanation under independent claim 1. Section II.B.1.a.(1).

                        d.     Dependent Claim 9 Would Have Been Obvious

       9       A pharmaceutical product prepared by the process of claim 8.

        See explanation under independent claims 1 and 8. Sections II.B.1.a and II.B.1.c.

                2.      Claims 1-3, 6, and 8-9 Would Have Been Obvious Over Moriarty 2004
                        in Combination with Phares 2005

                        a.     Motivation to Combine Moriarty 2004 with Phares 2005

        A POSA would have been motivated to combine Moriarty 2004 and Phares 2005 at the

 time of the invention of the ’066 Patent. The combination of Moriarty 2004 and Phares 2005

 discloses the same process steps and same treprostinil product of the ’066 Patent. See Sections

 II.A.1 and II.A.2 supra. As discussed above, Moriarty 2004 teaches the preparation of treprostinil

 acid, and Phares 2005 teaches the preparation of treprostinil diethanolamine by dissolving

 treprostinil acid and treating it with diethanolamine. Moriarty at 1895, 1902; Phares 2005 at 22.

 Phares 2005 further discloses two polymorphs of treprostinil diethanolamine and their relative

 stabilities. Phares 2005 at 85-89.

        More specifically, Moriarty 2004 indicates that the crystalline treprostinil resulting from

 the disclosed process is obtained in the form of “[w]hite needles.” Moriarty 2004 at 1902. A

 POSA would have known that “needle-shaped crystals are not desirable because of their poor flow

 properties.” HANDBOOK OF PHARMACEUTICAL SALTS 137 (P. Heinrich Stahl et al. eds., 1st ed.




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 2002) (“Stahl 2002”) at p. 62; see also Declaration of Dr. Rodolfo Pinal, Liquidia Techs., Inc. v.

 United Therapeutics Corp., IPR2020-00769, Ex. 2002 at ¶ 258 (P.T.A.B. July 14, 2020) (UTC

 expert testifying that needle-shaped crystals were known to be unsuitable for downstream

 processing). To improve the flow properties, among others, of the treprostinil acid produced

 according to Moriarty 2004, a POSA would have been motivated to modify the resulting

 treprostinil product disclosed in Moriarty 2004. One means of improving the downstream

 processing properties of APIs is to make them into a salt form. See G. Steffen Paulekuhn et al.,

 Trends in Active Pharmaceutical Ingredient Salt Selection based on Analysis of the Orange Book

 Database, 50 J. MED. CHEM. 6665-6672, 6665 (2007) (“Paulekuhn 2007”) (“Salt formation is a

 well-known technique to modify and optimize the physical chemical properties of an ionizable

 research or development compound. Properties such as solubility, dissolution rate, hygroscopicity,

 stability, impurity profiles, and crystal habits can be influenced by using a variety of

 pharmaceutically acceptable counterions.”). Thus, a POSA would have sought to combine the

 treprostinil acid of Moriarty 2004 with the diethanolamine salt of Phares 2005 to improve

 properties, such as flow, of the pharmaceutical product.

        Additionally, a POSA would have sought to combine Phares 2005 and Moriarty 2004

 because Phares 2005 is directed to improving treprostinil, and the Moriarty 2004 process, including

 those steps claimed by the ’066 Patent, was a well-known way to make treprostinil. Further, a

 POSA would have sought to combine Moriarty 2004 and Phares 2005 in order to eliminate the

 intermediate purification step taught by Moriarty 2004, thereby increasing synthetic efficiency and

 lowering production costs for treprostinil diethanolamine salt. A POSA would understand that an

 intermediate purification step is unnecessary because not purifying the intermediate carboxylic

 acid before addition of a base does not affect salt formation.




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         Accordingly, a POSA would have been motivated to combine the treprostinil acid disclosed

 in Moriarty 2004 with the diethanolamine treprostinil disclosed in Phares 2005.

                         b.      Reasonable Expectation of Success

         A POSA would have had a reasonable expectation of success in reacting the treprostinil

 taught by Moriarty 2004 with diethanolamine to form a treprostinil diethanolamine salt. “The

 reasonable expectation of success requirement refers to the likelihood of success in combining

 references to meet the limitations of the claimed invention.” Intelligent Bio-Sys., Inc. v. Illumina

 Cambridge Ltd., 821 F.3d 1359, 1367 (Fed. Cir. 2016). The proposed combination of Moriarty

 2004 and Phares 2005 yields treprostinil diethanolamine salt (i.e., the product claimed in

 independent claims 1 and 8 of the ’066 Patent) via the process taught by Phares 2005. A POSA

 would have a reasonable expectation of success in doing so because Phares 2005 successfully

 performed precisely that step. Id. Indeed, the combination of Moriarty 2004 and Phares 2005

 results in essentially the same process as disclosed in Example 6 of the ʼ066 patent. Further, a

 POSA would understand that forming a salt from the treprostinil acid disclosed in Moriarty 2004

 would not make the resulting product less pure than the 99.7% disclosed in the reference.

 Schoffstall 2004 at 201-02; Wiberg 1960 at 112; see also LAURENCE M. HARWOOD                ET AL.,

 EXPERIMENTAL ORGANIC CHEMISTRY 127 (1st ed. 1989) (“Harwood 1989”) (“The simplest and

 most effective technique for the purification of solid organic compounds is crystallization.

 Crystalline compounds are easy to handle, their purity is readily assessed . . . and they are often

 easier to identify than liquids or oils.”).

                         c.      Independent Claim 1 Would Have Been Obvious

         Moriarty 2004 in combination with Phares 2005 teaches each element of claim 1 of the

 ’066 Patent.




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                                 (1)     Claim Element 1[a]

    1[a]        A pharmaceutical composition comprising treprostinil or a pharmaceutically
                acceptable salt thereof, said composition prepared by a process comprising:


           Moriarty 2004 discloses the production of a pharmaceutical composition and the synthesis

 of treprostinil via the stereoselective intramolecular Pauson-Khand cyclization. Moriarty 2004 at

 1890. Structure 7 of Moriarty 2004 depicts the chemical structure of treprostinil and is shown

 below:




 Id. at 1892. This is the identical treprostinil pharmaceutical salt precursor disclosed in the ’066

 Patent:




 ’066 Patent at 11:50-65.

           While the step of reacting treprostinil with a base to form a salt of 7 is not disclosed in

 Moriarty 2004, this step is clearly disclosed in Phares 2005. Phares 2005 at 22. Phares 2005

 discloses that treprostinil acid (which is equivalent to 7 in Moriarty 2004) is dissolved in a 1:1


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 molar ratio mixture of ethanol: water and diethanolamine (i.e., the base) is added and dissolved.

 Id. The solution is heated and acetone is added as an antisolvent during cooling. Id. The resulting

 structure (left) corresponds to the treprostinil diethanolamine salt claimed in the ’066 Patent

 (right). A side-by-side comparison is shown below:




                         (Phares 2005)                                 (’066 Patent)

 Phares 2005 at 9, 96 (claim 49); ’066 Patent at 9:5-18, 12:8-23 (Example 3). Other than a change

 in formatting, these two structures are identical.

        The formation of salts by the reaction of carboxylic acids with bases is a common reaction

 in organic chemistry and this process is well within the skill of a POSA, as discussed above. E.g.,

 Kawakami 1981 at 6.

        This salt is the result of the same steps described in the’066 Patent (a) by forming a salt of

 treprostinil by combining the starting solution of treprostinil acid and a base and (b) isolating the

 treprostinil salt. ’066 Patent at claims 1 and 8. The isolated salt is then used to prepare a

 pharmaceutical batch comprising treprostinil or a salt thereof. Id.

        The combination of Moriarty 2004 and Phares 2005 discloses the same process steps and

 product of the ’066 Patent and as such, the combination of these references would disclose a purity


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 of at least equal purity to that claimed in the ’066 Patent. In fact, in the IPR proceeding involving

 the related ʼ393 Patent, the PTAB determined that the product resulting from Moriarty 2004 is the

 same product as disclosed and claimed in the ʼ393 patent. SteadyMed Ltd. v. United Therapeutics

 Corp., IPR2016-00006, Paper 82 at 16 (P.T.A.B. Mar. 31, 2017) (The “batches of treprostinil

 produced according to the process steps recited in the challenged claims renders the claimed

 treprostinil structurally and functionally the same as treprostinil produced according to Moriarty

 [2004].”). Thus, for the same reasons, the product disclosed in Moriarty 2004 is necessarily the

 same as the product of the ʼ066 Patent, because it claims the exact same process as the ʼ393 patent.

 The ’066 Patent discloses that in one embodiment the “purity of compound of formula IV is at

 least 90.0%, 95.0%, 99.0% [or] 99.5%, where the compound of formula IV is treprostinil.” ’066

 Patent at 9:22-23. This disclosure shows that the purity of treprostinil may be as low as 90.0%.

        Phares 2005 further discloses two crystalline forms of treprostinil diethanolamine salt,

 Form A and Form B. Phares 2005 at 85-89. Form A has an endotherm, 103° C and Form B has

 an endotherm, 107° C. Phares 2005 at 87-88. The higher melting point of Form B is consistent

 and compatible with a higher degree of purity in Form B in comparison with Form A. Further,

 Form A is utilized as the starting material for the formation of Form B. Phares 2005 at 87-88. A

 POSA would understand that this transformation, similar to that described in the ’066 Patent,

 typically removes impurities. Id. As such, Form A should be purer than the starting batch and

 Form B purer than Form A. Id.

        Therefore, Moriarty 2004 in combination with Phares 2005 disclose a pharmaceutical

 composition comprising treprostinil or a salt thereof and impurities.

                                (2)    Claim Element 1[b]

     1[b]     providing a starting batch of treprostinil having one or more impurities resulting
              from prior alkylation and hydrolysis steps,


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        Both Moriarty 2004 and Phares 2005 teach the alkylation and hydrolysis steps claimed in

 the ’066 Patent. See Moriarty 2004; Phares 2005. Moriarty 2004 teaches that the alkylating agent

 is ClCH2CN, which corresponds to Cl(CH2)wCN where w is 1 disclosed in the ’066 Patent.

 Moriarty 2004 at 1892, 1895; ’066 Patent at 2:36-47. Moriarty 2004 further discloses that the base

 in step (b) is KOH. Moriarty at 1892, 1895. Phares 2005 teaches the exact same alkylation and

 hydrolyzing steps for treprostinil’s enantiomer, detailed as “step (1)”: (1) i. ClCH2CN, K2CO3. ii.

 KOH, CH3OH, reflux. 83% (2 steps) and disclosed as equally applicable to treprostinil. Phares

 2005 at 39, 40. Chloroacetonitrile (ClCH2CN) was known in the art at the time of the invention

 to play an important role in alkylation reactions, and methanolic potassium hydroxide (KOH,

 CH3OH) was known to play an important role in hydrolysis. It thus would have been obvious to

 a POSA that the starting batch of treprostinil, as prepared in Moriarty 2004 or the Phares 2005

 treprostinil acid disclosed at page 22, would result from these previously described alkylation and

 hydrolysis steps. Based on these identical starting materials and reagents, a POSA would expect

 the starting batch of treprostinil from Moriarty 2004 and Phares 2005 to contain one or more

 impurities resulting from the prior alkylation and hydrolysis steps.

        The combination of Moriarty 2004 and Phares 2005 discloses the same process steps and

 product of the ’066 Patent, and as such, the combination of these references would disclose a purity

 of at least equal purity to that claimed in the ’066 Patent. The ’066 Patent discloses that in one

 embodiment the “purity of compound of formula IV is at least 90.0%, 95.0%, 99.0% [or] 99.5%,”

 where the compound of formula IV is treprostinil. ’066 Patent at 9:22-23. This disclosure shows

 that the purity of treprostinil may be as low as 90.0%.

                               (3)     Claim Element 1[c]

      1[c]     forming a salt of treprostinil by combining the starting batch and a base,




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         As discussed above, Moriarty 2004 discloses the identical treprostinil precursor and Phares

 2005 discloses the identical pharmaceutically acceptable treprostinil diethanolamine salt as the

 ’066 Patent.

         Scheme 4 of Moriarty 2004 teaches that 35 is hydrolyzed with a base (i.e., aqueous KOH),

 followed by acidification to yield 7, the treprostinil salt precursor disclosed in the ’066 Patent.

 Moriarty 2004 at 1895, 1902. Phares 2005 also teaches the same reactions of the enantiomeric

 treprostinil salt precursor: (1) i. ClCH2CN, K2CO3. ii. KOH, CH3OH, reflux. 83% (2 steps). Phares

 2005 at 40. Phares 2005 explains that “[e]nantiomers of these compounds . . . can be synthesized

 using reagents and synthons of enantiomeric chirality of the above reagents,” thereby inherently

 teaching the synthesis of both enantiomeric forms of treprostinil, both (-)-treprostinil and (+)-

 treprostinil. Id. at 39-40.

         Treprostinil can be further converted to treprostinil salt in view of the disclosed preparation

 on page 22 of Phares 2005, wherein the treprostinil is added to and dissolved in diethanolamine

 (i.e., a base) in a 1:1 molar ratio mixture of ethanol: water and the resulting salt further precipitated

 and purified to form the crystalline form (i.e., “Form B”). Id. at 85-89. This disclosure of the

 diethanolamine salt formation is identical to the pharmaceutical salt of treprostinil as disclosed in

 claims 1 and 8 of the ’066 Patent.

                                 (4)     Claim Element 1[d]

      1[d]      isolating the treprostinil salt, and


         Phares 2005 discloses isolating the identical pharmaceutically acceptable treprostinil

 diethanolamine salt form as the ’066 Patent. See Phares 2005’s further disclosure of the same

 element in Ground 1, supra at Section II.B.1.a.(4).




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                                (5)     Claim Element 1[e]

      1[e]     preparing a pharmaceutical composition comprising treprostinil or a
               pharmaceutically acceptable salt thereof from the isolated treprostinil salt,

        See Phares 2005’s disclosure of the same element in Ground 1. Section II.B.1.a.(5).

                                (6)     Claim Element 1[f]

      1[f]     whereby a level of one or more impurities found in the starting batch of
               treprostinil is lower in the pharmaceutical composition, and


        As the combination of Moriarty 2004 with Phares 2005 discloses the same process steps

 and product of the ’066 Patent, the combination of these references would disclose a purity of at

 least equal purity to that claimed in the ’066 Patent.

        The claim language of the ’066 Patent does not disclose the percentage of “impurity”

 required in the starting batch of treprostinil and simply states “having one or more impurities.”

 The ’066 Patent discloses that in one embodiment the “purity of compound of formula IV is at

 least 90.0%, 95.0%, 99.0% [or] 99.5%,” where the compound of formula IV is treprostinil. ’066

 Patent at 9:22-23. This disclosure shows that the purity of treprostinil may be as low as 90.0%.

 Moriarty 2004 discloses a purity of 99.7%. Moriarty 2004 at 1902.

        Based on the identical starting materials and chemical steps used to make treprostinil in

 Phares 2005 and the ’066 Patent, as discussed further in Sections II.A.1 and II.B.1.a.(2), a POSA

 would expect to observe the same impurity profiles in the “starting batch” of treprostinil resulting

 from the prior alkylation and/or hydrolysis steps. Further, because Phares 2005 discloses the same

 method of making treprostinil salts as claimed in the ’066 Patent, the pharmaceutical batch of

 Phares 2005 would also have contained a lower amount of one or more impurities than the starting

 batch of treprostinil. Accordingly, that the claimed pharmaceutical composition contains a lower

 amount of one or more impurities than the starting batch of treprostinil was neither new nor


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 nonobvious. Thorpe, 777 F.2d at 697 (“If the product in a product-by-process claim is the same

 as or obvious from a product of the prior art, the claim is unpatentable even though the prior

 product was made by a different process.”); see also Amgen, 580 F.3d at 1366 (“It has long been

 the case that an old product is not patentable even if it is made by a new process.”).

        Additionally, a POSA would have a reasonable expectation that the treprostinil salt

 described in Phares 2005 would contain a lower amount of one or more impurities than the starting

 batch of treprostinil because crystallization of the starting batch to make the treprostinil salt would

 purify the sample. See Harwood 1989 at 127 (“The simplest and most effective technique for the

 purification of solid organic compounds is crystallization. Crystalline compounds are easy to

 handle, their purity is readily assessed . . . and they are often easier to identify than liquids or

 oils.”). Further, because regeneration of the carboxylic acid was a standard chemical purification

 method known in the art (see, e.g., Ege 1989 at 546), a POSA would know that formation of a

 pharmaceutical product comprising treprostinil acid by reacting the treprostinil salt with an acid

 (e.g., HCl) would further purify the pharmaceutical composition. Thus, a POSA would know that

 a pharmaceutical composition comprising either treprostinil acid or treprostinil salt made by the

 process disclosed in Phares 2005 and claimed in the ’066 Patent would possess less impurities than

 the starting batch of treprostinil resulting from the prior alkylation and/or hydrolysis steps.

        Accordingly, that the pharmaceutical composition described in Phares 2005 and claimed

 by the ’066 Patent contains a lower amount of one or more impurities than the starting batch of

 treprostinil would have been obvious to a POSA in December 2007 over Moriarty 2004 in

 combination with Phares 2005.

                                (7)     Claim Element 1[g]

      1[g]     wherein said alkylation is alkylation of benzindene triol.




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        Moriarty 2004 teaches alkylation of benzindene triol. Moriarty 2004 at 1897. The

 alkylation reaction of 34 to yield 35 as disclosed in Moriarty 2004 is equivalent to the alkylation

 reaction disclosed in the ’066 Patent. 34 and 35 of Moriarty 2004 are as follows:




 Id. at 1895, 1902. Moriarty 2004 teaches that the triol (34) was alkylated at the phenolic hydroxyl

 group with use of chloroacetonitrile in refluxing acetone with potassium carbonate (34 → 35) and

 nitrile 35 was hydrolyzed with ethanolic potassium hydroxide to yield UT-15 (7). Id. at 1897.

 This is the same triol disclosed in the ’066 Patent as shown below:




                     (’066 Patent)                                       (Moriarty 2004)

 ’066 Patent at 10:17-26; Moriarty 2004 1895, 1902.

        As discussed above in Section II.B.1.a.(7), Phares 2005 also discloses alkylation of a

 benzindene triol (11b → 2). Phares 2005 at 40. A POSA would recognize that step (l) disclosed




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 in Phares 2005 (i. ClCH2CN, K2CO3) teaches the same alkylation reaction to give the nitrile

 disclosed in Phares 2005.

                         d.      Dependent Claims 2-3 and 6 Would Have Been Obvious

                                 (1)     Claim 2

        2      The pharmaceutical composition of claim 1, wherein the salt is isolated in
               crystalline form.

         As discussed above, while Moriarty 2004 does not teach preparation of a diethanolamine

 salt of treprostinil or a pharmaceutical product comprising treprostinil salt, Phares 2005 teaches

 preparation of treprostinil diethanolamine by dissolving treprostinil acid and treating it with

 diethanolamine.      Phares 2005 at 22.          The pharmaceutical acceptability of treprostinil

 diethanolamine is clearly disclosed in Phares 2005. Id. at 48 (The invention of Phares 2005

 “provides for compositions which may be prepared by mixing one or more compounds of the

 instant invention, or pharmaceutically acceptable salts thereof, with pharmaceutically acceptable

 carriers, excipients, binders, diluents or the like, to treat or ameliorate a variety of disorders related

 vasoconstriction and/or platelet aggregation.”). Accordingly, a POSA would have found it

 obvious to prepare a product from the pharmaceutically acceptable treprostinil diethanolamine salt

 of Phares 2005 that was in turn prepared from the treprostinil free acid obtained by the process of

 Moriarty 2004.

         Phares 2005 further discloses two crystalline forms of treprostinil diethanolamine salt,

 Form A and Form B. Phares 2005 at 85 (“Two crystalline forms of UT-15C were idenitified [sic]

 as well as an amorphous form”) (emphasis added).) A particularly preferred embodiment of the

 invention disclosed in Phares 2005 is “Form B of treprostinil diethanolamine.” Id. at 9. Phares

 2005 therefore discloses the same treprostinil diethanolamine salt, in crystalline form, as the ’066

 Patent. Further, a sophomore organic chemistry student would understand that isolation of


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 crystalline Forms A and B (wherein Form B is assumed to have higher purity than Form A) would

 be possible.

                                 (2)      Claim 3

       3         The pharmaceutical composition of claim 1, wherein the base is selected from the
                 group consisting of sodium, ammonia, potassium, calcium, ethanolamine,
                 diethanolamine, N-methylglucamine, and choline.


           As explained supra in Section II.B.1.b.(2), Phares 2005 discloses the additional elements

 of claim 3.

           In addition, the language of claim 3 is indefinite, because the recited sodium, potassium,

 and calcium on their own are not bases; rather, they are counterions that result from treatment of

 the treprostinil acid with the corresponding bases.

                                 (3)      Claim 6

       6         The pharmaceutical composition of claim 1, wherein the isolated salt is stored at
                 ambient temperature.

           As discussed above, Moriarty 2004 disclose the synthesis of the treprostinil in the ’066

 Patent.     See Moriarty 2004.        Phares 2005 teaches the same treprostinil and treprostinil

 diethanolamine salt (Form A and Form B) as the ’066 Patent. Phares 2005 at 8-9, 22, 85-89.

 Phares 2005 discloses that Form B is more thermodynamically stable than Form A. Id. at 87-88.

 Phares 2005 further discloses that Form B is made from Form A, with full conversion to Form B

 at ambient temperatures after 7 days, 15° C after 11 days and 30° C after 1 day, suggesting stability

 at these temperatures. Id. at 89, Table 17. A POSA would understand “ambient temperature” to

 mean “room temperature” or, on average, 25° C. A POSA would also understand that full

 conversion after 7 days at ambient temperature suggests that Form B is stable at ambient

 temperature and therefore could be stored at ambient temperature.



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        Further, treprostinil was known to be stable at ambient temperature by December 2007.

 Gomberg-Maitland 2005 at 1586 (“Treprostinil has theoretical advantages over epoprostenol

 because of its stability at room temperature . . . .”); Ivy 2007 at 696 (“Treprostinil possesses

 physiochemical properties that make its use more convenient, including stability at room

 temperature . . . .”). In fact, the prescribing information for UTC’s REMODULIN® published in

 March 2006 states plainly that “[t]reprostinil is chemically stable at room temperature and neutral

 pH.” REMODULIN® Label 2006. Because treprostinil was known to be chemically stable at

 ambient temperature as of December 2007, a POSA would know that the treprostinil salts

 described in Phares 2005 could be “stored at ambient temperature.”

        As the treprostinil and treprostinil diethanolamine salt disclosed in Phares 2005 and the

 ’066 Patent are identical, there are no structural differences between these molecules that would

 indicate to a POSA that the compounds would require different storage conditions.

                       e.      Independent Claim 8 Would Have Been Obvious

                               (1)     Claim Elements 8[a]-8[c]

      8[a]    A process of preparing a pharmaceutical product comprising treprostinil or a
              pharmaceutically acceptable salt thereof, comprising:
      8[b]    alkylating a triol intermediate of the formula:




      8[c]    hydrolyzing the resulting compound to form treprostinil,




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            As discussed above, Moriarty 2004 and Phares 2005 disclose the synthesis of the

 treprostinil in the ’066 Patent. Specifically, Moriarty 2004 2 teaches the alkylation of triol

 intermediate 34 (left) which has the same formula as the triol structure in claim 8 of the ’066 Patent

 (right):




                         (Moriarty 2004)                                (’066 Patent)

 Moriarty 2004 at 1895; ’066 Patent at 9:54-63) Moriarty 2004 teaches that the “[t]riol (34) was

 alkylated at the phenolic hydroxyl group with use of chloroacetonitrile in refluxing acetone with

 potassium carbonate (34→ 35) and nitrile (35) was hydrolyzed with ethanolic potassium hydroxide

 to yield UT-15 (7) in 9% overall yield.” Moriarty 2004 at 1897 (emphasis added).) Phares 2005

 discloses the same reaction conditions for the triol alkylation step as Moriarty 2004 and as the ’066

 Patent, where “R” can be “H” (structure 11b):




 2
   During the ’066 IPR, UTC admitted that the “Former Process” of Example 6 is the process
 described in Moriarty 2004. See Liquidia Techs., Inc. v. United Therapeutics Corp., IPR2020-
 00769, Paper No. 6 at 66 (P.T.A.B. July 14, 2020) (“The ‘former process’ in example 6 is
 essentially the same as Liquidia’s Moriarty [2004] references.”); see also SteadyMed Ltd. v. United
 Therapeutics Corp., IPR2016-00006, Paper No. 32 at 5 (P.T.A.B. July 6, 2016) (“The ’393 Patent
 includes a side-by-side comparison in Example 6 to show the difference between the Moriarty
 [2004] product and the ’393 product . . . .”).


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 Phares 2005 at 40. Phares 2005 discloses that the reaction could be performed on the enantiomer

 of the substrate that is taught in Moriarty 2004 and the ‘066 Patent. Id. at 39-40. Phares 2005

 further explains that “[e]nantiomers of these compounds…can be synthesized using reagents and

 synthons of enantiomeric chirality of the above reagents,” thereby inherently teaching the synthesis

 of both enantiomeric forms of treprostinil, both (-)-treprostinil and (+)-treprostinil. Id.

         Further, Moriarty 2004 teaches hydrolyzing the product 35, obtained on alkylation of triol

 34, to form treprostinil (7):




 Moriarty 2004 at 1895. Moriarty 2004 teaches that “. . . nitrile (35) was hydrolyzed with ethanolic

 potassium hydroxide to yield UT-15 (7) in 9% overall yield.” Id. at 1897 (emphasis added).

         Phares 2005 also teaches hydrolyzing the product obtained on alkylation of triol 11b (with

 chloroacetonitrile) to form 2, the enantiomer of treprostinil:




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 Phares 2005 at 39-40 (detailed as “step (1)”): (1) i. ClCH2CN, K2CO3. ii. KOH, CH3OH, reflux.

 83% (2 steps).

         Thus, claim elements 8[a]-[c] are obvious over the combination of Moriarty 2004 and

 Phares 2005.

                                (2)     Claim Elements 8[d]-[f]

      8[d]      forming a salt of treprostinil stable at ambient temperature,
      8[e]      storing the treprostinil salt at ambient temperature, and
      8[f]      preparing a pharmaceutical product from the treprostinil salt after storage,

         As discussed above, Moriarty 2004 does not teach the step of reacting treprostinil 7 with a

 base to form a salt of 7. However, this step is clearly disclosed in Phares 2005. Phares 2005 also

 discloses that the treprostinil salt Form B is stable at ambient temperatures, with full conversion

 from Form A to Form B after 7 days at ambient temperature. Phares 2005 at 89, Table 17. A

 POSA would also understand that full conversion of Form A to Form B after 7 days at ambient

 temperature teaches that Form B is stable at ambient temperature and therefore could be stored at

 ambient temperature. See explanation under independent claim 1 and dependent claim 6. Sections

 II.B.2.c and II.B.2.d.(3).

                                (3)     Claim Element 8[g]

      8[g]      wherein the pharmaceutical product comprises treprostinil or a pharmaceutically
                acceptable salt thereof.

         See explanation under independent claim 1. Section II.B.2.c.(1).



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                        f.      Dependent Claim 9 Would Have Been Obvious

       9       A pharmaceutical product prepared by the process of claim 8.

        See explanation under independent claims 1 and 8. Sections II.B.2.c and II.B.2.e.

                3.      No Evidence of Objective Indicia of Nonobviousness (Secondary
                        Considerations)

        Secondary considerations of nonobviousness, which are also called objective indicia, must

 be evaluated to determine whether or not UTC would be able to overcome the strong prima facie

 case of obviousness presented herein. When the invention represents no more than the “predictable

 use of prior art elements according to their established functions,” the secondary considerations

 are inadequate to establish nonobviousness as a matter of law. See, e.g., Wyers v. Master Lock

 Co., 616 F.3d 1231, 1246 (Fed. Cir. 2010) (citation omitted). In this case, Liquidia is not aware

 of any secondary considerations sufficient to overcome the strong showing of prima facie

 obviousness. The specification and prosecution history of the ’066 Patent do not disclose any

 unexpected results or skepticism in the field. To the extent UTC identifies any evidence of

 secondary considerations of nonobviousness, Liquidia reserves the right to respond and present

 evidence to the contrary. To the extent UTC submits evidence of secondary considerations

 previously submitted during the IPR of the ʼ393 Patent, those positions have already been rejected

 and do not support the non-obviousness of the ʼ066 patent here.

        C.      Claims 1-3, 6, and 8-9 Are Invalid Under 35 U.S.C. § 112

        The Asserted Claims of the ’066 Patent are invalid under 35 U.S.C. § 112 for lack of written

 description support, lack of enablement, and indefiniteness. “[T]he test for sufficiency is whether

 the disclosure of the application relied upon reasonably conveys to those skilled in the art that the

 inventor had possession of the claimed subject matter as of the filing date.” Ariad Pharms., Inc.

 v. Eli Lilly & Co., 598 F.3d 1336, 1351 (Fed. Cir. 2010) (en banc). To satisfy the enablement


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 requirement under § 112(a), the specification must enable a person having ordinary skill in the art

 to make and use the invention. Wyeth & Cordis Corp. v. Abott Labs., 720 F.3d 1380, 1384 (Fed.

 Cir. 2013). This requirement is met when at the time of filing the application, one skilled in the

 art, having read the specification, could practice the invention without “undue experimentation.”

 ALZA Corp. v. Andrx Pharms., LLC, 603 F.3d 935, 940 (Fed. Cir. 2010) (quoting Genentech Inc.

 v. Novo Nordisk A/S, 108 F.3d 1361, 1365 (Fed. Cir. 1997)). Finally, under § 112, patent claims

 must “particularly point[] out and distinctly claim[] the subject matter” regarded as the invention.

 35 U.S.C. § 112(b). A patent is “invalid for indefiniteness if its claims, read in light of the

 specification delineating the patent, and the prosecution history, fail to inform, with reasonable

 certainty, those skilled in the art about the scope of the invention.” Nautilus, Inc. v. Biosig

 Instruments, Inc., 572 U.S. 898, 901 (2014). As discovery is ongoing, Liquidia reserves the right

 to supplement and/or amend these contentions.

                1.      Claims 6, 8, and 9 Lack Written Description Support

                        a.     “Stored”/“Storing”/“Storage”         Lack    Written     Description
                               Support

        Asserted Claim 6 is directed to a pharmaceutical composition of claim 1, wherein the

 isolated salt is “stored” at ambient temperature. Asserted Claim 8 of the ’066 Patent, which

 Asserted Claim 9 depends, is directed to a method of preparing the pharmaceutical product

 comprising treprostinil or treprostinil salt by “forming a salt of treprostinil stable at ambient

 temperature, storing the treprostinil salt at ambient temperature, and preparing a pharmaceutical

 product from the treprostinil salt after storage . . . .” “[T]he test for sufficiency is whether the

 disclosure of the application relied upon reasonably conveys to those skilled in the art that the

 inventor had possession of the claimed subject matter as of the filing date.” Ariad Pharms, 598

 F.3d at 1351. An adequate written description need not in every instance describe an actual



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 reduction to practice but “must nonetheless ‘describe the claimed subject matter in terms that

 establish that [the applicant] was in possession of the . . . claimed invention, including all of the

 elements and limitations.’” University of Rochester v. G.D. Searle & Co., 358 F.3d 916, 926 (Fed.

 Cir. 2004) (quoting Hyatt v. Boone, 146 F.3d 1348, 1353 (Fed. Cir. 1998)). Accordingly, the

 specification of the ’066 Patent must sufficiently describe a method of “storing” a treprostinil salt

 at ambient temperature and preparing a pharmaceutical product from the salt after “storage” and

 also a pharmaceutical composition wherein the “isolated salt is stored at ambient temperature,”

 such that a person of skill in the art would recognize that the named inventors actually invented

 what is claimed.

         A POSA reviewing the specification of the ʼ066 Patent would conclude that the inventors

 were not in possession of a method of preparing a pharmaceutical product from a treprostinil salt

 that was “stored” at ambient temperature, or an isolated salt stored at ambient temperature. As

 UTC noted in its Preliminary Response to Liquidia’s IPR Petition with respect to the ’066 Patent,

 “[p]rostaglandin derivatives,” like treprostinil, “in particular were known to be unstable upon

 storage due to inherent instability of the crystalline lattice of these compounds owning to their

 long, flexible sidearms, as well as the presence of multiple polymorphic crystals.” Liquidia Techs.,

 Inc. v. United Therapeutics Corp., IPR2020-00769, Paper 6 at 52 (P.T.A.B. July 14, 2020).

 Further, UTC noted in its Preliminary Response that “[e]nvironmental factors are a significant

 factor (e.g., temperature, oxygen, atmosphere, humidity). This is especially true for compounds

 stored as salts.” Id.

         Considering these admissions regarding the instability of prostaglandin derivatives, and in

 particular salts of treprostinil, the specification of the ’066 Patent provides no evidence or

 disclosure that the treprostinil salts of the claimed invention were actually “stored” for any length




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 of time, let alone at ambient temperatures, that the inventors were in possession of an isolated salt

 that was stored at ambient temperature, or that the inventors were in possession of a method of

 “storing” a treprostinil salt at ambient temperature and preparing a pharmaceutical product of

 treprostinil after such “storage.” The specification of the ’066 Patent provides only a generic

 statement regarding the “stor[age]” of “crude treprostinil salts” at ambient temperature, which

 provides no greater detail than the claims themselves. See ’066 Patent at 17:32–38 (“Additional

 advantages of this process are: (a) crude treprostinil salts can be stored as raw material at ambient

 temperature and can be converted to treprostinil by simply acidification with diluted hydrochloric

 acid, and (b) the treprostinil salts can be synthesized from the solution of treprostinil without

 isolation.”). The ʼ066 Patent does not disclose any experimental data to support these statements,

 and further lacks any details as to how long the “crude treprostinil salt” can be stored or under

 what conditions, other than temperature.

        Further, a POSA reading the specification of the ’066 Patent would also not understand

 that the “crude treprostinil salts” described in the specification constitute a “salt of treprostinil

 stable at ambient temperature” within the meaning of claim 8 as the treprostinil salt itself can be

 the claimed pharmaceutical product (claim 8 does not require any additional processing steps for

 the treprostinil salt prior to incorporating it into the “pharmaceutical product.”). Similarly, a POSA

 reading the specification of the ’066 Patent would not understand that the “crude treprostinil salts”

 constitute “isolated salt[s]” within the meaning of claim 6 as the specification provides no

 indication that the tresprostinil salt was ever isolated. And even if the “crude treprostinil salts”

 described in the specification of the ’066 Patent constitute a “salt of treprostinil stable at ambient

 temperature” within the meaning of claim 8 or “isolated salt” within the meaning of claim 6, which

 Liquidia does not concede, the specification of the ’066 Patent does not provide evidence that the




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 “crude” salts were ever actually stored, let alone for what length of time and under what conditions

 other than temperature. Moreover, the specification of the ʼ066 Patent states only that “crude

 treprostinil salts” can be stored at ambient temperatures, and such “crude” salts must be further

 processed. There is no indication in the specification of the ʼ066 Patent that the inventors were in

 possession of an “isolated salt” or a “salt of treprostinil” that could be “stored” within the meaning

 of claims 6 or 8.

         The specification and claim’s vague description of “storing” crude treprostinil salts and a

 “salt of treprostinil stable at ambient temperature” also lacks information as to “significant”

 environmental conditions, according to UTC, such as oxygen, atmosphere, and humidity, that the

 isolated salt or treprostinil salt can be stored. Regents of the University of California v. Eli Lilly

 & Co., 119 F.3d 1559, 1568 (Fed. Cir. 1997) (“The description requirement of the patent statute

 requires a description of an invention, not an indication of a result that one might achieve if one

 made that invention.”). A disclosure of “ambient temperature” provides no information as to, for

 example, the % relative humidity at which the treprostinil salt can stored. Considering UTC’s

 contention that the significance of these undefined variables is “especially true for compounds

 stored as salts,” and the lack of these variables in which the isolated treprostinil salt can be stored,

 a skilled artisan would not conclude that the inventors were in possession of the invention claimed

 in claims 6 and 8. Thus, claims 6, 8, and 9 of the ’066 Patent are invalid for lack of written

 description.

                         b.      To the Extent UTC Contends that Claims 1 and 8 Permit
                                 “Isolation” of Treprostinil Before Combining with a Base to
                                 Form a Salt, the Asserted Claims Lack Adequate Written
                                 Description Support

         Claim 1 of the ʼ066 Patent requires “forming a salt of treprostinil by combining the starting

 batch and a base.” Additionally, claim 8 requires “forming a salt of treprostinil.” “[T]he test for



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 sufficiency is whether the disclosure of the application relied upon reasonably conveys to those

 skilled in the art that the inventor had possession of the claimed subject matter as of the filing

 date.” Ariad, 598 F.3d at 1351. To the extent UTC argues that claims 1 and 8 permit isolation of

 treprostinil prior to contacting the treprostinil with a base to form a salt, the claims lack adequate

 written description support as the specification does not disclose that such a process will result in

 the claim requirement that “a level of one or more impurities found in the starting batch of

 treprostinil is lower in the pharmaceutical composition.”

         More specifically, all of the examples disclosed in the specification of the ʼ066 Patent

 disclose forming a salt of treprostinil by contacting treprostinil in solution with a base. Indeed,

 Example 2 specifically states that “[t]he filtrate (pale yellow) was reduced to volume of 35-40 L

 by evaporation in vacuo at 50-55° C for direct use in the next step.” See ’066 Patent at 11:46-48

 (emphasis added). The treprostinil was not isolated prior to conducting the “next step”—formation

 of a treprostinil salt. Additionally, Example 6, which compares UTC’s “Former Process” against

 the “Process According to the Present Invention,” discloses that the treprostinil formed according

 to the present invention is not isolated prior to preparing the salt form, whereas the treprostinil of

 the “Former Process” is isolated as a “solid.” Id. at col. 15, steps 30-31. According to the ʼ066

 Patent’s specification, “[t]he quality of treprostinil produced according to this invention [Example

 6] is excellent. . . . The impurities carried over from the intermediate steps (i.e. alkylation of triol

 and hydrolysis of the benzindene nitrile) are removed during the carbon treatment and the salt

 formation step.” Id. at 17:27-32. The “salt formation” step of the “invention” is performed without

 first isolating treprostinil prior to contacting with a base. Further, the ʼ066 Patent acknowledges

 that “[a]dditional advantages of this process are . . . (b) the treprostinil salts can be synthesized

 from the solution of treprostinil without isolation” and that “[t]his process provides better quality




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 of final product as well as saves significant amount of solvents and manpower in purification of

 intermediates.” Id. at 17:32-40 (emphases added).

        As such, as described in the specification of the ʼ066 Patent, in order to achieve the

 limitation in claim 1 that “a level of one or more impurities found in the starting batch of

 treprostinil is lower in the pharmaceutical composition,” the specification only discloses that result

 where the treprostinil is not isolated prior to contacting with a base. And with respect to claim 8,

 the specification does not disclose that the treprostinil can be isolated prior to contacting with a

 base to form a salt. Considering the specification of the ʼ066 Patent in light of the limitations of

 claims 1 and 8, a person of ordinary skill in the art would not conclude that the inventors were in

 possession of a process wherein treprostinil was isolated prior to contacting it with a base to form

 a salt of treprostinil. As such, to the extent UTC contends that claims 1 and 8 permit isolation of

 treprostinil before reaction with a base to form a salt, claims 1 and 8, which all other Asserted

 Claims of the ’066 Patent depend, lack adequate written description support.

                2.      Claims 6, 8, and 9 Are Not Enabled

                        a.      “Stored”/“Storage”/“Storing” Are Not Enabled

        Asserted Claim 6 is directed to a pharmaceutical composition of claim 1, wherein the

 isolated salt is “stored” at ambient temperature. Asserted Claim 8 of the ’066 Patent, which

 Asserted Claim 9 depends, is directed to a method of preparing the pharmaceutical product

 comprising treprostinil or treprostinil salt by “forming a salt of treprostinil stable at ambient

 temperature, . . . and preparing a pharmaceutical product from the treprostinil salt after storage . .

 . .” “To constitute an enabling disclosure, ‘the specification of a patent must teach those skilled in

 the art how to make and use the full scope of the claimed invention without undue

 experimentation.’” Harris Corp. v. IXYS Corp., 114 F.3d 1149, 1155 (Fed. Cir. 1997) (quoting In

 re Wright, 999 F.2d 1557, 1561 (Fed. Cir. 1993)). Factors to be considered in determining whether


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 a disclosure would require undue experimentation include: “(1) the quantity of experimentation

 necessary, (2) the amount of direction or guidance presented, (3) the presence or absence of

 working examples, (4) the nature of the invention, (5) the state of the prior art, (6) the relative skill

 of those in the art, (7) the predictability or unpredictability of the art, and (8) the breadth of the

 claims.” In re Wands, 858 F.2d 731, 737 (Fed. Cir. 1988). Accordingly, the specification of the

 ’066 Patent must enable a skilled artisan to prepare a treprostinil pharmaceutical product after

 “storage” of a treprostinil salt at ambient temperature without undue experimentation.

           As UTC noted in its Preliminary Response to Liquidia’s IPR Petition with respect to the

 ’066 Patent, “[p]rostaglandin derivatives,” like treprostinil, “in particular were known to be

 unstable upon storage due to the inherent instability of the crystalline lattice of these compounds

 owning to their long, flexible sidearms, as well as the presence of multiple polymorphic crystals.”

 Liquidia Techs., IPR2020-00769, Paper 6 at 52. Further, UTC noted in its Preliminary Response

 that “[e]nvironmental factors are a significant factor (e.g., temperature, oxygen, atmosphere,

 humidity). This is especially true for compounds stored as salts.” Id. Thus, to the extent UTC

 contends that prostaglandin derivatives like treprostinil exhibit “inherent instability” and that

 environmental factors, such as temperature, oxygen, atmosphere, and humidity, have a

 “significant” impact on the stability of salts, a person of ordinary skill in the art would be required

 to undergo undue experimentation to practice the invention claimed in clams 6 and 8 of the ʼ066

 Patent.

           Applying the eight Wands factors in sequential order, and taking into account UTC’s prior

 statements regarding the instability of treprostinil, the specification of the ’066 Patent would not

 enable a person of ordinary skill to “stor[e]” an isolated salt of treprostinil in claim 6 or “stor[e]

 treprostinil salt and create the pharmaceutical product of claim 8.




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       Wands Factor                Application to Claims 6 and 8-9 of the ’066 Patent

                            To the extent UTC’s contention that prostaglandin derivatives
                            exhibit “inherent instability” and that humidity, oxygen, and
                            atmosphere are “especially” significant environmental factors is
                            correct, a person of skill in the art would have to engage in
                            significant amounts of experimentation to discern how to
                            effectively “stor[e]” the claimed treprostinil salts.          More
  Quantity of               specifically, while the claim defines the temperature at which the
  Experimentation           salts can be stored (ambient temperature), a person of ordinary skill
  Necessary                 in the art would require extensive experimentation to determine the
                            other “significant” environmental factors suitable for storage,
                            including humidity, whether the treprostinil can be exposed to light,
                            or needs to be stored in an oxygen rich or depleted environment.
                            Moreover, each “significant” environmental factor would require
                            experimentation while maintaining constant the other
                            environmental factors.

                            As discussed above, the specification and claims of the ’066 Patent
                            provide guidance only as to what temperature at which the claimed
                            treprostinil salts are stored. The specification and claims are
  Amount of Guidance or
                            completely silent as to other “significant” environmental factors,
  Direction Presented
                            according to UTC, such as oxygen, atmosphere, and humidity.
                            Accordingly, besides temperature, the amount of guidance or
                            direction presented is non-existent.

                            Besides providing only a vague description of “stor[ing]” “crude
                            treprostinil salts” at ambient temperature, which Liquidia does not
                            concede constitutes treprostinil salts within the meaning of claims
                            6 or 8, the specification is completely lacking in working examples
  Presence or Absence of
                            of “storing” treprostinil salts under any conditions. And even if the
  Working Examples
                            “crude treprostinil salts” constitute treprostinil salts within the
                            meaning of claims 6, 8, or 9, the specification’s brief mention of
                            their “stor[age]” provides no more detail than the claims and, thus,
                            does not constitute a working example.

                            According to UTC, polymorphs (i.e., salts) “had plagued the
                            pharmaceutical industry for over a decade prior to the ’066 Patent,
                            with high-profile failures including withdrawal of an approved drug
                            from the market.” Liquidia Techs., IPR2020-00769, Paper 6 at 51.
  Nature of the Invention   “These incidents underscore the difficulty of understanding the
                            polymorphic nature of pharmaceutical compounds.”                 Id.
                            Accordingly, to the extent UTC argues that claims 6 and 8-9 would
                            have been nonobvious, the nature of the invention was one of great
                            uncertainty.




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                                 According to UTC, the prior art was silent as to storage
                                 considerations for treprostinil salts. See, e.g., id. at 50-53. To the
                                 extent UTC argues that claims 6 and 8-9 would have been
     State of the Prior Art
                                 nonobvious, without guidance as to “significant” environmental
                                 conditions (in UTC’s own words), needed to store treprostinil salts,
                                 the state of the prior art was very limited.

                                According to UTC, “the POSA 3 would have been an industrial
                                chemist or chemical engineer with experience in pharmaceutical
                                production, familiar with controlling for polymorphs and realizing
     Relative Skill of Those in
                                highly pure products at batch scales as the challenged claims
     the Art
                                required.” Id. at 55. To the extent UTC argues that claims 6 and 8-
                                9 would have been nonobvious, the relative skill of those in the art
                                was high.

                                 As mentioned above, UTC contends that polymorphs “had plagued
                                 the pharmaceutical industry for over a decade prior to the ’066
                                 Patent, with high-profile failures including withdrawal of an
     Predictability or
                                 approved drug from the market.” Id. at 51. “These incidents
     Unpredictability of the
                                 underscore the difficulty of understanding the polymorphic nature
     Art
                                 of pharmaceutical compounds.” Id. Accordingly, to the extent
                                 UTC argues that claims 6 and 8-9 would have been nonobvious, the
                                 art was highly unpredictable.

                                 Claims 6 and 8-9 are extremely broad as they only limit “storage’
                                 to ambient temperature, leaving undefined and unclaimed all other
     Breadth of the Claims
                                 “significant” environmental conditions, in UTC’s own words,
                                 needed to store treprostinil salts.


           Applying all eight Wands factors, in view of UTC’s statements regarding the instability of

 treprostinil, the ’066 Patent fails to enable a person of ordinary skill in the art to practice Asserted

 Claims 6, 8, and 9. Accordingly, claims 6, 8, and 9 of the ’066 Patent are invalid as not enabled.




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   Liquidia does not, at this time, concede to UTC’s definition of a person of ordinary skill in the
 art.


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                        b.      To the Extent UTC Contends that Claims 1 and 8 Permit
                                “Isolation” of Treprostinil Before Combining with a Base to
                                Form a Salt, the Asserted Claims Are Not Enabled

        Claim 1 of the ʼ066 Patent requires “forming a salt of treprostinil by combining the starting

 batch and a base.” Additionally, claim 8 requires “forming a salt of treprostinil.” To the extent

 UTC argues that claims 1 and 8 permit isolation of treprostinil prior to contacting the treprostinil

 with a base to form a salt, the claims are not enabled as a person of ordinary skill in the art would

 have to engage in undue experimentation to achieve the result that “a level of one or more

 impurities found in the starting batch of treprostinil is lower in the pharmaceutical composition.”

       Wands Factor                    Application to Claims 1 and 8 of the ’066 Patent

                               As mentioned above in Section II.C.1.b supra, all of the examples
                               disclosed in the specification of the ʼ066 Patent disclose forming a
                               salt of treprostinil by contacting treprostinil in solution with a base.
  Quantity of                  To the extent UTC contends that claims 1 and 8 permit isolation of
  Experimentation              treprostinil before contacting with a base to form a salt, without
  Necessary                    guidance or direction in the ’066 Patent, a POSA would have to
                               engage in a significant amount of experimentation to achieve “a
                               level of one or more impurities found in the starting batch of
                               treprostinil is lower in the pharmaceutical composition.”

                               As mentioned above in Section II.C.1.b supra, the specification and
                               claims of the ’066 Patent provide no guidance or direction as to how
  Amount of Guidance or        a POSA would isolate treprostinil before reacting it with a base and
  Direction Presented          also achieve a “a level of one or more impurities found in the
                               starting batch of treprostinil is lower in the pharmaceutical
                               composition.”

                               As mentioned above in Section II.C.1.b supra, the specification and
                               claims of the ’066 Patent provide no working examples of isolating
  Presence or Absence of
                               treprostinil before reacting it with a base and achieving a “a level of
  Working Examples
                               one or more impurities found in the starting batch of treprostinil is
                               lower in the pharmaceutical composition.”

                               According to UTC, a POSA would not have known that the level of
                               one or more impurities found in the starting batch of treprostinil
  Nature of the Invention      described in Phares 2005 was lower in the pharmaceutical
                               composition. Liquidia Techs., IPR2020-00769, Paper 6 at 37. To
                               the extent UTC contends that the pharmaceutical composition of



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                                Phares 2005 did not inherently possess a lower level of one or more
                                impurities than the starting batch of treprostinil, the nature of the
                                invention—that is isolating treprostinil before reacting with a base
                                and achieving a pharmaceutical composition with a lower amount
                                of one or more impurities than the starting batch—was one of great
                                uncertainty.

                                To the extent that UTC contends that the pharmaceutical
                                composition of Phares 2005 did not inherently possess a lower level
                                of one or more impurities than the starting batch of treprostinil, the
     State of the Prior Art     state of the prior art was silent as to how a POSA would isolate
                                treprostinil before contact with a base to form a salt and achieve a
                                pharmaceutical composition with a lower level of one or more
                                impurities than the starting batch of treprostinil.

                                According to UTC, “the POSA 4 would have been an industrial
                                chemist or chemical engineer with experience in pharmaceutical
                                production, familiar with controlling for polymorphs and realizing
     Relative Skill of Those in
                                highly pure products at batch scales as the challenged claims
     the Art
                                required.” Liquidia Techs., IPR2020-00769, Paper 6 at 55. To the
                                extent UTC argues that claims 6 and 8 would have been
                                nonobvious, the relative skill of those in the art was high.

                                To the extent UTC contends that the pharmaceutical composition of
                                Phares 2005 did not inherently possess a lower level of one or more
     Predictability or          impurities than the starting batch of treprostinil, the state of the
     Unpredictability of the    art—that is, in isolating treprostinil before reacting with a base and
     Art                        achieving a pharmaceutical composition with a lower amount of
                                one or more impurities than the starting batch—was highly
                                unpredictable.

                                To the extent UTC contends that the claims permit isolation of
     Breadth of the Claims      treprostinil before reacting it with a base, the claims encompass a
                                broad scope of processes that are unsupported by the specification.


           Applying all eight Wands factors, to the extent UTC contends that the claims permit

 isolation of the treprostinil salt before adding a base to form a salt, claims 1 and 8 of the ’066

 Patent and, therefore, all other Asserted Claims of the ’066 Patent are invalid as not enabled.




 4
   Liquidia does not, at this time, concede to UTC’s definition of a person of ordinary skill in the
 art.


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                 3.      Claims 1-3, 6, and 8-9 Are Indefinite

                         a.      Claim Reciting “Impurities” Is Indefinite

         Asserted Claim 1 of the ’066 Patent, which Asserted Claims 2, 3, and 6 depend, is directed

 towards a pharmaceutical composition comprising treprostinil that is prepared by a process

 comprising a starting batch of treprostinil having one or more “impurities” resulting from prior

 alkylation and hydrolysis steps and wherein the level of one or more “impurities” found in the

 starting batch of treprostinil is lower in the pharmaceutical composition. A patent is “invalid for

 indefiniteness if its claims, read in light of the specification delineating the patent, and the

 prosecution history, fail to inform, with reasonable certainty, those skilled in the art about the scope

 of the invention.” Nautilus, 572 U.S. at 901. “[A] patent must be precise enough to afford clear

 notice of what is claimed, thereby apprising the public of what is still open to them.” Id. at 909

 (alterations omitted). Consequently, claim 1 of the ’066 Patent, read in light of the specification

 and prosecution history, must apprise a POSA with “reasonable certainty” what compounds and

 in what specific amounts constitute “impurities” within the meaning of claim 1.

         Neither the specification, claims, nor prosecution history of the ’066 Patent apprise a POSA

 with “reasonable certainty” as to what constitutes an “impurit[y]” within the meaning of claim 1.

 Claim 1 of the ’066 Patent indicates only that the “impurities” must “result[] from [the] prior

 alkylation . . . and hydrolysis steps,” and the specification provides no further guidance. 5 During

 prosecution of the ’066 Patent, UTC submitted two expert declarations that were submitted by

 UTC during the ’393 Patent IPR. Those expert declarations identify eight impurities contained in

 the Moriarty 2004 (Former Process) batches: 1AU90, 2AU90, 3AU90, 750W93, 751W93,



 5
  Similarly, UTC acknowledged in its Preliminary Response in the ʼ066 Patent IPR that the claimed
 “impurities” must “result[] from [the] prior alkylation of benzindene triol and hydrolysis steps.”
 Liquidia Techs., IPR2020-00769, Paper 6 at 2.

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 97W86, ethyl ester, and methyl ester. See, e.g., Declaration of Dr. Robert M. Williams, SteadyMed

 Ltd. v. United Therapeutics Corp., IPR2016-00006, Exhibit 2020 at ¶ 94 (P.T.A.B. July 6, 2016)

 (“Williams Declaration”). Neither declaration, however, identifies the chemical compounds that

 are labeled “1AU90,” “2AU90,” “3AU90,” “750W93,” or “97W86.” Further, neither declaration

 establishes that the impurities identified actually resulted from “prior alkylation and hydrolysis

 steps.” As the Patent Trial & Appeal Board (“PTAB”) noted in its Final Written Decision

 invalidating the ’393 Patent, the “claims contain no limitations relating to the impurity profile of

 the recited product, ‘and it is the claims ultimately that define the invention.’” SteadyMed,

 IPR2016-00006, Paper 82 at 18 (quoting Purdue Pharma L.P. v. Endo Pharm. Inc., 438 F.3d 1123,

 1136 (Fed. Cir. 2006)). Without further guidance as to what constitutes an “impurit[y]” within the

 meaning of claim 1, a skilled artisan would not be apprised with “reasonable certainty” as to what

 impurities are needed to meet the claim limitation.

        Similarly, neither the specification, claims, nor prosecution history of the ’066 Patent

 apprise a POSA with “reasonable certainty” as to what level of “impurities” is needed to meet the

 claim limitation. Moriarty 2004 specifies that the treprostinil made according to Moriarty 2004

 was 99.7% pure. See Moriarty 2004 at 1902. While UTC contends in the specification of the ʼ066

 Patent that the “Former Process” (i.e., Moriarty 2004) has a purity of approximately 99.0% as

 compared to a purity of 99.9% for the process of the claimed invention (see ’066 Patent col. 17,

 step 53), the calculations of UTC’s own expert submitted during prosecution acknowledge that the

 “Former Process” yields a purity of 99.7%. See SteadyMed, IPR2016-00006, Paper 82 at 35.

 UTC’s expert Dr. Williams reviewed 46 commercial batches of treprostinil in accordance with

 Moriarty 2004 and found that the average purity of the batches was 99.7%, which the PTAB

 acknowledged was an accurate value and the same as reported in Moriarty 2004. Id. Further, as




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 acknowledged by the PTAB in the ’393 IPR, Dr. Williams also reviewed 116 commercial batches

 of treprostinil made according to the process disclosed in the ’393 (and thus the ’066) Patent, and

 several Moriarty 2004 commercial batches were more pure than the batches made according to the

 disclosed process. Id. at 38-39. Thus, a POSA would not have any reasonable certainty what level

 of impurity should be “included” in the product. As such, a person of ordinary skill in the art

 would not know, with reasonable certainty, what level of purity will be required to meet the

 limitations of claim 1. Butamax Advanced Biofuels LLC v. Gevo, Inc., 117 F. Supp. 3d 632, 642

 (D. Del. 2015).

        Thus, because a POSA would not be apprised with “reasonable certainty” what compounds

 or amounts of such compounds constitute “impurities” within the meaning of the claim limitation,

 Asserted Claim 1 of the ’066 Patent and, therefore, all other Asserted Claims 2, 3, and 6 of the

 ’066 Patent are invalid as indefinite.

                        b.      Claims Reciting “Stored,” “Storage,” and “Storing” Are
                                Indefinite

        Asserted Claim 6 of the ’066 Patent is directed toward a pharmaceutical composition of

 claim 1, wherein the isolated salt is “stored” at ambient temperature. Similarly, Asserted Claim 8

 of the ’066 Patent, which Asserted Claim 9 depends, is directed to a method of preparing the

 pharmaceutical product comprising treprostinil after “storing” a treprostinil salt at ambient

 temperature. A patent is “invalid for indefiniteness if its claims, read in light of the specification

 delineating the patent, and the prosecution history, fail to inform, with reasonable certainty, those

 skilled in the art about the scope of the invention.” Nautilus, 572 U.S. at 901. “[A] patent must

 be precise enough to afford clear notice of what is claimed, thereby apprising the public of what

 is still open to them.” Id. at 909 (alterations omitted). Accordingly, claims 6 and 8 of the ’066

 Patent, read in light of the specification and prosecution history, must apprise a POSA with



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 “reasonable certainty” as to what constitutes “storage” of the treprostinil salt within the meaning

 of the claims.

         As mentioned above, UTC noted in its Preliminary Response to Liquidia’s IPR Petition

 with respect to the ’066 Patent that “[p]rostaglandin derivatives,” like treprostinil, “in particular

 were known to be unstable upon storage due to inherent instability of the crystalline lattice of these

 compounds owning to their long, flexible sidearms, as well as the presence of multiple

 polymorphic crystals.” Liquidia Techs., IPR2020-00769, Paper 6 at 52. Further, UTC noted in its

 Preliminary Response that “[e]nvironmental factors are a significant factor (e.g., temperature,

 oxygen, atmosphere, humidity). This is especially true for compounds stored as salts.” Id.

 However, the claims specify only that the treprostinil salt be stored at “ambient temperature” and

 fail to provide any guidance or direction into other “significant” storage considerations, in UTC’s

 own words, like oxygen, atmosphere, and humidity. Without guidance as to necessary storage

 considerations of the treprostinil salt and pharmaceutical composition, a person of ordinary skill

 in the art “would not be apprised with reasonable certainty about the scope of the invention.”

 Butamax, 117 F. Supp. 3d at 642.

         Thus, Asserted Claims 6, 8 and 9 of the ’066 Patent are invalid as indefinite.

 III.    U.S. PATENT NO. 9,604,901

         The ’901 Patent issued March 28, 2017 from Application No. 14/754,932, filed June 30,

 2015.    ’901 Patent at 1.      Application No. 14/754,932 is a continuation of Application

 No. 13/933,623, filed on July 2, 2013, now Patent No. 9,156,786, which is a continuation of

 Application No. 13/548,446, filed on July 13, 2012, now Patent No. 8,497,393, which is a

 continuation of Application No. 12/334,731, filed on December 15, 2008, now Pat. No. 8,242,305.

 Id. The ’901 Patent claims priority to provisional application No. 61/014,232, filed December 17,

 2007. Id.


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        The ’901 Patent discloses an “improved process” to prepare prostacyclin derivatives such

 as treprostinil. Id. at Abstract. Claim 1 is drawn to a pharmaceutical batch comprising treprostinil

 or a salt thereof. Id. at 17:24-18:2, claim 1.

        Asserted Claim 1, the only independent claim, recites the following:

        1[a] A pharmaceutical batch consisting of treprostinil or a salt thereof and

        impurities resulting from

        1[b] (a) alkylating a benzindene triol,

        1[c] (b) hydrolyzing the product of step (a) to form a solution comprising

        treprostinil,

        1[d] (c) contacting the solution comprising treprostinil from step (b) with a base to

        form a salt of treprostinil,

        1[e] (d) isolating the salt of treprostinil, and

        1[f] (e) optionally reacting the salt of treprostinil with an acid to form treprostinil,

        and

        1[g] wherein the pharmaceutical batch contains at least 2.9 g of treprostinil or its

        salt.

        Asserted dependent claim 2 is directed towards a pharmaceutical batch of claim 1, which

 has been dried under vacuum.          Asserted dependent claims 3 and 4 are directed towards

 pharmaceutical products comprising a “therapeutically effective amount” of treprostinil (claim 3)

 or treprostinil salt (claim 4) from a pharmaceutical batch of claim 1. Asserted dependent claim 6

 is directed towards methods of preparing a pharmaceutical product from a pharmaceutical batch

 of claim 1, comprising storing a pharmaceutical batch of a treprostinil salt of claim 1 at ambient

 temperature and preparing a pharmaceutical product from the pharmaceutical batch after storage.




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 Asserted dependent claim 8 is directed towards methods of preparing a pharmaceutical product

 from a pharmaceutical batch of claim 1, comprising (a) alkylating a benzindene triol,

 (b) hydrolyzing the product of step (a) to form a solution comprising treprostinil, (c) contacting

 the solution comprising treprostinil from step (b) with a base to form a salt of treprostinil,

 (d) isolating the salt of treprostinil, and (e) optionally reacting the salt of treprostinil with an acid

 to form treprostinil.

           These Preliminary Invalidity Contentions establish that claims 1-4, 6, and 8 of the ’901

 Patent are unpatentable as obvious under 35 U.S.C. § 103 based on two grounds that rely on Phares

 2005 and Moriarty 2004 as primary references, respectively.             Moreover, these Preliminary

 Invalidity Contentions show that the Asserted Claims of the ’901 Patent are also invalid under 35

 U.S.C. § 112.

           A.     Scope and Content of the Prior Art

           The scope and content of the prior art with respect to the ’066 Patent, described in

 Section II.A supra, applies to the ’901 Patent, which has the same effective filing date, the same

 specification, and substantially identical claim language.

           B.     Claims 1-4, 6, and 8 Are Invalid Under 35 U.S.C. § 103

                  1.      Claims, 1-4, 6, and 8 Would Have Been Obvious Over Phares 2005

                          a.     Independent Claim 1 Would Have Been Obvious

                                 (1)     Claim Element 1[a]

    1[a]        A pharmaceutical batch consisting of treprostinil or a salt thereof and impurities
                resulting from:


           Phares 2005 discloses the same synthesis of treprostinil as set forth in independent claim 1

 of the ’901 Patent. Phares 2005 describes “compounds and methods for inducing prostacyclin-

 like effects in a subject or a patient,” including treprostinil and derivatives thereof. Phares 2005


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 at 8. The chemical structure of treprostinil disclosed in Phares 2005 is shown below:




 Id. This is the same treprostinil disclosed in the ’901 Patent:




 where w = 1; Y1 is—CH2(CH2)m- and m is 1; M1 is α-OH: β-R5 or α-R5: β-OH, wherein R5 is

 hydrogen; L1 is α-R3: β-R4, α-R4: β-R3, or a mixture of α-R3: β-R4 and α-R4: β-R3, wherein R3 and

 R4 are hydrogen; and R7 is —CpH2p—CH3, wherein p is an integer from 1 to 5 inclusive (p=3).

 ’901 Patent at 2:7-3:20.

        Phares 2005 further discloses the identical, pharmaceutically acceptable treprostinil

 diethanolamine salt as the ’901 Patent. Phares 2005 at 96 (claim 49). The structure of treprostinil

 diethanolamine salt disclosed by Phares 2005 (left) is reproduced below in a side-by-side

 comparison with the treprostinil diethanolamine salt disclosed in the ’901 Patent (right):




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                             (Phares 2005)                                   (’901 Patent)

 Phares 2005 at 96, claim 49; ’901 Patent at 12:45-59, 14:35-48 (Examples 3 and 5). Other than a

 change in formatting, one can easily see that these two structures from Phares 2005 and the ’901

 Patent are identical.

        This salt is the result of the same steps described in claim 1 of the ʼ901 Patent: (a) by

 forming a salt of treprostinil by combining the starting solution of treprostinil acid and a base and;

 (b) isolating the treprostinil salt. ’901 Patent at 17:24-18:2 (claim 1); Phares 2005 at 22. The

 isolated salt is then used to prepare a pharmaceutical batch comprising treprostinil or a salt thereof.

 ’901 Patent at 17:24-18:2 (claim 1); Phares 2005 at 58. As such, the treprostinil salt of Phares

 2005 would contain impurities from the recited steps.

        This shows that Phares 2005 necessarily discloses and/or renders obvious the product

 claimed in the ʼ901 Patent and the same process steps to make treprostinil and a salt thereof

 disclosed in claim 1 of the ʼ901 Patent (treprostinil diethanolamine salt). This pharmaceutical

 batch contains impurities resulting from the steps of alkylation and hydrolysis as described in




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 further detail below. Further support for the obviousness of each process element of claim 1 is

 also provided in the following Sections III.B.1.a.(2)-(6).

                               (2)     Claim Elements 1[b] and 1[c]

     1[b]     (a) alkylating a benzindene triol,
     1[c]     (b) hydrolyzing the product of step (a) to form a solution comprising treprostinil,

        As discussed above in Section III.B.1.a.(1), Phares 2005 discloses the identical treprostinil

 and pharmaceutically acceptable treprostinil diethanolamine salt as the ’901 Patent. The remaining

 process claim elements do nothing to impart structural or functional differences in the claimed

 treprostinil or salt thereof, and thus, do not patentably limit the claimed pharmaceutical

 composition. Even so, Phares 2005 further discloses providing a starting solution of treprostinil

 having one or more impurities resulting from alkylation and hydrolysis steps.

        Specifically, Example 1 of the ’901 Patent describes the alkylation of benzindene triol.

 ’901 Patent at 10:10-67. This alkylation reaction is shown below:




 Id. Benzindene triol is the fused three ring core wherein the three hydroxyl groups (-OH) are not

 all located on the core. In this example, the hydroxyl group indicated with the red square is being

 alkylated using ClCH2CN in the presence of K2CO3, Bu4NBr and acetone.




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        Phares 2005 discloses an alkylation reaction identical in nature to the ʼ901 Patent alkylation

 reaction: (l) i. ClCH2CN, K2CO3. Phares 2005 at 39-40. In particular, in step (l) the starting

 treprostinil precursor compound, the benzindene triol, is the enantiomer of the treprostinil

 precursor being alkylated in the ʼ901 Patent (11b indicates that “R” can be “H”). Phares 2005

 discloses the synthesis of (-)-treprostinil, the enantiomer of (+)-treprostinil and explains that

 “[e]nantiomers of these compounds…can be synthesized using reagents and synthons of

 enantiomeric chirality of the above reagents.” Id. The reaction from Phares 2005 is shown below

 for comparison:




 Id. at 40, -OH group (where R=H) being alkylated indicated with red square.) A POSA would

 understand that one could selectively alkylate the phenolic –OH group on the fused three-ring core

 of Compound 11b as (where R=H) indicated in the red box.

        In addition, Phares 2005 cites to the ’075 Patent for routes in which compounds disclosed

 in Phares 2005 can be modified Phares 2005 at 9 (citing the ’075 Patent). Chart P of the ’075

 patent provides a synthetic scheme where the –-OH of a benzindene triol, as referred to in the ’901

 Patent, is alkylated. ’075 Patent at col. 90. While the ’075 Patent does not disclose the same

 synthesis reaction, this reference supports the proposition that it was not a novel step at the time

 of the invention to alkylate an –OH group on the benzene of a fused ring system and that a POSA

 could arrive at the treprostinil compound disclosed in the ’901 Patent by reading the disclosures

 and references contained in Phares 2005. This includes the step of selectively alkylating a

 benzindene triol.


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        Phares 2005 further discloses hydrolyzing the product from the alkylation reaction (step

 (a) above) to form enatiomeric treprostinil starting material. The hydrolyzing procedure is

 disclosed in Phares 2005 as: “ii, KOH, CH3OH, reflux. 83%.” Phares 2005 at 40 (emphasis

 added). Phares 2005 further explains that “[e]nantiomers of these compounds . . . can be

 synthesized using reagents and synthons of enantiomeric chirality of the above reagents,” thereby

 inherently teaching this hydrolysis step for treprostinil as well. Id. at 39-40. A comparison

 between the treprostinil starting material disclosed in the ’901 Patent (left) and Phares 2005 (right)

 are produced below for a side-by-side comparison:




                     (’901 Patent)                                  (Phares 2005)

 ’901 Patent at 11:1-12:17 (Example 2); Phares 2005 at 8.

        Claim 1 of the ’901 Patent simply teaches that one can perform the alkylation and

 hydrolysis steps, i.e., making the nitrile and then hydrolyzing to make the treprostinil carboxylic

 acid (salt precursor). ’901 Patent at claim 1. Phares 2005 teaches that the treprostinil carboxylic

 acid is in a solution. Phares 2005 at 22, 40. Treatment of Compound 11b with KOH, CH3OH

 (methanol), as explained above, would lead to the formation of a solution of treprostinil carboxylic

 acid after neutralization. Id. at 40. Phares 2005 further discloses that such treprostinil carboxylic

 acid can be in solution at page 22, where it teaches dissolving the treprostinil acid in ethanol/water.

 Id. at 22. Finally, a POSA would expect that the treprostinil formed would include the impurities


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 from the alkylation and hydrolysis steps, as those steps in Phares 2005 are, as discussed above, the

 same as claimed in the ʼ901 Patent.

                                  (3)    Claim Element 1[d]

         1[d]    (c) contacting the solution comprising treprostinil from step (b) with a base to
                 form a salt of treprostinil,

           As discussed in the above section, Phares 2005 discloses treprostinil carboxylic acid

 starting material in solution. Phares 2005 at 40.

           Phares 2005 further discloses combining a starting batch of treprostinil and a base. In

 particular, page 22 of Phares 2005 teaches dissolving treprostinil acid in a 1:1 molar ratio mixture

 of ethanol: water and diethanolamine (i.e., a base). Id. at 22. However, a POSA would likely

 understand the treprostinil acid disclosed at page 22 to have been isolated before addition of the

 base.

           But not isolating the treprostinil before contacting it with a base is obvious based on what

 is taught by Phares 2005. For example, with the treprostinil solution inherently taught by Phares

 2005 at page 40, instead of isolating the neutral carboxylic acid at this step by removal of the

 methanol, a POSA would find it obvious to instead add diethanolamine (i.e., a base) to the

 treprostinil solution so that removal of the methanol would instead leave a salt, specifically,

 treprostinil diethanolamine salt. Id. at 40.

           A POSA would be motivated to do so to save a step of isolation of the treprostinil, instead

 waiting until the salt is formed to conduct an isolation step. The result would be a process with

 just one isolation step, rather than two, which would be faster, more efficient, and more

 economical. A POSA would have a reasonable expectation of success in doing so because

 isolation after salt formation is standard practice in the art, and is a step specifically taught in

 Phares 2005. Id. at 22, 85-89.


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                                (4)     Claim Element 1[e]

      1[e]     (d) isolating the salt of treprostinil, and

        Phares 2005 discloses isolating the identical treprostinil diethanolamine salt as the ’901

 Patent. Phares 2005 further discloses isolating crystalline forms of treprostinil diethanolamine

 salt—Form A and Form B. Phares 2005 at 85-89. A POSA would understand that upon

 completion of a reaction, the product is isolated, and even a sophomore organic chemistry student

 would understand the isolation steps needed following recrystallization.

                                (5)     Claim Element 1[f]

      1[f]     (e) optionally reacting the salt of treprostinil with an acid to form treprostinil, and

        The step of reacting the foregoing salt of treprostinil with an acid to form the treprostinil

 in claim 1 of the ’901 Patent is optional. Therefore, no disclosure in Phares 2005 is required to

 demonstrate the obviousness of this claim element. Even so, this step was generally known in the

 art and would have been obvious to a POSA. See Schoffstall 2004 at 201-02; Wiberg 1960 at 112.

 The ’901 Patent itself admits that step (e) is merely a “simple acidification with diluted

 hydrochloric acid” step, and is thus not a novel step. ’901 Patent at 17:5-8.

                                (6)     Claim Element 1[g]

      1[g]     wherein the pharmaceutical batch contains at least 2.9 g of treprostinil or its salt.

        The procedures outlined on pages 18 and 22 of Phares 2005 teach a reaction of ~1 gram-

 scale quantities of treprostinil (for the preparation of the corresponding methyl ester). Phares 2005

 at 18, 22. The steps disclosed in Phares 2005 can simply be scaled up to produce a pharmaceutical

 batch of treprostinil or its salt of at least 2.9 g. See also Moriarty 2004 at 1902 (disclosing

 production of 441g of treprostinil). A POSA would expect that a reaction that is taught on a 1

 gram scale could easily be achieved on a 2.9 gram scale because a POSA would understand that,



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 in this field, increasing the scale of a reaction by a factor of 3 can be done with a reasonable

 expectation of success, especially given that success was already demonstrated in art (e.g.,

 Moriarty 2004). Id.

                        b.      Dependent Claims 2-4, 6 and Would Have Been Obvious

                                (1)    Claim 2

       2       The pharmaceutical batch of claim 1, which has been dried under vacuum.

        The process limitation of drying a product under vacuum as disclosed in dependent claim

 2 of the ’901 Patent is not accorded any weight for determining the validity of the claims because

 it does not impart some unique and novel property or structure in the resulting treprostinil or

 treprostinil salt product. See e.g., Amgen, 580 F.3d, 1366. Even so, drying a product under vacuum

 is a standard organic chemistry practice for the isolation of a solid and would have been obvious

 to a POSA. See, e.g., Moriarty 2004 at 1902.

                                (2)    Claims 3 and 4

       3       A pharmaceutical product comprising a therapeutically effective amount of
               treprostinil from a pharmaceutical batch as claimed in claim 1.
       4       A pharmaceutical product comprising a therapeutically effective amount of a salt
               of treprostinil from a pharmaceutical batch as claimed in claim 1.

        Phares 2005 further discloses a therapeutically effective amount of treprostinil and

 treprostinil salt. Phares 2005 at 48-49, 60, 65. The invention of Phares 2005 “provides for

 compositions which may be prepared by mixing one or more compounds of the instant invention,

 or pharmaceutically acceptable salts thereof, with pharmaceutically acceptable carriers, excipients,

 binders, diluents or the like, to treat or ameliorate a variety of disorders related vasoconstriction

 and/or platelet aggregation.” Id. at 48. A “therapeutically effective dose” as defined in Phares

 2005 further “refers to that amount of one or more compounds of the instant invention sufficient




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 to result in amelioration of symptoms of the disorder.” Id. The compositions can be formulated

 for various routes of administration, for example, by oral administration, by transmucosal

 administration, by rectal administration, transdermal or subcutaneous administration as well as

 intrathecal, intravenous, intramuscular, intraperitoneal, intranasal, intraocular or intraventricular

 injection. Id. at 48-49.

        Phares 2005 also discloses that a therapeutically effective dose may vary depending on the

 route of administration and dosage form. Id. at 51. The preferred compound or compounds of the

 invention disclosed in Phares 2005 is a “formulation that exhibits a high therapeutic index.” Id.

 Pharmaceutical formulations include “any of the compounds of any of the embodiments of

 compound of structure I, II or pharmaceutically acceptable salts thereof described in combination

 with a pharmaceutically acceptable carrier.” Id. at 52. The invention disclosed in Phares 2005

 also provides a method of using the above compounds therapeutically of/for: pulmonary

 hypertension, ischemic diseases, heart failure, conditions requiring anticoagulation, thrombotic

 microangiopathy, extracorporeal circulation, central retinal vein occlusion, atherosclerosis,

 inflammatory diseases, hypertension, reproduction and parturition, cancer or other conditions of

 unregulated cell growth, cell/tissue preservation and other emerging therapeutic areas where

 prostacyclin treatment appears to have a beneficial role. Id. at 4; see also clinical study results of

 UT-15C on pages 82-85.)

        Phares 2005 therefore discloses the additional elements of dependent claims 3 and 4.

                                (3)     Claim 6

        6      A method of preparing a pharmaceutical product from a pharmaceutical batch as
               claimed in claim 1, comprising storing a pharmaceutical batch of a salt of
               treprostinil as claimed in claim 1 at ambient temperature, and preparing a
               pharmaceutical product from the pharmaceutical batch after storage.

        Phares 2005 discloses the same treprostinil and treprostinil diethanolamine salt as the ’901


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 Patent. Phares 2005 at 8-9; 85-89, 96, claim 49. Phares 2005 discloses that crystalline Form B is

 more thermodynamically stable than Form A. Id. at 89. Phares 2005 further discloses that Form

 B is made from Form A, with full conversion to Form B at ambient temperature after 7 days, 15°

 C after 11 days and 30° C after 1 day, suggesting stability at these temperatures. Id. at 89, Table

 17. A POSA would understand “ambient temperature” to mean “room temperature” or, on

 average, 25° C. A POSA would also understand that full conversion after 7 days at ambient

 temperature inherently teaches that Form B is stable at ambient temperature and therefore could

 be stored at ambient temperature. Id.

        As the treprostinil and treprostinil diethanolamine salt disclosed in Phares 2005 and the

 ’901 Patent are identical, there are no structural differences between these molecules that would

 indicate to a POSA that the compounds would require different storage conditions.

        Further, treprostinil was known to be stable at ambient temperature by December 2007.

 Gomberg-Maitland 2005 at 1586 (2005) (“Treprostinil has theoretical advantages over

 epoprostenol because of its stability at room temperature . . . .”); Ivy 2007 at 696 (“Treprostinil

 possesses physiochemical properties that make its use more convenient, including stability at room

 temperature . . . .”). In fact, the prescribing information for UTC’s REMODULIN® published in

 March 2006 states plainly that “[t]reprostinil is chemically stable at room temperature and neutral

 pH.” REMODULIN® Label 2006. Because treprostinil was known to be chemically stable at

 ambient temperature as of December 2007, a POSA would know that the treprostinil salts

 described in Phares 2005 could be stored at ambient temperature.

        Phares 2005 further “provides for compositions which may be prepared by mixing one or

 more compounds of the instant invention, or pharmaceutically acceptable salts thereof, with

 pharmaceutically acceptable carriers, excipients, binders, diluents or the like, to treat or ameliorate




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 a variety of disorders related vasoconstriction and/or platelet aggregation.” Phares 2005 at 48. A

 “therapeutically effective dose” as defined in Phares 2005 further “refers to that amount of one or

 more compounds of the instant invention sufficient to result in amelioration of symptoms of the

 disorder.” Id. Phares 2005 also discloses that compositions can be formulated for various routes

 of administration, for example, by oral administration, by transmucosal administration, by rectal

 administration, transdermal or subcutaneous administration as well as intrathecal, intravenous,

 intramuscular, intraperitoneal, intranasal, intraocular or intraventricular injection. Id. at 48-49.

 Thus, Phares 2005 discloses preparing a pharmaceutical product from the pharmaceutical batch of

 a salt of treprostinil.

         Since Phares 2005 teaches the stability of the treprostinil salt at ambient (room)

 temperature (Phares 2005 at 89, Table 17), a POSA would reasonably expect the salt to behave the

 same pre- and post-storage. Thus, a POSA would expect that the Phares 2005 disclosure for

 preparing a pharmaceutical product from the pharmaceutical batch of a salt of treprostinil also

 applies to such a salt after storage. Id.

         Accordingly, Phares 2005 renders obvious storing a pharmaceutical batch of a salt of

 treprostinil at ambient temperature and preparing a pharmaceutical product from the

 pharmaceutical batch after storage.

                           c.   Dependent Claim 8 Would Have Been Obvious

         Dependent claim 8 is independent claim 1 without claim limitation 1[f].

                                (1)     Claim Element 8[a]

       8[a]     A method of preparing a pharmaceutical batch as claimed in claim 1, comprising:

         See explanation under independent claim 1, Section II.B.1.c.(1).




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                                (2)     Claim Elements 8[b] and 8[c]

      8[b]     (a) alkylating a benzindene triol,
      8[c]     (b) hydrolyzing the product of step (a) to form a solution comprising treprostinil,

        Phares 2005 discloses alkylating a triol intermediate, the benzindene triol, of the same

 structural formula disclosed in claim 8 of the ’901 Patent. See also Section III.B.1.a.(2). A

 comparison between the alkylation substrates disclosed in the ’901 Patent (left) and Phares 2005

 (right, enantiomer) are produced below for a side-by-side comparison:




        (’901 Patent)                                           (Phares 2005)

 ’901 Patent at 10:10-67 (claim 8); Phares 2005 at 40. Intermediate 11b of Phares 2005 indicates

 that “R=H,” showing that enantiomeric triol intermediates are disclosed in claim 8 of the ’901

 Patent and structure 11b of Phares 2005.

        Phares 2005 discloses hydrolyzing the resulting compound to form the same structural

 formula of treprostinil starting material disclosed in the ’901 Patent. See Section III.B.1.a.(3). The

 hydrolyzing procedure is disclosed in Phares 2005 as: “ii, KOH, CH3OH, reflux. 83%.” Id. at 40.

 A comparison between the treprostinil starting material disclosed in the ’901 Patent (left) and

 Phares 2005 (right) are produced below for a side-by-side comparison:




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                         (’901 Patent)                                  (Phares 2005)

 ’901 Patent at 11:15-29 (Example 2); Phares 2005 at 8.

         Claim 1 of the ’901 Patent simply teaches that one can perform the alkylation and

 hydrolysis steps, i.e., making the nitrile and then hydrolyzing to make the treprostinil carboxylic

 acid (salt precursor). ’901 Patent at claim 1. Phares 2005 teaches that the resulting treprostinil

 carboxylic acid is in a solution. Phares 2005 at 22, 40. A POSA would understand that treatment

 of 11b with (ii) KOH, CH3OH (methanol) would lead to the formation of a solution of treprostinil

 carboxylic acid after neutralization. Phares 2005 further discloses that such treprostinil carboxylic

 acid can be in solution at page 22, where it teaches dissolving the treprostinil acid in ethanol/water.

 Id. at 22.

                                (3)      Claim Element 8[d]

      8[d]     (c) contacting the solution comprising treprostinil from step (b) with a base to
               form a salt of treprostinil,

         See explanation under independent claim 1. Section III.B.1.a.(3).

                                (4)      Claim Element 8[e]

      8[e]     (d) isolating the salt of treprostinil, and

         See explanation under independent claim 1. Section III.B.1.a.(4).




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                                 (5)    Claim Element 8[f]

      8[f]     (e) optionally reacting the salt of treprostinil with an acid to form treprostinil.

        The step of reacting the foregoing salt of treprostinil with an acid to form the treprostinil

 in claim 1 of the ’901 Patent is optional. Therefore, no disclosure in Phares 2005 is required to

 demonstrate the obviousness of this claim element. Even so, this step was generally known in the

 art and would have been obvious to a POSA. See Schoffstall 2004 at 201-02; Wiberg 1960 at 112.

 The ’901 Patent itself admits that step (e) is merely a “simple acidification with diluted

 hydrochloric acid” step, and is thus not a novel step. ’901 Patent at 17:5-8.

                2.      Claims 1-4, 6, and 8 Would Have Been Obvious Over Moriarty 2004 in
                        Combination with Phares 2005

                        a.       Motivation to Combine Moriarty 2004 with Phares 2005

        A POSA would have been motivated to combine Moriarty 2004 and Phares 2005 at the

 time of the invention of the ’901 Patent. The combination of Moriarty 2004 and Phares 2005

 discloses the same process steps and same treprostinil product of the ’901 Patent. See Sections

 II.A.1 and II.A.2 supra. As discussed above, Moriarty 2004 teaches the preparation of treprostinil

 acid, and Phares 2005 teaches the preparation of treprostinil diethanolamine by dissolving

 treprostinil acid and treating it with diethanolamine. Moriarty at 1895, 1902; Phares 2005 at 22.

 Phares 2005 further discloses two polymorphs of treprostinil diethanolamine and their relative

 stabilities. Phares at 85-89.

        More specifically, Moriarty 2004 indicates that the crystalline treprostinil resulting from

 the disclosed process is obtained in the form of “[w]hite needles.” Moriarty 2004 at 1902. A

 POSA would have known that “needle-shaped crystals are not desirable because of their poor flow

 properties.” Stahl 2002 at 137; see also Declaration of Dr. Rodolfo Pinal, Liquidia Techs., Inc. v.

 United Therapeutics Corp., IPR2020-00769 at ¶ 258 (July 14, 2020) (UTC expert testifying that



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 needle-shaped crystals were known to be unsuitable for downstream processing). To improve the

 flow properties, among others, of the treprostinil acid produced according to Moriarty 2004, a

 POSA would have been motivated to modify the resulting treprostinil product disclosed in

 Moriarty 2004. One means of improving the downstream processing properties of APIs is to make

 them into a salt form. See Paulekuhn 2007 at 6665 (“Salt formation is a well-known technique to

 modify and optimize the physical chemical properties of an ionizable research or development

 compound. Properties such as solubility, dissolution rate, hygroscopicity, stability, impurity

 profiles, and crystal habits can be influenced by using a variety of pharmaceutically acceptable

 compounds.”). Thus, a POSA would have sought to combine the treprostinil acid of Moriarty

 2004 with the diethanolamine salt of Phares 2005 to improve properties, such as flow, of the

 pharmaceutical product.

        Additionally, a POSA would have sought to combine Phares 2005 and Moriarty 2004

 because Phares 2005 is directed to improving treprostinil, and the Moriarty 2004 process, including

 those steps claimed by the ’901 Patent, was a well-known way to make treprostinil. Further, a

 POSA would have sought to combine Moriarty 2004 and Phares 2005 in order to eliminate the

 intermediate purification step taught by Moriarty 2004, thereby increasing synthetic efficiency and

 lowering production costs for treprostinil diethanolamine salt. A POSA would understand that an

 intermediate purification step is unnecessary because not purifying the intermediate carboxylic

 acid before addition of a base does not affect salt formation.

        Accordingly, a POSA would have been motivated to combine the treprostinil acid disclosed

 in Moriarty 2004 with the diethanolamine treprostinil disclosed in Phares 2005.

                        b.     Reasonable Expectation of Success

        A POSA would have had a reasonable expectation of success in reacting the treprostinil

 taught by Moriarty 2004 with diethanolamine to form a treprostinil diethanolamine salt. “The


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 reasonable expectation of success requirement refers to the likelihood of success in combining

 references to meet the limitations of the claimed invention.” Intelligent Bio-Sys., 821 F.3d at 1367.

 The proposed combination of Moriarty 2004 and Phares 2005 yields treprostinil diethanolamine

 salt (i.e., the product claimed in independent claims 1 of the ’901 Patent) via the process taught by

 Phares 2005. A POSA would have a reasonable expectation of success in doing so because Phares

 2005 successfully performed precisely that step. Id. Indeed, the combination of Moriarty 2004

 and Phares 2005 results in essentially the same process as disclosed in Example 6 of the ʼ901

 patent. Further, a POSA would understand that forming a salt from the treprostinil acid disclosed

 in Moriarty 2004 would not make the resulting product less pure than the 99.7% disclosed in the

 reference. Schoffstall 2004 at 201-02; Wiberg 1960 at 112; see also Harwood 1989 at 127 (“The

 simplest and most effective technique for the purification of solid organic compounds is

 crystallization. Crystalline compounds are easy to handle, their purity is readily assessed . . . and

 they are often easier to identify than liquids or oils.”).

                         c.      Independent Claim 1 Would Have Been Obvious

           Moriarty 2004 in combination with Phares 2005 teaches each element of claim 1 of the

 ’901 Patent.

                                 (1)     Claim Element 1[a]

    1[a]        A pharmaceutical batch consisting of treprostinil or a salt thereof and impurities
                resulting from:

           Moriarty 2004 discloses the production of a pharmaceutical batch of treprostinil and the

 synthesis of treprostinil via the stereoselective intramolecular Pauson-Khand cyclization.

 Moriarty 2004 at 1890. Structure 7 of Moriarty 2004 depicts the chemical structure of treprostinil

 and is shown below:




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 Id. at 1892. This is the identical treprostinil pharmaceutical salt precursor disclosed in the ’901

 Patent:




 ’901 Patent at 12:25-37.

           While the step of reacting treprostinil with a base to form a salt of 7 is not disclosed in

 Moriarty 2004, this step is clearly disclosed in Phares 2005. Phares 2005 discloses that treprostinil

 acid (which is equivalent to 7 in Moriarty 2004) is dissolved in a 1:1 molar ratio mixture of ethanol:

 water and diethanolamine (i.e., the base) is added and dissolved. Phares 2005 at 22. The solution

 is heated and acetone is added as an antisolvent during cooling. Id. The resulting structure (left)

 corresponds to the treprostinil diethanolamine salt claimed in the ’901 Patent (right). A side-by-

 side comparison is shown below:




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                   (Phares 2005)                                        (’901 Patent)

 Phares 2005 at 9, 96 (claim 49); ’901 Patent at 9:35-45, 12:45-60, Example 3. Other than a change

 in formatting, one can easily see that these two structures from Phares 2005 and the ’901 Patent

 are identical.

         The formation of salts by the reaction of carboxylic acids with bases is a common reaction

 in organic chemistry and is well within the skill of a POSA, as discussed above. See, e.g.,

 Kawakami 1981.

         This salt is the result of the same steps described in the ’901 Patent; (a) by forming a salt

 of treprostinil by combining the starting solution of treprostinil acid and a base and; (b) isolating

 the treprostinil salt. ’901 Patent at claims 1 and 8. The isolated salt is then used to prepare a

 pharmaceutical batch comprising treprostinil or a salt thereof. Id.; Phares 2005 at 58. As such,

 the treprostinil salt of Phares 2005 would contain impurities from the recited steps.

         Therefore, Moriarty 2004 in combination with Phares 2005 disclose a pharmaceutical batch

 consisting of treprostinil or a salt thereof. This pharmaceutical batch contains impurities resulting

 from the steps of alkylation and hydrolysis as described in further detail below.




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                               (2)      Claim Element 1[b]

     1[b]    (a) alkylating a benzindene triol,

        Both Moriarty 2004 and Phares 2005 teach alkylating a benzindene triol. Moriarty 2004

 at 1895, 1902; Phares 2005 at 39-40.

        Moriarty 2004 teaches alkylation of benzindene triol. Moriarty 2004 at 1897. The

 alkylation reaction of 34 to yield 35 as disclosed in Moriarty 2004 is equivalent to the alkylation

 reaction disclosed in the ’901 Patent. 34 and 35 of Moriarty 2004 are as follows:




 Moriarty 2004 at 1895, 1902. Moriarty 2004 teaches that the triol (34) was alkylated at the

 phenolic hydroxyl group with use of chloroacetonitrile in refluxing acetone with potassium

 carbonate (34 → 35) and nitrile 35 was hydrolyzed with ethanolic potassium hydroxide to yield

 UT-15 (7). Id. at 1897. This is the same triol disclosed in the ’901 Patent as shown below:




                      (’901 Patent)                          (Moriarty 2004)


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 ’901 Patent at 10:17-26; Moriarty 2004 at 1895, 1902.

          As discussed above in Section III.B.1.a.(2), Phares 2005 also discloses alkylation of a

 benzindene triol (11b → 2). Phares 2005 at 40. The reaction from Phares 2005 is shown below

 for comparison:




 Phares 2005 at 39-40, -OH group being alkylated indicated with red square.

          A POSA would recognize that the alkylation reaction step (l) disclosed in Phares 2005 (“i.

 ClCH2CN, K2CO3”) for the enantiomer of treprostinil is equally applicable to treprostinil, as

 disclosed in the ’901 Patent. Phares 2005 at 40. Phares 2005 explains that enantiomers of these

 compounds (including (-)-treprostinil) “can be synthesized using the reagents and synthons of

 enantiomeric chirality of the above reagents,” thereby inherently teaching the synthesis of both

 enantiomeric forms of treprostinil and of the benzindene triol and nitrile intermediates thereof. Id.

 at 39.

                                  (3)   Claim Element 1[c]

      1[c]      (b) hydrolyzing the product of step (a) to form a solution comprising treprostinil,

          As discussed above, Moriarty 2004 discloses the identical treprostinil precursor, and Phares

 2005 discloses the identical pharmaceutically acceptable treprostinil diethanolamine salt as the

 ’901 Patent. Scheme 4 of Moriarty 2004 teaches that 35 is hydrolyzed with a base (i.e., aqueous

 KOH), followed by acidification to yield 7, the treprostinil salt precursor disclosed in the ’901

 Patent. Phares 2005 at 6, 13. A POSA would understand that adding aqueous KOH would result

 in a solution of treprostinil (7).


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        Phares 2005 also discloses hydrolyzing the product from the alkylation reaction (step (a)

 above) to form the enantiomeric treprostinil starting material disclosed in the ’901 Patent. The

 hydrolyzing procedure is disclosed in Phares 2005 as: “ii, KOH, CH3OH, reflux. 83%.” Phares

 2005 at 40. A comparison between the treprostinil starting material disclosed in the ’901 Patent

 (left) and Phares 2005 (right) are produced below for a side-by-side comparison:




                    (’901 Patent)                                  (Phares 2005)



 ’901 Patent at 11:17-29, Example 2; Phares 2005 at 8.

        Claim 1 of the ’901 Patent simply teaches that one can perform the alkylation and

 hydrolysis steps, i.e., making the nitrile and then hydrolyzing to make the treprostinil carboxylic

 acid (salt precursor) and subsequently make the salt by adding a base to the treprostinil carboxylic

 acid. ’901 Patent at claim 1.

        Phares 2005 teaches that the treprostinil carboxylic acid is in a solution. Phares 2005 at

 22, 40. A POSA would understand that treatment of 11b with (ii) KOH, CH3OH (methanol) would

 lead to the formulation of a solution of treprostinil carboxylic acid after neutralization. Phares

 2005 further discloses that such treprostinil carboxylic acid can be in solution at page 22, where it

 teaches dissolving the treprostinil acid in ethanol/water. Id. at 22. Finally, a POSA would expect

 that the treprostinil formed would include the impurities from the alkylation and hydrolysis steps,


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 as those steps in Phares 2005 are, as discussed above, the same as claimed in the ’901 Patent.

                               (4)     Claim Element 1[d]

      1[d]     contacting the solution comprising treprostinil from step (b) with a base to form a
               salt of treprostinil,


        As explained above, Moriarty 2004 and Phares 2005 disclose formation of a solution

 comprising treprostinil.

        Phares 2005 further discloses combining a starting batch of treprostinil and a base. In

 particular, page 22 of Phares 2005 teaches dissolving treprostinil acid in a 1:1 molar ratio mixture

 of ethanol: water to give a solution of tresprostinil acid, which is then treated with a base,

 diethanolamine. Phares 2005 at 22. However, a POSA would likely understand the treprostinil

 acid disclosed at page 22 to have been isolated before addition of the base.

        But not isolating the treprostinil before contacting it with a base is obvious based on what

 is taught by Phares 2005. For example, with the treprostinil solution inherently taught by Phares

 2005 at page 40, instead of isolating the neutral carboxylic acid at this step by removal of the

 methanol, a POSA would find it obvious to instead add diethanolamine (i.e., a base) to the

 treprostinil solution so that removal of the methanol would instead leave a salt, specifically,

 treprostinil diethanolamine salt. Phares 2005 at 40.

        A POSA would be motivated to do so to save a step of isolation of the treprostinil, instead

 waiting until the salt is formed to conduct an isolation step. The result would be a process with

 just one isolation step, rather than two, which would be faster, more efficient, and more

 economical. Id. A POSA would have a reasonable expectation of success in doing so because

 isolation after salt formation is standard practice in the art, and is a step specifically taught in

 Phares 2005. Phares 2005 at 22, 85-89. The resulting diethanolamine salt formation is identical



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 to the pharmaceutical salt of treprostinil as disclosed in claim 1 of the ’901 Patent.

                                 (5)     Claim Element 1[e]

      1[e]      (d) isolating the salt of treprostinil, and

        Phares 2005 discloses isolating the identical pharmaceutically acceptable treprostinil

 diethanolamine salt form as the ’901 Patent. Phares 2005 at 85-89. Phares 2005 further discloses

 isolating crystalline forms of treprostinil diethanolamine salt—Form A and Form B. Id.. A POSA

 would understand that upon completion of a reaction, the product is isolated, and even a sophomore

 organic chemistry student would understand the isolation steps needed following the conversion

 of Form A to Form B.

                                 (6)     Claim Element 1[f]

      1[f]      (e) optionally reacting the salt of treprostinil with an acid to form treprostinil, and


        The step of reacting the foregoing salt of treprostinil with an acid to form the treprostinil

 in claim 1 of the ’901 Patent is optional. Therefore, no disclosure in Moriarty 2004 or Phares 2005

 is required to demonstrate the obviousness of this claim element. Even so, this step was generally

 known in the art and would have been obvious to a POSA. See Schoffstall 2004; Wiberg 1960.

 The ’901 Patent itself admits that step (e) is merely a “simple acidification with diluted

 hydrochloric acid” step, and is thus not a novel step. ’901 Patent at 17:5-8.

                                 (7)     Claim Element 1[g]

      1[g]      wherein the pharmaceutical batch contains at least 2.9 g of treprostinil or its salt.


        As discussed above, Moriarty 2004 discloses the identical treprostinil precursor, and Phares

 2005 discloses the identical pharmaceutically acceptable treprostinil diethanolamine salt as the

 ’901 Patent.



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        Moriarty 2004 discloses that to meet the demands of producing multikilogram quantities

 of UT-15 (7) needed in the course of drug development, an efficient and economical synthesis had

 to be devised. Moriarty 2004 at 1892. The essential requirements for any large-scale, multistep

 synthesis of a molecule of the complexity of UT-15 (7) are very high overall stereoselectivity, high

 overall chemical yield, and scalability of individual steps to multigram quantities. Id. Moriarty

 2004 further discloses that after the synthesis steps described above, crude UT-15 (7) was

 crystallized by dissolving the solid in ethanol, 50° C and adding water 1:1. Id. at 1902. “White

 needles obtained upon standing were filtered, washed with 20% ethanol-water, and dried in a

 vacuum oven, 55° C to give 441 g (83%) of pure UT-15 as a colorless crystalline solid.” Id.

 (emphasis added). A POSA would therefore conclude that the synthesis of quantities at least as

 large as 2.9 g of treprostinil (and its derived salt) would be possible.

        In addition, a POSA would readily understand that one could follow the steps disclosed in

 Phares 2005 and simply scale up said steps to produce a pharmaceutical batch of treprostinil or its

 salt of at least 2.9 g. This is especially true since Phares 2005 teaches that gram-scale quantities

 of treprostinil can be produced, and a POSA would expect that a reaction taught on a 1-gram scale

 could easily be achieved on a 2.9-gram scale. Id.; Phares 2005 at 18, 22.

                        d.      Dependent Claims 2-4 and 6 Would Have Been Obvious

                                (1)     Claim 2

        2      The pharmaceutical batch of claim 1, which has been dried under vacuum.

        Moriarty 2004 discloses the identical treprostinil precursor, and Phares 2005 discloses the

 identical pharmaceutically acceptable treprostinil diethanolamine salt as the ’901 Patent.

        Moriarty 2004 further discloses that after the synthesis steps described above, crude UT-

 15 (7) was crystallized by dissolving the solid in ethanol, 50° C and adding water 1:1. Moriarty



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 2004 at 1902. “White needles obtained upon standing were filtered, washed with 20% ethanol-

 water, and dried in a vacuum oven, 55°C to give 441 g (83%) of pure UT-15 as a colorless

 crystalline solid.” (Id. (emphasis added).)

                                (2)     Claims 3 and 4

        3      A pharmaceutical product comprising a therapeutically effective amount of
               treprostinil from a pharmaceutical batch as claimed in claim 1.
        4      A pharmaceutical product comprising a therapeutically effective amount of a salt
               treprostinil from a pharmaceutical batch as claimed in claim 1.


        Moriarty 2004 teaches that UT-15 (7) has proven effective in the treatment of pulmonary

 hypertension and investigated for use in treating severe congestive heart failure, severe intermittent

 claudication, and immuno-suppression. Moriarty 2004 at 1892. A goal of the experiments

 disclosed in Moriarty 2004 was to meet the demands of producing multikilogram quantities of UT-

 15 needed in the course of drug development.           Id.   Therefore, Moriarty 2004 discloses a

 pharmaceutical product comprising a therapeutically effective amount of treprostinil from the

 pharmaceutical batch.

        Phares 2005 further discloses a therapeutically effective amount of treprostinil and

 treprostinil salt. Phares 2005 at 48-49, 60, 65. The invention of Phares 2005 “provides for

 compositions which may be prepared by mixing one or more compounds of the instant invention,

 or pharmaceutically acceptable salts thereof, with pharmaceutically acceptable carriers, excipients,

 binders, diluents or the like, to treat or ameliorate a variety of disorders related vasoconstriction

 and/or platelet aggregation.” Id. at 48. A “therapeutically effective dose” as defined in Phares

 2005 further “refers to that amount of one or more compounds of the instant invention sufficient

 to result in amelioration of symptoms of the disorder.” Id. The compositions can be formulated

 for various routes of administration, for example, by oral administration, by transmucosal



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 administration, by rectal administration, transdermal or subcutaneous administration as well as

 intrathecal, intravenous, intramuscular, intraperitoneal, intranasal, intraocular or intraventricular

 injection. Id. at 48-49.

        Phares 2005 also discloses that a therapeutically effective dose may vary depending on the

 route of administration and dosage form. Id. at 51. The preferred compound or compounds of the

 invention disclosed in Phares 2005 is a “formulation that exhibits a high therapeutic index.” Id.

 Pharmaceutical formulations include “any of the compounds of any of the embodiments of

 compound of structure I, II or pharmaceutically acceptable salts thereof described in combination

 with a pharmaceutically acceptable carrier.” Id. at 52.

        The invention disclosed in Phares 2005 also “provides a method of using the above

 compounds therapeutically of/for: pulmonary hypertension, ischemic diseases, heart failure,

 conditions requiring anticoagulation, thrombotic microangiopathy, extracorporeal circulation,

 central retinal vein occlusion, atherosclerosis, inflammatory diseases, hypertension, reproduction

 and parturition, cancer or other conditions of unregulated cell growth, cell/tissue preservation and

 other emerging therapeutic areas where prostacyclin treatment appears to have a beneficial role.”

 Id. at 4; see also clinical study results of UT-15C on pages 82-85.

                                (3)    Claim 6

        6      A method of preparing a pharmaceutical product from a pharmaceutical batch as
               claimed in claim 1, comprising storing a pharmaceutical batch of a salt of
               treprostinil as claimed in claim 1 at ambient temperature, and preparing a
               pharmaceutical product from the pharmaceutical batch after storage.


        As discussed above, Phares 2005 discloses the same treprostinil and treprostinil

 diethanolamine salt as the ’901 Patent. Phares 2005 at 8-9; 85-89, 96 (claim 49). Phares 2005

 further discloses isolation of two crystalline salt forms of UT-15C – Form A and Form B. Id. at



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 85-89. Phares 2005 discloses that crystalline Form B is more thermodynamically stable than Form

 A. Id. at 89. Phares 2005 further discloses that Form B is made from Form A, with full conversion

 to Form B at ambient temperature after 7 days, 15° C after 11 days and 30° C after 1 day,

 suggesting stability of the treprostinil diethanolamine salt at these temperatures. Id. at 89, Table

 17. A POSA would understand “ambient temperature” to mean “room temperature” or, on

 average, 25° C. A POSA would also understand that full conversion after 7 days at ambient

 temperature, as disclosed by Phares 2005, inherently teaches that Form B is stable at ambient

 temperature and therefore could be stored at ambient temperature. Id.

        As the treprostinil and treprostinil diethanolamine salt disclosed in Phares 2005 and the

 ’901 Patent are identical, there are no structural differences between these molecules that would

 indicate to a POSA that the compounds would require different storage conditions.

        Further, treprostinil was known to be stable at ambient temperature by December 2007.

 Gomberg-Maitland 2005 at 1586 (“Treprostinil has theoretical advantages over epoprostenol

 because of its stability at room temperature . . . .”); Ivy 2007 at 696 (“Treprostinil possesses

 physiochemical properties that make its use more convenient, including stability at room

 temperature . . . .”). In fact, the prescribing information for UTC’s REMODULIN® published in

 March 2006 states plainly that “[t]reprostinil is chemically stable at room temperature and neutral

 pH.” REMODULIN® Label 2006. Because treprostinil was known to be chemically stable at

 ambient temperature as of December 2007, a POSA would know that the treprostinil salts

 described in Phares 2005 could be stored at ambient temperature.

        Phares 2005 and Moriarty 2004 disclose preparing a pharmaceutical product from the

 pharmaceutical batch of a salt of treprostinil. Phares 2005 “provides for compositions which may

 be prepared by mixing one or more compounds of the instant invention, or pharmaceutically




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 acceptable salts thereof, with pharmaceutically acceptable carriers, excipients, binders, diluents or

 the like, to treat or ameliorate a variety of disorders related vasoconstriction and/or platelet

 aggregation.” Id. at 48. A “therapeutically effective dose” as defined in Phares 2005 further

 “refers to that amount of one or more compounds of the instant invention sufficient to result in

 amelioration of symptoms of the disorder.” Id. Phares 2005 also discloses that compositions can

 be formulated for various routes of administration, for example, by oral administration, by

 transmucosal administration, by rectal administration, transdermal or subcutaneous administration

 as well as intrathecal, intravenous, intramuscular, intraperitoneal, intranasal, intraocular or

 intraventricular injection. Id. at 48-49. Moriarty 2004 teaches that UT-15 (7) has proven effective

 in the treatment of pulmonary hypertension and investigated for use in treating severe congestive

 heart failure, severe intermittent claudication, and immuno-suppression. A POSA would therefore

 understand that UT-15 functions here as a pharmaceutical product. Moriarty 2004 at 1892.

         Since Phares 2005 teaches the stability of the treprostinil salt at ambient (room)

 temperature (Phares 2005 at 89, Table 17), a POSA would reasonably expect the salt to behave the

 same pre- and post- storage. Thus, a POSA would expect that the Phares 2005 and Moriarty 2004

 disclosures for preparing a pharmaceutical product from the pharmaceutical batch of a salt of

 treprostinil also applies to such a salt after storage.

         Accordingly, Moriarty 2004 in combination with Phares 2005 renders obvious storing a

 pharmaceutical batch of a salt of treprostinil at ambient temperature and preparing a

 pharmaceutical product from the pharmaceutical batch after storage.

                         e.      Dependent Claim 8 Would Have Been Obvious

         Dependent claim 8 is independent claim 1, without claim limitation 1[f].




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                                (1)     Claim Element 8[a]

      8[a]     A method of preparing a pharmaceutical batch as claimed in claim 1, comprising:

        See explanation under independent claim 1, Section III.B.2.c.

                                (2)     Claim Elements 8[b] and [c]

      8[b]     (a) alkylating a benzindene triol,
      8[c]     (b) hydrolyzing the product of step (a) to form a solution comprising treprostinil,

        Moriarty 2004 teaches both the alkylating and hydrolyzing steps of claim 8. Moriarty

 2004 teaches the alkylation of triol intermediate 34 (left) which has the same formula as the triol

 structure disclosed in the ’901 Patent (right):




                 (Moriarty 2004)                                       (’901 Patent)

 Moriarty 2004 at 1895; ’901 Patent at 9:15-25. Moriarty 2004 teaches that the “[t]riol 34 was

 alkylated at the phenolic hydroxyl group with use of chloroacetonitrile in refluxing acetone with

 potassium carbonate (34→ 35) and nitrile 35 was hydrolyzed with ethanolic potassium hydroxide

 to yield UT-15 (7) in 9% overall yield.” Moriarty 2004 at 1898 (emphasis added).)

        Phares 2005 also teaches both the alkylating and hydrolyzing steps of claim 8. Phares 2005

 discloses alkylating a triol intermediate, the benzindene triol, of the same structural formula

 disclosed in claim 8 of the ’901 Patent. See also Section III.B.2.c.(2). Phares 2005 also discloses


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 this same triol alkylation step as Moriarty 2004 and as the ’901 Patent, where “R” can be “H”

 (structure 11b):




                    (’901 Patent)                                           (Phares 2005)


 ’901 Patent at 9:50-10:13, claim 8; Phares 2005 at 40.

        Phares 2005 discloses hydrolyzing the resulting compound to form the same structural

 formula of treprostinil starting material disclosed in the ’901 Patent. See Section III.B.2.c.(3). The

 hydrolyzing procedure is disclosed in Phares 2005 as: “ii, KOH, CH3OH, reflux. 83%.” Phares

 2005 at 40 (emphasis added).        Phares 2005 further explains that “[e]nantiomers of these

 compounds…can be synthesized using reagents and synthons of enantiomeric chirality of the

 above reagents,” thereby inherently teaching this hydrolysis step for treprostinil as well. Id. at 39-

 40. A comparison between the resulting treprostinil starting material disclosed in the ’901 Patent

 (left) and Phares 2005 (right) are produced below for a side-by-side comparison:




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                     (’901 Patent)                                (Phares 2005)

 ’901 Patent at 11:17-29, Example 2; Phares 2005 at 8.

        Claim 1 of the ’901 Patent simply teaches that one can perform the alkylation and

 hydrolysis steps, i.e., making the nitrile and then hydrolyzing to make the treprostinil carboxylic

 acid (salt precursor). ’901 Patent at claim 1.

        Phares 2005 also teaches that the resulting treprostinil carboxylic acid is in a solution.

 Phares 2005 at 22, 40. A POSA would understand that treatment of 11b with KOH, CH3OH

 (methanol), as taught in Phares 2005’s hydrolyzing step, would lead to the formation of a solution

 of treprostinil carboxylic acid after neutralization. Id. at 40. Phares 2005 further discloses that

 such treprostinil carboxylic acid can be in solution at page 22, where it teaches dissolving the

 treprostinil acid in ethanol/water. Id.; Phares 2005 at 22.

                                (3)     Claim Elements 8[d]

      8[d]     (c) contacting the solution comprising treprostinil from step (b) with a base to
               form a salt of treprostinil,

        See explanation under independent claim 1. Section III.B.2.c.(4).

                                (4)     Claim Element 8[e]

      8[e]     (d) isolating the salt of treprostinil, and

        See explanation under independent claim 1. Section III.B.2.c.(5).




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                                (5)     Claim Element 8[f]

      8[f]     (e) optionally reacting the salt of treprostinil with an acid to form treprostinil.


        The step of reacting the foregoing salt of treprostinil with an acid to form the treprostinil

 in claim 8 of the ’901 Patent is optional. Therefore, no disclosure in Moriarty 2004 or Phares 2005

 is required to demonstrate the obviousness of this claim element. Even so, this step was generally

 known in the art and would have been obvious to a POSA. See, e.g., Schoffstall 2004 at 201-02;

 Wiberg 1960 at 112. Moreover, the ’901 Patent admits that step (e) is merely a “simple

 acidification with diluted hydrochloric acid” step, and is thus not a novel step. ’901 Patent at 17:5-

 8.

                3.      No Evidence of Objective Indicia of Nonobviousness (Secondary
                        Considerations)

        Secondary considerations of nonobviousness, which are also called objective indicia, must

 be evaluated to determine whether or not UTC would be able to overcome the strong prima facie

 case of obviousness presented herein. When the invention represents no more than the “predictable

 use of prior art elements according to their established functions,” the secondary considerations

 are inadequate to establish nonobviousness as a matter of law. See, e.g., Wyers, 616 F.3d at 1246.

 In this case, Liquidia is not aware of any secondary considerations sufficient to overcome the

 strong showing of prima facie obviousness. The specification and prosecution history of the ’901

 Patent do not disclose any unexpected results or skepticism in the field. To the extent UTC

 identifies any evidence of secondary considerations of nonobviousness, Liquidia reserves the right

 to respond and present evidence to the contrary. To the extent UTC submits evidence of secondary

 considerations previously submitted during the IPR of the ʼ393 Patent, those positions have already

 been rejected and do not support the non-obviousness of the ʼ901 Patent here.




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        C.      Claims 1-4, 6, and 8 Are Invalid Under 35 U.S.C. § 112

        The Asserted Claims of the ’901 Patent are invalid under 35 U.S.C. § 112 for lack of written

 description support, lack of enablement, and indefiniteness. “[T]he test for sufficiency is whether

 the disclosure of the application relied upon reasonably conveys to those skilled in the art that the

 inventor had possession of the claimed subject matter as of the filing date.” Ariad, 598 F.3d at

 1351. To satisfy the enablement requirement under § 112(a), the specification must enable a

 person having ordinary skill in the art to make and use the invention. Wyeth, 720 F.3d at 1384.

 This requirement is met when at the time of filing the application, one skilled in the art, having

 read the specification, could practice the invention without “undue experimentation.” ALZA, 603

 F.3d at 940 (quoting Genentech, 108 F.3d at 1365). Finally, under § 112, patent claims must

 “particularly point[] out and distinctly claim[] the subject matter” regarded as the invention. 35

 U.S.C. § 112(b). A patent is “invalid for indefiniteness if its claims, read in light of the

 specification delineating the patent, and the prosecution history, fail to inform, with reasonable

 certainty, those skilled in the art about the scope of the invention.” Nautilus, 572 U.S. at 901. As

 discovery is ongoing, Liquidia reserves the right to supplement and/or amend these contentions.

                1.      Claims 3, 4, and 6 Lack Written Description Support

                        a.      “Therapeutically Effective          Amount”       Lacks      Written
                                Description Support

        Asserted Claims 3 and 4 of the ’901 Patent are directed to pharmaceutical products

 comprising a “therapeutically effective amount” of treprostinil or “salt treprostinil.” “[T]he

 purpose of the written description requirement is to ‘ensure that the scope of the right to exclude,

 as set forth in the claims, does not overreach the scope of the inventor’s contribution to the field

 of the art as described in the patent specification.’” Ariad, 598 F.3d at 1353-54 (2010) (quoting

 Rochester, 358 F.3d at 920). Accordingly, to satisfy the written description requirement, “the



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 patentee is obliged to described . . . subject matter commensurate with the scope of the

 exclusionary right.” Id. at 1360. Thus, for UTC to satisfy the written description requirement, the

 specification of the ’901 Patent must adequately describe the full scope of claims 3 and 4 of the

 ’901 Patent.

        Here, however, neither the claim language nor specification of the ’901 Patent define or

 otherwise describe what constitutes a “therapeutically effective amount” of treprostinil or a

 treprostinil salt. Indeed, the claims are extremely broad as they do not recite a specific disease 6 to

 which a “therapeutically effective” amount of treprostinil or salt thereof would be applicable nor

 to a particular route of administration (e.g., inhalation). In fact, other than claims 3 and 4, the

 specification does not use the term “therapeutically effective,” and further does not include any

 disclosure concerning any doses that the claimed “pharmaceutical product” should contain. Merck

 & Co., Inc. v. Teva Pharms. USA, Inc., 347 F.3d 1367, 1371 (Fed. Cir. 2003) (“[C]laims must be

 construed so as to be consistent with the specification, of which they are part.”). Because the ’901

 Patent fails to limit the scope of claims 3 or 4, the specification of the ’901 Patent must reasonably

 convey to those skilled in the art that the inventors had possession of a “therapeutically effective

 amount” of treprostinil to treat any condition and by any route of administration as of December

 17, 2007.




 6
   The ’901 Patent provides only general descriptions of treprostinil’s potential uses in the treatment
 of various disorders and by different routes of administration. See ’901 Patent at 1:36–65
 (describing generally treprostinil’s potential use in treatment of pulmonary hypertension,
 peripheral vascular disease, lung cancer, liver cancer, brain cancer, pancreatic cancer, kidney
 cancer, prostate cancer, breast cancer, colon cancer, head-neck cancer, kidney malfunction,
 neuropathic foot ulcers, pulmonary fibrosis, interstitial lung disease, and asthma). However, these
 extremely general characterizations of routes of administration and potential disorders treated by
 treprostinil fail to limit the scope of claims 3 and 4.


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        Even if the ’901 Patent’s general reference to various disorders and routes of administration

 demonstrates possession of a “therapeutically effective amount” of treprostinil or treprostinil salt

 to treat those conditions (see ’901 Patent at 1:36-65), which Liquidia does not concede, the ’901

 Patent provides no evidence that the named inventors possessed a “therapeutically effective

 amount” of treprostinil or treprostinil salt for all other conditions and routes of administration

 encompassed by the claims. By failing to provide any guidance or evidence that the inventors

 were in possession of a “therapeutically effective amount” of treprostinil or treprostinil salt to treat

 all conditions and routes of administration encompassed by the claims, the specification of the

 ’901 Patent fails to adequately describe claims 3 and 4 of the ’901 Patent. See, e.g., Biogen Int’l

 GmbH v. Mylan Pharms. Inc., No. 17CV116, 2020 WL 3317105, at *15 (N.D. W. Va. June 18,

 2020) (invalidating patent lacking clinical data for inadequately describing “therapeutically

 effective amount”).

                        b.       “Storing”/”Storage” Lack Written Description Support

        Asserted Claim 6 of the ’901 Patent is directed to a method of preparing the pharmaceutical

 product comprising treprostinil after “storing” a pharmaceutical batch of a treprostinil salt at

 ambient temperature. “[T]he test for sufficiency is whether the disclosure of the application relied

 upon reasonably conveys to those skilled in the art that the inventor had possession of the claimed

 subject matter as of the filing date.” Ariad, 598 F.3d at 1351. An adequate written description

 need not in every instance describe an actual reduction to practice but “must nonetheless ‘describe

 the claimed subject matter in terms that establish that [the applicant] was in possession of the . . .

 claimed invention, including all of the elements and limitations.’” Rochester, 358 F.3d at 926

 (quoting Hyatt, 146 F.3d at 1353). Accordingly, the specification of the ’901 Patent must

 sufficiently describe a method of “storing” a pharmaceutical batch at ambient temperature and

 preparing a pharmaceutical product from the pharmaceutical batch after “storage” such that a


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 person of skill in the art would recognize that the named inventors actually invented what is

 claimed.

        A POSA reviewing the specification of the ’901 Patent would conclude that the inventors

 were not in possession of a method of preparing a pharmaceutical product from a pharmaceutical

 batch of treprostinil salt that was “stor[ed]” at ambient temperature. As UTC noted in its

 Preliminary Response to Liquidia’s IPR Petition with respect to the ’901 Patent, “[p]rostaglandin

 derivatives,” like treprostinil, “in particular were known to be unstable upon storage due to

 inherent instability of the crystalline lattice of these compounds owning to their long, flexible

 sidearms, as well as the presence of multiple polymorphic crystals.” Liquidia Techs., Inc. v. United

 Therapeutics Corp., IPR2020-00770, Paper 6 at 53 (P.T.A.B. July 14, 2020). Further, UTC noted

 in its Preliminary Response that “[e]nvironmental factors are a significant factor (e.g., temperature,

 oxygen, atmosphere, humidity). This is especially true for compounds stored as salts.” Id. at 54.

        Considering these admissions regarding the instability of prostaglandin derivatives, and in

 particular salts of treprostinil, the specification of the ’901 Patent provides no evidence or

 disclosure that the treprostinil salts of the claimed invention were actually “stor[ed]” for any length

 of time, let alone at ambient temperatures, or that the inventors were in possession of a method of

 “storing” a pharmaceutical batch of treprostinil salt at ambient temperature and preparing a

 pharmaceutical product of treprostinil after such “storage.” The specification of the ’901 Patent

 provides only a generic statement regarding the “stor[age]” of “crude treprostinil salts” at ambient

 temperature, which provides no greater detail than the claims themselves. See ’901 Patent at 17:4-

 10 (“Additional advantages of this process are: (a) crude treprostinil salts can be stored as raw

 material at ambient temperature and can be converted to treprostinil by simply acidification with

 diluted hydrochloric acid, and (b) the treprostinil salts can be synthesized from the solution of




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 treprostinil without isolation.”). The ʼ901 Patent does not disclose any experimental data to

 support these statements, and further lacks any details as to how long the “crude treprostinil salt”

 can be stored or under what conditions, other than temperature.

        Further, a POSA reading the specification of the ’901 Patent would also not understand

 that the “crude treprostinil salts” described in the specification constitute a “pharmaceutical batch

 of a salt of treprostinil” within the meaning of claim 6 as the treprostinil salt itself can be the

 claimed pharmaceutical product (claim 6 does not require any additional processing steps for the

 treprostinil salt prior to incorporating it into the “pharmaceutical product.”). And even if the

 “crude treprostinil salts” described in the specification of the ’901 Patent constitute a

 “pharmaceutical batch of a salt of treprostinil” within the meaning of claim 6, which Liquidia does

 not concede, the specification of the ’901 Patent does not provide evidence that the “crude” salts

 were ever actually stored, let alone for what length of time and under what conditions other than

 temperature. Moreover, the specification of the ʼ901 Patent states only that “crude treprostinil

 salts” can be stored at ambient temperatures, and such “crude” salts must be further processed.

 There is no indication in the specification of the ʼ901 Patent that the inventors were in possession

 of a pharmaceutical batch of treprostinil salt within the scope of claims 6 that can be stored.

        The specification and claim’s vague description of “storing” crude treprostinil salts and a

 “pharmaceutical batch of a salt of treprostinil” lacks guidance as to “significant” environmental

 factors, in UTC’s own words, such as oxygen, atmosphere, and humidity. University of California,

 119 F.3d at 1568 (“The description requirement of the patent statute requires a description of an

 invention, not an indication of a result that one might achieve if one made that invention.”).

 Considering UTC’s contention that the significance of these undefined variables is “especially true

 for compounds stored as salts,” and the lack of disclosure as to these variables in specification of




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 the ’901 Patent, a POSA would not conclude that the inventors were in possession of the invention

 claimed in claim 6. Thus, claim 6 of the ’901 Patent is invalid for lack of written description.

                        c.      To the Extent UTC Contends that Claim 1 Permits “Isolation”
                                of Treprostinil Before Combining with a Base to Form a Salt,
                                the Asserted Claims Lack Adequate Written Description

        Claim 1 of the ʼ901 Patent, which all other Asserted Claims of the ’901 Patent depend,

 requires “form[ing] a salt of treprostinil” by (a) alkylating a benzindene triol, (b) hydrolyzing the

 product of step(a), and (c) “contacting the solution comprising treprostinil from step (b) with a

 base.” “[T]he test for sufficiency is whether the disclosure of the application relied upon

 reasonably conveys to those skilled in the art that the inventor had possession of the claimed

 subject matter as of the filing date.” Ariad, 598 F.3d at 1351. An adequate written description

 need not in every instance describe an actual reduction to practice but “must nonetheless ‘describe

 the claimed subject matter in terms that establish that [the applicant] was in possession of the . . .

 claimed invention, including all of the elements and limitations.’” Rochester, 358 F.3d at 926

 (quoting Hyatt, 146 F.3d at 1353). To the extent UTC argues that claim 1 permits isolation of

 treprostinil prior to contacting the treprostinil with a base to form a salt, claim 1 of the ’901 Patent

 lacks adequate written description support because a POSA would not recognize that the inventors

 possessed a “pharmaceutical product” according to claim 1 where the treprostinil was isolated

 before contact with a base to form a salt.

        As an initial matter, Liquidia maintains that claim 1 of the ’901 Patent prohibits the

 isolation of treprostinil before contact with a base to form a salt. First, the plain and ordinary

 meaning of claim 1 excludes isolation of treprostinil prior to contacting the treprostinil with a base

 to form a salt. Because the “solution” resulting from the alkylation and hydrolysis steps (and, thus,

 containing the “impurities” resulting from each step) is contacted with a base to form a salt, the

 claims prohibit isolation of treprostinil before reacting with a base to form a salt. Second, as


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 discussed in greater detail in Section II.C.1.b supra, the specification of the ’901 Patent confirms

 that claim 1 excludes isolation of treprostinil prior to contacting the treprostinil with a base to form

 a salt. Finally, UTC’s arguments made during the ’901 IPR confirm that the claims exclude

 isolation of treprostinil before contacting with a base to form a salt. UTC stated clearly that “claim

 1’s recited steps differ from Phares [2005] and Moriarty [2004] because they do not involve

 isolation of treprostinil intermediate.” Liquidia Technologies, Inc. v. United Therapeutics Corp.,

 IPR2020-00770, Paper 9 at 2 (P.T.A.B. Oct. 27, 2020); see also id. at 3 (“The claimed

 pharmaceutical batches are an improvement over Moriarty [2004] and Phares [2005] in part

 because they form a salt without prior isolation of the intermediate treprostinil.”). Considering the

 claims, specification, and arguments made by UTC in the ’901 IPR, claim 1 of the ’901 Patent

 prohibits the isolation of treprostinil before contact with a base to form a salt.

        However, to the extent UTC contends that claim 1 of the ’901 Patent permits isolation of

 treprostinil before contacting with a base to form a salt, claim 1 of the ’901 Patent lacks adequate

 written description support. As discussed in greater detail in Section II.C.1.b supra, all examples

 disclosed in the specification of the ’901 Patent disclose forming a salt of treprostinil by contacting

 treprostinil in solution with a base. The specification provides no evidence that the named

 inventors were in possession of a “pharmaceutical batch” within the meaning of claim 1, wherein

 the treprostinil was isolated before contact with a base to form a salt. Without evidence or guidance

 as to how a POSA would produce a “pharmaceutical batch” within the meaning of claim 1, wherein

 the treprostinil is isolated before contact with a base to form a salt, claim 1 of the ’901 Patent and,

 therefore, all other Asserted Claims of the ’901 Patent lack adequate written description support.




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                 2.      Claims 3, 4, and 6 Are Not Enabled

                         a.      “Therapeutically Effective Amount” Is Not Enabled

         Asserted Claims 3 and 4 of the ’901 Patent are directed to pharmaceutical products

 comprising a “therapeutically effective amount” of treprostinil or “salt treprostinil.” To satisfy the

 statutory requirement underlying § 112, the scope of the claims must be “commensurate” with

 teachings in the specification. Enzo Biochem, Inc. v. Calgene, Inc., 188 F.3d 1362, 1377 (Fed.

 Cir. 1999). “The scope of the claims must be less than or equal to the scope of the enablement.”

 Nat’l Recovery Techs., Inc. v. Magnetic Separation Sys., Inc., 166 F.3d 1190, 1196 (Fed. Cir.

 1999). “To constitute an enabling disclosure, ‘the specification of a patent must teach those skilled

 in the art how to make and use the full scope of the invention without undue experimentation.’”

 Harris, 114 F.3d at 1155 (quoting Wright, 999 F.2d at 1561). Factors to be considered in

 determining whether a disclosure would require undue experimentation include: “(1) the quantity

 of experimentation necessary, (2) the amount of direction or guidance presented, (3) the presence

 or absence of working examples, (4) the nature of the invention, (5) the state of the prior art, (6)

 the relative skill of those in the art, (7) the predictability and unpredictability of the art, and (8) the

 breadth of the claims.” Wands, 858 F.2d at 737.

         Here, as discussed above in Section III.C.1.c, neither the claim language nor specification

 of the ’901 Patent limit “therapeutically effective amount” of Asserted Claims 3 or 4 to a specific

 indication (e.g., pulmonary hypertension) nor to a particular route of administration (e.g.,

 inhalation). Thus, to meet the enablement requirement, the specification of the ’901 Patent must

 enable a skilled artisan to identify a “therapeutically effective amount” for any and all conditions

 and routes of administration encompassed by the claims without the need for undue

 experimentation. For the reasons discussed below, applying the Wands factors, the specification




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 of the ’901 Patent fails to adequately enable a person of ordinary skill in the art to practice the full

 scope of the invention without undue experimentation.

        Wands Factor                    Application to Claims 3 and 4 of the ’901 Patent

                                Identifying a “therapeutically effective amount” of treprostinil with
                                respect to all conditions and by all routes of administration
  Quantity of
                                encompassed by claims 3 and 4, if it exists at all, would require an
  Experimentation
                                exorbitant amount of effort, entailing significant amounts of time-
  Necessary
                                consuming and expensive preclinical and clinical studies evaluating
                                different doses and different routes of administration.

                                Besides citing general references to treprostinil’s potential uses, the
                                ’901 Patent fails to provide any guidance or direction to a skilled
                                artisan in identifying a “therapeutically effective amount” for the
  Amount of Guidance or
                                treatment of all conditions and by all routes of administration
  Direction Presented
                                encompassed by the claims. See, e.g., ’901 Patent at 1:36–65. Thus,
                                the specification of the ʼ901 Patent provides little guidance to a
                                person of ordinary skill in the art.

                                The ’901 Patent specification is completely lacking in working
  Presence or Absence of
                                examples of “therapeutically effective amount[s]” of treprostinil
  Working Examples
                                used to treat any condition utilizing any route of administration.

                                To the extent UTC contends that identifying a therapeutically
  Nature of the Invention       effective amount of treprostinil or treprostinil salt would have been
                                nonobvious, the nature of the invention is one of great uncertainty.

                                Although treprostinil was known to treat certain conditions by
                                certain routes of administration by December 2007, the state of the
  State of the Prior Art        prior art was completely silent as to treprostinil’s use in treating
                                many conditions and routes of administration encompassed by the
                                claims.

                             To the extent UTC contends that identifying a therapeutically
                             effective amount of treprostinil or treprostinil salt would have been
                             nonobvious, for many if not all conditions and routes of
  Relative Skill of Those in
                             administration encompassed by the claims, the relative skill in the
  the Art
                             art was high, requiring specialized medical training and years of
                             experience treating the condition as well as skilled artisans in
                             formulation development for various routes of administration.

  Predictability or             To the extent UTC contends that identifying a therapeutically
  Unpredictability of the       effective amount of treprostinil or treprostinil salt would have been
  Art                           nonobvious, treatment of many conditions encompassed by the
                                claims (e.g., cancer) is considered unpredictable even today and,


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                               certainly, would have been considered unpredictable in December
                               2007.

                               As described in greater detail above, the scope of Asserted Claims
                               3 and 4 is very broad, encompassing any amount of treprostinil or a
  Breadth of the Claims
                               salt thereof for the treatment of any condition and by any route of
                               administration.


        Applying all eight Wands factors, the specification of the ’901 Patent fails to enable a

 skilled artisan to identify a “therapeutically effective amount” for all conditions and routes of

 administration encompassed by the claims. Accordingly, claims 3 and 4 of the ’901 Patent are

 invalid as not enabled.

                        b.      “Storage”/“Storing” Are Not Enabled

        Asserted Claims 6 of the ’901 Patent is directed to a method of preparing the

 pharmaceutical product comprising treprostinil after “storing” a pharmaceutical batch treprostinil

 salt at ambient temperature. “To constitute an enabling disclosure, ‘the specification of a patent

 must teach those skilled in the art how to make and use the full scope of the invention without

 undue experimentation.’” Harris, 114 F.3d at 1155 (quoting Wright, 999 F.2d at 1561). Factors

 to be considered in determining whether a disclosure would require undue experimentation

 include: “(1) the quantity of experimentation necessary, (2) the amount of direction or guidance

 presented, (3) the presence or absence of working examples, (4) the nature of the invention, (5) the

 state of the prior art, (6) the relative skill of those in the art, (7) the predictability and

 unpredictability of the art, and (8) the breadth of the claims.”        Wands, 858 F.2d at 737.

 Accordingly, the specification of the ’901 Patent must enable a skilled artisan to prepare a

 treprostinil pharmaceutical product after “storage” of a pharmaceutical batch of treprostinil salt at

 ambient temperature without undue experimentation.




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        As UTC noted in its Preliminary Response to Liquidia’s IPR Petition with respect to the

 ’901 Patent, “[p]rostaglandin derivatives,” like treprostinil, “in particular were known to be

 unstable upon storage due to inherent instability of the crystalline lattice of these compounds

 owning to their long, flexible sidearms, as well as the presence of multiple polymorphic crystals.”

 Liquidia Techs., IPR2020-00770, Paper 6 at 53. Further, UTC noted in its Preliminary Response

 that “[e]nvironmental factors are a significant factor (e.g., temperature, oxygen, atmosphere,

 humidity). This is especially true for compounds stored as salts.” Id. at 54. Thus, to the extent

 UTC contends that prostaglandin derivatives like treprostinil exhibit “inherent instability” and that

 environmental factors, such as temperature, oxygen, atmosphere, and humidity, have a

 “significant” impact on the stability of salts, a person of ordinary skill in the art would have

 required extensive disclosure to practice claim 6 of the ’901 Patent.

        Applying the eight Wands factors in sequential order, and taking into account UTC’s

 nonobvious positions with respect to claim 6 of the ’901 Patent, the specification of the ’901 Patent

 would not enable a person of ordinary skill to “stor[e]” a pharmaceutical batch of treprostinil salt

 and create the claimed pharmaceutical product.

       Wands Factor                        Application to Claim 6 of the ’901 Patent

                               To the extent UTC’s contention that prostaglandin derivatives
                               exhibit “inherent inability” and that humidity, oxygen, atmosphere,
                               and humidity are “especially” significant environmental factors is
                               correct, a person of skill in the art would have to engage in
                               significant amounts of experimentation to discern how to
  Quantity of                  effectively “stor[e]” the claimed treprostinil salts.          More
  Experimentation              specifically, while the claim defines the temperature at which the
  Necessary                    salts can be stored (ambient temperature), a person of ordinary skill
                               in the art would require extensive experimentation to determine the
                               other “significant” environmental factors suitable for storage,
                               including humidity, whether the treprostinil can be exposed to light,
                               or needs to be stored in an oxygen rich or depleted environment.
                               Moreover, each “significant” environmental factor would require



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                                experimentation while        maintaining     constant    the   other
                                environmental factors.

                                As discussed above, the specification and claims of the ʼ901 Patent
                                provide guidance only as to the temperature at which the claimed
                                treprostinil salts are stored. The specification and claims are
     Amount of Guidance or
                                completely silent as to other “significant” environmental factors,
     Direction Presented
                                according to UTC, such as oxygen, atmosphere, and humidity.
                                Accordingly, besides temperature, the amount of guidance or
                                direction presented is non-existent.

                                Besides providing only a vague description of “stor[ing]” “crude
                                treprostinil salts” at ambient temperature, which Liquidia does not
                                concede constitutes treprostinil salts within the meaning of claim 6,
                                the specification is completely lacking in working examples of
     Presence or Absence of
                                “storing” treprostinil salts under any conditions. And even if the
     Working Examples
                                “crude treprostinil salts” constitute treprostinil salts within the
                                meaning of claim 6, the specification’s brief mention of their
                                “stor[age]” provides no more detail than the claims and, thus, does
                                not constitute a working example.

                                According to UTC, polymorphs (i.e., salts) “had plagued the
                                pharmaceutical industry for over a decade prior to the ’901 Patent,
                                with high-profile failures including withdrawal of an approved drug
                                from the market.” Liquidia Techs., IPR2020-00770, Paper 6 at 52.
     Nature of the Invention    “These incidents underscore the difficulty of understanding the
                                polymorphic nature of pharmaceutical compounds.” Id. at 53.
                                Accordingly, to the extent UTC argues that claim 8 would have
                                been nonobvious, the nature of the invention was one of great
                                uncertainty.

                                According to UTC, the prior art was silent as to storage
                                considerations for treprostinil salts. See, e.g., Liquidia Techs.,
                                IPR2020-00770, Paper 6 at 51-55. To the extent UTC argues that
     State of the Prior Art     claim 8 would have been nonobvious, without guidance as to
                                “significant” environmental considerations with respect to the
                                storage of treprostinil salts, the state of the prior art was very
                                limited.

                                According to UTC, “the POSA 7 would have been an industrial
     Relative Skill of Those in chemist or chemical engineer with experience in pharmaceutical
     the Art                    production, familiar with controlling for polymorphs and realizing
                                highly pure products at batch scales as the challenged claims


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  Liquidia does not, at this time, concede to UTC’s definition of a person of ordinary skill in the
 art.


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                                required.” Liquidia Techs., IPR2020-00770, Paper 6 at 56. To the
                                extent UTC argues that claim 6 would have been nonobvious, the
                                relative skill of those in the art was high.

                                As mentioned above, UTC contends that polymorphs “had plagued
                                the pharmaceutical industry for over a decade prior to the ’901
                                Patent, with high-profile failures including withdrawal of an
  Predictability or             approved drug from the market.” Liquidia Techs., IPR2020-00770,
  Unpredictability of the       Paper 6 at 52. “These incidents underscore the difficulty of
  Art                           understanding the polymorphic nature of pharmaceutical
                                compounds.” Id. at 53. Accordingly, to the extent UTC argues that
                                claim 8 would have been nonobvious, the art was highly
                                unpredictable.

                                The breadth of claim 6 is broad because it simply limits “storage”
                                by temperature. Claim 6 of the ’901 Patent provides no further
  Breadth of the Claims
                                limitations as to other “significant” environmental factors,
                                according to UTC, such as oxygen, atmosphere, and humidity.


           Applying all eight Wands factors, in view of UTC’s nonobvious arguments, the ’901 Patent

 fails to enable a person of ordinary skill in the art to practice Asserted Claim 6. Accordingly, claim

 6 of the ’901 Patent is invalid as not enabled.

                         c.     To the Extent UTC Contends that Claim 1 Permits “Isolation”
                                of Treprostinil Before Combining with a Base to Form a Salt,
                                the Asserted Claims Are Not Enabled

           Claim 1 of the ʼ901 Patent, which all other Asserted Claims of the ’901 Patent depend,

 requires “form[ing] a salt of treprostinil” by (a) alkylating a benzindene triol, (b) hydrolyzing the

 product of step(a), and (c) “contacting the solution comprising treprostinil from step (b) with a

 base.” To the extent UTC argues that claim 1 permits isolation of treprostinil before contacting

 the treprostinil with a base to form a salt, the claims are not enabled as a person of ordinary skill

 in the art would have to engage in undue experimentation to achieve the claimed “pharmaceutical

 batch.”

       Wands Factor                        Application to Claim 1 of the ’901 Patent



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                                As mentioned above, all of the examples disclosed in the
                                specification of the ʼ901 Patent disclose forming a salt of
                                treprostinil by contacting treprostinil in solution with a base. To the
     Quantity of
                                extent UTC contends that claims 1 and 8 permit isolation of
     Experimentation
                                treprostinil before contacting with a base to form a salt, without
     Necessary
                                guidance or direction in the ’901 Patent, a POSA would have to
                                engage in a significant amount of experimentation to achieve the
                                claimed “pharmaceutical batch.”

                                As mentioned above, the specification and claims of the ’901 Patent
     Amount of Guidance or      provide no guidance or direction as to how a POSA would isolate
     Direction Presented        treprostinil before reacting it with a base and also achieve the
                                claimed “pharmaceutical batch.”

                                As mentioned above, the specification and claims of the ’901 Patent
     Presence or Absence of     provide no working examples of isolating treprostinil before
     Working Examples           reacting it with a base and achieving the claimed “pharmaceutical
                                batch.”

                                According to UTC, “[t]he claimed pharmaceutical batches are an
                                improvement over Moriarty [2004] and Phares [2005] in part
                                because they form a salt without prior isolation of the intermediate
                                treprostinil.” Liquidia Techs., IPR2020-00770, Paper 9 at 3. To the
     Nature of the Invention    extent UTC contends that the claimed pharmaceutical batch differs
                                from the prior art Moriarty 2004 and Phares 2005 processes, the
                                nature of the invention—that is, isolating the treprostinil before
                                reacting with a base to form a salt and achieving the claimed
                                “pharmaceutical batch”——was one of great uncertainty.

                                To the extent that UTC contends that achieving the claimed
                                “pharmaceutical batch” and isolating treprostinil before reacting
                                with a base to form a salt was novel and nonobvious, the state of the
     State of the Prior Art
                                prior art was silent as to how a POSA would achieve the claimed
                                “pharmaceutical batch” and isolate treprostinil before reacting with
                                a base.

                                According to UTC, “the POSA 8 would have been an industrial
     Relative Skill of Those in chemist or chemical engineer with experience in pharmaceutical
     the Art                    production, familiar with controlling for polymorphs and realizing
                                highly pure products at batch scales as the challenged claims
                                required.” Liquidia Techs., IPR2020-00770, Paper 6 at 56. To the




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   Liquidia does not, at this time, concede to UTC’s definition of a person of ordinary skill in the
 art.


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                                extent UTC argues that claims 1 would have been nonobvious, the
                                relative skill of those in the art was high.

                                As mentioned above, according to UTC, “[t]he claimed
                                pharmaceutical batches are an improvement over Moriarty [2004]
                                and Phares [2005] in part because they form a salt without prior
                                isolation of the intermediate treprostinil.” Liquidia Techs.,
  Predictability or
                                IPR2020-00770, Paper 9 at 3. To the extent UTC contends that the
  Unpredictability of the
                                claimed pharmaceutical batch differs from the prior art Moriarty
  Art
                                2004 and Phares 2005 processes, the nature of the invention—that
                                is, isolating the treprostinil before reacting with a base to form a salt
                                and achieving the claimed “pharmaceutical batch”——was very
                                unpredictable.

                                To the extent UTC contends that the claims permit isolation of
  Breadth of the Claims         treprostinil before reacting it with a base, the claims encompass a
                                broad scope of processes that are unsupported by the specification.


        Thus, applying the Wands factors, the ’901 Patent fails to enable a POSA to achieve the

 claimed “pharmaceutical batch” after isolating treprostinil before reacting it with a base to form a

 salt. Thus, claim 1 of the ’901 Patent and, therefore, all other Asserted Claims of the ’901 Patent

 are invalid as not enabled.

                3.      Claims 1-4, 6, and 8 Are Indefinite

                        a.      Claim Reciting “Impurities” Is Indefinite

        Asserted Claim 1 of the ’901 Patent, which all Asserted Claims of the ’901 Patent depend,

 is directed to a pharmaceutical batch consisting of treprostinil or a treprostinil salt and “impurities”

 resulting from the claimed process. A patent is “invalid for indefiniteness if its claims, read in

 light of the specification delineating the patent, and the prosecution history, fail to inform, with

 reasonable certainty, those skilled in the art about the scope of the invention.” Nautilus, 572 U.S.

 at 901. “[A] patent must be precise enough to afford clear notice of what is claimed, thereby

 apprising the public of what is still open to them.” Id. at 909 (alterations omitted). Consequently,

 claim 1 of the ’901 Patent, read in light of the specification and prosecution history, must apprise



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 a POSA with “reasonable certainty” what compounds and in what specific amounts constitute

 “impurities” within the meaning of claim 1.

        As an initial matter, claim 1 of the ’901 Patent, read in light of the specification and

 prosecution history, is indefinite because it fails to apprise a POSA with “reasonable certainty”

 whether the claimed “pharmaceutical batch” is required to include or exclude the claimed

 impurities. The plain language of the claim indicates that “pharmaceutical batch” includes the

 claimed impurities. See ’901 Patent, claim 1 (“A pharmaceutical batch consisting of treprostinil

 or a salt thereof and impurities . . . .”) (emphases added). However, the specification and

 prosecution history indicate that the “pharmaceutical batch” excludes the claimed impurities. For

 instance, the specification states that the “impurities carried over from intermediate steps (i.e.

 alkylation of triol and hydrolysis of benzindene nitrile) are removed during the carbon treatment

 and the salt formation step.” Id. at 17:1-4. Additionally, during prosecution of the ’901 Patent,

 UTC argued that the claimed invention was nonobvious because it excluded impurities found in

 batches made by the prior art Moriarty 2004 process. See, e.g., Response to Non-Final Rejection

 (U.S. Application No. 14/754,932) (Aug. 11, 2016) at 5-6. Without even “reasonable certainty”

 as to whether the claimed “pharmaceutical product” includes or excludes the claimed impurities,

 a POSA would not be afforded “clear notice of what is claimed, thereby apprising the public of

 what is still open to them.” Nautilus, 572 U.S. at 909 (alterations omitted).

        Additionally, neither the specification, claims, nor prosecution history of the ’901 Patent

 apprise a POSA with “reasonable certainty” as to what constitutes an “impurit[y]” within the

 meaning of claim 1. Claim 1 of the ’901 Patent states only that the “impurities” must “result[]

 from (a) alkylating a benzindene triol, (b) hydrolyzing the product of step (a) to form a solution

 comprising treprostinil, (c) containing the solution comprising treprostinil from step (b) with a




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 base to form a salt of treprostinil, (d) isolating the salt of treprostinil, and (e) optionally reacting

 the salt of treprostinil with an acid to form treprostinil.” The specification provides no further

 guidance. During prosecution of the ’901 Patent, UTC submitted two expert declarations that were

 submitted by UTC during the ’393 Patent IPR. Those expert declarations identify eight impurities

 contained in the Moriarty 2004 (Former Process) batches: 1AU90, 2AU90, 3AU90, 750W93,

 97W86, ethyl ester, and methyl ester. See, e.g., Declaration of Dr. Robert M. Williams, SteadyMed

 Ltd. v. United Therapeutics Corp., IPR2016-00006, Exhibit 2020 at ¶ 94 (P.T.A.B. July 6, 2016)

 (“Williams Declaration”). Neither declaration, however, identifies the chemical compounds that

 are labeled “1AU90,” “2AU90,” “3AU90,” “750W93,” or “97W86.” Further, neither declaration

 establishes that the impurities identified actually resulted from the claimed steps. As the Patent

 Trial & Appeal Board noted in its Final Written Decision invalidating the ’393 Patent, the “claims

 contain no limitations relating to the impurity profile of the recited product, ‘and it is the claims

 ultimately that define the invention.’” SteadyMed Ltd. v. United Therapeutics Corp., IPR2016-

 00006, Paper No. 82 at 18 (P.T.A.B. Mar. 31, 2017) (quoting Purdue, 438 F.3d at 1136). Without

 further guidance as to what constitutes an “impurit[y]” within the meaning of claim 1, a skilled

 artisan would not be apprised with “reasonable certainty” as to what impurities are needed to meet

 the claim limitation.

         Similarly, neither the specification, claims, nor prosecution history of the ’901 Patent

 apprise a POSA with “reasonable certainty” as to what level of “impurities” is needed to meet the

 claim limitation. Moriarty 2004 specifies that the treprostinil made according to Moriarty 2004

 was 99.7% pure. See Moriarty 2004 at 1902. While UTC contends in the specification of the ʼ901

 Patent that the “Former Process” (i.e., Moriarty 2004) has a purity of approximately 99.0% as

 compared to a purity of 99.9% for the process of the claimed invention (see ’901 Patent col. 16,




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 step 53), the calculations of UTC’s own expert submitted during prosecution acknowledge that the

 “Former Process” yields a purity of 99.7%. See SteadyMed, IPR2016-00006, Paper 82 at 35.

 UTC’s expert Dr. Williams reviewed 46 commercial batches of treprostinil in accordance with

 Moriarty 2004 and found that the average purity of the batches was 99.7%, which the PTAB

 acknowledged was an accurate value and the same as reported in Moriarty 2004. Id. Further, as

 acknowledged by the PTAB in the ’393 IPR, Dr. Williams also reviewed 116 commercial batches

 of treprostinil made according to the process disclosed in the ’393 (and thus the ’901) Patent, and

 several Moriarty 2004 commercial batches were more pure than the batches made according to the

 disclosed process. Id. at 38-39. Thus, a POSA would not have any reasonable certainty what level

 of impurity should be “included” in the product. As such, a person of ordinary skill in the art

 would not know, with reasonable certainty, what level of purity will be required to meet the

 limitations of claim 1. Butamax, 117 F. Supp. 3d at 642.

        Thus, claim 1 of the ’901 Patent and, therefore, all other Asserted Claims of the ’901

 Patentare invalid as indefinite.

                        b.      Claim Reciting “Storage” and “Storing” Is Indefinite

        Asserted Claim 6 of the ’901 Patent is directed to a method of preparing the pharmaceutical

 product from a pharmaceutical batch of claim 1 comprising “storing” a pharmaceutical batch at

 ambient temperature and preparing a pharmaceutical product from the pharmaceutical batch after

 “storage.” A patent is “invalid for indefiniteness if its claims, read in light of the specification

 delineating the patent, and the prosecution history, fail to inform, with reasonable certainty, those

 skilled in the art about the scope of the invention.” Nautilus, 572 U.S. at 901. “[A] patent must

 be precise enough to afford clear notice of what is claimed, thereby apprising the public of what

 is still open to them.” Id. at 909 (alterations omitted). Accordingly, claim 6 of the ’901 Patent,




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 read in light of the specification and prosecution history, must apprise a POSA with “reasonable

 certainty” as to what constitutes “storage” or “storing” a pharmaceutical batch of treprostinil salt.

        As mentioned above, UTC noted in its Preliminary Response to Liquidia’s IPR Petition

 with respect to the ’901 Patent that “[p]rostaglandin derivatives,” like treprostinil, “in particular

 were known to be unstable upon storage due to inherent instability of the crystalline lattice of these

 compounds owning to their long, flexible sidearms, as well as the presence of multiple

 polymorphic crystals.” Liquidia Techs., IPR2020-00770, Paper 6 at 53. Further, UTC noted in its

 Preliminary Response that “[e]nvironmental factors are a significant factor (e.g., temperature,

 oxygen, atmosphere, humidity). This is especially true for compounds stored as salts.” Id. at 54.

 Without guidance as to “significant” environmental factors needed to “store” the pharmaceutical

 batch of treprostinil salt, a person of ordinary skill in the art “would not be apprised with reasonable

 certainty about the scope of the invention.” Butamax, 117 F. Supp. 3d at 642.

        Thus, Asserted Claim 6 of the ’901 Patent is invalid as indefinite.

                        c.      Claims Reciting “Therapeutically Effective Amount” Are
                                Indefinite

        Asserted Claims 3 and 4 of the ’901 Patent are directed to pharmaceutical products

 comprising a “therapeutically effective amount” of treprostinil or “salt treprostinil.” “[T]he

 language of the claims must make it clear what subject matter they encompass.” PPG Indus., Inc.

 v. Guardian Indus. Corp., 75 F.3d 1558, 1562 (Fed. Cir. 1996). “The requirement that the claims

 ‘particularly point[] out and distinctly claim[]’ the invention is met when a person experienced in

 the field of the invention would understand the scope of the subject matter that is patented when

 the claim is read in conjunction with the rest of the specification.” S3 Inc. v. NVIDIA Corp., 259

 F.3d 1364, 1367 (Fed. Cir. 2001) (quoting Miles Labs., Inc. v. Shandon Inc., 997 F.2d 870, 875

 (Fed. Cir. 1993)). To meet the definiteness requirement, claims 3 and 4 of the ’901 Patent, read in



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 light of the specification and prosecution history, must inform with “reasonable certainty” those

 skilled in the art about the scope of the invention. See Nautilus, 572 U.S. at 901.

         Here, however, neither the specification nor prosecution history define or use the term

 “therapeutically effective amount,” which was contained in the original claims of the application.

 More specifically, neither the claims, specification, nor prosecution history indicate which

 condition the “therapeutically effective amount” of treprostinil is intended to treat, which route the

 amount is to be administered, or the level of treatment (e.g., amelioration of symptoms) the amount

 is intended to achieve. Without even guidance as to which indication or route of administration

 the “therapeutically effective amount” is intended, claims 3 and 4 of the ’901 Patent, read in light

 of the specification and prosecution history, would not apprise a POSA with “reasonable certainty”

 as to the scope of the invention. Nautilus, 572 U.S. at 901.

         Thus, Asserted Claims 3 and 4 of the ’901 Patent are invalid as indefinite.

 IV.     THE ’066 AND ’901 PATENTS ARE INVALID FOR CLAIMING THE SAME
         PRODUCT AS INVALIDATED U.S. PATENT NO. 8,497,393

         The Asserted Claims of the ’066 and ’901 Patents are invalid as they are not directed to a

 novel and nonobvious product. The ’393 Patent is the grandparent application of both the ’066

 and ’901 Patents. 9 Both the ’066 and ’901 Patents share the exact same specification as the ’393

 Patent, and the claims of both are substantially similar if not nearly identical to those of the ’393

 Patent as shown below.

       USP 8,497,393 Claim 1           USP 9,593,066 Claim 1             USP 9,604,901 Claim 1



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   The ’393 Patent resulted from U.S. Application No. 13/548,446 (“the ’446 Application”). The
 ’066 Patent resulted from a divisional application of U.S. Application No. 13/933,623, which is a
 continuation application of the ’446 Application. The ’901 Patent resulted from a continuation
 application of U.S. Application No. 13/933,623, which is a continuation application of the ’446
 Application.


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  A product comprising a           A pharmaceutical                   A pharmaceutical batch
  compound of formula I            composition comprising             consisting of treprostinil or a
                                   treprostinil or a                  salt thereof
                                   pharmaceutically acceptable
                                   salt thereof,

  or a pharmaceutically
  acceptable salt thereof,

  wherein said product is          said composition prepared by       and impurities resulting from
  prepared by a process            a process comprising
  comprising                       providing a starting batch of
                                   treprostinil having one or
                                   more impurities resulting
                                   from

  (a) alkylating a compound of     prior alkylation and               (a) alkylating a benzindene
  [a genus including                                                  triol,
  benzindene triol] with an
  alkylating agent to produce a
  compound [from a genus
  comprising treprostinil],

  (b) hydrolyzing the product []   hydrolysis steps,                  (b) hydrolyzing the product
  of step (a) with a base                                             of step (a) to form a solution
                                                                      comprising treprostinil,

  (c) contacting the product of    forming a salt of treprostinil     (c) containing the solution
  step (h) with a base B to form   by combining the starting          comprising treprostinil from
  a salt of formula Is.            batch and a base,                  step (b) with a base to form a
                                                                      salt of treprostinil,




                                   isolating the treprostinil salt,   (d) isolating the salt of
                                                                      treprostinil, and

                                   and preparing a
                                   pharmaceutical composition
                                   comprising treprostinil or a
                                   pharmaceutically acceptable
                                   salt thereof from the isolated
                                   treprostinil salt,




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  (d) optionally reacting the salt                                       (e) optionally reacting the salt
  formed in step (c) with an                                             of treprostinil with an acid to
  acid to form the compound of                                           form treprostinil, and
  formula I.

                                     whereby a level of one or
                                     more impurities found in the
                                     starting batch of treprostinil is
                                     lower in the pharmaceutical
                                     composition, and wherein
                                     said alkylation is alkylation
                                     of benzindene triol.

                                                                         wherein the pharmaceutical
                                                                         batch contains at least 2.9 g
                                                                         of treprostinil or its salt.


        Although the ʼ393 Patent claims a “product,” the ʼ066 Patent claims a “pharmaceutical

 composition,” and the ʼ901 Patent claims a “pharmaceutical batch,” all three patents confirm that

 the “product,” “pharmaceutical composition,” and “pharmaceutical batch” can comprise only

 treprostinil or a salt of treprostinil. That is, the claims of the ʼ066 and ʼ901 patents can comprise

 the same “product” as claimed in the ʼ393 patent. The prosecution histories of all three patents

 confirm that they claim the same treprostinil product made by UTC’s “new” process. During

 prosecution of the ’393 Patent, UTC overcame the Examiner’s anticipation rejection by submitting

 a declaration of its Executive Vice President of Chemical Research and Development purportedly

 establishing that “[t]he product of Moriarty 2004 is physically different from the product of claims

 1 and 10, in which a base addition salt is formed in situ with treprostinil that has not been

 previously isolated.” Response to Non-Final Office Action (U.S. Application No. 13/548,446)

 (Feb. 8, 2013) at 9 (first emphasis added); see also Declaration of Dr. David Walsh (U.S.

 Application No. 13/548,446) (June 5, 2013). In its Patent Owner Preliminary Response during the

 ’393 Patent IPR, UTC submitted two expert declarations that also purportedly established that the



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 product of the pending claims differed from the product of Moriarty 2004. See Declaration of Dr.

 Robert M. Williams, SteadyMed Ltd. v. United Therapeutics Corp., IPR2016-00006, Exhibit 2020

 (P.T.A.B. July 6, 2016); Declaration of Dr. Robert R. Ruffolo, SteadyMed Ltd. v. United

 Therapeutics Corp., IPR2016-00006, Exhibit 2022 (P.T.A.B. July 6, 2016).

        Before the PTAB issued its Final Written Decision invalidating the ’393 Patent, UTC relied

 on those same expert declarations during prosecution of the ’066 and ’901 Patents to similarly

 argue that the claimed products differed from those of Moriarty 2004. See Response to Non-Final

 Office Action (U.S. Application No. 14/849,981) (Aug. 24, 2016); Response to Non-Final Office

 Action (U.S. Application No. 14/754,932) (Aug. 11, 2016). The Examiner of the ’066 and ’901

 Patents only withdrew the obviousness and anticipation rejections after receiving the expert

 declarations submitted by UTC during the ’393 Patent IPR proceeding. See Final Rejection (U.S.

 Application No. 14/849,981) (Nov. 30, 2016) (withdrawing obviousness and anticipation

 rejections but maintaining obviousness-type double patenting rejection); Final Rejection (U.S.

 Application No. 14/754,932) (Oct. 19, 2016) (same). In withdrawing the obviousness rejection of

 the ’066 Patent, moreover, the Examiner expressly relied on the expert declarations as evidence

 that the claimed product differed from Moriarty 2004. See Final Rejection (U.S. Application No.

 14/849,981) (Nov. 30, 2016) at 2 (“[T]he declarations [submitted by UTC during the ’393 Patent

 IPR proceeding] describe the product of Moriarty to have a different impurity profile from the

 product [of] the instant claims where [the] salt formation step is present.”).

        By relying on evidence submitted during the ’393 Patent IPR proceeding to purportedly

 establish that the claimed inventions of the ’066 and ’901 Patents differed from the product

 described in Moriarty 2004, UTC confirmed that the ’066 and ’901 Patents claim the same

 treprostinil product claimed in the ’393 Patent. The PTAB invalidated the claims of the ʼ393




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 patent, and the Federal Circuit affirmed. See SteadyMed Ltd. v. United Therapeutics Corp.,

 IPR2016-00006, Paper No. 82 at 84 (P.T.A.B. Mar. 31, 2017); United Therapeutics Corp. v.

 SteadyMed Ltd., 702 Fed. App’x. 990 (Fed. Cir. 2017) (affirming invalidation of ’393 Patent).

 Because the product of the ʼ393 Patent is not valid, the “pharmaceutical composition” and

 “pharmaceutical batch” of the ʼ066 and ʼ901 Patents, respectively, are not directed to novel and

 nonobvious products and thus are invalid product by process claims. “If the product in a product-

 by-process claim is the same as or obvious from a product of the prior art, the claim is unpatentable

 even though the prior product was made by a different process.” Thorpe, 777 F.2d at 697; see also

 Amgen., 580 F.3d at 1366 (“It has long been the case that an old product is not patentable even if

 it is made by a new process.”). Because the ’066 and ’901 Patents claim the same treprostinil

 product claimed by the ’393 Patent, which was invalidated by the PTAB in its Final Written

 Decision and affirmed by the Federal Circuit, the claims of the ’066 and ’901 Patents are invalid

 as being directed to the same product as the ʼ393 Patent.

 V.     U.S. PATENT NO. 10,716,793

        A.      Claims 1, 4, and 6-8 Are Invalid Under 35 U.S.C. § 103

        The ’793 patent issued July 21, 2020 from application No. 16/778,662, filed January 31,

 2020. See ’793 Patent at 1. Application No. 16/778,662 is a continuation of 16/536,954, filed on

 August 9, 2019, which is a continuation of Application No. 15/011,999, filed on February 1, 2016,

 now Patent No. 10,376,525, which is a division of Application No. 13/469,854, filed on May 11,

 2012, now Patent No. 9,339,507, which is a division of Application No. 12/591,200, filed on

 November 12, 2009, now Patent No. 9,358,240, which is a continuation of Application No.

 11/748,205, filed on May 14, 2007, now abandoned. Id.

        The ’793 patent is directed to methods of treating pulmonary hypertension where

 treprostinil is delivered by inhalation. ’793 Patent, Abstract, claims 1-8. UT’s Preliminary


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 Infringement Contentions served on October 16, 2020 assert claims 1, 4, and 6-8 (collectively,

 “the Asserted Claims”) of the ’793 Patent.

         Asserted Claim 1, the only independent claim, recites the following:

           1[a] A method of treating pulmonary hypertension comprising administering

           by inhalation to a human suffering from pulmonary hypertension a

           therapeutically effective single event dose of a formulation comprising

           treprostinil or a pharmaceutically acceptable salt thereof

           1[b] with an inhalation device,

           1[c] wherein the therapeutically effective single event dose comprises from 15

           micrograms to 90 micrograms of treprostinil or a pharmaceutically acceptable

           salt thereof

           1[d] delivered in 1 to 3 breaths.

 Id. at claim 1.

         The seven dependent claims are directed to various inhalation devices and formulation

 properties. Id. at claims 2-8. Asserted dependent claims 4 and 6-8 are directed to methods where

 the inhalation device is a dry powder inhaler (DPI) (claim 4), the formulation is a powder (claim

 6), the powder comprises particles less than 5 micrometers in diameter (claim 7), and the

 formulation contains no metacresol (claim 8). Id. at claims 4, 6-8.

         Notably, the specification of the ’793 patent contains only a single mention of a dry powder

 inhaler and dry powder formulations. Id. at 7:22-26 (“The inhalation device can be also a dry

 powder inhaler. In such case, the respiratory drug is inhaled in solid formulation, usually in the

 form of a powder with particle size less than 10 micrometers in diameter or less than 5 micrometers

 in diameter.”).




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        These Preliminary Invalidity Contentions establish that claims 1, 4, and 6-8 of the ’793

 Patent are unpatentable as either anticipated under 35 U.S.C. § 102 or obvious under 35 U.S.C.

 § 103 based on:

            •   the ’212 Patent 10 alone;

            •   the ’212 Patent in combination with Voswinckel 2004 11;

            •   the ’212 Patent in combination with Voswinckel 2006 12;

            •   Voswinckel 2006 alone;

            •   Voswinckel 2006 in combination with the ’212 Patent;

            •   Voswinckel 2004 alone; and/or

            •   Voswinckel 2004 in combination with the ’212 Patent.

        Moreover, these Preliminary Invalidity Contentions show that the Asserted Claims of the

 ’793 Patent are also invalid under 35 U.S.C. § 112.

                1.      Scope and Content of the Prior Art

                        a.      ’212 Patent

        The ’212 Patent issued on February 18, 2003, and therefore is prior art to the ’793 Patent

 under at least 35 U.S.C. §§ 102(a), (b), and (e).




 10
    U.S. Patent No. 6,521,212.
 11
    Robert Voswinckel, Beate Enke, Andre Kreckel, Frank Reichenberger, Stefanie Krick, Henning
 Gall, Tobias Gessier, Thomas Schmehl, Markus G. Kohstall, Friedrich Grimminger, Hossein A.
 Ghofrani, Werner Seeger, and Horst Olschewski, Abstract 1414: “Inhaled Treprostinil Sodium
 (TRE) For the Treatment of Pulmonary Hypertension,” Journal of the American Heart Association
 (October 26, 2004).
 12
    Robert Voswinckel, Hossein A. Ghofrani, Friedrich Grimminger, and Werner Seeger, “Clinical
 Observations” on “Inhaled Treprostinil for Treatment of Chronic Pulmonary Arterial
 Hypertension,” “Letters” Section of the Annals of Internal Medicine (January 2006).

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        The ’212 Patent discloses methods of delivering a therapeutically effective amount of

 benzindene 13 prostaglandin (including treprostinil, referred to as “UT-15”) by inhalation to treat

 pulmonary hypertension. ’212 Patent, Abstract, 2:16-18, 2:66-3:5, 4:10-13, 4:41-54, 7:18-24. A

 POSA in May 2006 would have known that “UT-15” is synonymous with treprostinil sodium, and

 that treprostinil is an analog of benzindene prostaglandin. 14 The ’212 Patent further discloses that

 an inhaler may be used to deliver the benzindene prostaglandin, and that powder formulations may

 be used. Id. at 5:30-32, 5:37-41 (“Alternatively, solid formulations, usually in the form of a

 powder, may be inhaled in accordance with the present invention. In such case, the particles are

 preferably less than 10 micrometers in diameter, and more preferably, less than 5 micrometers in

 diameter.”).

        The ’212 Patent states that “[i]n the case of treating peripheral vascular disease by

 inhalation of a benzindene prostaglandin of the present invention, the dosage for inhalation, taking

 into account that some of the active ingredient is breathed out and not taken into the bloodstream,

 should be sufficient to deliver an amount that is equivalent to a daily infusion dose in the range of

 25 µg to 250 mg; typically from 0.5 µg to 2.5 mg, preferably from 7 µg to 285 µg, per day per




 13
    This appears to be a typographical error in the ’212 patent, as well as the ’901 and ’066 patents;
 “benzindene” should be “benzidine.”
 14
    See, e.g., https://www.medchemexpress.com/Treprostinil-
 sodium.html#:~:text=Treprostinil%20sodium%20(Synonyms%3A%20UT%2D15)&text=Trepro
 stinil%20sodium%20is%20a%20potent,6.2%C2%B11.2%20nM%2C%20respectively.&text=*%
 20Please%20select%20Quantity%20before%20adding%20items (“Treprostinil sodium
 (Synonyms: UT-15)”); Chattaraj, S.C., “Treprostinil sodium Pharmacia,” CURR. OPIN. INVESTIG.
 DRUGS, 3(4):582-6 (Apr. 2002), available at https://pubmed.ncbi.nlm.nih.gov/12090728/
 (“United Therapeutics Corp (UTC) is developing treprostinil sodium (Remodulin, UT-15), a
 stable structural analog of prostacyclin [prostaglandin I2 or PGI2], for the potential treatment of
 primary pulmonary (arterial) hypertension (PAH), peripheral vascular disease (PVD) and other
 cardiovascular conditions. . .”); see also U.S. Patent No. 9,358,240 (“the ’240 Patent”) (“U.S. Pat
 Nos. 6,521,212 and 6,756,033 describe administration of treprostinil by inhalation for treatment
 of pulmonary hypertension, peripheral vascular disease and other diseases and conditions.”).


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 kilogram bodyweight.” ’212 Patent, 5:54-62; see also id. at Figs. 16, 18. The ’212 Patent further

 states that aerosolized (i.e., inhaled) UT-15 “has a greater potency as compared to intravascularly

 administered UT-15, since the actual amount of UT-15 delivered via aerosolization delivery is

 only a fraction (10-50%) of the dosage delivered intravascularly.” Id. at 8:9-18. The ’212 Patent

 also discloses delivering dosages of 262.5 micrograms of nebulized UT-15 (id. at 9:4-9) and

 dosages of 250, 500, and 1000 micrograms per kg of body weight per minute of aerosolized UT-

 15 (id. at 11:7-13).

        Additionally, the ’212 Patent explains that “[t]he precise amount that is considered

 effective for a particular therapeutic purpose will, of course, depend upon the specific

 circumstances of the patient being treated and the magnitude of effect desired by the patient's

 doctor.” Id. at 6:56-7:3; see also id. at 7:25-33. The ’212 Patent further teaches that the disclosed

 benzindene prostaglandin, UT-15, can be “given in high doses without significant non-lung

 effects.” Id. at 10:51-57 (“These data are important in that this would indicate that, unlike

 intravenously infused UT-15, aerosolized UT-15 can be given in high doses without significant

 non-lung effects, i.e., heart rate, cardiac output. The aerosol delivery of UT-15 for these

 experiments is approximately 15-27 times that of the effective minimal tested dose of 250 ng per

 kg per min shown in FIG. 16.”).

                        b.      ’033 Patent

        U.S. Patent No. 6,756,033 (“the ’033 Patent”) issued on June 29, 2004, and therefore is

 prior art to the ’793 Patent under 35 U.S.C. §§ 102(a), (b), and (e). The ’033 Patent is a

 continuation of and shares its specification with the ’212 Patent. Accordingly, the ’033 Patent

 contains the same disclosures as the ’212 Patent, described above.

                        c.      Voswinckel 2004




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        Abstract 1414 entitled “Inhaled Treprostinil Sodium (TRE) For the Treatment of

 Pulmonary Hypertension” authored by Robert Voswinckel, Beate Enke, Andre Kreckel, Frank

 Reichenberger, Stefanie Krick, Henning Gall, Tobias Gessier, Thomas Schmehl, Markus G.

 Kohstall, Friedrich Grimminger, Hossein A. Ghofrani, Werner Seeger, and Horst Olschewski was

 published in the Journal of the American Heart Association on October 26, 2004 (“Voswinckel

 2004”), and is therefore prior art to the ’793 patent under at least 35 U.S.C. §§ 102(a) and 102(b).

 Voswinckel 2004 describes a study in which 17 patients with “severe pulmonary hypertension”

 received a treprostinil inhalation by use of the “pulsed OptiNeb® ultrasound nebulizer” at a dosage

 of “3 single breaths” of “600 µg/ml)” of treprostinil solution. The study found that treprostinil

 “inhalation resulted in a sustained, highly pulmonary selective vasodilation over 120 minutes,”

 showing “strong pulmonary selective vasodilatory efficacy with a long duration of effect following

 single acute dosing.” Voswinckel 2004 at 1414. Voswinckel 2004 also teaches that “[t]olerability

 [of treprostinil] is excellent even at high concentrations and short inhalation times (3 breaths).” Id.

                        d.      Voswinckel 2006

        In the January 2006 edition of the “Letters” section of the Annals of Internal Medicine,

 Drs. Robert Voswinckel, Hossein A. Ghofrani, Friedrich Grimminger, and Werner Seeger

 published an article under “Clinical Observations” on “Inhaled Treprostinil for Treatment of

 Chronic Pulmonary Arterial Hypertension” (“Voswinckel 2006”). The article is prior art under at

 least 35 U.S.C. § 102(a). The article discloses a patient trial run to “characterize the effects of

 inhaled treprostinil with special regard to safety, tolerability, and efficacy in patients with severe

 pulmonary arterial hypertension.” Voswinckel 2006 at 149-50. Three patients with “severe

 pulmonary hypertension” were given a “single 15-µg dose of treprostinil, inhaled in 3 breaths

 through a modified OptiNeb ultrasonic inhalation device.” Id. at 150. One patient had a “favorable

 vasodilator response” and the other two patients were given “long-term inhaled treprostinil therapy


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 . . . consisting of 4 daily 15-µg doses” over 3 months, resulting in “dramatic[]” functional

 improvement without side effect. Id. The authors concluded that treprostinil was “clinically

 effective, safe, and well tolerated when 15 µg was inhaled in 3 breaths 4 times daily.” Id.

                        e.     Chaudry 2004

        U.S. Patent Appl. Pub. No. 2004/0265238 to Imtiaz Chaudry (“Chaudry 2004”) issued on

 December 30, 2004, and therefore is prior art to the ’793 Patent under 35 U.S.C. §§ 102(a), (b),

 and (e). Chaudry 2004 is directed to “inhalable formulation[s] for the treatment of pulmonary

 hypertension” where the formulation comprises a “hypertension-reducing agent” including a

 “vasodilator,” such as “the prostacyclin analog treprostinil sodium.” Chaudry 2004, Abstract,

 [0010], [0012], [0017], [0026], [0097], Claim 44.          Chaudry 2004 further discloses that

 “[c]ontinuous intravenous prostacyclin is far from ideal as a treatment for pulmonary hypertension,

 however, because the agent is available only in limited supply, it is very costly, and optimal

 management requires that the intravenous therapy with prostacyclin be started in specialized

 centers familiar with the technique, equipment, and dose ranging. . . . Further, because the agent

 is delivered systemically with only a small percentage of the agent actually absorbed by the

 pulmonary system, it must be administered in high dosages.” Id. at [0011]. Chaudry 2004

 discloses that “therapeutically effective amount[s] of a hypertension-reducing agent” may include

 various ranges, such as from “about 0.001 mg/ml to about 20 mg/ml[,]” “about 0.008 mg/ml to

 about 15.0 mg/ml[,]” “about 0.001 mg/ml to about 0.50 mg/ml[,]” “about 0.001 mg/ml to about

 1.0 mg/ml[,]” “about 0.005 mg/ml to about 1.0 mg/ml[,]” and “about 0.01 mg/ml to about 1.0

 mg/ml.” Id. at [0037]-[0038]. Chaudry provides extensive disclosure regarding the use of

 nebulizing devices for inhalation. Id. at [0061-0066]. Chaudry 2004 also discloses that inhalation

 of the formulation “may take about . . . 3 minutes.” Id. at [0067].

                        f.     Ghofrani 2005


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         “New therapies in the treatment of pulmonary hypertension” by Ghofrani et al., URBAN &

 VOGEL, No. 4, pp. 296-302 (2005) (“Ghofrani 2005”) is prior art to the ’793 Patent at least under

 35 U.S.C. § 102(a). Ghofrani 2005 describes the use of inhaled treprostinil to treat pulmonary

 hypertension. Ghofrani 2005 at pp. 297-98. Ghofrani states the following:

         Initial trials in Giessen have shown proof of efficacy of inhaled treprostinil for the
         effective reduction of the pulmonary vascular resistance (PVR) [6]. In this first
         study, 17 patients with severe pre-capillary pulmonary hypertension were
         administered inhaled treprostinil (15 mcg/inhalation). This led to a major reduction
         in pulmonary selective pressure and resistance with an overall duration of action of
         > 180 min. In direct comparison with inhaled iloprost, inhaled treprostinil showed
         a stronger pulmonary selectivity, so that it is possible to increase the dosage to up
         to 90 mcg (absolute inhaled dose per inhalation exercise) without adverse effects
         occurring [6]. Due to these unique properties (pronounced pulmonary selectivity
         and long duration of action after an individual inhalation), it is possible to reduce
         the number inhalations necessary to up to four per day; the inhalation period can be
         reduced to < 1 min. by selecting a suitable device. Additionally, the initial data
         shows that it is technically feasible for there to be only one to two breaths in an
         application.

 Id. at 298 (emphases added).

                        g.      Bender 1997

         “Nonadherence in asthmatic patient: is there a solution to the problem?” by Bender et al.,

 ANN. ALLERGY ASTHMA IMMUNOL., 79:177-86 (1997) (“Bender 1997”) was published in

 September 1997 and therefore is prior art to the ’793 Patent under at least 35 U.S.C. §§ 102(a) and

 (b).   Bender 1997 discusses the challenge of patient compliance or adherence to inhaled

 medications. Bender 1997, Abstract. Bender 1997 found that “[t]here is no evidence of recent

 improvement in the rates of nonadherence, and patients continue on average to take about 50% of

 prescribed medication.” Id. Bender 1997 also reported that adherence to inhaled medications is

 linked to treatment outcome. See id. at 179-80 (“[P]atients with high adherence rates in both

 groups had a dramatically lower mortality rate than poor adherers.”).


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                          h.       Clark 1995

         “Medical Aerosol Inhalers: Past, Present, and Future” by A.R. Clark, AEROSOL SCIENCE

 AND TECHNOLOGY,      22(4):374-391 (1995) (“Clark 1995”) was published in 1995 and therefore is

 prior art to the ’793 Patent under at least 35 U.S.C. §§ 102(a) and (b). Clark 1995 provides an

 overview of “three major types of medical aerosol inhalers” – the nebulizer, the pressurized

 metered dose inhaler, and the dry powder inhaler. Clark 1995, Abstract. Clark 1995 further states

 that the dry powder inhaler was first commercialized in the early 1960s. Id.

                          i.       Olschewski 2002

         “Inhaled Iloprost for Severe Pulmonary Hypertension” by Olschewski et al., New Engl. J.

 Med., 347(5):322-29 (Aug. 1, 2002) (“Olschewski 2002”) was published on August 1, 2002 and

 therefore is prior art to the ’793 Patent under at least 35 U.S.C. §§ 102(a) and (b). Olschewski

 2002 reports that inhaled iloprost, an analog of prostacyclin, is an effective therapy for patients

 with severe pulmonary hypertension. Olschewski 2002, Abstract. The study used an inhalation

 device where “inhalation commonly required 10 minutes,” but Olschewski 2002 noted that

 “[d]ifferent techniques of administering aerosolized iloprost result in similar acute hemodynamic

 effects as long as identical doses are delivered to the respiratory tract in a particle size suitable for

 alveolar deposition.[]        With other techniques, the duration of inhalation may be shortened

 considerably.” Id. at 328.

                          j.       Ventavis® Label 2004

         The December 2004 label for Ventavis® (iloprost) inhalation solution (“Ventavis® Label

 2004”) is prior art to the ’793 Patent under at least 35 U.S.C. §§ 102(a) and (b). “Iloprost is a

 synthetic analogue of prostacyclin PGI2.” Ventavis® Label 2004 at 4. “Ventavis is breathed

 (inhaled) into your lungs” and “[o]ne treatment session will usually last about 4 to 10 minutes.”




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 Id. at 16. Ventavis® is indicated for treatment of pulmonary arterial hypertension (id. at 8) and has

 a maximum daily dose of 45 micrograms (id. at 11).

                        k.      OptiNeb® User Manual 2005

        Opti-Neb-ir® Operating Instructions, Model ON-100/2 (2005) (“OptiNeb® User Manual

 2005”) is prior art to the ’793 Patent under at least 35 U.S.C. § 102(b). OptiNeb® User Manual

 2005 discloses that the OptiNeb® device could nebulize (i.e., produce aerosol) at a rate of 0.6

 ml/min. OptiNeb® User Manual 2005 at 28.

                        l.      Additional Background Prior Art

        In general, there has been extensive interest in inhaled prostacyclins prior to May 15, 2006.

 For example, an article by Walmrath et al. titled “Direct Comparison of Inhaled Nitric Oxide and

 Aerosolized Prostacyclin in Acute Respiratory Distress Syndrome” published in the American

 Journal of Respiratory Critical Care Medicine, Volume 153, pages 991-996 in 1996 (“Walmrath”)

 reported the use of prostacyclin aerosol compared to the standard of therapy with nitric oxide (NO).

 An article by Olschewski et al. titled “Inhaled Prostacyclin and Iloprost in Severe Pulmonary

 Hypertension Secondary to Lung Fibrosis” published in the American Journal of Respiratory

 Critical Care Medicine, Volume 160, pages 600 to 607 in 1999 (“Olschewski 1999”) studied in

 pulmonary arterial hypertension patients inhaled prostacyclin, inhaled iloprost, and inhaled

 treprostinil. Olschewski 1999 concluded that “in pulmonary hypertension secondary to lung

 fibrosis, aerosolization of PGI2 or iloprost causes marked pulmonary vasodilatation with

 maintenance of gas exchange and systemic arterial pressure. Olschewski 1999 at Abstract. Two

 articles by Hache et al. (2003) (“Inhaled epoprostenol (prostacyclin) and pulmonary hypertension

 before cardiac surgery” in the Journal of Thoracic and Cardiovascular Surgery) and De Wet et al.

 (2004) (“Inhaled prostacyclin is safe, effective, and affordable in patients with pulmonary

 hypertension, right heart dysfunction, and refractory hypoxemia after cardiothoracic surgery”)


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 published on the benefits of inhaled prostacyclin in surgical patients with pulmonary hypertension

 and compared this approach over the use of the then standard of therapy NO.

        Patents on inhaled prostacyclins, other than those discussed above, also pre-date May 15,

 2006. For example, U.S. Patent No. 5,187,286 to Skuballa et al. discloses the synthesis and

 delivery by inhalation of “prostacyclin agonists” which includes the class of prostacyclin drugs

 delivered by inhalation such as epoprostenol, iloprost and treprostinil. U.S. Patent No. 6,242,482

 to Shorr et al. discloses administration of inhalation of derivatives of prostaglandins that also

 cover prostacyclin-like molecules.

        Additionally, there was extensive literature prior to May 15, 2006 on the pros and cons of

 various inhalation devices, as well as plentiful motivation to reduce the number of breaths required

 for adequate dosing with these devices. A 2006 chapter on “Aerosols” in the Encyclopedia of

 Respiratory Medicine by S.P. Newmann (“Newmann”) and a 2005 article by David E. Geller

 entitled “Comparing Clinical Features of the Nebulizer, MDI, and DPI” published in Respiratory

 Care, Volume 50, Issue 10 (“Geller 2005”) describe nebulizers and dry powder inhalers.

 Newmann also discloses that it was generally known in the art that “inhaler devices should deliver

 particles smaller than approximately 5 µm in diameter in order to enter the lungs.” Newmann, at

 58. A 2003 article by David Geller and several co-authors, titled “Bolus Inhalation of rhDNase

 with the AERx System in Subjects with Cystic Fibrosis” and published in the Journal of Aerosol

 Medicine’s Volume 16, Issue 2 (“Geller 2003”) emphasizes the benefits of reducing the duration

 of therapy from multiple breaths from a nebulizer lasting several minutes to much shorter

 inhalation time using just 3 breaths from a “soft mist inhaler” AERx. Geller 2003 at Abstract.

        Efforts to reduce the duration of the dose administration specifically in the case of

 prostacyclin medication have been presented prior to 2006 in several publications. As noted




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 above, Olschewski et al. observed a preference for shorter delivery time of iloprost. Olschewski

 2002 at 328. Gessler et al. in a 2001 publication titled “Ultrasonic versus jet nebulization of

 iloprost in severe pulmonary hypertension” in the European Respiratory Journal, Volume 17,

 pages 14 to 19 (“Gessler”) compared the traditional jet nebulizer versus a fast ultrasonic nebulizer

 to significantly reduce the number of breaths required for this inhaled therapy by pulmonary

 arterial hypertension patients and therefore the overall duration of a dose delivery from 12 to 2

 min. Similar improvements were reported for treprostinil in Voswinckel 2004 and 2006, described

 above.

                    2.     Claims 1, 4, and 6-8 of the ’793 Patent Would Have Been Obvious over
                           the ’212 Patent Alone

             The Asserted Claims of the ’793 Patent would have been obvious to a POSA by May 15,

 2006 over the ’212 Patent 15 alone.

             For the same reasons explained herein, claims 1, 4, and 6-8 of the ’793 Patent are invalid

 for obviousness-type double patenting over the ’212 Patent, which is assigned to UTC. This

 deficiency cannot be cured by filing a terminal disclaimer, because the ’212 Patent has expired.

                           a.      Claims 1 Would Have Been Would Have Been Obvious

                                   (1)    Claim Element 1[a]

      1[a]        A method of treating pulmonary hypertension comprising administering by
                  inhalation to a human suffering from pulmonary hypertension a therapeutically
                  effective single event dose of a formulation comprising treprostinil or a
                  pharmaceutically acceptable salt thereof

             Claim element 1[a] of the ’793 Patent is disclosed in the ’212 Patent. The ’212 Patent

 describes methods of delivering a therapeutically effective amount of benzindene prostaglandin




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   The ’033 Patent shares a specification with the ’212 patent. Thus, all references to the ’212
 patent in this section are equally applicable to the ’033 Patent.


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 (also known as “UT-15”) by inhalation to treat pulmonary hypertension in a single dose event.

 ’212 Patent, Abstract, 2:16-18, 2:66-3:5, 4:10-13, 4:41-54, 7:18-24. A POSA as of May 2006

 would have readily understood that “UT-15” is synonymous with treprostinil sodium, and that

 treprostinil is an analog of benzindene prostaglandin. 16

           Specifically, the ’212 Patent discloses “a method of treating pulmonary hypertension by

 inhalation of a benzindene prostaglandin” (id. at 7:18-20) or a “pharmaceutically acceptable salt”

 thereof (id. at 4:11-12). The ’212 Patent further states that the “benzindene prostaglandin is

 delivered by inhalation to a patient in need thereof in a ‘therapeutically effective amount.’” Id. at

 6:56-58. “A ‘therapeutically effective amount’ refers to that amount that has therapeutic effects

 on the condition intended to be treated or prevented.” Id. at 6:58-61. The ’212 Patent explains

 that “[t]he precise amount that is considered effective for a particular therapeutic purpose will, of

 course, depend upon the specific circumstances of the patient being treated and the magnitude of

 effect desired by the patient’s doctor.” Id. at 6:66-7:2. Accordingly, the ’212 patent teaches “[a]

 method of treating pulmonary hypertension comprising administering by inhalation to a human

 suffering from pulmonary hypertension a therapeutically effective single event dose of a

 formulation comprising treprostinil or a pharmaceutically acceptable salt thereof,” as recited claim

 element 1[a] of the ’793 Patent.

                                 (2)    Claim Element 1[b]

       1[b]     with an inhalation device,

           Claim element 1[b] of the ’793 Patent is disclosed in the ’212 Patent, which expressly

 discloses that an inhaler may be used to deliver the benzindene prostaglandin. ’212 Patent, 5:30-




 16
      See infra note 14.


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 32 (“Preferably, a nebulizer, inhaler, atomizer or aerosolizer is used[,] which forms droplets from

 a solution or liquid containing the active ingredient(s).”) (emphasis added). A POSA as of May

 2006 would have readily understood that an inhaler is an inhalation device.

                                (3)    Claim Element 1[c]

    1[c]       wherein the therapeutically effective single event dose comprises from 15
               micrograms to 90 micrograms of treprostinil or a pharmaceutically acceptable salt
               thereof

           Claim element 1[c] of the ’793 Patent is disclosed in the ’212 Patent, which teaches

 delivering “from 15 micrograms to 90 micrograms” of inhaled treprostinil.

           The ’212 Patent expressly discloses the claimed dosage amount of “from 15 micrograms

 to 90 micrograms of treprostinil or a pharmaceutically acceptable salt thereof.” The ’212 Patent

 states that “[i]n the case of treating peripheral vascular disease by inhalation of a benzindene

 prostaglandin of the present invention, the dosage for inhalation, taking into account that some

 of the active ingredient is breathed out and not taken into the bloodstream, should be sufficient to

 deliver an amount that is equivalent to a daily infusion dose in the range of 25 µg to 250 mg;

 typically from 0.5 µg to 2.5 mg, preferably from 7 µg to 285 µg, per day per kilogram

 bodyweight.” ’212 Patent, 5:54-62 (emphasis added); see also id. at Figs. 16, 18. The ’212 Patent

 further explains that inhaled UT-15 “has a greater potency as compared to intravascularly

 administered UT-15, since the actual amount of UT-15 delivered via aerosolization delivery is

 only a fraction (10-50%) of the dosage delivered intravascularly.” Id. at 8:9-18. A POSA would

 have been further informed by additional disclosures in the ’212 Patent that likewise teach the

 claimed dosage amount of “from 15 micrograms to 90 micrograms.” See, e.g., ’793 Patent at 9:4-

 9 (disclosing delivery of 262.5 micrograms of nebulized UT-15); see also id. at 11:7-13 (disclosing




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 delivery of 250, 500, and 1000 micrograms per kg of body weight per minute of aerosolized UT-

 15).

        Moreover, the ’212 Patent states that “[t]he precise amount that is considered effective for

 a particular therapeutic purpose will, of course, depend upon the specific circumstances of the

 patient being treated and the magnitude of effect desired by the patient’s doctor.” ’212 Patent,

 6:56-7:3; see also id. at 7:25-33; see also generally id. at 1:10-2:64. The ’212 Patent also states

 that the disclosed benzindene prostaglandin, UT-15, can be “given in high doses without

 significant non-lung effects.” Id. at 10:51-57 (“These data are important in that this would indicate

 that, unlike intravenously infused UT-15, aerosolized UT-15 can be given in high doses without

 significant non-lung effects, i.e., heart rate, cardiac output. The aerosol delivery of UT-15 for these

 experiments is approximately 15-27 times that of the effective minimal tested dose of 250 ng per

 kg per min shown in FIG. 16.”). These disclosures would have further motivated a POSA reading

 the ’212 Patent to administer inhaled treprostinil at a dosage amount of 15-90 micrograms, as

 claimed.

                                (4)     Claim Element 1[d]

    1[d]      delivered in 1 to 3 breaths.

        Claim element 1[d] of the ’793 Patent would have been obvious over the ’212 Patent in

 view of a POSA’s general knowledge in the field and/or by applying routine optimization.

        A POSA reading the ’212 Patent would have been motivated to minimize the number of

 breaths required for administration of treprostinil by inhalation, to increase patient compliance and

 convenience. See ’212 Patent, 11:7-13 (disclosing a per-minute delivery rate); see also id. at 13:6-

 8 (describing aerosolized UT-15 delivered for “4-5 minutes”). By May 2006, the general state of

 the art had established the safety and efficacy of inhaled therapeutics, including prostaglandin



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 analogs such as treprostinil, delivered over short periods of time. See, e.g., Chaudry 2004 at

 [0037]-[0038], [0067] (disclosing that delivery by inhalation “may take about . . . 3 minutes”); see

 also Ghofrani 2005 at p. 298 (“[I]t is technically feasible for there to be only one to two breaths in

 an application.”); see also Clark 1995, Abstract; see also Olschewski 2002 at Abstract, 328; see

 also Ventavis® Label 2004 at 4, 16; see also OptiNeb® User Manual 2005 at 28; Geller 2003 at

 Abstract; see also generally, supra, “Additional Background Prior Art” Section. A POSA would

 have been further aware of the problem of patient noncompliance to inhaled medications, and thus

 would have been encouraged to reduce the number of breaths required for drug delivery to increase

 patient compliance and treatment outcome. See, e.g., Bender 1997 at Abstract, 179-80; see also

 Olschewski 2002 at 328; Newmann at 63; Geller 2003 at Abstract; Geller 2005 at 1314, 1318.

 Accordingly, claim element 1[d] requiring “delivery in 1 to 3 breaths” would have been obvious

 over the ’212 Patent in view of a POSA’s general knowledge in the field.

        Relying on the ’212 Patent to deliver inhaled treprostinil in 1 to 3 breaths would have

 amounted to mere routine optimization that cannot save the ’793 Patent from obviousness. See,

 e.g., Genzyme Therapeutic Prods. L.P. v. Biomarin Pharm. Inc., 825 F.3d 1360, 1365, 1373 (Fed.

 Cir. 2016) (affirming decision finding dosing claims obvious when “the claimed dosing schedule

 would have been arrived at by routine optimization”); see also Hoffmann-La Roche Inc. v. Apotex

 Inc., 748 F.3d 1326, 1329-31 (Fed. Cir. 2014) (affirming decision finding dosing claims obvious

 because “a relatively infrequent dosing schedule has long been viewed as a potential solution to

 the problem of patient compliance”); see also Merck & Co., Inc. v. Teva Pharmaceuticals USA,

 Inc., 395 F.3d 1364, 1373 (Fed. Cir. 2005) (reversing decision to find claims obvious that covered

 slightly different dosages from those of the prior art). In fact, the ’212 Patent itself contemplates

 dose optimization as a matter of routine. ’212 Patent, 6:56-7:3, 7:25-33; see also generally id. at




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 1:10-2:64. A POSA therefore would have understood that the benzindene prostaglandin (i.e.,

 treprostinil) disclosed in the ’212 Patent could be “delivered in 1 to 3 breaths,” as claimed.

                         b.      Dependent Claims 4 and 6-8 Would Have Been Obvious

                                 (1)    Claim 4

      4        The method of claim 1, wherein the inhalation device is a dry powder inhaler.

          Claim 4 of the ’793 Patent is disclosed in the ’212 Patent, which discloses that an “inhaler”

 may be used to deliver the benzindene prostaglandin. ’212 Patent at 5:30-32. The ’212 Patent

 further states that “solid formulations, usually in the form of a powder, may be inhaled in

 accordance with the present invention.” Id. at 5:37-39. Accordingly, a POSA would have readily

 understood that the “inhaler” disclosed in the ’212 Patent could be used as a “dry powder inhaler,”

 as claimed, to deliver powder formulations.

                                 (2)    Claim 6

      6        The method of claim 1, wherein the formulation is a powder.

          Claim 6 of the ’793 Patent is disclosed in the ’212 Patent, which discloses that powder

 formulations may be used. ’212 Patent at 5:37-39 (“Alternatively, solid formulations, usually in

 the form of a powder, may be inhaled in accordance with the present invention.”). 17

                                 (3)    Claim 7

      7        The method of claim 1, wherein the powder comprises particles less than 5
               micrometers in diameter.




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    To the extent UTC contends that the ʼ212 Patent fails to describe a powder formulation of
 treprostinil administered in 1-3 breaths, the claims of the ʼ793 Patent are invalid under § 112, as
 described below.

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        Claim 7 of the ’793 Patent is disclosed in the ’212 Patent, which expressly discloses that

 “the particles are preferably less than 10 micrometers in diameter, and more preferably, less than

 5 micrometers in diameter.” ’212 Patent at 5:39-41.

                                (4)     Claim 8

    8         The method of claim 1, wherein the formulation contains no metacresol.

        Claim 8 of the ’793 Patent is disclosed in the ’212 Patent, which has no disclosure requiring

 the presence of metacresol in the described formulation. See generally ’212 Patent; see also, e.g.,

 id. at 4:47-54 (stating that the active ingredients include “liquid formulations comprising a

 benzindene prostaglandin, such as UT-15, alone or in combination with other active ingredients”)

 (emphasis added). The ’212 Patent therefore discloses a formulation of UT-15 (i.e., treprostinil)

 that contains no metacresol.

                        c.      Motivation to Modify the ’212 Patent to Arrive at “Delivered in
                                1 to 3 Breaths”

        As explained above in connection with claim element 1[d], a POSA would have been

 motivated to modify the ’212 Patent to arrive at the limitation reciting “delivered in 1 to 3 breaths.”

 See supra Section V.A.2.a.4. The relevant scientific literature was replete with teachings regarding

 the safe and effective administration of inhaled therapeutics, including prostaglandin analogs such

 as treprostinil. See, e.g., Chaudry 2004 at [0037]-[0038], [0067] (disclosing that “a therapeutically

 effective amount of a hypertension-reducing agent may include from about 0.001 mg/ml to about

 20 mg/ml” and that delivery by inhalation “may take about . . . 3 minutes”); see also Ghofrani

 2005 at p. 298 (disclosing administration of inhaled treprostinil at a dose of “15 mcg/inhalation”

 and that “it is possible to increase the dosage to up to 90 mcg”) (“[I]t is technically feasible for

 there to be only one to two breaths in an application.”); see also Clark 1995, Abstract; see also




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 Olschewski 2002 at Abstract, 328; see also Ventavis® Label 2004 at 4, 16; see also OptiNeb® User

 Manual 2005 at 28; see also generally, supra, “Additional Background Prior Art” Section.

        Additionally, the problem of patient nonadherence to inhaled medications was well-

 understood, and a POSA in May 2006 would have readily appreciated that reducing the number

 of breaths for drug delivery would increase patient compliance and, in turn, treatment outcome.

 See, e.g., Bender 1997 at Abstract, 179-80 (emphasizing the challenge of patient compliance to

 inhaled medications and its relationship to treatment outcome); see also Olschewski 2002 at 328

 (noting that “the duration of inhalation may be shortened considerably”); Newmann at 63; Geller

 2003, Abstract; Geller 2005 at 1314, 1318. Therefore, a POSA would have been encouraged to

 modify the teachings of the ’212 Patent to deliver inhaled treprostinil in 1 to 3 breaths. This

 modification would have represented mere routine optimization, which is not enough to save a

 claim from obviousness. See, e.g., Genzyme Therapeutic, 825 F.3d at 1365, 1373; see also

 Hoffmann-La Roche, 748 F.3d at 1329-31; see also Merck, 395 F.3d at 1373.

                        d.      Reasonable Expectation of Success in Modifying the ’212 Patent
                                to Arrive at “Delivered in 1 to 3 Breaths”

        Similarly, a POSA also would have had a reasonable expectation of success in modifying

 the ’212 Patent to arrive at the limitation reciting “delivered in 1 to 3 breaths.” For the same

 reasons set forth above, a POSA would have expected to succeed in reducing the number of breaths

 during administration of inhaled treprostinil, due to the general state of the art regarding the safety

 and efficacy of inhaled therapeutics and the known problem of patient noncompliance. See supra

 Section V.A.2.c; see also supra Section V.A.2.a.4. Further, the ʼ212 patent discloses that

 “aerosolized UT-15 has both greater potency and efficacy relative to attenuating chemically

 induced pulmonary hypertension,” and “greater potency as compared to intravascularly

 administered UT-15.” ʼ212 Patent, 8:5-12. As such, a POSA would readily conclude that a



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 “therapeutically effective” amount of treprostinil could be delivered via inhalation in 1-3 breaths.

 Additionally, relying on the ’212 Patent to deliver treprostinil in 1 to 3 breaths would have required

 only routine optimization, which would have further bolstered a POSA’s expectation of success.

 See id.

                    3.     Claims 1, 4, and 6-8 of the ’793 Patent Would Have Been Obvious over
                           the ’212 Patent in Combination with Voswinckel 2004

             The Asserted Claims of the ’793 Patent would have been obvious over the ’212 Patent 18

 in combination with Voswinckel 2004.

                           a.      Claims 1 Would Have Been Would Have Been Obvious

                                   (1)    Claim Element 1[a]

      1[a]        A method of treating pulmonary hypertension comprising administering by
                  inhalation to a human suffering from pulmonary hypertension a therapeutically
                  effective single event dose of a formulation comprising treprostinil or a
                  pharmaceutically acceptable salt thereof

             Claim element 1[a] the ’793 Patent is disclosed in the ’212 Patent, as described above in

 Section V.A.2.a.1.

                                   (2)    Claim Element 1[b]

      1[b]        with an inhalation device,

             Claim element 1[b] of the ’793 Patent is disclosed in the ’212 Patent, as described above

 in Section V.A.2.a.2.

                                   (3)    Claim Element 1[c]

      1[c]        wherein the therapeutically effective single event dose comprises from 15
                  micrograms to 90 micrograms of treprostinil or a pharmaceutically acceptable salt
                  thereof



 18
   The ’033 Patent shares a specification with the ’212 Patent. Thus, all references to the ’212
 Patent in this section are equally applicable to the ’033 Patent.


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        Claim element 1[c] of the ’793 Patent is disclosed in the ’212 Patent, as described above

 in Section V.A.2.a.3.

        To the extent that UT contends that the single event dose is not disclosed in the ’212 patent,

 this limitation is disclosed in Voswinckel 2004. As discussed below, claim 1 is therefore obvious

 over the ’212 Patent in combination with Voswinckel 2004. Voswinckel 2004 conducted a study

 of inhaled treprostinil in patients with severe pulmonary hypertension and states that “[p]atients

 received a TRE [inhaled treprostinil sodium] by use of the pulsed OptiNeb® ultrasound nebulizer

 (3 single breaths, TRE solution 600 µg/ml).” See Voswinckel 2004. A POSA reading Voswinckel

 2004 would have known that the OptiNeb® ultrasound nebulizer could deliver 15-90 micrograms

 of inhaled treprostinil, due to the variability in dosing provided by this device. See also, e.g.,

 OptiNeb® User Manual 2005. More specifically, as demonstrated by the Tyvaso prescribing

 information, the administration described in the Voswinckel 2004 paper delivers 18 micrograms

 in 3 breaths. See Tyvaso Label (2009) at 1 (“Initial dosage: 3 breaths (18 mcg) per treatment

 session. If 3 breaths are not tolerated, reduce to 1 or 2 breaths.”); see also id. at 1 (disclosing a

 treprostinil solution of “0.6 mg per mL,” i.e., 600 micrograms per mL); see also id. at 2 (“Tyvaso

 is intended for oral inhalation using the Tyvaso Inhalation System, which consists of the Optineb-

 ir Model ON-100/07 (an ultrasonic, pulsed-delivery device) and its accessories.”). Therefore, the

 claimed dosage amount would have been obvious over the ’212 Patent in combination with

 Voswinckel 2004. A POSA would have been motivated to combine the ’212 Patent with

 Voswinckel 2004 for the reasons set forth below in Sections V.A.3.a.4, V.A.3.c, and V.A.3.d.

                                (4)    Claim Element 1[d]

    1[d]      delivered in 1 to 3 breaths.




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        Claim element 1[d] of the ’793 Patent would have been obvious over the ’212 Patent in

 combination with Voswinckel 2004.

        Voswinckel 2004 states that “[p]atients received a TRE [inhaled treprostinil sodium] by

 use of the pulsed OptiNeb® ultrasound nebulizer (3 single breaths, TRE solution 600 µg/ml)” and

 further observes that “[t]olerability is excellent even at high drug concentrations and short

 inhalation times (3 breaths).” See Voswinckel 2004. A POSA also would have known, as

 explained above, that it would be desirable to reduce the number of breaths required for delivery

 of treprostinil by inhalation, to increase patient compliance and convenience. See, e.g., Bender

 1997 at Abstract, 179-80; see also Olschewski 2002 at 328; Newmann at 63; Geller 2003 at

 Abstract; Geller 2005 at 1314, 1318. Therefore, a POSA therefore would have been encouraged

 to apply the 3-breath delivery disclosure of Voswinckel 2004 to the teachings of the ’212 Patent.

 A POSA would have been further motivated to combine the ’212 Patent with Voswinckel 2004,

 and would have had a reasonable expectation of success in doing so, because both references are

 directed to the use of inhaled treprostinil (also known as benzindene prostaglandin UT-15), for the

 treatment of pulmonary hypertension. See, e.g., ’212 Patent, Abstract (disclosing “[a] method of

 delivering benzindene prostaglandins to a patient by inhalation” for the treatment of “pulmonary

 hypertension”); see also Voswinckel 2004 (titled “Inhaled Treprostinil Sodium (TRE) For the

 Treatment of Pulmonary Hypertension”). Moreover, Voswinckel 2004 discloses that delivery of

 inhaled treprostinil in 3 single breaths was successful, further confirming that a POSA would have

 had a reasonable expectation of successfully achieving the claimed invention. Id.

        Accordingly, claim element 1[d] would have been obvious over the combination of the

 ’212 Patent with Voswinckel 2004.

                       b.      Dependent Claims 4 and 6-8 Would Have Been Obvious

                               (1)     Claim 4


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    4        The method of claim 1, wherein the inhalation device is a dry powder inhaler.

        The additional limitation of claim 4 of the ’793 Patent is disclosed in the ’212 Patent, as

 described above.

                               (2)     Claim 6

    6        The method of claim 1, wherein the formulation is a powder.

        The additional limitation of claim 6 of the ’793 Patent is disclosed in the ’212 Patent, as

 described above.

                               (3)     Claim 7

    7        The method of claim 1, wherein the powder comprises particles less than 5
             micrometers in diameter.

        The additional limitation of claim 7 of the ’793 Patent is disclosed in the ’212 Patent, as

 described above.

                               (4)     Claim 8

    8        The method of claim 1, wherein the formulation contains no metacresol .

        The additional limitation of claim 8 of the ’793 Patent is disclosed in the ’212 Patent, as

 described above. Additionally, treprostinil was delivered without metacresol as disclosed in

 Voswinckel 2004.

                       c.      Motivation to Combine the ’212 Patent with Voswinckel 2004

        A POSA would have been motivated to combine the ’212 Patent with Voswinckel 2004 to

 arrive at the Asserted Claims of the ’793 Patent. Both the ’212 Patent and Voswinckel 2004 are

 directed to the use of inhaled treprostinil (also known as benzindene prostaglandin UT-15), for the

 treatment of pulmonary hypertension. See, e.g., ’212 Patent, Abstract (disclosing “[a] method of

 delivering benzindene prostaglandins to a patient by inhalation” for the treatment of “pulmonary



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 hypertension”); see also Voswinckel 2004 (titled “Inhaled Treprostinil Sodium (TRE) For the

 Treatment of Pulmonary Hypertension”). Indeed, Voswinckel 2004 puts into clinical practice the

 express teachings of the ʼ212 patent, with success. As such, a POSA would have been motivated

 to combine the teachings of the ’212 Patent to deliver treprostinil in 1 to 3 breaths due to the

 disclosure in Voswinckel 2004 that “[t]olerability is excellent even at high drug concentrations

 and short inhalation times (3 breaths).” See Voswinckel 2004 at Conclusion.

        Additionally, and as noted, the relevant scientific literature was replete with teachings

 regarding the safe and effective administration of inhaled therapeutics, including prostaglandin

 analogs. See, e.g., Chaudry 2004 at [0037]-[0038], [0067] (disclosing that “a therapeutically

 effective amount of a hypertension-reducing agent may include from about 0.001 mg/ml to about

 20 mg/ml” and that delivery by inhalation “may take about . . . 3 minutes”); see also Ghofrani

 2005 at p. 298 (disclosing administration of inhaled treprostinil at a dose of “15 mcg/inhalation”

 and that “it is possible to increase the dosage to up to 90 mcg”) (“[I]t is technically feasible for

 there to be only one to two breaths in an application.”); see also Clark 1995, Abstract; see also

 Olschewski 2002 at Abstract, 328; see also Ventavis® Label 2004 at 4, 16; see also OptiNeb® User

 Manual 2005 at 28; see generally, supra, “Additional Background Prior Art” Section.

        Further, the problem of patient nonadherence to inhaled medications was well-understood,

 and a POSA in May 2006 would have readily appreciated that reducing the number of breaths for

 drug delivery would increase patient compliance and, in turn, treatment outcome. See, e.g., Bender

 1997 at Abstract, 179-80 (emphasizing the challenge of patient compliance to inhaled medications

 and its relationship to treatment outcome); see also Olschewski 2002 at 328 (noting that “the

 duration of inhalation may be shortened considerably”); Newmann at 63; Geller 2003 at Abstract;

 Geller 2005 at 1318, 1318. Therefore, a POSA would have been encouraged to apply the 3-breath




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 delivery disclosure of Voswinckel 2004 to the teachings of the ’212 Patent to arrive at the

 limitation reciting “delivery in 1 to 3 breaths” claimed by the ’793 Patent.

                           d.     Reasonable Expectation of Success in Combining the ’212
                                  Patent with Voswinckel 2004

             Similarly, a POSA also would have had a reasonable expectation of success in combining

 the ’212 Patent with Voswinckel 2004 to arrive at the claimed treatment including delivery of 15-

 90 micrograms “in 1 to 3 breaths.” As noted, the ʼ212 Patent and Voswinckel 2004 are directed

 to solving the same problem, treatment of pulmonary hypertension, via the same means, inhaled

 treprostinil. For the same reasons set forth above, a POSA would have expected to succeed in

 reducing the number of breaths when delivering inhaled treprostinil, due to the general state of the

 art regarding the safety and efficacy of inhaled therapeutics, the known problem of patient

 noncompliance, and Voswinckel 2004’s explicit disclosure that administration of treprostinil was

 successful. See supra Section V.A.3.c. Therefore, a POSA would have had a reasonable

 expectation of success in applying the 3-breath delivery disclosure of Voswinckel 2004 to the

 teachings of the ’212 Patent.

                    4.     Claims 1, 4, and 6-8 of the ’793 Patent Would Have Been Obvious over
                           the ’212 Patent in Combination with Voswinckel 2006

             The Asserted Claims of the ’793 Patent would have been obvious over the ’212 Patent 19

 in combination with Voswinckel 2006.

                           a.     Claims 1 Would Have Been Would Have Been Obvious

                                  (1)    Claim Element 1[a]

      1[a]        A method of treating pulmonary hypertension comprising administering by
                  inhalation to a human suffering from pulmonary hypertension a therapeutically



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   The ’033 Patent shares a specification with the ’212 Patent. Thus, all references to the ’212
 Patent in this section are equally applicable to the ’033 Patent.


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                effective single event dose of a formulation comprising treprostinil or a
                pharmaceutically acceptable salt thereof

           Claim element 1[a] the ’793 Patent is disclosed in the ’212 Patent, as described above in

 Section V.A.2.a.1.

                                 (2)     Claim Element 1[b]

    1[b]        with an inhalation device,

           Claim element 1[b] of the ’793 Patent is disclosed in the ’212 Patent, as described above

 in Section V.A.2.a.2.

                                 (3)     Claim Element 1[c]

    1[c]        wherein the therapeutically effective single event dose comprises from 15
                micrograms to 90 micrograms of treprostinil or a pharmaceutically acceptable salt
                thereof

           Claim element 1[c] of the ’793 Patent is disclosed in the ’212 Patent, as described above

 in Section V.A.2.a.3. To the extent that UT contends that the ’212 Patent alone does not disclose

 the claimed dosage amount, this limitation would have been obvious over the ’212 Patent in

 combination with Voswinckel 2006. Claim 1 is therefore obvious over the ’212 Patent in

 combination with Voswinckel 2006.

           Voswinckel 2006 expressly discloses that treprostinil was “clinically effective, safe, and

 well tolerated when 15 µg was inhaled in 3 breaths 4 times daily.” Voswinckel 2006 at 150.

 Therefore, the claimed dosage amount would have been obvious over the ’212 Patent in

 combination with Voswinckel 2006. A POSA would have been motivated to combine this

 teaching from Voswinckel 2006 with the ’212 Patent for the reasons set forth below in Sections

 V.A.4.a.4, V.A.4.c, and V.A.4.d.




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                              (4)     Claim Element 1[d]

    1[d]     delivered in 1 to 3 breaths.

        Claim element 1[d] of the ’793 Patent would have been obvious over the ’212 Patent in

 combination with Voswinckel 2006.

        Voswinckel 2006 expressly discloses delivery of inhaled treprostinil “in 3 breaths.” See

 Voswinckel 2006 at 150. A POSA also would have known, as explained above, that it would be

 desirable to reduce the number of breaths required for delivery of treprostinil by inhalation, to

 increase patient compliance and convenience. See, e.g., Bender 1997 at Abstract, 179-80; see also

 Olschewski 2002 at 328; Newmann at 63; Geller 2003 at Abstract; Geller 2005 at 1314, 1318.

 Therefore, a POSA therefore would have been encouraged to apply the 3-breath delivery

 disclosure of Voswinckel 2006 to the teachings of the ’212 Patent. A POSA would have been

 further motivated to combine the ’212 Patent with Voswinckel 2006, and would have had a

 reasonable expectation of success in doing so, because both references are directed to the use of

 inhaled treprostinil (also known as benzindene prostaglandin UT-15), for the treatment of

 pulmonary hypertension. See, e.g., ’212 Patent, Abstract (disclosing “[a] method of delivering

 benzindene prostaglandins to a patient by inhalation” for the treatment of “pulmonary

 hypertension”); see also Voswinckel 2006 at 149 (titled “Inhaled Treprostinil for Treatment of

 Chronic Pulmonary Arterial Hypertension”). Moreover, Voswinckel 2006 discloses that delivery

 of inhaled treprostinil in 3 single breaths was successful, further confirming that a POSA would

 have had a reasonable expectation of successfully achieving the claimed invention. Id.

        Accordingly, claim element 1[d] would have been obvious over the combination of the

 ’212 Patent with Voswinckel 2006.

                       b.     Dependent Claims 4 and 6-8 Would Have Been Obvious



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                               (1)     Claim 4

    4        The method of claim 1, wherein the inhalation device is a dry powder inhaler.

        The additional limitation of claim 4 of the ’793 Patent is disclosed in the ’212 Patent, as

 described above.

                               (2)     Claim 6

    6        The method of claim 1, wherein the formulation is a powder.

        The additional limitation of claim 6 of the ’793 Patent is disclosed in the ’212 Patent, as

 described above.

                               (3)     Claim 7

    7        The method of claim 1, wherein the powder comprises particles less than 5
             micrometers in diameter.

        The additional limitation of claim 7 of the ’793 Patent is disclosed in the ’212 Patent, as

 described above.

                               (4)     Claim 8

    8        The method of claim 1, wherein the formulation contains no metacresol.

        The additional limitation of claim 8 of the ’793 Patent is disclosed in the ’212 Patent, as

 described above. Additionally, treprostinil was delivered without metacresol in Voswinckel 2006.

                       c.      Motivation to Combine the ’212 Patent with Voswinckel 2006

        A POSA would have been motivated to combine the ’212 Patent with Voswinckel 2006 to

 arrive at the Asserted Claims of the ’793 Patent. Both the ’212 Patent and Voswinckel 2006 are

 directed to the use of inhaled treprostinil (also known as benzindene prostaglandin UT-15), for the

 treatment of pulmonary hypertension. See, e.g., ’212 Patent, Abstract (disclosing “[a] method of

 delivering benzindene prostaglandins to a patient by inhalation” for the treatment of “pulmonary



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 hypertension”); see also Voswinckel 2006 at 149 (titled “Inhaled Treprostinil for Treatment of

 Chronic Pulmonary Arterial Hypertension”). Indeed, Voswinckel 2006 puts into clinical practice

 the express teachings of the ʼ212 patent, with success. As such, a POSA would have been

 motivated to combine the teachings of the ’212 Patent to deliver treprostinil in 1 to 3 breaths due

 to the disclosure in Voswinckel 2006 that treprostinil was “clinically effective, safe, and well

 tolerated when 15 µg was inhaled in 3 breaths 4 times daily.” See Voswinckel 2006 at 150.

        Additionally, as noted, the relevant scientific literature was replete with teachings

 regarding the safe and effective administration of inhaled therapeutics, including prostaglandin

 analogs. See, e.g., Chaudry 2004 at [0037]-[0038], [0067] (disclosing that “a therapeutically

 effective amount of a hypertension-reducing agent may include from about 0.001 mg/ml to about

 20 mg/ml” and that delivery by inhalation “may take about . . . 3 minutes”); see also Ghofrani

 2005 at p. 298 (disclosing administration of inhaled treprostinil at a dose of “15 mcg/inhalation”

 and that “it is possible to increase the dosage to up to 90 mcg”) (“[I]t is technically feasible for

 there to be only one to two breaths in an application.”); see also Clark 1995, Abstract; see also

 Olschewski 2002 at Abstract, 328; see also Ventavis® Label 2004 at 4, 16; see also OptiNeb® User

 Manual 2005 at 28; see generally, supra, “Additional Background Prior Art” Section.

        Further, the problem of patient nonadherence to inhaled medications was well-understood,

 and a POSA in May 2006 would have readily appreciated that reducing the number of breaths for

 drug delivery would increase patient compliance and, in turn, treatment outcome. See, e.g., Bender

 1997 at Abstract, 179-80 (emphasizing the challenge of patient compliance to inhaled medications

 and its relationship to treatment outcome); see also Olschewski 2002 at 328 (noting that “the

 duration of inhalation may be shortened considerably”); Newmann at 63; Geller 2003, Abstract;

 Geller 2005 at 1314, 1318. Therefore, a POSA would have been encouraged to apply the




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 disclosures of Voswinckel 2006 to the teachings of the ’212 Patent to arrive at the claimed dosage

 amount and “delivery in 1 to 3 breaths” limitation.

                         d.      Reasonable Expectation of Success in Combining the ’212
                                 Patent with Voswinckel 2006

           Similarly, a POSA also would have had a reasonable expectation of success in combining

 the ’212 Patent with Voswinckel 2006 to arrive at the limitation reciting “delivered in 1 to 3

 breaths.” As noted, the ʼ212 Patent and Voswinckel 2006 are directed to solving the same problem

 treatment of pulmonary hypertension, via the same means, inhaled treprostinil. For the same

 reasons set forth above, a POSA would have expected to succeed in reducing the number of breaths

 when delivering inhaled treprostinil, due to the general state of the art regarding the safety and

 efficacy of inhaled therapeutics, the known problem of patient noncompliance, and Voswinckel

 2006’s explicit disclosure that administration of treprostinil was successful. See supra Section

 V.A.4.c. Therefore, a POSA would have had a reasonable expectation of success in applying the

 disclosures of Voswinckel 2006 regarding dosage amount and number of breaths to the teachings

 of the ’212 Patent.

                  5.     Claim 1 of the ’793 Patent is Anticipated by Voswinckel 2006

           Claim 1 of the ’793 Patent is anticipated by Voswinckel 2006.

                         a.      Claim 1 is Anticipated

                                 (1)    Claim Element 1[a]

    1[a]        A method of treating pulmonary hypertension comprising administering by
                inhalation to a human suffering from pulmonary hypertension a therapeutically
                effective single event dose of a formulation comprising treprostinil or a
                pharmaceutically acceptable salt thereof

           Claim element 1[a] of the ’793 Patent is disclosed in Voswinckel 2006, which teaches the

 recited method of treating pulmonary hypertension. Voswinckel 2006 describes treating “three




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 patients with severe pulmonary hypertension” with “inhaled treprostinil.” Voswinckel 2006 at

 150. Voswinckel 2006 also describes “a single 15-µg dose of treprostinil, inhaled 3 breaths”

 inducing “highly pulmonary selective and sustained vasodilation” proving that “the drug was

 clinically effective” at the dosage and number of breaths. Voswinckel 2006 at 150 (emphasis

 added).

                                 (2)     Claim Element 1[b]

    1[b]        with an inhalation device,

           Claim element 1[b] of the ’793 Patent is disclosed in Voswinckel 2006, which expressly

 discloses “inhaled treprostinil” administered “through a modified OptiNeb ultrasonic inhalation

 device.” Id. (emphasis added).

                                 (3)     Claim Element 1[c]

    1[c]        wherein the therapeutically effective single event dose comprises from 15
                micrograms to 90 micrograms of treprostinil or a pharmaceutically acceptable salt
                thereof

           Claim element 1[c] of the ’793 Patent is disclosed in Voswinckel 2006, which specifically

 teaches that “a single 15-µg dose of treprostinil” was inhaled by patients “through a modified

 OptiNeb ultrasonic inhalation device.” Id.

                                 (4)     Claim Element 1[d]

    1[d]        delivered in 1 to 3 breaths.

           Claim element 1[d] of the ’793 Patent is disclosed in Voswinckel 2006 which specifically

 teaches that “15-µg dose of treprostinil” was inhaled by patients “in 3 breaths through a modified

 OptiNeb ultrasonic inhalation device.” Id. (emphasis added).

                  6.      Claims 4 and 6-8 of the ’793 Patent Would Have Been Obvious over
                          Voswinckel 2006 in Combination with the ’212 Patent



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        Claims 4 and 6-8 of the ’793 Patent would have been obvious over Voswinckel 2006 in

 combination with the ’212 Patent by May 15, 2006. All of the limitations of Claim 1 are disclosed

 by Voswinckel 2006, as described above. The additional limitations of the dependent claims 4

 and 6-8 are obvious over Voswinckel 2006 in combination with the ’212 Patent. A POSA would

 have motivated to modify Voswinckel 2006 with the ’212 Patent with a reasonable expectation of

 success as described below.

                        a.     Dependent Claims 4 and 6-8 Would Have Been Obvious

                               (1)     Claim 4

    4         The method of claim 1, wherein the inhalation device is a dry powder inhaler.

        Claim 4 of the ’793 Patent would have been obvious over Voswinckel 2006 in combination

 with the ’212 Patent, which discloses that an “inhaler” may be used to deliver its disclosed

 benzindene prostaglandin: UT-15 (i.e. treprostinil salt). ’212 Patent, 5:30-32. The ’212 Patent

 further states that “solid formulations, usually in the form of a powder, may be inhaled in

 accordance with the present invention.” Id. at 5:37-39. The “present invention” of the ’212 Patent

 includes the 15 µg disclosed dosage of Vowinckel 2006: “[i]n the case of treating peripheral

 vascular disease by inhalation of a benzindene prostaglandin of the present invention, the dosage

 for inhalation, taking into account that some of the active ingredient is breathed out and not taken

 into the bloodstream, should be sufficient to deliver an amount that is equivalent to a daily

 infusion dose in the range of 25 µg to 250 mg; typically from 0.5 µg to 2.5 mg, preferably from

 7 µg to 285 µg, per day per kilogram bodyweight.” ’212 Patent, 5:54-62 (emphasis added); see

 also id. at Figs. 16, 18. Voswinckel 2006 teaches that those dosages can be administered in 3

 breaths.




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        Accordingly, a POSA would have readily understood that “inhaled treprostinil” dosage and

 breath disclosure of Voswinckel 2006 could be expanded to use in a “dry powder inhaler” as

 disclosed by the ’212 Patent. A POSA would have been motivated to do so because dry powder

 inhalers were well-known to be very portable and quick to use, breath-actuated, could be designed

 as single-dose or multi-dose devices, provided the “lowest cost dose,” and were easier for patients

 (especially children) to use than the pulsed ultrasonic nebulizer disclosed in Voswinckel 2006.

 Newman at 58, 61-62, 63; Geller 2005 at 1316-17; see also Frijlink and De Boer, “Dry powder

 inhalers for pulmonary drug delivery,” Expert Opinion on Drug Delivery, 1:1, pp. 67-86 (2004) at

 81 (“Advantages such as the potential ability to generate high FPFs and a relatively high lung

 deposition, fast and easy administration, the ability to prepare stable formulations (compared with

 solutions), and the fact that DPIs are breath-actuated and easily portable, justify their existence.”).

 A POSA would have had a reasonable expectation of success in using a dry powder inhaler,

 because the ʼ212 patent discloses the use of such a device to deliver inhaled treprostinil.

        To the extent a POSA would not have a reasonable expectation of success in converting

 Voswinckel 2006’s dosing regimen from a pulsed ultrasonic nebulizer to a dry powder inhaler,

 claim 4 of the ’793 Patent is invalid for lack of enablement and written description, because, as

 discussed in Sections V.B.1.a and V.B.2.a below, the ’793 Patent does not disclose or enable

 converting treprostinil delivery between the two inhalation devices.

                                (2)     Claim 6

    6         The method of claim 1, wherein the formulation is a powder.

        Claim 6 of the ’793 Patent would have been obvious over Voswinckel 2006 in combination

 with the ’212 Patent, which discloses that powder formulations may be used. ’212 Patent, 5:37-

 39 (“Alternatively, solid formulations, usually in the form of a powder, may be inhaled in



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 accordance with the present invention.”). A POSA would have been motivated to convert

 Voswinckel 2006’s treprostinil solution to a powder because powders were known to be more

 stable formulations than solutions by May 2006. See Frijlink and De Boer, “Dry powder inhalers

 for pulmonary drug delivery,” Expert Opinion on Drug Delivery, 1:1, pp. 67-86 (2004) at 81. A

 POSA would have had a reasonable expectation of success in doing so because converting a

 solution to dry powder was well known by 2006, and the ʼ212 patent discloses that treprostinil can

 be formulated as a powder for delivery by inhalation. See, e.g., Chew and Chan, “Pharmaceutical

 Dry Powder Aerosol Delivery,” KONA No. 19, pp. 46-56 (2001), available at

 https://www.jstage.jst.go.jp/article/kona/19/0/19_2001010/_pdf,    at   51-53   (“Preparation   of

 Powders” section).

        To the extent a POSA would not have a reasonable expectation of success in converting

 Voswinckel 2006’s treprostinil formulation to a powder, claim 6 of the ’793 Patent is invalid for

 lack of enablement and written description, because, as discussed in Sections V.B.1.a and V.B.2.a

 below, the ’793 Patent does not disclose or enable converting treprostinil delivery between the two

 inhalation devices.

                               (3)     Claim 7

    7        The method of claim 1, wherein the powder comprises particles less than 5
             micrometers in diameter.

        Claim 7 of the ’793 Patent would have been obvious over Voswinckel 2006 in combination

 with the ’212 Patent, which expressly discloses that “the particles are preferably less than 10

 micrometers in diameter, and more preferably, less than 5 micrometers in diameter.” ’212 Patent,

 5:39-41. Further, it was generally known in the art that “inhaler devices should deliver particles

 smaller than approximately 5 µm in diameter in order to enter the lungs.” Newman at 58.

                               (4)     Claim 8


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    8           The method of claim 1, wherein the formulation contains no metacresol.

           Claim 8 of the ’793 Patent is disclosed in Voswinckel 2006 and in the ’212 Patent as

 discussed above.      Moreover, claim 8 woul dhave been obvious over Voswinckel 2006 in

 combination with the ’212 Patent, as Voswinckel 2006 does not disclose the presence of

 metacresol in the described formulation of “inhaled treprostinil,” and the ’212 Patent discloses that

 the active ingredients include “liquid formulations comprising a benzindene prostaglandin, such

 as UT-15, alone or in combination with other active ingredients.” See generally Voswinckel 2006;

 see also, e.g., ’212 Patent at 4:47-54 (emphasis added). Voswinckel 2006 in combination with the

 ’212 Patent therefore discloses a formulation of treprostinil that contains no metacresol.

                  7.     Claim 1 of the ’793 Patent Would Have Been Obvious over Voswinckel
                         2004 Alone

           Claim 1 of the ’793 Patent would have been obvious over Voswinckel 2004 by May 15,

 2006.

                         a.     Claims 1 Would Have Been Would Have Been Obvious

                                (1)    Claim Element 1[a]

    1[a]        A method of treating pulmonary hypertension comprising administering by
                inhalation to a human suffering from pulmonary hypertension a therapeutically
                effective single event dose of a formulation comprising treprostinil or a
                pharmaceutically acceptable salt thereof

           Claim element 1[a] the ’793 Patent would have been obvious over Voswinckel 2004, which

 teaches the recited method of treating pulmonary hypertension. Voswinckel 2004 describes

 treating “17 patients with severe pulmonary hypertension” with “Inhaled Treprostinil Sodium

 (TRE).” Voswinckel 2004 at Title, Methods. Voswinckel 2004 also describes a single event dose

 of “3 breaths” of “TRE solution 600 µg/ml” having “strong pulmonary selective vasodilatory

 efficacy with a long duration of effect following single acute dosing.” Id. at Methods, Conclusion.



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                                 (2)     Claim Element 1[b]

    1[b]        with an inhalation device,

           Claim element 1[b] of the ’793 Patent would have been obvious over the Voswinckel 2004,

 which expressly discloses “inhaled TRE” through “the use of the pulsed OptiNeb® ultrasound

 nebulizer.” Id. at Methods. A POSA as of May 2006 would have readily understood that this

 nebulizer is an inhalation device.

                                 (3)     Claim Element 1[c]

    1[c]        wherein the therapeutically effective single event dose comprises from 15
                micrograms to 90 micrograms of treprostinil or a pharmaceutically acceptable salt
                thereof

           Claim element 1[c] of the ’793 Patent would have been obvious over Voswinckel 2004,

 which teaches the claimed dosage amount for inhaled treprostinil. Voswinckel 2004 discloses

 treating patients with a single event dose of “TRE solution 600 µg/ml” through the use of the

 pulsed OptiNeb® ultrasound nebulizer. A POSA would understand that a patient taking 1 to 3

 breaths of such a solution through a pulsed OptiNeb® ultrasound nebulizer would inhale between

 15 and 90 micrograms of treprostinil.

                                 (4)     Claim Element 1[d]

    1[d]        delivered in 1 to 3 breaths.

           Claim element 1[d] of the ’793 Patent would have been obvious over Voswinckel 2004,

 which discloses treating patients with a single event dose of “3 breaths.” Voswinckel 2004 at

 Methods.


                  8.      Claims 1, 4, and 6-8 of the ’793 Patent Would Have Been Obvious Over
                          Voswinckel 2004 in Combination with the ’212 Patent




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           The Asserted Claims of the ’793 Patent would have been obvious over Voswinckel 2004

 in combination with the ’212 Patent by May 15, 2006. A POSA would have motivated to modify

 Voswinckel 2004 with the ’212 Patent with a reasonable expectation of success as described for

 the relevant limitations below.

                         a.      Claims 1 Would Have Been Would Have Been Obvious

                                 (1)    Claim Element 1[a]

    1[a]        A method of treating pulmonary hypertension comprising administering by
                inhalation to a human suffering from pulmonary hypertension a therapeutically
                effective single event dose of a formulation comprising treprostinil or a
                pharmaceutically acceptable salt thereof

           As explained above, claim element 1[a] of the ’793 Patent is disclosed in both Voswinckel

 2004 and the ’212 Patent.

                                 (2)    Claim Element 1[b]

    1[b]        with an inhalation device,

           As explained above, claim element 1[b] of the ’793 Patent is disclosed in both Voswinckel

 2004 and the ’212 Patent.

                                 (3)    Claim Element 1[c]

    1[c]        wherein the therapeutically effective single event dose comprises from 15
                micrograms to 90 micrograms of treprostinil or a pharmaceutically acceptable salt
                thereof

           Claim element 1[c] of the ’793 Patent would have been obvious over Voswinckel 2004 in

 combination with the ’212 Patent.

           Voswinckel 2004 discloses treating patients with a single event dose of “TRE solution 600

 µg/ml” in “3 breaths” and teaches that this dose was effective in showing “strong pulmonary

 selective vasodilatory efficacy . . . following single acute dosing.’ Voswinckel 2004 at Methods,



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 Conclusion. A POSA would understand Voswinckel 2004’s disclosure of a single event dose of

 “3 breaths” of inhaled treprostinil having “strong pulmonary selective vasodilatory efficacy with

 a long duration of effect following single acute dosing” to mean that 3 breaths delivered an amount

 of the drug to be effective in treating pulmonary hypertension.

        The ’212 Patent expressly discloses that an effective amount of inhaled treprostinil is “from

 15 micrograms to 90 micrograms of treprostinil or a pharmaceutically acceptable salt thereof.”

 Specifically, the ’212 Patent states that “[i]n the case of treating peripheral vascular disease by

 inhalation of a benzindene prostaglandin of the present invention, the dosage for inhalation,

 taking into account that some of the active ingredient is breathed out and not taken into the

 bloodstream, should be sufficient to deliver an amount that is equivalent to a daily infusion

 dose in the range of 25 µg to 250 mg; typically from 0.5 µg to 2.5 mg, preferably from 7 µg to

 285 µg, per day per kilogram bodyweight.” ’212 Patent, 5:54-62 (emphasis added); see also id. at

 Figs. 16, 18. The ’212 Patent further explains that inhaled UT-15 “has a greater potency compared

 to intravascularly administered UT-15, since the actual amount of UT-15 delivered via

 aerosolization delivery is only a fraction (10-50%) of the dosage delivered intravascularly.” Id. at

 8:9-18. A POSA would have been further informed by additional disclosures in the ’212 Patent

 that likewise teach the claimed dosage amount of “from 15 micrograms to 90 micrograms.” See,

 e.g., id. at 9:4-9 (disclosing delivery of 262.5 micrograms of nebulized UT-15); see also id. at

 11:7-13 (disclosing delivery of 250, 500, and 1000 micrograms per kg of body weight per minute

 of aerosolized UT-15). Accordingly, a POSA reading Voswinckel 2004’s disclosure of 3 breaths

 with the effects described in Voswinckel 2004’s conclusion would understand that the treprostinil

 was delivered within the claimed dosage range.




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        A POSA would have been motivated to combine the Voswinckel 2004’s breath disclosure

 with the dosage disclosure in the ’212 Patent, because both references are directed to the use of

 inhaled treprostinil sodium (also known as benzindene prostaglandin UT-15), for the successful

 treatment of pulmonary hypertension. See, e.g., ’212 Patent, Abstract (disclosing “[a] method of

 delivering benzindene prostaglandins to a patient by inhalation” for the treatment of “pulmonary

 hypertension”); see also Voswinckel 2004 (titled “Inhaled Treprostinil Sodium (TRE) For the

 Treatment of Pulmonary Hypertension”).

        Further, the general state of the art would have further motivated a POSA to combine the

 teachings of Voswinckel 2004 with those of the ’212 Patent. The relevant scientific literature was

 replete with teachings regarding the safe and effective administration of inhaled therapeutics,

 including prostaglandin analogs. See, e.g., Chaudry 2004 at [0037]-[0038], [0067] (disclosing that

 “a therapeutically effective amount of a hypertension-reducing agent may include from about

 0.001 mg/ml to about 20 mg/ml” and that delivery by inhalation “may take about . . . 3 minutes”);

 see also Ghofrani 2005 at p. 298 (disclosing administration of inhaled treprostinil at a dose of “15

 mcg/inhalation” and that “it is possible to increase the dosage to up to 90 mcg”) (“[I]t is technically

 feasible for there to be only one to two breaths in an application.”); see also Clark 1995, Abstract;

 see also Olschewski 2002 at Abstract, 328; see also Ventavis® Label 2004 at 4, 16; see also

 OptiNeb® User Manual 2005 at 28; see generally, supra, “Additional Background Prior Art”

 section.

        A POSA also would have had a reasonable expectation of success in combining

 Voswinckel 2004 with the ’212 Patent to arrive at the Asserted Claims of the ’793 Patent. As

 noted, the two references pertain to the effective and improved use of inhaled treprostinil to treat

 pulmonary hypertension. See, e.g., ’212 Patent, Abstract; see also Voswinckel 2004 at Title. In




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 fact, Voswinckel 2004 expressly states that “[t]olerability is excellent even at high drug

 concentrations and short inhalation times (3 breaths).” See Voswinckel 2004 at Conclusion. A

 POSA therefore would have expected success when modifying the Voswinckel 2004 to deliver

 treprostinil in 3 breaths at the effective dosage amounts disclosed in the ’212 Patent.

                               (4)     Claim Element 1[d]

    1[d]      delivered in 1 to 3 breaths.

        Claim element 1[d] of the ’793 Patent is disclosed in Voswinckel 2004, which discloses

 treating patients with a single event dose of “3 breaths.” Voswinckel 2004 at Methods.

                        b.     Dependent Claims 4 and 6-8 Would Have Been Obvious

                               (1)     Claim 4

    4         The method of claim 1, wherein the inhalation device is a dry powder inhaler.

        Claim 4 of the ’793 Patent would have been obvious over Voswinckel 2004 in combination

 with the ’212 Patent, which discloses that an “inhaler” may be used to deliver the benzindene

 prostaglandin. ’212 Patent, 5:30-32. The ’212 Patent further states that “solid formulations,

 usually in the form of a powder, may be inhaled in accordance with the present invention.” Id. at

 5:37-39. The ’212 Patent specifically teaches the claimed dosages to be effective in treating

 inhaled treprostinil, and Voswinckel 2004 teaches that those dosages can be administered in 3

 breaths. Accordingly, a POSA would have readily understood that “inhaled treprostinil” dosage

 and breath disclosure of Voswinckel 2004 could be expanded to use in “dry powder inhaler” as

 disclosed by the ’212 Patent. A POSA would have been motivated to do so because dry powder

 inhalers were well-known to be very portable and quick to use, breath-actuated, could be designed

 as single-dose or multi-dose devices, provided the “lowest cost dose,” and were easier for patients

 (especially children) to use than the pulsed ultrasonic nebulizer disclosed in Voswinckel 2006.



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 Newman at 58, 61-62, 63; Geller 2005 at 1316-17; see also Frijlink and De Boer, “Dry powder

 inhalers for pulmonary drug delivery,” Expert Opinion on Drug Delivery, 1:1, pp. 67-86 (2004) at

 81 (“Advantages such as the potential ability to generate high FPFs and a relatively high lung

 deposition, fast and easy administration, the ability to prepare stable formulations (compared with

 solutions), and the fact that DPIs are breath-actuated and easily portable, justify their existence.”).

        To the extent a POSA would not have a reasonable expectation of success in converting

 Voswinckel 2004’s dosing regimen from a pulsed ultrasonic nebulizer to a dry powder inhaler,

 claim 4 of the ’793 Patent is invalid for lack of enablement and written description, because, as

 discussed in Sections V.B.1.a and V.B.2.a below, the ’793 Patent does not disclose or enable

 converting treprostinil delivery between the two inhalation devices.

                                (2)     Claim 6

    6         The method of claim 1, wherein the formulation is a powder.

        Claim 6 of the ’793 Patent would have been obvious over Voswinckel 2004 in combination

 with the ’212 Patent, which discloses that powder formulations may be used. ’212 Patent, 5:37-

 39 (“Alternatively, solid formulations, usually in the form of a powder, may be inhaled in

 accordance with the present invention.”). A POSA would have been motivated to convert

 Voswinckel 2004’s treprostinil solution to a powder because powders were known to be more

 stable formulations than solutions by May 2006. See Frijlink and De Boer, “Dry powder inhalers

 for pulmonary drug delivery,” Expert Opinion on Drug Delivery, 1:1, pp. 67-86 (2004) at 81. A

 POSA would have had a reasonable expectation of success in doing so converting a solution to dry

 powder was well known by 2006.          See, e.g., Chew and Chan, “Pharmaceutical Dry Powder

 Aerosol     Delivery,”      KONA        No.      19,    pp.     46-56     (2001),      available     at




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 https://www.jstage.jst.go.jp/article/kona/19/0/19_2001010/_pdf,      at   51-53   (“Preparation   of

 Powders” section).

        To the extent a POSA would not have a reasonable expectation of success in converting

 Voswinckel 2004’s treprostinil formulation to a powder, claim 6 of the ’793 Patent is invalid for

 lack of enablement and written description, because, as discussed in Sections V.B.1.b and V.B.2.b

 below, the ’793 Patent does not disclose or enable making a treprostinil powder formulation.

                                (3)    Claim 7

    7         The method of claim 1, wherein the powder comprises particles less than 5
              micrometers in diameter.

        Claim 7 of the ’793 Patent would have been obvious over Voswinckel 2004 in combination

 the ’212 Patent, which expressly discloses that “the particles are preferably less than 10

 micrometers in diameter, and more preferably, less than 5 micrometers in diameter.” ’212 Patent,

 5:39-41. Further, it was generally known in the art that “inhaler devices should deliver particles

 smaller than approximately 5 µm in diameter in order to enter the lungs.” Newman at 58.

                                (4)    Claim 8

    8         The method of claim 1, wherein the formulation contains no metacresol.

        Claim 8 of the ’793 Patent is disclosed in Voswinckel 2004 and in the ’212 Patent as

 discussed above.     Moreover, claim 8 would have been obvious over Voswinckel 2004 in

 combination with the ’212 Patent, as Voswinckel 2004 does not disclose the presence of

 metacresol in the described formulation of “inhaled treprostinil,” and the ’212 Patent discloses that

 the active ingredients include “liquid formulations comprising a benzindene prostaglandin, such

 as UT-15, alone or in combination with other active ingredients.” See generally Voswinckel 2004;

 ’212 Patent; see also, e.g., ’212 Patent at 4:47-54 (emphasis added). Voswinckel 2004 in




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 combination with the ’212 Patent therefore discloses a formulation of treprostinil that contains no

 metacresol.

                 9.     No Evidence of Objective Indicia of Nonobviouness (Secondary
                        Considerations)

        To date, UT has put forth no secondary indicia of nonobviousness that would overcome

 the strong prima facie case of obviousness presented herein. When, as here, the invention

 represents no more than the “predictable use of prior art elements according to their established

 functions,” the secondary considerations are inadequate to establish nonobviousness as a matter of

 law. See, e.g., Wyers v. Master Lock Co., 616 F.3d 1231, 1245 (Fed. Cir. 2010). In this case,

 Liquidia is not aware of any secondary considerations sufficient to overcome the strong showing

 of prima facie obviousness.       To the extent UTC identifies any evidence of secondary

 considerations of nonobviousness, Liquidia reserves the right to respond and present evidence to

 the contrary.

        B.       To the Extent UTC Contends that the ’793 Patent is Nonobvious, Claims 1, 4,
                 and 6-8 Are Invalid Under 35 U.S.C. § 112

        To the extent that UTC contends that the Asserted Claims of the ’793 Patent are

 nonobvious, claims 1, 4, and 6-8 are invalid under 35 U.S.C. § 112 for lack of written description

 support and lack of enablement. The legal standards for written description and enablement under

 § 112 are set forth above in Section II.C.

                 1.     Claims 1, 4, and 6-8 Lack Written Description Support

                        a.     The Limitation Reciting “15 micrograms to 90 micrograms . . .
                               delivered in 1 to 3 breaths” Lacks Written Description Support
                               as to Claims 1, 4, and 6-8

        Independent claim 1 of the ’793 Patent requires administering “from 15 micrograms to 90

 micrograms of treprostinil or a pharmaceutically acceptable salt thereof delivered in 1 to 3

 breaths.” ’793 Patent, claim 1. Claims 4 and 6-7 depend from claim 1 and further recite,


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 respectively, “wherein the inhalation device is a dry powder inhaler,” “wherein the formulation is

 a powder,” and “wherein the powder comprises particles less than 5 micrometers in diameter.” Id.

 at claims 4, 6-7. As such, claim 1 and claim 8, which depends from claim 1, must be construed

 broadly enough to include the use of a dry powder formulation and DPI delivering 15 to 90

 micrograms. However, the specification of the ’793 Patent contains only a single statement

 regarding dry powder formulations and dry powder inhalers. Id. at 7:22-26 (“The inhalation device

 can also be a dry powder inhaler. In such case, the respiratory drug is inhaled in solid formulation,

 usually in the form of a powder with particle size less than 10 micrometers in diameter or less than

 5 micrometers in diameter.”).

        During prosecution of a related patent, U.S. Patent No. 9,358,240 (“the ’240 Patent”), UTC

 filed a declaration of Dr. Edmund J. Elder, Jr., to overcome the Examiner’s prior art rejections.

 ’240 File History, 02/02/2016 Declaration under 37 C.F.R. § 1.132 of Dr. Edmund J. Elder, Jr. In

 his declaration, Dr. Elder noted that delivery of the drug through a “single event,” as claimed here

 by the ’793 Patent, depends upon a number of factors associated with the nebulizer, including “fill

 volume” and “dead volume,” which are in turn used to calculate the “delivered volume.” Id. at ¶¶

 8, 11-12. However, all of the doses and examples disclosed in the ’793 Patent are directed to

 aerosolized solutions—not dry powder formulations. See ’793 Patent, 8:56-18:11. Moreover, the

 discussion of the doses needed and concentrations of treprostinil are in the context of metered dose

 inhalers, which utilize solutions rather than dry powder formulations. See, e.g., ’793 Patent, 7:45-

 53. The ’793 Patent does not disclose the dosage amount of powder formulation needed for

 administration via a dry powder inhaler—much less any experimental data to support the claim

 language reciting “dry powder inhaler” and “powder” formulations. In fact, the specification is

 lacking any details or guidance as to the dosage amount or number of breaths required to treat




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 pulmonary hypertension using a powder formulation administered with a dry powder inhaler, as

 claimed.

        Accordingly, a POSA reading the specification of the ’793 Patent would conclude that the

 inventors were not in possession of a method of treatment using a dry powder inhaler to deliver a

 powder formulation at the claimed dosage amount of 15-90 micrograms delivered in 1 to 3 breaths.

 The specification’s sole generic disclosure regarding dry powder formulations and dry powder

 inhalers is not sufficient to allow a POSA to recognize that the inventor actually invented what is

 claimed, particularly in light of Dr. Elder’s testimony during prosecution of a related patent. The

 ’793 Patent fails to describe what the dry powder formulation is, much less how to formulate

 treprostinil into a dry powder. The specification is completely lacking in working examples of

 delivering 15-90 micrograms of powder treprostinil in 1 to 3 breaths using a dry powder inhaler.

 In fact, to our knowledge, Liquidia’s LIQ861 product “will be the first-to-market inhaled dry

 powder treprostinil that can be delivered using a convenient, palm-sized, disposable DPI.” See

 D.I. 31-1 (Exhibits to UTC’s Motion to Dismiss Counterclaims) at 32. Thus, claims 1, 4, and 6-8

 are invalid for lack of written description.

                        b.      The Limitations Reciting “Powder” in Claims 1, 4, and 6-8 Lack
                                Written Description Support

        As noted, claims 4 and 6-7 of the ’793 Patent recite, respectively, “wherein the inhalation

 device is a dry powder inhaler,” “wherein the formulation is a powder,” and “wherein the powder

 comprises particles less than 5 micrometers in diameter.” ’793 Patent, claims 4, 6-7. Claims 4

 and 6-8 ultimately depend from claim 1. Accordingly, claims 1 and 8 must be construed to include

 the use of a powder formulation and DPI. However, the specification of the ’793 Patent contains

 only a single statement regarding dry powder formulations and dry powder inhalers. Id. at 7:22-

 26 (“The inhalation device can also be a dry powder inhaler. In such case, the respiratory drug is



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 inhaled in solid formulation, usually in the form of a powder with particle size less than 10

 micrometers in diameter or less than 5 micrometers in diameter.”). This bare disclosure is not

 sufficient to convey to a POSA that the inventors were in possession of a method of treatment

 using a dry powder in haler to deliver a powder formulation, particularly in light of Dr. Elder’s

 testimony described above. Indeed, the ’793 Patent fails to describe what the dry powder

 formulation is, much less how to formulate treprostinil into a dry powder. The specification is

 completely lacking in working examples of delivering powder treprostinil using a dry powder

 inhaler. In fact, to our knowledge, Liquidia’s LIQ861 product “will be the first-to-market inhaled

 dry powder treprostinil that can be delivered using a convenient, palm-sized, disposable DPI.” See

 D.I. 31-1 (Exhibits to UTC’s Motion to Dismiss Counterclaims) at 32. Thus, claims 1, 4, and 6-8

 are invalid for lack of written description.

                2.      Claims 1, 4, and 6-8 Are Not Enabled

                        a.      The Limitation Reciting “15 micrograms to 90 micrograms . . .
                                delivered in 1 to 3 breaths” Is Not Enabled as to Claims 1, 4, and
                                6-8

        Independent claim 1 of the ’793 Patent requires administering “from 15 micrograms to 90

 micrograms of treprostinil or a pharmaceutically acceptable salt thereof delivered in 1 to 3

 breaths.” ’793 Patent, claim 1. Claims 4 and 6-8 depend from claim 1 and further recite,

 respectively, “wherein the inhalation device is a dry powder inhaler,” “wherein the formulation is

 a powder,” “wherein the powder comprises particles less than 5 micrometers in diameter,” and

 “wherein the formulation contains metacresol.” Id. at claims 4, 6-8. As such, claim 1 must be

 construed broadly enough to include the use of a dry powder formulation and DPI delivering 15

 to 90 micrograms. However, as noted above, the specification of the ’793 Patent contains only a

 single statement regarding dry powder formulations and dry powder inhalers. Id. at 7:22-26 (“The

 inhalation device can also be a dry powder inhaler. In such case, the respiratory drug is inhaled in


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 solid formulation, usually in the form of a powder with particle size less than 10 micrometers in

 diameter or less than 5 micrometers in diameter.”). Further, the ’793 Patent fails to describe what

 the dry powder formulation is, much less how to formulate treprostinil into a dry powder. The

 specification is completely lacking in working examples of delivering 15-90 micrograms of

 powder treprostinil in 1 to 3 breaths using a dry powder inhaler. In fact, to our knowledge,

 Liquidia’s LIQ861 product “will be the first-to-market inhaled dry powder treprostinil that can be

 delivered using a convenient, palm-sized, disposable DPI.” See D.I. 31-1 (Exhibits to UTC’s

 Motion to Dismiss Counterclaims) at 32.

        During prosecution of a related patent, U.S. Patent No. 9,358,240 (“the ’240 Patent”), UTC

 filed a declaration of Dr. Edmund J. Elder, Jr., to overcome the Examiner’s prior art rejections.

 ’240 File History, 02/02/2016 Declaration under 37 C.F.R. § 1.132 of Dr. Edmund J. Elder, Jr. In

 his declaration, Dr. Elder noted that delivery of the drug through a “single event,” as claimed here

 by the ’793 Patent, depends upon a number of factors associated with the nebulizer, including “fill

 volume” and “dead volume,” which are in turn used to calculate the “delivered volume.” Id. at ¶¶

 8, 11-12. However, all of the doses and examples disclosed in the ’793 Patent are directed to

 aerosolized solutions—not dry powder formulations. See ’793 Patent, 8:56-18:11. Moreover, the

 discussion of the doses needed and concentrations of treprostinil are in the context of metered dose

 inhalers, which utilize solutions rather than dry powder formulations. See, e.g., ’793 Patent, 7:45-

 53. The ’793 Patent does not disclose the dosage amount of powder formulation needed for

 administration via a dry powder inhaler. The ’793 Patent does not disclose the dosage amount of

 powder formulation needed for administration via a dry powder inhaler—much less any

 experimental data to support the claim language reciting “dry powder inhaler” and “powder”

 formulations. In fact, the specification is lacking any details or guidance as to the dosage amount




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 or number of breaths required to treat pulmonary hypertension using a powder formulation

 administered with a dry powder inhaler, as claimed.

        Accordingly, claims 1, 4, and 6-8 of the ’793 Patent are not enabled because the

 specification does not provide sufficient guidance as to the concentration and amount of

 treprostinil powder formulation that would be needed to obtain a dose of 15-90 micrograms in 1-

 3 breaths, as claimed. Instead, a POSA would be required to undergo undue experimentation to

 practice the invention recited in claims 1, 4, and 6-8 of the ’793 Patent.

        Applying the eight Wands factors in sequential order, and taking into account UTC’s prior

 representations to the Patent Office through the testimony of Dr. Elder, the specification of the

 ’793 Patent would not enable a POSA to treat patients with pulmonary hypertension by

 administering 15-90 micrograms of powder formulation of treprostinil in 1 to 3 breaths using a dry

 powder inhaler.

       Wands Factor                 Application to Claims 1, 4, and 6-8 of the ’793 Patent

                               Guided by just one generic disclosure relating to dry powder
                               inhalers and powder formulations (and no disclosure regarding the
                               corresponding dosage amount and number of breaths), a POSA
                               would have to engage in significant amounts of experimentation to
                               discern the dosage amount and number of breaths required to
  Quantity of                  administer a powder formulation of treprostinil with a dry powder
  Experimentation              inhaler for the treatment of pulmonary hypertension. For example,
  Necessary                    a POSA would have to conduct extensive experimentation to
                               determine the “fill volume,” “dead volume,” and “delivered
                               volume” required to deliver an effective amount of powder
                               treprostinil by inhalation. See ’240 File History, 02/02/2016
                               Declaration under 37 C.F.R. § 1.132 of Dr. Edmund J. Elder, Jr., at
                               ¶¶ 8, 11-12.

                               As discussed above, the specification provides only one vague
                               disclosure relating to dry powder inhalers and powder formulations.
  Amount of Guidance or        The specification is completely silent as to the dosage amount or
  Direction Presented          number of breaths required to treat pulmonary hypertension using
                               these claimed powder formulations administered by dry powder
                               inhalers. The amount of guidance is therefore non-existent.


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                             Besides the brief disclosure that “[t]he inhalation device can also be
                             a dry powder inhaler” where treprostinil is “usually in the form of a
  Presence or Absence of
                             powder” (’793 Patent, 7:22-26), the specification is completely
  Working Examples
                             lacking in working examples of delivering 15-90 micrograms of
                             powder treprostinil in 1 to 3 breaths using a dry powder inhaler.

                             During prosecution of a related patent, UTC noted that drug
                             delivery through a “single event,” as claimed here by the ’793
                             Patent, depends upon a number of factors associated with the
                             nebulizer, including “fill volume” and “dead volume,” which are in
  Nature of the Invention    turn used to calculate the “delivered volume.” See ’240 File
                             History, 02/02/2016 Declaration under 37 C.F.R. § 1.132 of Dr.
                             Edmund J. Elder, Jr., at ¶¶ 8, 11-12. Accordingly, to the extent UTC
                             argues that claims 4 and 6-8 would have been nonobvious, the
                             nature of the invention was one of great uncertainty.

                             According to UTC, the prior art reference Chaudry 2004 “does little
                             to provide guidance to one of skill in the art if attempting to
                             determine a ‘single event dose’ for the treprostinil formulation,” as
                             claimed by the ’793 Patent. See ’240 File History, 02/02/2016
                             Declaration under 37 C.F.R. § 1.132 of Dr. Edmund J. Elder, Jr., at
                             ¶ 10. “Instead, Chaudry provides a variety of possible permutations
  State of the Prior Art     and combinations of variables, leaving one of ordinary skill in the
                             art with no starting point from which to determine who to achieve a
                             specific outcome.” Id. at ¶ 26. To the extent UTC argues that
                             claims 1, 4, and 6-8 would have been nonobvious, without guidance
                             as to the multiple “[i]mportant factors influencing the total dose
                             delivered to a patient’s airways” (in UTC’s own words), the state of
                             the prior art was very limited. See id. at ¶ 11.

  Relative Skill of Those in Given the medical subject matter of the Asserted Claims, the level
  the Art                    of skill of those in the art would be relatively high.

                             During prosecution of a related patent, UTC highlighted the
                             unpredictable nature of determining dosage amounts for drugs
                             delivered by inhalation. See ’240 File History, 02/02/2016
  Predictability or          Declaration under 37 C.F.R. § 1.132 of Dr. Edmund J. Elder, Jr., at
  Unpredictability of the    ¶¶ 8, 11-12 (identifying multiple factors affecting drug delivery via
  Art                        nebulizer, including “fill volume” and “dead volume,” which are in
                             turn used to calculate “delivered volume”). Accordingly, to the
                             extent UTC argues that claims 1, 4, and 6- would have been
                             nonobvious, the art was highly unpredictable.

  Breadth of the Claims      Claims 1, 4, and 6-8 are extremely broad, as the claimed dosage
                             range of 15 to 90 micrograms is very wide, and the claims provide




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                              no details regarding how much treprostinil in the form of a powder
                              is required to treat pulmonary hypertension.


        Applying all eight Wands factors, the ’793 Patent fails to enable a person of ordinary skill

 in the art to practice claims 1, 4, and 6-8. Thus, claims 1, 4, and 6-8 are invalid for lack of

 enablement.

                         b.    The Limitations Reciting “Powder” in Claims 1, 4, and 6-8 Are
                               Not Enabled

        As noted, claims 4 and 6-8 of the ’793 Patent recite, respectively, “wherein the inhalation

 device is a dry powder inhaler,” “wherein the formulation is a powder,” and “wherein the powder

 comprises particles less than 5 micrometers in diameter.” ’793 Patent, claims 4, 6-8. Claims 4

 and 6-8 ultimately depend from claim 1. Accordingly, claims 1 and 8 must be construed to include

 the use of a powder formulation and DPI. However, the specification of the ’793 Patent contains

 only a single statement regarding dry powder formulations and dry powder inhalers. Id. at 7:22-

 26 (“The inhalation device can also be a dry powder inhaler. In such case, the respiratory drug is

 inhaled in solid formulation, usually in the form of a powder with particle size less than 10

 micrometers in diameter or less than 5 micrometers in diameter.”). This bare disclosure is not

 sufficient to enable a POSA to practice claims 1, 4, and 6-8, which require a “powder” formulation

 of treprostinil, particularly in light of Dr. Elder’s testimony described above. Further, the ’793

 Patent fails to describe what the dry powder formulation is, much less how to formulate treprostinil

 into a dry powder. The specification is completely lacking in working examples of delivering

 powder treprostinil using a dry powder inhaler. In fact, to our knowledge, Liquidia’s LIQ861

 product “will be the first-to-market inhaled dry powder treprostinil that can be delivered using a

 convenient, palm-sized, disposable DPI.” See D.I. 31-1 (Exhibits to UTC’s Motion to Dismiss

 Counterclaims) at 32.


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        Accordingly, claims 1, 4, and 6-8 of the ’793 Patent are not enabled because the

 specification does not provide sufficient guidance regarding how to treat pulmonary hypertension

 with the claimed powder formulation and/or using a dry powder inhaler. Instead, a POSA would

 be required to undergo undue experimentation to practice the invention recited in claims 1, 4, and

 6-8 of the ’793 Patent.

        Applying the eight Wands factors in sequential order, and taking into account UTC’s prior

 representations to the Patent Office through the testimony of Dr. Elder, the specification of the

 ’793 Patent would not enable a POSA to treat patients with pulmonary hypertension by

 administering a powder formulation of treprostinil using a dry powder inhaler.

       Wands Factor                Application to Claims 1, 4, and 6-8 of the ’793 Patent

                              Guided by just one generic disclosure, a POSA would have to
                              engage in significant amounts of experimentation to formulate the
                              claimed powder formulation for the treatment of pulmonary
  Quantity of                 hypertension using a dry powder inhaler. For example, a POSA
  Experimentation             would have to conduct extensive experimentation to determine the
  Necessary                   “fill volume,” “dead volume,” and “delivered volume” required to
                              deliver an effective amount of powder treprostinil by inhalation.
                              See ’240 File History, 02/02/2016 Declaration under 37 C.F.R. §
                              1.132 of Dr. Edmund J. Elder, Jr., at ¶¶ 8, 11-12.

                              As discussed above, the specification provides only one vague
  Amount of Guidance or
                              disclosure relating to dry powder inhalers and powder formulations.
  Direction Presented
                              The amount of guidance is therefore minimal at best.

                              Besides the brief disclosure that “[t]he inhalation device can also be
                              a dry powder inhaler” where treprostinil is “usually in the form of a
  Presence or Absence of
                              powder” (’793 Patent, 7:22-26), the specification is completely
  Working Examples
                              lacking in working examples of delivering powder treprostinil using
                              a dry powder inhaler.

                              During prosecution of a related patent, UTC noted that drug
                              delivery through a “single event,” as claimed here by the ’793
  Nature of the Invention     Patent, depends upon a number of factors associated with the
                              nebulizer, including “fill volume” and “dead volume,” which are in
                              turn used to calculate the “delivered volume.” See ’240 File
                              History, 02/02/2016 Declaration under 37 C.F.R. § 1.132 of Dr.


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                               Edmund J. Elder, Jr., at ¶¶ 8, 11-12. Accordingly, to the extent UTC
                               argues that claims 4 and 6-8 would have been nonobvious, the
                               nature of the invention was one of great uncertainty.

                               According to UTC, the prior art reference Chaudry 2004 “does little
                               to provide guidance to one of skill in the art if attempting to
                               determine a ‘single event dose’ for the treprostinil formulation,” as
                               claimed by the ’793 Patent. See ’240 File History, 02/02/2016
                               Declaration under 37 C.F.R. § 1.132 of Dr. Edmund J. Elder, Jr., at
                               ¶ 10. “Instead, Chaudry provides a variety of possible permutations
  State of the Prior Art       and combinations of variables, leaving one of ordinary skill in the
                               art with no starting point from which to determine who to achieve a
                               specific outcome.” Id. at ¶ 26. To the extent UTC argues that
                               claims 1, 4, and 6-8 would have been nonobvious, without guidance
                               as to the multiple “[i]mportant factors influencing the total dose
                               delivered to a patient’s airways” (in UTC’s own words), the state of
                               the prior art was very limited. See id. at ¶ 11.

  Relative Skill of Those in Given the medical subject matter of the Asserted Claims, the level
  the Art                    of skill of those in the art would be relatively high.

                               During prosecution of a related patent, UTC highlighted the
                               unpredictable nature of determining dosage amounts for drugs
                               delivered by inhalation. See ’240 File History, 02/02/2016
  Predictability or            Declaration under 37 C.F.R. § 1.132 of Dr. Edmund J. Elder, Jr., at
  Unpredictability of the      ¶¶ 8, 11-12 (identifying multiple factors affecting drug delivery via
  Art                          nebulizer, including “fill volume” and “dead volume,” which are in
                               turn used to calculate “delivered volume”). Accordingly, to the
                               extent UTC argues that claims 1, 4, and 6-8 would have been
                               nonobvious, the art was highly unpredictable.

                               Claims 1, 4, and 6-8 are extremely broad, as they provide no details
  Breadth of the Claims        regarding how much treprostinil in the form of a powder is required
                               to treat pulmonary hypertension.


        Applying all eight Wands factors, the ’793 Patent fails to enable a person of ordinary skill

 in the art to practice claims 1, 4, and 6-8. Thus, claims 4 and 6-8 are invalid for lack of enablement.

 VI.    CONCLUSION

        Based upon the information presently available to Liquidia, and based upon Liquidia’s

 initial understanding of the scope and construction of the Asserted Claims of the Asserted Patents,




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 and of UTC’s apparent positions concerning the scope and construction of the Asserted Claims of

 the Asserted Patents, the Asserted Claims of the Asserted Patents are invalid at least for the reasons

 set forth above and based on the production that will accompany these Preliminary Invalidity

 Contentions. Discovery and Liquidia’s investigation are ongoing, and Liquidia reserves the right

 to modify and/or supplement its Preliminary Invalidity Contentions.




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                                           /s/ Nathan R. Hoeschen
                                           Karen E. Keller (No. 4489)
 OF COUNSEL:                               Jeff Castellano (No. 4837)
                                           Nathan R. Hoeschen (No. 6232)
 Sanya Sukduang                            SHAW KELLER LLP
 Jonathan R. Davies                        I.M. Pei Building
 COOLEY LLP                                1105 North Market Street, 12th Floor
 1299 Pennsylvania Avenue, NW Suite 700    Wilmington, DE 19801
 Washington, DC 20004-2400                 (302) 298-0700
 (202) 776-2982                            kkeller@shawkeller.com
 (202) 776-2049                            jcastellano@shawkeller.com
                                           nhoeschen@shawkeller.com
 Erik Milch                                Attorneys for Defendant Liquidia Technologies,
 COOLEY LLP                                Inc.
 One Freedom Square
 Reston Town Center
 11951 Freedom Drive
 Reston, VA 20190-5656
 (703) 456-8000

 Ivor Elrifi
 COOLEY LLP
 55 Hudson Yards
 New York, NY 10001-2157
 (212) 479-6840

 Lauren Krickl
 Deepa Kannappan
 COOLEY LLP
 3175 Hanover Street
 Palo Alto, CA 94304-1130
 (650) 843-5065
 (650) 843-5673

 Dated: November 13, 2020




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                                 CERTIFICATE OF SERVICE

        I, Nathan R. Hoeschen, hereby certify that on November 13, 2020, this document was

 served on the persons listed below in the manner indicated:


         BY EMAIL
         Jack B. Blumenfeld                            Douglas H. Carsten
         Michael J. Flynn                              Joshua Mack
         MORRIS, NICHOLS, ARSHT & TUNNELL LLP          WILSON SONSINI GOODRICH &ROSATI
         1201 North Market Street                      12235 EL Camino Real
         P.O. Box 1347                                 San Diego, CA 92130
         Wilmington, DE 19899                          (858) 350-2300
         (302) 658-9200                                dcarsten@wsgr.com
         jblumenfeld@mnat.com                          jmack@wsgr.com
         mflynn@mnat.com
                                                       Adam W. Burrowbridge
                                                       WILSON SONSINI GOODRICH &ROSATI
         William C. Jackson
                                                       1700 K Street NW, 5th Floor
         BOIES SCHILLER FLEXNER LLP
                                                       Washington, DC 20006-3814
         1401 New York Avenue NW                       (202) 973-8800
         Washington, DC 20005                          aburrowbridge@wsgr.com
         (202) 237-2727
         wjackson@bsfllp.com



                                                     /s/ Nathan R. Hoeschen
                                                     Karen E. Keller (No. 4489)
                                                     Jeff Castellano (No. 4837)
                                                     Nathan R. Hoeschen (No. 6232)
                                                     SHAW KELLER LLP
                                                     I.M. Pei Building
                                                     1105 North Market Street, 12th Floor
                                                     Wilmington, DE 19801
                                                     (302) 298-0700
                                                     kkeller@shawkeller.com
                                                     jcastellano@shawkeller.com
                                                     nhoeschen@shawkeller.com
                                                     Attorneys for Defendant Liquidia
                                                     Technologies, Inc.




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                       EXHIBIT 43
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                     IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF DELAWARE

 UNITED THERAPEUTICS
 CORPORATION,

                   Plaintiff,
          v.                              C.A. No. 20-755-RGA-JLH

 LIQUIDIA TECHNOLOGIES, INC.,

                   Defendant.


                 DEFENDANT LIQUIDIA TECHNOLOGIES, INC.’S
               FIRST SUPPLEMENTAL INVALIDITY CONTENTIONS
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        Defendant Liquidia Technologies, Inc. (“Liquidia”) hereby submits these Supplemental

 Invalidity Contentions pursuant to Paragraph 4(d) of the Delaware Default Standard for Discovery

 and Section (3)(g)(i) of the Scheduling Order (D.I. 20) with respect to all claims of U.S. Patent

 Nos. 9,593,066 (“the ’066 Patent”), 9,604,901 (“the ’901 Patent”), and 10,716,793 (“the ’793

 Patent”) (collectively, “the Asserted Patents”) asserted by United Therapeutics Corp. (“UTC” or

 “Plaintiff”), in UTC’s Preliminary Infringement Contentions dated October 16, 2020. Specifically,

 UTC asserted infringement of claims 1-3, 6, and 8-9 of the ’066 Patent; claims 1-4, 6, and 8 of the

 ’901 Patent; and claims 1, 4, and 6-8 of the ’793 Patent (collectively, “the Asserted Claims”).

 I.     GENERAL INFORMATION

        These contentions are based on information reasonably available to Liquidia at this time,

 and may require subsequent amendment, alteration or supplementation. Consequently, Liquidia

 reserves the right to amend, alter, or supplement these contentions based on further investigation,

 fact or expert discovery, evaluation of the scope and content of the prior art, any claim construction

 from the Court, or as a result of UTC’s Asserted Claims and contentions. Moreover, these

 contentions may be in the alternative and do not substitute any concession by Liquidia for the

 purposes of claim construction or infringement. See Fed. R. Civ. P. 8(d).

        In these Supplemental Invalidity Contentions, Liquidia has identified specific

 combinations of primary and secondary prior art references upon which it intends to rely.

 However, there is a large volume of background art relevant to invalidity, on which Liquidia relies

 but for which Liquidia could not possibly provide written explanations of every possible

 combination.    Accordingly, Liquidia expressly reserves its right to rely on combinations not

 expressly set forth herein.

        Liquidia also attempted to identify the most relevant portions of each prior art reference

 upon which it intends to rely. Given the number of relevant passages within each prior art


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 reference, Liquidia could not possibly identify every single passage that may be relevant to its

 invalidity positions. Accordingly, Liquidia expressly reserves the right to rely upon additional

 portions of the cited prior art references but has made a good faith effort to identify representatively

 relevant passages.

         Furthermore, these contentions are provided without prejudice to Liquidia’s right to

 introduce at trial any subsequently discovered evidence or expert opinions relating to currently-

 known facts and to produce and introduce at trial all evidence, whenever discovered, relating to

 the proof of subsequent discovered facts. Moreover, facts, documents and things now known may

 be imperfectly understood and, accordingly, such facts, documents and things may not be included

 in the following contentions. Liquidia reserves the right to refer to, conduct discovery with

 reference to, or offer into evidence at the time of trial, any and all facts, expert opinion testimony,

 documents and things notwithstanding the written statements herein. Liquidia further reserves its

 right to refer to, conduct discovery with reference to, or offer into evidence at the time of trial, any

 and all facts, documents and things that are not currently recalled but might be recalled at some

 time in the future.

         The information set forth below is provided without waiving: (1) the right to object to the

 use of any statement for any purpose, in this action or any other action, on the grounds of privilege,

 relevance, materiality, or any other appropriate grounds; (2) the right to object to any request

 involving or relating to the subject matter of the statements herein; or (3) the right to revise, correct,

 supplement, or clarify any of the statements provided below at any time.

         Liquidia reserves the right to allege the invalidity of the Asserted Claims on bases other

 than those disclosed herein.




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        A.      Identification of Asserted Claims

        On October 16, 2020, UTC provided its Preliminary Infringement Contentions pursuant to

 the Scheduling Order and the Default Standard for Discovery. In UTC’s Preliminary Infringement

 Contentions, UTC asserts that the manufacturing of the active pharmaceutical ingredient for

 Liquidia’s Proposed NDA Product that is subject of Liquidia’s NDA No. 213005 under § 505(b)(2)

 of the Federal Food, Drug and Cosmetic Act to the United States Food and Drug Administration,

 in accordance with the protocol referenced in Liquidia’s NDA and described in Drug Master File

 No. 27680, infringes claims 1-3, 6, and 8-9 of the ’066 Patent and claims 1-4, 6, and 8 of the ’901

 Patent. UTC further alleges that the drug product that is the subject of Liquidia’s NDA, when used

 in the intended manner and as taught in Liquidia’s proposed label and package insert, infringes

 claims 1, 4, and 6-8 of the ’793 Patent. In view of UTC’s Preliminary Infringement Contentions,

 the following invalidity contentions address the Asserted Claims of the Asserted Patents.

 II.    U.S. PATENT NO. 9,593,066

        The ’066 Patent issued March 14, 2017 from Application No. 14/849,981, filed September

 10, 2015. See ’066 Patent at 1. Application No. 14/849,981 is a divisional of Application

 No. 13/933,623, filed on July 2, 2013, now Patent No. 9,156,786, which is a continuation of

 Application No. 13/548,446, filed on July 13, 2012, now Patent No. 8,497,393, which is a

 continuation of Application No. 12/334,731, filed on December 15, 2008, now Patent No.

 8,242,305. Id. The ’066 Patent claims priority to provisional application No. 61/014,232, filed

 December 17, 2007. Id.

        The ’066 Patent allegedly discloses an “improved process” to prepare prostacyclin

 derivatives such as treprostinil. Id. at Abstract. Claim 1 is a product-by-process claim drawn to a

 pharmaceutical composition comprising treprostinil or a pharmaceutically acceptable salt thereof.



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 Claim 8 is drawn to a process of preparing the same product from claim 1, comprising the steps of

 alkylation of an intermediate triol to form a treprostinil salt. Id. at cols. 17-18, claims 1 and 8.

        Asserted Claim 1 recites the following:

        1[a] 1 A pharmaceutical composition comprising treprostinil or a pharmaceutically

        acceptable salt thereof, said composition prepared by a process comprising

        1[b] providing a starting batch of treprostinil having one or more impurities

        resulting from prior alkylation and hydrolysis steps,

        1[c] forming a salt of treprostinil by combining the starting batch and a base,

        1[d] isolating the treprostinil salt, and

        1[e] preparing a pharmaceutical composition comprising treprostinil or a

        pharmaceutically acceptable salt thereof from the isolated treprostinil salt,

        1[f] whereby a level of one or more impurities found in the starting batch of

        treprostinil is lower in the pharmaceutical composition, and

        1[g] wherein said alkylation is alkylation of benzindene triol.

        Asserted dependent claims 2, 3, and 6 are directed towards pharmaceutical compositions

 of claim 1, wherein the salt is isolated in crystalline form (claim 2); the base is selected from a

 group consisting of sodium, ammonia, potassium, calcium, ethanolamine, diethanolamine, N-

 methylglucamine, and choline (claim 3); and the isolated salt is stored at ambient temperature

 (claim 6).

        Asserted Claim 8 recites the following:




 1
   The bracketed letters have been added for ease of review and to distinguish among the various
 limitations.
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        8[a] A process of preparing a pharmaceutical product comprising treprostinil or a

        pharmaceutically acceptable salt thereof, comprising

        8[b] alkylating a triol intermediate of the formula:




        8[c] hydrolyzing the resulting compound to form treprostinil,

        8[d] forming a salt of treprostinil stable at ambient temperature,

        8[e] storing the treprostinil salt at ambient temperature, and

        8[f] preparing a pharmaceutical product from the treprostinil salt after storage,

        8[g]     wherein   the   pharmaceutical product comprises treprostinil or           a

        pharmaceutically acceptable salt thereof.

        Asserted dependent claim 9 is directed toward a pharmaceutical product prepared by the

 process of claim 8.

        These Supplemental Invalidity Contentions establish that claims 1-3, 6, and 9 of the ’066

 Patent are invalid as anticipated under 35 U.S.C. § 102(b). Claims 1-3, 6, and 8-9 of the ’066

 Patent are unpatentable as obvious under 35 U.S.C. § 103. Moreover, these Supplemental

 Invalidity Contentions show that the Asserted Claims of the ’066 Patent are also invalid under 35

 U.S.C. § 112.




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        A.      Scope and Content of the Prior Art for the ’066 and ’901 Patents

                1.      Phares 2005

                        a.      Disclosures

        Phares 2005 is titled “Compounds and Methods for Delivery of Prostacyclin Analogs.”

 Int’l App. No. PCT/US2004/016401 (“Phares 2005”). The named inventors are Ken Phares and

 David Mottola. Phares 2005 was published January 27, 2005 and is prior art to the ’066 and ’901

 Patents under 35 U.S.C. §§ 102(a), (b), and (e). The ’066 and ’901 Patents seek the benefit of

 provisional application No. 61/014,232, filed on December 17, 2007.

        Phares 2005 describes “compounds and methods for inducing prostacyclin-like effects in

 a subject or a patient,” including treprostinil and derivatives thereof. Id. at 8. The chemical

 structure of treprostinil is shown below:




 Id. Phares 2005 explains that “[t]reprostinil is a chemically stable analog of prostacyclin, and as

 such is a potent vasodilator and inhibitor of platelet aggregation.” Id.

        Phares 2005 further discloses that “[a] preferred embodiment of the present invention is

 the diethanolamine salt of treprostinil.” Id. at 9. A particularly preferred embodiment of the

 invention disclosed in Phares 2005 is “[F]orm B of treprostinil diethanolamine.” Id. The structure

 of treprostinil diethanolamine salt described by Phares 2005 is reproduced below:




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 Id. at 96 (claim 49). Phares 2005 discloses two crystalline forms of treprostinil diethanolamine

 salt, Form A and Form B. Id. at 85-89. The crystalline Form B “appears to be the most

 thermodynamically stable form” with “full conversion to Form B at ambient, 15° C, and 30° C

 after 7 days, 11 days, and 1 day, respectively.” Id. at 89.

        Phares 2005 teaches that “treprostinil as the free acid has an absolute oral bioavailability

 of less than 10%.” Id. at 2. However, Phares 2005 specifically discloses a clinical study that

 determined treprostinil diethanolamine has an oral bioavailability of 21-25% when delivered in

 0.2-2.0 mg doses—a greater than 100% increase compared to treprostinil free acid. Id. at 83.

 Based on that study, Phares 2005 additionally noted that the “safety profile with UT-15C

 (treprostinil diethanolamine) is consistent with the reported safety profile and product labeling of

 Remodulin (treprostinil sodium) and other prostacyclin analogs.” Id.

        Phares 2005 further “provides for compositions which may be prepared by mixing one or

 more compounds of the instant invention, or pharmaceutically acceptable salts thereof, with

 pharmaceutically acceptable carriers, excipients, binders, diluents or the like, to treat or ameliorate


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 a variety of disorders related vasoconstriction and/or platelet aggregation.” Id. at 48. Thus, the

 pharmaceutical acceptability of the compounds is clearly disclosed in Phares 2005.

                        b.     Phares 2005 Teaches (+)-Treprostinil Synthesis

        Phares 2005 teaches the synthesis of (+)-treprostinil. First, Phares 2005 discloses that

 synthesis of (+)-treprostinil, labeled as compound 1, was already well-known, and that its sodium

 salt had already been approved by the FDA for treatment of pulmonary hypertension. Phares 2005

 at 8-9. Indeed, the ’066 and ’901 Patent specifications state that “[t]reprostinil, the active

 ingredient in Remodulin®, was first described in U.S. Patent No. 4,306,075. Treprostinil, and

 other prostacyclin derivatives have been prepared as described in Moriarty, et al in J. Org. Chem.

 2004, 69, 1890-1902, Drug of the Future, 2001, 26(4), 364-374, U.S. Patent Nos. 6,441,245,

 6,528,688, 6,765,117 and 6,809,223.” ’066 Patent at 1:27-32.

        Second, Phares 2005 expressly discloses the synthesis of (-)-treprostinil, the enantiomer of

 (+)-treprostinil. Phares 2005 at 39-40. In particular, Phares 2005 teaches that “the enantiomer of

 the commercial drug (+)-Treprostinil was synthesized using the stereoselective intramolecular

 Pauson Khand reaction as a key step and Mitsunobu inversion of the side-chain hydroxyl group.”

 Id. at 40. Phares 2005 discloses the following reaction procedure (outlined in the red-dotted square

 below) for the synthesis of compound 2, the enantiomer of treprostinil, from benzindene triol 11b

 (outline in the red-dotted square below):




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 Id.

        The reaction procedure for the conversion of 11b to 2 is disclosed in Phares 2005 as: “(l) i.

 ClCH2CN, K2CO3. ii, KOH, CH3OH, reflux. 83% (2 steps).” Id. Steps (i) to (k) shown above

 result in treprostinil triol (the precursor for treprostinil), and step (l) converts the precursor

 (benzindene triol) into treprostinil. Phares 2005 thus discloses how to get from benzindene triol

 to (-)-treprostinil, the enantiomer of (+)-treprostinil.    A POSA would know that the two

 enantiomers of treprostinil could be synthesized using the same achiral reagents starting with either

 enantiomer of the benzindene triol starting material. See Gao, K., “Synthesis of A-Galceramides,

 (-)-Treprostinil, and Design and Synthesis of Anti-Viral Agents,” Thesis submitted as partial

 fulfillment of the requirements for the degree of Doctor Of Philosophy in Chemistry in the

 Graduate College of the University of Illinois at Chicago, 2006 at 182.

        Phares 2005 further explains how the enantiomer of (-)-treprostinil, or (+)-treprostinil, can

 by synthesized. A POSA would understand from this disclosure that in order to synthesize (+)-

 treprostinil, it would follow the same steps as disclosed in Phares 2005 only using achiral reagents.

 One of Dr. Robert Moriarty’s graduate students at the University of Illinois at Chicago,


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 Dr. Kuangqiang Gao, published his doctoral thesis in 2006 on the synthesis of, among other

 compounds, (-)-treprostinil and related derivatives using synthetic routes known to reach (+)-

 treprostinil. Gao at iii (acknowledging Dr. Moriarty as doctoral advisor), 168-92 (describing

 known syntheses of (+)-treprostinil and corresponding synthesis of (-)-treprostinil). Of note,

 Dr. Gao, under Dr. Moriarty’s supervision, wrote that “(-)-Treprostinil is the enantiomer of (+)-

 Treprostinil,” and “in principle, any synthesis for (+)-Treprostinil can be employed to prepare

 another enantiomer by altering the stereochemistry of starting material and reagents.” Id. at

 182 (emphasis added). Applying the same “principle,” any synthesis for (-)-treprostinil, such as

 that disclosed in Phares 2005, can be employed to prepare another enantiomer (i.e., (+)-treprostinil)

 by altering the stereochemistry of starting material and reagents.

        The process of using achiral reagents 2 to synthesize enantiomeric products from

 enantiomeric starting materials was also well known in the art. For example, Yadav describes how

 to synthesize enantiomeric compounds: 1a, (+)-altholactone and its enantiomer 1b, (-)-

 altholactone; and 2a, (+)-isoaltholactone, and its enantiomer, 2b, (-)-isoaltholactone, respectively.

 Yadav, J.S., et al., “A concise and stereoselective synthesis of both enantiomers of altholactone

 and isoaltholactone,” Tetrahedron Letters, 44:5831-33 (2003) at 5831. To perform this synthesis,

 Yadav describes enantiomeric starting materials, epoxy esters 7a and 7b, which are transformed

 using the same achiral reagent, OsO4, NMO. Id. at 5832 (“Epoxy ester 7b was transformed in a




 2
  An “achiral reagent” is one that is itself not chiral, and is therefore superimposable on its mirror
 image in three-dimensional space, where a POSA would understand that a “chiral” molecule is
 one that is not superimposable on its mirror image. See RICHARD J. LEWIS, SR., HAWLEY’S
 CONDENSED CHEMICAL DICTIONARY (15th ed. 2007) Hawley’s Condensed Chemical Dictionary,
 15th ed. (2007) at 270 (defining “chiral” as “[i]n chemistry this term describes asymmetric
 molecules that are mirror images of each other, i.e., they are related like right and left hands. Such
 molecules are also called enantiomers and are characterized by optical activity.”).
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 similar fashion to afford 1a and 2b as illustrated in Scheme 3.”). When the achiral reagent is

 applied to materials that are enantiomers, Yadav teaches that the resulting products are

 enantiomeric compounds, which are formed in the same ratios. This is illustrated in Schemes 2

 and 3 (Yadav at 5832), reproduced below:

                                            Scheme 2




                                            Scheme 3




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          Yadav therefore teaches that Phares 2005 discloses the synthesis of (+)-treprostinil through

 disclosing the synthesis of its enantiomer, (-)-treprostinil. Just as Yadav teaches how to synthesize

 enantiomeric products from enantiomeric starting material using achiral reagents, Phares 2005

 teaches how (+)-treprostinil can be synthesized using a starting material of enantiomeric chirality

 to that used to synthesize (-)-treprostinil.

          As another example, Takadoi, describes the synthesis of enantiomeric compounds using

 achiral reagents. Masanori Takadoi, et al., “Synthetic studies of himbacine, a potent antagonist of

 the muscarinic M2 subtype receptor 1. Stereoselective total synthesis and antagonistic activity of

 enantiomeric pairs of himbacine and (2’S,6’R)-diepihimbacine, 4-epihimbacine, and novel

 himbacine congeners,” Tetrahedron 58 (2002) 9903–23. Takadoi describes the synthesis of

 himbacine 1 using (S)-9 as the starting material. He then teaches the synthesis of unnatural ent-

 himbacine ent-1, the enantiomer of natural himbacine 1, by using (R)-9 instead of (S)-9 as a starting

 material. Takadoi at 9906. In other words, by using the enantiomer of (S)-9 and achiral reagents,

 Takadoi was able to synthesize the enantiomer of himbacine 1 using the same achiral reagents:

 “According to the synthetic scheme to 1 detailed above, we succeeded in obtaining ent-1 from (R)-

 9 . . . .” Id.

          As these references illustrate, a POSA would understand that the synthesis of (+)-

 treprostinil would follow the same steps as disclosed in Phares 2005 for (-)-treprostinil, but with

 the enantiomeric (+)-benzindene triol starting material to benzindene triol 11b that is taught in

 Phares 2005. Phares 2005 at 40. A POSA would further know that the requisite enantiomeric

 (+)- benzindene triol starting material was taught in Moriarty. See Moriarty at 1895 (34 in Scheme

 4). In particular, a POSA would have understood that he or she would synthesize the (+)-

 treprostinil using the process disclosed in Phares 2005’s step (l) by simply starting with (+)-



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 benzindene triol, the enantiomer of 11b, the benzindene triol starting material taught in Phares

 2005. Processes are described below comparing the ’901 Patent claims with the disclosures in

 Phares 2005.

        The ’066 and ’901 Patent claims start with (+)-benzindene triol—the enantiomer of Phares

 2005’s compound 11b, (-)-benzindene triol (Phares 2005 at 39-40). The tables below depict Phares

 2005’s structures on the left and the ’066 and ’901 Patents’ on the right.

             (-) Benzindene Triol                             (+) Benzindene Triol
               Starting Material                                Starting Material




        Next, both Phares 2005 and the ’066 and ’901 Patents disclose use of chloroacetonitrile

 (ClCH2CN) and potassium carbonate (K2CO3) to alkylate the phenolic hydroxyl group located on

 the benzene ring of the benzindene triol intermediate (circled in red above). Compare ’066 Patent

 at Example 1, with Phare 2005 at 40 (Step (l)). The figure below shows the benzindene nitrile

 intermediates resulting from the alkylation reaction, again with Phares 2005 on the left and the

 ’066 and ’901 Patents on the right.

   (-) Benzindene Nitrile Intermediate               (+) Benzindene Nitrile Intermediate




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        Similarly, both Phares 2005 and the ’066 and ’901 Patents disclose hydrolysis of the nitrile

 group (circled in red above) using methanol, potassium hydroxide, and refluxing (heating).

 Compare ’066 Patent at Example 2, with Phares 2005 at 40 (Step (l)). The resulting treprostinil

 enantiomers from the hydrolysis step are shown below, again with Phares 2005 on the left and the

 ’066 and ’901 Patents on the right.


                (-) Treprostinil                                 (+) Treprostinil




        Considering the alkylation and hydrolysis steps disclosed in Phares 2005’s step (l) do not

 affect the stereocenters of the benzindene triol starting material, and a POSA’s knowledge of

 enantiomeric reactions, a POSA would have understood that he or she would synthesize the (+)-

 treprostinil using the process disclosed in Phares 2005’s step (l) by simply starting with the


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 enantiomer of the Phares 2005 starting material (compound 11b on page 40), i.e., (+)-benzindene

 triol. See Phares 2005 at 40. As Dr. Moriarty’s former graduate student advises, “in principle,

 any synthesis for (+)-Treprostinil can be employed to prepare another enantiomer by altering the

 stereochemistry of starting material and reagents.” Gao at 182. Under the same “principle,” a

 POSA would know that the synthetic route to (-)-treprostinil disclosed in Phares 2005 can be

 employed to prepare (+)-treprostinil using the enantiomer of the benzindene triol disclosed in

 Phares 2005 and identical achiral reagents. Phares 2005 at 40.

                2.      Moriarty 2004

        Moriarty 2004 was published in 2004 in the Journal of Organic Chemistry, Volume 69,

 No. 6, pp. 1890-1902. Robert M. Moriarty, et al., “The Intramolecular Asymmetric Pauson-Khand

 Cyclization as a Novel and General Stereoselective Route to Benzindene Prostacyclins: Synthesis

 of UT-15 (Treprostinil),” 69 J. ORG. CHEM. 1890 (2004) (“Moriarty 2004”). Moriarty 2004 is prior

 art to the ’066 and ’901 Patents under §§ 102(a) and (b). Moriarty 2004 was also considered by

 the Examiner in prosecution of the ’066 and ’901 Patents and in the IPR proceeding with respect

 to the parent U.S. Patent No. 8,497,393 (see, e.g., SteadyMed Ltd. v. United Therapeutics Corp.,

 IPR2016-00006, 2017 WL 1215714, Paper 82 at 45 (P.T.A.B. Mar. 31, 2017) (discussing Moriarty

 2004), aff’d, United Therapeutics v. SteadyMed, 702 F. App’x 990 (2017)) without objection from

 the Patent Owner.

        Moriarty 2004 is titled “The Intramolecular Asymmetric Pauson-Khand Cyclization as a

 Novel and General Stereoselective Route to Benzindene Prostacyclins: Synthesis of UT-15

 (Treprostinil).” Id. at 1890. Moriarty 2004 describes the synthesis of treprostinil “via the

 stereoselective intramolecular Pauson-Khand cyclization.” Id. Structure 7 of Moriarty 2004

 depicts the chemical structure of treprostinil, prior to salt formation, and is shown below:



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 Id. at 1892. This is the identical treprostinil pharmaceutical salt precursor disclosed in the ’066

 and ’901 Patents:




 ’066 Patent at 11:50-65; ’901 Patent at 11:16-28.

        Scheme 4 of Moriarty 2004 further discloses alkylation of 34 by ClCH2CN to yield 35.

 Moriarty 2004 at 1895, 1902. The alkylation product 35 is then hydrolyzed with a base (i.e.

 aqueous KOH), followed by acidification to yield 7, treprostinil. Id. The alkylation reaction of 34

 to yield 35 as disclosed in Moriarty 2004 is equivalent to the alkylation reaction disclosed in the

 ’066 and ’901 Patents.

        34 and 35 of Moriarty 2004 are as follows:




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 Id. at 1895.

        Moriarty 2004 reports that the disclosed process yields a 99.7% pure crystalline solid in

 the form of “[w]hite needles.” Id. at 1902.

        The “Former Process” of Example 6 in the ’901 and ’066 Patents is the process for

 preparing treprostinil according to Moriarty, and UTC has confirmed that it used the Moriarty

 process to make commercial batches of treprostinil. See Steadymed, IPR2016-00006, Paper 82 at

 17-18, 34, 38; see also Liquidia Techs., Inc. v. United Therapeutics Corp., IPR2020-00770, Ex.

 2025 (Pinal Declaration) at ¶ 89 (comparing Example 6 and Moriarty and stating that “Moriarty

 teaches only the Former Process” of Example 6).

                3.     U.S. Patent No. 6,765,117 (“the ’117 Patent”)

        The ’117 Patent is titled “Process for Stereoselective Synthesis of Prostacyclin

 Derivatives.” The named inventors are Robert M. Moriarty, Raju Penmasta, Liang Guo, Munagala

 S. Rao, and James P. Staszewski. The ’117 Patent issued on July 20, 2004 and is prior art to the

 ’066 and ’901 Patents under §§ 102(a), (b), and (e). The ’117 Patent is directed towards a “process

 for producing prostacyclin derivatives,” including treprostinil, and “novel intermediate

 compounds useful in the process.” ’117 Patent at 1:14-16. The prostacyclin derivatives and

 intermediates include the following general structure:




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 See, e.g., ’117 Patent at claim 1.

        For example, the ’117 Patent includes the synthesis of treprostinil (which is the case in

 which: Z is O, n is 1, X is COOH, Y1 is CH2CH2-, M1 is an H and an OH group in the S

 configuration (i.e., the same stereoisomer configuration found in the structure of treprostinil

 (below)), L1 is α-H; β-H, and R7 is –(CH2)3-CH3 amongst its many examples. For example, claim

 3 of the ’117 Patent discloses the structure of treprostinil below:




 which is produced by a process for making 9-deoxy-PGF1-type compounds, the process

 comprising cyclizing the following starting compound:




        The ’117 Patent teaches alkylation of benzidine triol (id. at 20:30-62) and hydrolysis of the

 resulting product to form treprostinil free acid (id. at 20:62-21:11).



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                 4.     U.S. Patent No. 4,306,075 (“the ’075 Patent”)

         The ’075 Patent teaches the synthesis of treprostinil, since Example 33 (’075 Patent at 62:4-

 39) teaches the preparation of 9-Deoxy-2’,9α-methano-3-oxa-4,5,6-trinor-3,7-(1’,3’-inter-

 phenylene)-13,14-dihydro-PGF1 (Formula XI), where X1 is COOH, Y1 is -CH2CH2-, R20, R21,

 R23, and R24 are all hydrogen, Z4 is -CH2-, R22 is β-hydrogen, R8, M1, L1 and R7 are as defined in

 Example 8, which a POSA would understand as R8 is hydroxy, M1 is α-OH:β-H, L1 is α-H:β-H

 and R7 is n-butyl. Id. at 36:39-41.


                                         Teachings of Example 33

                                                 Example 33 refers to Example 8 for R8, M1, L1,
                                                 and R7:




                                                 Example 8 (’075 Patent at 36:37-41).




  Formula XI (’075 Patent at 62:4-11, 74:25-
  39).

         As indicated in the Figure below, the result of each of these substitutions into the generic

 structure of Figure XI leads to treprostinil (as drawn below on the right and labeled “Formula XI

 (treprostinil)”).


                              Substituted Formula XI (’075 Patent)




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        The ’075 patent teaches that “[p]harmacologically acceptable salts of the novel

 prostaglandin analogs of this invention for the purposes described above are those with

 pharmacologically acceptable metal cations, ammonia, amine cations, or quaternary ammonium

 cations.” Id. at 14:56-60. The ’075 patent further discloses that:

        The compounds of this invention prepared by the processes of this invention, in
        free acid form, are transformed to pharmacologically acceptable salts by
        neutralization with appropriate amounts of the corresponding inorganic or organic
        base, examples of which correspond to the cations and amines listed hereinabove.
        These transformations are carried out by a variety of procedures known in the art
        to be generally useful for the preparation of inorganic, i.e., metal or ammonium
        salts. The choice of procedure depends in part upon the solubility characteristics of
        the particular salt to be prepared. In the case of the inorganic salts, it is usually
        suitable to dissolve an acid of this invention in water containing the stoichiometric
        amount of a hydroxide, carbonate, or bicarbonate corresponding to the inorganic

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         salt desired. For example, such use of sodium hydroxide, sodium carbonate, or
         sodium bicarbonate gives a solution of the sodium salt. Evaporation of the water or
         addition of a water-miscible solvent of moderate polarity, for example, a lower
         alkanol or a lower alkanone, gives the solid inorganic salt if that form is desired.

 Id. at 30:41-62.

                 5.     Wiberg 1960

         Wiberg 1960 is a textbook published in 1960 by McGraw-Hill Book Company, Inc. and

 written by Kenneth B. Wiberg. Kenneth B. Wiberg, LABORATORY TECHNIQUE                    IN   ORGANIC

 CHEMISTRY 112 (1960) (“Wiberg 1960”). Wiberg 1960 is prior art to the ’066 and ’901 Patents

 under §§ 102(a) and (b). Wiberg 1960 is an organic chemistry textbook titled “Laboratory

 Technique in Organic Chemistry.” Id. Describing laboratory purification methods, Wiberg 1960

 explicitly states:

         A typical example is the purification of a water-insoluble solid carboxylic acid by
         dissolving it in sodium hydroxide solution, filtering, precipitating the compound by
         the addition of acid. A similar procedure may be used with amines: dissolve the
         compound in acid and precipitate it with a base. These procedures usually work
         quite well in that they utilize a chemical reaction to aid in separation from nonacidic
         or nonbasic impurities.

 Wiberg 1960 at 112.

                 6.     Schoffstall 2004

         Schoffstall 2004 is a textbook published in 2004 by The McGraw-Hill Companies, Inc. and

 written by Allen M. Schoffstall, et al. Allen M. Schoffstall, et al., MICROSCALE AND MINISCALE

 ORGANIC CHEMISTRY LABORATORY EXPERIMENTS (Thomas D. Timp ed., 2d ed. 2004)

 (“Schoffstall 2004”). Schoffstall 2004 is prior art to the ’066 and ’901 Patents under §§ 102(a)

 and (b). Schoffstall 2004 is the second edition of an organic chemistry textbook titled “Microscale

 and Miniscale Organic Chemistry Laboratory Experiments.”             Schoffstall 2004 describes an

 experiment in which carboxylic acid is separated from neutral and basic organic compounds by

 conversion to a salt. Schoffstall 2004 at 201-02. Addition of an acid, such as HCl, then regenerates

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 the carboxylic acid from the salt, which can then be filtered or extracted into an organic solvent.

 Id.

        Specifically, Schoffstall 2004 indicates that “[a] water-insoluble, acidic organic compound

 such as a carboxylic acid or phenol can be easily separated from neutral and basic organic

 compounds by conversion to a water-soluble salt.” Id. at 201. Schoffstall 2004 discloses the

 following general reaction scheme:




 Id.

        Schoffstall 2004 indicates that “[n]eutral and basic organic compounds remain in the

 organic layer. The two layers can then be separated. Addition of HCl to the aqueous layer

 regenerates the water-insoluble carboxylic acid, which can then be filtered or extracted into an

 organic solvent.” Id. Similarly, Schoffstall 2004 discloses the following general reaction scheme:




 Id.

                7.     Kawakami 1981

        Japanese Patent Application No. 56-122328 (“Kawakami 1981”), published on September

 25, 1981, is titled “Crystalline Amine Salt of Methanoprostacyclin Derivative, Manufacturing

 Method Thereof, and Purifying Method Thereof.” Kawakami 1981 is prior art to the ’066 and


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 ’901 Patents under §§ 102(a) and (b). The named inventors are Hajime Kawakami, Keiichi Ono,

 Akihiko Sugie, and Sumimoto Katsube. Kawakami 1981 at 1. Kawakami 1981 is directed to the

 preparation and use of dicyclohexylamine (i.e., an amine base with similar reactivity to

 diethanolamine) to form a crystalline dicyclohexylamine salt of a methanoprostacyclin derivative,

 in order to purify methanoprostacyclin. Id. at 3. Kawakami 1981 further discloses that the

 dicyclohexylamine salt of a methanoprostacyclin derivative can be easily reverted to the free

 methanoprostacylcin derivative by conventional methods, such as treating the salt with a strong

 acid such as HCl or H2SO4. Id. at 6. Per Kawakami 1981, the salt that is obtained has “fairly high

 purity, and the purity can be further improved by recrystallization as needed with the use of an

 appropriate solvent.” Id.

                8.      Ege 1989

        Ege 1989 was published in 1989 by D.C. Heath and Company and is the second edition of

 a textbook titled “Organic Chemistry.” Seyhan N. Ege, ORGANIC CHEMISTRY (Mary Le Quesne,

 et al. eds., 2d ed. 1989) (“Ege 1989”). Ege 1989 is prior art to the ’066 and ’901 Patents under

 §§ 102(a) and (b). Ege 1989 was edited by Seyhan N. Ege. Ege 1989 discloses that sodium

 benzoate (i.e., a carboxylate salt) can be converted back to benzoic acid (i.e., a carboxylic acid) by

 treatment with the acid HCl, which is prototypical of the reaction of treprostinil diethanolamine

 salt with an acid to regenerate treprostinil carboxylic acid. Ege 1989 at 546. The reaction scheme

 is provided below:




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 Id.

        B.      Claims 1, 2, 3, 6, and 9 Are Invalid Under 35 U.S.C. § 102(b)

        Claims 1, 2, 3, 6, and 9 of the ’066 Patent are invalid as anticipated under 35 U.S.C.

 § 102(b). There is a “long-standing rule that an old product is not patentable even if it is made by

 a new process.” Amgen Inc. v. F. Hoffman-La Roche Ltd., 580 F.3d 1340, 1370 (Fed. Cir. 2009).

 “As a result, a product-by-process claim can be anticipated by a prior art product that does not

 adhere to the claim’s process limitation.” Id. Claims 1, 2, 3, 6, and 9 are product-by-process

 claims. UTC acknowledge to the FDA in its Form 3542 with respect to Tyvaso® that the ’066

 Patent contains product-by-process claims. See Form 3542 for ’066 Patent (UTC_LIQ0021693-

 7) at 3 (UTC_LIQ00201695). Claim 1 claims a “pharmaceutical composition” that is “prepared

 by a process . . . .” See ’066 Patent at claim 1. Claims 2, 3, and 6 all claim a “pharmaceutical

 composition of claim 1 . . . .” Id. at claims 2, 3, 6. Claim 9 recites a “pharmaceutical product

 prepared by the process of claim 8.” Id. at claim 9. As such, claims 1, 2, 3, 6, and 9 are anticipated

 under § 102(b) if an old product sold by UTC over a year before the effective filing date is the

 same as products made by the claimed process.

                1.      The Board and Federal Circuit Confirmed that Prior Art Moriarty
                        Batches Are Structurally and Functionally Identical

        U.S. Patent No. 8,397,393 (“the ’393 Patent”) is the parent of the ’066 Patent. Both patents

 claim a “product” or “pharmaceutical composition” that is “prepared by a process comprising”
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 (a) alkylation of a benzindene triol, (b) hydrolysis of a benzindene nitrile, and (c) combining or

 contacting the batch with a base to form a salt of treprostinil. Compare ’066 Patent at claim 1,

 with ’393 Patent at claim 1. The ’393 Patent includes the optional step (d) of “reacting the salt

 formed in step (c) with an acid to form the compound of formula 1.” ’393 Patent at claim 1; cf.

 MPEP § 2111.04 (“Claim scope is not limited by claim language that suggests or makes optional

 but does not require steps to be performed, or by claim language that does not limit a claim to a

 particular structure.”). The ’066 Patent similarly claims the treprostinil free acid prepared from

 the treprostinil salt. See ’066 Patent at claim 1 (“A pharmaceutical composition comprising

 treprostinil or a pharmaceutically acceptable salt thereof, said composition prepared by a process

 comprising . . . and preparing a pharmaceutical composition comprising treprostinil or a

 pharmaceutically acceptable salt thereof from the isolated treprostinil salt . . . .”) (emphases

 added). As such, the ’393 Patent and ’066 Patent claim the same product-by-process.




        UTC’s reliance on Tyvaso®’s sales as evidence of commercial success for the ’393, ’066,

 and ’901 Patents provides that the patents claim the same product-by-process. See UTC’s

 Objections and Responses to Interrogatory No. 2 (Dec. 17, 2020) at 27; United Therapeutics



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 Corp.’s Responses to Watson Laboratories, Inc.’s Invalidity Contentions (Jan. 25, 2016)

 (UTC_LIQ00206482-UTC_LIQ00206549)            at   60-61;   Plaintiffs’   Responses   to   Actavis

 Laboratories, FL, Inc.’s Invalidity Contentions (Oct. 14, 2016) (UTC_LIQ00204305-

 UTC_LIQ00204559) at 26. Patentees can only rely on the “commercial success of a product

 embodying that invention.” Merck & Co. v. Teva Pharms. USA, Inc., 393 F.3d 1364, 1376 (Fed.

 Cir. 2005). Accordingly, the same batches that embody the ’393 Patent also embody the ’066 and

 ’901 Patents.

        During the ’393 IPR, the Board found that “the process steps recited in the challenged

 claims do not impart structural or functional differences to the claimed product, and, therefore,

 conclude[d] that those process steps are not entitled to patentable weight,” which the Federal

 Circuit affirmed. SteadyMed, IPR2016-00006, Paper 82 at 29, aff’d, United Therapeutics Corp.

 v. SteadyMed Ltd., 702 F. App’x 990 (Fed. Cir. 2017). The Board noted that “individual

 commercial batches of Moriarty treprostinil exhibit impurity profiles nearly identical, if not

 superior, to those seen in individual commercial batches of ’393 patent treprostinil.” Id. at 38.

 Finally, the Board provided a table comparing one commercial batch of Moriarty treprostinil (Lot

 No. UT15-031202) with one commercial batch of ’393 patent treprostinil (Lot No. 01F08017).




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        The Board noted that the Moriarty batch has a higher overall purity, and the same or lower

 amounts of all but one impurity, 3AU90, than the ’393 patent batch. Id. at 39. In addition, the

 Board noted that both the Moriarty batch and the ’393 patent batch satisfy the treprostinil drug

 specification concerning the types and amounts of impurities that may be present in a batch of

 treprostinil—which requirements notably did not change when UTC switched over from producing

 treprostinil according to Moriarty to producing it using the process disclosed in the ’393 patent.

 Id. Because the ’066 Patent claims the same product as the ’393 patent, the Board’s findings are

 applicable to the ’066 Patent.

        Additionally, UTC

                                                                                            .



                                                                       See UTC_WAT00637646-

 UTC_WAT00637746 (                                                                               );

 UTC_OREN_00020808-UTC_OREN_00020819 at 1-2 (same). Thus, claims 1, 2, 3, 6, and 9 of

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 the ’066 Patent are invalid as anticipated under Section 102(b). Amgen, 580 F.3d at 1370 (“[A]

 product-by-process claim can be anticipated by a prior art product that does not adhere to the

 claim’s process limitation.”).

                2.      Internal UTC Documents Confirm That Prior Art Remodulin® Batches
                        Are Structurally and Functionally the Same as the Product Claimed in
                        the ʼ066 Patent




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       Remodulin® (treprostinil sodium) was also FDA-approved to be stored at ambient



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 temperature, construed here as 15-30°C.         D.I. 119 at 1; see 2004 Remodulin Label, p.12

 (disclosing that FDA-approved unopened vials of treprostinil sodium salt are “stable until the date

 indicated when stored at 15 to 25°C” and instructions say to “[s]tore at 25°C . . . with excursions

 permitted to 15-30°C”) (emphases added).

           By UTC’s own admission, treprostinil made according to the claimed process of the ’066

 Patent is of the “same high quality and purity” as the commercial treprostinil produced in Chicago

 according to the prior art Moriarty process. These lots were sold in the United States over one

 year before the effective date of the ’066 Patent—December 17, 2007—and therefore qualify as

 disqualifying prior sales. Thus, claims 1, 2, 3, 6, and 9 of the ’066 Patent are invalid as anticipated

 under Section 102(b). Amgen, 580 F.3d at 1370 (“[A] product-by-process claim can be anticipated

 by a prior art product that does not adhere to the claim’s process limitation.”).

           C.     Claims 1-3, 6, and 8-9 Are Invalid Under 35 U.S.C. § 103

                  1.     Claims 1-3, 6, and 8-9 Would Have Been Obvious Over Phares 2005

           The Asserted Claims of the ’066 Patent would have been obvious over Phares 2005.

                         a.     Independent Claim 1 Would Have Been Obvious

                                (1)     Claim Element 1[a]

    1[a]        A pharmaceutical composition comprising treprostinil or a pharmaceutically
                acceptable salt thereof, said composition prepared by a process comprising:

           Phares 2005 discloses the same pharmaceutical composition and synthesis of treprostinil

 as set forth in independent claims 1 and 8 of the ’066 Patent. Phares 2005 describes “compounds

 and methods for inducing prostacyclin-like effects in a subject or a patient,” including treprostinil

 and derivatives thereof. Phares 2005 at 8. The chemical structure of treprostinil disclosed in

 Phares 2005 is shown below:




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 Id. This is the same treprostinil disclosed in the ’066 Patent:




 Where w = 1; Y1 is—CH2(CH2)m- and m is 1; M1 is α-OH: β-R5 or α-R5: β-OH, wherein R5 is

 hydrogen; L1 is α-R3: β-R4, α-R4: β-R3, or a mixture of α-R3: β-R4 and α-R4: β-R3, wherein R3 and

 R4 are hydrogen; and R7 is —CpH2p—CH3, wherein p is an integer from 1 to 5 inclusive (p=3).

 ’066 Patent at 2:7-3:15.

        Phares 2005 further discloses the identical, pharmaceutically acceptable treprostinil

 diethanolamine salt as the ’066 Patent. Phares 2005 at 96 (claim 49). The structure of treprostinil

 diethanolamine salt disclosed by Phares 2005 (left) is reproduced below in a side-by-side

 comparison with the treprostinil diethanolamine salt disclosed in the ’066 Patent (right):




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                     (Phares 2005)                                   (’066 Patent)

 Phares 2005 at 96 (claim 49); ’066 Patent at 12:8-23, 14:9-20 (Examples 3 and 5). Other than a

 change in formatting, one can easily see that these two structures from Phares 2005 and the ’066

 Patent are identical.

        This salt is made by the same process steps as claim 1 of the ’066 Patent: (a) by forming a

 salt of treprostinil by combining the starting batch of treprostinil acid and a base and; (b) isolating

 the treprostinil salt. ’066 Patent at 17:51-63 (claim 1); Phares 2005 at 22. The isolated salt is then

 used to prepare a pharmaceutical composition comprising treprostinil or a pharmaceutically

 acceptable salt thereof. ’066 Patent at 17:51-63 (claim 1); Phares 2005 at 58. This shows that

 Phares 2005 necessarily discloses the same process steps to make a pharmaceutically acceptable

 salt thereof disclosed in claim 1—treprostinil diethanolamine salt—claimed in the ’066 Patent, and

 thus inherently renders obvious claim 1 of the ’066 Patent. Further support for the obviousness of

 each process element of claim 1 is provided in the following Sections II.C.1.a.(2)-(7).




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                                (2)     Claim Element 1[b]

      1[b]    providing a starting batch of treprostinil having one or more impurities resulting
              from prior alkylation and hydrolysis steps,

        As discussed above in Section II.C.1.a.(1), Phares 2005 discloses the identical treprostinil

 and pharmaceutically acceptable treprostinil diethanolamine salt as the ’066 Patent. The remaining

 process claim elements do nothing to impart structural or functional differences in the claimed

 treprostinil or pharmaceutically acceptable salt thereof, and thus, do not patentably limit the

 claimed pharmaceutical composition. Even so, Phares 2005 further discloses providing a starting

 batch of treprostinil having one or more impurities resulting from alkylation and hydrolysis steps.

        Phares 2005 discloses the same steps of alkylating and hydrolyzing to make the treprostinil

 disclosed in the ’066 Patent. Phares 2005 discloses the synthesis of (-)-treprostinil, the enantiomer

 of (+)-treprostinil. Phares 2005 at 39-40. As explained above in Section II.A.1.b, Phares 2005

 therefore teaches the synthesis of (+)-treprostinil using the same steps as the ’066 Patent. Phares

 2005 illustrates the following synthesis reaction:




 Id. at 40. The reaction procedure for alkylation to treprostinil is disclosed in Phares 2005 (i.e., the

 conversion of Compound 11b to the intermediate nitrile product (not shown) in the above reaction

 scheme) as: (l) i. ClCH2CN, K2CO3.” Id. (emphasis added).

        Phares 2005 details the exact same alkylation and hydrolyzing steps: (1) i. ClCH2CN,

 K2CO3. ii. KOH, CH3OH, reflux. 83% (2 steps). Id. Chloroacetonitrile (ClCH2CN) was known

 in the art at the time of the invention to play an important role in alkylation reactions, and


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 potassium hydroxide in methanol (KOH, CH3OH) was known to play an important role in

 hydrolysis. Further, in view of the immediate steps prior to conversion to the salt and/or

 crystallization being those of alkylation and hydrolysis, a POSA would understand that at least one

 impurity in the substrate for salt formation and/or crystallization would most likely result from

 these intermediate steps.




        Therefore, based on the identical starting materials and chemical steps in Phares 2005 and

 the ’066 Patent, a POSA would expect that the starting batch of treprostinil necessarily contains

 impurities from the prior alkylation and hydrolysis steps. In both cases, a POSA would understand

 these impurities to result from either the prior alkylation and/or hydrolysis steps. Phares 2005

 therefore renders obvious providing a starting batch of treprostinil having one or more impurities

 resulting from prior alkylation and hydrolysis steps.

                               (3)     Claim Element 1[c]

      1[c]    forming a salt of treprostinil by combining the starting batch and a base,

        As discussed above in Section II.C.1.a.(1), Phares 2005 discloses the identical treprostinil

 and pharmaceutically acceptable treprostinil diethanolamine salt as the ’066 Patent.

        Phares 2005 further discloses combining a starting batch and a base. Phares 2005 at 22.

 In particular, page 22 of Phares 2005 further teaches dissolving treprostinil acid, which was made


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 upon alkylation and hydrolysis, in a 1:1 molar ratio mixture of ethanol: water and diethanolamine

 (i.e., a base). Id.

                                 (4)     Claim Element 1[d]

      1[d]      isolating the treprostinil salt, and

         Phares 2005 discloses isolating the identical pharmaceutically acceptable treprostinil

 diethanolamine salt as the ’066 Patent. Phares 2005 further discloses isolating crystalline forms

 of treprostinil diethanolamine salt—Form A and Form B. Phares 2005 at 85-89. Upon completion

 of a reaction, the product is isolated. The isolation steps needed following conversion of Form A

 to Form B are routine and understood by a sophomore organic chemistry student. Id.

                                 (5)     Claim Element 1[e]

       1[e]     preparing a pharmaceutical composition comprising treprostinil or a
                pharmaceutically acceptable salt thereof from the isolated treprostinil salt,

         The invention of Phares 2005 “provides for compositions which may be prepared by

 mixing one or more compounds of the instant invention, or pharmaceutically acceptable salts

 thereof, with pharmaceutically acceptable carriers, excipients, binders, diluents or the like, to treat

 or ameliorate a variety of disorders related vasoconstriction and/or platelet aggregation.” Id. at 48.

 Thus, the pharmaceutical acceptability of the compounds is clearly disclosed in Phares 2005.

         A POSA would also know how to prepare a composition comprising treprostinil

 (treprostinil carboxylic acid) or a salt thereof salt thereof from Phares 2005’s isolated

 pharmaceutically acceptable treprostinil salt. The addition of an acid to a carboxylate salt to

 regenerate the carboxylic acid is standard chemical purification known in the art. See, e.g.,

 Schoffstall 2004 at 201-02; Wiberg 1960 at 112. For example, Ege 1989 discloses that sodium

 benzoate (i.e., a carboxylate salt) can be converted back to benzoic acid (i.e., a carboxylic acid) by



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 treatment with the acid HCl, which is prototypical of the reaction of the treprostinil diethanolamine

 salt to regenerate the treprostinil carboxylic acid. Ege 1989 at 546.

        Phares 2005 therefore discloses isolating a treprostinil salt, and a skilled artisan would have

 a reasonable expectation of success and would know how to prepare a pharmaceutical composition

 comprising treprostinil or a salt thereof from the isolated treprostinil salt based on the disclosures

 of Phares 2005 and standard knowledge in the art as evidenced by Ege. There is nothing novel

 about preparing a composition with an isolated treprostinil salt versus a treprostinil salt that is not

 previously isolated. Id.

                                (6)     Claim Element 1[f]

      1[f]     whereby a level of one or more impurities found in the starting batch of
               treprostinil is lower in the pharmaceutical composition, and

        The claim language of the ’066 Patent does not disclose the percentage of “impurity”

 required in the starting batch of treprostinil and simply states “having one or more impurities.”

 The ’066 Patent discloses that in one embodiment the “purity of compound of formula IV is at

 least 90.0%, 95.0%, 99.0% [or] 99.5%,” where the formula IV is treprostinil. ’066 Patent at 9:22-

 23. This disclosure shows that the purity of treprostinil may be as low as 90.0%.

        Based on the identical starting materials and chemical steps used to make treprostinil in

 Phares 2005 and the ’066 Patent, as discussed further in Sections II.A.1 and II.C.1.a.(2), a POSA

 would expect to observe the same impurity profiles in the “starting batch” of treprostinil resulting

 from the prior alkylation and/or hydrolysis steps. Pinal Dep. Tr. at 55:19-58:17. Further, because

 Phares 2005 discloses the same method of making treprostinil salts as claimed in the ’066 Patent,

 the pharmaceutical batch of Phares 2005 would also have contained a lower amount of one or more

 impurities than the starting batch of treprostinil. Accordingly, that the claimed pharmaceutical

 composition contains a lower amount of one or more impurities than the starting batch of

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 treprostinil was neither new nor nonobvious. In re Thorpe, 777 F.2d 695, 697 (Fed. Cir. 1985)

 (“If the product in the product-by-process claim is the same as or obvious from a product of the

 prior art, the claim is unpatentable even though the prior product was made by a different

 process.”); see also Amgen, 580 F.3d at 1366 (“It has long been the case that an old product is not

 patentable even if it is made by a new process.”).

        Phares 2005 further discloses two crystalline forms of treprostinil diethanolamine salt,

 Form A and Form B. Phares 2005 at 85-89. Form A has an endotherm at 103° C and Form B has

 an endotherm at 107° C. Id. at 87-88. A form exhibiting a higher endotherm temperature is

 inherently understood to be compatible with a higher purity. Thus, the higher melting point of

 Form B would be consistent and compatible with a higher degree of purity in Form B in

 comparison with Form A based on these endotherm temperatures. Further, Form A is utilized as

 the starting material for the formation of Form B.          A POSA would understand that this

 transformation, similar to that described in the ’066 Patent, typically removes impurities. Id. As

 such, Form A should be purer than the starting batch, and Form B purer than Form A. Id.

        Further, a POSA would have had a reasonable expectation that the treprostinil salt

 described in Phares 2005 would contain a lower amount of one or more impurities than the starting

 batch of treprostinil because contacting a carboxylic acid of prostacyclin derivative, such as

 treprostinil, with a base to form a salt, followed by the addition of a strong acid to regenerate the

 carboxylic acid, was a well-known chemical purification technique in the prior art. For example,

 Kawakami 1981 is directed to the preparation and use of dicyclohexylamine (i.e., an amine base

 with similar reactivity to diethanolamine) to form a crystalline dicyclohexylamine salt of a

 methanoprostacyclin derivative, in order to purify the methanoprostacyclin.           See generally

 Kawakami 1981.        Kawakami 1981 also discloses that the dicyclohexylamine salt of a



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 methanoprostacyclin derivative can easily be reverted to the free methanoprostacyclin derivative

 by conventional methods, such as treating the salt with a strong acid such as HCl or H2SO4. Id. at

 6. Per Kawakami 1981, the salt that is obtained has “fairly high purity, and the purity can be

 further improved by recrystallization as needed with the use of an appropriate solvent.” Id.; see

 also Ege 1989 at 546 (disclosing that sodium benzoate (i.e., a carboxylate salt) can be converted

 back to the benzoic acid (i.e., a carboxylic acid) by treatment with HCl). Thus, a POSA would

 know that a pharmaceutical composition comprising either treprostinil acid or treprostinil salt

 made by the process disclosed in Phares 2005 and claimed in the ’066 Patent would possess less

 impurities than the starting batch of treprostinil resulting from the prior alkylation and/or

 hydrolysis steps.

        A POSA would therefore find it obvious that the level of one or more impurities found in

 the starting batch of treprostinil is lower in the final pharmaceutical composition.

                                (7)     Claim Element 1[g]

     1[g]      wherein said alkylation is alkylation of benzindene triol.

        Example 1 of the ’066 Patent describes the alkylation of benzindene triol. ’066 Patent at

 9:50-10:13. This alkylation reaction is shown below:




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 Id. Benzindene triol is the fused tricyclic core wherein the three hydroxyl groups (-OH) are not

 all located on the core. In this example, the hydroxyl group indicated with the red square is being

 alkylated using ClCH2CN in the presence of K2CO3, Bu4NBr and acetone.

        As stated above in Section II.C.1.a.(2), Phares 2005 discloses an alkylation reaction

 identical in nature to the ’066 Patent alkylation reaction: (l) i. ClCH2CN, K2CO3. Phares 2005 at

 39-40. In particular, in step (l) the starting treprostinil precursor compound, the benzindene triol,

 has the same structural formula as the treprostinil precursor being alkylated in the ’066 Patent (11b

 indicates that “R” can be “H”). The reaction from Phares 2005 is shown below for comparison:




 Id. Phares 2005 teaches a POSA to selectively alkylates the phenolic –OH group on the fused

 three ring core of Compound 11b as indicated in the red box. Id.

        In addition, Phares 2005 cites to U.S. Patent No. 4,306,075 for routes in which compounds

 disclosed in Phares 2005 can be modified. Id. at 9 (citing U.S. Patent No. 4,306,075 (“the ’075

 Patent”)). Chart P of the ’075 patent provides a synthetic scheme where the -OH of a benzindene

 triol, as referred to in the ’066 Patent, is alkylated. ’075 Patent at col. 90. While the ’075 Patent

 does not disclose the same synthesis reaction, this reference supports the proposition that it was

 not a novel step at the time of the invention to alkylate an –OH group on the benzene of a fused

 ring system.

        The disclosures and references contained in Phares 2005 thus disclose alkylation of a

 benzindene triol that can be used to prepare treprostinil.



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                        b.      Dependent Claims 2-3 and 6 Would Have Been Obvious

                                (1)     Claim 2

        2      The pharmaceutical composition of claim 1, wherein the salt is isolated in
               crystalline form.

        As stated above in Section II.A.1, Phares 2005 discloses that “[a] preferred embodiment of

 the present invention is the diethanolamine salt of treprostinil.” Phares 2005 at 9. Phares 2005

 discloses two crystalline forms of treprostinil diethanolamine salt, Form A and Form B. Id. at

 85-89 (“two crystalline forms of UT-15C were idenitified [sic] as well as an amorphous form.”)

 (emphasis added). A particularly preferred embodiment of the invention disclosed in Phares 2005

 is “Form B of treprostinil diethanolamine.” Id. at 9. Phares 2005 therefore discloses the same

 treprostinil diethanolamine salt, in crystalline form, as the ’066 Patent.

                                (2)     Claims 3

        3      The pharmaceutical composition of claim 1, wherein the base is selected from the
               group consisting of sodium, ammonia, potassium, calcium, ethanolamine,
               diethanolamine, N-methylglucamine, and choline.

        Phares 2005 discloses the preparation of treprostinil diethanolamine, including the step of

 adding treprostinil and diethanolamine (i.e., a base) in a 1:1 molar ratio mixture of ethanol: water.

 Phares 2005 at 22. After addition of a base, the treprostinil diethanolamine can then be further

 precipitated and purified to form the crystalline “Form A” and “Form B.” Id. at 85-89. Phares

 2005 thus discloses the use of the base diethanolamine.

        Phares 2005 further discloses several other inorganic bases such as sodium, ammonia,

 potassium, calcium, and ethanolamine, as recited in dependent claim 3 of the ’066 Patent. Phares

 2005 at 55.

        In addition, the language of claim 3 is indefinite. It recites sodium, potassium, and calcium,

 but sodium, potassium, and calcium on their own are not bases. They are the counterions that

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 result from treatment of the treprostinil acid with the corresponding bases.

                                (3)     Claim 6

       6        The pharmaceutical composition of claim 1, wherein the isolated salt is stored at
                ambient temperature.


        A POSA would have found it obvious that the isolated treprostinil diethanolamine salt

 disclosed in Phares was storable at “ambient temperature,” which the Court construed as ranging

 between 15° and 30° C. D.I. 119 at 1. Liquidia notes that the ʼ066 Patent fails to provide any

 evidence that the salt, as made according to the process disclosed in the ʼ066 Patent was stored at

 ambient temperature. Nor does claim 6 does not provide a duration of time for storage at ambient

 temperature.

        First, a POSA would expect that the treprostinil diethanolamine salt could be stored at

 ambient temperature because Phares 2005 teaches that treprostinil diethanolamine polymorphs

 have high melting points and can be formulated into a tablet and safely administered to human

 beings. See Phares 2005 at 84-90.




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                                                                   Because Phares 2005 discloses the

 successful formulation and administration of treprostinil diethanolamine tablets, a POSA would

 expect that treprostinil diethanolamine could be stored at ambient temperature—if not higher

 temperatures.

        Second, Dr. Pinal testified that the “stability” of the claimed pharmaceutical batch of the

 ’901 Patent derives from the presence of the impurities resulting from the claimed steps.

 Declaration of Rodolfo Pinal, Ph.D. Supporting United Therapeutic Corporation’s Patent Owner

 Responses, Liquidia Techs., Inc. v. United Therapeutics Corp., IPR2020-00770, Exhibit 2025 at

 ¶ 91 (P.T.A.B. Mar. 1, 2021) (“Pinal Reply Declaration”) (“I note that precisely because though

 the treprostinil molecule is taught by the prior art, the stability advantage afforded by the ’901

 Patent resides outside the treprostinil molecule itself, namely, the stability advantage is a function

 of the specific impurities and levels thereof, present in the [pharmaceutical] batch.”). If Dr. Pinal

 is correct, applying the same reasoning to the ’066 Patent, then the treprostinil salt formed by

 Phares 2005, or the combination of Moriarty and Phares 2005, would similarly be stable, and

 therefore a POSA would expect it to be storable at ambient temperature, as required by claim 6.

        A POSA would understand from Phares 2005 that a polymorph (Form A or Form B) of

 treprostinil diethanolamine would be present at ambient temperature, or ~25° C. Phares 2005

 teaches that both Form A and Form B have melting temperatures well above ambient temperature:

 103° C and 107° C, respectively. Phares 2005 at 87-88. Phares 2005 teaches the synthesis of

 treprostinil diethanolamine: “Treprostinil acid [sic] is dissolved in a 1:1 molar ratio mixture of

 ethanol:water and diethanolamine is added and dissolved. The solution is heated and acetone is

 added as an antisolvent during cooling.” Id. at 22. Because there is no temperature limitation



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 here, a POSA would understand that treprostinil diethanolamine was being isolated at ambient

 temperature, so that it was stable at ambient temperature, which is a requirement according to

 UTC. This conclusion is supported by a subsequent disclosure by Batra, which teaches that

 treprostinil diethanolamine was “dried at room temperature to obtain Form B.” Batra, H., et al.,

 Crystallization Process Development for a Stable Polymorph of Treprostinil Diethanolamine (UT-

 15C) by Seeding, Org. Proc. Res. Dev., 13, 242-49 (2009) (“Batra”) at 249. A POSA would

 understand from Phares 2005, as confirmed by the subsequent Batra disclosure, that treprostinil

 diethanolamine was stable at room (ambient) temperature.

        Claim 6 of the ’066 Patent is not specific as to what form of treprostinil is stored at ambient

 temperature, so a disclosure of the presence of any treprostinil diethanolamine polymorph at

 ambient temperature is sufficient to meet the claim language.




                                                                           A POSA would certainly

 understand Phares 2005 to disclose as much, a point that Dr. Pinal and Dr. Batra agree with.

 Further, Phares 2005’s teaching that Form A and Form B are “hygrosopic,” meaning they absorb

 water in humid conditions (Phares 2005 at 87-88), is immaterial to claim 6 of the ’066 Patent.

 Claim 6 does not say anything about humidity; its only recited storage limitation is to temperature.

        Third, Phares 2005 mentions no special storage conditions for the treprostinil

 diethanolamine salt. If the resulting salt needed to be stored at a temperature other than ambient,

 a POSA would have expected such disclosure in Phares 2005 based on the specificity of the



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 reference. For example, in an animal dosing study, Phares 2005 was careful to specify that:

        The plasma samples were frozen at -20 °C and were transported on ice to
        Absorption Systems Exton Facility. There they were stored in a -80 °C freezer
        pending analysis.

 Phares 2005 at 67 (emphasis added). Thus, a POSA would understand that, if reaction or storage

 conditions were required to be anything other than ambient temperature, Phares 2005 would have

 explicitly disclosed the relevant temperature.

        Fourth, to the extent “storage” and “storing” require stability, which Liquidia disagrees,

 as did the Court in its claim construction ruling, the ’066 Patent provides no evidence of storage

 stability. The only reference to “storing” in the ’066 Patent specification is a single sentence:

        Additional advantages of this process are: (a) crude treprostinil salts can be stored
        as raw material at ambient temperature and can be converted to treprostinil by
        simple acidification with diluted hydrochloric acid . . . .

 ’066 Patent at 17:32-36. The ’066 Patent certainly assumes that a POSA would understand that

 all crude treprostinil salts can be stored at ambient temperature, without needing to see storage

 stability data. Applying the same assumed knowledge of a POSA to a POSA reading Phares 2005,

 a POSA would understand the treprostinil diethanolamine salt described there to be storable at

 room temperature. Further, the claims are not specific as to which polymorph is stored at ambient

 temperature or how stable it is. All that claim 6 requires is that some polymorph is present at

 ambient temperature.




        Fifth, Phares 2005 discloses the formation of the more “thermodynamically stable”

 polymorph (Form B) at ambient temperature (Phares 2005 at 89 (Table 17)), so a POSA would

 expect that Form B could further be stored under these same conditions. Id. at 22 (salt formation

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 step without specifying non-ambient temperature conditions).

        Sixth, salts of treprostinil were already known and FDA-approved to be stored at these

 temperatures. See 2004 Remodulin Label, p.12 (disclosing that FDA-approved unopened vials of

 treprostinil sodium salt are “stable until the date indicated when stored at 15 to 25°C” and

 instructions say to “[s]tore at 25°C . . . with excursions permitted to 15-30°C”) (emphases added).

        For at least these reasons, a POSA would have found it obvious that treprostinil

 diethanolamine salt was storable at ambient temperature.

                        c.     Independent Claim 8 Would Have Been Obvious

                               (1)     Claim Elements 8[a] and 8[b]

      8[a]     A process of preparing a pharmaceutical product comprising treprostinil or a
               pharmaceutically acceptable salt thereof, comprising:
      8[b]     alkylating a triol intermediate of the formula:




        Phares 2005 discloses the same treprostinil and treprostinil diethanolamine salt as the ’066

 Patent. Phares 2005 at 8-10; 87-88; supra Section II.C.1.a.(1). Phares 2005 further discloses

 alkylating a triol intermediate, the benzindene triol, of the same structural formula disclosed in

 claim 8 of the ’066 Patent. See also supra Section II.C.1.a.(7). A comparison between the

 alkylation substrates disclosed in the ’066 Patent (left) and Phares 2005 (right) are produced below

 for a side-by-side comparison:




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                   (’066 Patent)                                          (Phares 2005)

 ’066 Patent at 9:50-10:13, claim 8; Phares 2005 at 40. Intermediate 11b of Phares 2005 indicates

 that “R=H,” so the structural formulas disclosed for the triol intermediates are the same in claim 8

 of the ’066 Patent and structure 11b of Phares 2005.

                                 (2)     Claim Element 8[c]

      8[c]     hydrolyzing the resulting compound to form treprostinil,

         Phares 2005 discloses hydrolyzing the resulting compound (obtained by the alkylation of

 the substrate 11b shown above) to form the same structural formula for treprostinil starting

 material disclosed in the ’066 Patent. See supra Sections II.C.1.a.(2) and II.C.1.a.(7). The

 hydrolyzing procedure is disclosed in Phares 2005 as: adding “KOH, CH3OH, reflux. 83%.”

 Phares 2005 at 40. This hydrolyzing procedure, though explicitly disclosed for the preparation of

 the enantiomer of treprostinil, is inherently disclosed for the preparation of the treprostinil structure

 at page 22 of Phares 2005 as well. A comparison between the treprostinil starting material

 disclosed in the ’066 Patent (left) and the treprostinil that is taught in Phares 2005 at page 22 (right)

 are produced below for a side-by-side comparison:




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                     (’066 Patent)                                  (Phares 2005)

 ’066 Patent at 10:55-65 (Example 2); Phares 2005 at 8.

        Treprostinil can be further converted to treprostinil salt with the disclosed preparation on

 page 22 of Phares 2005, wherein the treprostinil starting material is added to and dissolved in

 diethanolamine in a 1:1 molar ratio mixture of ethanol: water and further precipitated and purified

 to form the crystalline form. Id. at 85-89. This disclosure of the diethanolamine salt formation is

 identical to the pharmaceutical salt of treprostinil as disclosed in claims 1 and 8 of the ’066 Patent.

                                (3)     Claim Elements 8[d] and 8[e]

      8[d]     forming a salt of treprostinil stable at ambient temperature,
      8[e]     storing the treprostinil salt at ambient temperature, and

        See explanation under independent claim 1 and dependent claim 6. Sections II.C.1.a.(1)

 and II.C.1.b.(3).

                                (4)     Claim Element 8[f]

      8[f]     preparing a pharmaceutical product from the treprostinil salt after storage,

        As treprostinil and treprostinil diethanolamine salt are disclosed in Phares 2005 and the

 ’066 Patent, there are no structural differences between these molecules that would require

 different storage conditions or indicate that the pharmaceutical product could not be formed from

 the salt after storage. The same process used to form salts before storage would also be used to


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 form salts after storage; this step is not novel or an improvement. Phares 2005 thus inherently

 discloses preparation of a pharmaceutical product from the treprostinil salt after storage.

                                 (5)     Claim Element 8[g]

      8[g]     wherein the pharmaceutical product comprises treprostinil or a pharmaceutically
               acceptable salt thereof.

         See explanation under independent claim 1. Section II.C.1.a.(1).

                         d.      Dependent Claim 9 Would Have Been Obvious

        9      A pharmaceutical product prepared by the process of claim 8.

         See explanation under independent claims 1 and 8. Sections II.C.1.a and II.C.1.c.

                 2.      Claims 1-3, 6, and 8-9 Would Have Been Obvious Over Moriarty 2004
                         in Combination with Phares 2005

                         a.      Motivation to Combine Moriarty 2004 with Phares 2005

                                 (1)     UTC is Precluded from Disputing the Motivation to
                                         Combine Moriarty and Phares 2005

         UTC’s argument concerning motivation to combine Moriarty with Phares 2005 is

 precluded because the issue was fully and fairly tried in a previous action involving substantially

 similar claims and was adversely resolved against UTC. For issue preclusion to apply, the

 unadjudicated and previously adjudicated claims need not be identical. Ohio Willow Wood Co. v.

 Alps S., LLC, 735 F.3d 1333, 1342 (Fed. Cir. 2013) (applying issue preclusion to parent patent

 with substantially similar claim as invalidated child patent). Rather, “it is the identity of the issues

 that were litigated that determines whether [issue preclusion] should apply.” Id. (emphasis in

 original). “If the differences between the unadjudicated patent claims and adjudicated patent

 claims do not materially alter the question of invalidity, [issue preclusion] applies.” Id.

         The issue of a motivation to combine Moriarty and Phares 2005 was already litigated and

 decided in the ’393 IPR and affirmed by the Federal Circuit. SteadyMed, IPR2016-00006, Paper

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 82 at 47, aff’d, United Therapeutics v. SteadyMed, 702 F. App’x 990 (2017). The ’393 and ’066

 Patent claims are substantially similar.     Both patents require a process of (i) alkylating a

 benzindene triol; (ii) hydrolyzing the product of step (i); (iii) contacting the product of step (ii)

 with a base to form a treprostinil salt; (iv) isolating the salt of treprostinil; and (v) optionally

 reacting the treprostinil salt from step (iii) to form treprostinil. The only differences are that the

 ’066 Patent claims include impurity limitations as to the starting batch and pharmaceutical

 composition. These differences are immaterial, because they are not excluded from the claims of

 the ʼ393 Patent and are nonetheless disclosed by the exact same combination of Moriarty and

 Phares 2005 that invalidated the ’393 Patent.

        Particularly for product-by-process claims, the product—not the process— controls. In re

 Thorpe, 777 F.2d 695, 697 (Fed. Cir. 1985); Amgen, 580 F.3d at 1369. UTC conceded that the

 ’393 and ’066 Patents claim the same product. See Amendment and Request for Reconsideration

 (U.S. App. No. 14/849,981) (Aug. 24, 2016) at 4 (UTC citing certificates of analysis for the

 product claimed in the ʼ393 Patent, and relied upon by UTC’s experts, to argue that “a

 pharmaceutical batch produced according to a salt formation process as covered by claim 1 [of the

 ’066 Patent] is different from the product produced by the process described in Moriarty 2004.”).

 Thus, the storage issues claimed in the ’066 Patent claims 6 and 8 would be the same for both

 patents’ products.

        In sum, UTC has “not provided any explanation regarding how the [additional] limitations”

 of the ’066 Patent are “patentably significant” to the motivation to combine Moriarty and Phares

 2005 “in view of the obviousness determination regarding the claims of the [’393] patent.” Ohio

 Willow Wood, 735 F.3d at 1343 (emphasis in original). Thus, issue preclusion should apply.




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                               (2)     A POSA Would Nonetheless Be Motivated to Combine
                                       Moriarty and Phares 2005

        A POSA would have been motivated to combine Moriarty 2004 and Phares 2005 at the

 time of the invention of the ’066 Patent. The combination of Moriarty 2004 and Phares 2005

 discloses the same process steps and same treprostinil product of the ’066 Patent.                 See

 Sections II.A.1 and II.A.2 supra. As discussed above, Moriarty 2004 teaches the preparation of

 treprostinil acid, and Phares 2005 teaches the preparation of treprostinil diethanolamine by

 dissolving treprostinil acid and treating it with diethanolamine. Moriarty at 1895, 1902; Phares

 2005 at 22. Phares 2005 further discloses two polymorphs of treprostinil diethanolamine and their

 relative stabilities. Phares 2005 at 85-89.




        First, a POSA would also be motivated to form a salt of treprostinil because, as Phares

 2005 expressly discloses, carboxylate salts (COO- M+) exhibit enhanced bioavailability relative to

 the free carboxylic acid (COOH). In particular, Phares 2005 teaches that “treprostinil as the free

 acid has an absolute oral bioavailability of less than 10%.” Phares 2005 at 2.



         For this reason, Phares 2005 identifies a “clinical interest in providing treprostinil orally.”

 Phares 2005 at 2. Phares 2005 specifically discloses a clinical study that determined treprostinil

 diethanolamine has an oral bioavailability of 21-25% when delivered in 0.2-2.0 mg doses—a

 greater than 100% increase compared to treprostinil free acid. Id. at 83. This finding is

 unsurprising, given that POSAs were aware that organic salts can “exhibit enhanced bioavailability

 and desirable formulation characteristics.” Berge, S.M., et al., “Pharmaceutical Salts,” J. Pharm.

 Scis., 66(1):1-19 (1977) at 7. Thus, a POSA would be motivated to form a salt form of treprostinil


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 in order to improve bioavailability.

        Second, a POSA would be motivated to form a salt of treprostinil because it was known

 that treprostinil diethanolamine had no safety problems relative to the FDA-approved drug,

 Remodulin®. In fact, Phares 2005 expressly discloses that the “safety profile with UT-15C

 (treprostinil diethanolamine) is consistent with the reported safety profile and product labeling of

 [FDA-approved] Remodulin (treprostinil sodium) and other prostacyclin analogs.” Phares 2005

 at 83; see also Pinal Dep. Tr. at 147:10-149:18.

        More specifically, Moriarty 2004 indicates that the crystalline treprostinil resulting from

 the disclosed process is obtained in the form of “[w]hite needles.” Moriarty 2004 at 1902. A

 POSA would have known that “needle-shaped crystals are not desirable because of their poor flow

 properties.” HANDBOOK OF PHARMACEUTICAL SALTS 137 (P. Heinrich Stahl, et al. eds., 1st ed.

 2002) (“Stahl 2002”) at p. 62; see also Declaration of Dr. Rodolfo Pinal, Liquidia Techs., Inc. v.

 United Therapeutics Corp., IPR2020-00769, Ex. 2002 at ¶ 258 (P.T.A.B. July 14, 2020) (UTC

 expert testifying that needle-shaped crystals were known to be unsuitable for downstream

 processing). To improve the flow properties, among others, of the treprostinil acid produced

 according to Moriarty 2004, a POSA would have been motivated to modify the resulting

 treprostinil product disclosed in Moriarty 2004. One means of improving the downstream

 processing properties of APIs is to make them into a salt form. See G. Steffen Paulekuhn, et al.,

 Trends in Active Pharmaceutical Ingredient Salt Selection based on Analysis of the Orange Book

 Database, 50 J. MED. CHEM. 6665-6672, 6665 (2007) (“Paulekuhn 2007”) (“Salt formation is a

 well-known technique to modify and optimize the physical chemical properties of an ionizable

 research or development compound. Properties such as solubility, dissolution rate, hygroscopicity,

 stability, impurity profiles, and crystal habits can be influenced by using a variety of



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 pharmaceutically acceptable counterions.”). Thus, a POSA would have sought to combine the

 treprostinil acid of Moriarty 2004 with the diethanolamine salt of Phares 2005 to improve

 properties, such as flow, of the pharmaceutical product.

        Third, a POSA would have sought to combine Phares 2005 and Moriarty 2004 because

 Phares 2005 is directed to improving treprostinil, and the Moriarty 2004 process, including those

 steps claimed by the ’066 Patent, was a well-known way to make treprostinil. Further, a POSA

 would have sought to combine Moriarty 2004 and Phares 2005 in order to eliminate the

 intermediate purification step taught by Moriarty 2004, thereby increasing synthetic efficiency and

 lowering production costs for treprostinil diethanolamine salt.

                                                                                    A POSA would

 understand that an intermediate purification step is unnecessary because not purifying the

 intermediate carboxylic acid before addition of a base does not affect salt formation.

        Fourth, a POSA would have sought to combine Phares 2005 and Moriarty 2004 because

 Phares 2005 teaches that treprostinil diethanolamine salts can be formulated as tablets and safely

 administered to patients. See Phares 2005 at 84-85.




                                      For these additional reasons, identified by a named inventor

 of the ’066 Patent, a POSA would have been motivated to combine Phares 2005 with

 Moriarty 2004.

        Lastly, to the extent UTC contends that a POSA would not be motivated to combine

 Moriarty and Phares 2005 because they are “directed to different problems,” UTC is incorrect.


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 Both Moriarty and Phares 2005 are directed to the same subject matter—that is, treprostinil. And

 even if they were directed to different problems, “[o]ne of ordinary skill in the art need not see the

 identical problem addressed in a prior art reference to be motivated to apply its teachings.” Cross

 Med. Prods., Inc. v. Medtronic Sofamor Danek, Inc., 424 F.3d 1293, 1323 (Fed. Cir. 2005).

        Accordingly, a POSA would have been motivated to combine the treprostinil acid disclosed

 in Moriarty 2004 with the diethanolamine treprostinil disclosed in Phares 2005.

                        b.      Reasonable Expectation of Success

        A POSA would have had a reasonable expectation of success in reacting the treprostinil

 taught by Moriarty 2004 with diethanolamine to form a treprostinil diethanolamine salt. “The

 reasonable expectation of success requirement refers to the likelihood of success in combining

 references to meet the limitations of the claimed invention.” Intelligent Bio-Sys., Inc. v. Illumina

 Cambridge Ltd., 821 F.3d 1359, 1367 (Fed. Cir. 2016).



                                                                                        The proposed

 combination of Moriarty 2004 and Phares 2005 yields treprostinil diethanolamine salt (i.e., the

 product claimed in independent claims 1 and 8 of the ’066 Patent) via the process taught by Phares

 2005. A POSA would have a reasonable expectation of success in doing so because Phares 2005

 successfully performed precisely that step. Id. Indeed, the combination of Moriarty 2004 and

 Phares 2005 results in essentially the same process as disclosed in Example 6 of the ʼ066 Patent.

 Further, a POSA would understand that forming a salt from the treprostinil acid disclosed in

 Moriarty 2004 would not make the resulting product less pure than the 99.7% disclosed in the

 reference. Schoffstall 2004 at 201-02; Wiberg 1960 at 112; Kawakami 1981 at 6; see also

 Laurence M. Harwood, et al., EXPERIMENTAL ORGANIC CHEMISTRY 127 (1st ed. 1989) (“Harwood

 1989”) (“The simplest and most effective technique for the purification of solid organic
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 compounds is crystallization. Crystalline compounds are easy to handle, their purity is readily

 assessed . . . and they are often easier to identify than liquids or oils.”).

                         c.      Independent Claim 1 Would Have Been Obvious

           Moriarty 2004 in combination with Phares 2005 teaches each element of claim 1 of the

 ’066 Patent.

                                 (1)     Claim Element 1[a]

    1[a]        A pharmaceutical composition comprising treprostinil or a pharmaceutically
                acceptable salt thereof, said composition prepared by a process comprising:


           Moriarty 2004 discloses the production of a pharmaceutical composition and the synthesis

 of treprostinil via the stereoselective intramolecular Pauson-Khand cyclization. Moriarty 2004 at

 1890. Structure 7 of Moriarty 2004 depicts the chemical structure of treprostinil and is shown

 below:




 Id. at 1892. This is the identical treprostinil pharmaceutical salt precursor disclosed in the ’066

 Patent:




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 ’066 Patent at 11:50-65.

        While the step of reacting treprostinil with a base to form a salt of 7 is not disclosed in

 Moriarty 2004, this step is clearly disclosed in Phares 2005. Phares 2005 at 22. Phares 2005

 discloses that treprostinil acid (which is equivalent to 7 in Moriarty 2004) is dissolved in a 1:1

 molar ratio mixture of ethanol: water and diethanolamine (i.e., the base) is added and dissolved.

 Id. The solution is heated and acetone is added as an antisolvent during cooling. Id. The resulting

 structure (left) corresponds to the treprostinil diethanolamine salt claimed in the ’066 Patent

 (right). A side-by-side comparison is shown below:




                         (Phares 2005)                                (’066 Patent)

 Phares 2005 at 9, 96 (claim 49); ’066 Patent at 9:5-18, 12:8-23 (Example 3). Other than a change

 in formatting, these two structures are identical.

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        The formation of salts by the reaction of carboxylic acids with bases is a common reaction

 in organic chemistry and this process is well within the skill of a POSA, as discussed above. E.g.,

 Kawakami 1981 at 6.

        This salt is the result of the same steps described in the’066 Patent (a) by forming a salt of

 treprostinil by combining the starting solution of treprostinil acid and a base and (b) isolating the

 treprostinil salt. ’066 Patent at claims 1 and 8. The isolated salt is then used to prepare a

 pharmaceutical batch comprising treprostinil or a salt thereof. Id.

        The combination of Moriarty 2004 and Phares 2005 discloses the same process steps and

 product of the ’066 Patent and as such, the combination of these references would disclose a purity

 of at least equal purity to that claimed in the ’066 Patent. In fact, in the IPR proceeding involving

 the related ʼ393 Patent, the PTAB determined that the product resulting from Moriarty 2004 is the

 same product as disclosed and claimed in the ʼ393 patent. SteadyMed, IPR2016-00006, Paper 82

 at 16 (The “batches of treprostinil produced according to the process steps recited in the challenged

 claims renders the claimed treprostinil structurally and functionally the same as treprostinil

 produced according to Moriarty [2004].”). Thus, for the same reasons, the product disclosed in

 Moriarty 2004 is necessarily the same as the product of the ʼ066 Patent, because it claims the exact

 same process as the ʼ393 patent. The ’066 Patent discloses that in one embodiment the “purity of

 compound of formula IV is at least 90.0%, 95.0%, 99.0% [or] 99.5%, where the compound of

 formula IV is treprostinil.” ’066 Patent at 9:22-23. This disclosure shows that the purity of

 treprostinil may be as low as 90.0%.

        Phares 2005 further discloses two crystalline forms of treprostinil diethanolamine salt,

 Form A and Form B. Phares 2005 at 85-89. Form A has an endotherm, 103° C and Form B has

 an endotherm, 107° C. Phares 2005 at 87-88. The higher melting point of Form B is consistent



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 and compatible with a higher degree of purity in Form B in comparison with Form A. Further,

 Form A is utilized as the starting material for the formation of Form B. Phares 2005 at 87-88. A

 POSA would understand that this transformation, similar to that described in the ’066 Patent,

 typically removes impurities. Id. As such, Form A should be purer than the starting batch and

 Form B purer than Form A. Id.

        Therefore, Moriarty 2004 in combination with Phares 2005 disclose a pharmaceutical

 composition comprising treprostinil or a salt thereof and impurities.

                                (2)     Claim Element 1[b]

     1[b]     providing a starting batch of treprostinil having one or more impurities resulting
              from prior alkylation and hydrolysis steps,

        Both Moriarty 2004 and Phares 2005 teach the alkylation and hydrolysis steps claimed in

 the ’066 Patent. See Moriarty 2004; Phares 2005. Moriarty 2004 teaches that the alkylating agent

 is ClCH2CN, which corresponds to Cl(CH2)wCN where w is 1 disclosed in the ’066 Patent.

 Moriarty 2004 at 1892, 1895; ’066 Patent at 2:36-47. Moriarty 2004 further discloses that the base

 in step (b) is KOH. Moriarty at 1892, 1895. Phares 2005 teaches the exact same alkylation and

 hydrolyzing steps for treprostinil’s enantiomer, detailed as “step (1)”: (1) i. ClCH2CN, K2CO3. ii.

 KOH, CH3OH, reflux. 83% (2 steps) and disclosed as equally applicable to treprostinil. Phares

 2005 at 39, 40; see also Section I.A.1.b (explaining how Phares 2005 teaches synthesis of (+)-

 treprostinil). Chloroacetonitrile (ClCH2CN) was known in the art at the time of the invention to

 play an important role in alkylation reactions, and methanolic potassium hydroxide (KOH,

 CH3OH) was known to play an important role in hydrolysis. It thus would have been obvious to

 a POSA that the starting batch of treprostinil, as prepared in Moriarty 2004 or the Phares 2005

 treprostinil acid disclosed at page 22, would result from these previously described alkylation and

 hydrolysis steps. Indeed, Dr. Pinal agrees that all reactions produce impurities.

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                                  Based on these identical starting materials and reagents, a POSA

 would expect the starting batch of treprostinil from Moriarty 2004 and Phares 2005 to contain one

 or more impurities resulting from the prior alkylation and hydrolysis steps.

                                 (3)     Claim Element 1[c]

      1[c]      forming a salt of treprostinil by combining the starting batch and a base,

         As discussed above, Moriarty 2004 discloses the identical treprostinil precursor and Phares

 2005 discloses the identical pharmaceutically acceptable treprostinil diethanolamine salt as the

 ’066 Patent.

         Scheme 4 of Moriarty 2004 teaches that 35 is hydrolyzed with a base (i.e., aqueous KOH),

 followed by acidification to yield 7, the treprostinil salt precursor disclosed in the ’066 Patent.

 Moriarty 2004 at 1895, 1902. Phares 2005 also teaches the same reactions of the enantiomeric

 treprostinil salt precursor: (1) i. ClCH2CN, K2CO3. ii. KOH, CH3OH, reflux. 83% (2 steps). Phares

 2005 at 40. Phares 2005 explains that “[e]nantiomers of these compounds . . . can be synthesized

 using reagents and synthons of enantiomeric chirality of the above reagents,” thereby inherently

 teaching the synthesis of both enantiomeric forms of treprostinil, both (-)-treprostinil and (+)-

 treprostinil. Id. at 39-40.

         Treprostinil can be further converted to treprostinil salt in view of the disclosed preparation

 on page 22 of Phares 2005, wherein the treprostinil is added to and dissolved in diethanolamine

 (i.e., a base) in a 1:1 molar ratio mixture of ethanol: water and the resulting salt further precipitated

 and purified to form the crystalline form (i.e., “Form B”). Id. at 85-89. This disclosure of the


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 diethanolamine salt formation is identical to the pharmaceutical salt of treprostinil as disclosed in

 claims 1 and 8 of the ’066 Patent.

                                (4)     Claim Element 1[d]

      1[d]     isolating the treprostinil salt, and

        Phares 2005 discloses isolating the identical pharmaceutically acceptable treprostinil

 diethanolamine salt form as the ’066 Patent. See Phares 2005’s further disclosure of the same

 element in Ground 1, supra at Section II.C.1.a.(4).

                                (5)     Claim Element 1[e]

      1[e]     preparing a pharmaceutical composition comprising treprostinil or a
               pharmaceutically acceptable salt thereof from the isolated treprostinil salt,

        See Phares 2005’s disclosure of the same element in Ground 1. Section II.C.1.a.(5).

                                (6)     Claim Element 1[f]

      1[f]     whereby a level of one or more impurities found in the starting batch of
               treprostinil is lower in the pharmaceutical composition, and

        As the combination of Moriarty 2004 with Phares 2005 discloses the same process steps

 and product of the ’066 Patent, the combination of these references would disclose a purity of at

 least equal purity to that claimed in the ’066 Patent.

        The claim language of the ’066 Patent does not disclose the percentage of “impurity”

 required in the starting batch of treprostinil and simply states “having one or more impurities.”

 The ’066 Patent discloses that in one embodiment the “purity of compound of formula IV is at

 least 90.0%, 95.0%, 99.0% [or] 99.5%,” where the compound of formula IV is treprostinil. ’066

 Patent at 9:22-23. This disclosure shows that the purity of treprostinil may be as low as 90.0%.

 Moriarty 2004 discloses a purity of 99.7%. Moriarty 2004 at 1902.

        Based on the identical starting materials and chemical steps used to make treprostinil in


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 Phares 2005 and the ’066 Patent, as discussed further in Sections II.A.1 and II.C.1.a.(2), a POSA

 would expect the “starting batch” of treprostinil to necessarily contain impurities resulting from

 the prior alkylation and/or hydrolysis steps.




                                                          Further, because Phares 2005 discloses the

 same method of making treprostinil salts as claimed in the ’066 Patent, the pharmaceutical batch

 of Phares 2005 would also have contained a lower amount of one or more impurities than the

 starting batch of treprostinil. Accordingly, that the claimed pharmaceutical composition contains

 a lower amount of one or more impurities than the starting batch of treprostinil was neither new

 nor nonobvious. Thorpe, 777 F.2d at 697 (“If the product in a product-by-process claim is the

 same as or obvious from a product of the prior art, the claim is unpatentable even though the prior

 product was made by a different process.”); see also Amgen, 580 F.3d at 1366 (“It has long been

 the case that an old product is not patentable even if it is made by a new process.”).

        Additionally, a POSA would have a reasonable expectation that the treprostinil salt

 described in Phares 2005 would contain a lower amount of one or more impurities than the starting

 batch of treprostinil because crystallization of the starting batch to make the treprostinil salt would

 purify the sample. See Harwood 1989 at 127 (“The simplest and most effective technique for the

 purification of solid organic compounds is crystallization. Crystalline compounds are easy to

 handle, their purity is readily assessed . . . and they are often easier to identify than liquids or

 oils.”). Further, because regeneration of the carboxylic acid was a standard chemical purification

 method known in the art (see, e.g., Ege 1989 at 546; Schoffstall 2004 at 201-02; Wiberg 1960 at



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 112; Kawakami 1981 at 6), a POSA would know that formation of a pharmaceutical product

 comprising treprostinil acid by reacting the treprostinil salt with an acid (e.g., HCl) would further

 purify the pharmaceutical composition.       Thus, a POSA would know that a pharmaceutical

 composition comprising either treprostinil acid or treprostinil salt made by the process disclosed

 in Phares 2005 and claimed in the ’066 Patent would possess less impurities than the starting batch

 of treprostinil resulting from the prior alkylation and/or hydrolysis steps.

        Accordingly, that the pharmaceutical composition described in Phares 2005 and claimed

 by the ’066 Patent contains a lower amount of one or more impurities than the starting batch of

 treprostinil would have been obvious to a POSA in December 2007 over Moriarty 2004 in

 combination with Phares 2005.

                                (7)     Claim Element 1[g]

      1[g]     wherein said alkylation is alkylation of benzindene triol.

        Moriarty 2004 teaches alkylation of benzindene triol. Moriarty 2004 at 1897. The

 alkylation reaction of 34 to yield 35 as disclosed in Moriarty 2004 is equivalent to the alkylation

 reaction disclosed in the ’066 Patent. 34 and 35 of Moriarty 2004 are as follows:




 Id. at 1895, 1902. Moriarty 2004 teaches that the triol (34) was alkylated at the phenolic hydroxyl

 group with use of chloroacetonitrile in refluxing acetone with potassium carbonate (34 → 35) and

 nitrile 35 was hydrolyzed with ethanolic potassium hydroxide to yield UT-15 (7). Id. at 1897.

 This is the same triol disclosed in the ’066 Patent as shown below:
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                    (’066 Patent)                                       (Moriarty 2004)

 ’066 Patent at 10:17-26; Moriarty 2004 1895, 1902.

        As discussed above in Section II.C.1.a.(7), Phares 2005 also discloses alkylation of a

 benzindene triol (11b → 2). Phares 2005 at 40. A POSA would recognize that step (l) disclosed

 in Phares 2005 (i. ClCH2CN, K2CO3) teaches the same alkylation reaction to give the nitrile

 disclosed in Phares 2005.

                       d.      Dependent Claims 2-3 and 6 Would Have Been Obvious

                               (1)     Claim 2

       2      The pharmaceutical composition of claim 1, wherein the salt is isolated in
              crystalline form.

        As discussed above, while Moriarty 2004 does not teach preparation of a diethanolamine

 salt of treprostinil or a pharmaceutical product comprising treprostinil salt, Phares 2005 teaches

 preparation of treprostinil diethanolamine by dissolving treprostinil acid and treating it with

 diethanolamine.    Phares 2005 at 22.        The pharmaceutical acceptability of treprostinil

 diethanolamine is clearly disclosed in Phares 2005. Id. at 48 (The invention of Phares 2005

 “provides for compositions which may be prepared by mixing one or more compounds of the

 instant invention, or pharmaceutically acceptable salts thereof, with pharmaceutically acceptable


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 carriers, excipients, binders, diluents or the like, to treat or ameliorate a variety of disorders related

 vasoconstriction and/or platelet aggregation.”). Accordingly, a POSA would have found it

 obvious to prepare a product from the pharmaceutically acceptable treprostinil diethanolamine salt

 of Phares 2005 that was in turn prepared from the treprostinil free acid obtained by the process of

 Moriarty 2004.

         Phares 2005 further discloses two crystalline forms of treprostinil diethanolamine salt,

 Form A and Form B. Phares 2005 at 85 (“Two crystalline forms of UT-15C were idenitified [sic]

 as well as an amorphous form”) (emphasis added).) A particularly preferred embodiment of the

 invention disclosed in Phares 2005 is “Form B of treprostinil diethanolamine.” Id. at 9. Phares

 2005 therefore discloses the same treprostinil diethanolamine salt, in crystalline form, as the ’066

 Patent. Further, a sophomore organic chemistry student would understand that isolation of

 crystalline Forms A and B (wherein Form B is assumed to have higher purity than Form A) would

 be possible.

                                 (2)     Claim 3

        3       The pharmaceutical composition of claim 1, wherein the base is selected from the
                group consisting of sodium, ammonia, potassium, calcium, ethanolamine,
                diethanolamine, N-methylglucamine, and choline.

         As explained supra in Section II.C.1.b.(2), Phares 2005 discloses the additional elements

 of claim 3.

         In addition, the language of claim 3 is indefinite, because the recited sodium, potassium,

 and calcium on their own are not bases; rather, they are counterions that result from treatment of

 the treprostinil acid with the corresponding bases.

                                 (3)     Claim 6

        6       The pharmaceutical composition of claim 1, wherein the isolated salt is stored at
                ambient temperature.

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            For the reasons stated above in Section II.C.1.b.(3), a POSA would have found it obvious

 that treprostinil diethanolamine salt was storable at ambient temperature.

                           e.     Independent Claim 8 Would Have Been Obvious

                                  (1)     Claim Elements 8[a]-8[c]

       8[a]       A process of preparing a pharmaceutical product comprising treprostinil or a
                  pharmaceutically acceptable salt thereof, comprising:
      8[b]        alkylating a triol intermediate of the formula:




       8[c]       hydrolyzing the resulting compound to form treprostinil,

            As discussed above, Moriarty 2004 and Phares 2005 disclose the synthesis of the

 treprostinil in the ’066 Patent. Specifically, Moriarty 2004 3 teaches the alkylation of triol

 intermediate 34 (left) which has the same formula as the triol structure in claim 8 of the ’066 Patent

 (right):




 3
   During the ’066 IPR, UTC admitted that the “Former Process” of Example 6 is the process
 described in Moriarty 2004. See Liquidia Techs., Inc. v. United Therapeutics Corp., IPR2020-
 00769, Paper No. 6 at 66 (P.T.A.B. July 14, 2020) (“The ‘former process’ in example 6 is
 essentially the same as Liquidia’s Moriarty [2004] references.”); see also SteadyMed Ltd. v. United
 Therapeutics Corp., IPR2016-00006, Paper No. 32 at 5 (P.T.A.B. July 6, 2016) (“The ’393 Patent
 includes a side-by-side comparison in Example 6 to show the difference between the Moriarty
 [2004] product and the ’393 product . . . .”).
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                         (Moriarty 2004)                                (’066 Patent)

 Moriarty 2004 at 1895; ’066 Patent at 9:54-63) Moriarty 2004 teaches that the “[t]riol (34) was

 alkylated at the phenolic hydroxyl group with use of chloroacetonitrile in refluxing acetone with

 potassium carbonate (34→ 35) and nitrile (35) was hydrolyzed with ethanolic potassium hydroxide

 to yield UT-15 (7) in 9% overall yield.” Moriarty 2004 at 1897 (emphasis added).) Phares 2005

 discloses the same reaction conditions for the triol alkylation step as Moriarty 2004 and as the ’066

 Patent, where “R” can be “H” (structure 11b):




 Phares 2005 at 40. Phares 2005 discloses that the reaction could be performed on the enantiomer

 of the substrate that is taught in Moriarty 2004 and the ‘066 Patent. Id. at 39-40. Phares 2005

 further explains that “[e]nantiomers of these compounds…can be synthesized using reagents and

 synthons of enantiomeric chirality of the above reagents,” thereby inherently teaching the synthesis

 of both enantiomeric forms of treprostinil, both (-)-treprostinil and (+)-treprostinil. Id.



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         Further, Moriarty 2004 teaches hydrolyzing the product 35, obtained on alkylation of triol

 34, to form treprostinil (7):




 Moriarty 2004 at 1895. Moriarty 2004 teaches that “. . . nitrile (35) was hydrolyzed with ethanolic

 potassium hydroxide to yield UT-15 (7) in 9% overall yield.” Id. at 1897 (emphasis added).

         Phares 2005 also teaches hydrolyzing the product obtained on alkylation of triol 11b (with

 chloroacetonitrile) to form 2, the enantiomer of treprostinil:




 Phares 2005 at 39-40 (detailed as “step (1)”): (1) i. ClCH2CN, K2CO3. ii. KOH, CH3OH, reflux.

 83% (2 steps).

         Thus, claim elements 8[a]-[c] are obvious over the combination of Moriarty 2004 and

 Phares 2005.

                                 (2)     Claim Elements 8[d]-[e]

      8[d]      forming a salt of treprostinil stable at ambient temperature,
      8[e]      storing the treprostinil salt at ambient temperature, and

         See explanation under independent claim 1 and dependent claim 6. Sections II.C.2.c and


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 II.C.2.d.(3).

                                 (3)     Claim Element 8[f]

      8[f]       preparing a pharmaceutical product from the treprostinil salt after storage,

         As treprostinil and treprostinil diethanolamine salt are disclosed in Phares 2005 and the

 ’066 Patent, there are no structural differences between these molecules that would require

 different storage conditions or indicate that the pharmaceutical product could not be formed from

 the salt after storage. The same process used to form salts before storage would also be used to

 form salts after storage; this step is not novel or an improvement. Phares 2005 thus inherently

 discloses preparation of a pharmaceutical product from the treprostinil salt after storage.

                                 (4)     Claim Element 8[g]

      8[g]       wherein the pharmaceutical product comprises treprostinil or a pharmaceutically
                 acceptable salt thereof.

         See explanation under independent claim 1. Section II.C.2.c.(1).

                         f.      Dependent Claim 9 Would Have Been Obvious

        9        A pharmaceutical product prepared by the process of claim 8.

         See explanation under independent claims 1 and 8. Sections II.C.2.c and II.C.2.e.

         D.       Claims 1-3, 6, and 8-9 Are Invalid Under 35 U.S.C. § 112

         The Asserted Claims of the ’066 Patent are invalid under 35 U.S.C. § 112 for lack of written

 description support, lack of enablement, and indefiniteness. To the extent UTC contends that

 claims 1-3, 6, and 8-9 of the ’066 Patent are not obvious, the asserted claims of the ’066 patent are

 invalid under 35 U.S.C. § 112 for the reasons stated below. “[T]he test for sufficiency is whether

 the disclosure of the application relied upon reasonably conveys to those skilled in the art that the

 inventor had possession of the claimed subject matter as of the filing date.” Ariad Pharms., Inc.

 v. Eli Lilly & Co., 598 F.3d 1336, 1351 (Fed. Cir. 2010) (en banc). The applicant must “‘convey

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 with reasonable clarity to those skilled in the art that, as of the filing date sought, he or she was in

 possession of the invention,’ and demonstrate that by disclosure in the specification of the patent.”

 Carnegie Mellon Univ. v. Hoffmann-La Roche Inc., 541 F.3d 1115, 1122 (Fed. Cir. 2008) (quoting

 Vas-Cath Inc. v. Mahurkar, 935 F.2d 1555, 1563-64 (Fed. Cir. 1991)). “One cannot disclose a

 forest in the original application, and then later pick a tree out of the forest and say here is my

 invention.” Purdue Pharma L.P. v. Faulding Inc., 230 F.3d 1320, 1326-37 (Fed. Cir. 2000)

 (finding “nothing in the written description of Examples 1 and 3 that would suggest to one skilled

 in the art that the [claimed invention] is an important defining quality of the formulation, nor does

 the disclosure even motivate one to [reach the claimed invention]”). Lastly, patents may need to

 disclose experimental data to provide an adequate written description if the inventor expressly

 claims that the invention achieves a certain result or has an efficacy limitation. Nuvo Pharms.

 (Ireland) Designated Activity Co. v. Dr. Reddy’s Labs. Inc., 923 F.3d 1368, 1384 (Fed. Cir. 2019)

 (“[W]hen the inventor expressly claims that result, our case law provides that that result must be

 supported by adequate disclosure in the specification.”).

        To satisfy the enablement requirement under § 112(a), the specification must enable a

 person having ordinary skill in the art to make and use the invention. Wyeth & Cordis Corp. v.

 Abbott Labs., 720 F.3d 1380, 1384 (Fed. Cir. 2013). This requirement is met when at the time of

 filing the application, one skilled in the art, having read the specification, could practice the

 invention without “undue experimentation.” ALZA Corp. v. Andrx Pharms., LLC, 603 F.3d 935,

 940 (Fed. Cir. 2010) (quoting Genentech Inc. v. Novo Nordisk A/S, 108 F.3d 1361, 1365 (Fed. Cir.

 1997)). Finally, under § 112, patent claims must “particularly point[] out and distinctly claim[]

 the subject matter” regarded as the invention. 35 U.S.C. § 112(b).




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        A patent is “invalid for indefiniteness if its claims, read in light of the specification

 delineating the patent, and the prosecution history, fail to inform, with reasonable certainty, those

 skilled in the art about the scope of the invention.” Nautilus, Inc. v. Biosig Instruments, Inc., 572

 U.S. 898, 901 (2014). As discovery is ongoing, Liquidia reserves the right to supplement and/or

 amend these contentions.

                1.      Claim 1 Lacks Written Description Support and is Not Enabled

                        a.      “Impurities” Limitation Lacks Written Description Support

        Asserted Claim 1 of the ’066 Patent recites “a starting batch of treprostinil having one or

 more impurities resulting from prior alkylation and hydrolysis steps” and requires that “a level of

 one or more impurities found in the starting batch of treprostinil is lower in the pharmaceutical

 composition” of treprostinil salt or subsequently reformed treprostinil. ’066, 17:53-55, 17:60-62.

 However, the ’066 patent specification never discloses any measurement of impurities resulting

 from the alkylation or hydrolysis steps in the “starting batch of treprostinil,” and in particular

 provides no analysis of the purity of the treprostinil free acid made after hydrolysis, or the

 impurities and their amounts that may remain in the treprostinil free acid that result from alkylation

 and hydrolysis. See id. at Examples 1 and 2; Example 6 (between steps 14 and 15 or between steps

 30 and 31). Nor does the ’066 patent specification disclose any purity measurements after salt

 formation or the impurities resulting from prior alkylation or hydrolysis and their amounts that

 may remain in the treprostinil salt. See id. at Examples 3, 4; Batra Dep. Tr. at 237:13-241:7. As

 such, the ʼ066 patent does not demonstrate that the inventors actually determined that “a starting

 batch of treprostinil” had “one or more impurities resulting from prior alkylation and hydrolysis

 steps” or whether the “level of one or more impurities [resulting from prior alkylation or

 hydrolysis] found in the starting batch of treprostinil is lower in the pharmaceutical composition,”

 and for this reason, the specification of the ʼ066 patent does not convey to a skilled artisan that the

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 inventors had possession of this limitation. The ’066 patent specification thus fails to provide any

 written description support for claim 1’s recited reduction in impurities resulting from prior

 alkylation or hydrolysis between its starting batch and pharmaceutical composition.

                        b.      “Salt” Limitation Lacks Written Description Support and Is
                                Not Enabled

        Asserted Claim 1 of the ’066 Patent recites “forming a salt of treprostinil by combining the

 starting batch and a base.” ’066, 17:55-56. The claim recites use of any base to form a salt, while

 the patent specification only has a few lines identifying such bases. Id. at 5:27-30 (identifying

 only “sodium, ammonia, potassium, calcium, ethanolamine, diethanolamine, N-methylglucamine,

 choline and the like” as bases).

        This disclosure is not sufficient to enable a skilled artisan to practice the full scope of claim

 1.




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        Nor does the ’066 patent adequately describe the full scope of claim 1.




                                                                                        Thus, the ’066

 patent’s disclosure of possible bases does not provide adequate description of the broad spectrum

 of specific acid-base combinations that work to form a salt of treprostinil.

                2.      Claims 6, 8, and 9 Lack Written Description Support

                        a.      “Stored”/“Storing”/“Storage” at “Ambient Temperature”
                                Lack Written Description Support

        Asserted Claim 6 is directed to a pharmaceutical composition of claim 1, wherein the

 isolated salt is “stored” at “ambient temperature,” which the Court construed as “room temperature

 (equal to or less than the range of 15°C to 30°C).” D.I. 119 at 1. Asserted Claim 8 of the ’066

 Patent, which Asserted Claim 9 depends, is directed to a method of preparing the pharmaceutical

 product comprising treprostinil or treprostinil salt by “forming a salt of treprostinil stable at

 ambient temperature, storing the treprostinil salt at ambient temperature, and preparing a

 pharmaceutical product from the treprostinil salt after storage . . . .” “[T]he test for sufficiency is

 whether the disclosure of the application relied upon reasonably conveys to those skilled in the art

 that the inventor had possession of the claimed subject matter as of the filing date.” Ariad Pharms,

 598 F.3d at 1351. An adequate written description need not in every instance describe an actual

 reduction to practice but “must nonetheless ‘describe the claimed subject matter in terms that

 establish that [the applicant] was in possession of the . . . claimed invention, including all of the


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 elements and limitations.’” University of Rochester v. G.D. Searle & Co., 358 F.3d 916, 926 (Fed.

 Cir. 2004) (quoting Hyatt v. Boone, 146 F.3d 1348, 1353 (Fed. Cir. 1998)). The specification,

 moreover, must provide written description support for an entire claimed range. Eiselstein v.

 Frank, 52 F.3d 1035, 1040 (Fed. Cir. 1995) (“Since the grandparent application only disclosed a

 nickel range of 45-55%, it can hardly be said to have disclosed 50-60%.”). Accordingly, the

 specification of the ’066 Patent must sufficiently describe a method of “storing” a treprostinil salt

 at the full range of 15 to 30° C and preparing a pharmaceutical product from the salt after “storage”

 and also a pharmaceutical composition wherein the “isolated salt is stored at ambient temperature,”

 such that a person of skill in the art would recognize that the named inventors actually invented

 what is claimed.

        A POSA reviewing the specification of the ʼ066 Patent would conclude that the inventors

 were not in possession of a method of preparing a pharmaceutical product from a treprostinil salt

 that was “stored” at ambient temperature, or an isolated salt stored at the full range of 15 to 30° C.

 Initially, the ʼ066 patent does not include any data where a treprostinil salt was stored for any

 period of time at ambient temperature.



                                                                      Dep. Tr. 256:7-265:2. Further,

 as UTC noted in its Preliminary Response to Liquidia’s IPR Petition with respect to the ’066

 Patent, “[p]rostaglandin derivatives,” like treprostinil, “in particular were known to be unstable

 upon storage due to inherent instability of the crystalline lattice of these compounds owning to

 their long, flexible sidearms, as well as the presence of multiple polymorphic crystals.” Liquidia

 Techs., Inc. v. United Therapeutics Corp., IPR2020-00769, Paper 6 at 52 (P.T.A.B. July 14, 2020).

 Further, UTC noted in its Preliminary Response that “[e]nvironmental factors are a significant



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 factor (e.g., temperature, oxygen, atmosphere, humidity). This is especially true for compounds

 stored as salts.” Id. In UTC’s Patent Owner Response to Liquidia’s IPR Petition with respect to

 the ’901 Patent, UTC further argued that a POSA would require storage stability data to believe a

 treprostinil salt could be stored at ambient temperature.          Liquidia Techs., Inc. v. United

 Therapeutics Corp., IPR2020-00770, Paper 12 at 29 (P.T.A.B. Dec. 21, 2020) (“No storage

 stability data is presented [in Phares].”); see also Declaration of Rodolfo Pinal, Ph.D. Supporting

 United Therapeutic Corporation’s Patent Owner Response, Liquidia Techs., Inc. v. United

 Therapeutics Corp., IPR2020-00770, Ex. 2025 at ¶ 204 (P.T.A.B. Dec. 21, 2020) (“Phares also

 does not provide any storage stability data or suggest that an isolated treprostinil salt can be stored

 at ambient temperature prior to the preparation of a pharmaceutical composition.”).

        Additionally, named inventor




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        Considering these admissions , the specification of the ’066 Patent provides no evidence

 or disclosure that the treprostinil salts of the claimed invention were actually “stored” for any

 length of time, let alone at 15 to 30° C, that the inventors were in possession of an isolated salt that

 was stored at the full range of ambient temperature, or that the inventors were in possession of a

 method of “storing” a treprostinil salt at ambient temperature and preparing a pharmaceutical

 product of treprostinil after such “storage.” The specification of the ’066 Patent provides only a

 generic statement regarding the “stor[age]” of “crude treprostinil salts” at ambient temperature,

 which provides no greater detail than the claims themselves. See ’066 Patent at 17:32–38

 (“Additional advantages of this process are: (a) crude treprostinil salts can be stored as raw material

 at ambient temperature and can be converted to treprostinil by simply acidification with diluted

 hydrochloric acid, and (b) the treprostinil salts can be synthesized from the solution of treprostinil

 without isolation.”). The ʼ066 Patent does not disclose any experimental data to support these

 statements, and further lacks any details as to how long the “crude treprostinil salt” can be stored

 or under what conditions, other than temperature.

        Further, a POSA reading the specification of the ’066 Patent would also not understand

 that the “crude treprostinil salts” described in the specification constitute a “salt of treprostinil

 stable at ambient temperature” within the meaning of claim 8 as the treprostinil salt itself can be

 the claimed pharmaceutical product (claim 8 does not require any additional processing steps for

 the treprostinil salt prior to incorporating it into the “pharmaceutical product.”). Similarly, a POSA

 reading the specification of the ’066 Patent would not understand that the “crude treprostinil salts”

 constitute “isolated salt[s]” within the meaning of claim 6 as the specification provides no



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 indication that the treprostinil salt was ever isolated. And even if the “crude treprostinil salts”

 described in the specification of the ’066 Patent constitute a “salt of treprostinil stable at ambient

 temperature” within the meaning of claim 8 or “isolated salt” within the meaning of claim 6, which

 Liquidia does not concede, the specification of the ’066 Patent does not provide evidence that the

 “crude” salts were ever actually stored, let alone for what length of time and under what conditions

 other than temperature. Moreover, the specification of the ʼ066 Patent states only that “crude

 treprostinil salts” can be stored at ambient temperatures, and such “crude” salts must be further

 processed. There is no indication in the specification of the ʼ066 Patent that the inventors were in

 possession of an “isolated salt” or a “salt of treprostinil” that could be “stored” within the meaning

 of claims 6 or 8.

         The specification and claim’s vague description of “storing” crude treprostinil salts and a

 “salt of treprostinil stable at ambient temperature” also lacks information as to “significant”

 environmental conditions, according to UTC, such as oxygen, atmosphere, and humidity, that the

 isolated salt or treprostinil salt can be stored. Regents of the University of California v. Eli Lilly

 & Co., 119 F.3d 1559, 1568 (Fed. Cir. 1997) (“The description requirement of the patent statute

 requires a description of an invention, not an indication of a result that one might achieve if one

 made that invention.”). A disclosure of “ambient temperature” provides no information as to, for

 example, the % relative humidity at which the treprostinil salt can stored. Considering UTC’s

 contention that the significance of these undefined variables is “especially true for compounds

 stored as salts,” and the lack of these variables in which the isolated treprostinil salt can be stored,

 a skilled artisan would not conclude that the inventors were in possession of the invention claimed

 in claims 6 and 8. Thus, claims 6, 8, and 9 of the ’066 Patent are invalid for lack of written

 description.



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                         b.      To the Extent UTC Contends that Claims 1 and 8 Permit
                                 “Isolation” of Treprostinil Before Combining with a Base to
                                 Form a Salt, the Asserted Claims Lack Adequate Written
                                 Description Support

         Claim 1 of the ʼ066 Patent requires “forming a salt of treprostinil by combining the starting

 batch and a base.” Additionally, claim 8 requires “forming a salt of treprostinil.” “[T]he test for

 sufficiency is whether the disclosure of the application relied upon reasonably conveys to those

 skilled in the art that the inventor had possession of the claimed subject matter as of the filing

 date.” Ariad, 598 F.3d at 1351. To the extent UTC argues that claims 1 and 8 permit isolation of

 treprostinil prior to contacting the treprostinil with a base to form a salt, the claims lack adequate

 written description support as the specification does not disclose that such a process will result in

 the claim requirement that “a level of one or more impurities found in the starting batch of

 treprostinil is lower in the pharmaceutical composition.”

         More specifically, all of the examples disclosed in the specification of the ʼ066 Patent

 disclose forming a salt of treprostinil by contacting treprostinil in solution with a base. Indeed,

 Example 2 specifically states that “[t]he filtrate (pale yellow) was reduced to volume of 35-40 L

 by evaporation in vacuo at 50-55° C for direct use in the next step.” See ’066 Patent at 11:46-48

 (emphasis added). The treprostinil was not isolated prior to conducting the “next step”—formation

 of a treprostinil salt. Additionally, Example 6, which compares UTC’s “Former Process” against

 the “Process According to the Present Invention,” discloses that the treprostinil formed according

 to the present invention is not isolated prior to preparing the salt form, whereas the treprostinil of

 the “Former Process” is isolated as a “solid.” Id. at col. 15, steps 30-31. According to the ʼ066

 Patent’s specification, “[t]he quality of treprostinil produced according to this invention [Example

 6] is excellent. . . . The impurities carried over from the intermediate steps (i.e. alkylation of triol

 and hydrolysis of the benzindene nitrile) are removed during the carbon treatment and the salt


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 formation step.” Id. at 17:27-32. The “salt formation” step of the “invention” is performed without

 first isolating treprostinil prior to contacting with a base. Further, the ʼ066 Patent acknowledges

 that “[a]dditional advantages of this process are . . . (b) the treprostinil salts can be synthesized

 from the solution of treprostinil without isolation” and that “[t]his process provides better quality

 of final product as well as saves significant amount of solvents and manpower in purification of

 intermediates.” Id. at 17:32-40 (emphases added).




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        As such, as described in the specification of the ʼ066 Patent, in order to achieve the

 limitation in claim 1 that “a level of one or more impurities found in the starting batch of

 treprostinil is lower in the pharmaceutical composition,” the specification only discloses that result

 where the treprostinil is not isolated prior to contacting with a base. And with respect to claim 8,

 the specification does not disclose that the treprostinil can be isolated prior to contacting with a

 base to form a salt. Considering the specification of the ʼ066 Patent in light of the limitations of

 claims 1 and 8, a person of ordinary skill in the art would not conclude that the inventors were in

 possession of a process wherein treprostinil was isolated prior to contacting it with a base to form

 a salt of treprostinil. As such, to the extent UTC contends that claims 1 and 8 permit isolation of

 treprostinil before reaction with a base to form a salt, claims 1 and 8, which all other Asserted

 Claims of the ’066 Patent depend, lack adequate written description support.

                        a.      To the Extent UTC Contends that Claims 1 and 8 Permit
                                Column Chromatography Between Alkylation and Salt
                                Formation, the Asserted Claims Lack Written Description
                                Support

        To the extent UTC argues that claims 1 and 8 permit column chromatography between

 alkylation and salt formation, the claims lack adequate written description support as the

 specification does not disclose that such a process will result in the claim requirement that “a level

 of one or more impurities found in the starting batch of treprostinil is lower in the pharmaceutical

 composition.” “[T]he test for sufficiency is whether the disclosure of the application relied upon

 reasonably conveys to those skilled in the art that the inventor had possession of the claimed

 subject matter as of the filing date.” Ariad, 598 F.3d at 1351.

        The examples of the ’066 Patent only describe a process of the invention in which no

 column chromatography appears between alkylation and salt formation. The ʼ066 Patent states

 that “the purification by column chromatography is eliminated, thus the required amount of


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 flammable solvents and waste generated are greatly reduced.” ’066 Patent at 5:57-64 (emphasis

 added); id. at 6:4-7:31, 7:64-9:21. Example 1, “Alkylation of Benzindene Triol,” states: “[t]he

 crude benzindene nitrile was used as such in the next step without further purification.” Id. at

 10:36-37 (emphasis added). Example 2, “Hydrolysis of Benzindene Nitrile,” states: “[t]he filtrate

 (pale-yellow) was reduced to volume of 35-40 L by evaporation in vacuo at 50-55° C. for direct

 use in next step,” which is salt formation, as described in Example 3. Id. at 11:46-48 (emphasis

 added). No column chromatography was performed before salt formation. Finally, Example 6

 provides a “Comparison of the Former Process and a Working Example of the Process According

 to the Present Invention.” Id. at 15:1-17:25 (emphasis added). In the “Former Process,”

 “Purification” is performed by column chromatography, whereas the “Working example of the

 Process according to the present invention” includes “No column.” Id. at Example 6 (Step No.

 12).




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        Emphasizing the advantages of the “present invention,” the specification concludes that

 “[t]he quality of treprostinil produced according to this invention is excellent. The purification of

 benzindene nitrile by column chromatography is eliminated.” Id. at 17:27-29 (emphasis added).




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        As such, as described in the specification of the ʼ066 Patent, in order to achieve the

 limitation in claim 1 that “a level of one or more impurities found in the starting batch of

 treprostinil is lower in the pharmaceutical composition,” the specification only discloses that result

 where column chromatography is not conducted between alkylation and salt formation. And with

 respect to claim 8, the specification does not disclose that column chromatography can be

 conducted between alkylation and salt formation. Considering the specification of the ʼ066 Patent

 in light of the limitations of claims 1 and 8, a person of ordinary skill in the art would not conclude

 that the inventors were in possession of a process wherein column chromatography appeared

 between alkylation and salt formation resulting in the claim requirement that “a level of one or

 more impurities found in the starting batch of treprostinil is lower in the pharmaceutical

 composition.”    As such, to the extent UTC contends that claims 1 and 8 permit column

 chromatography between alkylation and salt formation, claims 1 and 8, which all other Asserted

 Claims of the ’066 Patent depend, lack adequate written description support.




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                    3.   Claims 6, 8, and 9 Are Not Enabled

                         a.      “Stored”/“Storage”/“Storing” at “Ambient Temperature” Are
                                 Not Enabled

         Asserted Claim 6 is directed to a pharmaceutical composition of claim 1, wherein the

 isolated salt is “stored” at “ambient temperature,” which the Court construed as “room temperature

 (equal to or less than the range of 15°C to 30°C).” D.I. 119 at 1. Asserted Claim 8 of the ’066

 Patent, which Asserted Claim 9 depends, is directed to a method of preparing the pharmaceutical

 product comprising treprostinil or treprostinil salt by “forming a salt of treprostinil stable at

 ambient temperature, . . . and preparing a pharmaceutical product from the treprostinil salt after

 storage . . . .”

         “To constitute an enabling disclosure, ‘the specification of a patent must teach those skilled

 in the art how to make and use the full scope of the claimed invention without undue

 experimentation.’” Harris Corp. v. IXYS Corp., 114 F.3d 1149, 1155 (Fed. Cir. 1997) (quoting In

 re Wright, 999 F.2d 1557, 1561 (Fed. Cir. 1993)). Factors to be considered in determining whether

 a disclosure would require undue experimentation include: “(1) the quantity of experimentation

 necessary, (2) the amount of direction or guidance presented, (3) the presence or absence of

 working examples, (4) the nature of the invention, (5) the state of the prior art, (6) the relative skill

 of those in the art, (7) the predictability or unpredictability of the art, and (8) the breadth of the

 claims.” In re Wands, 858 F.2d 731, 737 (Fed. Cir. 1988). Accordingly, the specification of the

 ’066 Patent must enable a skilled artisan to prepare a treprostinil pharmaceutical product after

 “storage” of a treprostinil salt at ambient temperature without undue experimentation.

         As UTC noted in its Preliminary Response to Liquidia’s IPR Petition with respect to the

 ’066 Patent, “[p]rostaglandin derivatives,” like treprostinil, “in particular were known to be

 unstable upon storage due to the inherent instability of the crystalline lattice of these compounds


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 owning to their long, flexible sidearms, as well as the presence of multiple polymorphic crystals.”

 Liquidia Techs., IPR2020-00769, Paper 6 at 52. Further, UTC noted in its Preliminary Response

 that “[e]nvironmental factors are a significant factor (e.g., temperature, oxygen, atmosphere,

 humidity). This is especially true for compounds stored as salts.” Id. Further, Dr. Pinal opined in

 the ’901 IPR that “[i]ncreases in humidity enhance the thermodynamic activity of water in the

 environment, yielding potential hydrates, degrading crystal quality through hygroscopicity and

 even deliquescence (particularly for salts), and promoting chemical decomposition, leading to the

 production of additional contaminants and impurities.” Declaration of Rodolfo Pinal, Ph.D.

 Supporting United Therapeutic Corporation’s Patent Owner Response, Liquidia Techs., Inc. v.

 United Therapeutics Corp., IPR2020-00770, Ex. 2025 at ¶ 220 (P.T.A.B. Dec. 21, 2020).

        Thus, to the extent UTC contends that prostaglandin derivatives like treprostinil exhibit

 “inherent instability” and that environmental factors, such as temperature, oxygen, atmosphere,

 and humidity, have a “significant” impact on the stability of salts, a person of ordinary skill in the

 art would be required to undergo undue experimentation to practice the invention claimed in clams

 6 and 8 of the ʼ066 Patent.




        Applying the eight Wands factors in sequential order, and taking into account UTC’s prior

 statements regarding the instability of treprostinil, the specification of the ’066 Patent would not

 enable a person of ordinary skill to “stor[e]” an isolated salt of treprostinil in claim 6 or “stor[e]




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 treprostinil salt and create the pharmaceutical product of claim 8 at the full 15 to 30° C range

 encompassed by the Court’s claim construction order.

       Wands Factor                 Application to Claims 6 and 8-9 of the ’066 Patent

                             To the extent UTC’s contention that prostaglandin derivatives
                             exhibit “inherent instability” and that humidity, oxygen, and
                             atmosphere are “especially” significant environmental factors is
                             correct, a person of skill in the art would have to engage in
                             significant amounts of experimentation to discern how to
                             effectively “stor[e]” the claimed treprostinil salts.          More
  Quantity of                specifically, while the claim defines the temperature at which the
  Experimentation            salts can be stored (ambient temperature), a person of ordinary skill
  Necessary                  in the art would require extensive experimentation to determine the
                             other “significant” environmental factors suitable for storage,
                             including humidity, whether the treprostinil can be exposed to light,
                             or needs to be stored in an oxygen rich or depleted environment.
                             Moreover, each “significant” environmental factor would require
                             experimentation while maintaining constant the other
                             environmental factors.

                             As discussed above, the specification and claims of the ’066 Patent
                             provide guidance only as to what temperature at which the claimed
                             treprostinil salts are stored. The specification and claims are
  Amount of Guidance or
                             completely silent as to other “significant” environmental factors,
  Direction Presented
                             according to UTC, such as oxygen, atmosphere, and humidity.
                             Accordingly, besides temperature, the amount of guidance or
                             direction presented is non-existent.

                             Besides providing only a vague description of “stor[ing]” “crude
                             treprostinil salts” at ambient temperature, which Liquidia does not
                             concede constitutes treprostinil salts within the meaning of claims
                             6 or 8, the specification is completely lacking in working examples
  Presence or Absence of
                             of “storing” treprostinil salts under any conditions. And even if the
  Working Examples
                             “crude treprostinil salts” constitute treprostinil salts within the
                             meaning of claims 6, 8, or 9, the specification’s brief mention of
                             their “stor[age]” provides no more detail than the claims and, thus,
                             does not constitute a working example.

                             According to UTC, polymorphs (i.e., salts) “had plagued the
                             pharmaceutical industry for over a decade prior to the ’066 Patent,
  Nature of the Invention    with high-profile failures including withdrawal of an approved drug
                             from the market.” Liquidia Techs., IPR2020-00769, Paper 6 at 51.
                             “These incidents underscore the difficulty of understanding the
                             polymorphic nature of pharmaceutical compounds.”                 Id.

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                                 Accordingly, to the extent UTC argues that claims 6 and 8-9 would
                                 have been nonobvious, the nature of the invention was one of great
                                 uncertainty.

                                 According to UTC, the prior art was silent as to storage
                                 considerations for treprostinil salts. See, e.g., id. at 50-53. To the
                                 extent UTC argues that claims 6 and 8-9 would have been
     State of the Prior Art
                                 nonobvious, without guidance as to “significant” environmental
                                 conditions (in UTC’s own words), needed to store treprostinil salts,
                                 the state of the prior art was very limited.

                                According to UTC, “the POSA 4 would have been an industrial
                                chemist or chemical engineer with experience in pharmaceutical
                                production, familiar with controlling for polymorphs and realizing
     Relative Skill of Those in
                                highly pure products at batch scales as the challenged claims
     the Art
                                required.” Id. at 55. To the extent UTC argues that claims 6 and 8-
                                9 would have been nonobvious, the relative skill of those in the art
                                was high.

                                 As mentioned above, UTC contends that polymorphs “had plagued
                                 the pharmaceutical industry for over a decade prior to the ’066
                                 Patent, with high-profile failures including withdrawal of an
     Predictability or
                                 approved drug from the market.” Id. at 51. “These incidents
     Unpredictability of the
                                 underscore the difficulty of understanding the polymorphic nature
     Art
                                 of pharmaceutical compounds.” Id. Accordingly, to the extent
                                 UTC argues that claims 6 and 8-9 would have been nonobvious, the
                                 art was highly unpredictable.

                                 Claims 6 and 8-9 are extremely broad as they only limit “storage’
                                 to ambient temperature, leaving undefined and unclaimed all other
     Breadth of the Claims
                                 “significant” environmental conditions, in UTC’s own words,
                                 needed to store treprostinil salts.


           Applying all eight Wands factors, in view of UTC’s statements regarding the instability of

 treprostinil, the ’066 Patent fails to enable a person of ordinary skill in the art to practice Asserted

 Claims 6, 8, and 9. Accordingly, claims 6, 8, and 9 of the ’066 Patent are invalid as not enabled.




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   Liquidia does not, at this time, concede to UTC’s definition of a person of ordinary skill in the
 art.
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                        b.      To the Extent UTC Contends that Claims 1 and 8 Permit
                                “Isolation” of Treprostinil Before Combining with a Base to
                                Form a Salt, the Asserted Claims Are Not Enabled

        Claim 1 of the ʼ066 Patent requires “forming a salt of treprostinil by combining the starting

 batch and a base.” Additionally, claim 8 requires “forming a salt of treprostinil.” To the extent

 UTC argues that claims 1 and 8 permit isolation of treprostinil prior to contacting the treprostinil

 with a base to form a salt, the claims are not enabled as a person of ordinary skill in the art would

 have to engage in undue experimentation to achieve the result that “a level of one or more

 impurities found in the starting batch of treprostinil is lower in the pharmaceutical composition.”

       Wands Factor                    Application to Claims 1 and 8 of the ’066 Patent

                               As mentioned above in Section II.D.2.b supra, all of the examples
                               disclosed in the specification of the ʼ066 Patent disclose forming a
                               salt of treprostinil by contacting treprostinil in solution with a base.
  Quantity of                  To the extent UTC contends that claims 1 and 8 permit isolation of
  Experimentation              treprostinil before contacting with a base to form a salt, without
  Necessary                    guidance or direction in the ’066 Patent, a POSA would have to
                               engage in a significant amount of experimentation to achieve “a
                               level of one or more impurities found in the starting batch of
                               treprostinil is lower in the pharmaceutical composition.”

                               As mentioned above in Section II.D.2.b supra, the specification and
                               claims of the ’066 Patent provide no guidance or direction as to how
  Amount of Guidance or        a POSA would isolate treprostinil before reacting it with a base and
  Direction Presented          also achieve a “a level of one or more impurities found in the
                               starting batch of treprostinil is lower in the pharmaceutical
                               composition.”

                               As mentioned above in Section II.D.2.b supra, the specification and
                               claims of the ’066 Patent provide no working examples of isolating
  Presence or Absence of
                               treprostinil before reacting it with a base and achieving a “a level of
  Working Examples
                               one or more impurities found in the starting batch of treprostinil is
                               lower in the pharmaceutical composition.”

                               According to UTC, a POSA would not have known that the level of
                               one or more impurities found in the starting batch of treprostinil
  Nature of the Invention      described in Phares 2005 was lower in the pharmaceutical
                               composition. Liquidia Techs., IPR2020-00769, Paper 6 at 37. To
                               the extent UTC contends that the pharmaceutical composition of

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                                Phares 2005 did not inherently possess a lower level of one or more
                                impurities than the starting batch of treprostinil, the nature of the
                                invention—that is isolating treprostinil before reacting with a base
                                and achieving a pharmaceutical composition with a lower amount
                                of one or more impurities than the starting batch—was one of great
                                uncertainty.

                                To the extent that UTC contends that the pharmaceutical
                                composition of Phares 2005 did not inherently possess a lower level
                                of one or more impurities than the starting batch of treprostinil, the
     State of the Prior Art     state of the prior art was silent as to how a POSA would isolate
                                treprostinil before contact with a base to form a salt and achieve a
                                pharmaceutical composition with a lower level of one or more
                                impurities than the starting batch of treprostinil.

                                According to UTC, “the POSA 5 would have been an industrial
                                chemist or chemical engineer with experience in pharmaceutical
                                production, familiar with controlling for polymorphs and realizing
     Relative Skill of Those in
                                highly pure products at batch scales as the challenged claims
     the Art
                                required.” Liquidia Techs., IPR2020-00769, Paper 6 at 55. To the
                                extent UTC argues that claims 6 and 8 would have been
                                nonobvious, the relative skill of those in the art was high.

                                To the extent UTC contends that the pharmaceutical composition of
                                Phares 2005 did not inherently possess a lower level of one or more
     Predictability or          impurities than the starting batch of treprostinil, the state of the
     Unpredictability of the    art—that is, in isolating treprostinil before reacting with a base and
     Art                        achieving a pharmaceutical composition with a lower amount of
                                one or more impurities than the starting batch—was highly
                                unpredictable.

                                To the extent UTC contends that the claims permit isolation of
     Breadth of the Claims      treprostinil before reacting it with a base, the claims encompass a
                                broad scope of processes that are unsupported by the specification.

           Applying all eight Wands factors, to the extent UTC contends that the claims permit

 isolation of the treprostinil salt before adding a base to form a salt, claims 1 and 8 of the ’066

 Patent and, therefore, all other Asserted Claims of the ’066 Patent are invalid as not enabled.




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   Liquidia does not, at this time, concede to UTC’s definition of a person of ordinary skill in the
 art.
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                       c.      To the Extent UTC Contends the Claims Permit Column
                               Chromatography Between Alkylation and Salt Formation, the
                               Claims Are Not Enabled

        To the extent UTC argues that claims 1 and 8 permit column chromatography between

 alkylation and salt formation, the claims are not enabled as a person of ordinary skill in the art

 would have to engage in undue experimentation to achieve the result that “a level of one or more

 impurities found in the starting batch of treprostinil is lower in the pharmaceutical composition.”




       Wands Factor                   Application to Claims 1 and 8 of the ’066 Patent

                              As mentioned above in Section II.D.2.c supra, all of the examples
                              disclosed in the specification of the ʼ066 Patent lack a column
                              chromatography step between alkylation and salt formation. To the
  Quantity of                 extent UTC contends that claims 1 and 8 permit column
  Experimentation             chromatography between alkylation and salt formation, without
  Necessary                   guidance or direction in the ’066 Patent, a POSA would have to
                              engage in a significant amount of experimentation to achieve “a
                              level of one or more impurities found in the starting batch of
                              treprostinil is lower in the pharmaceutical composition.”

                              As mentioned above in Section II.D.2.c supra, the specification and
                              claims of the ’066 Patent provide no guidance or direction as to how
  Amount of Guidance or       a POSA would perform column chromatography between
  Direction Presented         alkylation and salt formation and also achieve a “a level of one or
                              more impurities found in the starting batch of treprostinil is lower
                              in the pharmaceutical composition.”

                              As mentioned above in Section II.D.2.c supra, the specification and
                              claims of the ’066 Patent provide no working examples of column
  Presence or Absence of
                              chromatography between alkylation and salt formation while also
  Working Examples
                              achieving a “a level of one or more impurities found in the starting
                              batch of treprostinil is lower in the pharmaceutical composition.”

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                                According to UTC, a POSA would not have known that the level of
                                one or more impurities found in the starting batch of treprostinil
                                described in Phares 2005 was lower in the pharmaceutical
                                composition. Liquidia Techs., IPR2020-00769, Paper 6 at 37. To
                                the extent UTC contends that the pharmaceutical composition of
     Nature of the Invention    Phares 2005 did not inherently possess a lower level of one or more
                                impurities than the starting batch of treprostinil, the nature of the
                                invention—that is performing column chromatography between
                                alkylation and salt formation and achieving a pharmaceutical
                                composition with a lower amount of one or more impurities than
                                the starting batch—was one of great uncertainty.

                                To the extent that UTC contends that the pharmaceutical
                                composition of Phares 2005 did not inherently possess a lower level
                                of one or more impurities than the starting batch of treprostinil, the
     State of the Prior Art     state of the prior art was silent as to how a POSA would perform
                                salt formation between alkylation and salt formation and achieve a
                                pharmaceutical composition with a lower level of one or more
                                impurities than the starting batch of treprostinil.

                                According to UTC, “the POSA 6 would have been an industrial
                                chemist or chemical engineer with experience in pharmaceutical
                                production, familiar with controlling for polymorphs and realizing
     Relative Skill of Those in
                                highly pure products at batch scales as the challenged claims
     the Art
                                require[d].” Liquidia Techs., IPR2020-00769, Paper 6 at 55. To
                                the extent UTC argues that claims 6 and 8 would have been
                                nonobvious, the relative skill of those in the art was high.

                                To the extent UTC contends that the pharmaceutical composition of
                                Phares 2005 did not inherently possess a lower level of one or more
     Predictability or          impurities than the starting batch of treprostinil, the state of the
     Unpredictability of the    art—that is, in performing column chromatography between
     Art                        alkylation and salt formation and achieving a pharmaceutical
                                composition with a lower amount of one or more impurities than
                                the starting batch—was highly unpredictable.

                                To the extent UTC contends that the claims permit column
                                chromatography between alkylation and salt formation, the claims
     Breadth of the Claims
                                encompass a broad scope of processes that are unsupported by the
                                specification.




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   Liquidia does not, at this time, concede to UTC’s definition of a person of ordinary skill in the
 art.
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         Applying all eight Wands factors, to the extent UTC contends that the claims permit

 column chromatography between alkylation and salt formation, claims 1 and 8 of the ’066 Patent

 and, therefore, all other Asserted Claims of the ’066 Patent are invalid as not enabled.

                 4.      Claims 1-3, 6, and 8-9 Are Indefinite

                         a.      Claim Reciting “Impurities” Is Indefinite

         Asserted Claim 1 of the ’066 Patent, which Asserted Claims 2, 3, and 6 depend, is directed

 towards a pharmaceutical composition comprising treprostinil that is prepared by a process

 comprising a starting batch of treprostinil having one or more “impurities” resulting from prior

 alkylation and hydrolysis steps and wherein the level of one or more “impurities” found in the

 starting batch of treprostinil is lower in the pharmaceutical composition. A patent is “invalid for

 indefiniteness if its claims, read in light of the specification delineating the patent, and the

 prosecution history, fail to inform, with reasonable certainty, those skilled in the art about the scope

 of the invention.” Nautilus, 572 U.S. at 901. “[A] patent must be precise enough to afford clear

 notice of what is claimed, thereby apprising the public of what is still open to them.” Id. at 909

 (alterations omitted). Consequently, claim 1 of the ’066 Patent, read in light of the specification

 and prosecution history, must apprise a POSA with “reasonable certainty” what compounds and

 in what specific amounts constitute “impurities” within the meaning of claim 1.

         Neither the specification, claims, nor prosecution history of the ’066 Patent apprise a POSA

 with “reasonable certainty” as to what constitutes an “impurit[y]” within the meaning of claim 1.

 Claim 1 of the ’066 Patent indicates only that the “impurities” must “result[] from [the] prior

 alkylation . . . and hydrolysis steps,” and the specification provides no further guidance. 7 During



 7
  Similarly, UTC acknowledged in its Preliminary Response in the ʼ066 Patent IPR that the claimed
 “impurities” must “result[] from [the] prior alkylation of benzindene triol and hydrolysis steps.”
 Liquidia Techs., IPR2020-00769, Paper 6 at 2.
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 prosecution of the ’066 Patent, UTC submitted two expert declarations that were submitted by

 UTC during the ’393 Patent IPR. Those expert declarations identify          impurities contained in

 the Moriarty 2004 (Former Process) batches:

                                     . See, e.g., Declaration of Dr. Robert M. Williams, SteadyMed

 Ltd. v. United Therapeutics Corp., IPR2016-00006, Exhibit 2020 at ¶ 94 (P.T.A.B. July 6, 2016)

 (“Williams Declaration”). Neither declaration, however, identifies the chemical compounds that

 are labeled                                                             Further, neither declaration

 establishes that

          As the Patent Trial & Appeal Board (“PTAB”) noted in its Final Written Decision

 invalidating the ’393 Patent, the “claims contain no limitations relating to the impurity profile of

 the recited product, ‘and it is the claims ultimately that define the invention.’” SteadyMed,

 IPR2016-00006, Paper 82 at 18 (quoting Purdue Pharma L.P. v. Endo Pharm. Inc., 438 F.3d 1123,

 1136 (Fed. Cir. 2006)). Without further guidance as to what constitutes an “impurit[y]” within the

 meaning of claim 1, a skilled artisan would not be apprised with “reasonable certainty” as to what

 impurities are needed to meet the claim limitation.

        Similarly, neither the specification, claims, nor prosecution history of the ’066 Patent

 apprise a POSA with “reasonable certainty” as to what level of “impurities” is needed to meet the

 claim limitation. Moriarty 2004 specifies that the treprostinil made according to Moriarty 2004

 was 99.7% pure. See Moriarty 2004 at 1902. While UTC contends in the specification of the ʼ066

 Patent that the “Former Process” (i.e., Moriarty 2004) has a purity of approximately             as

 compared to a purity of         for the process of the claimed invention (see ’066 Patent col. 17,

 step 53), the calculations of UTC’s own expert submitted during prosecution acknowledge that the

 “Former Process” yields a purity of          . See SteadyMed, IPR2016-00006, Paper 82 at 35.



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 UTC’s expert Dr. Williams reviewed          commercial batches of treprostinil in accordance with

 Moriarty 2004 and found that the average purity of the batches was                , which the PTAB

 acknowledged was an accurate value and the same as reported in Moriarty 2004. Id. Further, as

 acknowledged by the PTAB in the ’393 IPR, Dr. Williams also reviewed             commercial batches

 of treprostinil made according to the process disclosed in the ’393 (and thus the ’066) Patent, and

 several Moriarty 2004 commercial batches were more pure than the batches made according to the

 disclosed process. Id. at 38-39. Thus, a POSA would not have any reasonable certainty what level

 of impurity should be “included” in the product. As such, a person of ordinary skill in the art

 would not know, with reasonable certainty, what level of purity will be required to meet the

 limitations of claim 1. Butamax Advanced Biofuels LLC v. Gevo, Inc., 117 F. Supp. 3d 632, 642

 (D. Del. 2015).

        Thus, because a POSA would not be apprised with “reasonable certainty” what compounds

 or amounts of such compounds constitute “impurities” within the meaning of the claim limitation,

 Asserted Claim 1 of the ’066 Patent and, therefore, all other Asserted Claims 2, 3, and 6 of the

 ’066 Patent are invalid as indefinite.

                        b.      Claims Reciting “Stored,” “Storage,” and “Storing” Are
                                Indefinite

        Asserted Claim 6 of the ’066 Patent is directed toward a pharmaceutical composition of

 claim 1, wherein the isolated salt is “stored” at ambient temperature. Similarly, Asserted Claim 8

 of the ’066 Patent, which Asserted Claim 9 depends, is directed to a method of preparing the

 pharmaceutical product comprising treprostinil after “storing” a treprostinil salt at ambient

 temperature. A patent is “invalid for indefiniteness if its claims, read in light of the specification

 delineating the patent, and the prosecution history, fail to inform, with reasonable certainty, those

 skilled in the art about the scope of the invention.” Nautilus, 572 U.S. at 901. “[A] patent must


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 be precise enough to afford clear notice of what is claimed, thereby apprising the public of what

 is still open to them.” Id. at 909 (alterations omitted). Accordingly, claims 6 and 8 of the ’066

 Patent, read in light of the specification and prosecution history, must apprise a POSA with

 “reasonable certainty” as to what constitutes “storage” of the treprostinil salt within the meaning

 of the claims.

        As mentioned above, UTC noted in its Preliminary Response to Liquidia’s IPR Petition

 with respect to the ’066 Patent that “[p]rostaglandin derivatives,” like treprostinil, “in particular

 were known to be unstable upon storage due to inherent instability of the crystalline lattice of these

 compounds owning to their long, flexible sidearms, as well as the presence of multiple

 polymorphic crystals.” Liquidia Techs., IPR2020-00769, Paper 6 at 52. Further, UTC noted in its

 Preliminary Response that “[e]nvironmental factors are a significant factor (e.g., temperature,

 oxygen, atmosphere, humidity). This is especially true for compounds stored as salts.” Id.

 However, the claims specify only that the treprostinil salt be stored at “ambient temperature” and

 fail to provide any guidance or direction into other “significant” storage considerations, in UTC’s

 own words, like oxygen, atmosphere, and humidity. Without guidance as to necessary storage

 considerations of the treprostinil salt and pharmaceutical composition, a person of ordinary skill

 in the art “would not be apprised with reasonable certainty about the scope of the invention.”

 Butamax, 117 F. Supp. 3d at 642.

        Additionally, as further explained in Liquidia’s Answering Claim Construction Brief,

 UTC’s inconsistent definitions of “stored,” “storing,” and “storage” in the parent U.S. Patent

 No. 9,156,786 prosecution history and during the ’066 and ’901 IPRs render the claim terms

 indefinite. Defendant Liquidia Technologies, Inc.’s Answering Claim Construction Brief, United

 Therapeutics Corp. v. Liquidia Techs., Inc., No. 20-cv-755, at 13-16 (D. Del. Mar. 5, 2021)



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 (“Liquidia’s Answering Claim Construction Brief”); see also Teva Pharms. USA, Inc. v. Sandoz,

 Inc., 789 F.3d 1335, 1344-45 (Fed. Cir. 2015) (holding claim term indefinite where patentee used

 two inconsistent definitions during prosecution of related patents sharing same specification);

 Infinity Comput. Prods., Inc. v. Oki Data Ams., Inc., No. 18-463-LPS, 2019 WL 2422597, at *4-6

 (D. Del. June 10, 2019) (“[A] person of ordinary skill in the art would not be reasonably certain as

 to which of the patentee’s two inconsistent definitions of ‘passive link’ is used in the claims,

 rendering the claims indefinite.”), aff’d, 987 F.3d 1053 (Fed. Cir. 2021).

         Thus, Asserted Claims 6, 8 and 9 of the ’066 Patent are invalid as indefinite.

 III.    U.S. PATENT NO. 9,604,901

         The ’901 Patent issued March 28, 2017 from Application No. 14/754,932, filed June 30,

 2015.    ’901 Patent at 1.      Application No. 14/754,932 is a continuation of Application

 No. 13/933,623, filed on July 2, 2013, now Patent No. 9,156,786, which is a continuation of

 Application No. 13/548,446, filed on July 13, 2012, now Patent No. 8,497,393, which is a

 continuation of Application No. 12/334,731, filed on December 15, 2008, now Patent No.

 8,242,305. Id. The ’901 Patent claims priority to provisional application No. 61/014,232, filed

 December 17, 2007. Id.

         The ’901 Patent discloses an “improved process” to prepare prostacyclin derivatives such

 as treprostinil. Id. at Abstract. Claim 1 is drawn to a pharmaceutical batch comprising treprostinil

 or a salt thereof. Id. at 17:24-18:2, claim 1.

         Asserted Claim 1, the only independent claim, recites the following:

         1[a] A pharmaceutical batch consisting of treprostinil or a salt thereof and

         impurities resulting from

         1[b] (a) alkylating a benzindene triol,

         1[c] (b) hydrolyzing the product of step (a) to form a solution comprising
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         treprostinil,

         1[d] (c) contacting the solution comprising treprostinil from step (b) with a base to

         form a salt of treprostinil,

         1[e] (d) isolating the salt of treprostinil, and

         1[f] (e) optionally reacting the salt of treprostinil with an acid to form treprostinil,

         and

         1[g] wherein the pharmaceutical batch contains at least 2.9 g of treprostinil or its

         salt.

         Asserted dependent claim 2 is directed towards a pharmaceutical batch of claim 1, which

 has been dried under vacuum.            Asserted dependent claims 3 and 4 are directed towards

 pharmaceutical products comprising a “therapeutically effective amount” of treprostinil (claim 3)

 or treprostinil salt (claim 4) from a pharmaceutical batch of claim 1. Asserted dependent claim 6

 is directed towards methods of preparing a pharmaceutical product from a pharmaceutical batch

 of claim 1, comprising storing a pharmaceutical batch of a treprostinil salt of claim 1 at ambient

 temperature and preparing a pharmaceutical product from the pharmaceutical batch after storage.

 Asserted dependent claim 8 is directed towards methods of preparing a pharmaceutical product

 from a pharmaceutical batch of claim 1, comprising (a) alkylating a benzindene triol,

 (b) hydrolyzing the product of step (a) to form a solution comprising treprostinil, (c) contacting

 the solution comprising treprostinil from step (b) with a base to form a salt of treprostinil,

 (d) isolating the salt of treprostinil, and (e) optionally reacting the salt of treprostinil with an acid

 to form treprostinil.

         These Supplemental Invalidity Contentions establish that Claims 1-4 and 6 are invalid as

 anticipated under 35 U.S.C. § 102(b). Claims 1-4, 6, and 8 of the ’901 Patent are unpatentable as



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 obvious under 35 U.S.C. § 103. Moreover, these Supplemental Invalidity Contentions show that

 the Asserted Claims of the ’901 Patent are also invalid under 35 U.S.C. § 112.

        A.      Scope and Content of the Prior Art

        The scope and content of the prior art with respect to the ’066 Patent, described in

 Section II.A supra, applies to the ’901 Patent, which has the same effective filing date, the same

 specification, and substantially identical claim language.

        B.      Claims 1-4 and 6 Are Invalid Under 35 U.S.C. § 102(b)

        Claims 1-4 and 6 of the ’901 Patent are invalid as anticipated under 35 U.S.C. § 102(b).

 There is a “long-standing rule that an old product is not patentable even if it is made by a new

 process.” Amgen, 580 F.3d at 1370. “As a result, a product-by-process claim can be anticipated

 by a prior art product that does not adhere to the claim’s process limitation.” Id. Claims 1-4 are

 product-by-process claims.




                                             Claim 1 claims a “pharmaceutical composition . . .

 resulting from” several synthetic steps.     See ’066 Patent at claim 1.         Claim 2 recites a

 “pharmaceutical composition of claim 1 . . . .” Id. at claim 2. Claims 3-4 recite a “pharmaceutical

 composition . . . as claimed in claim 1.” Id. at claims 3-4. Claim 6, which depends from claim 1,

 recites “wherein the isolated salt is stored at ambient temperature.” Remodulin was also FDA-

 approved to be stored at ambient temperature, construed here as 15-30°C. D.I. 119 at 1; see 2004

 Remodulin Label, p.12 (disclosing that FDA-approved unopened vials of treprostinil sodium salt

 are “stable until the date indicated when stored at 15 to 25°C” and instructions say to “[s]tore at

 25°C . . . with excursions permitted to 15-30°C”) (emphases added). For the reasons stated in

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 Section II.B, claims 1-4 and 6 are anticipated under § 102(b) because UTC sold Remodulin® in

 the United States before December 17, 2006 containing treprostinil that was structurally and

 functionally identical to treprostinil made according to the claimed process of the ’901 Patent.

           C.     Claims 1-4, 6, and 8 Are Invalid Under 35 U.S.C. § 103

                  1.      Claims, 1-4, 6, and 8 Would Have Been Obvious Over Phares 2005

                          a.     Independent Claim 1 Would Have Been Obvious

                                 (1)     Claim Element 1[a]

    1[a]        A pharmaceutical batch consisting of treprostinil or a salt thereof and impurities
                resulting from:

           Phares 2005 discloses the same synthesis of treprostinil as set forth in independent claim 1

 of the ’901 Patent. Phares 2005 describes “compounds and methods for inducing prostacyclin-

 like effects in a subject or a patient,” including treprostinil and derivatives thereof. Phares 2005

 at 8. The chemical structure of treprostinil disclosed in Phares 2005 is shown below:




 Id. This is the same treprostinil disclosed in the ’901 Patent:




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 where w = 1; Y1 is—CH2(CH2)m- and m is 1; M1 is α-OH: β-R5 or α-R5: β-OH, wherein R5 is

 hydrogen; L1 is α-R3: β-R4, α-R4: β-R3, or a mixture of α-R3: β-R4 and α-R4: β-R3, wherein R3 and

 R4 are hydrogen; and R7 is —CpH2p—CH3, wherein p is an integer from 1 to 5 inclusive (p=3).

 ’901 Patent at 2:7-3:20.

        Phares 2005 further discloses the identical, pharmaceutically acceptable treprostinil

 diethanolamine salt as the ’901 Patent. Phares 2005 at 96 (claim 49). The structure of treprostinil

 diethanolamine salt disclosed by Phares 2005 (left) is reproduced below in a side-by-side

 comparison with the treprostinil diethanolamine salt disclosed in the ’901 Patent (right):




                            (Phares 2005)                                 (’901 Patent)

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 Phares 2005 at 96, claim 49; ’901 Patent at 12:45-59, 14:35-48 (Examples 3 and 5). Other than a

 change in formatting, one can easily see that these two structures from Phares 2005 and the ’901

 Patent are identical.

        This salt is the result of the same steps described in claim 1 of the ʼ901 Patent: (a) by

 forming a salt of treprostinil by combining the starting solution of treprostinil acid and a base and;

 (b) isolating the treprostinil salt. ’901 Patent at 17:24-18:2 (claim 1); Phares 2005 at 22. The

 isolated salt is then used to prepare a pharmaceutical batch comprising treprostinil or a salt thereof.

 ’901 Patent at 17:24-18:2 (claim 1); Phares 2005 at 58. As such, the treprostinil salt of Phares

 2005 would contain impurities from the recited steps.




        This shows that Phares 2005 necessarily discloses and/or renders obvious the product

 claimed in the ʼ901 Patent and the same process steps to make treprostinil and a salt thereof

 disclosed in claim 1 of the ʼ901 Patent (treprostinil diethanolamine salt). This pharmaceutical

 batch contains impurities resulting from the steps of alkylation and hydrolysis as described in

 further detail below. Further support for the obviousness of each process element of claim 1 is

 also provided in the following Sections III.C.1.a.(2)-(6).

                                (2)     Claim Elements 1[b] and 1[c]

      1[b]    (a) alkylating a benzindene triol,
      1[c]    (b) hydrolyzing the product of step (a) to form a solution comprising treprostinil,

        As discussed above in Section III.C.1.a.(1), Phares 2005 discloses the identical treprostinil

 and pharmaceutically acceptable treprostinil diethanolamine salt as the ’901 Patent. The remaining

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 process claim elements do nothing to impart structural or functional differences in the claimed

 treprostinil or salt thereof, and thus, do not patentably limit the claimed pharmaceutical

 composition. Even so, Phares 2005 further discloses providing a starting solution of treprostinil

 having one or more impurities resulting from alkylation and hydrolysis steps.

        Specifically, Example 1 of the ’901 Patent describes the alkylation of benzindene triol.

 ’901 Patent at 10:10-67. This alkylation reaction is shown below:




 Id. Benzindene triol is the fused three ring core wherein the three hydroxyl groups (-OH) are not

 all located on the core. In this example, the hydroxyl group indicated with the red square is being

 alkylated using ClCH2CN in the presence of K2CO3, Bu4NBr and acetone.

        Phares 2005 discloses an alkylation reaction identical in nature to the ʼ901 Patent alkylation

 reaction: (l) i. ClCH2CN, K2CO3. Phares 2005 at 39-40. In particular, in step (l) the starting

 treprostinil precursor compound, the benzindene triol, is the enantiomer of the treprostinil

 precursor being alkylated in the ʼ901 Patent (11b indicates that “R” can be “H”). Phares 2005

 discloses the synthesis of (-)-treprostinil, the enantiomer of (+)-treprostinil and explains that

 “[e]nantiomers of these compounds…can be synthesized using reagents and synthons of

 enantiomeric chirality of the above reagents.” Id. The reaction from Phares 2005 is shown below

 for comparison:
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 Id. at 40, -OH group (where R=H) being alkylated indicated with red square.) A POSA would

 understand that one could selectively alkylate the phenolic –OH group on the fused three-ring core

 of Compound 11b as (where R=H) indicated in the red box.

        In addition, Phares 2005 cites to the ’075 Patent for routes in which compounds disclosed

 in Phares 2005 can be modified Phares 2005 at 9 (citing the ’075 Patent). Chart P of the ’075

 patent provides a synthetic scheme where the –-OH of a benzindene triol, as referred to in the ’901

 Patent, is alkylated. ’075 Patent at col. 90. While the ’075 Patent does not disclose the same

 synthesis reaction, this reference supports the proposition that it was not a novel step at the time

 of the invention to alkylate an –OH group on the benzene of a fused ring system and that a POSA

 could arrive at the treprostinil compound disclosed in the ’901 Patent by reading the disclosures

 and references contained in Phares 2005. This includes the step of selectively alkylating a

 benzindene triol.

        Phares 2005 further discloses hydrolyzing the product from the alkylation reaction (step

 (a) above) to form enantiomeric treprostinil starting material. The hydrolyzing procedure is

 disclosed in Phares 2005 as: “ii, KOH, CH3OH, reflux. 83%.” Phares 2005 at 40 (emphasis

 added). Phares 2005 further explains that “[e]nantiomers of these compounds . . . can be

 synthesized using reagents and synthons of enantiomeric chirality of the above reagents,” thereby

 inherently teaching this hydrolysis step for treprostinil as well. Id. at 39-40. A comparison

 between the treprostinil starting material disclosed in the ’901 Patent (left) and Phares 2005 (right)

 are produced below for a side-by-side comparison:

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                     (’901 Patent)                                  (Phares 2005)

 ’901 Patent at 11:1-12:17 (Example 2); Phares 2005 at 8.

        Claim 1 of the ’901 Patent simply teaches that one can perform the alkylation and

 hydrolysis steps, i.e., making the nitrile and then hydrolyzing to make the treprostinil carboxylic

 acid (salt precursor). ’901 Patent at claim 1. Phares 2005 teaches that the treprostinil carboxylic

 acid is in a solution. Phares 2005 at 22, 40. Treatment of Compound 11b with KOH, CH3OH

 (methanol), as explained above, would lead to the formation of a solution of treprostinil carboxylic

 acid after neutralization. Id. at 40. Phares 2005 further discloses that such treprostinil carboxylic

 acid can be in solution at page 22, where it teaches dissolving the treprostinil acid in ethanol/water.

 Id. at 22. Finally, a POSA would expect that the treprostinil formed would include the impurities

 from the alkylation and hydrolysis steps, as those steps in Phares 2005 are, as discussed above, the

 same as claimed in the ʼ901 Patent.

                                (3)     Claim Element 1[d] 8

      1[d]     (c) contacting the solution comprising treprostinil from step (b) with a base to
               form a salt of treprostinil,




 8
  Pending the Court’s construction of “contacting the solution comprising treprostinil from
 step (b) with a base to form a salt of treprostinil,” Liquidia reserves the right to supplement
 Section III.C.1.a.(3).
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         As discussed in the above section, Phares 2005 discloses treprostinil carboxylic acid

 starting material in solution. Phares 2005 at 40.

         Phares 2005 further discloses combining a starting batch of treprostinil and a base. In

 particular, page 22 of Phares 2005 teaches dissolving treprostinil acid in a 1:1 molar ratio mixture

 of ethanol: water and diethanolamine (i.e., a base). Id. at 22. However, a POSA would likely

 understand the treprostinil acid disclosed at page 22 to have been isolated before addition of the

 base.

         But not isolating the treprostinil before contacting it with a base is obvious based on what

 is taught by Phares 2005. For example, with the treprostinil solution inherently taught by Phares

 2005 at page 40, instead of isolating the neutral carboxylic acid at this step by removal of the

 methanol, a POSA would find it obvious to instead add diethanolamine (i.e., a base) to the

 treprostinil solution so that removal of the methanol would instead leave a salt, specifically,

 treprostinil diethanolamine salt. Id. at 40.

         A POSA would be motivated to do so to save a step of isolation of the treprostinil, instead

 waiting until the salt is formed to conduct an isolation step. The result would be a process with

 just one isolation step, rather than two, which would be faster, more efficient, and more

 economical. A POSA would have a reasonable expectation of success in doing so because

 isolation after salt formation is a step specifically taught in Phares 2005. Id. at 22, 85-89.

         A POSA would further have a reasonable expectation of success in doing so because

 formation of a carboxylate salt by the addition of a base to a neutral carboxylic acid is a standard

 chemical purification procedure. For example, Wiberg 1960, an organic chemistry lab textbook

 provided to organic chemistry students, explicitly states:

         A typical example is the purification of a water insoluble solid carboxylic acid by
         dissolving it in sodium hydroxide solution, filtering, and precipitating the

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        compound by the addition of acid. A similar procedure may be used with amines:
        dissolve the compound in acid and precipitate it with a base. These procedures
        usually work quite well in that they utilize a chemical reaction to aid in separation
        from nonacidic or nonbasic impurities.

 Wiberg 1960 at 112. The teachings of Wiberg 1960 are directly relevant here as the textbook

 establishes that formation of a carboxylate salt by the addition of a base to a neutral carboxylic

 acid was a well-known purification method as early as 1960.

        Similarly, Schoffstall 2004 describes an experiment in which carboxylic acid is separated

 from neutral and basic organic compounds by conversion to a salt. Addition of an acid, such as

 HCl, then regenerates the carboxylic acid from the salt, which can then be filtered or extracted into

 an organic solvent. Schoffstall 2004 at 201-02. Additionally, Ege 1989, an organic chemistry

 textbook, discloses that sodium benzoate (i.e., a carboxylate salt) can be converted back to benzoic

 acid (i.e., a carboxylic acid) by treatment with the acid HCl, which is prototypical of the reaction

 of the treprostinil diethanolamine salt with an acid to regenerate treprostinil carboxylic acid. Ege

 1989 at 546.

        Finally, Kawakami 1981 demonstrates that contacting a carboxylic acid of a prostacyclin

 derivative, such as treprostinil, with a base to form a salt, followed by the addition of a strong acid

 to regenerate the carboxylic acid, was a well-known chemical purification technique in the prior

 art. Kawakami 1981 is directed to the preparation and use of dicyclohexylamine (i.e., an amine

 base with similar reactivity to diethanolamine) to form a crystalline dicyclohexylamine salt of a

 methanoprostacyclin derivative, in order to purify the methanoprostacyclin. Kawakami 1981

 further discloses that the dicyclohexylamine salt of a methanoprostacyclin derivative can be easily

 reverted to the free methanoprostacyclin derivative by conventional methods, such as treating the

 salt with a strong acid such as HCl or H2SO4. Kawakami 1981 at 6. Per Kawakami 1981, the salt




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 that is obtained has “fairly high purity, and the purity can be further improved by recrystallization

 as needed with the use of an appropriate solvent.” Id.

        For the reasons stated above, a POSA would have had a reasonable expectation of success

 in eliminating the crude treprostinil isolation step of Phares 2005 based on the teachings of Wiberg

 1960, Schoffstall 2004, Ege 1989, and Kawakami 1981.

                                (4)     Claim Element 1[e]

      1[e]     (d) isolating the salt of treprostinil, and

        Phares 2005 discloses isolating the identical treprostinil diethanolamine salt as the ’901

 Patent. Phares 2005 further discloses isolating crystalline forms of treprostinil diethanolamine

 salt—Form A and Form B. Phares 2005 at 85-89. A POSA would understand that upon

 completion of a reaction, the product is isolated, and even a sophomore organic chemistry student

 would understand the isolation steps needed following recrystallization.

                                (5)     Claim Element 1[f]

      1[f]     (e) optionally reacting the salt of treprostinil with an acid to form treprostinil, and

        The step of reacting the foregoing salt of treprostinil with an acid to form the treprostinil

 in claim 1 of the ’901 Patent is optional. Therefore, no disclosure in Phares 2005 is required to

 demonstrate the obviousness of this claim element. Even so, this step was generally known in the

 art and would have been obvious to a POSA. See Schoffstall 2004 at 201-02; Wiberg 1960 at 112.

 The ’901 Patent itself admits that step (e) is merely a “simple acidification with diluted

 hydrochloric acid” step, and is thus not a novel step. ’901 Patent at 17:5-8.

                                (6)     Claim Element 1[g]

      1[g]     wherein the pharmaceutical batch contains at least 2.9 g of treprostinil or its salt.

        The procedures outlined on pages 18 and 22 of Phares 2005 teach a reaction of ~1 gram-


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 scale quantities of treprostinil (for the preparation of the corresponding methyl ester). Phares 2005

 at 18, 22. The steps disclosed in Phares 2005 can simply be scaled up to produce a pharmaceutical

 batch of treprostinil or its salt of at least 2.9 g. See also Moriarty 2004 at 1902 (disclosing

 production of 441g of treprostinil). A POSA would expect that a reaction that is taught on a 1

 gram scale could easily be achieved on a 2.9 gram scale because a POSA would understand that,

 in this field, increasing the scale of a reaction by a factor of 3 can be done with a reasonable

 expectation of success, especially given that success was already demonstrated in art (e.g.,

 Moriarty 2004). Id.

        Further, the batch-size claimed by the ’901 Patent is entirely within the scale that would be

 routine for an organic or medicinal chemist. The Journal of Organic Chemistry and Journal of

 Medicinal Chemistry, journals that are expressly for organic and medicinal chemists, respectively,

 regularly described syntheses of products on scales greater than 2.9 grams before December 2007.

 For example, Parks 9 and Hanessian 10 are articles published in the Journal of Organic Chemistry

 in 2006 that describe the successful synthesis of up to 42.4 grams (Parks at 9626) and 8.45 grams

 of product (Hanessian at 9813), respectively. Similarly, Frost 11 and Regan 12 are articles published

 in the Journal of Medicinal Chemistry in 2006 that describe the successful synthesis of up to 60.0

 grams (Frost at 7850) and 20.3 grams of product (Regan at 7892), respectively.




 9
    Parks, B.W., et al., “Convenient Synthesis of 6,6-Bicyclic Malonamides: A New Class of
 Conformationally Preorganized Ligands for f-Block Ion Binding,” J. Org. Chem., 71:9622-27
 (2006) (’901 IPR Ex. 1020).
 10
     Hanessian, S., et al., “Structure-Based Organic Synthesis of a Tricyclic N-Malayamycin
 Analogue,” J. Org. Chem., 71:9807-17 (2006) (’901 IPR Ex. 1021).
 11
      Frost, J.M., et al., “Synthesis and Structure – Activity Relationships of 3,8-
 Diazabicyclo[4.2.0]octane Ligands, Potent Nicotinic Acetylcholine Receptor Agonists,” J. Med.
 Chem., 49:7843-53 (2006) (’901 IPR Ex. 1022).
 12
     Regan, J., et al., “Quinol-4-ones as Steroid A-Ring Mimetics in Nonsteroidal Dissociated
 Glucocorticoid Agonists,” J. Med. Chem., 49:7887-96 (2006) (’901 IPR Ex. 1023).
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        It was common practice prior to 2007 for students to run experiments and to prepare salts

 at multi-gram quantities, and it is still common practice today. Several articles published in the

 Journal of Chemical Education prior to 2007 describe research conducted in undergraduate

 laboratories on scales greater than 2.9 grams. For instance, Mak 13 is an article titled, “Mannich

 Reactions in Room Temperature Ionic Liquids (RTILs): An Advanced Undergraduate Project of

 Green Chemistry and Structural Elucidation” and published in 2006. It describes the chemical

 synthesis of 1-butyl-3-methylimidazolium tetrafluoroborate in an undergraduate laboratory

 beginning with 10.0 grams of starting material. Mak Supplemental Materials at 5. The publication

 advises “instructors” that “[t]he ionic liquid [bmim] [BF4] can be conveniently synthesized in a

 hundred-gram scale.” Mak at 945 (emphasis added).

        Similarly, Baar 14 is an article titled, “Enantiomeric Resolution of (±)-Mandelic Acid by

 (1R,2S)-(-)-Ephedrine:    An    Organic    Chemistry     Laboratory    Experiment     Illustrating

 Stereoisomerism” and published in 2006, that describes the preparation, recrystallization, and

 enantiomeric resolution of two salts starting with 3.00 grams of each starting material. Barr

 Supplemental Materials 2-4. Brigandi 15 is an article titled, “Synthesis and Analysis of Copper

 Hydroxy Double Salts” and published in 2005 that describes the synthesis of “several naturally

 occurring copper double salts using simple aqueous conditions” (id. at 1662) beginning with 4




 13
    Mak, K.K.W., et al., “Mannich Reactions in Room Temperature Ionic Liquids (RTILs): An
 Advanced Undergraduate Project of Green Chemistry and Structural Elucidation,” J. Chem. Ed.,
 83(6):943-46 (2006) (’901 IPR Ex. 1025); Mak Supplemental Materials (’901 IPR Ex. 1026).
 14
    Baar, M.R., et al., “Enantiomeric Resolution of (±)-Mandelic Acid by (1R,2S)-(–)-Ephedrine:
 An Organic Chemistry Laboratory Experiment Illustrating Stereoisomerism,” J. Chem. Ed.,
 82(7):1040-42 (2005) (’901 IPR Ex. 1027); Baar Supplemental Materials (’901 IPR Ex. 1028).
 15
    Brigandi, L.M., et al., “Synthesis and Analysis of Copper Hydroxy Double Salts,” J. Chem.
 Educ., 82(11):1662 (2005) (’901 IPR Ex. 1029); Brigandi Supplemental Materials (’901 IPR
 Ex. 1030).
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 grams of starting material (Brigandi Supplemental Materials at 1, 2).

        Lastly, Hamilton 16 is a Laboratory Manual for Chemistry 202, Organic Chemistry

 Laboratory I at Mount Holyoke College in 2006 that describes an experiment entitled “Resolution

 of (R,S) –1–Phenylethylamine via Diastereoisomer formation with (2R), (3R)–Tartaric Acid,”

 where students prepare tartrate salt complexes. Hamilton at 1. This experiment started with multi-

 gram quantities of materials: 6.25 grams of (R,R)-tartaric acid and 5 grams of (R,S)-1-

 phenylethylamine. Hamilton at 4.

        Based on the reactions and experiments described above, and those completed even in

 undergraduate laboratories, it is clear that a POSA would have a reasonable expectation that Phares

 2005’s treprostinil synthesis could be scaled up to produce 2.9 grams of treprostinil or its salt.

                        b.      Dependent Claims 2-4, 6 and Would Have Been Obvious

                                (1)     Claim 2

        2      The pharmaceutical batch of claim 1, which has been dried under vacuum.

        The process limitation of drying a product under vacuum as disclosed in dependent claim

 2 of the ’901 Patent is not accorded any weight for determining the validity of the claims because

 it does not impart some unique and novel property or structure in the resulting treprostinil or

 treprostinil salt product. See e.g., Amgen, 580 F.3d, 1366. Even so, drying a product under vacuum

 is a standard organic chemistry practice for the isolation of a solid and would have been obvious

 to a POSA. See, e.g., Moriarty 2004 at 1902; Gao at 64, 75, 208; Loewenthal 17 at 112-13;




 16
    Hamilton, D.G., “Experiment #5: Resolution of (R,S)-1-Phenylethylamine via Diastereoisomer
 formation with (2R),(3R)-Tartaric Acid,” Laboratory Manual for Chemistry 202, Organic
 Chemistry Laboratory I at Mount Holyoke College (2006) (’901 IPR Ex. 1031).
 17
    Excerpts from Loewenthal, H.J.E., et al., A Guide for the Perplexed Organic Experimentalist,
 Chapter 4: Running Small-scale Reactions in the Research Laboratory, pp. 87-119, 2d ed. (1990)
 (’901 IPR Ex. 1035).
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 Heidelberger 18 at 55.     Accordingly, it would have been obvious to a POSA to dry the

 pharmaceutical batch of claim 1 under vacuum.

                                (2)     Claims 3 and 4

        3      A pharmaceutical product comprising a therapeutically effective amount of
               treprostinil from a pharmaceutical batch as claimed in claim 1.
        4      A pharmaceutical product comprising a therapeutically effective amount of a salt
               of treprostinil from a pharmaceutical batch as claimed in claim 1.

        Phares 2005 further discloses a therapeutically effective amount of treprostinil and

 treprostinil salt. Phares 2005 at 48-49, 60, 65. The invention of Phares 2005 “provides for

 compositions which may be prepared by mixing one or more compounds of the instant invention,

 or pharmaceutically acceptable salts thereof, with pharmaceutically acceptable carriers, excipients,

 binders, diluents or the like, to treat or ameliorate a variety of disorders related vasoconstriction

 and/or platelet aggregation.” Id. at 48. A “therapeutically effective dose” as defined in Phares

 2005 further “refers to that amount of one or more compounds of the instant invention sufficient

 to result in amelioration of symptoms of the disorder.” Id. The compositions can be formulated

 for various routes of administration, for example, by oral administration, by transmucosal

 administration, by rectal administration, transdermal or subcutaneous administration as well as

 intrathecal, intravenous, intramuscular, intraperitoneal, intranasal, intraocular or intraventricular

 injection. Id. at 48-49.

        Phares 2005 also discloses that a therapeutically effective dose may vary depending on the

 route of administration and dosage form. Id. at 51. The preferred compound or compounds of the

 invention disclosed in Phares 2005 is a “formulation that exhibits a high therapeutic index.” Id.




 18
   Heidelberger, M., An Advanced Laboratory Manual of Organize Chemistry (1928) (’901 IPR
 Ex. 1036).
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 Pharmaceutical formulations include “any of the compounds of any of the embodiments of

 compound of structure I, II or pharmaceutically acceptable salts thereof described in combination

 with a pharmaceutically acceptable carrier.” Id. at 52. The invention disclosed in Phares 2005

 also provides a method of using the above compounds therapeutically of/for: pulmonary

 hypertension, ischemic diseases, heart failure, conditions requiring anticoagulation, thrombotic

 microangiopathy, extracorporeal circulation, central retinal vein occlusion, atherosclerosis,

 inflammatory diseases, hypertension, reproduction and parturition, cancer or other conditions of

 unregulated cell growth, cell/tissue preservation and other emerging therapeutic areas where

 prostacyclin treatment appears to have a beneficial role. Id. at 4; see also 82-85 (demonstrating

 safety of administering treprostinil diethanolamine to patients in clinical studies). In addition to

 these disclosures, a POSA would know what dosages of treprostinil are therapeutically effective

 based on the dosages expressly disclosed in the FDA-approved label for the drug Remodulin®,

 which is treprostinil sodium. See Remodulin® Label (2006) (’901 IPR Ex. 1037).

        Phares 2005 therefore discloses the additional elements of dependent claims 3 and 4.

                               (3)     Claim 6

       6       A method of preparing a pharmaceutical product from a pharmaceutical batch as
               claimed in claim 1, comprising storing a pharmaceutical batch of a salt of
               treprostinil as claimed in claim 1 at ambient temperature, and preparing a
               pharmaceutical product from the pharmaceutical batch after storage.

        For the reasons stated above in Section II.C.1.b.(3), a POSA would have found it obvious

 that treprostinil diethanolamine salt was storable at ambient temperature.

                        c.     Dependent Claim 8 Would Have Been Obvious

        Dependent claim 8 is independent claim 1 without claim limitation 1[f].

                               (1)     Claim Element 8[a]

      8[a]     A method of preparing a pharmaceutical batch as claimed in claim 1, comprising:

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        See explanation under independent claim 1, Section II.C.1.c.(1).

                                (2)     Claim Elements 8[b] and 8[c]

      8[b]     (a) alkylating a benzindene triol,
      8[c]     (b) hydrolyzing the product of step (a) to form a solution comprising treprostinil,

        Phares 2005 discloses alkylating a triol intermediate, the benzindene triol, of the same

 structural formula disclosed in claim 8 of the ’901 Patent. See also Section III.C.1.a.(2). A

 comparison between the alkylation substrates disclosed in the ’901 Patent (left) and Phares 2005

 (right, enantiomer) are produced below for a side-by-side comparison:




        (’901 Patent)                                           (Phares 2005)

 ’901 Patent at 10:10-67 (claim 8); Phares 2005 at 40. Intermediate 11b of Phares 2005 indicates

 that “R=H,” showing that enantiomeric triol intermediates are disclosed in claim 8 of the ’901

 Patent and structure 11b of Phares 2005.

        Phares 2005 discloses hydrolyzing the resulting compound to form the same structural

 formula of treprostinil starting material disclosed in the ’901 Patent. See Section III.C.1.a.(2). The

 hydrolyzing procedure is disclosed in Phares 2005 as: “ii, KOH, CH3OH, reflux. 83%.” Id. at 40.

 A comparison between the treprostinil starting material disclosed in the ’901 Patent (left) and

 Phares 2005 (right) are produced below for a side-by-side comparison:

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                         (’901 Patent)                                  (Phares 2005)

 ’901 Patent at 11:15-29 (Example 2); Phares 2005 at 8.

         Claim 1 of the ’901 Patent simply teaches that one can perform the alkylation and

 hydrolysis steps, i.e., making the nitrile and then hydrolyzing to make the treprostinil carboxylic

 acid (salt precursor). ’901 Patent at claim 1. Phares 2005 teaches that the resulting treprostinil

 carboxylic acid is in a solution. Phares 2005 at 22, 40. A POSA would understand that treatment

 of 11b with (ii) KOH, CH3OH (methanol) would lead to the formation of a solution of treprostinil

 carboxylic acid after neutralization. Phares 2005 further discloses that such treprostinil carboxylic

 acid can be in solution at page 22, where it teaches dissolving the treprostinil acid in ethanol/water.

 Id. at 22.

                                (3)      Claim Element 8[d]

      8[d]     (c) contacting the solution comprising treprostinil from step (b) with a base to
               form a salt of treprostinil,

         See explanation under independent claim 1. Section III.C.1.a.(3).

                                (4)      Claim Element 8[e]

      8[e]     (d) isolating the salt of treprostinil, and

         See explanation under independent claim 1. Section III.C.1.a.(4).




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                                (5)     Claim Element 8[f]

      8[f]     (e) optionally reacting the salt of treprostinil with an acid to form treprostinil.

        The step of reacting the foregoing salt of treprostinil with an acid to form the treprostinil

 in claim 1 of the ’901 Patent is optional. Therefore, no disclosure in Phares 2005 is required to

 demonstrate the obviousness of this claim element. Even so, this step was generally known in the

 art and would have been obvious to a POSA. See Schoffstall 2004 at 201-02; Wiberg 1960 at 112.

 The ’901 Patent itself admits that step (e) is merely a “simple acidification with diluted

 hydrochloric acid” step, and is thus not a novel step. ’901 Patent at 17:5-8.

                2.      Claims 1-4, 6, and 8 Would Have Been Obvious Over Moriarty 2004 in
                        Combination with Phares 2005

                        a.      Motivation to Combine Moriarty 2004 with Phares 2005

                                (1)     UTC is Precluded From Disputing the Motivation to
                                        Combine Moriarty and Phares 2005

        UTC’s argument concerning motivation to combine Moriarty with Phares 2005 is

 precluded because the issue was fully and fairly tried in a previous action involving substantially

 similar claims and was adversely resolved against UTC. For issue preclusion to apply, the

 unadjudicated and previously adjudicated claims need not be identical. Ohio Willow Wood, 735

 F.3d at 1342 (applying issue preclusion to parent patent with substantially similar claim as

 invalidated child patent). Rather, “it is the identity of the issues that were litigated that determines

 whether [issue preclusion] should apply.” Id. (emphasis in original). “If the differences between

 the unadjudicated patent claims and adjudicated patent claims do not materially alter the question

 of invalidity, [issue preclusion] applies.” Id.

        The issue of a motivation to combine Moriarty and Phares 2005 was already litigated and

 decided in the ’393 IPR and affirmed by the Federal Circuit. SteadyMed, IPR2016-00006, Paper

 82 at 47, aff’d, United Therapeutics v. SteadyMed, 702 F. App’x 990 (2017). The ’393 and ’901
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 Patent claims are substantially similar.     Both patents require a process of (i) alkylating a

 benzindene triol; (ii) hydrolyzing the product of step (i); (iii) contacting the product of step (ii)

 with a base to form a treprostinil salt; (iv) isolating the salt of treprostinil; and (v) optionally

 reacting the treprostinil salt from step (iii) to form treprostinil. The only differences are that the

 ’901 Patent claims include an impurity limitation and amount of treprostinil. These differences

 are immaterial, because they are not excluded from the claims of the ʼ393 Patent and are

 nonetheless disclosed by the exact same combination of Moriarty and Phares 2005 that invalidated

 the ’393 Patent.

        Particularly for product-by-process claims, the product—not the process— controls. In re

 Thorpe, 777 F.2d at 697; Amgen, 580 F.3d at 1369. UTC conceded that the ’393 and ’901 Patents

 claim the same product.      See Amendment & Request for Reconsideration (U.S. App. No.

 14/754,932) (Aug. 11, 2016) at 4-5 (UTC citing certificates of analysis for the product claimed in

 the ʼ393 Patent, and relied upon by UTC’s experts, to argue that the “pharmaceutical batch” of the

 ʼ901 Patent “is different from the product produced by the process described in Moriarty 2004.”).

 Thus, the storage issues claimed in the ’901 Patent claim 6 would be the same for both patents’

 products.

        In sum, UTC has “not provided any explanation regarding how the [additional] limitations”

 of the ’901 Patent are “patentably significant” to the motivation to combine Moriarty and Phares

 2005 “in view of the obviousness determination regarding the claims of the [’393] patent.” Ohio

 Willow Wood, 735 F.3d at 1343 (emphasis in original). Thus, issue preclusion should apply.

                                (2)     A POSA Nonetheless Would Have Been Motivated to
                                        Combine Moriarty and Phares 2005

        For the reasons stated above in Section II.C.a.(2), a POSA would have been motivated to

 form the treprostinil diethanolamine salt of Phares 2005 from the treprostinil free acid of Moriarty.


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                         b.      Reasonable Expectation of Success

         A POSA would have had a reasonable expectation of success in reacting the treprostinil

 taught by Moriarty 2004 with diethanolamine to form a treprostinil diethanolamine salt. “The

 reasonable expectation of success requirement refers to the likelihood of success in combining

 references to meet the limitations of the claimed invention.” Intelligent Bio-Sys., 821 F.3d at 1367.




                     The proposed combination of Moriarty 2004 and Phares 2005 yields treprostinil

 diethanolamine salt (i.e., the product claimed in independent claims 1 of the ’901 Patent) via the

 process taught by Phares 2005. A POSA would have a reasonable expectation of success in doing

 so because Phares 2005 successfully performed precisely that step. Phares 2005 at 22; Intelligent

 Bio-Sys., 821 F.3d at 1367. Indeed, the combination of Moriarty 2004 and Phares 2005 results in

 essentially the same process as disclosed in Example 6 of the ʼ901 Patent. Further, a POSA would

 understand that forming a salt from the treprostinil acid disclosed in Moriarty 2004 would not

 make the resulting product less pure than the 99.7% disclosed in the reference. Schoffstall 2004

 at 201-02; Wiberg 1960 at 112; see also Harwood 1989 at 127 (“The simplest and most effective

 technique for the purification of solid organic compounds is crystallization.            Crystalline

 compounds are easy to handle, their purity is readily assessed . . . and they are often easier to

 identify than liquids or oils.”).




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                         c.      Elimination of the Crude Treprostinil Isolation Step of Moriarty
                                 Would Have Been Obvious 19

         A POSA would be motivated to eliminate the intermediate isolation and crystallization

 steps of Moriarty to improve synthetic efficiency and reduce cost. The Board’s finding in the ’393

 IPR that “an ordinarily skilled artisan would have modified the process of Moriarty to incorporate

 the step of adding and dissolving diethanolamine to treprostinil as taught by Phares [2005] to

 eliminate the requirement for intermediate purification, thus, improving synthetic efficiency and

 reducing cost” is equally relevant here. Steadymed, IPR2016-00006, Paper 82 at 47. Specifically,

 a POSA would be motivated to eliminate the highlighted step below:

         The combined organic layers were washed with water, dried (Na2SO4), treated with
         charcoal, and concentrated in vacuo to yield crude UT-15 (7) as an off-white solid.
         This was crystallized by dissolving the solid in ethanol at 50 °C and adding water
         (1:1). White needles obtained upon standing were filtered, washed with 20%
         ethanol-water, and dried in a vacuum oven at 55 °C to give 441 g (83%) of pure
         UT-15 as colorless crystalline solid . . . .

 Moriarty 2004 at 1902.

         A POSA would be motivated to eliminate this isolation step because a POSA would know

 that it would be more efficient to form a salt from a preexisting solution, without recourse to

 isolation of a solid, re-dissolving that solid, and then forming a salt. If a POSA actually carried

 out an isolation step, then a POSA would have to re-dissolve the crude treprostinil carboxylic acid

 in order to apply the salt formation step of Phares 2005. A POSA would therefore be motivated

 to eliminate the isolation step to most efficiently prepare the treprostinil salt.

         Further, Moriarty 2004 discloses that KOH can be neutralized in the presence of methanol

 using HCl to access the neutral treprostinil free acid. See Moriarty 2004 at 1902 (“Then the



 19
   Pending the Court’s construction of “contacting the solution comprising treprostinil from
 step (b) with a base to form a salt of treprostinil,” Liquidia reserves the right to supplement
 Section III.C.2.c.
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 reaction mixture was refluxed for 3 h and cooled at 0 °C, then 3 M aqueous HCl was added until

 pH 10-12.”). Moriarty 2004 does not disclose the presence of any treprostinil methyl ester after

 neutralization of the KOH base. Id. (disclosing resulting 99.7% treprostinil free acid product).

 Thus, as evidenced by Moriarty 2004, a POSA would know that neutralization of the treprostinil

 carboxylate salt solution could be achieved without methyl ester formation, and a POSA would

 therefore be motivated to eliminate the crude treprostinil isolation step of Phares 2005 by

 neutralizing the KOH in solution and adding diethanolamine to produce the treprostinil

 diethanolamine salt using the procedure provided in Phares 2005.

           Lastly, for the reasons stated above in Section III.C.1.a.(3), a POSA would have had a

 reasonable expectation of success in eliminating the crude treprostinil isolation step of Moriarty

 2004, as evidenced by the teachings of Wiberg 1960, Schoffstall 2004, Kawakami 1981, and Ege

 1989, which demonstrate that reacting a carboxylic acid with a base to form a carboxylate salt was

 a well-known purification step in December 2007.

                         d.      Independent Claim 1 Would Have Been Obvious

           Moriarty 2004 in combination with Phares 2005 teaches each element of claim 1 of the

 ’901 Patent.

                                 (1)     Claim Element 1[a]

    1[a]        A pharmaceutical batch consisting of treprostinil or a salt thereof and impurities
                resulting from:

           Moriarty 2004 discloses the production of a pharmaceutical batch of treprostinil and the

 synthesis of treprostinil via the stereoselective intramolecular Pauson-Khand cyclization.

 Moriarty 2004 at 1890. Structure 7 of Moriarty 2004 depicts the chemical structure of treprostinil

 and is shown below:




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 Id. at 1892. This is the identical treprostinil pharmaceutical salt precursor disclosed in the ’901

 Patent:




 ’901 Patent at 12:25-37.

           While the step of reacting treprostinil with a base to form a salt of 7 is not disclosed in

 Moriarty 2004, this step is clearly disclosed in Phares 2005. Phares 2005 discloses that treprostinil

 acid (which is equivalent to 7 in Moriarty 2004) is dissolved in a 1:1 molar ratio mixture of ethanol:

 water and diethanolamine (i.e., the base) is added and dissolved. Phares 2005 at 22. The solution

 is heated and acetone is added as an antisolvent during cooling. Id. The resulting structure (left)

 corresponds to the treprostinil diethanolamine salt claimed in the ’901 Patent (right). A side-by-

 side comparison is shown below:




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                   (Phares 2005)                                        (’901 Patent)

 Phares 2005 at 9, 96 (claim 49); ’901 Patent at 9:35-45, 12:45-60, Example 3. Other than a change

 in formatting, one can easily see that these two structures from Phares 2005 and the ’901 Patent

 are identical.

         The formation of salts by the reaction of carboxylic acids with bases is a common reaction

 in organic chemistry and is well within the skill of a POSA, as discussed above. See, e.g.,

 Kawakami 1981.

         This salt is the result of the same steps described in the ’901 Patent; (a) by forming a salt

 of treprostinil by combining the starting solution of treprostinil acid and a base and; (b) isolating

 the treprostinil salt. ’901 Patent at claims 1 and 8. The isolated salt is then used to prepare a

 pharmaceutical batch comprising treprostinil or a salt thereof. Id.; Phares 2005 at 58. As such,

 the treprostinil salt of Phares 2005 would contain impurities from the recited steps.

         Therefore, Moriarty 2004 in combination with Phares 2005 disclose a pharmaceutical batch

 consisting of treprostinil or a salt thereof. This pharmaceutical batch contains impurities resulting

 from the steps of alkylation and hydrolysis as described in further detail below.



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                               (2)      Claim Element 1[b]

     1[b]    (a) alkylating a benzindene triol,

        Both Moriarty 2004 and Phares 2005 teach alkylating a benzindene triol. Moriarty 2004

 at 1895, 1902; Phares 2005 at 39-40.

        Moriarty 2004 teaches alkylation of benzindene triol. Moriarty 2004 at 1897. The

 alkylation reaction of 34 to yield 35 as disclosed in Moriarty 2004 is equivalent to the alkylation

 reaction disclosed in the ’901 Patent. 34 and 35 of Moriarty 2004 are as follows:




 Moriarty 2004 at 1895, 1902. Moriarty 2004 teaches that the triol (34) was alkylated at the

 phenolic hydroxyl group with use of chloroacetonitrile in refluxing acetone with potassium

 carbonate (34 → 35) and nitrile 35 was hydrolyzed with ethanolic potassium hydroxide to yield

 UT-15 (7). Id. at 1897. This is the same triol disclosed in the ’901 Patent as shown below:




                      (’901 Patent)                          (Moriarty 2004)

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 ’901 Patent at 10:17-26; Moriarty 2004 at 1895, 1902.

          As discussed above in Section III.C.1.a.(2), Phares 2005 also discloses alkylation of a

 benzindene triol (11b → 2). Phares 2005 at 40. The reaction from Phares 2005 is shown below

 for comparison:




 Phares 2005 at 39-40, -OH group being alkylated indicated with red square.

          A POSA would recognize that the alkylation reaction step (l) disclosed in Phares 2005 (“i.

 ClCH2CN, K2CO3”) for the enantiomer of treprostinil is equally applicable to treprostinil, as

 disclosed in the ’901 Patent. Phares 2005 at 40. Phares 2005 explains that enantiomers of these

 compounds (including (-)-treprostinil) “can be synthesized using the reagents and synthons of

 enantiomeric chirality of the above reagents,” thereby inherently teaching the synthesis of both

 enantiomeric forms of treprostinil and of the benzindene triol and nitrile intermediates thereof. Id.

 at 39.

                                  (3)     Claim Element 1[c]

      1[c]      (b) hydrolyzing the product of step (a) to form a solution comprising treprostinil,

          As discussed above, Moriarty 2004 discloses the identical treprostinil precursor, and Phares

 2005 discloses the identical pharmaceutically acceptable treprostinil diethanolamine salt as the

 ’901 Patent. Scheme 4 of Moriarty 2004 teaches that 35 is hydrolyzed with a base (i.e., aqueous

 KOH), followed by acidification to yield 7, the treprostinil salt precursor disclosed in the ’901

 Patent. Phares 2005 at 6, 13. A POSA would understand that adding aqueous KOH would result

 in a solution of treprostinil (7).

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        Phares 2005 also discloses hydrolyzing the product from the alkylation reaction (step (a)

 above) to form the enantiomeric treprostinil starting material disclosed in the ’901 Patent. The

 hydrolyzing procedure is disclosed in Phares 2005 as: “ii, KOH, CH3OH, reflux. 83%.” Phares

 2005 at 40. A comparison between the treprostinil starting material disclosed in the ’901 Patent

 (left) and Phares 2005 (right) are produced below for a side-by-side comparison:




                    (’901 Patent)                                  (Phares 2005)



 ’901 Patent at 11:17-29, Example 2; Phares 2005 at 8.

        Claim 1 of the ’901 Patent simply teaches that one can perform the alkylation and

 hydrolysis steps, i.e., making the nitrile and then hydrolyzing to make the treprostinil carboxylic

 acid (salt precursor) and subsequently make the salt by adding a base to the treprostinil carboxylic

 acid. ’901 Patent at claim 1.

        Phares 2005 teaches that the treprostinil carboxylic acid is in a solution. Phares 2005 at

 22, 40. A POSA would understand that treatment of 11b with (ii) KOH, CH3OH (methanol) would

 lead to the formulation of a solution of treprostinil carboxylic acid after neutralization. Phares

 2005 further discloses that such treprostinil carboxylic acid can be in solution at page 22, where it

 teaches dissolving the treprostinil acid in ethanol/water. Id. at 22. Finally, a POSA would expect

 that the treprostinil formed would include the impurities from the alkylation and hydrolysis steps,

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 as those steps in Phares 2005 are, as discussed above, the same as claimed in the ’901 Patent.

                               (4)     Claim Element 1[d]

      1[d]     contacting the solution comprising treprostinil from step (b) with a base to form a
               salt of treprostinil,


        As explained above, Moriarty 2004 and Phares 2005 disclose formation of a solution

 comprising treprostinil.

        Phares 2005 further discloses combining a starting batch of treprostinil and a base. In

 particular, page 22 of Phares 2005 teaches dissolving treprostinil acid in a 1:1 molar ratio mixture

 of ethanol: water to give a solution of treprostinil acid, which is then treated with a base,

 diethanolamine. Phares 2005 at 22. However, a POSA would likely understand the treprostinil

 acid disclosed at page 22 to have been isolated before addition of the base.

        But not isolating the treprostinil before contacting it with a base is obvious based on what

 is taught by Phares 2005. For example, with the treprostinil solution inherently taught by Phares

 2005 at page 40, instead of isolating the neutral carboxylic acid at this step by removal of the

 methanol, a POSA would find it obvious to instead add diethanolamine (i.e., a base) to the

 treprostinil solution so that removal of the methanol would instead leave a salt, specifically,

 treprostinil diethanolamine salt. Phares 2005 at 40.

        A POSA would be motivated to do so to save a step of isolation of the treprostinil, instead

 waiting until the salt is formed to conduct an isolation step. The result would be a process with

 just one isolation step, rather than two, which would be faster, more efficient, and more

 economical. Id. A POSA would have a reasonable expectation of success in doing so because

 isolation after salt formation is standard practice in the art, and is a step specifically taught in

 Phares 2005. Phares 2005 at 22, 85-89; see also Wiberg 1960 at 112; Schoffstall 2004 at 201-02;


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 Ege 1989 at 546; Kawakami 1981 at 6. The resulting diethanolamine salt formation is identical to

 the pharmaceutical salt of treprostinil as disclosed in claim 1 of the ’901 Patent.

                                (5)     Claim Element 1[e]

      1[e]     (d) isolating the salt of treprostinil, and

        Phares 2005 discloses isolating the identical pharmaceutically acceptable treprostinil

 diethanolamine salt form as the ’901 Patent. Phares 2005 at 85-89. Phares 2005 further discloses

 isolating crystalline forms of treprostinil diethanolamine salt—Form A and Form B. Id. A POSA

 would understand that upon completion of a reaction, the product is isolated, and even a sophomore

 organic chemistry student would understand the isolation steps needed following the conversion

 of Form A to Form B.

                                (6)     Claim Element 1[f]

      1[f]     (e) optionally reacting the salt of treprostinil with an acid to form treprostinil, and


        The step of reacting the foregoing salt of treprostinil with an acid to form the treprostinil

 in claim 1 of the ’901 Patent is optional. Therefore, no disclosure in Moriarty 2004 or Phares 2005

 is required to demonstrate the obviousness of this claim element. Even so, this step was generally

 known in the art and would have been obvious to a POSA. See Schoffstall 2004; Wiberg 1960.

 The ’901 Patent itself admits that step (e) is merely a “simple acidification with diluted

 hydrochloric acid” step, and is thus not a novel step. ’901 Patent at 17:5-8.

                                (7)     Claim Element 1[g]

      1[g]     wherein the pharmaceutical batch contains at least 2.9 g of treprostinil or its salt.


        As discussed above, Moriarty 2004 discloses the identical treprostinil precursor, and Phares

 2005 discloses the identical pharmaceutically acceptable treprostinil diethanolamine salt as the


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 ’901 Patent.

         Moriarty 2004 discloses that to meet the demands of producing multikilogram quantities

 of UT-15 (7) needed in the course of drug development, an efficient and economical synthesis had

 to be devised. Moriarty 2004 at 1892. The essential requirements for any large-scale, multistep

 synthesis of a molecule of the complexity of UT-15 (7) are very high overall stereoselectivity, high

 overall chemical yield, and scalability of individual steps to multigram quantities. Id. Moriarty

 2004 further discloses that after the synthesis steps described above, crude UT-15 (7) was

 crystallized by dissolving the solid in ethanol, 50° C and adding water 1:1. Id. at 1902. “White

 needles obtained upon standing were filtered, washed with 20% ethanol-water, and dried in a

 vacuum oven, 55° C to give 441 g (83%) of pure UT-15 as a colorless crystalline solid.” Id.

 (emphasis added). A POSA would therefore conclude that the synthesis of quantities at least as

 large as 2.9 g of treprostinil (and its derived salt) would be possible.

         In addition, for the reasons stated above in Section III.C.1.a.(6), a POSA would readily

 understand that one could follow the steps disclosed in Phares 2005 and simply scale up said steps

 to produce a pharmaceutical batch of treprostinil or its salt of at least 2.9 g. This is especially true

 since Phares 2005 teaches that gram-scale quantities of treprostinil can be produced, and a POSA

 would expect that a reaction taught on a 1-gram scale could easily be achieved on a 2.9-gram scale.

 Id.; Phares 2005 at 18, 22.

                         e.      Dependent Claims 2-4 and 6 Would Have Been Obvious

                                 (1)     Claim 2

        2       The pharmaceutical batch of claim 1, which has been dried under vacuum.

         Moriarty 2004 discloses the identical treprostinil precursor, and Phares 2005 discloses the

 identical pharmaceutically acceptable treprostinil diethanolamine salt as the ’901 Patent.


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        Moriarty 2004 further discloses that after the synthesis steps described above, crude UT-

 15 (7) was crystallized by dissolving the solid in ethanol, 50° C and adding water 1:1. Moriarty

 2004 at 1902. “White needles obtained upon standing were filtered, washed with 20% ethanol-

 water, and dried in a vacuum oven, 55°C to give 441 g (83%) of pure UT-15 as a colorless

 crystalline solid.”   (Id. (emphasis added).)     Additionally, for the reasons stated above in

 Section III.C.1.b.(1), it would have been obvious to a POSA to dry the pharmaceutical batch of

 claim 1 under vacuum.

                                (2)     Claims 3 and 4

        3      A pharmaceutical product comprising a therapeutically effective amount of
               treprostinil from a pharmaceutical batch as claimed in claim 1.
        4      A pharmaceutical product comprising a therapeutically effective amount of a salt
               treprostinil from a pharmaceutical batch as claimed in claim 1.


        Moriarty 2004 teaches that UT-15 (7) has proven effective in the treatment of pulmonary

 hypertension and investigated for use in treating severe congestive heart failure, severe intermittent

 claudication, and immuno-suppression. Moriarty 2004 at 1892. A goal of the experiments

 disclosed in Moriarty 2004 was to meet the demands of producing multikilogram quantities of UT-

 15 needed in the course of drug development.           Id.   Therefore, Moriarty 2004 discloses a

 pharmaceutical product comprising a therapeutically effective amount of treprostinil from the

 pharmaceutical batch.

        Phares 2005 further discloses a therapeutically effective amount of treprostinil and

 treprostinil salt. Phares 2005 at 48-49, 60, 65. The invention of Phares 2005 “provides for

 compositions which may be prepared by mixing one or more compounds of the instant invention,

 or pharmaceutically acceptable salts thereof, with pharmaceutically acceptable carriers, excipients,

 binders, diluents or the like, to treat or ameliorate a variety of disorders related vasoconstriction


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 and/or platelet aggregation.” Id. at 48. A “therapeutically effective dose” as defined in Phares

 2005 further “refers to that amount of one or more compounds of the instant invention sufficient

 to result in amelioration of symptoms of the disorder.” Id. The compositions can be formulated

 for various routes of administration, for example, by oral administration, by transmucosal

 administration, by rectal administration, transdermal or subcutaneous administration as well as

 intrathecal, intravenous, intramuscular, intraperitoneal, intranasal, intraocular or intraventricular

 injection. Id. at 48-49.

        Phares 2005 also discloses that a therapeutically effective dose may vary depending on the

 route of administration and dosage form. Id. at 51. The preferred compound or compounds of the

 invention disclosed in Phares 2005 is a “formulation that exhibits a high therapeutic index.” Id.

 Pharmaceutical formulations include “any of the compounds of any of the embodiments of

 compound of structure I, II or pharmaceutically acceptable salts thereof described in combination

 with a pharmaceutically acceptable carrier.” Id. at 52.

        The invention disclosed in Phares 2005 also “provides a method of using the above

 compounds therapeutically of/for: pulmonary hypertension, ischemic diseases, heart failure,

 conditions requiring anticoagulation, thrombotic microangiopathy, extracorporeal circulation,

 central retinal vein occlusion, atherosclerosis, inflammatory diseases, hypertension, reproduction

 and parturition, cancer or other conditions of unregulated cell growth, cell/tissue preservation and

 other emerging therapeutic areas where prostacyclin treatment appears to have a beneficial role.”

 Id. at 4; see also clinical study results of UT-15C on pages 82-85.

                                (3)     Claim 6

        6      A method of preparing a pharmaceutical product from a pharmaceutical batch as
               claimed in claim 1, comprising storing a pharmaceutical batch of a salt of
               treprostinil as claimed in claim 1 at ambient temperature, and preparing a
               pharmaceutical product from the pharmaceutical batch after storage.

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        For the reasons stated above in Section II.C.2.d.(3), Moriarty 2004 in combination with

 Phares 2005 renders obvious storing a pharmaceutical batch of a salt of treprostinil at ambient

 temperature and preparing a pharmaceutical product from the pharmaceutical batch after storage.

                        f.      Dependent Claim 8 Would Have Been Obvious

        Dependent claim 8 is independent claim 1, without claim limitation 1[f].

                                (1)     Claim Element 8[a]

      8[a]     A method of preparing a pharmaceutical batch as claimed in claim 1, comprising:

        See explanation under independent claim 1, Section III.C.2.d.

                                (2)     Claim Elements 8[b] and [c]

      8[b]     (a) alkylating a benzindene triol,
      8[c]     (b) hydrolyzing the product of step (a) to form a solution comprising treprostinil,

        Moriarty 2004 teaches both the alkylating and hydrolyzing steps of claim 8. Moriarty

 2004 teaches the alkylation of triol intermediate 34 (left) which has the same formula as the triol

 structure disclosed in the ’901 Patent (right):




                 (Moriarty 2004)                                       (’901 Patent)

 Moriarty 2004 at 1895; ’901 Patent at 9:15-25. Moriarty 2004 teaches that the “[t]riol 34 was


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 alkylated at the phenolic hydroxyl group with use of chloroacetonitrile in refluxing acetone with

 potassium carbonate (34→ 35) and nitrile 35 was hydrolyzed with ethanolic potassium hydroxide

 to yield UT-15 (7) in 9% overall yield.” Moriarty 2004 at 1898 (emphasis added).)

        Phares 2005 also teaches both the alkylating and hydrolyzing steps of claim 8. Phares 2005

 discloses alkylating a triol intermediate, the benzindene triol, of the same structural formula

 disclosed in claim 8 of the ’901 Patent. See also Section III.C.2.d.(2). Phares 2005 also discloses

 this same triol alkylation step as Moriarty 2004 and as the ’901 Patent, where “R” can be “H”

 (structure 11b):




                    (’901 Patent)                                           (Phares 2005)


 ’901 Patent at 9:50-10:13, claim 8; Phares 2005 at 40.

        Phares 2005 discloses hydrolyzing the resulting compound to form the same structural

 formula of treprostinil starting material disclosed in the ’901 Patent. See Section III.C.2.d.(3). The

 hydrolyzing procedure is disclosed in Phares 2005 as: “ii, KOH, CH3OH, reflux. 83%.” Phares

 2005 at 40 (emphasis added).        Phares 2005 further explains that “[e]nantiomers of these

 compounds…can be synthesized using reagents and synthons of enantiomeric chirality of the

 above reagents,” thereby inherently teaching this hydrolysis step for treprostinil as well. Id. at 39-

 40. A comparison between the resulting treprostinil starting material disclosed in the ’901 Patent

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 (left) and Phares 2005 (right) are produced below for a side-by-side comparison:




                     (’901 Patent)                                (Phares 2005)

 ’901 Patent at 11:17-29, Example 2; Phares 2005 at 8.

        Claim 1 of the ’901 Patent simply teaches that one can perform the alkylation and

 hydrolysis steps, i.e., making the nitrile and then hydrolyzing to make the treprostinil carboxylic

 acid (salt precursor). ’901 Patent at claim 1.

        Phares 2005 also teaches that the resulting treprostinil carboxylic acid is in a solution.

 Phares 2005 at 22, 40. A POSA would understand that treatment of 11b with KOH, CH3OH

 (methanol), as taught in Phares 2005’s hydrolyzing step, would lead to the formation of a solution

 of treprostinil carboxylic acid after neutralization. Id. at 40. Phares 2005 further discloses that

 such treprostinil carboxylic acid can be in solution at page 22, where it teaches dissolving the

 treprostinil acid in ethanol/water. Id.; Phares 2005 at 22.

                                (3)     Claim Elements 8[d]

      8[d]     (c) contacting the solution comprising treprostinil from step (b) with a base to
               form a salt of treprostinil,

        See explanation under independent claim 1. Section III.C.2.d.(4).

                                (4)     Claim Element 8[e]

      8[e]     (d) isolating the salt of treprostinil, and


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         See explanation under independent claim 1. Section III.C.2.d.(5).

                                 (5)     Claim Element 8[f]

      8[f]     (e) optionally reacting the salt of treprostinil with an acid to form treprostinil.


         The step of reacting the foregoing salt of treprostinil with an acid to form the treprostinil

 in claim 8 of the ’901 Patent is optional. Therefore, no disclosure in Moriarty 2004 or Phares 2005

 is required to demonstrate the obviousness of this claim element. Even so, this step was generally

 known in the art and would have been obvious to a POSA. See, e.g., Schoffstall 2004 at 201-02;

 Wiberg 1960 at 112. Moreover, the ’901 Patent admits that step (e) is merely a “simple

 acidification with diluted hydrochloric acid” step, and is thus not a novel step. ’901 Patent at 17:5-

 8.

         D.      Claims 1-4, 6, and 8 Are Invalid Under 35 U.S.C. § 112

         The Asserted Claims of the ’901 Patent are invalid under 35 U.S.C. § 112 for lack of written

 description support, lack of enablement, and indefiniteness. To the extent UTC contends that

 claims 1-4, 6, and 8 of the ’901 Patent are not obvious, the asserted claims of the ’901 patent are

 invalid under 35 U.S.C. § 112 for the reasons stated below.

         “[T]he test for sufficiency is whether the disclosure of the application relied upon

 reasonably conveys to those skilled in the art that the inventor had possession of the claimed

 subject matter as of the filing date.” Ariad, 598 F.3d at 1351. The applicant must “‘convey with

 reasonable clarity to those skilled in the art that, as of the filing date sought, he or she was in

 possession of the invention,’ and demonstrate that by disclosure in the specification of the patent.”

 Carnegie Mellon Univ., 541 F.3d at 1122 (quoting Vas-Cath, 935 F.2d at 1563-64). “One cannot

 disclose a forest in the original application, and then later pick a tree out of the forest and say ‘here


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 is my invention.’” Purdue Pharma, 230 F.3d at 1326-37 (finding “nothing in the written

 description of Examples 1 and 3 that would suggest to one skilled in the art that the [claimed

 invention] is an important defining quality of the formulation, nor does the disclosure even

 motivate one to [reach the claimed invention]”). Lastly, patents may need to disclose experimental

 data to provide an adequate written description if the inventor expressly claims that the invention

 achieves a certain result or has an efficacy limitation. Nuvo Pharms., 923 F.3d at 1380 (“[W]hen

 the inventor expressly claims that result, our case law provides that that result must be supported

 by adequate disclosure in the specification.”).

         To satisfy the enablement requirement under § 112(a), the specification must enable a

 person having ordinary skill in the art to make and use the invention. Wyeth, 720 F.3d at 1384.

 This requirement is met when at the time of filing the application, one skilled in the art, having

 read the specification, could practice the invention without “undue experimentation.” ALZA, 603

 F.3d at 940 (quoting Genentech, 108 F.3d at 1365).

         Finally, under § 112, patent claims must “particularly point[] out and distinctly claim[] the

 subject matter” regarded as the invention.        35 U.S.C. § 112(b).       A patent is “invalid for

 indefiniteness if its claims, read in light of the specification delineating the patent, and the

 prosecution history, fail to inform, with reasonable certainty, those skilled in the art about the scope

 of the invention.” Nautilus, 572 U.S. at 901. As discovery is ongoing, Liquidia reserves the right

 to supplement and/or amend these contentions.

                 1.      Claim 1 Lacks Written Description Support and is Not Enabled

                         a.      “Impurities” Limitation Lacks Written Description Support

         Asserted Claim 1 of the ’901 Patent recites “a pharmaceutical batch consisting of . . .

 impurities resulting from (a) alkylating a benzindene triol, (b) hydrolyzing the product of step (a)

 to form a solution comprising treprostinil.”         ’901, 17:24-27.      However, the ’901 patent

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 specification never discloses any measurement or identification of impurities after the alkylation

 or hydrolysis steps, and in particular provides no analysis of the impurities and their amounts that

 may remain in the treprostinil free acid that result from alkylation and hydrolysis. See id. at

 Examples 1 and 2; Example 6 (between steps 14 and 15 or between steps 30 and 31). As such, the

 ʼ901 patent does not demonstrate that the inventors actually determined whether they made “a

 pharmaceutical batch consisting of . . . impurities resulting from (a) alkylating a benzindene triol,

 (b) hydrolyzing the product of step (a) to form a solution comprising treprostinil,” and for this

 reason, the specification of the ʼ901 patent does not convey to a skilled artisan that the inventors

 had possession of this limitation. The ’901 patent specification thus fails to provide any written

 description support for claim 1’s recited impurities resulting from alkylation and hydrolysis.

                        b.      “Salt” Limitation Lacks Written Description Support and Is
                                Not Enabled

        Asserted Claim 1 of the ’901 Patent recites “contacting the solution comprising treprostinil

 from step (b) with a base.” ’901, 17:27-29. The claim recites use of any base to form a salt, while

 the patent specification only has a few lines identifying such bases. Id. at 5:41-45 (identifying

 only “sodium, ammonia, potassium, calcium, ethanolamine, diethanolamine, N-methylglucamine,

 choline and the like” as bases).

        This disclosure is not sufficient to enable a skilled artisan to practice the full scope of claim

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        Nor does the ’901 patent adequately describe the full scope of claim 1.




                                                                 Thus, the ’901 patent’s four line

 disclosure of possible bases does not provide adequate description of the broad spectrum of

 specific acid-base combinations that work to form a salt of treprostinil.

                2.      Claims 1, 3, 4, and 6 Lack Written Description Support

                        a.     “Therapeutically Effective           Amount”       Lacks     Written
                               Description Support

        Asserted Claims 3 and 4 of the ’901 Patent are directed to pharmaceutical products

 comprising a “therapeutically effective amount” of treprostinil or “salt treprostinil.” “[T]he

 purpose of the written description requirement is to ‘ensure that the scope of the right to exclude,

 as set forth in the claims, does not overreach the scope of the inventor’s contribution to the field

 of the art as described in the patent specification.’” Ariad, 598 F.3d at 1353-54 (2010) (quoting

 Rochester, 358 F.3d at 920). Accordingly, to satisfy the written description requirement, “the

 patentee is obliged to described . . . subject matter commensurate with the scope of the


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 exclusionary right.” Id. at 1360. Thus, for UTC to satisfy the written description requirement, the

 specification of the ’901 Patent must adequately describe the full scope of claims 3 and 4 of the

 ’901 Patent.

        Here, however, neither the claim language nor specification of the ’901 Patent define or

 otherwise describe what constitutes a “therapeutically effective amount” of treprostinil or a

 treprostinil salt. Indeed, the claims are extremely broad as they do not recite a specific disease 20

 to which a “therapeutically effective” amount of treprostinil or salt thereof would be applicable

 nor to a particular route of administration (e.g., inhalation). In fact, other than claims 3 and 4, the

 specification does not use the term “therapeutically effective,” and further does not include any

 disclosure concerning any doses that the claimed “pharmaceutical product” should contain. Merck

 & Co., Inc. v. Teva Pharms. USA, Inc., 347 F.3d 1367, 1371 (Fed. Cir. 2003) (“[C]laims must be

 construed so as to be consistent with the specification, of which they are part.”). Because the ’901

 Patent fails to limit the scope of claims 3 or 4, the specification of the ’901 Patent must reasonably

 convey to those skilled in the art that the inventors had possession of a “therapeutically effective

 amount” of treprostinil to treat any condition and by any route of administration as of December

 17, 2007.




 20
    The ’901 Patent provides only general descriptions of treprostinil’s potential uses in the
 treatment of various disorders and by different routes of administration. See ’901 Patent at 1:36–
 65 (describing generally treprostinil’s potential use in treatment of pulmonary hypertension,
 peripheral vascular disease, lung cancer, liver cancer, brain cancer, pancreatic cancer, kidney
 cancer, prostate cancer, breast cancer, colon cancer, head-neck cancer, kidney malfunction,
 neuropathic foot ulcers, pulmonary fibrosis, interstitial lung disease, and asthma). However, these
 extremely general characterizations of routes of administration and potential disorders treated by
 treprostinil fail to limit the scope of claims 3 and 4. Further, given the list of diseases and the
 breadth of the ʼ901 claims covering these diseases, the ʼ901 patent needs to provide written
 description support for a therapeutically effective amount of each disease.
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        Even if the ’901 Patent’s general reference to various disorders and routes of administration

 demonstrates possession of a “therapeutically effective amount” of treprostinil or treprostinil salt

 to treat those conditions (see ’901 Patent at 1:36-65), which Liquidia does not concede, the ’901

 Patent provides no evidence that the named inventors possessed a “therapeutically effective

 amount” of treprostinil or treprostinil salt for all other conditions and routes of administration

 encompassed by the claims. By failing to provide any guidance or evidence that the inventors

 were in possession of a “therapeutically effective amount” of treprostinil or treprostinil salt to treat

 all conditions and routes of administration encompassed by the claims, the specification of the

 ’901 Patent fails to adequately describe claims 3 and 4 of the ’901 Patent. See, e.g., Biogen Int’l

 GmbH v. Mylan Pharms. Inc., No. 17CV116, 2020 WL 3317105, at *15 (N.D. W. Va. June 18,

 2020) (invalidating patent lacking clinical data for inadequately describing “therapeutically

 effective amount”).

                        b.      “Storing”/”Storage” at “Ambient Temperature” Lack Written
                                Description Support

        Asserted Claim 6 of the ’901 Patent is directed to a method of preparing the pharmaceutical

 product comprising treprostinil after “storing” a pharmaceutical batch of a treprostinil salt at

 “ambient temperature,” which the Court construed as “room temperature (equal to or less than the

 range of 15°C to 30°C).” D.I. 119 at 1. “[T]he test for sufficiency is whether the disclosure of the

 application relied upon reasonably conveys to those skilled in the art that the inventor had

 possession of the claimed subject matter as of the filing date.” Ariad, 598 F.3d at 1351. An

 adequate written description need not in every instance describe an actual reduction to practice but

 “must nonetheless ‘describe the claimed subject matter in terms that establish that [the applicant]

 was in possession of the . . . claimed invention, including all of the elements and limitations.’”

 Rochester, 358 F.3d at 926 (quoting Hyatt, 146 F.3d at 1353). The specification, moreover, must


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 provide written description support for an entire claimed range. Eiselstein, 52 F.3d at 1040 (“Since

 the grandparent application only disclosed a nickel range of 45-55%, it can hardly be said to have

 disclosed 50-60%.”). Accordingly, the specification of the ’901 Patent must sufficiently describe

 a method of “storing” a pharmaceutical batch at the full range of 15 to 30° C and preparing a

 pharmaceutical product from the pharmaceutical batch after “storage” such that a person of skill

 in the art would recognize that the named inventors actually invented what is claimed.

        A POSA reviewing the specification of the ’901 Patent would conclude that the inventors

 were not in possession of a method of preparing a pharmaceutical product from a pharmaceutical

 batch of treprostinil salt that was “stor[ed]” at the full range of 15 to 30° C. As UTC noted in its

 Preliminary Response to Liquidia’s IPR Petition with respect to the ’901 Patent, “[p]rostaglandin

 derivatives,” like treprostinil, “in particular were known to be unstable upon storage due to

 inherent instability of the crystalline lattice of these compounds owning to their long, flexible

 sidearms, as well as the presence of multiple polymorphic crystals.” Liquidia Techs.,, IPR2020-

 00770, Paper 6 at 53 (P.T.A.B. July 14, 2020). Further, UTC noted in its Preliminary Response

 that “[e]nvironmental factors are a significant factor (e.g., temperature, oxygen, atmosphere,

 humidity). This is especially true for compounds stored as salts.” Id. at 54. In UTC’s Patent

 Owner Response to Liquidia’s IPR Petition with respect to the ’901 Patent, UTC further argued

 that a POSA would require storage stability data to believe a treprostinil salt could be stored at

 ambient temperature. Liquidia Techs., IPR2020-00770, Paper 12 at 29 (“No storage stability data

 is presented [in Phares].”); see also Declaration of Rodolfo Pinal, Ph.D. Supporting United

 Therapeutic Corporation’s Patent Owner Response, Liquidia Techs., Inc. v. United Therapeutics

 Corp., IPR2020-00770, Ex. 2025 at ¶ 204 (P.T.A.B. Dec. 21, 2020) (“Phares also does not provide




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 any storage stability data or suggest that an isolated treprostinil salt can be stored at ambient

 temperature prior to the preparation of a pharmaceutical composition.”).

        Additionally,




        Considering these admissions, the specification of the ’901 Patent provides no evidence or

 disclosure that the treprostinil salts of the claimed invention were actually “stor[ed]” for any length

 of time, let alone at 15 to 30° C, or that the inventors were in possession of a method of “storing”

 a pharmaceutical batch of treprostinil salt at the full range of ambient temperature and preparing a

 pharmaceutical product of treprostinil after such “storage.” The specification of the ’901 Patent

 provides only a generic statement regarding the “stor[age]” of “crude treprostinil salts” at “ambient

 temperature,” which provides no greater detail than the claims themselves. See ’901 Patent at



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 17:4-10 (“Additional advantages of this process are: (a) crude treprostinil salts can be stored as

 raw material at ambient temperature and can be converted to treprostinil by simply acidification

 with diluted hydrochloric acid, and (b) the treprostinil salts can be synthesized from the solution

 of treprostinil without isolation.”). The ʼ901 Patent does not disclose any experimental data to

 support these statements, and further lacks any details as to how long the “crude treprostinil salt”

 can be stored or under what conditions, other than temperature.

        Further, a POSA reading the specification of the ’901 Patent would also not understand

 that the “crude treprostinil salts” described in the specification constitute a “pharmaceutical batch

 of a salt of treprostinil” within the meaning of claim 6 as the treprostinil salt itself can be the

 claimed pharmaceutical product (claim 6 does not require any additional processing steps for the

 treprostinil salt prior to incorporating it into the “pharmaceutical product.”). And even if the

 “crude treprostinil salts” described in the specification of the ’901 Patent constitute a

 “pharmaceutical batch of a salt of treprostinil” within the meaning of claim 6, which Liquidia does

 not concede, the specification of the ’901 Patent does not provide evidence that the “crude” salts

 were ever actually stored, let alone for what length of time and under what conditions other than

 temperature. Moreover, the specification of the ʼ901 Patent states only that “crude treprostinil

 salts” can be stored at ambient temperatures, and such “crude” salts must be further processed.

 There is no indication in the specification of the ʼ901 Patent that the inventors were in possession

 of a pharmaceutical batch of treprostinil salt within the scope of claims 6 that can be stored.

        The specification and claim’s vague description of “storing” crude treprostinil salts and a

 “pharmaceutical batch of a salt of treprostinil” lacks guidance as to “significant” environmental

 factors, in UTC’s own words, such as oxygen, atmosphere, and humidity. University of California,

 119 F.3d at 1568 (“The description requirement of the patent statute requires a description of an



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 invention, not an indication of a result that one might achieve if one made that invention.”).

 Considering UTC’s contention that the significance of these undefined variables is “especially true

 for compounds stored as salts,” and the lack of disclosure as to these variables in specification of

 the ’901 Patent, a POSA would not conclude that the inventors were in possession of the invention

 claimed in claim 6. Thus, claim 6 of the ’901 Patent is invalid for lack of written description.

                        c.      To the Extent UTC Contends that Claim 1 Permits “Isolation”
                                of Treprostinil Before Combining with a Base to Form a Salt,
                                the Asserted Claims Lack Adequate Written Description 21

        Claim 1 of the ʼ901 Patent, which all other Asserted Claims of the ’901 Patent depend,

 requires “form[ing] a salt of treprostinil” by (a) alkylating a benzindene triol, (b) hydrolyzing the

 product of step(a), and (c) “contacting the solution comprising treprostinil from step (b) with a

 base.” “[T]he test for sufficiency is whether the disclosure of the application relied upon

 reasonably conveys to those skilled in the art that the inventor had possession of the claimed

 subject matter as of the filing date.” Ariad, 598 F.3d at 1351. An adequate written description

 need not in every instance describe an actual reduction to practice but “must nonetheless ‘describe

 the claimed subject matter in terms that establish that [the applicant] was in possession of the . . .

 claimed invention, including all of the elements and limitations.’” Rochester, 358 F.3d at 926

 (quoting Hyatt, 146 F.3d at 1353). To the extent UTC argues that claim 1 permits isolation of

 treprostinil prior to contacting the treprostinil with a base to form a salt, claim 1 of the ’901 Patent

 lacks adequate written description support because a POSA would not recognize that the inventors

 possessed a “pharmaceutical product” according to claim 1 where the treprostinil was isolated

 before contact with a base to form a salt.



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   Pending the Court’s construction of “contacting the solution comprising treprostinil from
 step (b) with a base to form a salt of treprostinil,” Liquidia reserves the right to supplement
 Section III.D.1.c.
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        As an initial matter, Liquidia maintains that claim 1 of the ’901 Patent prohibits the

 isolation of treprostinil before contact with a base to form a salt. First, the plain and ordinary

 meaning of claim 1 excludes isolation of treprostinil prior to contacting the treprostinil with a base

 to form a salt. Because the “solution” resulting from the alkylation and hydrolysis steps (and, thus,

 containing the “impurities” resulting from each step) is contacted with a base to form a salt, the

 claims prohibit isolation of treprostinil before reacting with a base to form a salt. Second, as

 discussed in greater detail in Section II.D.2.b supra, the specification of the ’901 Patent confirms

 that claim 1 excludes isolation of treprostinil prior to contacting the treprostinil with a base to form

 a salt. Finally, UTC’s arguments made during the ’901 IPR confirm that the claims exclude

 isolation of treprostinil before contacting with a base to form a salt. UTC stated clearly that “claim

 1’s recited steps differ from Phares [2005] and Moriarty [2004] because they do not involve

 isolation of treprostinil intermediate.” Liquidia Technologies, Inc. v. United Therapeutics Corp.,

 IPR2020-00770, Paper 9 at 2 (P.T.A.B. Oct. 27, 2020); see also id. at 3 (“The claimed

 pharmaceutical batches are an improvement over Moriarty [2004] and Phares [2005] in part

 because they form a salt without prior isolation of the intermediate treprostinil.”). Considering the

 claims, specification, and arguments made by UTC in the ’901 IPR, claim 1 of the ’901 Patent

 prohibits the isolation of treprostinil before contact with a base to form a salt.

        However, to the extent UTC contends that claim 1 of the ’901 Patent permits isolation of

 treprostinil before contacting with a base to form a salt, claim 1 of the ’901 Patent lacks adequate

 written description support. As discussed in greater detail in Section II.D.2.b supra, all examples

 disclosed in the specification of the ’901 Patent disclose forming a salt of treprostinil by contacting

 treprostinil in solution with a base. The specification provides no evidence that the named

 inventors were in possession of a “pharmaceutical batch” within the meaning of claim 1, wherein



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 the treprostinil was isolated before contact with a base to form a salt.




        Without evidence or guidance as to how a POSA would produce a “pharmaceutical batch”

 within the meaning of claim 1, wherein the treprostinil is isolated before contact with a base to

 form a salt, claim 1 of the ’901 Patent and, therefore, all other Asserted Claims of the ’901 Patent

 lack adequate written description support.




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                        d.     To the Extent UTC Contends that Claim 1 Permits Column
                               Chromatography Between Alkylation and Salt Formation, the
                               Asserted Claims Lack Adequate Written Description

        To the extent UTC argues that claims 1 permits column chromatography between

 alkylation and salt formation, the claims lack adequate written description support as the

 specification does not disclose that such a process will result in the claimed “pharmaceutical

 batch.” “[T]he test for sufficiency is whether the disclosure of the application relied upon

 reasonably conveys to those skilled in the art that the inventor had possession of the claimed

 subject matter as of the filing date.” Ariad, 598 F.3d at 1351.

        The examples of the ’901 Patent only describe a process in which no column

 chromatography appears between alkylation and salt formation. The ʼ901 Patent states that “the

 purification by column chromatography is eliminated, thus the required amount of flammable

 solvents and waste generated are greatly reduced.” ’901 Patent at 6:9-11 (emphasis added).

 Example 1, “Alkylation of Benzindene Triol,” states: “[t]he crude benzindene nitrile was used as

 such in the next step without further purification.” Id. at 10:66-67 (emphasis added). Example 2,

 “Hydrolysis of Benzindene Nitrile,” states: “[t]he filtrate (pale-yellow) was reduced to volume of

 35-40 L by evaporation in vacuo at 50-55° C. for direct use in next step,” which is salt formation,

 as described in Example 3. Id. at 12:15-17 (emphasis added). No column chromatography was

 performed before salt formation. Finally, Example 6 provides a “Comparison of the Former

 Process and a Working Example of the Process According to the Present Invention.” Id. at 15:25-

 16:64 (emphasis added).      In the “Former Process,” “Purification” is performed by column

 chromatography, whereas the “Working example of the Process according to the present

 invention” includes “No column.” Id. at Example 6 (Step No. 12).




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           Emphasizing the advantages of the “present invention,” the specification concludes that

 “[t]he quality of treprostinil produced according to this invention is excellent. The purification of

 benzindene nitrile by column chromatography is eliminated.” Id. at 16:66-17:1 (emphasis

 added).

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        As such, as described in the specification of the ʼ901 Patent, in order to achieve the claimed

 “pharmaceutical batch,” the specification only discloses that result where column chromatography

 is not conducted between alkylation and salt formation. Considering the specification of the ʼ901

 Patent, a person of ordinary skill in the art would not conclude that the inventors were in possession

 of a process wherein column chromatography appeared between alkylation and salt formation

 resulting in the claimed “pharmaceutical batch.” As such, to the extent UTC contends that claim 1

 permits column chromatography between alkylation and salt formation, claim 1, which all other

 Asserted Claims of the ’901 Patent depend, lack adequate written description support.

                3.      Claims 1, 3, 4, and 6 Are Not Enabled

                        a.      “Therapeutically Effective Amount” Is Not Enabled

        Asserted Claims 3 and 4 of the ’901 Patent are directed to pharmaceutical products

 comprising a “therapeutically effective amount” of treprostinil or “salt treprostinil.” To satisfy the

 statutory requirement underlying § 112, the scope of the claims must be “commensurate” with

 teachings in the specification. Enzo Biochem, Inc. v. Calgene, Inc., 188 F.3d 1362, 1377 (Fed.

 Cir. 1999). “The scope of the claims must be less than or equal to the scope of the enablement.”

 Nat’l Recovery Techs., Inc. v. Magnetic Separation Sys., Inc., 166 F.3d 1190, 1196 (Fed. Cir.

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 1999). “To constitute an enabling disclosure, ‘the specification of a patent must teach those skilled

 in the art how to make and use the full scope of the invention without undue experimentation.’”

 Harris, 114 F.3d at 1155 (quoting Wright, 999 F.2d at 1561). Factors to be considered in

 determining whether a disclosure would require undue experimentation include: “(1) the quantity

 of experimentation necessary, (2) the amount of direction or guidance presented, (3) the presence

 or absence of working examples, (4) the nature of the invention, (5) the state of the prior art, (6)

 the relative skill of those in the art, (7) the predictability and unpredictability of the art, and (8) the

 breadth of the claims.” Wands, 858 F.2d at 737.

         Here, as discussed above in Section III.D.1.c, neither the claim language nor specification

 of the ’901 Patent limit “therapeutically effective amount” of Asserted Claims 3 or 4 to a specific

 indication (e.g., pulmonary hypertension) nor to a particular route of administration (e.g.,

 inhalation). Indeed, the claims are extremely broad as they do not recite a specific disease 22 to

 which a “therapeutically effective” amount of treprostinil or salt thereof would be applicable nor

 to a particular route of administration (e.g., inhalation). In fact, other than claims 3 and 4, the

 specification does not use the term “therapeutically effective,” and further does not include any

 disclosure concerning any doses that the claimed “pharmaceutical product” should contain. Merck

 & Co., 347 F.3d at 1371 (“[C]laims must be construed so as to be consistent with the specification,




 22
    The ’901 Patent provides only general descriptions of treprostinil’s potential uses in the
 treatment of various disorders and by different routes of administration. See ’901 Patent at 1:36–
 65 (describing generally treprostinil’s potential use in treatment of pulmonary hypertension,
 peripheral vascular disease, lung cancer, liver cancer, brain cancer, pancreatic cancer, kidney
 cancer, prostate cancer, breast cancer, colon cancer, head-neck cancer, kidney malfunction,
 neuropathic foot ulcers, pulmonary fibrosis, interstitial lung disease, and asthma). However, these
 extremely general characterizations of routes of administration and potential disorders treated by
 treprostinil fail to limit the scope of claims 3 and 4. Further, given the list of diseases and the
 breadth of the ʼ901 claims covering these diseases, the ʼ901 patent needs to provide written
 description support for a therapeutically effective amount of each disease.
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 of which they are part.”). Because the ’901 Patent fails to limit the scope of claims 3 or 4, the

 specification of the ’901 Patent must enable a skilled artisan to identify a “therapeutically effective

 amount” of treprostinil to treat any condition and by any route of administration without the need

 for undue experimentation as of December 17, 2007.

        For the reasons discussed below, applying the Wands factors, the specification of the ’901

 Patent fails to adequately enable a person of ordinary skill in the art to practice the full scope of

 the invention without undue experimentation.

        Wands Factor                    Application to Claims 3 and 4 of the ’901 Patent

                               Identifying a “therapeutically effective amount” of treprostinil with
                               respect to all conditions and by all routes of administration
  Quantity of
                               encompassed by claims 3 and 4, if it exists at all, would require an
  Experimentation
                               exorbitant amount of effort, entailing significant amounts of time-
  Necessary
                               consuming and expensive preclinical and clinical studies evaluating
                               different doses and different routes of administration.

                               Besides citing general references to treprostinil’s potential uses, the
                               ’901 Patent fails to provide any guidance or direction to a skilled
                               artisan in identifying a “therapeutically effective amount” for the
  Amount of Guidance or
                               treatment of all conditions and by all routes of administration
  Direction Presented
                               encompassed by the claims. See, e.g., ’901 Patent at 1:36–65. Thus,
                               the specification of the ʼ901 Patent provides little guidance to a
                               person of ordinary skill in the art.

                               The ’901 Patent specification is completely lacking in working
  Presence or Absence of
                               examples of “therapeutically effective amount[s]” of treprostinil
  Working Examples
                               used to treat any condition utilizing any route of administration.

                               To the extent UTC contends that identifying a therapeutically
  Nature of the Invention      effective amount of treprostinil or treprostinil salt would have been
                               nonobvious, the nature of the invention is one of great uncertainty.

                               Although treprostinil was known to treat certain conditions by
                               certain routes of administration by December 2007, the state of the
  State of the Prior Art       prior art was completely silent as to treprostinil’s use in treating
                               many conditions and routes of administration encompassed by the
                               claims.




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                             To the extent UTC contends that identifying a therapeutically
                             effective amount of treprostinil or treprostinil salt would have been
                             nonobvious, for many if not all conditions and routes of
  Relative Skill of Those in
                             administration encompassed by the claims, the relative skill in the
  the Art
                             art was high, requiring specialized medical training and years of
                             experience treating the condition as well as skilled artisans in
                             formulation development for various routes of administration.

                              To the extent UTC contends that identifying a therapeutically
                              effective amount of treprostinil or treprostinil salt would have been
  Predictability or
                              nonobvious, treatment of many conditions encompassed by the
  Unpredictability of the
                              claims (e.g., cancer) is considered unpredictable even today and,
  Art
                              certainly, would have been considered unpredictable in December
                              2007.

                              As described in greater detail above, the scope of Asserted Claims
                              3 and 4 is very broad, encompassing any amount of treprostinil or a
  Breadth of the Claims
                              salt thereof for the treatment of any condition and by any route of
                              administration.

        Applying all eight Wands factors, the specification of the ’901 Patent fails to enable a

 skilled artisan to identify a “therapeutically effective amount” for all conditions and routes of

 administration encompassed by the claims. Accordingly, claims 3 and 4 of the ’901 Patent are

 invalid as not enabled.

                       b.      “Storage”/“Storing” at “Ambient Temperature” Are Not
                               Enabled

        Asserted Claims 6 of the ’901 Patent is directed to a method of preparing the

 pharmaceutical product comprising treprostinil after “storing” a pharmaceutical batch treprostinil

 salt at “ambient temperature,” which the Court construed as “room temperature (equal to or less

 than the range of 15°C to 30°C).” D.I. 119 at 1.

        “To constitute an enabling disclosure, ‘the specification of a patent must teach those skilled

 in the art how to make and use the full scope of the invention without undue experimentation.’”

 Harris, 114 F.3d at 1155 (quoting Wright, 999 F.2d at 1561). Factors to be considered in

 determining whether a disclosure would require undue experimentation include: “(1) the quantity

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 of experimentation necessary, (2) the amount of direction or guidance presented, (3) the presence

 or absence of working examples, (4) the nature of the invention, (5) the state of the prior art, (6)

 the relative skill of those in the art, (7) the predictability and unpredictability of the art, and (8) the

 breadth of the claims.” Wands, 858 F.2d at 737. Accordingly, the specification of the ’901 Patent

 must enable a skilled artisan to prepare a treprostinil pharmaceutical product after “storage” of a

 pharmaceutical batch of treprostinil salt at the full range of 15 to 30° C without undue

 experimentation.

         As UTC noted in its Preliminary Response to Liquidia’s IPR Petition with respect to the

 ’901 Patent, “[p]rostaglandin derivatives,” like treprostinil, “in particular were known to be

 unstable upon storage due to inherent instability of the crystalline lattice of these compounds

 owning to their long, flexible sidearms, as well as the presence of multiple polymorphic crystals.”

 Liquidia Techs., IPR2020-00770, Paper 6 at 53. Further, UTC noted in its Preliminary Response

 that “[e]nvironmental factors are a significant factor (e.g., temperature, oxygen, atmosphere,

 humidity). This is especially true for compounds stored as salts.” Id. at 54. Further, Dr. Pinal

 opined in the ’901 IPR that “[i]ncreases in humidity enhance the thermodynamic activity of water

 in the environment, yielding potential hydrates, degrading crystal quality through hygroscopicity

 and even deliquescence (particularly for salts), and promoting chemical decomposition, leading to

 the production of additional contaminants and impurities.” Declaration of Rodolfo Pinal, Ph.D.

 Supporting United Therapeutic Corporation’s Patent Owner Response, Liquidia Techs., Inc. v.

 United Therapeutics Corp., IPR2020-00770, Ex. 2025 at ¶ 220 (P.T.A.B. Dec. 21, 2020).




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        Thus, to the extent UTC contends that prostaglandin derivatives like treprostinil exhibit

 “inherent instability” and that environmental factors, such as temperature, oxygen, atmosphere,

 and humidity, have a “significant” impact on the stability of salts, a person of ordinary skill in the

 art would have required extensive disclosure to practice claim 6 of the ’901 Patent.

        Applying the eight Wands factors in sequential order, and taking into account UTC’s

 nonobvious positions with respect to claim 6 of the ’901 Patent, the specification of the ’901 Patent

 would not enable a person of ordinary skill to “stor[e]” a pharmaceutical batch of treprostinil salt

 at the full range of 15 to 30° C and create the claimed pharmaceutical product.

       Wands Factor                        Application to Claim 6 of the ’901 Patent

                               To the extent UTC’s contention that prostaglandin derivatives
                               exhibit “inherent inability” and that humidity, oxygen, atmosphere,
                               and humidity are “especially” significant environmental factors is
                               correct, a person of skill in the art would have to engage in
                               significant amounts of experimentation to discern how to
                               effectively “stor[e]” the claimed treprostinil salts.          More
  Quantity of                  specifically, while the claim defines the temperature at which the
  Experimentation              salts can be stored (ambient temperature), a person of ordinary skill
  Necessary                    in the art would require extensive experimentation to determine the
                               other “significant” environmental factors suitable for storage,
                               including humidity, whether the treprostinil can be exposed to light,
                               or needs to be stored in an oxygen rich or depleted environment.
                               Moreover, each “significant” environmental factor would require
                               experimentation while maintaining constant the other
                               environmental factors.

                               As discussed above, the specification and claims of the ʼ901 Patent
                               provide guidance only as to the temperature at which the claimed
                               treprostinil salts are stored. The specification and claims are
  Amount of Guidance or
                               completely silent as to other “significant” environmental factors,
  Direction Presented
                               according to UTC, such as oxygen, atmosphere, and humidity.
                               Accordingly, besides temperature, the amount of guidance or
                               direction presented is non-existent.


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                              Besides providing only a vague description of “stor[ing]” “crude
                              treprostinil salts” at ambient temperature, which Liquidia does not
                              concede constitutes treprostinil salts within the meaning of claim 6,
                              the specification is completely lacking in working examples of
  Presence or Absence of
                              “storing” treprostinil salts under any conditions. And even if the
  Working Examples
                              “crude treprostinil salts” constitute treprostinil salts within the
                              meaning of claim 6, the specification’s brief mention of their
                              “stor[age]” provides no more detail than the claims and, thus, does
                              not constitute a working example.

                              According to UTC, polymorphs (i.e., salts) “had plagued the
                              pharmaceutical industry for over a decade prior to the ’901 Patent,
                              with high-profile failures including withdrawal of an approved drug
                              from the market.” Liquidia Techs., IPR2020-00770, Paper 6 at 52.
  Nature of the Invention     “These incidents underscore the difficulty of understanding the
                              polymorphic nature of pharmaceutical compounds.” Id. at 53.
                              Accordingly, to the extent UTC argues that claim 8 would have
                              been nonobvious, the nature of the invention was one of great
                              uncertainty.

                              According to UTC, the prior art was silent as to storage
                              considerations for treprostinil salts. See, e.g., Liquidia Techs.,
                              IPR2020-00770, Paper 6 at 51-55. To the extent UTC argues that
  State of the Prior Art      claim 8 would have been nonobvious, without guidance as to
                              “significant” environmental considerations with respect to the
                              storage of treprostinil salts, the state of the prior art was very
                              limited.

                             According to UTC, “the POSA 23 would have been an industrial
                             chemist or chemical engineer with experience in pharmaceutical
                             production, familiar with controlling for polymorphs and realizing
  Relative Skill of Those in
                             highly pure products at batch scales as the challenged claims
  the Art
                             require[d].” Liquidia Techs., IPR2020-00770, Paper 6 at 56. To
                             the extent UTC argues that claim 6 would have been nonobvious,
                             the relative skill of those in the art was high.

                              As mentioned above, UTC contends that polymorphs “had plagued
  Predictability or           the pharmaceutical industry for over a decade prior to the ’901
  Unpredictability of the     Patent, with high-profile failures including withdrawal of an
  Art                         approved drug from the market.” Liquidia Techs., IPR2020-00770,
                              Paper 6 at 52. “These incidents underscore the difficulty of
                              understanding the polymorphic nature of pharmaceutical



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    Liquidia does not, at this time, concede to UTC’s definition of a person of ordinary skill in the
 art.
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                               compounds.” Id. at 53. Accordingly, to the extent UTC argues that
                               claim 8 would have been nonobvious, the art was highly
                               unpredictable.

                               The breadth of claim 6 is broad because it simply limits “storage”
                               by temperature. Claim 6 of the ’901 Patent provides no further
  Breadth of the Claims
                               limitations as to other “significant” environmental factors,
                               according to UTC, such as oxygen, atmosphere, and humidity.

        Applying all eight Wands factors, in view of UTC’s nonobvious arguments, the ’901 Patent

 fails to enable a person of ordinary skill in the art to practice Asserted Claim 6. Accordingly, claim

 6 of the ’901 Patent is invalid as not enabled.

                        c.      To the Extent UTC Contends that Claim 1 Permits Column
                                Chromatography Between Alkylation and Salt Formation, the
                                Asserted Claims Are Not Enabled

        To the extent UTC argues that claim 1 permits column chromatography between alkylation

 and salt formation, the claims are not enabled as a person of ordinary skill in the art would have to

 engage in undue experimentation to achieve the claimed “pharmaceutical batch.”




       Wands Factor                        Application to Claim 1 of the ’901 Patent

                               As mentioned above in Section III.D.2.d supra, all of the examples
                               disclosed in the specification of the ʼ901 Patent lack a column
                               chromatography step between alkylation and salt formation. To the
  Quantity of
                               extent UTC contends that claim 1 permits column chromatography
  Experimentation
                               between alkylation and salt formation, without guidance or
  Necessary
                               direction in the ’901 Patent, a POSA would have to engage in a
                               significant amount of experimentation to achieve the claimed
                               “pharmaceutical batch.”


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                              As mentioned above in Section III.D.2.d supra, the specification
                              and claims of the ’901 Patent provide no guidance or direction as to
  Amount of Guidance or
                              how a POSA would perform column chromatography between
  Direction Presented
                              alkylation and salt formation and also achieve the claimed
                              “pharmaceutical batch.”

                              As mentioned above in Section III.D.2.d supra, the specification
  Presence or Absence of      and claims of the ’901 Patent provide no working examples of
  Working Examples            column chromatography between alkylation and salt formation
                              while also achieving the claimed “pharmaceutical batch.”

                              To the extent UTC contends that the pharmaceutical composition of
                              Phares 2005 did not constitute a “pharmaceutical batch,” the nature
                              of the invention—that is performing column chromatography
  Nature of the Invention
                              between alkylation and salt formation and achieving a
                              pharmaceutical composition with a lower amount of one or more
                              impurities than the starting batch—was one of great uncertainty.

                              To the extent that UTC contends that the pharmaceutical
                              composition of Phares 2005 did not inherently constitute a
  State of the Prior Art      “pharmaceutical batch,” the state of the prior art was silent as to
                              how a POSA would perform salt formation between alkylation and
                              salt formation and achieve a “pharmaceutical batch.”

                             According to UTC, “the POSA 24 would have been an industrial
                             chemist or chemical engineer with experience in pharmaceutical
                             production, familiar with controlling for polymorphs and realizing
  Relative Skill of Those in
                             highly pure products at batch scales as the challenged claims
  the Art
                             required.” Liquidia Techs., IPR2020-00770, Paper 6 at 56. To the
                             extent UTC argues that claim 1 would have been nonobvious, the
                             relative skill of those in the art was high.

                              To the extent UTC contends that the pharmaceutical composition of
                              Phares 2005 did not inherently constitute a “pharmaceutical batch,”
  Predictability or
                              the state of the art—that is, in performing column chromatography
  Unpredictability of the
                              between alkylation and salt formation and achieving a
  Art
                              pharmaceutical composition with a lower amount of one or more
                              impurities than the starting batch—was highly unpredictable.

  Breadth of the Claims       To the extent UTC contends that the claims permit column
                              chromatography between alkylation and salt formation, the claims




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    Liquidia does not, at this time, concede to UTC’s definition of a person of ordinary skill in the
 art.
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                               encompass a broad scope of processes that are unsupported by the
                               specification.

           Applying all eight Wands factors, to the extent UTC contends that the claims permit

 column chromatography between alkylation and salt formation, claim 1 of the ’901 Patent and,

 therefore, all other Asserted Claims of the ’066 Patent are invalid as not enabled.

                         d.     To the Extent UTC Contends that Claim 1 Permits “Isolation”
                                of Treprostinil Before Combining with a Base to Form a Salt,
                                the Asserted Claims Are Not Enabled

           Claim 1 of the ʼ901 Patent, which all other Asserted Claims of the ’901 Patent depend,

 requires “form[ing] a salt of treprostinil” by (a) alkylating a benzindene triol, (b) hydrolyzing the

 product of step(a), and (c) “contacting the solution comprising treprostinil from step (b) with a

 base.” To the extent UTC argues that claim 1 permits isolation of treprostinil before contacting

 the treprostinil with a base to form a salt, the claims are not enabled as a person of ordinary skill

 in the art would have to engage in undue experimentation to achieve the claimed “pharmaceutical

 batch.”

       Wands Factor                        Application to Claim 1 of the ’901 Patent

                               As mentioned above, all of the examples disclosed in the
                               specification of the ʼ901 Patent disclose forming a salt of
                               treprostinil by contacting treprostinil in solution with a base. To the
  Quantity of
                               extent UTC contends that claims 1 and 8 permit isolation of
  Experimentation
                               treprostinil before contacting with a base to form a salt, without
  Necessary
                               guidance or direction in the ’901 Patent, a POSA would have to
                               engage in a significant amount of experimentation to achieve the
                               claimed “pharmaceutical batch.”

                               As mentioned above, the specification and claims of the ’901 Patent
  Amount of Guidance or        provide no guidance or direction as to how a POSA would isolate
  Direction Presented          treprostinil before reacting it with a base and also achieve the
                               claimed “pharmaceutical batch.”

  Presence or Absence of       As mentioned above, the specification and claims of the ’901 Patent
  Working Examples             provide no working examples of isolating treprostinil before


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                              reacting it with a base and achieving the claimed “pharmaceutical
                              batch.”

                              According to UTC, “[t]he claimed pharmaceutical batches are an
                              improvement over Moriarty [2004] and Phares [2005] in part
                              because they form a salt without prior isolation of the intermediate
                              treprostinil.” Liquidia Techs., IPR2020-00770, Paper 9 at 3. To the
  Nature of the Invention     extent UTC contends that the claimed pharmaceutical batch differs
                              from the prior art Moriarty 2004 and Phares 2005 processes, the
                              nature of the invention—that is, isolating the treprostinil before
                              reacting with a base to form a salt and achieving the claimed
                              “pharmaceutical batch”——was one of great uncertainty.

                              To the extent that UTC contends that achieving the claimed
                              “pharmaceutical batch” and isolating treprostinil before reacting
                              with a base to form a salt was novel and nonobvious, the state of the
  State of the Prior Art
                              prior art was silent as to how a POSA would achieve the claimed
                              “pharmaceutical batch” and isolate treprostinil before reacting with
                              a base.

                             According to UTC, “the POSA 25 would have been an industrial
                             chemist or chemical engineer with experience in pharmaceutical
                             production, familiar with controlling for polymorphs and realizing
  Relative Skill of Those in
                             highly pure products at batch scales as the challenged claims
  the Art
                             require[d].” Liquidia Techs., IPR2020-00770, Paper 6 at 56. To
                             the extent UTC argues that claims 1 would have been nonobvious,
                             the relative skill of those in the art was high.

                              As mentioned above, according to UTC, “[t]he claimed
                              pharmaceutical batches are an improvement over Moriarty [2004]
                              and Phares [2005] in part because they form a salt without prior
                              isolation of the intermediate treprostinil.” Liquidia Techs.,
  Predictability or
                              IPR2020-00770, Paper 9 at 3. To the extent UTC contends that the
  Unpredictability of the
                              claimed pharmaceutical batch differs from the prior art Moriarty
  Art
                              2004 and Phares 2005 processes, the nature of the invention—that
                              is, isolating the treprostinil before reacting with a base to form a salt
                              and achieving the claimed “pharmaceutical batch”——was very
                              unpredictable.

                              To the extent UTC contends that the claims permit isolation of
  Breadth of the Claims       treprostinil before reacting it with a base, the claims encompass a
                              broad scope of processes that are unsupported by the specification.



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    Liquidia does not, at this time, concede to UTC’s definition of a person of ordinary skill in the
 art.
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        Thus, applying the Wands factors, the ’901 Patent fails to enable a POSA to achieve the

 claimed “pharmaceutical batch” after isolating treprostinil before reacting it with a base to form a

 salt. Thus, claim 1 of the ’901 Patent and, therefore, all other Asserted Claims of the ’901 Patent

 are invalid as not enabled.

                4.      Claims 1-4, 6, and 8 Are Indefinite

                        a.      Claim Reciting “Impurities” Is Indefinite

        Asserted Claim 1 of the ’901 Patent, which all Asserted Claims of the ’901 Patent depend,

 is directed to a pharmaceutical batch consisting of treprostinil or a treprostinil salt and “impurities”

 resulting from the claimed process. A patent is “invalid for indefiniteness if its claims, read in

 light of the specification delineating the patent, and the prosecution history, fail to inform, with

 reasonable certainty, those skilled in the art about the scope of the invention.” Nautilus, 572 U.S.

 at 901. “[A] patent must be precise enough to afford clear notice of what is claimed, thereby

 apprising the public of what is still open to them.” Id. at 909 (alterations omitted). Consequently,

 claim 1 of the ’901 Patent, read in light of the specification and prosecution history, must apprise

 a POSA with “reasonable certainty” what compounds and in what specific amounts constitute

 “impurities” within the meaning of claim 1.

        As an initial matter, claim 1 of the ’901 Patent, read in light of the specification and

 prosecution history, is indefinite because it fails to apprise a POSA with “reasonable certainty”

 whether the claimed “pharmaceutical batch” is required to include or exclude the claimed

 impurities. The plain language of the claim indicates that “pharmaceutical batch” includes the

 claimed impurities. See ’901 Patent, claim 1 (“A pharmaceutical batch consisting of treprostinil

 or a salt thereof and impurities . . . .”) (emphases added). However, the specification and

 prosecution history indicate that the “pharmaceutical batch” excludes the claimed impurities. For

 instance, the specification states that the “impurities carried over from intermediate steps (i.e.

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 alkylation of triol and hydrolysis of benzindene nitrile) are removed during the carbon treatment

 and the salt formation step.” Id. at 17:1-4. Additionally, during prosecution of the ’901 Patent,

 UTC argued that the claimed invention was nonobvious because it excluded impurities found in

 batches made by the prior art Moriarty 2004 process. See, e.g., Response to Non-Final Rejection

 (U.S. Application No. 14/754,932) (Aug. 11, 2016) at 5-6. Without even “reasonable certainty”

 as to whether the claimed “pharmaceutical product” includes or excludes the claimed impurities,

 a POSA would not be afforded “clear notice of what is claimed, thereby apprising the public of

 what is still open to them.” Nautilus, 572 U.S. at 909 (alterations omitted).

         Additionally, neither the specification, claims, nor prosecution history of the ’901 Patent

 apprise a POSA with “reasonable certainty” as to what constitutes an “impurit[y]” within the

 meaning of claim 1. Claim 1 of the ’901 Patent states only that the “impurities” must “result[]

 from (a) alkylating a benzindene triol, (b) hydrolyzing the product of step (a) to form a solution

 comprising treprostinil, (c) containing the solution comprising treprostinil from step (b) with a

 base to form a salt of treprostinil, (d) isolating the salt of treprostinil, and (e) optionally reacting

 the salt of treprostinil with an acid to form treprostinil.” The specification provides no further

 guidance. During prosecution of the ’901 Patent, UTC submitted two expert declarations that were

 submitted by UTC during the ’393 Patent IPR. Those expert declarations identify eight impurities

 contained in the Moriarty 2004 (Former Process) batches:

                                         See, e.g., Declaration of Dr. Robert M. Williams, SteadyMed

 Ltd. v. United Therapeutics Corp., IPR2016-00006, Exhibit 2020 at ¶ 94 (P.T.A.B. July 6, 2016)

 (“Williams Declaration”). Neither declaration, however, identifies the chemical compounds that

 are labeled                                                               Further, neither declaration

                                                                                          As the Patent



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 Trial & Appeal Board noted in its Final Written Decision invalidating the ’393 Patent, the “claims

 contain no limitations relating to the impurity profile of the recited product, ‘and it is the claims

 ultimately that define the invention.’” SteadyMed Ltd., IPR2016-00006, Paper No. 82 at 18

 (P.T.A.B. Mar. 31, 2017) (quoting Purdue, 438 F.3d at 1136). Without further guidance as to what

 constitutes an “impurit[y]” within the meaning of claim 1, a skilled artisan would not be apprised

 with “reasonable certainty” as to what impurities are needed to meet the claim limitation.

        Similarly, neither the specification, claims, nor prosecution history of the ’901 Patent

 apprise a POSA with “reasonable certainty” as to what level of “impurities” is needed to meet the

 claim limitation. Moriarty 2004 specifies that the treprostinil made according to Moriarty 2004

 was 99.7% pure. See Moriarty 2004 at 1902. While UTC contends in the specification of the ʼ901

 Patent that the “Former Process” (i.e., Moriarty 2004) has a purity of approximately              as

 compared to a purity of         for the process of the claimed invention (see ’901 Patent col. 16,

 step 53), the calculations of UTC’s own expert submitted during prosecution acknowledge that the

 “Former Process” yields a purity of           . See SteadyMed, IPR2016-00006, Paper 82 at 35.

 UTC’s expert Dr. Williams reviewed         commercial batches of treprostinil in accordance with

 Moriarty 2004 and found that the average purity of the batches was               , which the PTAB

 acknowledged was an accurate value and the same as reported in Moriarty 2004. Id. Further, as

 acknowledged by the PTAB in the ’393 IPR, Dr. Williams also reviewed            commercial batches

 of treprostinil made according to the process disclosed in the ’393 (and thus the ’901) Patent, and

 several Moriarty 2004 commercial batches were more pure than the batches made according to the

 disclosed process. Id. at 38-39. Thus, a POSA would not have any reasonable certainty what level

 of impurity should be “included” in the product. As such, a person of ordinary skill in the art

 would not know, with reasonable certainty, what level of purity will be required to meet the



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 limitations of claim 1. Butamax, 117 F. Supp. 3d at 642. Thus, claim 1 of the ’901 Patent and,

 therefore, all other Asserted Claims of the ’901 Patent are invalid as indefinite.

                        b.      Claim Reciting “Storage” and “Storing” Is Indefinite

        Asserted Claim 6 of the ’901 Patent is directed to a method of preparing the pharmaceutical

 product from a pharmaceutical batch of claim 1 comprising “storing” a pharmaceutical batch at

 ambient temperature and preparing a pharmaceutical product from the pharmaceutical batch after

 “storage.” A patent is “invalid for indefiniteness if its claims, read in light of the specification

 delineating the patent, and the prosecution history, fail to inform, with reasonable certainty, those

 skilled in the art about the scope of the invention.” Nautilus, 572 U.S. at 901. “[A] patent must

 be precise enough to afford clear notice of what is claimed, thereby apprising the public of what

 is still open to them.” Id. at 909 (alterations omitted). Accordingly, claim 6 of the ’901 Patent,

 read in light of the specification and prosecution history, must apprise a POSA with “reasonable

 certainty” as to what constitutes “storage” or “storing” a pharmaceutical batch of treprostinil salt.

        As mentioned above, UTC noted in its Preliminary Response to Liquidia’s IPR Petition

 with respect to the ’901 Patent that “[p]rostaglandin derivatives,” like treprostinil, “in particular

 were known to be unstable upon storage due to inherent instability of the crystalline lattice of these

 compounds owning to their long, flexible sidearms, as well as the presence of multiple

 polymorphic crystals.” Liquidia Techs., IPR2020-00770, Paper 6 at 53. Further, UTC noted in its

 Preliminary Response that “[e]nvironmental factors are a significant factor (e.g., temperature,

 oxygen, atmosphere, humidity). This is especially true for compounds stored as salts.” Id. at 54.

 Without guidance as to “significant” environmental factors needed to “store” the pharmaceutical

 batch of treprostinil salt, a person of ordinary skill in the art “would not be apprised with reasonable

 certainty about the scope of the invention.” Butamax, 117 F. Supp. 3d at 642.

        Thus, Asserted Claim 6 of the ’901 Patent is invalid as indefinite.
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                        c.      Claims Reciting “Therapeutically Effective Amount” Are
                                Indefinite

        Asserted Claims 3 and 4 of the ’901 Patent are directed to pharmaceutical products

 comprising a “therapeutically effective amount” of treprostinil or “salt treprostinil.” “[T]he

 language of the claims must make it clear what subject matter they encompass.” PPG Indus., Inc.

 v. Guardian Indus. Corp., 75 F.3d 1558, 1562 (Fed. Cir. 1996). “The requirement that the claims

 ‘particularly point[] out and distinctly claim[]’ the invention is met when a person experienced in

 the field of the invention would understand the scope of the subject matter that is patented when

 the claim is read in conjunction with the rest of the specification.” S3 Inc. v. NVIDIA Corp., 259

 F.3d 1364, 1367 (Fed. Cir. 2001) (quoting Miles Labs., Inc. v. Shandon Inc., 997 F.2d 870, 875

 (Fed. Cir. 1993)). To meet the definiteness requirement, claims 3 and 4 of the ’901 Patent, read in

 light of the specification and prosecution history, must inform with “reasonable certainty” those

 skilled in the art about the scope of the invention. See Nautilus, 572 U.S. at 901.

        Here, however, neither the specification nor prosecution history define or use the term

 “therapeutically effective amount,” which was contained in the original claims of the application.

 More specifically, neither the claims, specification, nor prosecution history indicate which

 condition the “therapeutically effective amount” of treprostinil is intended to treat, which route the

 amount is to be administered, or the level of treatment (e.g., amelioration of symptoms) the amount

 is intended to achieve. Without even guidance as to which indication or route of administration

 the “therapeutically effective amount” is intended, claims 3 and 4 of the ’901 Patent, read in light

 of the specification and prosecution history, would not apprise a POSA with “reasonable certainty”

 as to the scope of the invention. Nautilus, 572 U.S. at 901.

        Thus, Asserted Claims 3 and 4 of the ’901 Patent are invalid as indefinite.


 IV.    THE ’066 AND ’901 PATENTS ARE INVALID FOR CLAIMING AN OLD
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        PRODUCT

        The Asserted Claims of the ’066 and ’901 Patents are invalid as they are not directed to a

 novel and nonobvious product. More specifically, claim 1, and dependent claims 2-7 and 9 of the

 ʼ066 patent, and claim 1 and dependent claims 2-5 of the ʼ901 patent are




                                                                 The ’393 Patent is the grandparent

 application of both the ’066 and ’901 Patents. 26




                                                          Id. The claims of both are substantially

 similar if not nearly identical to those of the ’393 Patent as shown below.

      USP 8,497,393 Claim 1           USP 9,593,066 Claim 1            USP 9,604,901 Claim 1

  A product comprising a           A pharmaceutical                 A pharmaceutical batch
  compound of formula I            composition comprising           consisting of treprostinil or a
                                   treprostinil or a                salt thereof
                                   pharmaceutically acceptable
                                   salt thereof,

  or a pharmaceutically
  acceptable salt thereof,



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   The ’393 Patent resulted from U.S. Application No. 13/548,446 (“the ’446 Application”). The
 ’066 Patent resulted from a divisional application of U.S. Application No. 13/933,623, which is a
 continuation application of the ’446 Application. The ’901 Patent resulted from a continuation
 application of U.S. Application No. 13/933,623, which is a continuation application of the ’446
 Application.
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  wherein said product is            said composition prepared by        and impurities resulting from
  prepared by a process              a process comprising
  comprising                         providing a starting batch of
                                     treprostinil having one or
                                     more impurities resulting
                                     from

  (a) alkylating a compound of       prior alkylation and                (a) alkylating a benzindene
  [a genus including                                                     triol,
  benzindene triol] with an
  alkylating agent to produce a
  compound [from a genus
  comprising treprostinil],

  (b) hydrolyzing the product []     hydrolysis steps,                   (b) hydrolyzing the product
  of step (a) with a base                                                of step (a) to form a solution
                                                                         comprising treprostinil,

  (c) contacting the product of      forming a salt of treprostinil      (c) containing the solution
  step (h) with a base B to form     by combining the starting           comprising treprostinil from
  a salt of formula Is.              batch and a base,                   step (b) with a base to form a
                                                                         salt of treprostinil,




                                     isolating the treprostinil salt,    (d) isolating the salt of
                                                                         treprostinil, and

                                     and preparing a
                                     pharmaceutical composition
                                     comprising treprostinil or a
                                     pharmaceutically acceptable
                                     salt thereof from the isolated
                                     treprostinil salt,

  (d) optionally reacting the salt                                       (e) optionally reacting the salt
  formed in step (c) with an                                             of treprostinil with an acid to
  acid to form the compound of                                           form treprostinil, and
  formula I.

                                     whereby a level of one or
                                     more impurities found in the
                                     starting batch of treprostinil is
                                     lower in the pharmaceutical
                                     composition, and wherein

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                                   said alkylation is alkylation
                                   of benzindene triol.

                                                                     wherein the pharmaceutical
                                                                     batch contains at least 2.9 g
                                                                     of treprostinil or its salt.

        Although the ʼ393 Patent claims a “product,” the ʼ066 Patent claims a “pharmaceutical

 composition,” and the ʼ901 Patent claims a “pharmaceutical batch,” all three patents confirm that

 the “product,” “pharmaceutical composition,” and “pharmaceutical batch” can comprise only

 treprostinil or a salt of treprostinil. That is, the claims of the ʼ066 and ʼ901 Patents can comprise

 the same “product” as claimed in the ʼ393 patent. The prosecution histories of all three patents

 confirm that they claim the same treprostinil product made by UTC’s “new” process. During

 prosecution of the ’393 Patent, UTC overcame the Examiner’s anticipation rejection by submitting

 a declaration of its Executive Vice President of Chemical Research and Development purportedly

 establishing that “[t]he product of Moriarty 2004 is physically different from the product of claims

 1 and 10, in which a base addition salt is formed in situ with treprostinil that has not been

 previously isolated.” Response to Non-Final Office Action (U.S. Application No. 13/548,446)

 (Feb. 8, 2013) at 9 (first emphasis added); see also Declaration of Dr. David Walsh (U.S.

 Application No. 13/548,446) (June 5, 2013). In its Patent Owner Preliminary Response during the

 ’393 Patent IPR, UTC submitted two expert declarations that also purportedly established that the

 product of the pending claims differed from the product of Moriarty 2004. See Declaration of Dr.

 Robert M. Williams, SteadyMed Ltd., IPR2016-00006, Exhibit 2020; Declaration of Dr. Robert R.

 Ruffolo, SteadyMed Ltd., IPR2016-00006, Exhibit 2022.




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        Before the PTAB issued its Final Written Decision invalidating the ’393 Patent, UTC relied

 on those same expert declarations during prosecution of the ’066 and ’901 Patents to similarly

 argue that the claimed products differed from those of Moriarty 2004. See Response to Non-Final

 Office Action (U.S. Application No. 14/849,981) (Aug. 24, 2016); Response to Non-Final Office

 Action (U.S. Application No. 14/754,932) (Aug. 11, 2016). The Examiner of the ’066 and ’901

 Patents only withdrew the obviousness and anticipation rejections after receiving the expert

 declarations submitted by UTC during the ’393 Patent IPR proceeding. See Final Rejection (U.S.

 Application No. 14/849,981) (Nov. 30, 2016) (withdrawing obviousness and anticipation

 rejections but maintaining obviousness-type double patenting rejection); Final Rejection (U.S.

 Application No. 14/754,932) (Oct. 19, 2016) (same). In withdrawing the obviousness rejection of

 the ’066 Patent, moreover, the Examiner expressly relied on the expert declarations as evidence

 that the claimed product differed from Moriarty 2004. See Final Rejection (U.S. Application No.

 14/849,981) (Nov. 30, 2016) at 2 (“[T]he declarations [submitted by UTC during the ’393 Patent

 IPR proceeding] describe the product of Moriarty to have a different impurity profile from the

 product [of] the instant claims where [the] salt formation step is present.”).

        By relying on evidence submitted during the ’393 Patent IPR proceeding to purportedly

 establish that the claimed inventions of the ’066 and ’901 Patents differed from the product

 described in Moriarty 2004, UTC confirmed that the ’066 and ’901 Patents claim the same

 treprostinil product claimed in the ’393 Patent. The PTAB invalidated the claims of the ʼ393

 patent, and the Federal Circuit affirmed. See SteadyMed Ltd., IPR2016-00006, Paper No. 82 at

 84; United Therapeutics Corp. v. SteadyMed Ltd., 702 Fed. App’x. 990 (Fed. Cir. 2017) (affirming



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 invalidation of ’393 Patent).      Because the product of the ʼ393 Patent is not valid, the

 “pharmaceutical composition” and “pharmaceutical batch” of the ʼ066 and ʼ901 Patents,

 respectively, are not directed to novel and nonobvious products and thus are invalid product by

 process claims. “If the product in a product-by-process claim is the same as or obvious from a

 product of the prior art, the claim is unpatentable even though the prior product was made by a

 different process.” Thorpe, 777 F.2d at 697; see also Amgen., 580 F.3d at 1366 (“It has long been

 the case that an old product is not patentable even if it is made by a new process.”). Because the

 ’066 and ’901 Patents claim the same treprostinil product claimed by the ’393 Patent, which was

 invalidated by the PTAB in its Final Written Decision and affirmed by the Federal Circuit, the

 claims of the ’066 and ’901 Patents are invalid as being directed to the same product as the ʼ393

 Patent.

           Further, documentary evidence demonstrates that the




            More specifically, UTC disclosed specifications of

                                                                                           ,



                                                           .     See UTC_OREN_0084429-309 at

 UTC_OREN_00844304. In comparison, and within the same document, UTC



                                                                                  .    See id. at

 UTC_OREN_00844302-303. The




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                                                           . Moreover,



             . Id.




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         As such,



                           As such, the product-by-process claims of the ʼ066 and ʼ901 patents are

 invalid as they claim an old product.

 V.     U.S. PATENT NO. 10,716,793

        The ’793 Patent issued July 21, 2020 from application No. 16/778,662, filed January 31,

 2020. See ’793 Patent at 1. Application No. 16/778,662 is a continuation of 16/536,954, filed on

 August 9, 2019, which is a continuation of Application No. 15/011,999, filed on February 1, 2016,

 now Patent No. 10,376,525, which is a division of Application No. 13/469,854, filed on May 11,

 2012, now Patent No. 9,339,507, which is a division of Application No. 12/591,200, filed on

 November 12, 2009, now Patent No. 9,358,240, which is a continuation of Application No.

 11/748,205, filed on May 14, 2007, now abandoned. Id.

        The ’793 Patent is directed to methods of treating pulmonary hypertension where

 treprostinil is delivered by inhalation. ’793 Patent, Abstract, claims 1-8. UT’s Preliminary

 Infringement Contentions served on October 16, 2020 assert claims 1, 4, and 6-8 (collectively,

 “the Asserted Claims”) of the ’793 Patent.

        Asserted Claim 1, the only independent claim, recites the following:

          1[a] A method of treating pulmonary hypertension comprising administering

          by inhalation to a human suffering from pulmonary hypertension a

          therapeutically effective single event dose of a formulation comprising

          treprostinil or a pharmaceutically acceptable salt thereof

          1[b] with an inhalation device,



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            1[c] wherein the therapeutically effective single event dose comprises from 15

            micrograms to 90 micrograms of treprostinil or a pharmaceutically acceptable

            salt thereof

            1[d] delivered in 1 to 3 breaths.

 Id. at claim 1.

           The seven dependent claims are directed to various inhalation devices and formulation

 properties. Id. at claims 2-8. Asserted dependent claims 4 and 6-8 are directed to methods where

 the inhalation device is a dry powder inhaler (DPI) (claim 4), the formulation is a powder (claim

 6), the powder comprises particles less than 5 micrometers in diameter (claim 7), and the

 formulation contains no metacresol (claim 8). Id. at claims 4, 6-8.

           Notably, the specification of the ’793 Patent contains only a single mention of a dry powder

 inhaler and dry powder formulations. Id. at 7:22-26 (“The inhalation device can be also a dry

 powder inhaler. In such case, the respiratory drug is inhaled in solid formulation, usually in the

 form of a powder with particle size less than 10 micrometers in diameter or less than 5 micrometers

 in diameter.”).

           These Supplemental Invalidity Contentions establish that claims 1, 4, and 6-8 of the ’793

 Patent are unpatentable as either anticipated under 35 U.S.C. § 102 or obvious under 35 U.S.C.

 § 103 based on:

              •    the ’212 Patent 27 alone;




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      U.S. Patent No. 6,521,212.
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             •   the ’212 Patent in combination with Voswinckel JAHA 28;

             •   the ’212 Patent in combination with Voswinckel 2006 29;

             •   Voswinckel 2006 alone;

             •   Voswinckel 2006 in combination with the ’212 Patent;

             •   Voswinckel JAHA alone; and/or

             •   Voswinckel JAHA in combination with the ’212 Patent.

        Moreover, these Supplemental Invalidity Contentions show that the Asserted Claims of the

 ’793 Patent are also invalid under 35 U.S.C. § 112.

        A.       Claims 1, 4, and 6-8 Are Invalid Under 35 U.S.C. §§ 102 and 103

                 1.     Scope and Content of the Prior Art

                        a.      ’212 Patent

        The ’212 Patent issued on February 18, 2003, and therefore is prior art to the ’793 Patent

 under at least 35 U.S.C. §§ 102(a), (b), and (e).

        The ’212 Patent discloses methods of delivering a therapeutically effective amount of

 benzindene 30 prostaglandin (including treprostinil, referred to as “UT-15”) by inhalation to treat

 pulmonary hypertension. ’212 Patent, Abstract, 2:16-18, 2:66-3:5, 4:10-13, 4:41-54, 7:18-24. A

 POSA in May 2006 would have known that “UT-15” is synonymous with treprostinil sodium, and




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    Robert Voswinckel, Beate Enke, Andre Kreckel, Frank Reichenberger, Stefanie Krick, Henning
 Gall, Tobias Gessier, Thomas Schmehl, Markus G. Kohstall, Friedrich Grimminger, Hossein A.
 Ghofrani, Werner Seeger, and Horst Olschewski, Abstract 1414: “Inhaled Treprostinil Sodium
 (TRE) For the Treatment of Pulmonary Hypertension,” Journal of the American Heart Association
 110:17 (October 26, 2004).
 29
    Robert Voswinckel, Hossein A. Ghofrani, Friedrich Grimminger, and Werner Seeger, “Clinical
 Observations” on “Inhaled Treprostinil for Treatment of Chronic Pulmonary Arterial
 Hypertension,” “Letters” Section of the Annals of Internal Medicine 144:2 (January 2006).
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    This appears to be a typographical error in the ’212 patent, as well as the ’901 and ’066 Patents;
 “benzindene” should be “benzidine.”
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 that treprostinil is an analog of benzindene prostaglandin. 31 The ’212 Patent further discloses that

 an inhaler may be used to deliver the benzindene prostaglandin, and that powder formulations may

 be used. Id. at 5:30-32, 5:37-41 (“Alternatively, solid formulations, usually in the form of a

 powder, may be inhaled in accordance with the present invention. In such case, the particles are

 preferably less than 10 micrometers in diameter, and more preferably, less than 5 micrometers in

 diameter.”).

        The ’212 Patent states that “[i]n the case of treating peripheral vascular disease by

 inhalation of a benzindene prostaglandin of the present invention, the dosage for inhalation, taking

 into account that some of the active ingredient is breathed out and not taken into the bloodstream,

 should be sufficient to deliver an amount that is equivalent to a daily infusion dose in the range of

 25 µg to 250 mg; typically from 0.5 µg to 2.5 mg, preferably from 7 µg to 285 µg, per day per

 kilogram bodyweight.” ’212 Patent, 5:54-62; see also id. at Figs. 16, 18. The ’212 Patent further

 states that aerosolized (i.e., inhaled) UT-15 “has a greater potency as compared to intravascularly

 administered UT-15, since the actual amount of UT-15 delivered via aerosolization delivery is

 only a fraction (10-50%) of the dosage delivered intravascularly.” Id. at 8:9-18. The ’212 Patent




 31
    See, e.g., https://www.medchemexpress.com/Treprostinil-
 sodium.html#:~:text=Treprostinil%20sodium%20(Synonyms%3A%20UT%2D15)&text=Trepro
 stinil%20sodium%20is%20a%20potent,6.2%C2%B11.2%20nM%2C%20respectively.&text=*%
 20Please%20select%20Quantity%20before%20adding%20items (“Treprostinil sodium
 (Synonyms: UT-15 sodium)”); Chattaraj, S.C., “Treprostinil sodium Pharmacia,” CURR. OPIN.
 INVESTIG. DRUGS, 3(4):582-6 (Apr. 2002), available at
 https://pubmed.ncbi.nlm.nih.gov/12090728/ (“United Therapeutics Corp (UTC) is developing
 treprostinil sodium (Remodulin, UT-15), a stable structural analog of prostacyclin [prostaglandin
 I2 or PGI2], for the potential treatment of primary pulmonary (arterial) hypertension (PAH),
 peripheral vascular disease (PVD) and other cardiovascular conditions. . .”); see also U.S. Patent
 No. 9,358,240 (“the ’240 Patent”) at 5:41-44 (“U.S. Pat Nos. 6,521,212 and 6,756,033 describe
 administration of treprostinil by inhalation for treatment of pulmonary hypertension, peripheral
 vascular disease and other diseases and conditions.”).
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 also discloses delivering dosages of 262.5 micrograms of nebulized UT-15 (id. at 9:4-9) and

 dosages of 250, 500, and 1000 micrograms per kg of body weight per minute of aerosolized UT-

 15 (id. at 11:7-13).

        Additionally, the ’212 Patent explains that “[t]he precise amount that is considered

 effective for a particular therapeutic purpose will, of course, depend upon the specific

 circumstances of the patient being treated and the magnitude of effect desired by the patient's

 doctor.” Id. at 6:56-7:3; see also id. at 7:25-33. The ’212 Patent further teaches that the disclosed

 benzindene prostaglandin, UT-15, can be “given in high doses without significant non-lung

 effects.” Id. at 10:51-57 (“These data are important in that this would indicate that, unlike

 intravenously infused UT-15, aerosolized UT-15 can be given in high doses without significant

 non-lung effects, i.e., heart rate, cardiac output. The aerosol delivery of UT-15 for these

 experiments is approximately 15-27 times that of the effective minimal tested dose of 250 ng per

 kg per min shown in FIG. 16.”).

                        b.      ’033 Patent

        U.S. Patent No. 6,756,033 (“the ’033 Patent”) issued on June 29, 2004, and therefore is

 prior art to the ’793 Patent under 35 U.S.C. §§ 102(a), (b), and (e). The ’033 Patent is a

 continuation of and shares its specification with the ’212 Patent. Accordingly, the ’033 Patent

 contains the same disclosures as the ’212 Patent, described above.

                        c.      Voswinckel JAHA

        Abstract 1414 entitled “Inhaled Treprostinil Sodium (TRE) For the Treatment of

 Pulmonary Hypertension” authored by Robert Voswinckel, Beate Enke, Andre Kreckel, Frank

 Reichenberger, Stefanie Krick, Henning Gall, Tobias Gessier, Thomas Schmehl, Markus G.

 Kohstall, Friedrich Grimminger, Hossein A. Ghofrani, Werner Seeger, and Horst Olschewski was

 published in the Journal of the American Heart Association on October 26, 2004 (“Voswinckel

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 JAHA”), and is therefore prior art to the ’793 Patent under at least 35 U.S.C. §§ 102(a) and 102(b).

 Voswinckel JAHA describes a study in which 17 patients with “severe pulmonary hypertension”

 received a treprostinil inhalation by use of the “pulsed OptiNeb® ultrasound nebulizer” at a dosage

 of “3 single breaths” of “600 µg/ml)” of treprostinil solution. The study found that treprostinil

 “inhalation resulted in a sustained, highly pulmonary selective vasodilation over 120 minutes,”

 showing “strong pulmonary selective vasodilatory efficacy with a long duration of effect following

 single acute dosing.”       Voswinckel JAHA at 1414.        Voswinckel JAHA also teaches that

 “[t]olerability [of treprostinil] is excellent even at high concentrations and short inhalation times

 (3 breaths).” Id.

                        d.      Voswinckel JESC

        Abstract 218 entitled “Inhaled treprostinil is a potent pulmonary vasodilator in severe

 pulmonary hypertension” authored by Robert Voswinckel, Marcus G. Kohstall, Beate Enke,

 Tobias Gessler, Frank Reichenberger, Hossein A. Ghofrani, Werner Seeger, and Horst Olschewski

 was published in the Journal of the European Society of Cardiology on October 15, 2004

 (“Voswinckel JESC”), and is therefore prior art to the ’793 Patent under 35 U.S.C. §§ 102(a) and

 102(b). Voswinckel JESC describes a study investigating “the acute hemodynamic response to

 inhaled treprostinil.” Voswinckel JESC at Background. The study enrolled 29 patients: 8 received

 placebo and 21 were administered 16, 32, 48, and 64 µg/mL treprostinil solutions for 6 minutes

 via the OptiNeb ultrasound nebulizer, then produced by the company Nebu-tec in Germany. Id.

 at Methods. Of the 29 patients, 10 had “idiopathic PAH”. Id. at Results. The results showed that

 “[t]reprostinil inhalation results in a significant long-lasting pulmonary vasodilatation” and that,

 at 16 µg/mL, “near maximal pulmonary vasodilatation is achieved without adverse effects.” Id. at

 Conclusion.

                        e.      Voswinckel 2006
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        In the January 2006 edition of the “Letters” section of the Annals of Internal Medicine,

 Drs. Robert Voswinckel, Hossein A. Ghofrani, Friedrich Grimminger, and Werner Seeger

 published an article under “Clinical Observations” on “Inhaled Treprostinil for Treatment of

 Chronic Pulmonary Arterial Hypertension” (“Voswinckel 2006”). The article is prior art under at

 least 35 U.S.C. § 102(a). The article discloses a patient trial run to “characterize the effects of

 inhaled treprostinil with special regard to safety, tolerability, and efficacy in patients with severe

 pulmonary arterial hypertension.” Voswinckel 2006 at 149-50. Three patients with “severe

 pulmonary hypertension” were given a “single 15-µg dose of treprostinil, inhaled in 3 breaths

 through a modified OptiNeb ultrasonic inhalation device.” Id. at 150. One patient had a “favorable

 vasodilator response” and the other two patients were given “long-term inhaled treprostinil therapy

 . . . consisting of 4 daily 15-µg doses” over 3 months, resulting in “dramatic[]” functional

 improvement without side effect. Id. The authors concluded that treprostinil was “clinically

 effective, safe, and well tolerated when 15 µg was inhaled in 3 breaths 4 times daily.” Id.

                        f.      Chaudry 2004

        U.S. Patent Appl. Pub. No. 2004/0265238 to Imtiaz Chaudry (“Chaudry 2004”) issued on

 December 30, 2004, and therefore is prior art to the ’793 Patent under 35 U.S.C. §§ 102(a), (b),

 and (e). Chaudry 2004 is directed to “inhalable formulation[s] for the treatment of pulmonary

 hypertension” where the formulation comprises a “hypertension-reducing agent” including a

 “vasodilator,” such as “the prostacyclin analog treprostinil sodium.” Chaudry 2004, Abstract,

 [0010], [0012], [0017], [0026], [0097], Claim 44.           Chaudry 2004 further discloses that

 “[c]ontinuous intravenous prostacyclin is far from ideal as a treatment for pulmonary hypertension,

 however, because the agent is available only in limited supply, it is very costly, and optimal

 management requires that the intravenous therapy with prostacyclin be started in specialized

 centers familiar with the technique, equipment, and dose ranging. . . . Further, because the agent
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 is delivered systemically with only a small percentage of the agent actually absorbed by the

 pulmonary system, it must be administered in high dosages.” Id. at [0011]. Chaudry 2004

 discloses that “therapeutically effective amount[s] of a hypertension-reducing agent” may include

 various ranges, such as from “about 0.001 mg/ml to about 20 mg/ml[,]” “about 0.008 mg/ml to

 about 15.0 mg/ml[,]” “about 0.001 mg/ml to about 0.50 mg/ml[,]” “about 0.001 mg/ml to about

 1.0 mg/ml[,]” “about 0.005 mg/ml to about 1.0 mg/ml[,]” and “about 0.01 mg/ml to about 1.0

 mg/ml.” Id. at [0037]-[0038]. Chaudry provides extensive disclosure regarding the use of

 nebulizing devices for inhalation. Id. at [0061-0066]. Chaudry 2004 also discloses that inhalation

 of the formulation “may take about . . . 3 minutes.” Id. at [0067].

                        g.      Ghofrani 2005

        “New therapies in the treatment of pulmonary hypertension” by Ghofrani, et al., URBAN &

 VOGEL, No. 4, pp. 296-302 (2005) (“Ghofrani 2005”) is prior art to the ’793 Patent at least under

 35 U.S.C. § 102(a). Ghofrani 2005 describes the use of inhaled treprostinil to treat pulmonary

 hypertension. Ghofrani 2005 at pp. 297-98. Ghofrani states the following:

        Initial trials in Giessen have shown proof of efficacy of inhaled treprostinil for the
        effective reduction of the pulmonary vascular resistance (PVR) [6]. In this first
        study, 17 patients with severe pre-capillary pulmonary hypertension were
        administered inhaled treprostinil (15 mcg/inhalation). This led to a major reduction
        in pulmonary selective pressure and resistance with an overall duration of action of
        > 180 min. In direct comparison with inhaled iloprost, inhaled treprostinil showed
        a stronger pulmonary selectivity, so that it is possible to increase the dosage to up
        to 90 mcg (absolute inhaled dose per inhalation exercise) without adverse effects
        occurring [6]. Due to these unique properties (pronounced pulmonary selectivity
        and long duration of action after an individual inhalation), it is possible to reduce
        the number inhalations necessary to up to four per day; the inhalation period can be
        reduced to < 1 min. by selecting a suitable device. Additionally, the initial data
        shows that it is technically feasible for there to be only one to two breaths in an
        application.

 Id. at 298 (emphases added).

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                        h.     Bender 1997

         “Nonadherence in asthmatic patient: is there a solution to the problem?” by Bender, et al.,

 ANN. ALLERGY ASTHMA IMMUNOL., 79:177-86 (1997) (“Bender 1997”) was published in

 September 1997 and therefore is prior art to the ’793 Patent under at least 35 U.S.C. §§ 102(a) and

 (b).   Bender 1997 discusses the challenge of patient compliance or adherence to inhaled

 medications. Bender 1997, Abstract. Bender 1997 found that “[t]here is no evidence of recent

 improvement in the rates of nonadherence, and patients continue on average to take about 50% of

 prescribed medication.” Id. Bender 1997 also reported that adherence to inhaled medications is

 linked to treatment outcome. See id. at 179-80 (“[P]atients with high adherence rates in both

 groups had a dramatically lower mortality rate than poor adherers.”).

                        i.     Clark 1995

         “Medical Aerosol Inhalers: Past, Present, and Future” by A.R. Clark, AEROSOL SCIENCE

 AND TECHNOLOGY,     22(4):374-391 (1995) (“Clark 1995”) was published in 1995 and therefore is

 prior art to the ’793 Patent under at least 35 U.S.C. §§ 102(a) and (b). Clark 1995 provides an

 overview of “three major types of medical aerosol inhalers” – the nebulizer, the pressurized

 metered dose inhaler, and the dry powder inhaler. Clark 1995, Abstract. Clark 1995 further states

 that the dry powder inhaler was first commercialized in the early 1960s. Id.

                        j.     Olschewski 2002

         “Inhaled Iloprost for Severe Pulmonary Hypertension” by Olschewski, et al., New Engl. J.

 Med., 347(5):322-29 (Aug. 1, 2002) (“Olschewski 2002”) was published on August 1, 2002 and

 therefore is prior art to the ’793 Patent under at least 35 U.S.C. §§ 102(a) and (b). Olschewski

 2002 reports that inhaled iloprost, an analog of prostacyclin, is an effective therapy for patients

 with severe pulmonary hypertension. Olschewski 2002, Abstract. The study used an inhalation


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 device where “inhalation commonly required 10 minutes,” but Olschewski 2002 noted that

 “[d]ifferent techniques of administering aerosolized iloprost result in similar acute hemodynamic

 effects as long as identical doses are delivered to the respiratory tract in a particle size suitable for

 alveolar deposition.[]        With other techniques, the duration of inhalation may be shortened

 considerably.” Id. at 328.

                          k.       Ventavis® Label 2004

         The December 2004 label for Ventavis® (iloprost) inhalation solution (“Ventavis® Label

 2004”) is prior art to the ’793 Patent under at least 35 U.S.C. §§ 102(a) and (b). “Iloprost is a

 synthetic analogue of prostacyclin PGI2.” Ventavis® Label 2004 at 4. “Ventavis is breathed

 (inhaled) into your lungs” and “[o]ne treatment session will usually last about 4 to 10 minutes.”

 Id. at 16. Ventavis® is indicated for treatment of pulmonary arterial hypertension (id. at 8) and has

 a maximum daily dose of 45 micrograms (id. at 11).

                          l.       OptiNeb® User Manual 2005

         Opti-Neb-ir® Operating Instructions, Model ON-100/2 (2005) (“OptiNeb® User Manual

 2005”) is prior art to the ’793 Patent under at least 35 U.S.C. § 102(b). OptiNeb® User Manual

 2005 discloses that the OptiNeb® device could nebulize (i.e., produce aerosol) at a rate of 0.6

 ml/min. OptiNeb® User Manual 2005 (LIQ02804126 – LIQ02804176) at 28.

                          m.       Additional Background Prior Art

         In general, there has been extensive interest in inhaled prostacyclins prior to May 15, 2006.

 For example, an article by Walmrath, et al. titled “Direct Comparison of Inhaled Nitric Oxide and

 Aerosolized Prostacyclin in Acute Respiratory Distress Syndrome” published in the American

 Journal of Respiratory Critical Care Medicine, Volume 153, pages 991-996 in 1996 (“Walmrath”)

 reported the use of prostacyclin aerosol compared to the standard of therapy with nitric oxide (NO).

 An article by Olschewski, et al. titled “Inhaled Prostacyclin and Iloprost in Severe Pulmonary

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 Hypertension Secondary to Lung Fibrosis” published in the American Journal of Respiratory

 Critical Care Medicine, Volume 160, pages 600 to 607 in 1999 (“Olschewski 1999”) studied in

 pulmonary arterial hypertension patients inhaled prostacyclin, inhaled iloprost, and inhaled

 treprostinil. Olschewski 1999 concluded that “in pulmonary hypertension secondary to lung

 fibrosis, aerosolization of PGI2 or iloprost causes marked pulmonary vasodilatation with

 maintenance of gas exchange and systemic arterial pressure. Olschewski 1999 at Abstract. Two

 articles by Hache, et al. (2003) (“Inhaled epoprostenol (prostacyclin) and pulmonary hypertension

 before cardiac surgery” in the Journal of Thoracic and Cardiovascular Surgery) and De Wet, et

 al. (2004) (“Inhaled prostacyclin is safe, effective, and affordable in patients with pulmonary

 hypertension, right heart dysfunction, and refractory hypoxemia after cardiothoracic surgery”)

 published on the benefits of inhaled prostacyclin in surgical patients with pulmonary hypertension

 and compared this approach over the use of the then standard of therapy NO.

        Patents on inhaled prostacyclins, other than those discussed above, also pre-date May 15,

 2006. For example, U.S. Patent No. 5,187,286 to Skuballa, et al. discloses the synthesis and

 delivery by inhalation of “prostacyclin agonists” which includes the class of prostacyclin drugs

 delivered by inhalation such as epoprostenol, iloprost and treprostinil. U.S. Patent No. 6,242,482

 to Shorr, et al. discloses administration of inhalation of derivatives of prostaglandins that also

 cover prostacyclin-like molecules.

        Additionally, there was extensive literature prior to May 15, 2006 on the pros and cons of

 various inhalation devices, as well as plentiful motivation to reduce the number of breaths required

 for adequate dosing with these devices. A 2006 chapter on “Aerosols” in the Encyclopedia of

 Respiratory Medicine by S.P. Newman (“Newman”) and a 2005 article by David E. Geller entitled

 “Comparing Clinical Features of the Nebulizer, MDI, and DPI” published in Respiratory Care,



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 Volume 50, Issue 10 (“Geller 2005”) describe nebulizers and dry powder inhalers. Newman also

 discloses that it was generally known in the art that “inhaler devices should deliver particles

 smaller than approximately 5 µm in diameter in order to enter the lungs.” Newman, at 58. A 2003

 article by David Geller and several co-authors, titled “Bolus Inhalation of rhDNase with the AERx

 System in Subjects with Cystic Fibrosis” and published in the Journal of Aerosol Medicine’s

 Volume 16, Issue 2 (“Geller 2003”) emphasizes the benefits of reducing the duration of therapy

 from multiple breaths from a nebulizer lasting several minutes to much shorter inhalation time

 using just 3 breaths from a “soft mist inhaler” AERx. Geller 2003 at Abstract.

        Efforts to reduce the duration of the dose administration specifically in the case of

 prostacyclin medication have been presented prior to 2006 in several publications. As noted

 above, Olschewski, et al. observed a preference for shorter delivery time of iloprost. Olschewski

 2002 at 328. Gessler, et al. in a 2001 publication titled “Ultrasonic versus jet nebulization of

 iloprost in severe pulmonary hypertension” in the European Respiratory Journal, Volume 17,

 pages 14 to 19 (“Gessler”) compared the traditional jet nebulizer versus a fast ultrasonic nebulizer

 to significantly reduce the number of breaths required for this inhaled therapy by pulmonary

 arterial hypertension patients and therefore the overall duration of a dose delivery from 12 to 2

 min. Similar improvements were reported for treprostinil in Voswinckel JAHA and 2006,

 described above.

                2.      Technical Background

                        a.     History of Inhalation Therapy

        Inhalation therapy has been used since ancient times, and the inhalation of therapeutic

 aerosols for the treatment of asthma is described as early as 600 BC. Stein, S.W., et al., “The

 History of Therapeutic Aerosols: A Chronological Review,” Journal of Aerosol Medicine and

 Pulmonary Drug Delivery, 30(1):20-41 (2017) (“Stein”) at 20-21.               Mass production of

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 standardized inhalation devices arrived with the industrial revolution in the late 18th century to 19th

 century. Id. at 23-25.

        Devices that reduced a medicated liquid to fine droplets for inhalation, such as atomizers

 and nebulizers, were developed in the late 1800s. Id. at 25. And dry powder inhalers (“DPI”)

 were first developed in 1852, as a powdered medicine in a glass inhaler. Id. at 26. Other DPIs for

 various uses were developed before 1900. Id. at 26-27.

        After the passage of the Food and Drug Act of 1906, multiple clinical studies were

 conducted to evaluate the effectiveness of various therapeutic aerosols. Id. at 27. By the mid-

 1950s, the “aerosol delivery of beta agonists, corticosteroids, and anticholinergic . . . drugs had all

 been demonstrated to be effective for the treatment of respiratory diseases,” and “[c]onvenient

 delivery by a DPI or squeeze bulb glass nebulizers had been demonstrated.” Id. DPIs and

 nebulizer technologies advanced from 1956 to 1986. See id. at 29.

        The first propellant meter dosed inhaler (“MDI” or, more specifically, “pMDI” to

 distinguish from other inhalers that use metered doses) was introduced in 1956 as the “first inhaler

 device that achieved effective lung delivery in a truly convenient and portable device and rapidly

 became the dominant delivery system for treatment of asthma.” Id. at 27. These inhalers passed

 FDA approval and were marketed as the Medihaler Epi and Medihaler Iso in 1956. Id. at 28. But

 these inhalers had an issue: the patient had to synchronize the release of the drug dose with their

 inhalation. The first-breath actuated MDI, the Autohaler, addressed this concern and was launched

 in 1970. Id.

        The period from 1987 to the 21st century was “a period of unprecedented innovation and

 growth in the delivery of therapeutic aerosols.” Id. at 30. The “signing of the Montreal Protocol

 in September of 1987 dramatically changed the pharmaceutical aerosol industry and led to a surge



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 of development and innovation of inhaler products that eventually resulted in hydrofluoroalkane

 (HFA) MDIs and a large increase in the number and types of DPIs available, as well as the

 development of advanced nebulizer systems and other inhalation devices.” Id.; see also id. at 30-

 32. By 1995, “three major types of medical aerosol inhalers” – the nebulizer, the pressurized

 metered dose inhaler, and the dry powder inhaler were on the market. Clark 1995 at Abstract. By

 2006, multiple DPIs and nebulizers had been approved by the FDA and were available, as well as

 the soft mist inhaler Respimat. Stein at Table 3, Table 4, 33-36, Figure 15. Dozens of MDI

 inhalers were also approved by the FDA by 2006. See, e.g., id. at Tables 1-3.

                        b.      Inhaled Treprostinil and Its Analogues

        Treprostinil is a prostacyclin receptor agonist, meaning that it stimulates the prostacyclin

 receptor on cells. Such stimulators have long been used to treat pulmonary vascular disease by

 countering vasoconstriction, i.e. the narrowing of blood vessels. As such, the therapeutic utility

 of injected and inhaled prostacyclins for pulmonary arterial hypertension was well-known and

 widely publicized in prominent journals before 2006.        See Farber, H.W. and Loscalzo, J.,

 “Pulmonary Arterial Hypertension,” N Engl J Med, 351:1655-65 (2004) (“Farber and Loscalzo”);

 Rubin, L.J. and Badesch, D.B., “Evaluation and Management of the Patient with Pulmonary

 Arterial Hypertension,” Ann Intern Med., 143:282-92 (2005) (“Rubin and Badesch”).

        Other prostacyclin receptor agonists known by 2006 include iloprost and epoprostenol (the

 name for the naturally occurring prostacyclin, but which could also be produced synthetically).

 Flolan® Label at 1, Description (“Epoprostenol (PGI2, PGX, prostacyclin), a metabolite of

 arachidonic acid, is a naturally occurring prostaglandin with potent vasodilatory activity and

 inhibitory activity of platelet aggregation.”).

        Treprostinil and iloprost are analogues of epoprostenol. Ruan, C.-H., et al., “Prostacyclin

 Therapy for Pulmonary Arterial Hypertension,” Texas Heart Institute Journal, 37(4):391-99
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 (2010) (“Ruan”) at 392 (“Epoprostenol, a synthetic prostacyclin, and iloprost and treprostinil,

 synthetic prostacyclin analogues, are currently used to treat patients with PAH.”).

         Between the 1990s and 2006, there was already extensive literature on inhaled

 prostacyclins. For example, a 1996 article reported the use of prostacyclin aerosol compared to

 the standard of therapy with nitric oxide (NO) for patients with Adult Respiratory Distress

 Syndrome (ARDS). See generally Walmrath.

         Even more specifically, prostacyclins and iloprost have been proven to treat pulmonary

 arterial hypertension. A 1999 article published in the American Journal of Respiratory Critical

 Care Medicine studied inhaled prostacyclin and inhaled iloprost in pulmonary arterial hypertension

 patients.   Olschewski 1999.     Olschewski 1999 concluded that “in pulmonary hypertension

 secondary to lung fibrosis, aerosolization of PGI2 or iloprost causes marked pulmonary

 vasodilatation with maintenance of gas exchange and systemic arterial pressure.” Olschewski

 1999 at Abstract. Other researchers described the benefits of inhaled prostacyclin in surgical

 patients with pulmonary hypertension and compared this approach over the use of nitrous oxide.

 Hache 2003 at 642 (“Inhaled epoprostenol (prostacyclin) and pulmonary hypertension before

 cardiac surgery”); De Wet 2004 at 1058 (“Inhaled prostacyclin is safe, effective, and affordable in

 patients with pulmonary hypertension, right heart dysfunction, and refractory hypoxemia after

 cardiothoracic surgery.”).

         Numerous patents and patent publications on inhaled epoprostenol, iloprost, and

 treprostinil, existed by 2006. U.S. Patent No. 6,242,482 to Shorr, et al. disclosed the administration

 of treprostinil and prostaglandin derivatives via intravenous injection and inhalation. Shorr at

 1:54-56, 4:37-61, Figure 1-5, and claims 1, 35, and 49. U.S. Patent Publication No. 2004/0265238

 to Chaudry was directed to “inhalable formulation[s] for the treatment of pulmonary hypertension”



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 where the formulation comprises a “hypertension-reducing agent” including a “vasodilator,” such

 as “the prostacyclin analog treprostinil sodium.” See Chaudry at Abstract, [0010], [0012]

 (emphasis added), [0017], [0026], [0097], Claim 44. The ’212 Patent, detailed in the “Overview

 of the Prior Art” section below, similarly discloses use of inhaled treprostinil for the treatment of

 pulmonary hypertension. ’212 Patent at Abstract, 3:1-5, 2:16-18, 2:66-3:5, 4:10-13, 4:41-54, 7:18-

 24.

        The benefits of inhalation over other forms of administration, such as intravenous delivery,

 were also well-known by 2006. For example, Chaudry disclosed that “[c]ontinuous intravenous

 prostacyclin is far from ideal as a treatment for pulmonary hypertension, . . . because the agent is

 available only in limited supply, it is very costly, and optimal management requires that the

 intravenous therapy with prostacyclin be started in specialized centers familiar with the technique,

 equipment, and dose ranging. . . . Further, because the agent is delivered systemically with only a

 small percentage of the agent actually absorbed by the pulmonary system, it must be administered

 in high dosages.” Chaudry at [0011]. Chaudry 2004 disclosed that “therapeutically effective

 amount[s] of a hypertension-reducing agent” may include various ranges, such as from “about

 0.001 mg/ml to about 20 mg/ml” and provided extensive disclosure regarding the use of nebulizing

 devices for inhalation. Id. at [0037]-[0038], [0061]-[0066]. The ’212 Patent, detailed below,

 similarly disclosed that inhaled delivery was known to be more “potent” than intravenous delivery.

 ’212 Patent at 8:9-17.

        In fact, iloprost had already been approved for inhaled use to treat pulmonary arterial

 hypertension in 2004, under the brand name Ventavis®. “Ventavis is breathed (inhaled) into your

 lungs” and “[o]ne treatment session will usually last about 4 to 10 minutes.” Ventavis® Label




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 2004 at 4, 15-16. Ventavis® was approved for treatment of pulmonary arterial hypertension (id. at

 8) with a maximum daily dose of 45 micrograms (id. at 11).

                       c.      Well Known Considerations for Inhalation Therapies

        As early as 1981, the deposition of pharmaceutical aerosols in the human respiratory tract

 as a function of their size distribution was well understood. Gonda, I., “A semi-empirical model

 of aerosol deposition in the human respiratory tract for mouth inhalation,” J. Pharm. Pharmacol.,

 33:692-96 (1981) (“Gonda 1981”); Gonda, I., “Study of the effects of polydispersity of aerosols

 on regional deposition in the respiratory tract,” J. Pharm. Pharmacol., 33 (Suppl.) 52P (1981)

 (“Gonda 1981b”). By 2006, it was certainly well-known that inhalation drug particles needed to

 be a certain size. For example, from modern use of inhalation therapy for asthma in the 1990s, it

 was well known that “to avoid inertial impaction in the oropharyngeal cavity and reach the lung,”

 aerosol particles needed to be 7 micrometers or less. Clark 1995 at 374. If those particles needed

 to reach the peripheral lung, the particles needed to be closer to 2 to 3 micrometers. Id. A 2006

 chapter on “Aerosols” in the Encyclopedia of Respiratory Medicine by S.P. Newman (“Newman”)

 confirms that it was generally known that “inhaler devices should deliver particles smaller than

 approximately 5 µm in diameter in order to enter the lungs.” Newman at Abstract. The ’212

 Patent, discussed more below, also discloses particles “preferably, less than 5 micrometers in

 diameter.” ’212 Patent at 5:40-41.

        Further, it was well known by May 2006 that titrating doses of inhaled prostacyclins

 achieved optimal levels of efficacy and safety for individual patients. See, e.g., Walmrath, D., et

 al., “Aerosolised prostacyclin in adult respiratory distress syndrome,” Lancet, 342:961-62 (1993)

 (“Walmrath 1993”) at 962 (“Titration of aerosolized [prostacyclin] in individual patients might be

 necessary to produce selective vasodilation in well-ventilated lung areas.”). In 1997, Hoeper, et

 al. delivered iloprost by inhalation to 24 patients suffering from pulmonary hypertension and
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 increased the doses of iloprost for patients whose symptoms did not improve after three months of

 treatment. Hoeper, M.M., et al., “Long-Term Treatment of Primary Pulmonary Hypertension with

 Aerosolized Iloprost, a Prostacyclin Analogue,” N Engl J Med, 342(25):1866-70 (2000)

 (“Hoeper”) at 1867. The study revealed that “[c]oughing during inhalation was common during

 the first days of treatment but invariably disappeared spontaneously within the first four weeks.”

 Id. at 1868.    Accordingly, well before May 2006, it was known that titration of inhaled

 prostacyclins achieved therapeutic efficacy and that patients gained a tolerance to initial side

 effects (e.g., coughing).

        Similarly, by 2006, various inhalation devices were commonly used, and there was

 extensive literature on the pros and cons of those devices. Geller 2005 at 1313 (titled “Comparing

 clinical features of the Nebulizer, Metered-Dose Inhaler, and Dry Powder Inhaler”). Specifically,

 nebulizers can be used by patients of any age, do not use propellants, and can deliver high drug

 doses; however, nebulizers were known to be more time-consuming, less portable, and less

 predictable with respect to the amount of drug available for lung deposition. Id. at 1315. To

 contrast, Geller explains that pressurized metered dose inhalers are portable, less expensive, and

 offer very high lung deposition; however, pressurized metered dose inhalers were known to be the

 most difficult device to use, causing them to be often used incorrectly. Id. at 1315-16. Lastly,

 Geller explains that dry powder inhalers are breath-actuated (and, therefore, easier to use),

 portable, and quick to use; however, dry powder inhalers require higher inspiratory flow and lung

 volume, making them unsuitable for some patients (e.g., young children). Id. at 1316.

        Dozens of pressurized MDIs were FDA approved by 1997. See e.g., Stein at 29, Table 1

 (listing over 20 pressurized metered dose inhalers (pMDIs) approved in U.S. by 1997). In




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 particular, at least 6 pMDIs using hydrofluoroalkanes as propellants were approved. Id. at Table

 2.

        Dry powder inhalers (DPIs) were also well-known as of 2006. See Atkins, P.J., “Dry

 Powder Inhalers: An Overview,” Respiratory Care, 50(10):1304-12 (2005) (“Atkins”) at 1305-06

 (describing the choice of single and multiple dose DPIs, including the means of “metering” doses).

 At least 10 dry powder inhalers had been approved by the FDA by 2006, including the blockbuster

 product Advair, used for asthma and chronic obstructive pulmonary disease (COPD) treatment.

 Stein at 33, Table 3. Methods of creating dry powder formulations to use in DPIs were also known,

 such as by grinding (or “milling” or “micronization”) of powders, spray drying, and using

 supercritical fluid preparations of powders for inhalation. See Telko, M.J. and Hickey, A.J., “Dry

 Powder Inhaler Formulation,” Respiratory Care, 50(9):1209-27 (2005) (“Telko and Hickey”) at

 1212-23 (summarizing the variety of formulation composition and manufacturing methods for

 preparation of dry powders for inhalations).

        The first soft mist inhaler approved was Respimat (first in Germany in 2004, then in U.S.),

 while several other soft mist inhalers were in development at the time, including Aradigm’s AERx

 which was the inhaler used in the treprostinil collaboration with UTC announced in 2005. See

 October 24, 2005 Press Release, “Aradigm Corporation And United Therapeutics Corporation

 Sign Development and Commercialization Agreement Targeting Pulmonary Hypertension,”

 available     at     https://www.biospace.com/article/releases/aradigm-corporation-and-united-

 therapeutics-corporation-sign-development-and-commercialization-agreement-targeting-

 pulmonary-hypertension-/. Respimat capabilities were well characterized—using a range of drug

 concentrations from 0.049-0.833%, the majority of the drug mass was in droplets of < 5 microns

 (as evidenced by the mass median diameter < 5 microns) and the dose delivered per puff was about



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 5 micrograms. Ziegler, J. and Wachtel, H., “Comparison of Cascade Impaction and Laser

 Diffraction for Particle Size Distribution Measurements,” Journal of Aerosol Medicine, 18(3):311-

 24 (2005) (“Ziegler and Wachtel”) at 313; Pitcairn, G., et al., “Deposition of Corticosteroid

 Aerosol in the Human Lung by Respimat® Soft Mist™ Inhaler Compared to Deposition by

 Metered Dose Inhaler or by Turbuhaler® Dry Powder Inhaler,” Journal of Aerosol Medicine,

 18(3):264-72 (2005) (“Pitcairn”) at Abstract (describing in vitro and in vivo studies delivering an

 asthma drug in a single breath using 200 micrograms in 15 microliters of solution, delivered via

 Respimat and showing successful delivery to the lung); see generally Dalby, R., et al., “A review

 of the development of Respimat® Soft MistTM Inhaler,” International Journal of Pharmaceutics,

 283:1-9 (2004) (“Dalby”) (describing Respimat’s operation in great detail, including results in

 vitro and in humans with multiple drugs and a variety of drug concentrations and doses). Based

 on these understood characteristics of Respimat, an inhaled formulation POSA would understand

 that Respimat would be suitable for inhaled delivery of treprostinil from such a small convenient

 device at similar dosages in one or a small number of breaths.

        For all of these inhaled therapies, there were widespread patient adherence concerns. See

 Bender 1997 at Abstract, 179-80 (patients on inhaled therapies “on average [only] take about 50%

 of prescribed medication”); Rau, J.L., “Determinants of Patient Adherence to an Aerosol

 Regimen,” Respiratory Care 50(10):1346-56 (2005) (“Rau 2005”) at Abstract (noting that a factor

 “related to patient adherence” was the “complexity of the inhalation regimen[s] (dosing frequency,

 number of drugs)”).

        By May 2006, it was well-known that inhalation therapies could achieve therapeutic

 efficacy in three or fewer breaths. See, e.g., Geller 2003 at 181 (concluding that “inhalation . . . in

 only three breaths is feasible”).



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             Thus, reducing the duration of the inhaled dose administration of treprostinil was a

 common goal by 2006, and one that had been met with success. Chaudry disclosed that inhalation

 of its treprostinil formulation “may take about . . . 3 minutes” (Chaudry at [0067]), while

 Voswinckel JAHA and Voswinckel 2006, detailed below, disclosed reductions in treprostinil

 administration duration to 3 breaths.         The desire to reduce the administration duration of

 aerosolized prostacyclins goes back well before 2006 (see Gessler at 19; Olschewski 2002 at 328),

 which is consistent with the general sentiments that nebulizers are “cumbersome and time-

 consuming to use.” Dolovich, M.B., et al., “Device Selection and Outcomes of Aerosol Therapy:

 Evidence-Based Guidelines,” CHEST, 127:335-71 (2005) (“Dolovich”) at 337.

                    3.     Claims 1, 4, and 6-8 of the ’793 Patent Would Have Been Obvious over
                           the ’212 Patent Alone

             The Asserted Claims of the ’793 Patent would have been obvious to a POSA by May 15,

 2006 over the ’212 Patent 32 alone.

             For the same reasons explained herein, claims 1, 4, and 6-8 of the ’793 Patent are invalid

 for obviousness-type double patenting over the ’212 Patent, which is assigned to UTC. This

 deficiency cannot be cured by filing a terminal disclaimer, because the ’212 Patent has expired.

                           a.      Claims 1 Would Have Been Would Have Been Obvious

                                   (1)     Claim Element 1[a]

      1[a]        A method of treating pulmonary hypertension comprising administering by
                  inhalation to a human suffering from pulmonary hypertension a therapeutically
                  effective single event dose of a formulation comprising treprostinil or a
                  pharmaceutically acceptable salt thereof




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   The ’033 Patent shares a specification with the ’212 patent. Thus, all references to the ’212
 patent in this section are equally applicable to the ’033 Patent.
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           Claim element 1[a] of the ’793 Patent is disclosed in the ’212 Patent. The ’212 Patent

 describes methods of delivering a therapeutically effective amount of benzindene prostaglandin

 (also known as “UT-15”) by inhalation to treat pulmonary hypertension in a single dose event.

 ’212 Patent at Abstract, 2:16-18, 2:66-3:5, 4:10-13, 4:41-54, 7:18-24. A POSA as of May 2006

 would have readily understood that “UT-15” is synonymous with treprostinil sodium, and that

 treprostinil is an analog of benzindene prostaglandin. 33

           Specifically, the ’212 Patent discloses “a method of treating pulmonary hypertension by

 inhalation of a benzindene prostaglandin” (id. at 7:18-20) or a “pharmaceutically acceptable salt”

 thereof (id. at 4:11-12). The ’212 Patent further states that the “benzindene prostaglandin is

 delivered by inhalation to a patient in need thereof in a ‘therapeutically effective amount.’” Id. at

 6:56-58. “A ‘therapeutically effective amount’ refers to that amount that has therapeutic effects

 on the condition intended to be treated or prevented.” Id. at 6:58-61. The ’212 Patent explains

 that “[t]he precise amount that is considered effective for a particular therapeutic purpose will, of

 course, depend upon the specific circumstances of the patient being treated and the magnitude of

 effect desired by the patient’s doctor.” Id. at 6:66-7:2. Accordingly, the ’212 patent teaches “[a]

 method of treating pulmonary hypertension comprising administering by inhalation to a human

 suffering from pulmonary hypertension a therapeutically effective single event dose of a

 formulation comprising treprostinil or a pharmaceutically acceptable salt thereof,” as recited claim

 element 1[a] of the ’793 Patent.

                                 (2)     Claim Element 1[b]

       1[b]     with an inhalation device,




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      See infra note 14.
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           Claim element 1[b] of the ’793 Patent is disclosed in the ’212 Patent, which expressly

 discloses that an inhaler may be used to deliver the benzindene prostaglandin. ’212 Patent, 5:30-

 32 (“Preferably, a nebulizer, inhaler, atomizer or aerosolizer is used[,] which forms droplets from

 a solution or liquid containing the active ingredient(s).”) (emphasis added). A POSA as of May

 2006 would have readily understood that an inhaler is an inhalation device.

                                (3)     Claim Element 1[c]

    1[c]        wherein the therapeutically effective single event dose comprises from 15
                micrograms to 90 micrograms of treprostinil or a pharmaceutically acceptable salt
                thereof

           Claim element 1[c] of the ’793 Patent is disclosed in the ’212 Patent, which teaches

 delivering “from 15 micrograms to 90 micrograms” of inhaled treprostinil.

           The ’212 Patent expressly discloses the claimed dosage amount of “from 15 micrograms

 to 90 micrograms of treprostinil or a pharmaceutically acceptable salt thereof.” The ’212 Patent

 states that “[i]n the case of treating peripheral vascular disease by inhalation of a benzindene

 prostaglandin of the present invention, the dosage for inhalation, taking into account that some

 of the active ingredient is breathed out and not taken into the bloodstream, should be sufficient to

 deliver an amount that is equivalent to a daily infusion dose in the range of 25 µg to 250 mg;

 typically from 0.5 µg to 2.5 mg, preferably from 7 µg to 285 µg, per day per kilogram

 bodyweight.” ’212 Patent, 5:54-62 (emphasis added); see also id. at Figs. 16, 18. The ’212 Patent

 further explains that inhaled UT-15 “has a greater potency as compared to intravascularly

 administered UT-15, since the actual amount of UT-15 delivered via aerosolization delivery is

 only a fraction (10-50%) of the dosage delivered intravascularly.” Id. at 8:9-18. A POSA would

 have been further informed by additional disclosures in the ’212 Patent that likewise teach the

 claimed dosage amount of “from 15 micrograms to 90 micrograms.” See, e.g., ’793 Patent at 9:4-


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 9 (disclosing delivery of 262.5 micrograms of nebulized UT-15); see also id. at 11:7-13 (disclosing

 delivery of 250, 500, and 1000 micrograms per kg of body weight per minute of aerosolized UT-

 15).

        Moreover, the ’212 Patent states that “[t]he precise amount that is considered effective for

 a particular therapeutic purpose will, of course, depend upon the specific circumstances of the

 patient being treated and the magnitude of effect desired by the patient’s doctor.” ’212 Patent,

 6:56-7:3; see also id. at 7:25-33; see also generally id. at 1:10-2:64. The ’212 Patent also states

 that the disclosed benzindene prostaglandin, UT-15, can be “given in high doses without

 significant non-lung effects.” Id. at 10:51-57 (“These data are important in that this would indicate

 that, unlike intravenously infused UT-15, aerosolized UT-15 can be given in high doses without

 significant non-lung effects, i.e., heart rate, cardiac output. The aerosol delivery of UT-15 for these

 experiments is approximately 15-27 times that of the effective minimal tested dose of 250 ng per

 kg per min shown in FIG. 16.”). These disclosures would have further motivated a POSA reading

 the ’212 Patent to administer inhaled treprostinil at a dosage amount of 15-90 micrograms, as

 claimed.

                                (4)     Claim Element 1[d]

    1[d]      delivered in 1 to 3 breaths.

        Claim element 1[d] of the ’793 Patent would have been obvious over the ’212 Patent in

 view of a POSA’s general knowledge in the field and/or by applying routine optimization.

        A POSA reading the ’212 Patent would have been motivated to minimize the number of

 breaths required for administration of treprostinil by inhalation, to increase patient compliance and

 convenience. See ’212 Patent, 11:7-13 (disclosing a per-minute delivery rate); see also id. at 13:6-

 8 (describing aerosolized UT-15 delivered for “4-5 minutes”). By May 2006, the general state of


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 the art had established the safety and efficacy of inhaled therapeutics, including prostaglandin

 analogs such as treprostinil, delivered over short periods of time. See, e.g., Chaudry 2004 at

 [0037]-[0038], [0067] (disclosing that delivery by inhalation “may take about . . . 3 minutes”); see

 also Ghofrani 2005 at p. 298 (“[I]t is technically feasible for there to be only one to two breaths in

 an application.”); see also Clark 1995, Abstract; see also Olschewski 2002 at Abstract, 328; see

 also Ventavis® Label 2004 at 4, 16; see also OptiNeb® User Manual 2005 at 28; Geller 2003 at

 Abstract; see also generally, supra, “Additional Background Prior Art” Section. A POSA would

 have been further aware of the problem of patient noncompliance to inhaled medications, and thus

 would have been encouraged to reduce the number of breaths required for drug delivery to increase

 patient compliance and treatment outcome. See, e.g., Bender 1997 at Abstract, 179-80; see also

 Olschewski 2002 at 328; Newman at 63; Geller 2003 at Abstract; Geller 2005 at 1314, 1318.

 Accordingly, claim element 1[d] requiring “delivery in 1 to 3 breaths” would have been obvious

 over the ’212 Patent in view of a POSA’s general knowledge in the field.

        Relying on the ’212 Patent to deliver inhaled treprostinil in 1 to 3 breaths would have

 amounted to mere routine optimization that cannot save the ’793 Patent from obviousness. See,

 e.g., Genzyme Therapeutic Prods. L.P. v. Biomarin Pharm. Inc., 825 F.3d 1360, 1365, 1373 (Fed.

 Cir. 2016) (affirming decision finding dosing claims obvious when “the claimed dosing schedule

 would have been arrived at by routine optimization”); see also Hoffmann-La Roche Inc. v. Apotex

 Inc., 748 F.3d 1326, 1329-31 (Fed. Cir. 2014) (affirming decision finding dosing claims obvious

 because “[a] relatively infrequent dosing schedule has long been viewed as a potential solution to

 the problem of patient compliance”); see also Merck & Co., Inc. v. Teva Pharmaceuticals USA,

 Inc., 395 F.3d 1364, 1373 (Fed. Cir. 2005) (reversing decision to find claims obvious that covered

 slightly different dosages from those of the prior art). In fact, the ’212 Patent itself contemplates



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 dose optimization as a matter of routine. ’212 Patent, 6:56-7:3, 7:25-33; see also generally id. at

 1:10-2:64. A POSA therefore would have understood that the benzindene prostaglandin (i.e.,

 treprostinil) disclosed in the ’212 Patent could be “delivered in 1 to 3 breaths,” as claimed.

                         b.      Dependent Claims 4 and 6-8 Would Have Been Obvious

                                 (1)     Claim 4

      4        The method of claim 1, wherein the inhalation device is a dry powder inhaler.

          Claim 4 is disclosed in the ’212 Patent, which discloses an “inhaler” may be used to deliver

 the benzindene prostaglandin. ’212 Patent at 5:30-32. The ’212 Patent further states “solid

 formulations, usually in the form of a powder, may be inhaled in accordance with the present

 invention.” Id. at 5:37-39. And finally, claim 9 of the ʼ212 Patent is specifically directed to an

 inhaled powder formulation of treprostinil. Accordingly, a POSA would have readily understood

 the “inhaler” disclosed in the ’212 Patent could be used as a “dry powder inhaler,” as claimed, to

 deliver powder formulations. Such dry powder inhalers were well known and “widely accepted”

 as of 2006. See Atkins at 1311.

                                 (2)     Claim 6

      6        The method of claim 1, wherein the formulation is a powder.

          Claim 6 of the ’793 Patent is disclosed in the ’212 Patent, which discloses that powder

 formulations may be used. ’212 Patent at 5:37-39 (“Alternatively, solid formulations, usually in

 the form of a powder, may be inhaled in accordance with the present invention.”). 34




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    To the extent UTC contends that the ʼ212 Patent fails to describe a powder formulation of
 treprostinil administered in 1-3 breaths, the claims of the ʼ793 Patent are invalid under § 112, as
 described below.
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                                (3)     Claim 7

    7         The method of claim 1, wherein the powder comprises particles less than 5
              micrometers in diameter.

        Claim 7 of the ’793 Patent is disclosed in the ’212 Patent, which expressly discloses that

 “the particles are preferably less than 10 micrometers in diameter, and more preferably, less than

 5 micrometers in diameter.” ’212 Patent, 5:39-41.

                                (4)     Claim 8

    8         The method of claim 1, wherein the formulation contains no metacresol.

        The ’212 Patent discloses administration of treprostinil containing no metacresol because

 it contains no disclosure requiring the presence of metacresol in the described formulation. See

 generally ’212 Patent; see also, e.g., id. at 4:47-54 (stating that the active ingredients include

 “liquid formulations comprising a benzindene prostaglandin, such as UT-15, alone or in

 combination with other active ingredients”) (emphasis added). Indeed, the use of preservatives in

 inhalation products was strongly discouraged by 2006. Beasley, R., et al., “Preservatives in

 Nebulizer Solutions: Risks without Benefit,” Pharmacotherapy, 18(1):130-39 (1998) (“Beasley”)

 at 137-38 (“On the basis of current knowledge, it can be recommended that nebulizer solutions be

 formulated preservative free and made available in sterile unit-dose vials . . . .”). Additionally, the

 FDA-approval of preservative-free tobramycin (Tobi®) for inhalation in 1998 was well publicized

 and replaced the off-label inhalation of preservative-containing tobramycin intended for injection.

 See generally Prober, C.G., et al., “Technical Report: Precautions Regarding the Use of

 Aerosolized Antibiotics,” Pediatrics, 106(6):1-6 (2000) (“Prober”) at 1, 3. And significantly, the

 label of then-approved iloprost (Ventavis®), an inhaled prostacyclin, specifically stated that the

 product contained “no preservatives.” Ventavis® Label 2004 at Description.



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        Moreover, the ’212 Patent describes a “more preferred” formulation that contains no

 metacresol. See ’212 Patent at 5:25-29. Specifically, the patent states, “[a] more preferred solution

 is prepared by mixing 0.125 grams of UT-15, 1.25 grams hydrous sodium citrate, 0.125 grams of

 anhydrous citric acid, 0.05 grams of sodium hydroxide, and approximately 250 ml of water for

 injection.” Id. Additionally, the ’212 Patent discloses steps of preparing a treprostinil inhalation

 solution that does not include metacresol. Id. at 8:39-44 (“Inhalation solutions were prepared by

 combining 1.25 grams of Sodium Citrate (Hydrous), 0.125 Citric Acid (Anhydrous), 0.05 grams

 of Sodium Hydroxide (NF/BP), 0.125 grams of UT-15, and approximately 250 ml of Water for

 Injection according to the following steps.”). Accordingly, a POSA would know from the ’212

 Patent that treprostinil formulations containing no metacresol could be administered by inhalation,

 and were actually “more preferred,” in May 2006.

                        c.      Motivation to Modify the ’212 Patent to Arrive at “Delivered in
                                1 to 3 Breaths”

        As explained above in connection with claim element 1[d], a POSA would have been

 motivated to modify the ’212 Patent to arrive at the limitation reciting “delivered in 1 to 3 breaths.”

 See supra Section V.A.3.a.4. The relevant scientific literature was replete with teachings regarding

 the safe and effective administration of inhaled therapeutics, including prostaglandin analogs such

 as treprostinil. See, e.g., Chaudry 2004 at [0037]-[0038], [0067] (disclosing that “a therapeutically

 effective amount of a hypertension-reducing agent may include from about 0.001 mg/ml to about

 20 mg/ml” and that delivery by inhalation “may take about . . . 3 minutes”); see also Ghofrani

 2005 at p. 298 (disclosing administration of inhaled treprostinil at a dose of “15 mcg/inhalation”

 and that “it is possible to increase the dosage to up to 90 mcg”) (“[I]t is technically feasible for

 there to be only one to two breaths in an application.”); see also Clark 1995, Abstract; see also




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 Olschewski 2002 at Abstract, 328; see also Ventavis® Label 2004 at 4, 16; see also OptiNeb® User

 Manual 2005 at 28; see also generally, supra, “Additional Background Prior Art” Section.

        Additionally, the problem of patient nonadherence to inhaled medications was well-

 understood, and a POSA in May 2006 would have readily appreciated that reducing the number

 of breaths for drug delivery would increase patient compliance and, in turn, treatment outcome.

 See, e.g., Bender 1997 at Abstract, 179-80 (emphasizing the challenge of patient compliance to

 inhaled medications and its relationship to treatment outcome); see also Olschewski 2002 at 328

 (noting that “the duration of inhalation may be shortened considerably”); Newman at 63; Geller

 2003, Abstract; Geller 2005 at 1314, 1318. Therefore, a POSA would have been encouraged to

 modify the teachings of the ’212 Patent to deliver inhaled treprostinil in 1 to 3 breaths. This

 modification would have represented mere routine optimization, which is not enough to save a

 claim from obviousness. See, e.g., Genzyme Therapeutic, 825 F.3d at 1365, 1373; see also

 Hoffmann-La Roche, 748 F.3d at 1329-31; see also Merck, 395 F.3d at 1373.

                        d.      Reasonable Expectation of Success in Modifying the ’212 Patent
                                to Arrive at “Delivered in 1 to 3 Breaths”

        Similarly, a POSA also would have had a reasonable expectation of success in modifying

 the ’212 Patent to arrive at the limitation reciting “delivered in 1 to 3 breaths.” For the same

 reasons set forth above, a POSA would have expected to succeed in reducing the number of breaths

 during administration of inhaled treprostinil, due to the general state of the art regarding the safety

 and efficacy of inhaled therapeutics and the known problem of patient noncompliance. See supra

 Section V.A.3.c; see also supra Section V.A.3.a.4. Further, the ʼ212 patent discloses that

 “aerosolized UT-15 has both greater potency and efficacy relative to attenuating chemically

 induced pulmonary hypertension,” and “greater potency as compared to intravascularly

 administered UT-15.” ʼ212 Patent, 8:5-12. As such, a POSA would readily conclude that a


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 “therapeutically effective” amount of treprostinil could be delivered via inhalation in 1-3 breaths.

 Additionally, relying on the ’212 Patent to deliver treprostinil in 1 to 3 breaths would have required

 only routine optimization, which would have further bolstered a POSA’s expectation of success.

 See id.

                    4.     Claims 1, 4, and 6-8 of the ’793 Patent Would Have Been Obvious over
                           the ’212 Patent in Combination with Voswinckel JAHA

             The Asserted Claims of the ’793 Patent would have been obvious over the ’212 Patent 35

 in combination with Voswinckel JAHA by May 15, 2006.

                           a.      Claims 1 Would Have Been Would Have Been Obvious

                                   (1)     Claim Element 1[a]

      1[a]        A method of treating pulmonary hypertension comprising administering by
                  inhalation to a human suffering from pulmonary hypertension a therapeutically
                  effective single event dose of a formulation comprising treprostinil or a
                  pharmaceutically acceptable salt thereof

             Claim element 1[a] the ’793 Patent is disclosed in the ’212 Patent, as described above in

 Section V.A.4.a.1. Claim element 1[a] is also disclosed in Voswinckel JAHA, as described above

 in Section V.A.9.a.1.




                                   (2)     Claim Element 1[b]

      1[b]        with an inhalation device,

             Claim element 1[b] of the ’793 Patent is disclosed in the ’212 Patent, as described above

 in Section V.A.4.a.2. Claim element 1[b] is also disclosed in Voswinckel JAHA, as described



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   The ’033 Patent shares a specification with the ’212 Patent. Thus, all references to the ’212
 Patent in this section are equally applicable to the ’033 Patent.
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 above in Section V.A.9.a.2.

                                  (3)     Claim Element 1[c]

    1[c]        wherein the therapeutically effective single event dose comprises from 15
                micrograms to 90 micrograms of treprostinil or a pharmaceutically acceptable salt
                thereof

           Claim element 1[c] of the ’793 Patent is disclosed in the ’212 Patent, as described above

 in Section V.A.4.a.3.

           To the extent that UT contends that the single event dose is not disclosed in the ’212 patent,

 this limitation is disclosed in Voswinckel JAHA. As discussed below, claim 1 is therefore obvious

 over the ’212 Patent in combination with Voswinckel JAHA. Voswinckel JAHA conducted a

 study of inhaled treprostinil in patients with severe pulmonary hypertension and states that

 “[p]atients received a TRE [inhaled treprostinil sodium] by use of the pulsed OptiNeb® ultrasound

 nebulizer (3 single breaths, TRE solution 600 µg/ml).” See Voswinckel JAHA. A POSA reading

 Voswinckel JAHA would have known that the OptiNeb® ultrasound nebulizer could deliver 15-

 90 micrograms of inhaled treprostinil, due to the variability in dosing provided by this device. See

 also, e.g., OptiNeb® User Manual 2005. More specifically, as demonstrated by the Tyvaso

 prescribing information, the administration described in the Voswinckel JAHA paper delivers 18

 micrograms in 3 breaths. See Tyvaso Label (2009) at 1 (“Initial dosage: 3 breaths (18 mcg) per

 treatment session. If 3 breaths are not tolerated, reduce to 1 or 2 breaths.”); see also id. at 1

 (disclosing a treprostinil solution of “0.6 mg per mL,” i.e., 600 micrograms per mL); see also id.

 at 2 (“Tyvaso is intended for oral inhalation using the Tyvaso Inhalation System, which consists

 of the Optineb-ir Model ON-100/07 (an ultrasonic, pulsed-delivery device) and its accessories.”).

 Therefore, the claimed dosage amount would have been obvious over the ’212 Patent in

 combination with Voswinckel JAHA. A POSA would have been motivated to combine the ’212


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 Patent with Voswinckel JAHA for the reasons set forth below in Sections V.A.5.a.4, V.A.5.c, and

 V.A.5.d.

                               (4)     Claim Element 1[d]

    1[d]     delivered in 1 to 3 breaths.

        Claim element 1[d] of the ’793 Patent would have been obvious over the ’212 Patent in

 combination with Voswinckel JAHA.

        Voswinckel JAHA states that “[p]atients received a TRE [inhaled treprostinil sodium] by

 use of the pulsed OptiNeb® ultrasound nebulizer (3 single breaths, TRE solution 600 µg/ml)” and

 further observes that “[t]olerability is excellent even at high drug concentrations and short

 inhalation times (3 breaths).” See Voswinckel JAHA. A POSA also would have known, as

 explained above, that it would be desirable to reduce the number of breaths required for delivery

 of treprostinil by inhalation, to increase patient compliance and convenience. See, e.g., Bender

 1997 at Abstract, 179-80; see also Olschewski 2002 at 328; Newman at 63; Geller 2003 at

 Abstract; Geller 2005 at 1314, 1318. Therefore, a POSA therefore would have been encouraged

 to apply the 3-breath delivery disclosure of Voswinckel JAHA to the teachings of the ’212 Patent.

 A POSA would have been further motivated to combine the ’212 Patent with Voswinckel JAHA,

 and would have had a reasonable expectation of success in doing so, because both references are

 directed to the use of inhaled treprostinil (also known as benzindene prostaglandin UT-15), for the

 treatment of pulmonary hypertension. See, e.g., ’212 Patent, Abstract (disclosing “[a] method of

 delivering benzindene prostaglandins to a patient by inhalation” for the treatment of “pulmonary

 hypertension”); see also Voswinckel JAHA (titled “Inhaled Treprostinil Sodium (TRE) For the

 Treatment of Pulmonary Hypertension”). Moreover, Voswinckel JAHA discloses that delivery of




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 inhaled treprostinil in 3 single breaths was successful, further confirming that a POSA would have

 had a reasonable expectation of successfully achieving the claimed invention. Id.

        Accordingly, claim element 1[d] would have been obvious over the combination of the

 ’212 Patent with Voswinckel JAHA.

                       b.      Dependent Claims 4 and 6-8 Would Have Been Obvious

                               (1)     Claim 4

    4        The method of claim 1, wherein the inhalation device is a dry powder inhaler.

        The additional limitation of claim 4 of the ’793 Patent is disclosed in the ’212 Patent, as

 described above.

                               (2)     Claim 6

    6        The method of claim 1, wherein the formulation is a powder.

        The additional limitation of claim 6 of the ’793 Patent is disclosed in the ’212 Patent, as

 described above.

                               (3)     Claim 7

    7        The method of claim 1, wherein the powder comprises particles less than 5
             micrometers in diameter.

        The additional limitation of claim 7 of the ’793 Patent is disclosed in the ’212 Patent, as

 described above.

                               (4)     Claim 8

    8        The method of claim 1, wherein the formulation contains no metacresol .

        The additional limitation of claim 8 of the ’793 Patent is disclosed in the ’212 Patent, as

 described above. Additionally, treprostinil was delivered without metacresol as disclosed in

 Voswinckel JAHA. Voswinckel JAHA also specifically states that a “preservative free solution


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 of inhaled TRE” was used (Voswinckel JAHA at Methods), which a POSA would understand to

 mean that the solution contained no metacresol, because metacresol was known in 2006 to be a

 preservative. ’793 Patent, 15:40-41 (referring to a “metacresol preservative” in “treprostinil

 solution”).

                       c.      Motivation to Combine the ’212 Patent with Voswinckel JAHA

        A POSA would have been motivated to combine the ’212 Patent with Voswinckel JAHA

 to arrive at the Asserted Claims of the ’793 Patent. Both the ’212 Patent and Voswinckel JAHA

 are directed to the use of inhaled treprostinil (also known as benzindene prostaglandin UT-15), for

 the treatment of pulmonary hypertension. See, e.g., ’212 Patent, Abstract (disclosing “[a] method

 of delivering benzindene prostaglandins to a patient by inhalation” for the treatment of “pulmonary

 hypertension”); see also Voswinckel JAHA (titled “Inhaled Treprostinil Sodium (TRE) For the

 Treatment of Pulmonary Hypertension”). Indeed, Voswinckel JAHA puts into clinical practice

 the express teachings of the ʼ212 patent, with success. Voswinckel JAHA’s results confirm the

 conclusions reached in the ʼ212 Patent that “aerosolized UT-15 can be given in high doses without

 significant non-lung effects, i.e., heart rate, cardiac output.” ’212 Patent, 10:51-57. As such, a

 POSA would have been motivated to combine the teachings of the ’212 Patent to deliver

 treprostinil in 1 to 3 breaths due to the disclosure in Voswinckel JAHA that “[t]olerability is

 excellent even at high drug concentrations and short inhalation times (3 breaths).” See Voswinckel

 JAHA at Conclusion.

        Additionally, and as noted, the relevant scientific literature was replete with teachings

 regarding the safe and effective administration of inhaled therapeutics, including prostaglandin

 analogs. See, e.g., Chaudry 2004 at [0037]-[0038], [0067] (disclosing that “a therapeutically

 effective amount of a hypertension-reducing agent may include from about 0.001 mg/ml to about

 20 mg/ml” and that delivery by inhalation “may take about . . . 3 minutes”); see also Ghofrani
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 2005 at p. 298 (disclosing administration of inhaled treprostinil at a dose of “15 mcg/inhalation”

 and that “it is possible to increase the dosage to up to 90 mcg”) (“[I]t is technically feasible for

 there to be only one to two breaths in an application.”); see also Clark 1995, Abstract; see also

 Olschewski 2002 at Abstract, 328; see also Ventavis® Label 2004 at 4, 16; see also OptiNeb® User

 Manual 2005 at 28; see generally, supra, “Additional Background Prior Art” Section.

        Further, the problem of patient nonadherence to inhaled medications was well-understood,

 and a POSA in May 2006 would have readily appreciated that reducing the number of breaths for

 drug delivery would increase patient compliance and, in turn, treatment outcome. See, e.g., Bender

 1997 at Abstract, 179-80 (emphasizing the challenge of patient compliance to inhaled medications

 and its relationship to treatment outcome); see also Olschewski 2002 at 328 (noting that “the

 duration of inhalation may be shortened considerably”); Newman at 63; Geller 2003 at Abstract;

 Geller 2005 at 1318, 1318. Therefore, a POSA would have been encouraged to apply the 3-breath

 delivery disclosure of Voswinckel JAHA to the teachings of the ’212 Patent to arrive at the

 limitation reciting “delivery in 1 to 3 breaths” claimed by the ’793 Patent.

                        d.     Reasonable Expectation of Success in Combining the ’212
                               Patent with Voswinckel JAHA

        Similarly, a POSA also would have had a reasonable expectation of success in combining

 the ’212 Patent with Voswinckel JAHA to arrive at the claimed treatment including delivery of

 15-90 micrograms “in 1 to 3 breaths.” As noted, the ʼ212 Patent and Voswinckel JAHA are

 directed to solving the same problem, treatment of pulmonary hypertension, via the same means,

 inhaled treprostinil. For the same reasons set forth above, a POSA would have expected to succeed

 in reducing the number of breaths when delivering inhaled treprostinil, due to the general state of

 the art regarding the safety and efficacy of inhaled therapeutics, the known problem of patient

 noncompliance, and Voswinckel JAHA’s explicit disclosure that administration of treprostinil was


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 successful. See supra Section V.A.4.c. Therefore, a POSA would have had a reasonable

 expectation of success in applying the 3-breath delivery disclosure of Voswinckel JAHA to the

 teachings of the ’212 Patent.

                    5.     Claims 1, 4, and 6-8 of the ’793 Patent Would Have Been Obvious over
                           the ’212 Patent in Combination with Voswinckel 2006

             The Asserted Claims of the ’793 Patent would have been obvious over the ’212 Patent 36

 in combination with Voswinckel 2006 by May 15, 2006.

                           a.      Claims 1 Would Have Been Would Have Been Obvious

                                   (1)     Claim Element 1[a]

      1[a]        A method of treating pulmonary hypertension comprising administering by
                  inhalation to a human suffering from pulmonary hypertension a therapeutically
                  effective single event dose of a formulation comprising treprostinil or a
                  pharmaceutically acceptable salt thereof

             Claim element 1[a] the ’793 Patent is disclosed in the ’212 Patent, as described above in

 Section V.A.4.a.1.

             Claim element 1[a] is also disclosed in Voswinckel 2006, which teaches the recited method

 of treating pulmonary hypertension. Voswinckel 2006 describes treating three patients with

 “severe pulmonary hypertension” with “inhaled treprostinil.”             Voswinckel 2006 at 150.

 Voswinckel 2006 also describes “a single 15-μg dose of treprostinil, inhaled in 3 breaths” inducing

 “highly pulmonary selective and sustained vasodilatation” proving that “[t]he drug was clinically

 effective” at the dosage and number of breaths. Id.

                                   (2)     Claim Element 1[b]

      1[b]        with an inhalation device,




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   The ’033 Patent shares a specification with the ’212 Patent. Thus, all references to the ’212
 Patent in this section are equally applicable to the ’033 Patent.
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           Claim element 1[b] of the ’793 Patent is disclosed in the ’212 Patent, as described above

 in Section V.A.4.a.2.

           Claim element 1[b] is also disclosed in Voswinckel 2006, which expressly discloses

 “inhaled treprostinil” administered “through a modified OptiNeb ultrasonic inhalation device.”

 Voswinckel 2006 at 150.

                                 (3)     Claim Element 1[c]

    1[c]        wherein the therapeutically effective single event dose comprises from 15
                micrograms to 90 micrograms of treprostinil or a pharmaceutically acceptable salt
                thereof

           Claim element 1[c] of the ’793 Patent is disclosed in the ’212 Patent, as described above

 in Section V.A.4.a.3. To the extent that UT contends that the ’212 Patent alone does not disclose

 the claimed dosage amount, this limitation would have been obvious over the ’212 Patent in

 combination with Voswinckel 2006. Claim 1 is therefore obvious over the ’212 Patent in

 combination with Voswinckel 2006.

           Voswinckel 2006 expressly discloses that treprostinil was “clinically effective, safe, and

 well tolerated when 15 µg was inhaled in 3 breaths 4 times daily.” Voswinckel 2006 at 150.

 Voswinckel 2006 also teaches that “a single 15-μg dose of treprostinil” was inhaled by patients

 “through a modified OptiNeb ultrasonic inhalation device.” Id. Therefore, the claimed dosage

 amount would have been obvious over the ’212 Patent in combination with Voswinckel 2006. A

 POSA would have been motivated to combine this teaching from Voswinckel 2006 with the ’212

 Patent for the reasons set forth below in Sections V.A.6.a.4, V.A.6.c, and V.A.6.d.

                                 (4)     Claim Element 1[d]

    1[d]        delivered in 1 to 3 breaths.




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        Claim element 1[d] of the ’793 Patent would have been obvious over the ’212 Patent in

 combination with Voswinckel 2006.

        Voswinckel 2006 expressly discloses delivery of inhaled treprostinil “in 3 breaths.” See

 Voswinckel 2006 at 150. A POSA also would have known, as explained above, that it would be

 desirable to reduce the number of breaths required for delivery of treprostinil by inhalation, to

 increase patient compliance and convenience. See, e.g., Bender 1997 at Abstract, 179-80; see also

 Olschewski 2002 at 328; Newman at 63; Geller 2003 at Abstract; Geller 2005 at 1314, 1318.

 Therefore, a POSA therefore would have been encouraged to apply the 3-breath delivery

 disclosure of Voswinckel 2006 to the teachings of the ’212 Patent. A POSA would have been

 further motivated to combine the ’212 Patent with Voswinckel 2006, and would have had a

 reasonable expectation of success in doing so, because both references are directed to the use of

 inhaled treprostinil (also known as benzindene prostaglandin UT-15), for the treatment of

 pulmonary hypertension. See, e.g., ’212 Patent, Abstract (disclosing “[a] method of delivering

 benzindene prostaglandins to a patient by inhalation” for the treatment of “pulmonary

 hypertension”); see also Voswinckel 2006 at 149 (titled “Inhaled Treprostinil for Treatment of

 Chronic Pulmonary Arterial Hypertension”). Moreover, Voswinckel 2006 discloses that delivery

 of inhaled treprostinil in 3 single breaths was successful, further confirming that a POSA would

 have had a reasonable expectation of successfully achieving the claimed invention. Id.

        Accordingly, claim element 1[d] would have been obvious over the combination of the

 ’212 Patent with Voswinckel 2006.

                       b.     Dependent Claims 4 and 6-8 Would Have Been Obvious

                              (1)     Claim 4

    4        The method of claim 1, wherein the inhalation device is a dry powder inhaler.



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        The additional limitation of claim 4 of the ’793 Patent is disclosed in the ’212 Patent, as

 described above.

        A POSA would have readily understood that “inhaled treprostinil” dosage and breath

 disclosure of Voswinckel 2006 could be utilized as a powder delivered in a “dry powder inhaler”

 as disclosed and claimed by the ’212 Patent. A POSA would have been motivated to do so because

 dry powder inhalers were well-known to be very portable and quick to use, breath-actuated, could

 be designed as single-dose or multi-dose devices, provided the “lowest cost dose,” and were easier

 for patients (especially children) to use than the pulsed ultrasonic nebulizer disclosed in

 Voswinckel 2006. Newman 2006 at 58, 61-62, 63; Geller 2005 at 1316-17; see also Frijlink and

 De Boer, “Dry powder inhalers for pulmonary drug delivery,” Expert Opinion on Drug Delivery,

 1:1, pp. 67-86 (2004) at 81 (“Advantages such as the potential ability to generate high FPFs and a

 relatively high lung deposition, fast and easy administration, the ability to prepare stable

 formulations (compared with solutions), and the fact that DPIs are breath-actuated and easily

 portable, justify their existence.”). A POSA would thus have had a reasonable expectation of

 success that the “inhaled treprostinil” described in Voswinckel 2006 could be delivered using a

 dry powder inhaler.

                               (2)     Claim 6

    6        The method of claim 1, wherein the formulation is a powder.

        The additional limitation of claim 6 of the ’793 Patent is disclosed in the ’212 Patent, as

 described above.

        A POSA would have been motivated to convert Voswinckel 2006’s treprostinil solution to

 a powder because powders were known to be more stable formulations than solutions by May

 2006, and the ʼ212 Patent specifically claims such powder formulations for the same indication as


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 Voswinckel 2006. See Frijlink and De Boer at 81; ’212 Patent, claim 9. A POSA would have

 had a reasonable expectation of success in doing so because converting a solution to dry powder

 was well known by 2006, and the ʼ212 Patent discloses and claims that treprostinil can be

 formulated as a powder for delivery by inhalation. See, e.g., Chew and Chan, “Pharmaceutical

 Dry Powder Aerosol Delivery,” KONA No. 19, pp. 46-56 (2001) at 51-53 (“Preparation of

 Powders” section), available at https://www.jstage.jst.go.jp/article/kona/19/0/19_2001010/_pdf.

                               (3)     Claim 7

    7        The method of claim 1, wherein the powder comprises particles less than 5
             micrometers in diameter.

        The additional limitation of claim 7 of the ’793 Patent is disclosed in the ’212 Patent, as

 described above.

                               (4)     Claim 8

    8        The method of claim 1, wherein the formulation contains no metacresol.

        The additional limitation of claim 8 of the ’793 Patent is disclosed in the ’212 Patent, as

 described above. Additionally, treprostinil was delivered without metacresol in Voswinckel 2006.

                       c.      Motivation to Combine the ’212 Patent with Voswinckel 2006

        A POSA would have been motivated to combine the ’212 Patent with Voswinckel 2006 to

 arrive at the Asserted Claims of the ’793 Patent. Both the ’212 Patent and Voswinckel 2006 are

 directed to the use of inhaled treprostinil (also known as benzindene prostaglandin UT-15), for the

 treatment of pulmonary hypertension. See, e.g., ’212 Patent, Abstract (disclosing “[a] method of

 delivering benzindene prostaglandins to a patient by inhalation” for the treatment of “pulmonary

 hypertension”); see also Voswinckel 2006 at 149 (titled “Inhaled Treprostinil for Treatment of

 Chronic Pulmonary Arterial Hypertension”). Indeed, Voswinckel 2006 puts into clinical practice

 the express teachings of the ʼ212 patent, with success. But Voswinckel 2006 is limited to one form
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 of inhalation delivery, and other forms were well-known by 2006. Each form had various

 advantages and disadvantages that made it useful for different patients and scenarios. See, e.g.,

 Geller 2005 (“Comparing Clinical Features of the Nebulizer, Metered-Dose Inhaler, and Dry

 Powder Inhaler”). A POSA would have been motivated to apply the ’212 Patent’s teachings as to

 various forms of inhalers and dry powder formulations, while maintaining the dosage and breath

 limitations of Voswinckel 2006, with a reasonable expectation of success because Voswinckel

 2006 had shown that treprostinil was “clinically effective, safe, and well tolerated” at the dosage

 and breath of “15 μg … inhaled in 3 breaths.” Voswinckel 2006 at 150. As such, a POSA would

 have been motivated to combine the teachings of the ’212 Patent to deliver treprostinil in 1 to 3

 breaths due to the disclosure in Voswinckel 2006 that treprostinil was “clinically effective, safe,

 and well tolerated when 15 µg was inhaled in 3 breaths 4 times daily.” See id.

        Additionally, as noted, the relevant scientific literature was replete with teachings

 regarding the safe and effective administration of inhaled therapeutics, including prostaglandin

 analogs. See, e.g., Chaudry 2004 at [0037]-[0038], [0067] (disclosing that “a therapeutically

 effective amount of a hypertension-reducing agent may include from about 0.001 mg/ml to about

 20 mg/ml” and that delivery by inhalation “may take about . . . 3 minutes”); see also Ghofrani

 2005 at p. 298 (disclosing administration of inhaled treprostinil at a dose of “15 mcg/inhalation”

 and that “it is possible to increase the dosage to up to 90 mcg”) (“[I]t is technically feasible for

 there to be only one to two breaths in an application.”); see also Clark 1995, Abstract; see also

 Olschewski 2002 at Abstract, 328; see also Ventavis® Label 2004 at 4, 16; see also OptiNeb® User

 Manual 2005 at 28; see generally, supra, “Additional Background Prior Art” Section.

        Further, the problem of patient nonadherence to inhaled medications was well-understood,

 and a POSA in May 2006 would have readily appreciated that reducing the number of breaths for



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 drug delivery would increase patient compliance and, in turn, treatment outcome. See, e.g., Bender

 1997 at Abstract, 179-80 (emphasizing the challenge of patient compliance to inhaled medications

 and its relationship to treatment outcome); see also Olschewski 2002 at 328 (noting that “the

 duration of inhalation may be shortened considerably”); Newman at 63; Geller 2003, Abstract;

 Geller 2005 at 1314, 1318. Therefore, a POSA would have been encouraged to apply the

 disclosures of Voswinckel 2006 to the teachings of the ’212 Patent to arrive at the claimed dosage

 amount and “delivery in 1 to 3 breaths” limitation.

                       d.      Reasonable Expectation of Success in Combining the ’212
                               Patent with Voswinckel 2006

        Similarly, a POSA also would have had a reasonable expectation of success in combining

 the ’212 Patent with Voswinckel 2006 to arrive at the limitation reciting “delivered in 1 to 3

 breaths.” As noted, the ʼ212 Patent and Voswinckel 2006 are directed to solving the same problem

 treatment of pulmonary hypertension, via the same means, inhaled treprostinil. For the same

 reasons set forth above, a POSA would have expected to succeed in reducing the number of breaths

 when delivering inhaled treprostinil, due to the general state of the art regarding the safety and

 efficacy of inhaled therapeutics, the known problem of patient noncompliance, and Voswinckel

 2006’s explicit disclosure that administration of treprostinil was successful. See supra Section

 V.A.5.c. Therefore, a POSA would have had a reasonable expectation of success in applying the

 disclosures of Voswinckel 2006 regarding dosage amount and number of breaths to the teachings

 of the ’212 Patent.

                6.     Claim 1 of the ’793 Patent is Anticipated by Voswinckel 2006

        Claim 1 of the ’793 Patent is anticipated by Voswinckel 2006.

                       a.      Claim 1 is Anticipated

                               (1)     Claim Element 1[a]


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    1[a]        A method of treating pulmonary hypertension comprising administering by
                inhalation to a human suffering from pulmonary hypertension a therapeutically
                effective single event dose of a formulation comprising treprostinil or a
                pharmaceutically acceptable salt thereof

           Claim element 1[a] of the ’793 Patent is disclosed in Voswinckel 2006, which teaches the

 recited method of treating pulmonary hypertension. Voswinckel 2006 describes treating “three

 patients with severe pulmonary hypertension” with “inhaled treprostinil.” Voswinckel 2006 at

 150. Voswinckel 2006 also describes “a single 15-µg dose of treprostinil, inhaled 3 breaths”

 inducing “highly pulmonary selective and sustained vasodilation” proving that “the drug was

 clinically effective” at the dosage and number of breaths. Id. (emphasis added).

                                 (2)     Claim Element 1[b]

    1[b]        with an inhalation device,

           Claim element 1[b] of the ’793 Patent is disclosed in Voswinckel 2006, which expressly

 discloses “inhaled treprostinil” administered “through a modified OptiNeb ultrasonic inhalation

 device.” Id. (emphasis added).

                                 (3)     Claim Element 1[c]

    1[c]        wherein the therapeutically effective single event dose comprises from 15
                micrograms to 90 micrograms of treprostinil or a pharmaceutically acceptable salt
                thereof

           Claim element 1[c] of the ’793 Patent is disclosed in Voswinckel 2006, which specifically

 teaches that “a single 15-µg dose of treprostinil” was inhaled by patients “through a modified

 OptiNeb ultrasonic inhalation device.” Id.

                                 (4)     Claim Element 1[d]

    1[d]        delivered in 1 to 3 breaths.




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        Claim element 1[d] of the ’793 Patent is disclosed in Voswinckel 2006 which specifically

 teaches that “15-µg dose of treprostinil” was inhaled by patients “in 3 breaths through a modified

 OptiNeb ultrasonic inhalation device.” Id. (emphasis added).

                7.      Claims 4 and 6-8 of the ’793 Patent Would Have Been Obvious over
                        Voswinckel 2006 in Combination with the ’212 Patent

        Claims 4 and 6-8 of the ’793 Patent would have been obvious over Voswinckel 2006 in

 combination with the ’212 Patent by May 15, 2006. All of the limitations of Claim 1 are disclosed

 by Voswinckel 2006, as described above. The additional limitations of the dependent claims 4

 and 6-8 are obvious over Voswinckel 2006 in combination with the ’212 Patent. A POSA would

 have motivated to modify Voswinckel 2006 with the ’212 Patent with a reasonable expectation of

 success as described below.

                        a.     Dependent Claims 4 and 6-8 Would Have Been Obvious

                               (1)     Claim 4

    4         The method of claim 1, wherein the inhalation device is a dry powder inhaler.

        The ’212 Patent discloses this element, as detailed above at Section V.A.4.b.1. A POSA

 would have readily understood that the “inhaled treprostinil” dosage and breath disclosure of

 Voswinckel 2006 could be utilized as a powder delivered in a “dry powder inhaler” as disclosed

 and claimed by the ’212 Patent. A POSA would have been motivated to do so because dry powder

 inhalers were well-known to be very portable and quick to use, breath-actuated, could be designed

 as single-dose or multi-dose devices, provided the “lowest cost dose,” and were easier for patients

 (especially children) to use than the pulsed ultrasonic nebulizer disclosed in Voswinckel 2006. Id.;

 Newman at 58, 61-62, 63; Geller 2005 at 1316-17; see also Frijlink and De Boer at 81

 (“Advantages such as the potential ability to generate high FPFs and a relatively high lung

 deposition, fast and easy administration, the ability to prepare stable formulations (compared with

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 solutions), and the fact that DPIs are breath-actuated and easily portable, justify their existence.”).

 A POSA would thus have had a reasonable expectation of success that the “inhaled treprostinil”

 described in Voswinckel 2006 could be delivered using a dry powder inhaler.

        Claim 4 of the ’793 Patent would have been obvious over Voswinckel 2006 in combination

 with the ’212 Patent, which discloses that an “inhaler” may be used to deliver its disclosed

 benzindene prostaglandin: UT-15 (i.e. treprostinil salt). ’212 Patent, 5:30-32. The ’212 Patent

 further states that “solid formulations, usually in the form of a powder, may be inhaled in

 accordance with the present invention.” Id. at 5:37-39. The “present invention” of the ’212 Patent

 includes the 15 µg disclosed dosage of Voswinckel 2006: “[i]n the case of treating peripheral

 vascular disease by inhalation of a benzindene prostaglandin of the present invention, the dosage

 for inhalation, taking into account that some of the active ingredient is breathed out and not taken

 into the bloodstream, should be sufficient to deliver an amount that is equivalent to a daily

 infusion dose in the range of 25 µg to 250 mg; typically from 0.5 µg to 2.5 mg, preferably from

 7 µg to 285 µg, per day per kilogram bodyweight.” ’212 Patent, 5:54-62 (emphasis added); see

 also id. at Figs. 16, 18. Voswinckel 2006 teaches that those dosages can be administered in 3

 breaths.

        To the extent a POSA would not have a reasonable expectation of success in converting

 Voswinckel 2006’s dosing regimen from a pulsed ultrasonic nebulizer to a dry powder inhaler,

 claim 4 of the ’793 Patent is invalid for lack of enablement and written description, because, as

 discussed in Sections V.B.1.a and V.B.2.a below, the ’793 Patent does not disclose or enable

 converting treprostinil delivery between the two inhalation devices.

                                (2)     Claim 6

    6         The method of claim 1, wherein the formulation is a powder.


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        Claim 6 would have been obvious over Voswinckel 2006 in combination with the ’212

 Patent, which discloses and claims that powder formulations may be used to treat pulmonary

 hypertension. ’212 Patent at 5:37-39 (“Alternatively, solid formulations, usually in the form of a

 powder, may be inhaled in accordance with the present invention.”), claims 6 and 9. A POSA

 would have been motivated to convert Voswinckel 2006’s treprostinil solution to a powder because

 powders were known to be more stable formulations than solutions by May 2006, and the ʼ212

 Patent specifically claims such powder formulations for the same indication as Voswinckel 2006.

 See Frijlink and De Boer at 81; ’212 Patent at claim 9. A POSA would have had a reasonable

 expectation of success in doing so because converting a solution to dry powder was well known

 by 2006, and the ʼ212 Patent discloses and claims that treprostinil can be formulated as a powder

 for delivery by inhalation. See, e.g., Chew and Chan, “Pharmaceutical Dry Powder Aerosol

 Delivery,” KONA No. 19, pp. 46-56 (2001) at 51-53 (“Preparation of Powders” section), available

 at https://www.jstage.jst.go.jp/article/kona/19/0/19_2001010/_pdf.

        To the extent a POSA would not have a reasonable expectation of success in converting

 Voswinckel 2006’s treprostinil formulation to a powder, claim 6 of the ’793 Patent is invalid for

 lack of enablement and written description, because, as discussed in Sections V.B.1.a and V.B.2.a

 below, the ’793 Patent does not disclose or enable converting treprostinil delivery between the two

 inhalation devices.

                               (3)     Claim 7

    7        The method of claim 1, wherein the powder comprises particles less than 5
             micrometers in diameter.

        Claim 7 would have been obvious over Voswinckel 2006 in combination with the ’212

 Patent, which expressly discloses that “the particles are preferably less than 10 micrometers in

 diameter, and more preferably, less than 5 micrometers in diameter.” ’212 Patent, 5:39-41.

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 Further, it was generally known in the art that “inhaler devices should deliver particles smaller

 than approximately 5 µm in diameter in order to enter the lungs.” Newman at 58.

                               (4)     Claim 8

    8         The method of claim 1, wherein the formulation contains no metacresol.

         Claim 8 is disclosed in Voswinckel 2006 and the ’212 Patent. Voswinckel 2006 does not

 disclose the presence of metacresol in the described formulation of “inhaled treprostinil,” and the

 ’212 Patent discloses formulations without metacresol. See generally Voswinckel 2006; ’212

 Patent at 5:25-29 (disclosing formulation of a “more preferred solution” that does not include

 metacresol), 8:39-44 (disclosing steps of formulating treprostinil inhalation solution that do not

 include metacresol).

         Moreover, claim 8 would have been obvious over Voswinckel 2006 in combination with

 the ’212 Patent, as Voswinckel 2006 does not disclose the presence of metacresol in the described

 formulation of “inhaled treprostinil,” and the ’212 Patent discloses that the active ingredients

 include “liquid formulations comprising a benzindene prostaglandin, such as UT-15, alone or in

 combination with other active ingredients.” See generally Voswinckel 2006; see also, e.g., ’212

 Patent at 4:47-54 (emphasis added). Voswinckel 2006 in combination with the ’212 Patent

 therefore discloses a formulation of treprostinil that contains no metacresol.

                8.      Claim 1 of the ’793 Patent Would Have Been Obvious over Voswinckel
                        JAHA Alone

         Claim 1 of the ’793 Patent would have been obvious over Voswinckel JAHA by May 15,

 2006.

                        a.     Claims 1 Would Have Been Would Have Been Obvious

                               (1)     Claim Element 1[a]




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    1[a]       A method of treating pulmonary hypertension comprising administering by
               inhalation to a human suffering from pulmonary hypertension a therapeutically
               effective single event dose of a formulation comprising treprostinil or a
               pharmaceutically acceptable salt thereof

           Claim element 1[a] the ’793 Patent would have been obvious over Voswinckel JAHA,

 which teaches the recited method of treating pulmonary hypertension.           Voswinckel JAHA

 describes treating “17 patients with severe pulmonary hypertension” with “Inhaled Treprostinil

 Sodium (TRE).” Voswinckel JAHA at Title, Methods. Voswinckel JAHA also describes a single

 event dose of “3 breaths” of “TRE solution 600 µg/ml” having “strong pulmonary selective

 vasodilatory efficacy with a long duration of effect following single acute dosing.” Id. at Methods,

 Conclusion.

                                (2)     Claim Element 1[b]

    1[b]       with an inhalation device,

           Claim element 1[b] of the ’793 Patent would have been obvious over the Voswinckel

 JAHA, which expressly discloses “inhaled TRE” through “the use of the pulsed OptiNeb®

 ultrasound nebulizer.” Id. at Methods. A POSA as of May 2006 would have readily understood

 that this nebulizer is an inhalation device.

                                (3)     Claim Element 1[c]

    1[c]       wherein the therapeutically effective single event dose comprises from 15
               micrograms to 90 micrograms of treprostinil or a pharmaceutically acceptable salt
               thereof

           Claim element 1[c] of the ’793 Patent would have been obvious over Voswinckel JAHA,

 which teaches the claimed dosage amount for inhaled treprostinil. Voswinckel JAHA discloses

 treating patients with a single event dose of “TRE solution 600 µg/ml” through the use of the

 pulsed OptiNeb® ultrasound nebulizer. A POSA would understand that a patient taking 1 to 3


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 breaths of such a solution through a pulsed OptiNeb® ultrasound nebulizer would inhale between

 15 and 90 micrograms of treprostinil.

                                 (4)     Claim Element 1[d]

    1[d]        delivered in 1 to 3 breaths.

           Claim element 1[d] of the ’793 Patent would have been obvious over Voswinckel JAHA,

 which discloses treating patients with a single event dose of “3 breaths.” Voswinckel JAHA at

 Methods.


                  9.      Claims 1, 4, and 6-8 of the ’793 Patent Would Have Been Obvious Over
                          Voswinckel JAHA in Combination with the ’212 Patent

           The Asserted Claims of the ’793 Patent would have been obvious over Voswinckel JAHA

 in combination with the ’212 Patent by May 15, 2006. A POSA would have motivated to modify

 Voswinckel JAHA with the ’212 Patent with a reasonable expectation of success as described for

 the relevant limitations below.

                          a.     Claims 1 Would Have Been Would Have Been Obvious

                                 (1)     Claim Element 1[a]

    1[a]        A method of treating pulmonary hypertension comprising administering by
                inhalation to a human suffering from pulmonary hypertension a therapeutically
                effective single event dose of a formulation comprising treprostinil or a
                pharmaceutically acceptable salt thereof

           As explained above, claim element 1[a] of the ’793 Patent is disclosed in both Voswinckel

 JAHA and the ’212 Patent.

                                 (2)     Claim Element 1[b]

    1[b]        with an inhalation device,




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           As explained above, claim element 1[b] of the ’793 Patent is disclosed in both Voswinckel

 JAHA and the ’212 Patent.

                                  (3)     Claim Element 1[c]

    1[c]        wherein the therapeutically effective single event dose comprises from 15
                micrograms to 90 micrograms of treprostinil or a pharmaceutically acceptable salt
                thereof

           Claim element 1[c] of the ’793 Patent would have been obvious over Voswinckel JAHA

 in combination with the ’212 Patent.

           Voswinckel JAHA discloses treating patients with a single event dose of “TRE solution

 600 µg/ml” in “3 breaths” and teaches that this dose was effective in showing “strong pulmonary

 selective vasodilatory efficacy . . . following single acute dosing.’ Voswinckel JAHA at Methods,

 Conclusion. A POSA would understand Voswinckel JAHA’s disclosure of a single event dose of

 “3 breaths” of inhaled treprostinil having “strong pulmonary selective vasodilatory efficacy with

 a long duration of effect following single acute dosing” to mean that 3 breaths delivered an amount

 of the drug to be effective in treating pulmonary hypertension.

           The ’212 Patent expressly discloses that an effective amount of inhaled treprostinil is “from

 15 micrograms to 90 micrograms of treprostinil or a pharmaceutically acceptable salt thereof.”

 Specifically, the ’212 Patent states that “[i]n the case of treating peripheral vascular disease by

 inhalation of a benzindene prostaglandin of the present invention, the dosage for inhalation,

 taking into account that some of the active ingredient is breathed out and not taken into the

 bloodstream, should be sufficient to deliver an amount that is equivalent to a daily infusion

 dose in the range of 25 µg to 250 mg; typically from 0.5 µg to 2.5 mg, preferably from 7 µg to

 285 µg, per day per kilogram bodyweight.” ’212 Patent, 5:54-62 (emphasis added); see also id. at

 Figs. 16, 18. The ’212 Patent further explains that inhaled UT-15 “has a greater potency compared


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 to intravascularly administered UT-15, since the actual amount of UT-15 delivered via

 aerosolization delivery is only a fraction (10-50%) of the dosage delivered intravascularly.” Id. at

 8:9-18. A POSA would have been further informed by additional disclosures in the ’212 Patent

 that likewise teach the claimed dosage amount of “from 15 micrograms to 90 micrograms.” See,

 e.g., id. at 9:4-9 (disclosing delivery of 262.5 micrograms of nebulized UT-15); see also id. at

 11:7-13 (disclosing delivery of 250, 500, and 1000 micrograms per kg of body weight per minute

 of aerosolized UT-15). Accordingly, a POSA reading Voswinckel JAHA’s disclosure of 3 breaths

 with the effects described in Voswinckel JAHA’s conclusion would understand that the treprostinil

 was delivered within the claimed dosage range.

        A POSA would have been motivated to combine the Voswinckel JAHA’s breath disclosure

 with the dosage disclosure in the ’212 Patent, because both references are directed to the use of

 inhaled treprostinil sodium (also known as benzindene prostaglandin UT-15), for the successful

 treatment of pulmonary hypertension. See, e.g., ’212 Patent, Abstract (disclosing “[a] method of

 delivering benzindene prostaglandins to a patient by inhalation” for the treatment of “pulmonary

 hypertension”); see also Voswinckel JAHA (titled “Inhaled Treprostinil Sodium (TRE) For the

 Treatment of Pulmonary Hypertension”).

        Further, the general state of the art would have further motivated a POSA to combine the

 teachings of Voswinckel JAHA with those of the ’212 Patent. The relevant scientific literature

 was replete with teachings regarding the safe and effective administration of inhaled therapeutics,

 including prostaglandin analogs. See, e.g., Chaudry 2004 at [0037]-[0038], [0067] (disclosing that

 “a therapeutically effective amount of a hypertension-reducing agent may include from about

 0.001 mg/ml to about 20 mg/ml” and that delivery by inhalation “may take about . . . 3 minutes”);

 see also Ghofrani 2005 at p. 298 (disclosing administration of inhaled treprostinil at a dose of “15



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 mcg/inhalation” and that “it is possible to increase the dosage to up to 90 mcg”) (“[I]t is technically

 feasible for there to be only one to two breaths in an application.”); see also Clark 1995, Abstract;

 see also Olschewski 2002 at Abstract, 328; see also Ventavis® Label 2004 at 4, 16; see also

 OptiNeb® User Manual 2005 at 28; see generally, supra, “Additional Background Prior Art”

 section.

        A POSA also would have had a reasonable expectation of success in combining

 Voswinckel JAHA with the ’212 Patent to arrive at the Asserted Claims of the ’793 Patent. As

 noted, the two references pertain to the effective and improved use of inhaled treprostinil to treat

 pulmonary hypertension. See, e.g., ’212 Patent, Abstract; see also Voswinckel JAHA at Title. In

 fact, Voswinckel JAHA expressly states that “[t]olerability is excellent even at high drug

 concentrations and short inhalation times (3 breaths).” See Voswinckel JAHA at Conclusion. A

 POSA therefore would have expected success when modifying the Voswinckel JAHA to deliver

 treprostinil in 3 breaths at the effective dosage amounts disclosed in the ’212 Patent.

                                (4)     Claim Element 1[d]

    1[d]      delivered in 1 to 3 breaths.

        Claim element 1[d] of the ’793 Patent is disclosed in Voswinckel JAHA, which discloses

 treating patients with a single event dose of “3 breaths.” Voswinckel JAHA at Methods.

                        b.      Dependent Claims 4 and 6-8 Would Have Been Obvious

                                (1)     Claim 4

    4         The method of claim 1, wherein the inhalation device is a dry powder inhaler.

        Claim 4 of the ’793 Patent would have been obvious over Voswinckel JAHA in

 combination with the ’212 Patent, which discloses that an “inhaler” may be used to deliver the

 benzindene prostaglandin. ’212 Patent, 5:30-32. The ’212 Patent further states that “solid


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 formulations, usually in the form of a powder, may be inhaled in accordance with the present

 invention.” Id. at 5:37-39. The ’212 Patent specifically teaches the claimed dosages to be effective

 in treating inhaled treprostinil, and Voswinckel JAHA teaches that those dosages can be

 administered in 3 breaths. Accordingly, a POSA would have readily understood that “inhaled

 treprostinil” dosage and breath disclosure of Voswinckel JAHA could be expanded to use in “dry

 powder inhaler” as disclosed by the ’212 Patent. A POSA would have been motivated to do so

 because dry powder inhalers were well-known to be very portable and quick to use, breath-

 actuated, could be designed as single-dose or multi-dose devices, provided the “lowest cost dose,”

 and were easier for patients (especially children) to use than the pulsed ultrasonic nebulizer

 disclosed in Voswinckel 2006. Newman at 58, 61-62, 63; Geller 2005 at 1316-17; see also Frijlink

 and De Boer, “Dry powder inhalers for pulmonary drug delivery,” Expert Opinion on Drug

 Delivery, 1:1, pp. 67-86 (2004) at 81 (“Advantages such as the potential ability to generate high

 FPFs and a relatively high lung deposition, fast and easy administration, the ability to prepare

 stable formulations (compared with solutions), and the fact that DPIs are breath-actuated and easily

 portable, justify their existence.”).

         To the extent a POSA would not have a reasonable expectation of success in converting

 Voswinckel JAHA’s dosing regimen from a pulsed ultrasonic nebulizer to a dry powder inhaler,

 claim 4 of the ’793 Patent is invalid for lack of enablement and written description, because, as

 discussed in Sections V.B.1.a and V.B.2.a below, the ’793 Patent does not disclose or enable

 converting treprostinil delivery between the two inhalation devices.

                                 (2)     Claim 6

    6         The method of claim 1, wherein the formulation is a powder.




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           Claim 6 of the ’793 Patent would have been obvious over Voswinckel JAHA in

 combination with the ’212 Patent, which discloses that powder formulations may be used. ’212

 Patent, 5:37-39 (“Alternatively, solid formulations, usually in the form of a powder, may be

 inhaled in accordance with the present invention.”). A POSA would have been motivated to

 convert Voswinckel JAHA’s treprostinil solution to a powder because powders were known to be

 more stable formulations than solutions by May 2006. See Frijlink and De Boer, “Dry powder

 inhalers for pulmonary drug delivery,” Expert Opinion on Drug Delivery, 1:1, pp. 67-86 (2004) at

 81. A POSA would have had a reasonable expectation of success in doing so converting a solution

 to dry powder was well known by 2006. See, e.g., Chew and Chan, “Pharmaceutical Dry Powder

 Aerosol Delivery,” KONA No. 19, pp. 46-56 (2001) at 51-53 (“Preparation of Powders” section),

 available at https://www.jstage.jst.go.jp/article/kona/19/0/19_2001010/_pdf.

           To the extent a POSA would not have a reasonable expectation of success in converting

 Voswinckel JAHA’s treprostinil formulation to a powder, claim 6 of the ’793 Patent is invalid for

 lack of enablement and written description, because, as discussed in Sections V.B.1.b and V.B.2.b

 below, the ’793 Patent does not disclose or enable making a treprostinil powder formulation.

                                (3)     Claim 7

       7       The method of claim 1, wherein the powder comprises particles less than 5
               micrometers in diameter.

           Claim 7 of the ’793 Patent would have been obvious over Voswinckel JAHA in

 combination the ’212 Patent, which expressly discloses that “the particles are preferably less than

 10 micrometers in diameter, and more preferably, less than 5 micrometers in diameter.” ’212

 Patent, 5:39-41. Further, it was generally known in the art that “inhaler devices should deliver

 particles smaller than approximately 5 µm in diameter in order to enter the lungs.” Newman at

 58.

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                                 (4)     Claim 8

    8           The method of claim 1, wherein the formulation contains no metacresol.

           Claim 8 of the ’793 Patent is disclosed in Voswinckel JAHA and in the ’212 Patent as

 discussed above. Moreover, claim 8 would have been obvious over Voswinckel JAHA in

 combination with the ’212 Patent, as Voswinckel JAHA does not disclose the presence of

 metacresol in the described formulation of “inhaled treprostinil,” and the ’212 Patent discloses that

 the active ingredients include “liquid formulations comprising a benzindene prostaglandin, such

 as UT-15, alone or in combination with other active ingredients.” See generally Voswinckel

 JAHA; ’212 Patent; see also, e.g., ’212 Patent at 4:47-54 (emphasis added). Voswinckel JAHA

 in combination with the ’212 Patent therefore discloses a formulation of treprostinil that contains

 no metacresol.

                  10.    Claims 1, 4, and 6-8 of the ’793 Patent Would Have Been Obvious Over
                         the ’212 Patent in Combination with Voswinckel JESC and Voswinckel
                         JAHA

           The Asserted Claims of the ’793 Patent would have been obvious over the ’212 Patent in

 combination with Voswinckel JESC and Voswinckel JAHA by May 15, 2006. A POSA would

 have motivated to modify the ’212 Patent with Voswinckel JESC and Voswinckel JAHA with a

 reasonable expectation of success as described for the relevant limitations below.

                         a.      Claim 1 Would Have Been Obvious

                                 (1)     Claim Element 1[a]

    1[a]        A method of treating pulmonary hypertension comprising administering by
                inhalation to a human suffering from pulmonary hypertension a therapeutically
                effective single event dose of a formulation comprising treprostinil or a
                pharmaceutically acceptable salt thereof

           Claim element 1[a] the ’793 Patent is disclosed in the ’212 Patent, as described above in

 Section V.A.3.a.1.

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                                 (2)     Claim Element 1[b]

    1[b]        with an inhalation device,

           Claim element 1[b] of the ’793 Patent is disclosed in the ’212 Patent, as described above

 in Section V.A.3.a.2.

                                 (3)     Claim Element 1[c]

    1[c]        wherein the therapeutically effective single event dose comprises from 15
                micrograms to 90 micrograms of treprostinil or a pharmaceutically acceptable salt
                thereof

           The ’212 Patent discloses that “[i]t has been discovered that aerosolized UT-15 has both

 greater potency and efficacy” for “attenuating chemically induced pulmonary hypertension” as

 compared to intravascular delivery. ’212 Patent at 8:5-8. The ’212 Patent quantifies this potency,

 teaching that “aerosolized UT-15 has a greater potency as compared to intravascularly

 administered UT-15, since the actual amount of UT-15 delivered via aerosolization delivery is

 only a fraction (10-50%) of the dosage delivered intravascularly.” Id. at 8:8-12.

           Given these teachings, the successful sheep data, and the claims of the ’212 Patent, a POSA

 would have been motivated to look for data administering inhaled treprostinil in humans with PH

 and the doses used therein. A POSA would have been readily led to Voswinckel JESC, which

 discloses the effective administration of inhaled treprostinil for human patients with pulmonary

 arterial hypertension for 6 minutes on the OptiNeb® nebulizer of treprostinil solution at a

 concentrations of 16 to 64 µg/mL. Voswinckel JESC at Methods.

           As explained above at Section V.A.2.d., a skilled artisan would have understood at least

 16, 32, 48, or 64 µg of treprostinil were delivered to patients with PAH in this study, and that

 understanding would have been confirmed by the volume of solution a POSA would have expected

 to be nebulized by the OptiNeb® device used in the study, as well as the nebulizers known in the


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 art. Specifically, a POSA would have expected at least 1 mL of the treprostinil solution was used

 over 6 minutes of inhalation, and thus would understand, therefore, at least 16, 32, 48, or 64 µg of

 treprostinil were delivered to different dosing groups in this study. Such dosages would make

 sense to a POSA for patients being administered treprostinil for the first time. Numerous

 nebulizers used at the time were known and expected to deliver more than 1 mL of solution. 37 In

 fact, a POSA would have expected the OptiNeb® device used at the time (before 2006) to nebulize

 (i.e., turned liquid to aerosol) at a rate of 0.6 mL of solution per minute. OptiNeb® User Manual

 2005 at 28. Assuming continuous administration over 6 minutes, the administered volume would

 have been as much as 0.6 x 6, or 3.6mL. Thus, at 16 µg/mL, which is what Voswinckel JESC

 recommends as the concentration at which “near maximal pulmonary vasodilatation is achieved

 without adverse [side] effects” (Voswinckel JESC at Conclusion), the administered single event

 dose could be as high as 0.6 mL/min x 16 µg/mL x 6 min = 57.6 µg.

        This understanding is confirmed by the intravascular dosing of UT-15 to treat pulmonary

 hypertension approved by the FDA in 2004 for intravascular treatment of pulmonary hypertension

 at a dosage of 1.25 ng/kg/min. Remodulin® Label at Dosage and Administration. The label

 provides calculations based on a 60 kg and 65 kg patient. Id. at 10. Accordingly, a POSA

 administering Remodulin® would have known he was giving his patients a daily treprostinil dose

 of 1.25 ng x 60 kg x (24x60) min to 1.25 ng x 65 kg x (24x60) min, which is to 108 to 117

 micrograms. A POSA would apply the ’212 Patent’s 10-50% adjustment between intravascular

 and inhaled dosing (’212 Patent at 8:5-12) and understand the ’212 Patent to be teaching that an




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   See, e.g., AccuNeb® Label at Dosage and Administration (3 mL dose); Ventavis® Label 2004 at
 Dosage and Administration (2.5-5 mL dose); Pulmozyme® Label at Dosage and Administration
 (2.5 mL dose).
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 FDA-approvable effective dosage of aerosolized treprostinil for the treatment of pulmonary

 hypertension would be 10.8 to 58.5 micrograms. Id. This range covers over half of the claimed

 15 to 90 µg dosage. 38

         Accordingly, a POSA would understand the ’212 Patent in combination with Voswinckel

 JESC to disclose an inhaled single event dosage range of 15 to 90 µg of treprostinil as claimed.

                                 (4)     Claim Element 1[d]

      1[d]    delivered in 1 to 3 breaths.

         A POSA would have known to increase patient compliance and convenience, it would be

 desirable to reduce the number of breaths required for delivery of treprostinil by inhalation. A

 POSA who understood the necessary amount of dosing for aerosolized delivery of treprostinil

 would then look to the art for the fewest number of breaths in which that delivery could occur.

         Voswinckel JAHA discloses a low number of breaths for the aerosolized delivery of

 treprostinil specifically for treatment of pulmonary hypertension. Thus, a POSA would understand

 the ’212 Patent and Voswinckel JESC’s dosage teachings would be readily applicable to the breath

 disclosure of Voswinckel JAHA. In particular, Voswinckel JAHA states “[p]atients received a

 TRE [inhaled treprostinil sodium] by use of the pulsed OptiNeb® ultrasound nebulizer (3 single

 breaths, TRE solution 600 µg/ml)” and further observes that “[t]olerability is excellent even at




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     In addition, the ’212 Patent discloses that “[i]n the case of treating peripheral vascular disease .
 . . [,] the dosage for inhalation . . . should be sufficient to deliver an amount that is equivalent to a
 daily [intravascular] infusion dose in the range of 25µg to 250mg.” ’212 Patent at 5:54-62; see
 also id., Figs. 16, 18. By teaching that only 10-50% is needed for inhalation (id., 8:5-12), the ’212
 Patent discloses that the effective dosage of inhaled treprostinil for treating peripheral vascular
 disease would be 2.5µg (micrograms) to 125mg (milligrams). This encompasses the full 15 to 90
 micrograms claimed by the ’793 Patent. Accordingly, given the fact that the ʼ212 Patent is directed
 to methods of treating both pulmonary hypertension and peripheral vascular disease (see id., 13:26-
 14:29, claims 6 and 9), a POSA would understand that an inhaled dosage of 15 to 90 micrograms
 of treprostinil for treatment of pulmonary hypertension would be equally possible.
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 high drug concentrations and short inhalation times (3 breaths)” with “strong pulmonary selective

 vasodilatory efficacy with a long duration of affect following single acute dosing.”             See

 Voswinckel JAHA at Methods, Conclusion (emphases added). A POSA therefore would have

 applied the 3-breath delivery disclosure of Voswinckel JAHA to the teachings of the ’212 Patent

 to improve patient adherence to treatment.

        Accordingly, a POSA reading the ’212 Patent and Voswinckel JESC and applying

 Voswinckel JAHA’s teachings to increase patient compliance and ease of use would have thought

 it obvious to administer treprostinil via inhalation in 3 breaths, thereby rendering 1[d] obvious.

                         b.      Dependent Claims 4 and 6-8 Would Have Been Obvious

                                 (1)     Claim 4

    4           The method of claim 1, wherein the inhalation device is a dry powder inhaler.

        Claim 4 of the ’793 Patent is disclosed in the ’212 Patent, as described above in Section

 V.A.4.b.(1).

                                 (2)     Claim 6

    6           The method of claim 4, wherein the formulation is a powder.

        Claim 6 of the ’793 Patent is disclosed in the ’212 Patent, as described above in Section

 V.A.4.b.(2).

                                 (3)     Claim 7

    7           The method of claim 6, wherein the powder comprises particles less than 5
                micrometers in diameter.

        Claim 7 of the ’793 Patent is disclosed in the ’212 Patent, as described above in Section

 V.A.4.b.(3).

                                 (4)     Claim 8



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    8           The method of claim 1, wherein the formulation contains no metacresol.

        Claim 8 of the ’793 Patent is disclosed in the ’212 Patent, as described above in Section

 V.A.4.b.(4).

        Claim 8 is also disclosed in Voswinckel JAHA. Voswinckel JAHA also specifically states

 that a “preservative free solution of inhaled TRE” was used (Voswinckel JAHA at Methods),

 which a POSA would understand to mean that the solution contained no metacresol, because

 metacresol was known in 2006 to be a preservative. ’793 Patent, 15:40-41 (referring to a

 “metacresol preservative” in “treprostinil solution”).

                         c.     Motivation to Combine ’212 Patent with Voswinckel JESC and
                                Voswinckel JAHA With a Reasonable Expectation of Success

        A POSA would have been motivated to combine the ’212 Patent with Voswinckel JESC

 and Voswinckel JAHA to arrive at the claims of the ’793 Patent. All three publications are directed

 to solving the same problem (treatment of pulmonary hypertension) via the same means (inhaled

 treprostinil). See, e.g., ’212 Patent at Abstract (disclosing “[a] method of delivering benzindene

 prostaglandins to a patient by inhalation” for the treatment of “pulmonary hypertension”);

 Voswinckel JESC at Background, Results (investigating “inhaled treprostinil” on patients with

 “idiopathic PAH”); Voswinckel JAHA (titled “Inhaled Treprostinil Sodium (TRE) For the

 Treatment of Pulmonary Hypertension”).

        A POSA starting with the ’212 Patent would understand that it discloses use of inhaled

 treprostinil sodium (UT-15) for the treatment of pulmonary hypertension, discloses a dosage range

 for intravascular administration of treprostinil for the treatment of pulmonary vascular disease, and

 discloses that only 10-50% of the dosage delivered intravascularly would be needed via inhalation

 to have the same therapeutic effect. ’212 Patent at Abstract, 6:1-2 (disclosing “[a] method of

 delivering benzindene prostaglandins” “including UT-15” “to a patient by inhalation” for the

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 treatment of “pulmonary hypertension”); 5:54-62 (“daily infusion dose in the range of 25 µg to

 250 mg; typically from 0.5 tg [sic] to 2.5 mg, preferably from 7 µg to 285 µg, per day per kilogram

 bodyweight”), 8:9-17 (the “actual amount of UT-15 delivered via aerosolization delivery” need

 only be “a fraction (10-50%) of the dosage delivered intravascularly”).

        A POSA would also understand the ʼ212 Patent discloses experiments in sheep and

 explains sheep are a model of pulmonary arterial hypertension in humans. Id. at 9:14-27;

 Examples I-V and accompanying Figs.           A POSA would further understand these sheep

 experiments were relied upon to support claims directed to treating pulmonary hypertension in

 mammals, which include humans, via inhaled solutions and powder formulations of treprostinil.

 Id. at claims 6, 9. Given these teachings, a POSA would have been motivated to further investigate

 inhaled treprostinil as a treatment for PH in humans and would have looked to the results of

 Voswinckel JESC and Voswinckel JAHA, which report on this very issue.

        Voswinckel JESC, published after issuance of the ʼ212 Patent, confirms the results of the

 ʼ212 Patent that inhaled treprostinil is a safe and effective means for treating PH in humans.

 Voswinckel JESC discloses the effective administration of inhaled treprostinil for human patients

 with PAH via a nebulizer for 6 minutes. Voswinckel JESC at Methods. As detailed above at

 Section V.A.1.d, a POSA would understand Voswinckel JESC to disclose delivery of at least 16

 to 64 µg of inhaled treprostinil in a single event dose to achieve this effectiveness. A POSA would

 have a reasonable expectation of success in combining the ’212 Patent’s disclosure with the dosage

 of Voswinckel JESC, because Voswinckel JESC’s results showed that “[t]reprostinil inhalation

 results in significant long-lasting pulmonary vasodilatation” and that “near maximal pulmonary

 vasodilatation is achieved without adverse effects.” Id. at Conclusion.




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        Having established via the ʼ212 Patent and Voswinckel JESC that inhaled treprostinil can

 be used to safely and effectively treat PH, a POSA would have been further motivated to reduce

 the duration of treatment to increase patient convenience and adherence—from the 6 minutes

 disclosed in Voswinckel JESC to 3 breaths, as disclosed in Voswinckel JAHA. As explained

 above, the problem of patient nonadherence to inhaled medications was well-understood, and a

 POSA in May 2006 would have readily appreciated reducing the number of breaths for drug

 delivery would increase patient adherence and, in turn, treatment outcome. See supra, Section

 V.A.2.c. A POSA would also have understood that reducing the duration of treatment would

 require increasing the concentration of the administered treprostinil solution, which is confirmed

 by Voswinckel JAHA’s use of a 600 mcg/mL solution. Voswinckel JAHA at Methods.

        A POSA would have a reasonable expectation of success with this combination, because

 Voswinckel JAHA teaches that “[t]olerability is excellent even at high drug concentrations 39 and

 short inhalation times (3 breaths)” with “strong pulmonary selective vasodilatory efficacy with a

 long duration of effect following single acute dosing.” Id. at Conclusion. Additionally, the

 relevant scientific literature taught safe and effective administration of high dosages of inhaled

 therapeutics in short durations. See, e.g., Ghofrani at 298 (disclosing administration of inhaled

 treprostinil at a dose of “15 mcg/inhalation” and that “it is possible to increase the dosage to up to

 90 mcg” and that “it is technically feasible for there to be only one to two breaths in an

 application.”); Geller 2003 at 177 (delivery 0.45mg of drug in 3 breaths). In sum, a POSA would

 have expected to succeed in reducing the number of breaths when delivering 15-90 µg of inhaled




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   Voswinckel JAHA’s results confirm the conclusions reached in the ʼ212 Patent that “aerosolized
 UT-15 can be given in high doses without significant non-lung effects, i.e., heart rate, cardiac
 output.” ’212 Patent at 10:51-57.
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 treprostinil, due to the general state of the art regarding the safety and efficacy of such dosages of

 inhaled therapeutics, the known problem of patient noncompliance, and Voswinckel JAHA’s

 explicit disclosure that administration of treprostinil was successful.

           A POSA would expect Voswinckel JESC’s dosage and Voswinckel JAHA’s breaths to be

 a therapeutically effective dosing regimen for PH, and would be motivated by the ’212 Patent’s

 disclosure that “solid formulations, usually in the form of a powder” could also “be inhaled in

 accordance with the [’212 Patent’s] invention” to create a dry powder that provided the same single

 event dosage as Voswinckel JESC and breath limitations of Voswinckel JAHA with a reasonable

 expectation of success. ’212 Patent at 5:30-32, 5:37-41, claims 6, 9.

           Therefore, a POSA would have been motived to and had a reasonable expectation of

 success in combining the teachings of the ’212 Patent with the dosage of Voswinckel JESC and

 the breaths of Voswinckel JAHA, the combination of which renders all claims invalid, as explained

 below.

                  11.    Claims 1, 4, and 6-8 of the ’793 Patent Would Have Been Obvious Over
                         the ’212 Patent and Voswinckel JESC

           The Asserted Claims of the ’793 Patent would have been obvious over the ’212 Patent in

 combination with Voswinckel JESC by May 15, 2006. A POSA would have motivated to modify

 the ’212 Patent with Voswinckel JESC with a reasonable expectation of success as described for

 the relevant limitations below.

                         a.      Claim 1 Would Have Been Obvious

                                 (1)     Claim Element 1[a]-[c]

    1[a]        A method of treating pulmonary hypertension comprising administering by
                inhalation to a human suffering from pulmonary hypertension a therapeutically
                effective single event dose of a formulation comprising treprostinil or a
                pharmaceutically acceptable salt thereof
    1[b]        with an inhalation device,

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    1[c]        wherein the therapeutically effective single event dose comprises from 15
                micrograms to 90 micrograms of treprostinil or a pharmaceutically acceptable salt
                thereof

           Claim elements 1[a]-[b] are disclosed in the ’212 Patent, as described above in Section

 V.A.4.a.(1)-(2).     Claim element 1[c] is disclosed by the ’212 Patent in combination with

 Voswinckel JESC, as described above in Section V.A.11.a.(3).

                                 (2)     Claim Element 1[d] is obvious via routine optimization

    1[d]        delivered in 1 to 3 breaths.

           Element 1[d] would have been obvious over the ’212 Patent and Voswinckel JESC in view

 of a POSA’s general knowledge in the field and/or by applying routine optimization.

           A POSA reading the ’212 Patent and Voswinckel JESC would have been motivated to

 minimize the number of breaths required for administration of treprostinil by inhalation, to

 increase patient compliance and convenience. See Chaudry 2004 at [0063] (“Reducing the amount

 of time to complete the treatment means individuals will be more likely to comply with the

 prescribed dosing regimen and achieve optimal benefit from the medication prescribed.”). In

 addition, by May 2006, the general state of the art had established the safety and efficacy of high

 dosages of inhaled therapeutics delivered over a small number of breaths. See, e.g., Geller 2005

 at 177 (delivery of 0.45mg of drug in 3 breaths); Ghofrani at 298 (“[I]t is technically feasible for

 there to be only one to two breaths in an application.”); Voswinckel JAHA at Methods

 (administration of 600 µg/mL treprostinil in 3 breaths); Voswinckel 2006 at 150 (administration

 of 15µg treprostinil in 3 breaths). Further, claim 9 of the ʼ212 Patent is specifically directed to an

 inhaled powder formulation of treprostinil, which is commonly delivered by dry powder inhalers.

 ’212 Patent, claim 9. Dry powder inhalers are breath-actuated as opposed to delivering doses over

 a set period of time. Frijlink & De Boer at 81 (“Advantages such as the potential ability to generate


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 high FPFs and a relatively high lung deposition, fast and easy administration, the ability to prepare

 stable formulations (compared with solutions), and the fact that DPIs are breath-actuated and easily

 portable, justify their existence.”). Therefore, a POSA would have been encouraged to and found

 it obvious to modify the teachings of the ’212 Patent and Voswinckel JESC to deliver inhaled

 treprostinil in 1 to 3 breaths.

         Relying on the ’212 Patent and Voswinckel JESC to deliver inhaled treprostinil in 1 to 3

 breaths would have amounted to mere routine optimization. See, e.g., Genzyme Therapeutic

 Prods. L.P. v. Biomarin Pharm., Inc., 825 F.3d 1360, 1365, 1373 (Fed. Cir. 2016) (affirming

 decision finding dosing claims obvious when “the claimed dosing schedule would have been

 arrived at by routine optimization”); see also Hoffmann-La Roche, 748 F.3d at 1329-31 (affirming

 decision finding dosing claims obvious because “[a] relatively infrequent dosing schedule has long

 been viewed as a potential solution to the problem of patient compliance”); see also Merck, 395

 F.3d at 1373 (reversing decision to find claims obvious that covered slightly different dosages

 from those of the prior art). In fact, the ’212 Patent itself contemplates dose optimization as a

 matter of routine. ’212 Patent at 6:56-7:3 (“Titration to effect may be used to determine proper

 dosage.”), 7:25-33; see also generally id. at 1:10-2:64. Such titration to effect was well known in

 similar aerosolized prostacyclin therapy.     Walmrath 1993 at 962 (“Titration of aerosolized

 [prostacyclin] in individual patients might be necessary to produce selective vasodilation in well-

 ventilated lung areas.”); Hoeper at 1867-868. A POSA therefore would have understood the

 benzindene prostaglandin (i.e., treprostinil) disclosed in the ’212 Patent and Voswinckel JESC

 could be “delivered in 1 to 3 breaths.”

                         b.        Dependent Claims 4 and 6-8 Would Have Been Obvious

         The additional limitations of dependent claims 4 and 6-8 are disclosed in the ’212 Patent,

 as explained above in Section V.A.4.a.(1)-(4).
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                           c.    Motivation to Combine the ’212 Patent with Voswinckel JESC

           A POSA would have been motivated to combine the ’212 Patent with Voswinckel JESC,

 because both disclose use of the same drug (treprostinil/UT-15) for the same disease (pulmonary

 arterial hypertension) through the same route of administration (inhalation of solution of

 treprostinil). The first four paragraphs of Section V.A.11.c. explain why a POSA would have been

 motivated to combine these references with a reasonable expectation of success.

                  12.      Claim 1 of the ’793 Patent is Anticipated by Ghofrani

           Asserted Claim 1 of the ’793 Patent was anticipated by Ghofrani by May 15, 2006 as

 described for the relevant limitations below.

                           a.    Claim 1 is Anticipated by Ghofrani

                                 (1)     Claim Element 1[a]

    1[a]        A method of treating pulmonary hypertension comprising administering by
                inhalation to a human suffering from pulmonary hypertension a therapeutically
                effective single event dose of a formulation comprising treprostinil or a
                pharmaceutically acceptable salt thereof

           Element 1[a] is disclosed by Ghofrani, which teaches the recited method of treating

 pulmonary hypertension. Ghofrani, in relevant part, discloses the efficacy of “inhaled treprostinil”

 for 17 patients with “pulmonary hypertension” at a dosage of “15mcg/inhalation” for total dosage

 of “up to 90mcg . . . without adverse effects occurring.” Ghofrani at 298. Ghofrani further

 discloses that “initial data shows that it is technically feasible for there to be only one to two breaths

 in an application.” Id.

                                 (2)     Claim Element 1[b]

    1[b]        with an inhalation device,

           Element 1[b] is disclosed by Ghofrani, which states patients were administered “inhaled

 treprostinil,” which would require an inhalation device. Ghofrani at 298. Ghofrani further

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 discloses that “it is possible to reduce the number [of] inhalations necessary to up to four per day;

 the inhalation period can be reduced to <1min. by selecting a suitable device.” Id. A POSA as

 of May 2006 would have readily understood such a “suitable device” to be an inhalation device.

                                    (3)     Claim Element 1[c]

      1[c]        wherein the therapeutically effective single event dose comprises from 15
                  micrograms to 90 micrograms of treprostinil or a pharmaceutically acceptable salt
                  thereof

             Ghofrani discloses a study in which patients “were administered [a single event dose of]

 inhaled treprostinil (15 mcg 40/inhalation).” Ghofrani at 298. That dose “led to a major reduction

 in pulmonary selective pressure and resistance with an overall duration of action of >180 min.”

 Id. Ghofrani further discloses “it is possible to increase the dosage to up to 90 mcg (absolute

 inhaled dose per inhalation exercise) without adverse effects occurring.” Id. Ghofrani thus

 discloses a per inhalation exercise (i.e., single event dose) that covers the claimed dosage range.

                                    (4)     Claim Element 1[d]

      1[d]        delivered in 1 to 3 breaths.

             Ghofrani discloses that “it is technically feasible for there to be only one to two breaths in

 an application” of the claimed dosage, disclosing element 1[d] to a POSA. Ghofrani at 298.

                    13.     Claims 1 and 8 of the ’793 Patent Would Have Been Obvious Over
                            Voswinckel JAHA and Ghofrani

             Asserted Claims 1 and 8 of the ’793 Patent would have been obvious over the ’212 Patent

 in combination with Voswinckel JAHA and Ghofrani by May 15, 2006. A POSA would have

 been motivated to modify Voswinckel JAHA with Ghofrani with a reasonable expectation of

 success as described for the relevant limitations below.



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      A POSA would have understood that “mcg” and “µg” refer to micrograms.
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                         a.      Claim 1 Would Have Been Obvious

                                 (1)     Claim Element 1[a]

    1[a]        A method of treating pulmonary hypertension comprising administering by
                inhalation to a human suffering from pulmonary hypertension a therapeutically
                effective single event dose of a formulation comprising treprostinil or a
                pharmaceutically acceptable salt thereof

           Element 1[a] is disclosed by Voswinckel JAHA, which teaches the recited method of

 treating pulmonary hypertension. Voswinckel JAHA describes treating “17 patients with severe

 pulmonary hypertension” with “Inhaled Treprostinil Sodium (TRE).” Voswinckel JAHA at Title,

 Methods. Voswinckel JAHA also describes a single event dose of “3 single breaths” of “TRE

 solution 600 µg/ml” having “strong pulmonary selective vasodilatory efficacy with a long duration

 of effect following single acute dosing.” Id. at Methods, Conclusion.

           Ghofrani also discloses element 1[a], as described above in Section V.A.13.a.(1).

                                 (2)     Claim Element 1[b]

    1[b]        with an inhalation device,


           Element 1[b] is disclosed by Voswinckel JAHA, which expressly discloses “inhaled TRE”

 through the “use of the pulsed OptiNeb® ultrasound nebulizer.” Voswinckel JAHA at Methods.

 A POSA as of May 2006 would have readily understood that this nebulizer is an inhalation device.

           Ghofrani also discloses element 1[b], as described above in Section V.A.13.a.(2).

                                 (3)     Claim Element 1[c]

    1[c]        wherein the therapeutically effective single event dose comprises from 15
                micrograms to 90 micrograms of treprostinil or a pharmaceutically acceptable salt
                thereof

           Element 1[c] would have been obvious over Voswinckel JAHA in combination with

 Ghofrani. Because Voswinckel does not expressly provide the total dose administered in its single


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 event dose, a POSA would have looked to Ghofrani to fill in the optimal single event dosing range,

 since “both references disclose that inhaled administration of treprostinil at these doses in 1-3

 breaths was an effective treatment for pulmonary hypertension.” In Ghofrani, patients “were

 administered inhaled treprostinil (15 mcg/inhalation).”     Ghofrani at 298.     Ghofrani further

 discloses that “it is possible to increase the dosage to up to 90 mcg (absolute inhaled dose per

 inhalation exercise) without adverse effects occurring.” Id. Ghofrani further discloses that “it is

 technically feasible for there to be only one to two breaths in an application.” Id. Thus, a POSA

 would have understood that Ghofrani was disclosing a 15 to 90 µg single event dose—the entire

 claimed range—in the same 1-3 breath range as Voswinckel JAHA. A POSA administering

 treprostinil in accordance with the teachings of Voswinckel JAHA would have been motivated to

 use the range of doses disclosed by Ghofrani because such doses “led to a major reduction in

 pulmonary selective pressure and resistance with an overall duration of action of > 180 min . . .

 without adverse effects occurring,” i.e., a POSA would understand that this dose was

 therapeutically effective and safe. Ghofrani at 298.

                               (4)     Claim Element 1[d]

    1[d]      delivered in 1 to 3 breaths.

         Element 1[d] is disclosed by Voswinckel JAHA, which discloses treating patients with a

 single event dose of “3 single breaths.” Voswinckel JAHA at Methods. Ghofrani further discloses

 that “it is technically feasible for there to be only one to two breaths in an application” of the

 claimed dosage. Ghofrani at 298. Thus, both Voswinckel JAHA and Ghofrani disclose element

 1[d].

                        b.     Dependent Claim 8 Would Have Been Obvious

                               (1)     Claim 8



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    8         The method of claim 1, wherein the formulation contains no metacresol.

        The limitation of claim 8 is disclosed by Voswinckel JAHA, which states that a

 “preservative free solution of inhaled TRE” was used (Voswinckel JAHA at Methods), which a

 POSA would understand to mean that the solution contained no metacresol, because metacresol

 was known in 2006 to be a preservative. See ’793 Patent at 15:40-41 (referring to a “metacresol

 preservative” in “treprostinil solution”).

                        c.      Motivation to Combine Voswinckel JAHA and Ghofrani with a
                                Reasonable Expectation of Success

        The Patent Trial and Appeal Board has found that “Voswinckel [2004] references a 17

 patient study that appears to be the same as the 17 patent study discussed in the relevant portions

 of Ghofrani.” Watson Labs., Inc. v. United Therapeutics Corp., IPR2017-01621, Paper 10 at 14

 (P.T.A.B. Jan. 11, 2018). A POSA would have expected the disclosures of Ghofrani to apply to

 Voswinckel JAHA.

        Even if not the same study, every author of Ghofrani is also an author of Voswinckel

 JAHA, motivating a POSA to look at Ghofrani for additional details after reviewing the

 Voswinckel JAHA Abstract. Compare Ghofrani, with Voswinckel JAHA. Since Voswinckel

 JAHA does not expressly provide the total dose administered in its single event dose of 1 to 3

 breaths, a POSA would have been motivated to look to Ghofrani for the optimal dosing range in

 Voswinckel JAHA’s breath range.              Ghofrani discloses a study in which patients “were

 administered inhaled treprostinil (15 mcg/inhalation),” teaches that “it is possible to increase the

 dosage to up to 90 mcg (absolute inhaled dose per inhalation exercise) without adverse effects

 occurring,” and discloses that “it is technically feasible for there to be only one to two breaths in

 an application” with these dose ranges. Ghofrani at 298. Thus, a POSA would have been

 motivated to combine Voswinckel JAHA with the 15-90 mcg dosage disclosure of Ghofrani.

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        A POSA would have had a reasonable expectation of success in combining the two,

 because both references teach successful safety and efficacy of inhaled treprostinil at their

 respective breath and dosage levels. Voswinckel JAHA teaches that its “inhalation resulted in a

 sustained, highly pulmonary selective vasodilatation over 120 minutes,” showing “strong

 pulmonary selective vasodilatory efficacy with a long duration of effect following single acute

 dosing” with “[n]o side effects.” Voswinckel JAHA at Results, Conclusion. Ghofrani teaches that

 its dosing “led to a major reduction in pulmonary selective pressure and resistance with an overall

 duration of action of >180 min . . . without adverse effects occurring.” Ghofrani at 298.

        B.      Claims 1, 4, and 6-8 Are Invalid Under 35 U.S.C. § 112

        Claims 1, 4, and 6-8 of the ’793 Patent are invalid under 35 U.S.C. § 112 for lack of written

 description support and lack of enablement. To the extent UTC contends that claims 1, 4, and 6-

 8 of the ’793 Patent are not obvious, the asserted claims of the ’793 patent are invalid under 35

 U.S.C. § 112 for the reasons stated below. The legal standards for written description and

 enablement under § 112 are set forth above in Section II.C.

                1.     Claims 1, 4, and 6-8 Lack Written Description Support

                       a.      The Limitation Reciting “15 micrograms to 90 micrograms . . .
                               delivered in 1 to 3 breaths” in Claims 1, 4, and 6-8 Lacks Written
                               Description Support

        Independent claim 1 of the ’793 Patent requires administering “from 15 micrograms to 90

 micrograms of treprostinil or a pharmaceutically acceptable salt thereof delivered in 1 to 3

 breaths.” ’793 Patent, claim 1. Claims 4 and 6-7 depend from claim 1 and further recite,

 respectively, “wherein the inhalation device is a dry powder inhaler,” “wherein the formulation is

 a powder,” and “wherein the powder comprises particles less than 5 micrometers in diameter.” Id.

 at claims 4, 6-7. As such, claim 1 and claim 8, which depends from claim 1, must be construed

 broadly enough to include the use of a dry powder formulation and DPI delivering 15 to 90

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 micrograms. However, the specification of the ’793 Patent contains only a single statement

 regarding dry powder formulations and dry powder inhalers. Id. at 7:22-26 (“The inhalation device

 can also be a dry powder inhaler. In such case, the respiratory drug is inhaled in solid formulation,

 usually in the form of a powder with particle size less than 10 micrometers in diameter or less than

 5 micrometers in diameter.”).

        During prosecution of a related patent, U.S. Patent No. 9,358,240 (“the ’240 Patent”), UTC

 filed a declaration of Dr. Edmund J. Elder, Jr., to overcome the Examiner’s prior art rejections.

 ’240 File History, 02/02/2016 Declaration under 37 C.F.R. § 1.132 of Dr. Edmund J. Elder, Jr. In

 his declaration, Dr. Elder noted that delivery of the drug through a “single event,” as claimed here

 by the ’793 Patent, depends upon a number of factors associated with the nebulizer, including “fill

 volume” and “dead volume,” which are in turn used to calculate the “delivered volume.” Id. at ¶¶

 8, 11-12. However, all of the doses and examples disclosed in the ’793 Patent are directed to

 aerosolized solutions—not dry powder formulations. See ’793 Patent, 8:56-18:11. Moreover, the

 discussion of the doses needed and concentrations of treprostinil are in the context of metered dose

 inhalers, which utilize solutions rather than dry powder formulations. See, e.g., ’793 Patent, 7:45-

 53. The ’793 Patent does not disclose the dosage amount of powder formulation needed for

 administration via a dry powder inhaler—much less any experimental data to support the claim

 language reciting “dry powder inhaler” and “powder” formulations. In fact, the specification is

 lacking any details or guidance as to the dosage amount or number of breaths required to treat

 pulmonary hypertension using a powder formulation administered with a dry powder inhaler, as

 claimed.

        Accordingly, a POSA reading the specification of the ’793 Patent would conclude that the

 inventors were not in possession of a method of treatment using a dry powder inhaler to deliver a



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 powder formulation at the claimed dosage amount of 15-90 micrograms delivered in 1 to 3 breaths.

 The specification’s sole generic disclosure regarding dry powder formulations and dry powder

 inhalers is not sufficient to allow a POSA to recognize that the inventor actually invented what is

 claimed, particularly in light of Dr. Elder’s testimony during prosecution of a related patent. The

 ’793 Patent fails to describe what the dry powder formulation is, much less how to formulate

 treprostinil into a dry powder. The specification is completely lacking in working examples of

 delivering 15-90 micrograms of powder treprostinil in 1 to 3 breaths using a dry powder inhaler.

 In fact, to our knowledge, Liquidia’s LIQ861 product “will be the first-to-market inhaled dry

 powder treprostinil that can be delivered using a convenient, palm-sized, disposable DPI.” See

 D.I. 31-1 (Exhibits to UTC’s Motion to Dismiss Counterclaims) at 32. Thus, claims 1, 4, and 6-8

 are invalid for lack of written description.

                        b.      The Limitations Reciting “Powder” in Claims 1, 4, and 6-8 Lack
                                Written Description Support

        As noted, claims 4 and 6-7 of the ’793 Patent recite, respectively, “wherein the inhalation

 device is a dry powder inhaler,” “wherein the formulation is a powder,” and “wherein the powder

 comprises particles less than 5 micrometers in diameter.” ’793 Patent, claims 4, 6-7. Claims 4

 and 6-8 ultimately depend from claim 1. Accordingly, claims 1 and 8 must be construed to include

 the use of a powder formulation and DPI. However, the specification of the ’793 Patent contains

 only a single statement regarding dry powder formulations and dry powder inhalers. Id. at 7:22-

 26 (“The inhalation device can also be a dry powder inhaler. In such case, the respiratory drug is

 inhaled in solid formulation, usually in the form of a powder with particle size less than 10

 micrometers in diameter or less than 5 micrometers in diameter.”). This bare disclosure is not

 sufficient to convey to a POSA that the inventors were in possession of a method of treatment

 using a dry powder in haler to deliver a powder formulation, particularly in light of Dr. Elder’s


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 testimony described above. Indeed, the ’793 Patent fails to describe what the dry powder

 formulation is, much less how to formulate treprostinil into a dry powder. The specification is

 completely lacking in working examples of delivering powder treprostinil using a dry powder

 inhaler. In fact, to our knowledge, Liquidia’s LIQ861 product “will be the first-to-market inhaled

 dry powder treprostinil that can be delivered using a convenient, palm-sized, disposable DPI.” See

 D.I. 31-1 (Exhibits to UTC’s Motion to Dismiss Counterclaims) at 32. Thus, claims 1, 4, and 6-8

 are invalid for lack of written description.

                        c.      The Limitation Reciting “Method of Treating Pulmonary
                                Hypertension” Lacks Written Description Support

        Claim 1 recites a “method of treating pulmonary hypertension.” ’793 Patent, claim 1.

 Claims 4 and 6-8 ultimately depend from claim 1. Accordingly, claims 4 and 6-8 must be

 construed to include a method of treating pulmonary hypertension. It was well-known by May 15,

 2006 that the broad genus of “pulmonary hypertension” includes multiple different disorders,

 including but not limited to idiopathic pulmonary arterial hypertension, familial pulmonary arterial

 hypertension, pulmonary capillary hemangiomatosis, pulmonary venous hypertension, and

 pulmonary veno-occlusive disease. G. Simonneau, et al., Clinical Classification of Pulmonary

 Hypertension, 43 J.AM. COLL. CARDIOL 5S (2004) (“Simonneau”); see also 9-15-2021 Deposition

 Transcript of Lewis Rubin. The specification of the ’793 Patent provides no evidence that the

 claimed method of treatment would treat the full scope of the broad genus of pulmonary

 hypertension. Rough Deposition Transcript of Lewis Rubin (Sept. 15, 2021) (“Rough Rubin Dep.

 Tr.”) at 36:14-37:3 (drugs do not work for both PAH and PVH). This bare disclosure is insufficient

 to demonstrate to a POSA in May 15, 2006 that the inventors possessed a method of treating the

 entire scope of pulmonary hypertension. Thus, claims 1, 4, and 6-8 are invalid for lack of written

 description.


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                2.      Claims 1, 4, and 6-8 Are Not Enabled

                        a.     The Limitation Reciting “15 micrograms to 90 micrograms . . .
                               delivered in 1 to 3 breaths” Is Not Enabled as to Claims 1, 4, and
                               6-8

        Independent claim 1 of the ’793 Patent requires administering “from 15 micrograms to 90

 micrograms of treprostinil or a pharmaceutically acceptable salt thereof delivered in 1 to 3

 breaths.” ’793 Patent, claim 1. Claims 4 and 6-8 depend from claim 1 and further recite,

 respectively, “wherein the inhalation device is a dry powder inhaler,” “wherein the formulation is

 a powder,” “wherein the powder comprises particles less than 5 micrometers in diameter,” and

 “wherein the formulation contains no metacresol.” Id. at claims 4, 6-8. As such, claim 1 must be

 construed broadly enough to include the use of a dry powder formulation and DPI delivering 15

 to 90 micrograms. However, as noted above, the specification of the ’793 Patent contains only a

 single statement regarding dry powder formulations and dry powder inhalers. Id. at 7:22-26 (“The

 inhalation device can also be a dry powder inhaler. In such case, the respiratory drug is inhaled in

 solid formulation, usually in the form of a powder with particle size less than 10 micrometers in

 diameter or less than 5 micrometers in diameter.”). Further, the ’793 Patent fails to describe what

 the dry powder formulation is, much less how to formulate treprostinil into a dry powder. The

 specification is completely lacking in working examples of delivering 15-90 micrograms of

 powder treprostinil in 1 to 3 breaths using a dry powder inhaler. In fact, to our knowledge,

 Liquidia’s LIQ861 product “will be the first-to-market inhaled dry powder treprostinil that can be

 delivered using a convenient, palm-sized, disposable DPI.” See D.I. 31-1 (Exhibits to UTC’s

 Motion to Dismiss Counterclaims) at 32.

        During prosecution of a related patent, U.S. Patent No. 9,358,240 (“the ’240 Patent”), UTC

 filed a declaration of Dr. Edmund J. Elder, Jr., to overcome the Examiner’s prior art rejections.

 ’240 File History, 02/02/2016 Declaration under 37 C.F.R. § 1.132 of Dr. Edmund J. Elder, Jr. In

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 his declaration, Dr. Elder noted that delivery of the drug through a “single event,” as claimed here

 by the ’793 Patent, depends upon a number of factors associated with the nebulizer, including “fill

 volume” and “dead volume,” which are in turn used to calculate the “delivered volume.” Id. at ¶¶

 8, 11-12. However, all of the doses and examples disclosed in the ’793 Patent are directed to

 aerosolized solutions—not dry powder formulations. See ’793 Patent, 8:56-18:11. Moreover, the

 discussion of the doses needed and concentrations of treprostinil are in the context of metered dose

 inhalers, which utilize solutions rather than dry powder formulations. See, e.g., ’793 Patent, 7:45-

 53. The ’793 Patent does not disclose the dosage amount of powder formulation needed for

 administration via a dry powder inhaler. The ’793 Patent does not disclose the dosage amount of

 powder formulation needed for administration via a dry powder inhaler—much less any

 experimental data to support the claim language reciting “dry powder inhaler” and “powder”

 formulations. In fact, the specification is lacking any details or guidance as to the dosage amount

 or number of breaths required to treat pulmonary hypertension using a powder formulation

 administered with a dry powder inhaler, as claimed.

        Accordingly, claims 1, 4, and 6-8 of the ’793 Patent are not enabled because the

 specification does not provide sufficient guidance as to the concentration and amount of

 treprostinil powder formulation that would be needed to obtain a dose of 15-90 micrograms in 1-

 3 breaths, as claimed. Instead, a POSA would be required to undergo undue experimentation to

 practice the invention recited in claims 1, 4, and 6-8 of the ’793 Patent.

        Applying the eight Wands factors in sequential order, and taking into account UTC’s prior

 representations to the Patent Office through the testimony of Dr. Elder, the specification of the

 ’793 Patent would not enable a POSA to treat patients with pulmonary hypertension by




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 administering 15-90 micrograms of powder formulation of treprostinil in 1 to 3 breaths using a dry

 powder inhaler.

       Wands Factor                Application to Claims 1, 4, and 6-8 of the ’793 Patent

                              Guided by just one generic disclosure relating to dry powder
                              inhalers and powder formulations (and no disclosure regarding the
                              corresponding dosage amount and number of breaths), a POSA
                              would have to engage in significant amounts of experimentation to
                              discern the dosage amount and number of breaths required to
  Quantity of                 administer a powder formulation of treprostinil with a dry powder
  Experimentation             inhaler for the treatment of pulmonary hypertension. For example,
  Necessary                   a POSA would have to conduct extensive experimentation to
                              determine the “fill volume,” “dead volume,” and “delivered
                              volume” required to deliver an effective amount of powder
                              treprostinil by inhalation. See ’240 File History, 02/02/2016
                              Declaration under 37 C.F.R. § 1.132 of Dr. Edmund J. Elder, Jr., at
                              ¶¶ 8, 11-12.

                              As discussed above, the specification provides only one vague
                              disclosure relating to dry powder inhalers and powder formulations.
  Amount of Guidance or       The specification is completely silent as to the dosage amount or
  Direction Presented         number of breaths required to treat pulmonary hypertension using
                              these claimed powder formulations administered by dry powder
                              inhalers. The amount of guidance is therefore non-existent.

                              Besides the brief disclosure that “[t]he inhalation device can also be
                              a dry powder inhaler” where treprostinil is “usually in the form of a
  Presence or Absence of
                              powder” (’793 Patent, 7:22-26), the specification is completely
  Working Examples
                              lacking in working examples of delivering 15-90 micrograms of
                              powder treprostinil in 1 to 3 breaths using a dry powder inhaler.

                              During prosecution of a related patent, UTC noted that drug
                              delivery through a “single event,” as claimed here by the ’793
                              Patent, depends upon a number of factors associated with the
                              nebulizer, including “fill volume” and “dead volume,” which are in
  Nature of the Invention     turn used to calculate the “delivered volume.” See ’240 File
                              History, 02/02/2016 Declaration under 37 C.F.R. § 1.132 of Dr.
                              Edmund J. Elder, Jr., at ¶¶ 8, 11-12. Accordingly, to the extent UTC
                              argues that claims 4 and 6-8 would have been nonobvious, the
                              nature of the invention was one of great uncertainty.

                              According to UTC, the prior art reference Chaudry 2004 “does little
  State of the Prior Art      to provide guidance to one of skill in the art if attempting to
                              determine a ‘single event dose’ for the treprostinil formulation,” as

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                              claimed by the ’793 Patent. See ’240 File History, 02/02/2016
                              Declaration under 37 C.F.R. § 1.132 of Dr. Edmund J. Elder, Jr., at
                              ¶ 10. “Instead, Chaudry provides a variety of possible permutations
                              and combinations of variables, leaving one of ordinary skill in the
                              art with no starting point from which to determine who to achieve a
                              specific outcome.” Id. at ¶ 26. To the extent UTC argues that
                              claims 1, 4, and 6-8 would have been nonobvious, without guidance
                              as to the multiple “[i]mportant factors influencing the total dose
                              delivered to a patient’s airways” (in UTC’s own words), the state of
                              the prior art was very limited. See id. at ¶ 11.

  Relative Skill of Those in Given the medical subject matter of the Asserted Claims, the level
  the Art                    of skill of those in the art would be relatively high.

                              During prosecution of a related patent, UTC highlighted the
                              unpredictable nature of determining dosage amounts for drugs
                              delivered by inhalation. See ’240 File History, 02/02/2016
  Predictability or           Declaration under 37 C.F.R. § 1.132 of Dr. Edmund J. Elder, Jr., at
  Unpredictability of the     ¶¶ 8, 11-12 (identifying multiple factors affecting drug delivery via
  Art                         nebulizer, including “fill volume” and “dead volume,” which are in
                              turn used to calculate “delivered volume”). Accordingly, to the
                              extent UTC argues that claims 1, 4, and 6- would have been
                              nonobvious, the art was highly unpredictable.

                              Claims 1, 4, and 6-8 are extremely broad, as the claimed dosage
                              range of 15 to 90 micrograms is very wide, and the claims provide
  Breadth of the Claims
                              no details regarding how much treprostinil in the form of a powder
                              is required to treat pulmonary hypertension.


        Applying all eight Wands factors, the ’793 Patent fails to enable a person of ordinary skill

 in the art to practice claims 1, 4, and 6-8. Thus, claims 1, 4, and 6-8 are invalid for lack of

 enablement.

                       b.     Claims 1, 4, and 6-8 Are Not Enabled With Respect to Powder
                              Formulations of Treprostinil for Use In Treating Pulmonary
                              Hypertension

        As noted, claims 4 and 6-8 of the ’793 Patent recite, respectively, “wherein the inhalation

 device is a dry powder inhaler,” “wherein the formulation is a powder,” and “wherein the powder

 comprises particles less than 5 micrometers in diameter.” ’793 Patent, claims 4, 6-8. Claims 4


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 and 6-8 ultimately depend from claim 1. Accordingly, claims 1 and 8 must be construed to include

 the use of a powder formulation and DPI. The ’793 patent provides no example or guidance

 regarding the formulation of any dry powder formulation of treprostinil, let alone a dry powder

 formulation of treprostinil that would treat pulmonary hypertension. The specification of the ’793

 Patent contains only a single statement regarding dry powder formulations and dry powder

 inhalers. Id. at 7:22-26 (“The inhalation device can also be a dry powder inhaler. In such case,

 the respiratory drug is inhaled in solid formulation, usually in the form of a powder with particle

 size less than 10 micrometers in diameter or less than 5 micrometers in diameter.”). This bare

 disclosure is not sufficient to enable a POSA to practice claims 1, 4, and 6-8, which require a

 “powder” formulation of treprostinil, particularly in light of Dr. Elder’s testimony described above.

 Further, the ’793 Patent fails to describe what the dry powder formulation is, much less how to

 formulate treprostinil into a dry powder. The specification is completely lacking in working

 examples of delivering powder treprostinil using a dry powder inhaler. In fact, to our knowledge,

 Liquidia’s LIQ861 product “will be the first-to-market inhaled dry powder treprostinil that can be

 delivered using a convenient, palm-sized, disposable DPI.” See D.I. 31-1 (Exhibits to UTC’s

 Motion to Dismiss Counterclaims) at 32. Dr. Rubin testified that administration of nebulized

 solutions is “completely different” than administration of powder formulations via DPI. Rough

 Rubin Dep. Tr. at 96:2-97:2. Success with a nebulized solution of treprostinil does not provide

 sufficient information that a POSA would be able to develop and administer a dry powder

 formulation with a DPI without undue experimentation. Dr. Rubin also testified that as of the

 priority date, POSAs understood that treprostinil was a very potent drug, and precise dosing of

 treprostinil through the inhalation route was required. Id. at 98:13-100:6. However, as of the




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 priority date, Dr. Rubin testified that DPIs could not administer doses in the precise amounts that

 would result in safe and therapeutically effective treatment of pulmonary hypertension. Id.

        Accordingly, claims 1, 4, and 6-8 of the ’793 Patent are not enabled because the

 specification does not provide sufficient guidance regarding how to treat pulmonary hypertension

 with the claimed powder formulation and/or using a dry powder inhaler. Instead, a POSA would

 be required to undergo undue experimentation to practice the invention recited in claims 1, 4, and

 6-8 of the ’793 Patent.

        Applying the eight Wands factors in sequential order, and taking into account UTC’s prior

 representations to the Patent Office through the testimony of Dr. Elder, the specification of the

 ’793 Patent would not enable a POSA to treat patients with pulmonary hypertension by

 administering a powder formulation of treprostinil using a dry powder inhaler.

       Wands Factor                 Application to Claims 1, 4, and 6-8 of the ’793 Patent

                              Guided by just one generic disclosure, a POSA would have to
                              engage in significant amounts of experimentation to formulate the
                              claimed powder formulation for the treatment of pulmonary
  Quantity of                 hypertension using a dry powder inhaler. For example, a POSA
  Experimentation             would have to conduct extensive experimentation to determine the
  Necessary                   “fill volume,” “dead volume,” and “delivered volume” required to
                              deliver an effective amount of powder treprostinil by inhalation.
                              See ’240 File History, 02/02/2016 Declaration under 37 C.F.R. §
                              1.132 of Dr. Edmund J. Elder, Jr., at ¶¶ 8, 11-12.

                              As discussed above, the specification provides only one vague
  Amount of Guidance or
                              disclosure relating to dry powder inhalers and powder formulations.
  Direction Presented
                              The amount of guidance is therefore minimal at best.

                              Besides the brief disclosure that “[t]he inhalation device can also be
                              a dry powder inhaler” where treprostinil is “usually in the form of a
  Presence or Absence of
                              powder” (’793 Patent, 7:22-26), the specification is completely
  Working Examples
                              lacking in working examples of delivering powder treprostinil using
                              a dry powder inhaler.

  Nature of the Invention     During prosecution of a related patent, UTC noted that drug
                              delivery through a “single event,” as claimed here by the ’793

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                                Patent, depends upon a number of factors associated with the
                                nebulizer, including “fill volume” and “dead volume,” which are in
                                turn used to calculate the “delivered volume.” See ’240 File
                                History, 02/02/2016 Declaration under 37 C.F.R. § 1.132 of Dr.
                                Edmund J. Elder, Jr., at ¶¶ 8, 11-12. Accordingly, to the extent UTC
                                argues that claims 4 and 6-8 would have been nonobvious, the
                                nature of the invention was one of great uncertainty.

                                According to UTC, the prior art reference Chaudry 2004 “does little
                                to provide guidance to one of skill in the art if attempting to
                                determine a ‘single event dose’ for the treprostinil formulation,” as
                                claimed by the ’793 Patent. See ’240 File History, 02/02/2016
                                Declaration under 37 C.F.R. § 1.132 of Dr. Edmund J. Elder, Jr., at
                                ¶ 10. “Instead, Chaudry provides a variety of possible permutations
  State of the Prior Art        and combinations of variables, leaving one of ordinary skill in the
                                art with no starting point from which to determine who to achieve a
                                specific outcome.” Id. at ¶ 26. To the extent UTC argues that
                                claims 1, 4, and 6-8 would have been nonobvious, without guidance
                                as to the multiple “[i]mportant factors influencing the total dose
                                delivered to a patient’s airways” (in UTC’s own words), the state of
                                the prior art was very limited. See id. at ¶ 11.

  Relative Skill of Those in Given the medical subject matter of the Asserted Claims, the level
  the Art                    of skill of those in the art would be relatively high.

                                During prosecution of a related patent, UTC highlighted the
                                unpredictable nature of determining dosage amounts for drugs
                                delivered by inhalation. See ’240 File History, 02/02/2016
  Predictability or             Declaration under 37 C.F.R. § 1.132 of Dr. Edmund J. Elder, Jr., at
  Unpredictability of the       ¶¶ 8, 11-12 (identifying multiple factors affecting drug delivery via
  Art                           nebulizer, including “fill volume” and “dead volume,” which are in
                                turn used to calculate “delivered volume”). Accordingly, to the
                                extent UTC argues that claims 1, 4, and 6-8 would have been
                                nonobvious, the art was highly unpredictable.

                                Claims 1, 4, and 6-8 are extremely broad, as they provide no details
  Breadth of the Claims         regarding how much treprostinil in the form of a powder is required
                                to treat pulmonary hypertension.


        Applying all eight Wands factors, the ’793 Patent fails to enable a person of ordinary skill

 in the art to practice claims 1, 4, and 6-8. Thus, claims 4 and 6-8 are invalid for lack of enablement.

                           c.   The Limitation Reciting “Method of Treating Pulmonary
                                Hypertension” in Claims 1, 4, and 6-8 Is Not Enabled

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         Claim 1 recites a “method of treating pulmonary hypertension.” ’793 Patent, claim 1.

 Claims 4 and 6-8 ultimately depend from claim 1. Accordingly, claims 4 and 6-8 must be

 construed to include a method of treating pulmonary hypertension.

         It was well-known by May 15, 2006 that the broad genus of “pulmonary hypertension”

 includes multiple different disorders, including but not limited to pulmonary arterial hypertension,

 pulmonary hypertension due to left heart disease, pulmonary venous hypertension, pulmonary

 hypertension caused by chronic lung diseases, chronic thromboembolic pulmonary hypertension,

 and pulmonary hypertension causes by other disorders (e.g., sickle cell disease).            Gerald

 Simonneau et al., Clinical Classification of Pulmonary Hypertension, 43 J.AM. COLL. CARDIOL 5S

 (2004) (“Simonneau”); see also Rough Rubin Tr at 33:9-39:5. The specification of the ’793 Patent

 provides no guidance for using the claimed method to treat the full scope of the broad genus of

 pulmonary hypertension. Rough Rubin Dep. Tr. at 36:14-37:3 (drugs do not work for both PAH

 and PVH). The specification of the ’793 Patent provides no disclosure how to treat all conditions

 encompassed by pulmonary hypertension using the claimed method of treatment. Without more,

 a POSA would not be capable of treating all conditions encompassed by pulmonary hypertension

 without undue experimentation. Thus, claims 1, 4, and 6-8 are invalid for lack of enablement.

         Applying the eight Wands factors in sequential order, the specification of the ’793 Patent

 would not enable a POSA to treat the broad genus of pulmonary hypertension with inhaled

 treprostinil.

        Wands Factor                Application to Claims 1, 4, and 6-8 of the ’793 Patent

                              To the extent UTC argues a method of treating pulmonary
  Quantity of                 hypertension using inhaled treprostinil is non-obvious, achieving a
  Experimentation             method of treating the numerous disorders encompassed by
  Necessary                   pulmonary hypertension using inhaled treprostinil, would require
                              an exorbitant amount of effort, entailing significant amounts of


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                             time-consuming and expensive preclinical and clinical studies
                             evaluating different formulations and doses.

                             The ’793 patent provides no guidance, or even a list of, the
  Amount of Guidance or      numerous disorders encompassed by pulmonary hypertension.
  Direction Presented        There is no guidance or direction as to treating the numerous
                             disorders with inhaled treprostinil.

                             The ’793 patent only provides an examples of “patients with
                             moderate to severe precapillary pulmonary hypertension,” and
  Presence or Absence of
                             otherwise only generally references “pulmonary hypertension.”
  Working Examples
                             Working examples of other types of pulmonary hypertension are
                             absent.

                             Inventor and UTC 30(b)(6) witness Dr. Rubin testified that the same
                             drugs do not work for two forms of pulmonary hypertension: PAH
                             and PVH. Rough Rubin Dep. Tr. at 36:14-37:3. Given that
  Nature of the Invention
                             different forms of pulmonary hypertension require different drugs
                             (and dosages to be therapeutically effective), the nature of the
                             invention was one of great uncertainty.

                             To the extent UTC argues that claims 1, 4, and 6-8 would have been
                             nonobvious, the prior art does not provide guidance on use of
                             inhaled treprostinil to treat the numerous disorders encompassed by
                             pulmonary hypertension. The prior art identifies multiple disorders
  State of the Prior Art     encompassed by the terms “pulmonary hypertension” and POSAs
                             knew that drug treatments varied between the disorder. Thus the
                             prior art establishes the level of uncertainty and quantity of
                             experimentation needed to enable treatment of a particular type of
                             pulmonary hypertension.

  Relative Skill of Those in Given the medical subject matter of the Asserted Claims, the level
  the Art                    of skill of those in the art would be relatively high.

                             Inventor and UTC 30(b)(6) witness Dr. Rubin testified that the same
                             drugs do not work for two forms of pulmonary hypertension: PAH
                             and PVH. Rough Rubin Dep. Tr. at 36:14-37:3. There are large
  Predictability or
                             enough differences between the numerous disorders encompassed
  Unpredictability of the
                             by pulmonary hypertension, that the same drugs (much less dosage
  Art
                             of a drug) do not work on all of them. Accordingly, to the extent
                             UTC argues that claims 1, 4, and 6-8 would have been nonobvious,
                             the art was highly unpredictable.

                             Claims 1, 4, and 6-8 are extremely broad, as they provide no details
                             regarding whether and how much inhaled treprostinil is needed to
  Breadth of the Claims
                             treat the genus of disorders encompassed by “pulmonary
                             hypertension.”

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        Applying all eight Wands factors, the ’793 Patent fails to enable a person of ordinary skill

 in the art to practice claims 1, 4, and 6-8 without undue experimentation. Thus, claims 4 and 6-8

 are invalid for lack of enablement.



 VI.    UTC’S ALLEGED EVIDENCE OF SECONDARY CONSIDERATIONS IS
        UNAVAILING

        A.      The ’066 and ’901 Patents Do Not Claim Unexpected Results

        UTC argues vaguely that the claimed inventions of the ’066 and ’901 Patents exhibit

 unexpected results without identifying any evidence in support of its claim. See UTC’s Objections

 and Responses to Interrogatory No. 2 (Dec. 17, 2020) at 24-25. To be considered evidence of non-

 obviousness, “unexpected results must be established by factual evidence.” In re Geisler, 116 F.3d

 1465, 1470 (Fed. Cir. 1997). “Mere argument or conclusory statements” by the patentee “does not

 suffice.” Id. (quoting In re De Blauwe, 736 F.2d 699, 705 (Fed. Cir. 1994)). In other words,

 “naked attorney argument is insufficient to establish unexpected results.” Id. at 1471 (internal

 quotation marks, citations omitted). UTC’s allegations of unexpected results are just that, and,

 thus, UTC’s presentation “does not suffice.” Id. at 1470.

        First, UTC contends that “the claimed inventions of the ’066 and ’901 Patents unexpectedly

 result in a highly pure final material” and “allow the ‘crude treprostinil salts [to] be stored as raw

 material at ambient temperature.’” UTC’s Objections and Responses to Interrogatory No. 2

 (Dec. 17, 2020) at 24-25. Besides quoting the shared specification of the ’066 and ’901 Patents

 generally, however, UTC provides no factual evidence supporting its claim that treprostinil

 products made according to the claimed inventions possess any “unexpectedly superior”

 characteristics. For instance, with respect to storage, UTC only points to a single unsupported


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 sentence from the shared specification. Id. at 24-25 (quoting ’066 Patent at 17:29-40) (“[T]he

 claimed inventions of the ’066 and ’901 Patent allow the ‘crude treprostinil salts [to] be stored as

 raw material at ambient temperature,’ which thereafter may be converted to a final treprostinil API

 through acidification with dilute hydrochloric acid.”). There is no data, however, supporting this

 allegation, let alone evidence suggesting that a salt form of treprostinil would not be stable at

 ambient temperature.

        With respect to purity, UTC disregards the fact that neither the claims of the ʼ066 or ʼ901

 Patents specify a percentage purity, and, moreover, the asserted claims of the ʼ901 Patent

 specifically include impurities resulting from the recited process steps. Pinal Dep. Tr. at 54:11-14

 (“Q. And claim 1 requires impurities in that pharmaceutical batch, correct? A. Among the other

 things, impurities, correct.”). Further, there is no data to support UTC’s allegation that the claimed

 inventions of the ’066 and ’901 Patents exhibit unexpectedly superior purity compared to prior art

 processes. UTC has made no showing that, in Example 6, there is any material difference between

 the “approximately 99.0%” “Purity” of the “Former Process” and the “99.9%” “Purity” of the

 “Process According to the Present Invention.” Indeed, UTC made the same arguments during the

 ’393 IPR, and the PTAB specifically rejected them. SteadyMed, IPR2016-00006, Paper 32 at 49

 (“[A] person of skill in the art would not have expected the results of the ’393 patent to be so

 successful at reducing the levels of so many impurities.”); SteadyMed, IPR2016-00006, Paper 82

 at 64 (“[W]e note that UTC’s contentions regarding unexpected results are predicated on UTC’s

 claim that treprostinil made according to the process described in the ’393 patent has fewer

 impurities than treprostinil produced by other methods. However, as explained in Parts II.C.2.b,

 II.D.2.e, and II.E.3.d., the present record does not support that contention.”).         Further,




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                                                                              Because UTC has failed

 to provide any factual evidence supporting its claim that treprostinil products according to the

 claimed inventions produce an “unexpectedly superior product,” this allegation of unexpected

 results fails. See Geisler, 116 F.3d at 1470.

        Second, UTC contends that the claimed processes provide unexpected “production

 efficiencies” such as synthesizing “treprostinil salts . . . from the solution of treprostinil without

 isolation” and without “cumbersome and time-consuming purification processes.”                UTC’s

 Objections and Responses to Interrogatory No. 2 (Dec. 17, 2020) at 25. To begin with, and

 although Liquidia disagrees with UTC’s constructions, UTC contends in its claim construction

 briefing that the Asserted Claims permit isolation and purification steps after alkylation and before

 salt formation. Plaintiff United Therapeutics Corporation’s Opening Claim Construction Brief

 with Respect to U.S. Patent Nos. 9,593,066 and 9,604,901, United Therapeutics Corp. v. Liquidia

 Techs., Inc., No. 20-cv-755, at 4-8, 13-17 (D. Del. Feb. 5, 2021) (“UTC’s Opening Claim

 Construction Brief”). Thus, if UTC is correct, these alleged “production efficiencies” are not

 “commensurate in scope” with the Asserted Claims and do not support allegations of objective




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 indicia. 41 Therasense, Inc. v. Becton, Dickinson, and Co., 593 F.3d 1325, 1336 (Fed. Cir. 2010)

 (citation omitted). Further, for the reasons stated above in Section III.C.2.c, a POSA would have

 been motivated to eliminate the intermediate isolation step with a reasonable expectation of

 success. Because a POSA would have a reasonable expectation of success in eliminating the

 isolation step, any alleged efficiencies gained by the claimed processes are far from unexpected.

 During the ’393 IPR, the PTAB similarly rejected alleged evidence of “Process Advantages” in

 the context of unexpected results. SteadyMed, IPR2016-00006, Paper 82 at 66-67. Thus, this

 allegation of unexpected results similarly fails.

        Lastly, UTC contends that the claimed processes provide the unexpected result of

 “commercial-scale production of treprostinil for use as an active ingredient in a pharmaceutical

 composition or pharmaceutical product.” UTC’s Objections and Responses to Interrogatory No. 2

 (Dec. 17, 2020) at 25. However, as explained in further detail in Liquidia’s Answering Claim

 Construction Brief and during the ’901 IPR, neither the ’066 nor ’901 Patents are directed towards

 “large-scale” or “commercial-scale” production. See Liquidia’s Answering Claim Construction

 Brief at 1-3; Liquidia, IPR2020-007700, Paper 15 at 8-9. The ’901 Patent covers as low as 2.9-

 gram quantities. The PTAB similarly confirmed during the ’393 IPR that “the challenged claims

 are not directed to an efficient, cost-effective, or commercial scale synthesis.” SteadyMed,

 IPR2016-00006, Paper 82 at 63. Further, the Court did not adopt UTC’s proposed constructions

 that read in commercial or large-scale production limitations into the asserted claims.

 Accordingly, this unexpected result alleged by UTC also fails.




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    UTC’s allegations of secondary considerations are in direct conflict with positions UTC has
 taken before the Court with respect to its proposed construction of the Asserted Claims. Indeed,
 UTC has alleged that the claims of the ʼ901 Patent do include “isolation” before salt formation and
 also do include “purification.” See UTC’s Opening Claim Construction Brief at 4-8, 13-17.
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        For at least these reasons, the claimed inventions of the ’066 and ’901 Patents do not exhibit

 unexpected results.

        B.      The ’066 and ’901 Patents Do Not Satisfy a Long-Felt but Unmet Need

        Similarly, relying on bare attorney argument, UTC argues that the ’066 and ’901 Patents

 satisfy a long-felt but unmet need. UTC’s Objections and Responses to Interrogatory No. 2 (Dec.

 17, 2020) at 26. Like unexpected results, however, Federal Circuit precedent “requires that the

 applicant submit actual evidence of long-felt need, as opposed to attorney argument.” See In re

 Kahn, 441 F.3d 977, 990 (Fed. Cir. 2006). To demonstrate long-felt need, the patentee must point

 to an “articulated identifiable problem and evidence of efforts to solve that problem.” Texas

 Instruments Inc. v. U.S. Int’l Trade Comm’n, 988 F.2d 1165, 1178 (Fed. Cir. 1993) (emphasis

 added). And when assessing long-felt but unmet need, Courts “are constrained . . . to consider

 whether the claimed invention satisfied a long felt need . . . .” Sjolund v. Musland, 847 F.2d 1573,

 1582 (Fed. Cir. 1988) (emphasis in original). As such, advantages to claimed inventions that are

 unclaimed are “irrelevant in terms of the obviousness analysis.” Id. (citing In re Vamco Machine

 & Tool, Inc., 752 F.2d 1564, 1577 (Fed. Cir. 1985)).

        Quoting the shared specification of the ’066 and ’901 Patents, UTC argues broadly that

 “[b]ecause Treprostinil, and other prostacyclin derivatives are of great importance from a

 medicinal point of view, a need exists for an efficient process to synthesize these compounds on a

 large scale suitable for commercial production.”          UTC’s Objections and Responses to

 Interrogatory No. 2 (Dec. 17, 2020) at 26 (quoting ’066 Patent at 1:66-23). However, UTC fails

 to provide any evidence supporting its contention that such a long-felt need exists or that the

 claimed inventions of the ’066 and ’901 Patents satisfy that need. Kahn, 441 F.3d at 990. Indeed,

 UTC previously used the Moriarty process for its commercial production of treprostinil, and as

 found by the PTAB and affirmed by the Federal Circuit, that process led to treprostinil that was as
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 pure, if not more pure, than the process resulting in the product claimed in the ʼ066 and ʼ901

 Patents. SteadyMed, IPR2016-00006, Paper 82 at 38 (“[I]ndividual commercial batches of

 Moriarty treprostinil exhibit impurity profiles nearly identical, if not superior, to those seen in the

 individual commercial batches of ’393 patent treprostinil.”). Moreover, even assuming such a

 need existed and was met by the ’066 and ’901 Patents, neither “efficient,” “large scale,” or

 “commercial” synthesis are claimed and, thus, the advantages described by UTC are “irrelevant in

 terms of the obviousness analysis.” Sjolund, 847 F.2d at 1582; see also Pinal Dep. Tr. at 105:21-

 106:21 (UTC’s expert acknowledging the terms “commercial,” “high-scale,” “plant,” “large-scale

 manufacture,” and “industrial scale” do not appear in the ’901 Patent claims). Just as the PTAB

 found during the ’393 IPR, “the challenged claims are not directed to an efficient, cost-effective,

 or commercial scale synthesis, and thus, cannot be said to satisfy such a need.” SteadyMed,

 IPR2016-00006, Paper 82 at 63. Accordingly, this allegation of a long-felt but unmet need

 satisfied by the ’066 and ’901 Patents is without merit.

        Without alleging another long-felt but unmet need expressly, UTC discusses several other

 “advantages” of the claimed inventions. UTC’s Objections and Responses to Interrogatory No. 2

 (Dec. 17, 2020) at 26 (“Additional advantages include storage at ambient temperature with simple

 subsequent conversion, synthesis without isolation, and better-quality final product with

 significant savings in material and labor.”). To the extent UTC implies that these alleged

 “advantages” satisfy a long-felt but unmet need, UTC has failed to provide an “articulated

 identified problem and evidence of efforts to solve that problem.” Texas Instruments, 988 F.2d at

 1178. Moreover, by relying solely on unsupported statements from the shared specification, UTC

 has failed to provide “actual evidence” that the claimed inventions satisfy any implied long-felt

 but unmet need. Kahn, 441 F.3d at 990. UTC’s allegation that the process requires “synthesis



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 without isolation” cannot be a long-felt need as UTC asserts that the claims of the ʼ066 and ʼ901

 patents permit isolation prior to salt formation. As such, there is no nexus between the claimed

 invention and the alleged long-felt need. And at least with respect to UTC’s allegation that the

 claimed inventions offer a “better-quality final product with significant savings in material and

 labor,” such an advantage is not claimed (or supported) by the ’066 and ’901 Patents and is belied

 by UTC’s claim construction positions, making it irrelevant to the obviousness analysis. Sjolund,

 847 F.2d at 1582.

         For the reasons stated above, neither the ’066 nor ’901 Patents satisfy a long-felt but unmet

 need.

         C.      Yonsung Does Not Perform and Therefore Has Not “Copied” the Claimed
                 Processes of the ’066 and ’901 Patents 42

         UTC alleges broadly that Yonsung “copies the process[es] claimed in the [’066 and ’901]

 patent[s].” UTC’s Objections and Responses to Interrogatory No. 2 (Dec. 17, 2020) at 26-27.

 However, as explained further in Liquidia’s Answering Claim Construction Brief and Response to

 UTC’s Interrogatory No. 1, Yonsung does not perform the claimed processes of the ʼ066 and ʼ901

 Patents.     Liquidia’s Answering Claim Construction Brief at 16-24; Defendant Liquidia

 Technologies, Inc.’s Objections and Responses to Plaintiff’s Interrogatory No. 1 (Nov. 23, 2020)

 at 10-15, 32-35, 42-46. Yonsung performs an

                                     , which is expressly excluded from the Asserted Claims of the

 ’901 Patent. Defendant Liquidia Technologies, Inc.’s Objections and Responses to Plaintiff’s

 Interrogatory No. 1 (Nov. 23, 2020) at 28-31.        Additionally,




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   Pending the Court’s construction of “contacting the solution comprising treprostinil from
 step (b) with a base to form a salt of treprostinil,” Liquidia reserves the right to supplement
 and/or withdraw Section VI.C.
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 as required by the Court’s construction of “ambient temperature.” D.I. 119 at 1; Defendant

 Liquidia Technologies, Inc.’s Objections and Responses to Plaintiff’s Interrogatory No. 1 (Nov.

 23, 2020) at 24-26. Because the process of preparing the treprostinil salt API used in LIQ861 does

 not infringe the ’066 or ’901 Patents, Yonsung did not “copy” the claimed processes of the ’066

 and ’901 Patents.

        Additionally, UTC contends that “Yonsung’s use of salt formation even after using

                                                                        cannot achieve a purity of

 treprostinil sufficient for commercial scale.” UTC’s Objections and Responses to Interrogatory

 No. 2 (Dec. 17, 2020) at 27. Yonsung’s implementation of a

                               is in no way an admission as to the sufficiency of any step. Indeed,

 UTC itself employed a                                   in its prior commercial scale treprostinil

 process, proving that                         is sufficient. Regardless, UTC’s improper inference

 is legally irrelevant to any issue in this case because neither the ’066 nor ’901 Patents claim a

 “commercial scale” process. See, e.g., Liquidia’s Answering Claim Construction Brief at 1-3;

 Liquidia, IPR2020-007700, Paper 15 at 8-9.

        For the reasons stated above, UTC’s contention that Yonsung “copies” the claimed

 processes of the ’066 and ’901 Patents is incorrect.

        D.      Yonsung’s Implementation of a Salt Formation Step Does Not Evidence
                Failure of Others as to the ’066 and ’901 Patents

        UTC presents the confusing argument that “the fact that Yonsung still includes the salt

 formation step, and thereby infringes the claims of the ’066 and ’901 Patents, is evidence that

 Yonsung could not perform the process without the salt formation step to achieve sufficient purity

 for a commercial-scale product.” UTC’s Objections and Responses to Interrogatory No. 2


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 (Dec. 17, 2020) at 27. UTC’s argument lacks any factual support for its implied assertion that

 Yonsung did not originally use a salt formation step; thus, there is no evidence of “failure” to

 contrast with or provide a basis for “success.” Further, to establish failure of others, the evidence

 must demonstrate that “prior attempts failed because the [processes] lacked the claimed features.”

 Ormco Corp. v. Align Tech., Inc., 463 F.3d 1299, 1313 (Fed. Cir. 2006).                  Yonsung’s

 implementation of a salt formation step during manufacture of treprostinil salt, therefore, does not

 evidence a “failure” of others, let alone a failure attributable to the absence of any claimed aspect

 of the ’066 or ’901 Patents. Id. Salt formation is one of the most commonly used processes in

 large- and small-scale pharmaceutical processes. See, e.g., G. S. Paulekuhn, et al., “Trends in

 Active Pharmaceutical Ingredient Salt Selection based on Analysis of the Orange Book Database,”

 50 J. MED. CHEM. 6665, 6665-666 (2007) (’901 IPR Ex. 1024). Further, the claims of the ʼ066

 and ʼ901 Patents do not include any limitation concerning the level of purity, and the PTAB already

 factually found that the Moriarty commercial process results in a treprostinil product that is as

 pure, if not more pure than the treprostinil formed by the claimed inventions. UTC’s contention

 also ignores the fact that the claims of the ʼ901 Patent require the presence of impurities, which

 UTC’s expert Dr. Pinal confirmed. Pinal Dep. Tr. at 54:11-14. Finally, UTC’s contention is

 legally irrelevant, moreover, because neither the ’066 nor ’901 Patents claim a “commercial scale”

 product. See, e.g., Liquidia’s Answering Claim Construction Brief at 1-3; Liquidia, IPR2020-

 007700, Paper 15 at 8-9.

        E.      UTC Has Failed to Prove the Claimed Aspects of the ’066 and ’901 Patents
                Resulted in Any Alleged Commercial Success of Tyvaso®

        Regarding commercial success, UTC contends that “the commercial success of Tyvaso®

 is shown by the substantial sales and market share of Tyvaso®, despite marketplace challenges, as

 well as the acceptance of Tyvaso® by doctors and patients.” UTC’s Objections and Responses to


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 Interrogatory No. 2 (Dec. 17, 2020) at 27. However, to establish commercial success, at least some

 factual evidence must be provided beyond mere attorney argument. Cf. In re Baxter Travenol

 Labs., 952 F.2d 388, 392 (Fed. Cir. 1991) (“[I]nformation solely on number of units sold is

 insufficient to establish commercial success.”). UTC’s one-sentence contention that Tyvaso® has

 experienced commercial success, without actual evidence provided, or establishing a nexus

 between the claimed inventions and the alleged commercial success, is therefore legally

 insufficient to establish commercial success. Id.

        Moreover, “the asserted commercial success of the product must be due to the merits of

 the claimed invention beyond what was readily available in the prior art.” J.T. Eaton & Co. v.

 Atlantic Paste & Glue Co., 106 F.3d 1563, 1571 (Fed. Cir. 1997) (emphasis added). UTC has,

 therefore, failed to establish that any alleged commercial success of Tyvaso® was due to the merits

 of the ’066 and ’901 Patents’ claimed inventions beyond what was readily available in the prior

 art. Id. UTC cannot establish that any alleged commercial success is due to any claimed aspect

 of the ’066 and ’901 Patents because, as the Board found during the ’393 IPR, treprostinil products

 produced according to that process are functionally and structurally indistinguishable from

 treprostinil products made according to processes known in the prior art (e.g., Moriarty and Phares

 2005). See, e.g., SteadyMed, IPR2016-00006, Paper 82 at 29 (“[W]e find that the evidence of

 record supports a finding that treprostinil produced according to Phares [2005] has the same, or

 better, overall purity and purity profile than treprostinil produced according to the process recited

 in the ’393 patent.”). Further, by asserting that the claimed processes of the ʼ066 and ʼ901 Patents

 result in the Tyvaso®’s commercial success, UTC

                                                                                         . See




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      ) (UTC_LIQ00206482-UTC_LIQ00206549) at 60-61



                                                                               (UTC_LIQ00204305-

 UTC_LIQ00204559) at 26

                                                                   As such, the products of the ʼ066

 and ʼ901 Patents are not novel and thus invalid for the same reasons set forth by the PTAB and

 affirmed by the Federal Circuit.

        Finally, UTC cannot establish that Tyvaso®’s commercial success is due to the inventions

 claimed in the ʼ066 and ʼ901 patents, because UTC has blocked all competition for treprostinil

 products for the treatment of PAH. Initially, UTC obtained orphan drug exclusivity for Tyvaso®

 that prevented additional inhaled treprostinil products from being approved by the FDA and

 commercialized.    Additionally, several companies have sought to make generic treprostinil

 products, but in each instance, UTC has settled litigation that prevented those companies from

 marketing their products. Further, UTC has systematically used its patents covering treprostinil,

 and continues to attempt to obtain new patents, including the ʼ793 patent, to block others from

 developing and commercializing treprostinil products. Acorda Therapeutics, Inc. v. Roxane Labs.,

 Inc., 903 F.3d 1310, 1338-339 (Fed. Cir. 2018). UTC has gone so far in its efforts to assert before

 the PTAB that the claims of the ʼ066 and ʼ901 patents do not encompass a process that includes

 column chromatography or isolation before salt formation, only to walk-back from those

 arguments in district court proceedings

                                                                                       UTC’s use of

 its patents, and the willingness to change positions mid-litigation to expand the scope of the claims




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 of the ʼ066 and ʼ901 patents to prevent competition negates any commercial success, unexpected

 results, or long-felt need allegedly met by the claims of the ʼ066 and ʼ901 patents.

        F.      The Claimed Invention of the ’793 Patent Does Not Exhibit Unexpected
                Results

        UTC argues vaguely that the claimed invention of the ’793 Patent exhibits unexpected

 results without identifying any evidence in support of its claim. See UTC’s Objections and

 Responses to Interrogatory No. 2 (Dec. 17, 2020) at 28-29. Specifically, UTC contends that “[t]he

 ’793 Patent discloses that treprostinil by inhalation is unexpectedly and surprisingly safe and

 effective, even at high doses.” UTC’s Objections and Responses to Interrogatory No. 2 (Dec. 17,

 2020) at 28. For the reasons stated above in Section V.A, supra, it was neither surprising nor

 unexpected that treprostinil by inhalation was safe and effective, even at high doses, considering

 the prior art disclosures in the ’212 Patent, Voswinckel JAHA, and Voswinckel 2006. Further,

 UTC has not specifically stated whether it contends inhalation of both a solution and a powder

 formulation of treprostinil is unexpectedly safe and effective. Additionally, UTC’s sole reliance

 on statements made in the ’793 Patent amounts to “[m]ere argument or conclusory statements”

 and therefore “does not suffice.” Geisler, 116 F.3d at 1470 (citation omitted).

        G.      The ’793 Patent Does Not Satisfy a Long-Felt But Unmet Need

        UTC alleges that Tyvaso® (treprostinil) inhalation solution for oral inhalation is covered

 by the ’793 Patent and satisfies a long-felt need but unmet need for a “treatment for pulmonary

 hypertension that can be administered using a compact inhalation device.” See UTC’s Objections

 and Responses to Interrogatory No. 2 (Dec. 17, 2020) at 29. UTC is incorrect. The product label

 for Tyvaso® specifically requires breaths should be increased “by an additional 3 breaths per

 session at approximately 1-2 week intervals” to a “target maintenance dosage of 9 breaths or 54

 mcg per treatment session as tolerated.” Tyvaso® Label (2009) at Dosage and Administration.


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 Thus, the Tyvaso® product label, and the recommended use of the product does not fall within the

 1-3 breaths limitation of the ʼ793 Patent claims. Moreover, Tyvaso® requires 4 sessions per day

 to achieve therapeutic effectiveness, whereas the claims of the ʼ793 Patent require therapeutic

 efficacy in a “single event dose.” Compare ’793 Patent at claim 1, with Tyvaso® Label at Dosage

 and Administration. Finally, by relying solely on an unsupported statement in the specification,

 UTC has failed to provide “actual evidence of long-felt need” but rather provides only bare

 attorney argument. Kahn, 441 F.3d at 990. Additionally, based on the disclosures of the ’212

 Patent, Voswinckel JAHA, Voswinckel JESC, and Voswinckel 2006, any of such long-felt need

 was already met. See, e.g., Section V.A, supra. Thus, UTC’s allegation of a long-felt but unmet

 need satisfied by the ’793 Patent is meritless.

        H.      UTC Has Failed to Prove the Claimed Aspects of the ’793 Patent Resulted in
                Any Alleged Commercial Success of Tyvaso®

        Lastly, UTC argues that commercial success of the ’793 Patent is evidenced by

 “commercial success of Tyvaso® . . . shown by the substantial sales and market share of Tyvaso®,

 despite marketplace challenges, as well as the acceptance of Tyvaso® by doctors and patients.”

 See UTC’s Objections and Responses to Interrogatory No. 2 (Dec. 17, 2020) at 29. As discussed

 in the previous section, Tyvaso® does not fall within the scope of the ʼ793 Patent claims. Further,

 despite alleging that Tyvaso® has experienced “substantial sales and market share . . . despite

 marketplace challenges,” UTC provides no actual data or facts to support its contention. See

 Baxter, 952 F.2d at 392 (requiring actual data to support allegation of commercial success).

 Indeed, UTC made no attempt to identify those marketplace challenges, nor have they established

 that the sales of Tyvaso® are due to the product attributes, as opposed to UTC’s blocking patents.

 Acorda, 903 F.3d at 1338-339. Moreover, UTC has failed to explain why any alleged commercial

 success of Tyvaso® was “due to the merits of the claimed invention beyond what was readily


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 available in the prior art.” J.T. Eaton, 106 F.3d at 1571 (emphasis added). As explained above in

 Section V.A.2, treprostinil inhalation solutions were known in the art before May 15, 2006, and,

 therefore, any alleged commercial success of Tyvaso® could not have been due to the “merits of

 the claimed invention.” Id. Thus, UTC’s unsupported allegation of commercial success is

 unavailing.

        Finally, UTC cannot establish that Tyvaso’s® commercial success is due to the inventions

 claimed in the ’793 patent due to the fact that UTC has blocked all competition for treprostinil

 products for the treatment of PAH. Initially, UTC obtained orphan drug exclusivity for Tyvaso®

 that prevented additional inhaled treprostinil products from being approved by the FDA and

 commercialized.    Additionally, several companies have sought to make generic treprostinil

 products, but in each instance, UTC has settled litigation that prevented those companies from

 marketing their products. Further, UTC has systematically used its patents covering treprostinil,

 and continues to attempt to obtain new patents, including the ʼ793 patent, to block others from

 developing and commercializing treprostinil products. See Acorda, 903 F.3d at 1337-41 (finding

 commercial success weak indicia of nonobviousness in such cases). UTC has gone so far in its

 efforts to assert before the PTAB that the claims of the ʼ066 and ʼ901 patents do not encompass a

 process that includes column chromatography or isolation before salt formation, only to walk-back

 from those arguments in district court proceedings

                                                                                             . UTC’s

 use of its patents, and the willingness to change positions mid-litigation to expand the scope of the

 claims of the ʼ066 and ʼ901 patents to prevent competition negates any commercial success,

 unexpected results, or long-felt need allegedly met by the claims of the ʼ066 and ʼ901 patents.




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           I.       Liquidia Has Not “Copied” the ’793 Patent

           UTC contends that Liquidia “copied” the ’793 Patent by developing its own treprostinil

 inhalation product and “utiliz[ing] the knowledge and knowhow of one of the inventors of the ’793

 Patent, Dr. Roscigno, to head Liquidia’s program to develop an infringing product.” See UTC’s

 Objections and Responses to Interrogatory No. 2 (Dec. 17, 2020) at 29. For the reasons stated in

 Defendant Liquidia Technologies, Inc.’s Objections and Responses to Plaintiff’s Interrogatory No.

 1, dated November 23, 2020, Liquidia’s treprostinil inhalation product is not covered by the ’793

 Patent.        Defendant Liquidia Technologies, Inc.’s Objections and Responses to Plaintiff’s

 Interrogatory No. 1 (Nov. 23, 2020) at 47-52. Additionally, as further explained in Defendant’s

 Answering Brief in Opposition to Plaintiff’s Motion to Dismiss Defendants’ Counterclaim,

 Liquidia did not “utilize the knowledge and knowhow” of Dr. Roscigno to “develop an infringing

 product.” See generally D.I. 37; see also D.I. 45 (Court denying UTC’s Motion to Dismiss). Thus,

 UTC’s allegations of “copying” the ’793 Patent are unsupported and incorrect.

 VII.      CONCLUSION

           Based upon the information presently available to Liquidia, and based upon Liquidia’s

 initial understanding of the scope and construction of the Asserted Claims of the Asserted Patents,

 and of UTC’s apparent positions concerning the scope and construction of the Asserted Claims of

 the Asserted Patents, the Asserted Claims of the Asserted Patents are invalid at least for the reasons

 set forth above and based on the production that will accompany these Supplemental Invalidity

 Contentions. Discovery and Liquidia’s investigation are ongoing, and Liquidia reserves the right

 to modify and/or supplement its Supplemental Invalidity Contentions.




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                                          /s/ Douglas W. Cheek
                                          Karen E. Keller (No. 4489)
 OF COUNSEL:                              Jeff Castellano (No. 4837)
 Sanya Sukduang                           Nathan R. Hoeschen (No. 6232)
 Jonathan R. Davies                       SHAW KELLER LLP
 Douglas W. Cheek                         I.M. Pei Building
 COOLEY LLP                               1105 North Market Street, 12th Floor
 1299 Pennsylvania Avenue, NW Suite 700   Wilmington, Delaware 19801
 Washington, DC 20004-2400                (302) 298-0702
 (202) 776-2982                           kkeller@shawkeller.com
 (202) 776-2049                           jcastellano@shawkeller.com
                                          nhoeschen@shawkeller.com
 Erik Milch                               Attorneys for Defendant
 COOLEY LLP                               Liquidia Technologies, Inc.
 One Freedom Square
 Reston Town Center
 11951 Freedom Drive
 Reston, VA 20190-5656
 (703) 456-8000

 Ivor Elrifi
 COOLEY LLP
 55 Hudson Yards
 New York, NY 10001-2157
 (212) 479-6840

 Lauren Krickl
 Deepa Kannappan
 COOLEY LLP
 3175 Hanover Street
 Palo Alto, CA 94304-1130
 (650) 843-5065
 (650) 843-5673

 Dated: September 28, 2021




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                                 CERTIFICATE OF SERVICE

        I, Nathan R. Hoeschen, hereby certify that on September 28, 2021, this document was

 served on the persons listed below in the manner indicated:

         BY EMAIL
         Jack B. Blumenfeld                            Adam W. Burrowbridge
         Michael J. Flynn                              Joshua Revilla
         MORRIS, NICHOLS, ARSHT & TUNNELL LLP          Timothy M. Dunker
         1201 North Market Street                      MCDERMOTT WILL & EMERY LLP
         P.O. Box 1347                                 The McDermott Building
         Wilmington, DE 19899                          500 North Capitol Street
         (302) 658-9200                                Washington, DC 20001-1531
         jblumenfeld@mnat.com                          (202) 756-8000
         mflynn@mnat.com                               aburrowbridge@mwe.com
                                                       jrevilla@mwe.com
         Amy Mahan                                     tdunker@mwe.com
         MCDERMOTT WILL & EMERY LLP
         200 Clarendon Street, Floor 58                Douglas H. Carsten
         Boston, MA 02116-5021                         Art Dykhuis
         (617) 535-4000                                Jiaxiao Zhang
         amahan@mwe.com                                Katherine Pappas
                                                       MCDEMOTT WILL & EMERY LLP
         William C. Jackson                            18565 Jamboree Road, Suite 250
         GOODWIN PROCTER LLP                           Irvine, CA 92615
         1900 N Street, NW                             (949) 851-0633
         Washington, DC 20036                          dcarsten@mwe.com
         (202) 346-4216                                adykhuis@mwe.com
         wjackson@goodwinlaw.com                       jiazhang@mwe.com
                                                       kpappas@mwe.com
         Bill Ward
         BOIES SCHILLER FLEXNER LLP                    Harrison Gunn
         725 S. Figueroa Street, 31st Floor            GOODWIN PROCTER LLP
         Los Angeles, CA 90017                         100 Northern Avenue
         (213) 995-5745                                Boston, MA 02210
         bward@bsfllp.com                              (617) 570-1064
                                                       hgunn@goodwinlaw.com
         Huiya Wu
         Joel Broussard
         GOODWIN PROCTER LLP
         620 Eighth Avenue
         New York, NY 10018
         (212) 459-7270
         hwu@goodwinlaw.com
         jbroussard@goodwinlaw.com




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                                   22889




                                     /s/ Nathan R. Hoeschen
                                     Karen E. Keller (No. 4489)
                                     Jeff Castellano (No. 4837)
                                     Nathan R. Hoeschen (No. 6232)
                                     SHAW KELLER LLP
                                     I.M. Pei Building
                                     1105 North Market Street, 12th Floor
                                     Wilmington, DE 19801
                                     (302) 298-0700
                                     kkeller@shawkeller.com
                                     jcastellano@shawkeller.com
                                     nhoeschen@shawkeller.com
                                     Attorneys for Defendant
                                     Liquidia Technologies, Inc.




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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


  THE TRUSTEES OF THE                                :
  UNIVERSITY OF PENNSYLVANIA,                        :
                 Plaintiff,                          :
                                                     :
               v.                                    :          Civ. No. 15-6133
                                                     :
  ELI LILLY AND COMPANY, et al.,                     :
                  Defendants.                        :
                                                     :


                                               ORDER
          Plaintiff, The Trustees of the University of Pennsylvania, allege that Defendants Eli Lilly,

  ImClone, and Bristol Myers Squibb induced infringement of its U.S. Patent No. 7,625,558 (the

  ‘558 Patent). (Doc. Nos. 1, 63-15); 35 U.S.C. § 271(b) (2018). The Parties have submitted

  numerous Motions in limine, asking me to exclude testimony and strike portions of Replies and

  reports. (Doc. Nos. 174, 292, 293, 294, 269, 2918, 299, 317.) Because I am being asked to make

  evidentiary trial rulings when trial has not yet begun, my decisions are necessarily tentative. I am

  prepared to revisit them during trial should any Party ask me to do so. I am also prepared to give

  the jury appropriate limiting instructions should any Party so request.

     I.        BACKGROUND

           Penn owns Patent Number 7,625,558 which claims methods of treating cancerous tumors

  by “administering a cytostatic antibody that inhibits tumor cell growth,” and then exposing that

  cell to radiation. (Doc. No. 1 at ¶ 17; ‘558 Patent.) Erbitux, which is manufactured and sold by

  Defendants, is an FDA approved treatment for Squamous Cell Carcinoma of the Head and Neck

  (SCCHN). (Doc. No. 1-2). The active ingredient in Erbitux is Cetuximab, an antibody that binds

  to epidermal growth factor receptor (EGFR), an erbB-family protein. (Id.; Doc. No 206 at ¶ 21.)

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  The Erbitux label states that it is “indicated in combination with radiation therapy.” (Doc. No. 183

  at ¶ 68.)

          On November 13, 2015, Penn brought this action alleging Defendants infringed “at least”

  35 of the ‘558 Patent’s 41 Claims by marketing and selling Erbitux. (Doc. No. 1 at ¶ 45, 46.) The

  matter was assigned to Judge Robert Kelly. Penn did not explicitly allege infringement of Claims

  8, 13, 15, 18, 31, or 41. (Id.) Judge Kelly granted Defendants’ Motion to Dismiss as to the

  infringement of Claims 32-40 of the ‘558 Patent because they are invalid. (Doc. Nos. 52, 53.)

          Defendants filed a Petition for an inter partes review (IPR) at the USPTO of Claims 1-7,

  9-12, 14, 16, 17, and 19-31 of the ‘558 Patent. This case was stayed during the IPR proceedings

  and following appeals before the USPTO and Federal Circuit. (Doc. Nos. 23, 60, 62.) The Patent

  Trial and Appeal Board invalidated each of the challenged claims in the IPR. (Doc. No. 61-1 at

  59); Eli Lilly & Co v. Trustees of the Univ. of Pa., No. IPR2016-00458, 2017 WL 2992425, at *6

  (P.T.A.B. July 13, 2017). The PTAB ruled that each of the challenged claims was unpatentable

  as being obvious over a combination of prior art references. Id. at *3, *22. Each of Penn’s

  originally asserted claims were thus either invalidated or dismissed.

          On November 8, 2018, Penn filed a Motion for Leave to Amend Infringement Contentions,

  seeking to include Claim 13. (Doc. No. 63.) To explain why it had not previously asserted

  infringement of Claim 13, Penn offered an article by Fournier et al. (Fournier), first published on

  April 20, 2018 on bioRxiv, an online database of articles that have not yet been published in a

  peer-reviewed journal. (Doc. No. 63-2 at ¶¶ 20-24.) Penn stated that before publication of

  Fournier it “had no reason to expect . . . that treatment with the Erbitux antibody would affect

  kinase activity mediated by a p185 homodimer.” (Id. at ¶ 24.) Based on the known mechanisms

  of Erbitux, however, and the new findings in Fournier regarding EGFR heterodimer formation, “it



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  follows that Erbitux treatment would be expected to inhibit kinase activity mediated by a p185

  homodimer.” (Id.) Judge Kelly granted Penn’s Motion for Leave to Amend Infringement

  Contentions. (Doc. No. 74.) Accordingly, Claim 13, which depends from Claim 11, is the sole

  remaining asserted Claim. Claims 11 and 13 recite:

                         11. A method for inhibiting proliferation of a tumor cell, said tumor
                 cell being from an erbB mediated tumor, which method comprises of:
                         (a) contacting the cell with an antibody that disrupts erbB kinase
                 activity said disruption having a cytostatic effect on the tumor cell; and
                        (b) thereafter exposing the tumor cell to an effective amount of anti-
                 cancer radiation.

                        13. The method according to claim 11 wherein the antibody inhibits
                 kinase activity mediated by a p185 homodimer.

       Before me are several motions relating to the strongly contested issues of validity,

  infringement, and damages. Each Party expects to present evidence and expert testimony at trial

  regarding these issues. With respect to the validity of Claim 13, Defendants filed Motions seeking

  to exclude any testimony that the order of administration of antibodies and radiation is an indicium

  of non-obviousness and to exclude the testimony of Penn’s damages expert, Ms. Krista Holt,

  regarding evidence of commercial success as an indicium of non-obviousness. (Doc. Nos. 270,

  273.) As to infringement, Penn filed Motions seeking to exclude the testimony of Defendants’

  infringement experts, Drs. Jennifer Grandis and Steven Block. (Doc. Nos. 278, 279.) Defendants

  similarly filed Motions seeking to exclude portions of the expert report and testimony of Penn’s

  infringement expert, Dr. Antony Burgess. (Doc. Nos. 173, 271.) As to damages, Penn has moved

  to exclude the testimony of Defendants’ damages expert, Dr. Christopher Vellturo, and Defendants

  filed a Motion seeking to exclude the testimony of Penn’s damages expert, Ms. Krista Holt.




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     II.       LEGAL STANDARDS

       In a patent case, the law of the regional circuit applies for issues not unique to patent law

  while Federal Circuit precedent applies for substantive issues of patent law. Info-Hold, Inc. v.

  Muzak LLC, 783 F.3d 1365, 1371 (Fed. Cir. 2015). Accordingly, I apply Third Circuit law for

  procedural and non-substantive issues and apply Federal Circuit law where the question turns on

  an issue of patent law. See id.

           A. Motions to Strike

           Rule 12(f) governs motions to strike. Fed. R. Civ. P. 12(b). I may “strike from a pleading

  an insufficient defense or any redundant, immaterial, impertinent, or scandalous matter.” Id.

  Motions to strike under Rule 12(f) are “not favored and usually will be denied unless the

  allegations have no possible relation to the controversy and may cause prejudice to one of the

  parties, or if the allegations confuse the issues in the case.” Canters Deli Las Vegas, LLC v.

  Freedom Pay, Inc., 460 F. Supp. 3d 560, 568 (E.D. Pa. 2020).

           Rule 26 requires parties to make initial disclosures without a discovery request. Fed. R.

  Civ. P. 26(a). If a party fails to comply with the disclosure provisions of Rule 26(a), I may exclude

  the untimely disclosed evidence or testimony under Rule 37(c)(1). Fed. R. Civ. P. 37(c)(1);

  Newman v. GHS Osteopathic, Inc., 60 F.3d 153, 156 (3d Cir. 1995). I may not, however, exclude

  that evidence or testimony “if substantial justification exists for the failure to disclose, or if the

  failure to disclose was harmless.” Newman, 60 F.3d at 156. In determining whether exclusion is

  appropriate, I must apply the Third Circuit’s Pennypack factors: (1) “the prejudice or surprise” to

  the party the evidence is offered against; (2) the possibility of curing the prejudice; (3) the

  likelihood of disruption of the trial; (4) “any bad faith or willfulness”; and (5) the “importance of




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  the excluded evidence.” ZF Meritor, LLC v. Eaton Corp., 696 F.3d 254, 298 (3d Cir. 2012) (citing

  Meyers v. Pennypack Woods Home Ownership Ass’n, 559 F.2d 894, 904-05 (3d Cir. 1977)).

        B. Expert Testimony

         A witness may qualify as an expert if her “scientific, technical, or other specialized

  knowledge will assist the trier of fact to understand the evidence or to determine a fact in issue.”

  Fed. R. Evid. 702. In evaluating the admissibility of expert testimony, I must consider: (1) the

  expert’s qualifications; (2) the reliability of her methodology; and (3) whether the testimony is

  relevant and helpful for the trier of fact. Schneider ex rel. Estate of Schneider v. Fried, 320 F.3d

  396, 404 (3d Cir. 2003); Breidor v. Sears, Roebuck & Co., 722 F.2d 1134, 1139 (3d Cir. 1983)

  (“Helpfulness is the touchstone of Rule 702.”).

         An expert witness is qualified if she has “‘specialized knowledge’ regarding the area of

  testimony.” Waldorf v. Shuta, 142 F.3d 601, 625 (3d Cir. 1998). The qualification requirement

  is interpreted liberally. In re Paoli R.R. Yard PCB Litig., 35 F.3d 717, 741 (3d Cir. 1994). “The

  basis of this specialized knowledge ‘can be practical experience as well as academic training and

  credentials.’” Waldorf, 142 F.3d at 625 (quoting American Tech. Res. v. U.S., 893 F.3d 651, 656

  (3d Cir. 1990)). An expert is qualified even if she is not “the best qualified or . . . does not have

  the specialization that the court considers most appropriate.” Pineda v. Ford Motor Co., 520 F.3d

  237, 244 (3d Cir. 2008). “The focus, instead, is on whether the qualifications that an expert does

  have provide a foundation for the witness to testify meaningfully on a given matter.” Shire

  Viropharma Inc., v. CSL Behring LLC, Civ. No. 17-414, 2021 WL 1227097, at *3 (D. Del. Mar.

  31, 2021).




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            “[T]he inquiry as to whether a particular scientific technique or method is reliable is a

  flexible one.” In re Paoli, 35 F.3d at 742. The Third Circuit has set forth a non-exhaustive list of

  factors to determine reliability:

            (1) whether a method consists of a testable hypothesis; (2) whether the method has
            been subject to peer review; (3) the known or potential rate of error; (4) the
            existence and maintenance of standards controlling the technique’s operation; (5)
            whether the method is generally accepted; (6) the relationship of the technique to
            methods which have been established to be reliable; (7) the qualifications of the
            expert witness testifying based on the methodology; and (8) the non-judicial uses
            to which the method has been put.

  Id. at 742 n.8. Reliability does not, however, require the proffering party to demonstrate

  correctness of an opinion. Id. at 744. (“The judge might think that there are good grounds for an

  expert’s conclusion even if the judge thinks that there are better grounds for some alternative

  conclusion, and even if the judge thinks that a scientist’s methodology has some flaws such that if

  they had been corrected, the scientist would have reached a different result.”).

            To “fit the issue in the case . . . the expert’s testimony must be relevant for the purposes of

  the case and must assist the trier of fact.” Schneider, 320 F.3d at 404. Testimony is helpful to the

  trier of fact when it presents “a valid scientific connection to the pertinent inquiry.” See id. “‘Fit’

  is not always obvious, and scientific validity for one purpose is not necessarily scientific validity

  for other, unrelated purposes.” In re Paoli, 35 F.3d at 743 (quoting Daubert v. Merrell Dow Pharm.,

  Inc., 509 U.S. 579, 591 (1993)).

     III.      DISCUSSION

        A. Penn’s Motion to Strike Defendants’ Replies

            Penn argues that Defendants’ failed to seek leave of the Court to file Replies in support of

  Defendants’ evidentiary motions (Doc. Nos. 306, 307, 308) and so move to strike Defendants’

  Replies. (Doc. No. 314-1.) Penn alternatively requests leave to file sur-replies. (Id.)

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          My October 22, 2019 Standing Order states that “[u]nless otherwise ordered, I will accept

  reply or supplemental briefs.” (Doc. No. 112 at 5.) All reply briefs are due within fourteen days

  of a response brief and all sur-reply briefs are due within seven days of the reply brief. (Id.)

  Defendants filed their reply briefs within fourteen days of Penn’s response briefs. (Doc. Nos. 306,

  307, 308). Penn has filed two sur-reply briefs within seven days of Defendants’ reply briefs. (Doc.

  Nos. 312, 313.) Because the Parties have complied with my Standing Order, I will deny Penn’s

  Motion to Strike Defendants’ Reply Briefs and will consider all briefs filed by the Parties.

         B. Defendants’ Motion to Exclude Testimony Regarding the Order of Administration

          In July 2019, Defendants served their invalidity contentions which asserts that Claim 13 is

  invalid as obvious. (See Doc. No. 122-1 at 1-2.) Penn seeks to argue at trial that the requirement

  that the antibodies be administered before the radiation is a critical feature of the invention making

  Claim 13 non-obvious. (Doc. No. 270-1 at 1.) Defendants urge that this argument is barred by

  collateral estoppel because it was litigated in the IPR proceedings which cancelled each challenged

  Claim—including Claim 11 from which Claim 13 depends—because they were unpatentable as

  being obvious. (Id. at 3.)

          Collateral estoppel is an affirmative defense which must generally be asserted in a

  responsive pleading. Fed. R. Civ. P. 8(c). I may, however, allow Defendant to raise collateral

  estoppel “by way of a post-answer motion so long as it is raised ‘at a pragmatically sufficient time,

  and [the plaintiff] was not prejudiced in its ability to respond.’” Courteau v. United States, 287 F.

  App’x 159, 161-62 (3d Cir. 2008) (quoting Charpentier v. Godsil, 937 F.3d 859, 864 (3d Cir.

  1991)) (alteration in original).




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         Penn urges that Defendants’ Motion should be denied as untimely and prejudicial because

  it has “no opportunity for additional fact or expert discovery to develop a record to specifically

  counter Defendants’ bald and new assertions of collateral estoppel based on the PTAB decision,

  or to develop alternative theories for validity and secondary considerations that do not rely at all

  on the language of [C]laim 11.” (Doc. No. 312 at 5.) Raising collateral estoppel in a post-answer

  motion, however, “introduce[s] only a new question of law which [does] not [] require[] [Plaintiff]

  to conduct any further discovery.” Rutter v. Rivera, 74 F. App’x 182, 186-87 (3d Cir. 2003)

  (plaintiff not prejudiced when Defendant raised collateral estoppel ten days before trial). Penn

  cannot say that it was “unaware of or unfairly surprised by the [PTAB] judgment.” See id.

  Although Penn makes a vague assertion that it has “no opportunity for additional fact or expert

  discovery” to counter Defendants’ assertion of collateral estoppel, it does not suggest it “has any

  evidence which might have been offered to overcome the collateral estoppel effect” of the PTAB’s

  decision. See Prinz v. Greate Bay Casino Corp., 705 F.2d 692, 695 (3d Cir. 1983). Estoppel does

  not preclude Penn from presenting other evidence that Claim 13 is non-obvious or from presenting

  evidence regarding order of administration for purposes other than showing non-obviousness.

         Moreover, the purpose of requiring collateral estoppel to be pled as an affirmative defense

  “is to give the opposing party notice of the plea of estoppel and a chance to argue, if he can, why

  the imposition of an estoppel would be inappropriate.” Blonder–Tongue Labs. v. Univ. of Ill.

  Found., 402 U.S. 313, 350 (1971). Penn has filed both a Response and Sur-Reply to Defendants’

  Motion in which it opposed the application of collateral estoppel. (Doc. Nos. 292, 312.) Penn has

  thus had ample opportunity to contest collateral estoppel. See Sanders v. Sec’y Pa. Dept. of Corr.,

  602 F. App’x 54, 56 n.1 (3d Cir. 2015); Curry v. City of Syracuse, 316 F.3d 324, 331 (2d. Cir.

  2003) (permitting Defendant to raise collateral estoppel in a Reply to a Response in opposition of


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  Motion for Summary Judgment because Plaintiff was granted leave to file a Sur-Reply).

  Accordingly, because Penn is not prejudiced and has been given the opportunity to oppose

  application of collateral estoppel, I will not deny Defendants’ Motion as untimely.

         Collateral estoppel, or issue preclusion, “bars ‘successive litigation of an issue of fact or

  law actually litigated and resolved in a valid court determination essential to the prior judgment,’

  even if the issue recurs in the context of a different claim.” Taylor v. Sturgell, 553 U.S. 880, 892

  (2008) (quoting New Hampshire v. Maine, 532 U.S. 742, 748-49 (2001)). “[A] collateral estoppel

  determination is generally guided by regional circuit precedent, but [Federal Circuit] precedent

  [applies] to those aspects of such a determination that involve substantive issues of patent law.”

  Ohio Willow Wood Co. v. Alps S., LLC., 735 F.3d 1333, 1342 (Fed. Cir. 2013). The Third Circuit

  imposes four requirements for collateral estoppel to apply: “(1) the identical issue was previously

  adjudicated; (2) the issue was actually litigated; (3) the previous determination was necessary to

  the decision; and (4) the party being precluded from relitigating the issue was fully represented in

  the prior action.” Jean Alexander Cosmetics, Inc. v. L’Oreal USA, Inc., 458 F.3d 244, 249 (3d

  Cir. 2006).

         The Parties dispute only if the issue of whether the order of administration makes Claim

  13 non-obvious is “the identical issue” to that adjudicated in the IPR proceedings. (See Doc. No.

  292 at 6-13.) Penn argues that the issues are not identical because the PTAB applies a different

  legal standard than district courts. (Id. at 6.) A final judgment from the PTAB, however, “has an

  immediate issue-preclusive effect on any pending or co-pending actions involving the patent.”

  XY, LLC v. Trans Ova Genetics, 890 F.3d 1282, 1294 (Fed. Cir. 2018). That different burdens of

  proof and standards of validity apply does not preclude collateral estoppel. See id. at 1300

  (Newman, J. concurring in part and dissenting in part); see also M2M Sols. LLC v. Sierra Wireless

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  Am., Inc., Civ. No. 14-1102 Doc. Nos. 213, 214 (D. Del. Mar. 31, 2021) (“[D]istrict courts have

  interpreted XY v. Trans Ova to stand for the position that differing burdens of proof will not

  prevent the application of collateral estoppel to PTAB decisions that meet all other

  requirements.”).

          Penn also urges that identity of issues does not exist because the PTAB and my Markman

  Order construed “cytostatic effect” differently. (Doc. No. 292 at 10-13.) Unadjudicated claims

  are subject to collateral estoppel only if “the differences between the unadjudicated patent claims

  and adjudicated patent claims do not materially alter the question of invalidity.” Ohio Willow

  Wood, 735 F.3d at 1342. The “use [of] slightly different language to describe substantially the

  same invention . . . does not create a new issue of invalidity.” Id. at 1342-43. To preclude

  application of collateral estoppel the party must “explain[] how any [] alleged differences in claim

  scope alter the invalidity determination.” Id. at 1343 (patentee failed to explain how limiting the

  scope of “polymeric gel” to a ‘block copolymer’ gel’” altered the invalidity determination).

          In its Final Written Decision, the PTAB, applying the broadest reasonable interpretation

  standard, explicitly declined to adopt Penn’s proposed meaning of “cytostatic effect” in Claim 11

  of “an inhibition of tumor cell growth by accumulation of tumor cells in the G1 (also known as

  G0/G1) phase of the cell cycle.” Eli Lilly & Co., 2017 WL 2992425, at *6. Rather, the PTAB

  interpreted the term to mean that any “antibody that disrupts tyrosine kinase activity . . . is

  sufficient to satisfy the claimed inhibition having a ‘cytostatic effect.’” Id. In contrast, I construed

  “cytostatic effect,” as recited in Claim 13, to mean “inhibition or suppression of cell growth.”

  (Doc. No. 158 at 13-14.) Although Defendants originally argued that “cytostatic effect” be given

  its “plain and ordinary meaning,” they were unable to articulate the “plain and ordinary meaning”




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  of the term. (Id.) After arguing that antibodies can have different effects—which Penn did not

  dispute—Defendants agreed to Penn’s construction. (Id.)

         Penn urges that the difference in construction of the term “cytostatic” materially alters the

  question of invalidity. (Doc. No. 292 at 13.) It argues that the “cytostatic effect limitation is a key

  basis for the non-obviousness of the order of administration” because the prior art taught the

  administration of an anti-EGFR antibody—which under its interpretation was inherently

  cytostatic—prior to radiation to increase the therapeutic response. (Id.) Defendants respond that

  “the PTAB considered Penn’s proposed construction and found that the claims would have been

  obvious even under Penn’s proposed construction.” (Doc. No. 306 at 6.) Indeed, the PTAB found

  that “even under [Penn’s] construction of the term “cytostatic” . . . [Defendants have] shown

  sufficiently that” the anti-EGFR antibody administered in prior art had a “cytostatic” effect. Eli

  Lilly & Co., 2017 WL 2992425, at *14. My construction of the term “cytostatic” thus does not

  “materially alter[] the question of invalidity.” See Ohio Willow Wood, 735 F.3d at 1342.

  Accordingly, I will Grant Defendants’ Motion and Penn will be collaterally estopped from

  presenting testimony that administering the antibody first followed by radiation makes Claim 13

  non-obvious.

        C. Motions to Exclude Expert Testimony Regarding Infringement

         The Parties’ dispute whether Defendants’ have infringed Claim 13 of the ‘558 Patent. Both

  Parties’ expect to offer expert testimony to support or refute infringement. Penn’s infringement

  expert, Dr. Antony Burgess, has opined that Erbitux infringes Claim 13. (Doc. No. 173-3.)

  Defendants move to strike portions of Burgess’ report because it “advances a new theory of

  infringement” and move to exclude his testimony insofar as it relies on Fournier because it is

  unreliable and irrelevant. (Doc. Nos. 173-1, 271.)

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          Defendants expect to present two expert witnesses to rebut Penn’s assertions they infringed

  Claim 13: Dr. Jennifer R. Grandis and Dr. Steven M. Block.               Grandis has opined that

  administration of Erbitux followed by radiation does not directly infringe Claim 13. (Doc. No.

  281-10.) Penn moves to exclude Grandis’ testimony as unreliable. (Doc. No. 279.) Block has

  opined that Burgess’ opinion that Erbitux inhibits kinase activity mediated by a p185 homodimer

  is based on a flawed interpretation of Fournier. (Doc. No. 285-1 at ¶ 49.) Penn moves to exclude

  Block’s testimony because he is unqualified, and because his opinion is unreliable. (Doc. No.

  278.)

              1. Defendants’ Motion to Strike Portions of the Infringement Report of Dr. Antony

                  Burgess

          Defendants urge that the “infringement theory in Dr. Burgess’s expert report bears no

  relation to the theory Penn disclosed in its infringement contentions” and thus paragraphs 47-69,

  71-76 and 84-92 of the report should be excluded under Rule 12(f), or in the alternative under Rule

  37(c)(1). (Doc. No. 173-1 at 23.) Because I find that the report is not a pleading, I will not strike

  it under Rule 12(f). Similarly, because the report does not advance a new theory of infringement,

  I will not strike it under Rule 37(c)(1).

                  Striking the Report Under Rule 12(f)

          Defendants first urge that I strike paragraphs 47-69, 71-76 and 84-92 of the report pursuant

  to Rule 12(f). (Doc. No. 173-1 at 14-15.) Rule 12(f) allows me to “strike from a pleading an

  insufficient defense or any redundant, immaterial, impertinent, or scandalous matter.” Fed. R. Civ.

  P. 12(b). An expert report is not a pleading. See Fed. R. Civ. P. 7(a). Rather, as I have discussed,




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  if the report is an untimely disclosure, I may exclude it under Rule 37(c)(1). I will not thus strike

  the report under Rule 12(f).

                 Striking the Report under Rule 37(c)(1)

         Infringement contentions are analogous to “initial disclosures” under Rule 26(a). Midwest

  Athletics & Sports All. LLC v. Ricoh USA, Inc., No. 19-cv-514, 2021 WL 1907475, at *4 (E.D.

  Pa. May 12, 2021) (citing ViaTech Techs., Inc. v. Microsoft Corp., No. 17-cv-570, 2021 WL

  663057, at *1 (D. Del. Feb. 19, 2021)). Untimely infringement contentions are thus subject to

  exclusion under Rule 37(c)(1). ViaTech, 2021 WL 663057, at *1; Fed. R. Civ. P. 37(c)(1). “The

  threshold question in deciding whether to strike an expert report is whether the expert has

  permissibly specified the application of a disclosed theory or impermissibly substituted a new

  theory altogether.” Digit. Reg of Tex., LLC v. Adobe Sys. Inc., Civ. No. 12-1971, 2014 WL

  1653131, at *2 (N.D. Cal. Aug. 24, 2014). If so, I must determine whether exclusion is appropriate

  by applying the Third Circuit’s Pennypack factors. ZF Meritor, 696 F.3d at 298.

         Defendants argue that Dr. Burgess’ report offers new theories of infringement that conflict

  with those set forth in the amended infringement contentions and relies on literature not cited in

  the amended infringement contentions. (Doc. No. 173-1 at 14.) Penn responds that the expert

  report is consistent with its amended infringement contentions and that any additional literature

  merely provides additional evidentiary support for the arguments in its amended infringement

  contentions. (Doc. No. 174 at 1.)


       The Amended Infringement Contentions provide that Defendants induce infringement of

  Claim 13 of the ‘558 Patent: (1) Claim 13 is directly infringed when “a healthcare professional

  first administers Erbitux followed by anticancer radiation;” and (2) Defendants “induce


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  infringement . . . by actively and intentionally encouraging, aiding, instructing, and inducing others

  to practice the methods of the asserted [C]laim[].” (Doc. No. 63-15 at 2.) The Amended

  Infringement Contentions includes a chart identifying where each limitation of Claim 13 of the

  ‘558 Patent is found. (Id. at 3, 26-30, 31-32.)

         Infringement contentions “require parties to crystallize their theories of the case early in

  the litigation and to adhere to those theories once they have been disclosed.” O2 Micro Int’l Ltd.

  v. Monolithic Power Sys., Inc., 467 F.3d 1355, 1366 n.12 (Fed. Cir. 2006) (quoting Nova

  Measuring Instruments Ltd. v. Nanometrics, Inc., 417 F. Supp. 2d 1121, 1123 (N.D. Cal. 2006)).

  A patentee thus may not introduce a theory of infringement in an expert report that was not

  disclosed in its infringement contentions. See Phigenix, Inc. v. Genentech, Inc., 783 F. App’x

  1014, 1017-18 (Fed. Cir. 2019). The scope of the expert report and infringement contentions “are

  not coextensive,” however. Realtime Data LLC v. NetApp, Inc., Civ. No. 16-cv-961, 2017 WL

  4844254, at *1 (E.D. Tex. Oct. 26, 2016). Infringement contentions are thus not required to

  “disclos[e] [] specific evidence [or] . . . prove [] infringement.” KlausTech, Inc. v. Google LLC,

  2018 WL 5109383 , at *2 (N.D. Cal. Sept. 14, 2018); see also Linex Techs. v. Belkin Int’l, Inc.,

  628 F. Supp. 2d 703, 713 (E.D. Tex. 2008) (“Infringement contentions are not meant to provide a

  forum for litigation of the substantive issues; they are merely designed to streamline the discovery

  process.”).

         I may strike portions of an expert report if it clearly sets forth a new theory of infringement.

  See, e.g., ViaTech, 2021 WL 663057, at *2 (striking portions of an expert report that introduced

  new doctrine of equivalents); see also ASUS Comput. Int’l v. Round Rock Rsch., LLC, Civ. No.

  12-cv-2099, 2014 WL 1463609, at *2-3 (N.D. Cal. Apr. 11, 2014) (striking portions of an expert

  report regarding indirect infringement when patentee’s infringement contentions included only


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  “boilerplate” indirect infringement assertions). I may not, however, strike portions of an export

  report that are simply explaining or supporting the infringement theories set forth in the

  infringement contentions. See, e.g., Realtime Data, 2017 WL 4844254, at *1.

          Defendants argue that the report “relies on literature not cited in the amended infringement

  contentions” because it sets forth “extensive scientific articles beyond the Fournier manuscript

  allegedly supporting Penn’s claim that the use of Erbitux infringes [C]laim 13.” (Doc. No. 173-1

  at 14-15.) Yet, Penn may present additional evidence of infringement that was not disclosed in its

  infringement contentions. See, e.g., KlausTech, 2018 WL 5109383, at *2. “It is illogical to force

  a plaintiff to only be able to use evidence in its expert reports that was originally in its infringement

  contentions.” Sol IP, LLC, v. AT&T Mobility LLC, Civ. No. 18-cv-526, 2020 WL 10045985, at

  *2 (E.D. Tex. Apr. 23, 2020). Accordingly, I will not strike portions of the report because it

  includes additional literature not cited in the Amended Infringement Contentions.

          Defendants also argue that the report advances a new theory of infringement because it

  contradicts Penn’s previous position as to (1) whether Erbitux inhibits formation of p185

  homodimers; (2) whether it was previously known that heteroclusters are active; and (3) the

  prevalence of p185 in SCCHN.            (Doc. No. 173-1 at 18.)        Penn responds that this is a

  mischaracterization of both the amended invalidity contentions and the report. (Doc. No. 174 at

  3.)

                  Formation of p185 Homodimers

          Penn’s Amended Infringement contentions allege that “Erbitux binding to EGFR inhibits

  formation of EGFR dimers.” (Doc. No 63-15 at 31.) It cites Fournier as evidence that when EGF

  binds EGFR, it results in “the formation of EGFR dimers . . . [and] the subsequent assembly of

  EGFR dimers and [p185] dimers into an activated heterocluster.” (Id.) In his supplemental



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  declaration supporting Penn’s Motion for Leave to Amend Infringement Contentions, Dr. Rolf

  Craven explained that based on the findings of Fournier “Erbitux must [] inhibit formation of

  activated heteroclusters containing p185 homodimers.” (Doc. No. 68-5 at ¶ 4.) The report states

  that Erbitux “prevents the formation of the ligand stimulated conformation of the EGFR needed to

  induce the formation of the activated p185 homodimer.” (Doc No. 173-3 at ¶ 69.) Defendants

  characterize the report’s statement of how Erbitux effects p185 as a “new theory of infringement”

  because it “directly contradicts” the Amended Infringement Contentions and Dr. Craven’s

  declaration. (Doc. No. 173-1 at 18-19.) Penn responds that Defendants have selectively quoted

  and mischaracterized the report and Amended Infringement Contentions. (Doc. No. 174 at 4-6.)

  I agree with Penn.

         It is clear from the Amended Infringement Contentions that Cetuximab inhibits the

  formation of EGFR dimers and therefore, p185 dimers are unable to form a heterocluster with

  EGFR dimers, which then is “active.” (See Doc. No. 63-15 at 31-32.) This does not contradict

  the report’s description that when Cetuximab binds EGFR, it is not able to induce the formation

  of an “activated p185 dimer,” which the report explains is a dimer that contained within a higher-

  order assembly. (Doc No. 173-3 at ¶¶ 46-47, 69.) Penn has thus not changed its theory of how

  Erbitux inhibits kinase activity mediated by a p185 dimer.

                 Active Heteroclusters

         In its Motion for Leave to Amend Infringement Contentions, Penn stated that its “sole basis

  for [its] request for leave to assert [C]laim 13 is the Fournier article,” and that it “could not have

  found reason to assert [C]laim 13 against Defendants before the Fournier article.” (Doc. No. 63-

  14 at 8-9.) The report, however, provides a lengthy discussion of heterocluster formation of erbB

  receptors, including articles published before Fournier. (Doc No. 173-3 at ¶¶ 47-62.) Defendants



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  argue that this constitutes a new theory of induced infringement. (Doc. No. 173-1 at 20-21); 35

  U.S.C. § 271(b).

         Induced infringement requires a showing that “the accused inducer took an affirmative act

  to encourage infringement with the knowledge that the induced acts constitute patent

  infringement.” Microsoft Corp. v. DataTern, Inc., 755 F.3d 899, 904 (Fed. Cir. 2014). Defendants

  urge that the report sets forth a new theory of induced infringement because, although Penn first

  argued that they had “secret knowledge” of Erbitux’s properties such that they knew they were

  inducing infringement, the report now suggests that the “requisite knowledge was ‘clear’ and

  known to ‘many’ people in the art.” (Id.) I disagree.

         The Amended Infringement Contentions state that “Defendants’ knowingly induce health

  care providers to directly practice the method” and cite the Erbitux label and their knowledge of

  the ‘558 Patent as evidence of their specific intent to induce infringement. (Doc. No. 63-15 at 27.)

  This is a far cry from “placeholder” statements that merely recite the requirements for induced

  infringement under § 271(b). See, e.g., ASUS, 2014 WL 1463609, at *3 (striking expert report

  statements that ASUS indirectly infringes by selling products without a specific component and

  then directing customers to incorporate that component because the infringement contentions

  included a bare recitation of elements to satisfy the claim). The report thus does not advance a

  new theory of induced infringement.

                 p185 expression in SCCHN

         Dr. Craven stated in his Declaration supporting Penn’s Motion for Leave to Amend

  Infringement Contentions that p185 “can be detected on at least 40% of head and neck cancer

  samples.” (Doc. No. 63-2 at ¶ 31.) Defendants characterize this statement as showing that Penn’s

  theory of infringement was that less than 50% of head and neck tumors express p185. (Doc. No.



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  173-1.) The report states, however, that “almost all head and neck tumors” express p185. (Doc

  No. 173-3 at ¶ 71.) Defendants argue that the report thus offers a new theory of infringement as

  to “which head and neck tumors express p185.”

         The Amended Infringement Contentions do not explicitly state that less than 50% of head

  and neck tumors express p185. Rather, it states that that “[e]xpression of EGFR is [] detected in

  many human cancers including those of the head and neck.” (Doc. No. 63-15 at 26.) Moreover,

  in his declaration Dr. Craven stated that p185 is expressed on “at least 40%.” (Doc. No. 63-2 at

  ¶ 31 (emphasis added).) The additional evidence uncovered by Penn is not inconsistent with either

  its Amended Infringement Contentions or its previous statement that “almost all head and neck

  tumors express p185.” Any additional evidence is merely “proof showing that the accused element

  did in fact practice the limitation.” Sol IP, 2020 WL 10045985, at *2. Accordingly, the report

  does not advance a new theory of infringement as to which head and neck tumors express p185.

         Because the report does not advance any new theories of infringement beyond those in the

  Amended Infringement Contentions, I need not determine whether exclusion is warranted under

  the Pennypack factors. I will deny Defendants’ Motion to Strike Portions of the Infringement

  report of Dr. Antony Burgess.

             2. Penn’s Motion to Motion to Exclude Non-Infringement Testimony of Dr. Jennifer

                 R. Grandis

         Defendants’ Expert, Dr. Jennifer Grandis, has opined that administration of Erbitux

  followed by radiation does not directly infringe Claim 13 of the ‘558 Patent. Grandis is the Robert

  K. Werbe Distinguished Professor in Head and Neck Cancer at the University of California, San

  Francisco. (Doc. No. 281-10 at ¶ 2.) She earned her M.D. in 1987 from the University of

  Pittsburgh and completed a surgery and otolaryngology fellowship and research fellowship at the

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  University of Pittsburgh. (Id. at ¶¶ 3-5.) While at the University of Pittsburgh Medical Center

  (UPMC), Grandis led the Head and Neck Cancer Program and was the principal investigator for

  two National Institute of Health grants. (Id. at ¶¶ 6-7.) Grandis’ research focuses on signal

  transduction in head and neck squamous cell carcinoma. (Id. at ¶ 9.)

            Penn argues that Grandis “lacks specialized expertise in the pertinent art—erbB receptor

  biology.” (Doc. No. 279 at 8-14.) Penn characterizes Grandis as a physician who studies the

  “expression of erbB receptors” but has no expertise on the “interactions between erbB receptors.”

  (Id. at 8.) Penn cites Grandis’ testimony that before this case she was “unfamiliar with the term

  ‘clustering’ with respect to erbB receptors” and that she did not know whether a p185 homodimer

  can “phosphorylate other proteins that lead to downstream signal transduction” without further

  review of the scientific literature. (Doc. No. 281-9 at 61:4-15; 130:11-17.) Penn further criticizes

  the publications on which Grandis has relied to support her opinion. (Doc. No. 279 at 11-14.)

  Penn ignores, however, Grandis’ own extensive publication history and research experience—

  much of which relates to EGFR signaling in head and neck cancer. (See Doc. No. 285-1 at ¶¶ 2-

  14.) Moreover, Defendants’ argue that Grandis’ purported errors are actually disputes of scientific

  fact. (Doc. No. 296 at 8.) Even if Grandis made errors in her testimony, those mistakes do not

  “render her unqualified as an expert for purposes for purposes of Rule 702.” In re Paoli, 35 F.3d

  at 754.

            Penn also argues that Grandis’ opinions are unreliable because they “arise from a cherry-

  picked literature review,” and are “directly contradicted by her own publications.” (Doc. No. 279

  at 15.) It further argues that Grandis “focused her non-infringement positions on the Fournier and

  Patel publications while completely overlooking or providing only cursory responses to other

  publications directly undermining her assertions.” (Id. at 16.) A disagreement between experts

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  about the importance of specific literature, however, does not make one of the experts unreliable.

  See Karlo v. Pittsburgh Glass Works, LLC, 849 F.3d 61, 81 (3d Cir. 2017) (“‘The test of

  admissibility is not whether a particular scientific opinion has the best foundation, or even whether

  the opinion is supported by the best methodology or unassailable research. . . . Instead, the court

  looks to whether the expert’s testimony is supported by ‘good grounds.’”) (quoting In re Paoli, 35

  F.3d at 745). Defendants urge that any contradiction between Grandis’ opinion and publications

  are mischaracterizations. (Doc. No. 296 at 11 n.5 (Grandis’ “statements are not mutually exclusive

  and are entirely consistent with one another”).) Any argument that Grandis’ conclusions are

  scientifically inaccurate can be explored through “vigorous cross-examination, presentation of

  contrary evidence, and careful instruction on the burden of proof.” United States v. Phung, 127 F.

  App’x 594, 598 (3d Cir. 2005) (quoting Daubert, 509 U.S. at 596).

         Because Grandis is qualified and because her proposed testimony is reliable, I will deny

  Penn’s Motion to Exclude Grandis’ Testimony

             3. Defendants’ Motion to Exclude Expert Testimony Based on the Fournier

                 Manuscript

         Penn’s Infringement Expert, Dr. Antony Wilks Burgess, has opined that Fournier provides

  evidence that administration of Erbitux inhibits kinase activity mediated by a p185 homodimer

  and thus infringes Claim 13. (Doc. No. 173-3 at ¶ 46, 64.) Defendants do not move to exclude

  Dr. Burgess’ testimony in its entirety. Rather, they move to exclude only testimony and evidence

  regarding Fournier because it is unreliable and irrelevant. (Doc. No. 271); See Fed. R. Evid. 702;

  Daubert, 509 U.S. at 579. Yet, “it is not the district court’s role under Daubert to evaluate the

  correctness of facts underlying an expert’s testimony.” i4i Ltd. P’ship v. Microsoft Corp., 598



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  F.3d 831, 856 (Fed. Cir. 2010). Because Dr. Burgess is qualified, and his testimony is reliable and

  relevant, I will deny Defendants’ Motion.

         To admit expert testimony, the expert must be qualified, and the testimony must be reliable

  and “fit the issues in the case.” Schneider, 320 F.3d at 404. Defendants do not challenge Burgess’

  qualifications but argue that any testimony related to Fournier is unreliable and irrelevant.

  Defendants focus their argument on the Fournier’s peer review comments: they urge that four peer-

  reviewed journals rejected Fournier “due to its seriously flawed methodology, analysis and

  conclusions.” (Doc. No. 271 at 7.) Burgess does not base his opinion on Fournier alone, however,

  but rather on a body of scientific literature—including Defendants’ own publications. (See Doc

  No. 173-3.) Moreover, although the reviewers found flaws in Fournier, Burgess himself was one

  of those reviewers. (See Doc. No. 186-19 at 167:54-168:2.) Burgess acknowledges that “certain

  parts of [Fournier] need to be improved,” but maintains that “there is some solid data there on the

  size of the erbB clusters.”    (Doc. No. 295-5 at 167:18-23.)        Any argument that Burgess’

  conclusions based on Fournier are scientifically inaccurate can be explored through “vigorous

  cross-examination, presentation of contrary evidence, and careful instruction on the burden of

  proof.” Phung, 127 F. App’x at 598 (quoting Daubert, 509 U.S. at 596); see also Whitserve, LLC

  v. Comput. Packages, Inc., 694 F.3d 10, 29 (Fed. Cir. 2012).

         Defendants also urge that Fournier “does not fit the facts of this case” because any assertion

  that Fournier establishes that Erbitux “inhibits kinase activity mediated by a p185 homodimer”

  relies on “undisputedly” false assumptions. (Doc. No. 271 at 13.) Defendants argue that Fournier

  “used the wrong kind of cells,” that it is unclear whether those cells had p185 homodimers, and

  that Fournier “did not measure kinase activity mediated by p185 homodimers.” (Id. at 14-20.)

  Expert testimony may however “fit the issue of the case” when there are “good grounds to

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  extrapolate” results of a study such that it “connects the work of the expert to the particular case.”

  See In re Paoli, 35 F.3d at 743.

         Burgess bases his opinions on more than just Fournier. His report includes a lengthy

  discussion, based on several scientific publications (none of which Defendants argue are unreliable

  or irrelevant), supporting his opinion that head and neck cancers express EGFR and p185 and how

  Erbitux inhibits kinase activity mediated by a p185 homodimer. (Doc. No. 173-3 at ¶¶ 46-73.)

  Moreover, Burgess has explained how the findings in Fournier can be extrapolated to show that

  Erbitux inhibits p185 homodimer-mediated kinase activity in head and neck cancer. (See, e.g.,

  Doc. No. 186-19 at 122:3-5 (“The biology of the receptor, with direct activation receptor or its

  inhibition will be very similar on different cells.”).) Accordingly, Burgess’ proposed testimony

  ‘fits the issues in the case.” See In re Paoli, 35 F.3d at 743.

         As I have discussed, Burgess’ proposed testimony is reliable and will assist the fact trier in

  determining whether administration of Erbitux infringes Claim 13. Although Fournier may have

  flaws, “it is not the district court’s role under Daubert to evaluate the correctness of facts

  underlying an expert’s testimony.” i4i Ltd., 598 F.3d at 856. Defendants may cross-examine

  Burgess regarding the facts he relies on, and may present contrary evidence. Phung, 127 F. App’x

  at 598. Accordingly, I will deny Defendants’ Motion to Exclude Testimony and Evidence

  Regarding Fournier.

             4. Penn’s Motion to Exclude Testimony of Dr. Steven M. Block

         Defendants’ Expert, Dr. Steven Block, has opined that “Burgess’ opinion that Erbitux

  inhibits kinase activity mediated by a p185 homodimer” is incorrect. (Doc. No. 285-1 at ¶ 49.)

  Block’s analysis focuses on Burgess’ interpretation of Fournier. He describes the peer-review


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  process in the scientific community and the comments from peer-reviewers on Fournier. (Id. at ¶¶

  37-44.) He then critiques Burgess’ interpretation of Fournier by describing the problems with

  Fournier’s methodology and suggests that the authors should have used the “Saffman-Delbrück”

  model of diffusion rather than the “Stokes-Einstein equation” model of diffusion. (Id. at ¶ 55.)

         Penn urges that Block “lacks the expertise necessary to opine about erbB receptors.” (Doc.

  No. 278 at 7.) An expert witness may not testify “on the issues of noninfringement or invalidity

  unless that witness is qualified as an expert in the pertinent art.” Sundance, Inc. v. DeMonte

  Fabricating Ltd., 550 F.3d 1356, 1363 (Fed. Cir. 2008). Block is a professor at Stanford with a

  joint appointment in the Departments of Applied Physics and Biology. (Id. at ¶ 2.) He earned

  bachelors and masters degrees in physics, a Ph.D. in biology. (Id. at ¶ 3.)

         Block’s scientific research focuses on single molecule biophysics and he is undisputedly

  an expert in this field. (Id. at ¶ 7.) The TIRF microscopy method used in Fournier is within the

  field of single molecule biophysics. (See Doc. No. 63-4 at 5.) Although Block has no background

  or expertise in erbB receptors, Defendants argue that Blocks’ opinions are “limited to discussing

  the flaws and limitations of Fournier’s single-molecule bioimaging work.” (Doc. No. 297 at 7.)

  Block is thus qualified to opine on the Fournier methodology and results and the conclusions drawn

  from those results in Fournier.

         Penn also argues that Block’s testimony is unreliable because it is “premised on the faulty

  application of a physical model,” the Saffman-Delbrück model. (Doc. No. 278 at 10.) Penn urges

  that the Saffman-Delbrück is in accurate when measuring larger proteins, such as erbB proteins.

  Defendants counter that Block has explained that this model is more appropriate when measuring

  proteins through biological membranes, such as erbB proteins. (Doc. No. 285-1 at ¶¶ 54, 60-67.)

  Moreover, Block cites several articles explaining the applicability of the Saffman-Delbrück model.

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  (Id. at ¶¶ 66-67.) “The grounds for the expert’s opinion merely have to be good, they do not have

  to be perfect.” In re Paoli, 35 F.3d at 744. Block has cited several studies supporting his

  application of the Saffman-Delbrück model. Once again, any argument that Block’s conclusions

  are scientifically inaccurate can be explored through “vigorous cross-examination, presentation of

  contrary evidence, and careful instruction on the burden of proof.” Phung, 127 F. App’x at 598

  (quoting Daubert, 509 U.S. at 596); see also Whitserve, 694 F.3d at 29.

         Penn argues that Block’s criticisms of Fournier will not assist the finder of fact because he

  does not dispute the conclusion of the Fournier publication that higher order erbB clusters form.

  (Doc. No. 279 at 12-13.) Block’s report clearly describes why, in his opinion, “the claim that

  activated EGFR dimers associate with [p185] partners that cluster together as upon EGF binding

  is unjustified.” (Doc. No. 281-3 at ¶ 74.)

         Because Block is qualified to discuss the single-molecule biophysics results of Fournier

  and conclusions drawn therefrom and because his proposed testimony is reliable and will assist

  the finder of fact, I will deny Penn’s motion to exclude Block’s testimony.

        D. Motions to Exclude Damages Expert Testimony

        Both Parties’ expect to offer expert testimony as evidence of the amount of damages.

  Although the Parties’ agree that the correct measurement of damages is measured by a reasonable

  royalty, the experts reports unsurprisingly offer significantly different opinions on the amount of

  damages. (Doc. Nos. 273-1, 286-6.) Each side has moved to exclude the testimony of other other’s

  damages expert under Daubert. (Doc. Nos. 273, 280.)

        A reasonable royalty is the amount “that would have been agreed to in a hypothetical

  negotiation between a willing licensee and willing licensors at the time infringement began.”


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  Fujifilm Corp. v. Benun, 605 F.3d 1366, 1372 (Fed. Cir. 2010). “[E]stimating a reasonable royalty

  is not an exact science” and there may be “a range of reasonable royalties, rather than a single

  value.” Summit 6, LLC v. Samsung Elecs. Co., 802 F.3d 1283, 1296 (Fed. Cir. 2015). Moreover,

  “there may be more than one reliable method for estimating a reasonable royalty.” Id. Regardless

  of which method is used to be reliable “the data utilized in the methodology is sufficiently tied to

  the facts of the case.” Id.

        Here, both experts began by determining the base upon which a royalty rate would be

  applied. (Doc. Nos. 273-1 at 19-25; 281-6 at ¶¶ 38-42.) Then both experts applied the Georgia-

  Pacific factors to determine the reasonable royalty. (Doc. Nos. 273-1, 286-6); see AstraZeneca AB

  v. Apotex Corp., 782 F.3d 1324, 1332 (Fed. Cir. 2015) (“[T]he so-called Georgia–Pacific factors[]

  [are a] set of 15 factors drawn from the frequently cited opinion in Georgia–Pacific Corp. v. U.S.

  Plywood Corp., 318 F. Supp. 1116 (S.D.N.Y.1970).).

             1. Defendants’ Motion to Exclude the Testimony of Krista Holt

         Penn’s damages expert, Krista Holt, opined that the reasonable royalty damages would be

  approximately $43 million. (Doc. No. 273-1 at 78.) She also opines on the commercial success

  of Erbitux as an indicium of non-obviousness. (Id. at 80-81.) Defendants move to exclude the

  entirety of Holts’ testimony. (Doc. No. 273.) I will Deny Defendants’ Motion.

         Holt’s Reasonable Royalty Rate Opinion

         Defendants move to exclude Holt’s reasonable royalty opinion on the basis that it is

  unreliable because: (1) she relies on a licensing agreement that is not comparable to the

  hypothetical negotiation; (2) her opinion does not capture the incremental benefit that Claim 13

  adds to Erbitux; and (3) her opinion that the reasonably royalty damages should include a fixed


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  lump sum payment should is inconsistent with the Patent Act. (Id.) Because these arguments go

  to the weight and credibility—but not the admissibility—of Holt’s opinion, I will deny

  Defendants’ Motion to Exclude Holt’s Reasonable Royalty Testimony.

                 Licensing Agreements Comparable to the Hypothetical Negotiation

         Defendants argue that Holt’s opinion regarding reasonable royalty damages is unreliable

  because she relies on a licensing agreement that is not comparable to the hypothetical negotiation.

  (Doc. No. 273 at 10-15.) An expert may rely on past licenses in calculating damages; those

  licenses, however, must be “sufficiently comparable to the hypothetical license at issue in suit.”

  Lucent Techs., Inc. v. Gateway Inc., 580 F.3d 1301, 1325 (Fed. Cir. 2009). Accordingly, “there

  must be a basis in fact to associate the royalty rates used in prior licenses to the particular

  hypothetical negotiation at issue in the case.” Id. at 1317. The expert’s analysis must “account

  for the technological and economic differences between” the prior license and the hypothetical

  license in this case. Wordtech Sys., Inc. v. Integrated Networks Sols., Inc., 609 F.3d 1308, 1320

  (Fed. Cir. 2010) (internal quotation marks omitted).

         Holt’s report includes an analysis of eight licensing agreements: three between Penn and

  its licensing partners, and five between Defendants and their licensing partners. (Doc. No. 273-1

  at 31-44.) Holt does not find any of these licensing agreements to be comparable to the

  hypothetical license agreement in this case. (Id.) She nevertheless relies on four of these licensing

  agreements in forming her opinion because they are “potentially informative of the royalty that

  would be agreed to between Penn and Defendants” or are “informative for the starting point of a

  hypothetical negotiation.” (Id. at 35, 37, 39-40.) For each of these four licensing agreements, Holt

  describes the similarities and differences between the surrounding technologies and economic

  circumstances in those agreements and the hypothetical agreement in this case. (Id.)

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         Defendants argue that although Holt primarily relies on a 2004 Penn-Genentech

  Agreement, she states that it is not comparable to the hypothetical license agreement in this case

  and her opinion is thus unreliable. (Doc. No. 273 at 11-12.) Defendants can hardly claim that the

  reliance on the 2004 Penn-Genentech Agreement makes Holt’s testimony unreliable, however,

  when its own expert heavily relies on the same agreement in forming his opinion. (See Doc. No.

  281-6 at ¶¶ 79, 111); Versata Software, Inc. v. SAP Am., Inc., 717 F.3d 1255, 1268 (Fed. Cir.

  2013) (Defendant “cannot legitimately challenge the comparability of its own comparable.”).

         Defendants further argue that Holt failed to analyze the technical and economic differences

  between the 2004 Penn-Genentech Agreement and the hypothetical agreement here. (Id. at 12-

  13.) Holt’s report, however, includes a discussion of the technical and economic differences

  between the 2004 Penn-Genentech Agreement and the current hypothetical agreement. (Doc. No.

  273-1 at 11-12.) Any argument that her assumptions are incorrect go to the weight of Holt’s

  testimony and may be explored through cross-examination and presentation of contrary evidence.

  See ActiveVideo Networks, Inc. v. Verizon Commc'ns, Inc., 694 F.3d 1312, 1333 (Fed. Cir. 2012)

  (Defendants “disagreements are with the conclusions reached by [Plaintiff’s] expert and the factual

  assumptions and considerations underlying those conclusions, not his methodology. These

  disagreements go to the weight to be afforded the testimony and not its admissibility.”).

         Defendants also urge that Holt’s use of industry licenses to adjust the royalty rate range of

  the 2004 Penn-Genentech Agreement renders her opinion unreliable. (Doc. No. 273 at 13.) They

  argue that Holt did not “ensure that the industry agreements were comparable to this case in any

  way.” (Id.) Holt adjusts the 2004 Penn-Genentech Agreement (which was a license of non-FDA

  approved treatment) royalty rate range by a 2.8 multiplier based on her analysis of licenses in the

  pharmaceutical and biotechnology industry which showed higher royalty rates for drugs that were

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  FDA approved at the time of the negotiation compared to preclinical drugs. (Doc. No. 273-1 at

  71-72.) Defendants argue that Holt failed to consider alternative reasons for the observed increase

  in royalty rate. (Doc. No. 273 at 14.) Again, Defendants’ arguments amount to disagreements

  with Holt’s conclusions regarding the applicability of the industry agreements and thus do not

  render Holt’s opinion unreliable. See ActiveVideo Networks, 694 F.3d at 1333.

                 Apportionment to the Incremental Value of Claim 13

         Defendants also argue that Holt’s opinion is unreliable because it does not capture the

  incremental benefit that Claim 13 adds to Erbitux. (Doc. No. 273 at 16-20.) To be reliable, the

  expert’s opinion on “reasonable royalty award must be based on the incremental value that the

  patented invention adds to the end product.” Ericsson, Inc. v. D-Link Sys., Inc., 773 F.3d 1201,

  1226 (Fed. Cir. 2014). The expert must thus “separate the damages between the patented

  improvement and the conventional components” of the infringing product. Exmark Mfg. Co. v.

  Briggs & Stratton Power Prods. Grp., 879 F.3d 1332, 1348 (Fed. Cir. 2018).

         Penn argues that incremental value of Claim 13 to Erbitux is “the use of Erbitux the

  treatment of [Locally-advanced SCCHN] in connection with radiotherapy wherein Erbitux inhibits

  the kinase activity mediated by a p185 homodimer.” (Doc. No. 294 at 12-13.) In her report, Holt

  states that “[r]eseaerch has determined that 96.4% of SCCHN patients expressed p185” and that

  she “apportioned the royalty based by assuming 96.4% of the [] U.S. sales are tied to alleged

  infringement of Claim 13.” (Doc. No. 273-1 at 22.) Defendants urge that this is not proper

  apportionment because Holt failed to account for any benefit of inhibiting p185 homodimer-

  mediated kinase activity over erbB kinase activity generally, how much of Erbitux sales was driven

  by its ability to inhibit p185 homodimer-mediated kinase activity, and if physicians prefer Erbitux

  over other drugs because of its ability to inhibit p185 homodimer-mediated kinase activity. (Doc.


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  No. 273 at 18.) Yet, these arguments are “not the proper subject of a Daubert motion, as [they]

  turns on the resolution of a factual dispute—specifically, whether the features identified by

  Defendants are non-patented components that drive demand for” Erbitux. See Shire Viropharma,

  2021 WL 1227097, at *28. Defendants are free to cross-examine Holt on her factual assumptions

  underlying her apportionment analysis.

                 Lump Sum Payments

          Defendants urge that Holt’s reasonable royalty opinion is unreliable because it includes a

  fixed $6.5 million lump sum, which is inconsistent with the Patent Act. (Doc. No. 273 at 21.)

  They argue that the lump sum payment “cannot be tied to the infringement in any case, because it

  is fixed regardless of the amount of infringing sales or the time period of the alleged infringement.”

  (Id. at 22.)

          There is no per se rule against an award of both a running royalty award and a lump sum

  award. See, e.g., Fujifilm Corp, 605 F.3d at 1373 (affirming an award of a $2.5 million sump sum

  and $2.00 per infringing use running royalty based on the hypothetical negotiation). An expert

  opinion in favor lump sum award in addition to a running royalty award must nevertheless be

  based on the hypothetical negotiation. See LaserDynamics, Inc. v. Quanta Comput., Inc., 694 F.3d

  51, 80 (Fed. Cir. 2012).

          In her report, Holt explains that “both [P]arties’ most similar agreements to the hypothetical

  negotiation include lump sum payments” and that “it is reasonable to expect that both [P]arties

  would anticipate a lump sum payment to be part of the royalty arrangement.” (Doc. No. 273-1 at

  70.) In her deposition, Holt characterizes this as an “up-front access fee” that would have been

  paid at the time of hypothetical negotiation. (Doc. No. 295-6 at 161:4-7.) She explains that Penn

  always includes these lump sum payments as “an insurance” in the event there were no royalties.



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  (See id. at 163:15-23.) All of the licenses Holt deemed relevant to the reasonable royalty

  calculation include a lump sum component and thus including a lump sum in her opinion is not

  inconsistent with the Patent Act. See LaserDynamics, 694 F.3d at 79-80 (Comparable licenses are

  “probative not only of the proper amount of a reasonable royalty, but also of the proper form of

  the royalty structure.”). To the extent that Defendants disagree with Holt’s conclusions, they are

  free to explore her factual basis of her opinion on cross-examination.

         Defendants also argue that Holt impermissibly relies on Penn’s litigation costs as a reason

  for including the lump-sum component. (Doc. No. 173 at 23); Mahukar v. C.R. Bard, Inc., 79 F.3d

  1572, 1581 (Fed. Cir. 1996) (litigation expenses do not factor into reasonable royalty awards). In

  her deposition Holt testified: “[The access fee] secures an upfront fee no mater what happens

  afterwards . . . they still get their upfront fee. . . . I think Penn said they have spent somewhere up

  to $2 million on just the prosecution and IPR for the patents.” (Doc. No. 295-6 at 161:4-21.) Holt

  again references Penn’s costs in response to Defendants question regarding whether a lump sum

  payment would be appropriate if the damages occurred on a single day:

         The access fee would be paid, and then if the product killed everyone the next day
         and people just somehow started dropping over dead, then the access fee would
         have been paid, but the royalties would only be one day’s worth, right? So what an
         access fee does is it protects Penn so that they get the access fee for the technology,
         right? They have a lot of cost that they put in the patents, right? They put almost $2
         million just fighting in the US and worldwide on the prosecution against Lilly. And
         then there’s another half a million for the IPR. So is Penn going to do all of that
         work and fight for that many years and then receive one day of royalties? No. That’s
         not what -- if we look at what Penn does, 100 percent of the time, Penn has an
         upfront payment on their licenses.

  (Id. at 163:15 – 164:15.) Defendants characterize Holt’s statement as showing that the lump sum

  component is to compensate Penn for its litigation expenses. (Doc. No. 173 at 23.) Penn responds

  that this statement is merely explaining “Penn’s policies generally and explaining why an up-front




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  fee is always included in Penn’s licenses.” (Doc. No. 294 at 18.) Any dispute over the meaning

  of Holt’s statements goes to credibility and cannot be resolved in a Daubert motion.

         Because Holt’s opinion is reliable, I will deny Defendants’ Motion to Exclude Holt’s

  Reasonable Royalty Testimony.

         Holt’s Commercial Success Opinion

         Defendants argue that Holt’s commercial success opinion should be excluded because it

  does not provide a nexus between the success of Erbitux and Claim 13. (Doc. No. 273 at 23.)

  Penn responds that it is entitled to a presumption of nexus because the sales are coextensive with

  the invention, and that Holt has nevertheless established a nexus. (Doc. No. 294 at 21-22.)

  Because Holt has provided a nexus between the claimed invention and the commercial success of

  Erbitux, I will deny Defendants’ Motion to Exclude Holt’s testimony of commercial success.

         Evidence of commercial success is relevant only if a nexus “exist[s] between the

  commercial success and the claimed invention.” Tokai Corp. v. Easton Enters., Inc., 632 F.3d

  1358, 1369 (Fed. Cir. 2011). The strength of the nexus between the commercial success and the

  claimed invention “goes primarily to the weight secondary considerations should be given, and the

  Daubert inquiry is one of admissibility rather than weight.” Genband US LLC v. Metaswitch

  Networks Corp., Civ. No. 14-33, 2016 WL 98745, at *2 (E.D. Tex. Jan. 8, 2016); see also

  Alarm.com, Inc v. SecureNet Techs. LLC, Civ. No. 15-807, 2019 WL 133228, at *3 (D. Del. Jan.

  8, 2019) (Defendants’ argument that the expert’s nexus was legally insufficient was “a more

  appropriate inquiry for summary judgment, not for a Daubert motion.”). A plaintiff may also

  provide additional evidence of a nexus between commercial success and the invention. See St.

  Jude Med. v. Volcano Corp., Civ. No. 10-631, 2012 WL 4773752, at *1 (D. Del. 2012) (denying


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  motion in limine to exclude expert testimony of commercial success of models that may not have

  been covered by the patent but requiring the patentee to establish a nexus through another expert).

         In her report, Holt states that “Lilly earned over $770,000,000 in additional revenue and

  $566,000,000 in additional profit directly tied to the invention of Claim 13.” (Doc. No. 273-1 at

  81.) This figure excludes the sales not attributable to other uses of Erbitux. (Id. (“These sales

  which were only attainable through practice of the inventions of the asserted claim . . . equal 11.0%

  of Erbitux sales over the period.”)) Although Holt does not use the word “nexus,” her analysis

  that the “commercial success is tied to” Claim 13 is sufficient. (See id.) Moreover, Penn states

  that another expert, Dr. Susan Knox, provides additional evidence of the nexus between Claim 13

  and the commercial success of Erbitux. (Doc. No. 294 at 21.)

         Defendants’ argument that this nexus is insufficient goes to weight, not admissibility. See

  ActiveVideo, 694 F.3d at 1333. I will thus deny Defendants’ Motion to Exclude Holt’s testimony

  on commercial success.

             2. Penn’s Motion to Exclude Reasonable Royalty Rate Opinion of Dr. Christopher A.

                 Vellturo

        Defendants’ damages expert, Dr. Christopher A. Vellturo, has opined that if Defendants are

  liable for inducing infringement of Claim 13, the reasonable royalty damages would be

  approximately $569,800. (Doc. No. 286-6 at 71.) Penn moves to exclude Vellturo’s testimony as

  unreliable because: (1) Vellturo disregards the relationship between independent and dependent

  claims; (2) he discounts the full scope of Claim 13 by improperly opening “the book of wisdom”;

  and (3) he ignores the Parties’ licensing practices. (Doc. No. 280.) I will deny Penn’s Motion.

         Apportionment to the Incremental Value of Claim 13


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         In his report, Vellturo assess the “‘footprint’ of the patented invention in the market place”

  by evaluating the incremental contribution of Claim 13 relative to Claim 11. (Doc. Nos. 286-6 at

  ¶¶ 131- 134.) In his deposition, Vellturo explained that the footprint of Claim 13 is the subject

  matter that “is unique to [Claim] 13 [and] that would not be captured by [Claim] 11.” (Doc. No.

  286-7 at 106:17-107-2.) Penn argues that Vellturo thus does not consider all the limitations of

  Claim 13 but rather “discounts every limitation except one.” (Doc. No. 280 at 4.)

         Damages experts must “value the entire scope of the asserted claims.” Apple Inc. v.

  Motorola, Inc., 757 F.3d 1286, 1317-18 (Fed. Cir. 2014) (emphasis in original). As I have

  explained, however, the damages expert must “separate the damages between the patented

  improvement and the conventional components” of the infringing product. Exmark, 879 F.3d at

  1348. When the “accused product consists of both a patented feature and unpatented features” the

  “market value rule” applies and the patentee must thus “give evidence tending to separate or

  apportion the defendant’s profits and the patentee’s damages between the patented feature and

  unpatented features, and such evidence must be reliable and tangible, and not conjectural or

  speculative.” AstraZeneca, 782 F.3d at 1338 (quoting LaserDynamics, 694 F.3d at 67).

         Vellturo calculated the reasonable royalty damages by first “computing the relevant royalty

  base on which a royalty should be assessed.” (Doc. No. 286-6 at ¶ 8.) He calculated the royalty

  base by identifying the “total Erbitux net sales in the U.S and implement adjustments for each of

  [the] limitations” of Claim 13. (Id. at ¶ 9.) Vellturo agrees with the opinion of Penn’s damages

  expert in that the Erbitux total sales should first be limited to its use for treating head and neck

  cancer, and then further limited those sales for use of Erbitux in combination with radiation

  therapy. (Id. at ¶¶ 39-41.)




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         Vellturo and Penn’s Expert then disagree on the reduction in royalty base to account for

  the last limitation of Claim 13: that the antibody inhibits kinase activity mediated by a p185

  homodimer. (Compare id. at ¶ 41 with Doc. No. 286-1 at 22.) Penn’s damages expert relies on

  Penn’s infringement expert and reduces the royalty base only by an additional 4.6%. (Doc. No.

  286-1 at 22 (“96.4% of SCCHN patients express[] p185. . . . Although [p185] may be present in

  every case, I have apportioned the royalty base by assuming 96.4% of the [] U.S. sales are tied to

  alleged infringement of Claim 13.).) Vellturo, relying on Defendants’ infringement expert reduces

  the royalty base by 94%. (Doc. No. 286-6 at ¶¶ 41-42 (“[O]verexpression of p185 is necessary for

  homodimerization of p185, and [] a conservative estimate for the proportion of head and neck

  tumors that overexpress p185—and thus could have the p185 homodimers specified in the

  Asserted Claim—is 6%.”).)

         Vellturo thus considers each limitation of Claim 13. Like Penn’s expert, he reduces the

  entire market value of Erbitux using tangible evidence such that the royalty base profits are those

  that represent only use of Erbitux that infringes Claim 13. Any disagreements of “factual

  assumptions and considerations underlying [an expert’s] conclusions go to the weight to be

  afforded the testimony and not its admissibility.” ActiveVideo, 694 F.3d at 1333. I will thus not

  exclude Vellturo’s testimony on the basis that he does not consider all of the limitations of Claim

  13.

         Penn also argues that Vellturo’s opinion is unreliable because he applies a “two-step

  apportionment.” (Doc. No. 280 at 7-8.) After adjusting the royalty base to account for sales that

  represent only infringing uses of Erbitux, Vellturo also adjusts the royalty rate that would be

  applied to account for the “invention’s incremental contribution to the licensed product.” (Doc.

  No. 281-6 at ¶ 131.) In considering Georgia-Pacific factors 9 and 10, Vellturo explained that the


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  incremental value of inhibiting p185 homodimer mediated kinase activity was limited and thus the

  Parties would have lowered the royalty rate. (Id. at ¶¶ 132-134.) Penn’s damages expert also

  considered Georgia-Pacific factors 9 and 10 but found that they had an “upward” impact on the

  royalty rate. (Doc. No. 273-1 at 58-59.) As I have discussed, Penn’s argument that Vellturo’s

  reduction in the royalty rate because invention’s incremental contribution to the licensed product

  is minimal is “not the proper subject of a Daubert motion, as it turns on the resolution of a factual

  dispute—specifically, whether the features identified by Defendants are non-patented components

  that drive demand for” Erbitux. See Shire Viropharma, 2021 WL 1227097, at *28. Penn is free

  to cross-examine Vellturo on the factual assumptions underlying his apportionment analysis.

         Discounting the Full Scope of Claim 13

         In his analysis, Vellturo “assume[s] the parties at the hypothetical negotiation would have

  considered the Asserted Claim to be valid and infringed.” (Doc. No. 281-6 at ¶ 47.) He does not

  consider, however, the entire ‘558 Patent to be valid and infringed because “many of the other

  claims of the Patent-in-Suit have been adjudicated and found invalid by the PTAB, including

  independent Claim 11, on which the Asserted Claim relies.” (Id.at ¶ 48.) Penn urges that allowing

  this knowledge to factor into the hypothetical negotiation renders his opinion unreliable because

  it “disregard[s] the central premise of the hypothetical negotiation exercise: that the parties sit

  down on the eve of infringement, assume that that patent at issue is valid and infringed, and try to

  work out a deal based on what is then known.” (Doc. No. 280 at 5-6.)

         “The hypothetical negotiation tries, as best as possible, to recreate the ex ante licensing

  negotiation scenario and to describe the resulting agreement.” Lucent, 580 F.3d at 1325. The

  relevant question is thus what would the “royalty payment scheme” be if the parties had negotiated

  a licensing scheme. Id. “The hypothetical negotiation assumes that the asserted patent claims are

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  valid and infringed.” Id. (emphasis added). Penn urges that Lucent requires an assumption that

  the entire patent be valid and infringed during the hypothetical negotiation, yet this is not what

  Lucent requires. See id. Although Penn originally asserted Claim 11, the PTAB cancelled that

  claim as invalid and thus Penn can no longer maintain a cause of action based on the infringement

  of that claim. See Trustees of Univ. of Pa. v. Eli Lilly & Co., 737 F. App’x 1006 (Fed. Cir. 2017);

  Fresenius USA, Inc. v. Baxter Int’l, Inc., 721 F.3d 1330, 1336-37 (Fed. Cir. 2013). Claim 13 is

  thus the sole remaining asserted claim. (See Doc. No. 63-15.) Vellturo has properly assumed that

  Claim 13 is valid and infringed. (Doc. No. 281-6 at ¶ 47.)

         Moreover, the hypothetical negotiation analysis “permits and often requires a court to look

  to events and facts that occurred thereafter and that could not have been known to or predicted by

  the hypothesized negotiators.” Fromson v. W. Litho Plate & Supply Co., 853 F.2d 1568, 1575

  (Fed. Cir. 1988) overruled on other grounds by Knorr-Bremse Systeme Fuer Nutzfahrzeuge GmbH

  v. Dana Corp., 383 F.3d 1337 (Fed. Cir. 2004). For example, “evidence of usage [of the infringing

  product] after infringement started can, under appropriate circumstances, be helpful to the jury and

  the court in assessing whether a royalty is reasonable” because it may “provide information that

  the parties would frequently have estimated during the negotiation.” Lucent, 580 F.3d at 1333-34.

  Similarly, the factfinder may (but is not required to) consider evidence that the infringing product

  did not receive FDA approval before the expiration of the patent—which occurred after the date

  of the hypothetical negotiation—because the parties would have recognized that possibility.

  Amgen Inc. v. Hospira, Inc., 336 F. Supp. 3d 333, 351-52 (D. Del. 2018), aff’d, 944 F.3d 1327

  (Fed. Cir. 2019). Here the Parties would have recognized the possibility that all or some of the

  ‘558 Patent Claims might be found invalid. Penn’s arguments thus go to the weight of Vellturo’s

  opinion, not admissibility.


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           Parties’ Licensing Practices

        Penn argues that although Vellturo opined that “that the [P]arties would not have negotiated

  a license to the entire ‘558 Patent,” he did not consider any license agreements to a single patent

  claim. (Doc. No. 280 at 9.) An expert may rely only on a license that is “sufficiently comparable

  to the hypothetical license at issue in suit.” Lucent, 580 F.3d at 1325. A patentee may, however,

  “seek only those damages attributable to the infringing features.” Virnetx, Inc. v. Cisco Sys., Inc.,

  767 F.3d 1308, 1328 (Fed. Cir. 2014). Here, Vellturo has reviewed the same licenses as Penn’s

  expert. As I have discussed both Penn’s expert and Vellturo relied heavily on the same 2004 Penn-

  Genentech Agreement. Penn’s arguments amount to no more than disagreements with Vellturo’s

  conclusions of final royalty rate—not his methodology—which is not a ground for excluding her

  testimony. ActiveVideo, 694 F.3d at 1333.

           Because Vellturo’s opinion is reliable, I will deny Penn’s Motion to Exclude Vellturo’s

  Reasonable Royalty Testimony.

     IV.        CONCLUSION

           AND NOW, this 14th day of January, 2022, upon consideration of Defendants Motions

  (Doc. Nos. 173, 270, 271, 273), Penn’s Responses (Doc. Nos. 174, 292, 293, 294), Defendants

  Replies (Doc Nos. 175, 306, 307, 308) and Penn’s Sur-Reply (Doc. No. 312, 313) and

  consideration of Penn’s Motions (Doc. Nos. 278, 279, 280, 314) and Defendants’ Responses (Doc.

  Nos. 269, 297, 299, 317), and the entirety of the record, it is hereby ORDERED that:

           1.     Defendants’ Motion to Strike Portions of the Infringement Report of Dr. Antony

  Burgess (Doc. No. 173) DENIED;




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         2.     Defendants’ Motion to Exclude Testimony Regarding the Order of Administration

  (Doc. No. 270) is GRANTED. Penn is ESTOPPED from presenting testimony of order of

  administering the antibody first followed by radiation as an indicium of the non-obviousness of

  Claim 13;

         3.     Defendants’ Motion to Exclude Expert Testimony Based on the Fournier

  Manuscript (Doc. No. 271) is DENIED;

         4.     Defendants’ Motion to Exclude Testimony of Ms. Krista Holt (Doc. No. 273) is

  DENIED;

         5.     Penn’s Motion to Exclude the Testimony of Dr. Steven M. Block (Doc. No. 278)

  is DENIED;

         6.     Penn’s Motion to Exclude the Non-Infringement Testimony of Dr. Jennifer R.

  Grandis (Doc. No. 279) is DENIED;

         7.     Penn’s Motion to Exclude the Reasonable Royalty Rate Opinion of Christopher A.

  Vellturo, Ph.D. (Doc. No. 280) is DENIED; and

         8.     Penn’s Motion to Strike Defendants Replies (Doc. No. 314) is DENIED.




                                                                    AND IT IS SO ORDERED.
                                                                      /s/ Paul S. Diamond
                                                                             Paul S. Diamond, J.




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